Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 1 of 902 PageID #: 1285
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 2 of 902 PageID #: 1286
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 3 of 902 PageID #: 1287
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 4 of 902 PageID #: 1288
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 5 of 902 PageID #: 1289
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 6 of 902 PageID #: 1290
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 7 of 902 PageID #: 1291
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 8 of 902 PageID #: 1292
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 9 of 902 PageID #: 1293
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 10 of 902 PageID #:
                                    1294
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 11 of 902 PageID #:
                                    1295
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 12 of 902 PageID #:
                                    1296
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 13 of 902 PageID #:
                                    1297
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 14 of 902 PageID #:
                                    1298
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 15 of 902 PageID #:
                                    1299
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 16 of 902 PageID #:
                                    1300
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 17 of 902 PageID #:
                                    1301
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 18 of 902 PageID #:
                                    1302
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 19 of 902 PageID #:
                                    1303
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 20 of 902 PageID #:
                                    1304
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 21 of 902 PageID #:
                                    1305
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 22 of 902 PageID #:
                                    1306
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 23 of 902 PageID #:
                                    1307
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 24 of 902 PageID #:
                                    1308
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 25 of 902 PageID #:
                                    1309
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 26 of 902 PageID #:
                                    1310
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 27 of 902 PageID #:
                                    1311
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 28 of 902 PageID #:
                                    1312
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 29 of 902 PageID #:
                                    1313
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 30 of 902 PageID #:
                                    1314
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 31 of 902 PageID #:
                                    1315
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 32 of 902 PageID #:
                                    1316
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 33 of 902 PageID #:
                                    1317
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 34 of 902 PageID #:
                                    1318
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 35 of 902 PageID #:
                                    1319
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 36 of 902 PageID #:
                                    1320
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 37 of 902 PageID #:
                                    1321
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 38 of 902 PageID #:
                                    1322
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 39 of 902 PageID #:
                                    1323
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 40 of 902 PageID #:
                                    1324
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 41 of 902 PageID #:
                                    1325
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 42 of 902 PageID #:
                                    1326
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 43 of 902 PageID #:
                                    1327
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 44 of 902 PageID #:
                                    1328
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 45 of 902 PageID #:
                                    1329
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 46 of 902 PageID #:
                                    1330
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 47 of 902 PageID #:
                                    1331
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 48 of 902 PageID #:
                                    1332
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 49 of 902 PageID #:
                                    1333
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 50 of 902 PageID #:
                                    1334
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 51 of 902 PageID #:
                                    1335
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 52 of 902 PageID #:
                                    1336
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 53 of 902 PageID #:
                                    1337
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 54 of 902 PageID #:
                                    1338
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 55 of 902 PageID #:
                                    1339
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 56 of 902 PageID #:
                                    1340
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 1 Page
                                                           of 37957
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21621 #:
                                     1341




                         Exhibit B




                                                                    Exhibit 16
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 2 Page
                                                           of 37958
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21622 #:
                                     1342

  1                   IN THE UNITED STATES DISTRICT COURT
  2                FOR THE WESTERN DISTRICT OF WEST VIRGINIA
  3                           CHARLESTON DIVISION
  4
  5     _____________________________
                                     )
  6     B.P.J. by her next friend and)
        mother, HEATHER JACKSON,     )
  7                                  )
                  Plaintiff,         )
  8                                  )                  No. 2:21-cv-00316
           vs.                       )
  9                                  )
        WEST VIRGINIA STATE BOARD OF )
 10     EDUCATION, HARRISON COUNTY   )
        BOARD OF EDUCATION, WEST     )
 11     VIRGINIA SECONDARY SCHOOL    )
        ACTIVITIES COMMISSION, W.    )
 12     CLAYTON BURCH in his official)
        capacity as State            )
 13     Superintendent, DORA STUTLER,)
        in her official capacity as )
 14     Harrison County              )
        Superintendent, and THE STATE)
 15     OF WEST VIRGINIA,            )
                                     )
 16               Defendants,        )
                                     )
 17     LAINEY ARMISTEAD,            )
                                     )
 18             Defendant-Intervenor.)
        _____________________________)
 19
                              VIDEOTAPED DEPOSITION OF
 20                             JAMES M. CANTOR, PhD
                               Monday, March 21, 2022
 21                                   Volume I
 22
        Reported by:
 23     ALEXIS KAGAY
        CSR No. 13795
 24     Job No. 5122845
 25     PAGES 1 - 316

                                                                        Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 3 Page
                                                           of 37959
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21623 #:
                                     1343

  1                   IN THE UNITED STATES DISTRICT COURT
  2                FOR THE WESTERN DISTRICT OF WEST VIRGINIA
  3                           CHARLESTON DIVISION
  4
  5     _____________________________
                                     )
  6     B.P.J. by her next friend and)
        mother, HEATHER JACKSON,     )
  7                                  )
                  Plaintiff,         )
  8                                  )                 No. 2:21-cv-00316
           vs.                       )
  9                                  )
        WEST VIRGINIA STATE BOARD OF )
10      EDUCATION, HARRISON COUNTY   )
        BOARD OF EDUCATION, WEST     )
11      VIRGINIA SECONDARY SCHOOL    )
        ACTIVITIES COMMISSION, W.    )
12      CLAYTON BURCH in his official)
        capacity as State            )
13      Superintendent, DORA STUTLER,)
        in her official capacity as )
14      Harrison County              )
        Superintendent, and THE STATE)
15      OF WEST VIRGINIA,            )
                                     )
16                Defendants,        )
                                     )
17      LAINEY ARMISTEAD,            )
                                     )
18              Defendant-Intervenor.)
        _____________________________)
19
20               Videotaped deposition of JAMES M. CANTOR,
21      Volume I, taken on behalf of Plaintiff, with all
22      participants appearing remotely, beginning at 9:03 a.m.
23      and ending at 5:33 p.m. on Monday, March 21, 2022,
24      before ALEXIS KAGAY, Certified Shorthand Reporter
25      No. 13795.

                                                                       Page 2

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 4 Page
                                                           of 37960
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21624 #:
                                     1344

  1     APPEARANCES (Via Zoom Videoconference):
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  3     For West Virginia Secondary School Activities
  4     Commission:
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                                                                       Page 3

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 5 Page
                                                           of 37961
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21625 #:
                                     1345

  1     APPEARANCES (Continued):
  2
  3     For West Virginia Board of Education and Superintendent
  4     Burch, Heather Hutchens as general counsel for the
  5     State Department of Education:
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                                                                       Page 4

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 6 Page
                                                           of 37962
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21626 #:
                                     1346

  1     APPEARANCES (Continued):
  2
  3     For The Plaintiff, B.P.J.:
  4          COOLEY
  5          BY:     KATHLEEN HARTNETT
  6          BY:     VALERIA M. PELET DEL TORO
  7          BY:     KATELYN KANG
  8          BY:     ANDREW BARR
  9          BY:     ELIZABETH REINHARDT
10           BY:     JULIE VEROFF
11           BY:     ZOE HOLSTEROM
12           Attorneys at Law
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                                                                       Page 5

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 7 Page
                                                           of 37963
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21627 #:
                                     1347

  1     APPEARANCES (Continued):
  2
  3     For the Intervenor:
  4         ALLIANCE DEFENDING FREEDOM
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  6         BY:    CATIE KELLEY
  7         BY:    HAL FRAMPTON
  8         BY:    TYSON LANGHOFER
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12          CKelley@adflegal.org
13          HFrampton@adflegal.org
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17      Superintendent Dora Stutler:
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                                                                       Page 6

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 8 Page
                                                           of 37964
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21628 #:
                                     1348

  1     APPEARANCES (Continued):
  2
  3     For West Virginia Board of Education and Superintendent
  4     Burch, Heather Hutchens as general counsel for the
  5     State Department of Education:
  6         BAILEY & WYANT, PLLC
  7         BY:    KELLY MORGAN
  8         Attorney at Law
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10          Suite 600
11          Charleston, West Virginia 25301
12          KMorgan@Baileywyant.com
13
14
15      For the Plaintiff:
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19          18th Floor
20          New York, New York 10004
21          JBlock@aclu.org
22          212.549.2500
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                                                                       Page 7

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 9 Page
                                                           of 37965
                                                                  PageID
                                                                    of 902#:PageID
                                                                             21629 #:
                                     1349

  1     APPEARANCES (Continued):
  2
  3     Also Present:
  4          LINDSAY DUPHILY - VERITEXT CONCIERGE
  5
  6     Videographer:
  7          DAVE HALVORSON
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23
24
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                                                                       Page 8

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 10Page
                                                           of 379
                                                                66PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21630#:
                                     1350

  1                                       INDEX
  2      WITNESS                                                  EXAMINATION
  3      JAMES M. CANTOR, PhD
  4      Volume I
  5
  6                               BY COUNSEL SWAMINATHAN                       15
  7                               BY MR. BARHAM                              306
  8
  9
10                                      EXHIBITS
11       NUMBER                        DESCRIPTION                          PAGE
12       Exhibit 44         Declaration of James M. Cantor,                    32
13                          PhD
14
15       Exhibit 45         Declaration of James M. Cantor,                    34
16                          PhD
17
18       Exhibit 46         "The Kinsey Institute Interview                  145
19                          Series: A Conversation with
20                          doctor James Cantor"
21
22       Exhibit 47         Responses to Plaintiff's First et                176
23                          of Interrogatories to Defendant
24                          State of West Virginia
25

                                                                      Page 9

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 11Page
                                                           of 379
                                                                67PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21631#:
                                     1351

  1      Exhibit 48         Sexology Today! Article                          186
  2
  3      Exhibit 49         Sexology Today! Article                          190
  4
  5      Exhibit 50         "Mental Health Outcomes in                       227
  6                         Transgender and Nonbinary Youths
  7                         Receiving Gender-Affirming Care"
  8
  9      Exhibit 51         "Association of Gender-Affirming                 230
10                          Hormone Therapy with Depression,
11                          Thoughts of Suicide and Attempted
12                          Suicide among Transgender and
13                          Nonbinary Youth"
14
15       Exhibit 52         "Longitudinal impact of                          235
16                          gender-affirming endocrine
17                          intervention on the mental health
18                          and well-being of transgender
19                          youths: Preliminary results"
20
21       Exhibit 53         "Body Dissatisfaction and mental                 239
22                          health outcomes of youth on
23                          gender-affirming hormone therapy"
24
25       Exhibit 54         "Psychological Functioning in                    243

                                                                     Page 10

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 12Page
                                                           of 379
                                                                68PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21632#:
                                     1352

  1                         transgender adolescents before
  2                         and after gender-affirmative care
  3                         compared with cisgender general
  4                         population peers"
  5
  6      Exhibit 55         "Psychological support, puberty                  247
  7                         suppression and psychosocial
  8                         functioning in adolescents with
  9                         gender dysphoria"
10
11       Exhibit 56         "Young Adult Psychological                       250
12                          Outcome After Puberty Suppression
13                          and Gender Reassignment"
14
15       Exhibit 57         "Long-term Follow-up of                          254
16                          Transsexual persons undergoing
17                          sex reassignment surgery: Cohort
18                          study in Sweden"
19
20       Exhibit 58         "Mental health of transgender                    259
21                          children who are supported in
22                          their identities"
23
24       Exhibit 59         Florida Department of Children                   261
25                          and Families v Adoption of XXG

                                                                     Page 11

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 13Page
                                                           of 379
                                                                69PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21633#:
                                     1353

  1      Exhibit 60         Olson 2016, Errata Issued                        265
  2
  3      Exhibit 61         "Evaluation of anxiety and                       268
  4                         depression in a community sample
  5                         of transgender youth"
  6
  7      Exhibit 62         "A Bill of Transsexual Rights" -                 274
  8                         JamesCantor.org
  9
10       Exhibit 63         Sexology Today! Article                          286
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                                                                     Page 12

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 14Page
                                                           of 379
                                                                70PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21634#:
                                     1354

  1                     Monday, March 21, 2022

  2                              9:03 a.m.

  3

  4              THE VIDEOGRAPHER:     Okay.     Good morning.       We

  5      are on the record at 9:03 a.m. on March 21st, 2022.                06:03:33

  6              This is media unit 1 in the video-recorded

  7      deposition of Dr. James Cantor, in the matter of

  8      B.P.J. by Heather Jackson versus West Virginia State

  9      Board of Education, et al., filed in the U.S.

 10      District Court for the Southern District of West                   06:03:55

 11      Virginia, in the Charleston Division.           The case

 12      number is 2:21-cv-00316.

 13              This deposition is being held virtually.

 14              My name is Dave Halvorson.         I'm the

 15      videographer here from Veritext.         And I'm here with         09:03:59

 16      the court reporter, Alexis Kagay, also from

 17      Veritext.

 18              Counsel, can you please all identify

 19      yourselves so the witness can be sworn in.

 20              COUNSEL SWAMINATHAN:      Sure thing.                      09:04:11

 21              So this is Sruti Swaminathan with

 22      Lambda Legal, and I am counsel for Plaintiff.              And

 23      I'll allow my co-counsel from Lambda Legal to start

 24      the introductions.

 25              MS. BORELLI:    This is Tara Borelli from                  09:04:24

                                                                          Page 13

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 15Page
                                                           of 379
                                                                71PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21635#:
                                     1355

  1      Lambda Legal, for Plaintiff.

  2              MS. HARTNETT:     Hi.    This is Kathleen Hartnett

  3      from Cooley, LLP, for Plaintiff.

  4              MR. BARR:     Good morning.     This is Andrew Barr

  5      from Cooley, for Plaintiff.                                      09:04:41

  6              MS. REINHARDT:     This is Elizabeth Reinhardt

  7      with Cooley, LLP, for Plaintiff.

  8              MS. KANG:     This is Katelyn Kang from Cooley,

  9      LLP, for Plaintiff.

 10              MS. PELET DEL TORO:       This is Valeria Pelet          09:04:50

 11      del Toro from Cooley, for Plaintiff.

 12              MR. BLOCK:     This is Josh Block from the ACLU,

 13      for Plaintiff.

 14              THE VIDEOGRAPHER:       Is that --

 15              COUNSEL SWAMINATHAN:       I believe that's              09:05:15

 16      everyone on our end.

 17              THE VIDEOGRAPHER:       Okay.

 18              MR. TRYON:     This is David Tryon.         I'm with

 19      the West Virginia Attorney General's Office,

 20      representing the State of West Virginia.                         09:05:24

 21              MR. BARHAM:     This is Travis Barham with

 22      Alliance Defending Freedom, Counsel for Intervenors,

 23      defending the deposition.

 24              MR. CROPP:     This is Jeffrey Cropp on behalf

 25      of defendants Harrison County Board of Education and             09:05:37

                                                                        Page 14

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 16Page
                                                           of 379
                                                                72PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21636#:
                                     1356

  1      Superintendent Dora Stutler.

  2              MS. MORGAN:     This is Kelly Morgan on behalf

  3      of the West Virginia Board of Education and

  4      Superintendent Burch.

  5              MS. GREEN:    This is Roberta Green on behalf           09:05:52

  6      of West Virginia Secondary School Activity (sic)

  7      Commission.

  8              THE VIDEOGRAPHER:     Okay.     If that's every- --

  9      maybe Mr. Frampton?      Is that --

 10              MR. FRAMPTON:     Sure, I'll identify myself,           09:06:10

 11      although I'm not really participating.

 12              Hal Frampton from Alliance Defending Freedom,

 13      for the Intervenor.

 14              THE VIDEOGRAPHER:     Okay.

 15              Okay.   Can we please swear in the witness.             09:06:31

 16              (Witness sworn.)

 17              THE VIDEOGRAPHER:     Okay.     Please proceed.

 18

 19                       JAMES M. CANTOR, PhD,

 20      having been administered an oath, was examined and

 21      testified as follows:

 22

 23                              EXAMINATION

 24      BY COUNSEL SWAMINATHAN:

 25         Q    Good morning, Dr. Cantor.        Thank you again        09:06:33

                                                                       Page 15

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 17Page
                                                           of 379
                                                                73PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21637#:
                                     1357

  1      for your time today.        As I said, my name is

  2      Sruti Swaminathan, and I'm an attorney with

  3      Lambda Legal.

  4                I use they/them pronouns, so if you have any

  5      need to refer to me specifically, feel free to call             09:06:43

  6      me Counsel Swaminathan or Attorney Swaminathan.

  7                I represent B.P.J., the plaintiff in this

  8      matter.     And, yeah, again, thank you for -- for

  9      bearing with me today.

 10                So how are you?                                       09:06:59

 11         A      I'm fine.    Thank you.

 12         Q      And would you please state and spell your

 13      name for the record.

 14         A      Dr. James Michael Cantor, J-a-m-e-s

 15      M-i-c-h-a-e-l C-a-n-t-o-r.                                      09:07:12

 16         Q      Thank you.

 17                And, Dr. Cantor, what pronouns do you use?

 18         A      He/him.

 19         Q      Great.    So let me explain some ground rules

 20      so that the court reporter can establish a clean                09:07:23

 21      transcript today.

 22                I'll ask you questions, and you must answer

 23      unless your counsel instructs you otherwise.

 24                Do you understand?

 25         A      Yes, I do.                                            09:07:33

                                                                      Page 16

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 18Page
                                                           of 379
                                                                74PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21638#:
                                     1358

  1         Q     And I will note, I might be looking above

  2      you, as you can see me, the camera is just a little

  3      bit below me, so apologies for that.

  4               Okay.    And so, again, if your counsel objects

  5      to my questions, you still need to answer my                    09:07:47

  6      questions unless they specifically instruct you not

  7      to answer.

  8               Do you understand that?

  9         A     I do.

 10         Q     Great.    If you don't understand my question,         09:07:53

 11      please let me know.      I'm happy to try to rephrase it

 12      or make it clear for you.

 13               If you do answer my question, I will assume

 14      that you understood.      Is that fair?

 15         A     Yes.                                                   09:08:06

 16         Q     We can take a break whenever you need.        I

 17      will try to naturally break every hour or so.

 18      However, if I've asked a question or if I'm in the

 19      middle of a line of questions, I'd appreciate if you

 20      can provide me with an answer before we take a                  09:08:17

 21      break.

 22               Do you understand that?

 23         A     Yes.

 24         Q     Great.    Let's do our best not to speak over

 25      each other today.      And as you are doing right now,          09:08:26

                                                                      Page 17

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 19Page
                                                           of 379
                                                                75PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21639#:
                                     1359

  1      please use verbal answers so that the court reporter

  2      can transcribe your answers accurately.

  3      Unfortunately, nodding your head or shaking your

  4      head cannot be captured by the court reporter.

  5               Do you understand that?                                09:08:42

  6         A     Yes, I do.

  7         Q     Great.   And so before we too -- get too far

  8      along today in the -- the substantive portion, I

  9      want to note for you that we're going to be talking

 10      quite a bit about healthcare that's commonly used to            09:08:52

 11      treat gender dysphoria for transgender people.

 12               For the purposes of this deposition, when I

 13      say "cisgender," I mean someone whose gender

 14      identity matches the sex they were assigned at

 15      birth.                                                          09:09:07

 16               Do you understand?

 17         A     Yes, I do.

 18         Q     For the purposes of this deposition, when I

 19      say "transgender," I mean someone whose gender

 20      identity does not match the sex they were assigned              09:09:14

 21      at birth.

 22               Do you understand?

 23               MR. TRYON:   Objection; terminology.

 24      BY COUNSEL SWAMINATHAN:

 25         Q     You can answer.                                        09:09:23

                                                                      Page 18

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 20Page
                                                           of 379
                                                                76PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21640#:
                                     1360

  1         A    I understand what you mean, yes.

  2         Q    Great.   So if I refer to "care" as

  3      gender-affirming care or gender-confirming care, I

  4      am referring to medical care provided to transgender

  5      people to treat gender dysphoria.                               09:09:34

  6              Do you understand?

  7              MR. TRYON:     Objection; terminology.

  8              THE WITNESS:     To clarify, so when you say

  9      "care," you mean specifically medical care?

 10      BY COUNSEL SWAMINATHAN:                                         09:09:46

 11         Q    I mean medical care.

 12         A    I understand.

 13         Q    Great.   And, again, when I say "B.P.J.," I am

 14      referring to the plaintiff in the case.

 15              Do you understand?                                      09:09:56

 16         A    Yes, I do.

 17         Q    Great.   So you understand that you are

 18      testifying under oath today, just as if you were

 19      testifying in court; correct?

 20         A    Yes, I do.                                              09:10:07

 21         Q    Is there anything that would prevent you from

 22      testifying truthfully today?

 23         A    No.

 24         Q    Is there any reason you're aware of that

 25      would prevent you from completely and accurately                09:10:17

                                                                      Page 19

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 21Page
                                                           of 379
                                                                77PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21641#:
                                     1361

  1      answering my questions?

  2         A    No.

  3         Q    Are you taking notes during this deposition?

  4         A    I wrote down one note to remind myself that

  5      when you use the word "care," you're referring                  09:10:30

  6      specifically to medical care.

  7         Q    Okay.   Have you been deposed before,

  8      Dr. Cantor?

  9         A    Yes.

 10         Q    How many times?                                         09:10:42

 11         A    About a dozen.

 12         Q    About a dozen.

 13              Let's go each -- through each occurrence

 14      individually, starting with the first time you were

 15      deposed.                                                        09:10:49

 16              When was that, to your recollection?

 17         A    It would have been about eight to ten years

 18      ago.

 19         Q    And what was the nature of the case?

 20         A    What the diagnostic cutoffs are for -- for a            09:11:01

 21      formal diagnosis of pedophilia or related

 22      conditions.

 23         Q    And what was your role in the case?

 24         A    I was summarizing the science indicating that

 25      sexual interest in a particular age range, 11 to                09:11:16

                                                                      Page 20

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 22Page
                                                           of 379
                                                                78PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21642#:
                                     1362

  1      14 years old, is diagnosable as a mental illness.

  2         Q    And what course -- court was this in?

  3         A    Oh, I don't remember the city.          It was in the

  4      state of Illinois.

  5         Q    Do you, by chance, happen to remember the                 09:11:36

  6      name of the case, either the plaintiff or the

  7      defendant?

  8         A    No, not offhand.

  9         Q    Okay.   How about the second time you were

 10      deposed?                                                          09:11:45

 11         A    The same situation.      There were about six

 12      such cases in Illinois.

 13         Q    And so six out of the 12 or a dozen or so

 14      cases that you mentioned deal with the same subject?

 15         A    Roughly, yes.                                             09:12:02

 16         Q    What about the other six?

 17         A    Of those, roughly three more were a similar

 18      kind of question, but in New York State.            Another

 19      one, also in New York, was pertaining to whether

 20      BDSM would count as a mental illness, but that case               09:12:23

 21      did not go through to completion.          And then the

 22      remaining cases were about trans issues.

 23         Q    So about how many cases were about

 24      transgender issues?

 25         A    I think it's two others.                                  09:12:42

                                                                         Page 21

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 23Page
                                                           of 379
                                                                79PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21643#:
                                     1363

  1         Q      Could you tell me more about those two

  2      specific instances of your testimony?

  3         A      One was a -- the Josephson case, and one is

  4      the Cross case.

  5         Q      And tell me about the Josephson case.                 09:13:06

  6      When -- when did you provide -- or when were you

  7      deposed in that case?

  8         A      Roughly a year ago.

  9         Q      Roughly a year ago.

 10                And what was your role in connection with             09:13:14

 11      that deposition?

 12         A      To summarize the science on gender identity

 13      issues.

 14         Q      Okay.   And what court was that case in?

 15         A      It was in -- I -- I believe that one was              09:13:29

 16      Loudoun County.

 17         Q      And then the second case you mentioned was

 18      the Cross case.

 19         A      Correct.

 20         Q      And what was the nature of that case?                 09:13:39

 21         A      Similar, to summarize the science on gender

 22      identity issues.

 23         Q      Was that also within the past year that you

 24      provided --

 25         A      Yes.                                                  09:13:49

                                                                      Page 22

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 24Page
                                                           of 379
                                                                80PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21644#:
                                     1364

  1         Q    -- that testimony?

  2         A    Yes.

  3         Q    And was that in the same court as the

  4      Josephson case or a different court?

  5         A    A different court.                                      09:13:56

  6         Q    Do you remember which court that was?

  7         A    No, I don't.

  8         Q    And so we just spoke about times that you've

  9      been deposed.      In any of these cases, did it require

 10      you to testify in court as well?                                09:14:07

 11         A    Yes.

 12         Q    In which cases were you required to testify

 13      in court?

 14         A    Hold on.     I take that back.      It was one of

 15      the two New York cases that required me to testify              09:14:26

 16      in court.

 17         Q    So not either of the cases related to

 18      transgender individuals?

 19         A    Correct.

 20         Q    Okay.   And so we just spoke about testimony            09:14:40

 21      that you've given.      Have you provided expert

 22      testimony in any other litigation?

 23         A    No.

 24         Q    This is the first case in which you've

 25      provided expert testimony?                                      09:14:55

                                                                      Page 23

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 25Page
                                                           of 379
                                                                81PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21645#:
                                     1365

  1         A     I think I might have misunderstood your

  2      question.    In each of these cases, I was serving as

  3      an expert witness.

  4         Q     Oh, in each of these cases, you were an

  5      expert witness, not a fact witness --                           09:15:07

  6         A     Correct.

  7         Q     -- correct?    Okay.

  8               But other than these cases, there are no

  9      other cases in which you've provided expert

 10      testimony; right?                                               09:15:14

 11         A     Correct.

 12         Q     Okay.   Has anyone ever tried to exclude the

 13      testimony that you've provided in a case?

 14         A     The opposing counsel, but that's -- only the

 15      opposing counsel.                                               09:15:33

 16         Q     In how many of the 12 cases that you just

 17      mentioned to me has opposing counsel tried to

 18      exclude your testimony?

 19         A     All of them.

 20         Q     All of them?    So let's go through them.              09:15:42

 21               Sorry, apologies.      I think I cut you off

 22      there.

 23         A     I guess I'm wondering about how you're using

 24      the word "tried" to exclude.        When you say that, I

 25      mean, you know, try to verify my credentials and                09:15:59

                                                                      Page 24

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 26Page
                                                           of 379
                                                                82PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21646#:
                                     1366

  1      determine whether I'm qualified to comment at all,

  2      but not any extraordinary, in other words, outside

  3      of routine, ensuring that I qualify as an expert.

  4         Q    So in your mind, what -- what would you

  5      categorize as extraordinary in your verse?                      09:16:22

  6         A    Anything other than the questioning that

  7      we're going through right now.

  8         Q    Okay.   And, to your knowledge, on what

  9      grounds did opposing counsel in these cases try to

 10      exclude your testimony?                                         09:16:31

 11         A    I don't --

 12              MR. BARHAM:    Objection as to form.

 13              THE WITNESS:    I don't recall the details.

 14      BY COUNSEL SWAMINATHAN:

 15         Q    Okay.   But it is your understanding that some          09:16:41

 16      form of this effort has happened in all 12 of the

 17      cases that you've provided expert testimony?

 18         A    Some form, yes.

 19         Q    Has any testimony you provided been

 20      successfully excluded in any of these 12 cases?                 09:16:54

 21         A    No.

 22         Q    Okay.   Did any of these cases involve

 23      prepubertal or adolescent transgender children?

 24         A    Not specific -- children, no.

 25         Q    Who did they involve in terms of transgender            09:17:13

                                                                      Page 25

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 27Page
                                                           of 379
                                                                83PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21647#:
                                     1367

  1      individuals?

  2              You spoke of two cases, correct, that focused

  3      on transgender people?

  4         A    Correct.    My role was to summarize the

  5      science of those issues, not anything about a                   09:17:27

  6      specific person.

  7         Q    Okay.   In terms of summarizing the science,

  8      did the science that you provided testimony on focus

  9      on prepubertal or adolescent transgender children?

 10         A    It included that, but wasn't limited to                 09:17:41

 11      prepubertal children.

 12         Q    Would you say that it was the focus of your

 13      testimony?

 14              MR. BARHAM:    Objection; form.

 15              THE WITNESS:    I wouldn't say focus, no.               09:17:51

 16      BY COUNSEL SWAMINATHAN:

 17         Q    Have you ever testified regarding athletics?

 18         A    No.

 19         Q    Have you ever testified regarding transgender

 20      or gender-dysphoric athletes?                                   09:18:04

 21         A    No.

 22         Q    Have you ever testified regarding transgender

 23      adolescents who are participating in athletics?

 24              MR. BARHAM:    Objection; terminology.

 25              THE WITNESS:    Not as -- not specifically, but         09:18:20

                                                                      Page 26

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 28Page
                                                           of 379
                                                                84PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21648#:
                                     1368

  1      they would be included as part of my summarizing the

  2      science overall.

  3      BY COUNSEL SWAMINATHAN:

  4            Q   And how would -- or how has your summary of

  5      the science focused on transgender -- transgender               09:18:29

  6      adolescents in athletics?

  7            A   I don't think I understand the question.

  8            Q   You said that your testimony or, you know,

  9      the -- the research that you have produced in

 10      connection with your testimony on the science may               09:18:45

 11      encompass transgender adolescents participating in

 12      athletics; is that correct?

 13            A   I --

 14                MR. BARHAM:    Objection; terminology.

 15                THE WITNESS:    I don't recall the subject of         09:18:58

 16      athletics being relevant to any of the prior cases,

 17      no.

 18      BY COUNSEL SWAMINATHAN:

 19            Q   Okay.   So my apologies, I must have

 20      misunderstood.                                                  09:19:07

 21                So you're saying that the science that you've

 22      provided testimony on may encompass matters related

 23      to transgender adolescents; is that right?

 24            A   The topic was broadly the science of

 25      transsexuality and everything within it.             So it      09:19:18

                                                                      Page 27

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 29Page
                                                           of 379
                                                                85PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21649#:
                                     1369

  1      could include that, but it wasn't the topic relevant

  2      to any of those cases.

  3            Q   To your understanding, did it include that?

  4      Did your testimony focus on anything specific to

  5      transgender adolescents?                                        09:19:33

  6            A   No, it didn't.

  7            Q   Okay.    And just to be sure --

  8                MR. BARHAM:    I'm sorry, I -- I think there

  9      may have been -- I -- I didn't catch the last word

 10      of your question, so could you kingly repeat that.              09:19:45

 11                COUNSEL SWAMINATHAN:      I apologize.

 12                Court reporter, can you please repeat the

 13      question that I just posed to Dr. Cantor?

 14                (Record read.)

 15                COUNSEL SWAMINATHAN:      Are you okay with that,     09:20:09

 16      Counsel?

 17                THE WITNESS:     It -- it included transgender

 18      adolescents, but not specifically athletes.

 19      BY COUNSEL SWAMINATHAN:

 20            Q   Right.    I understand.     I -- I just want to       09:20:17

 21      make sure your counsel is okay, has understood the

 22      question.

 23                MR. BARHAM:    Thank you.

 24                COUNSEL SWAMINATHAN:      Great.

 25      ///

                                                                       Page 28

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 30Page
                                                           of 379
                                                                86PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21650#:
                                     1370

  1      BY COUNSEL SWAMINATHAN:

  2         Q     And, again, Dr. Cantor, you've not been

  3      retained as an expert witness in any other case that

  4      we haven't already talked about; right?

  5         A     Correct.                                               09:20:35

  6         Q     Great.     Did you prepare for this deposition

  7      today?

  8         A     Yes, I did.

  9         Q     Without disclosing any communications you may

 10      have had with counsel, what did you do to prepare               09:20:47

 11      for today's deposition?

 12         A     Reread my notes, which I've been accumulating

 13      for many years, reread individual papers that were

 14      relevant and ensured that I was including anything

 15      new that came out since the last time I went through            09:21:05

 16      the literature.

 17         Q     So who provided you with the documents that

 18      you just mentioned?

 19               I heard your own notes and then new articles

 20      that may have come out in the -- in the past few                09:21:18

 21      years on this literature.

 22               And apologies, could you remind me what else

 23      you said you reviewed?

 24         A     It was my -- oh, and a scan of the literature

 25      to see if there was anything new.                               09:21:31

                                                                      Page 29

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 31Page
                                                           of 379
                                                                87PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21651#:
                                     1371

  1         Q    And so was this all research that you

  2      independently conducted, or did anyone provide you

  3      with any of the materials that you reviewed?

  4         A    All me.

  5         Q    Did you meet with your defense counsel?                 09:21:43

  6         A    We met in rehearsal for today, but not over

  7      the material -- of my research of the material.

  8         Q    Who are your attorneys, by the way?

  9         A    Who are my attorneys?

 10         Q    Who is your attorney today?         Who is              09:22:07

 11      representing you in connection with this deposition?

 12         A    Just Travis.

 13         Q    Just Travis.

 14              And so you said you've met with Travis once

 15      in preparation for this deposition; right?                      09:22:18

 16         A    We met briefly yesterday, and then there was

 17      a meeting on Friday to rehearse today.

 18              MR. TRYON:     Counsel, I would also -- this is

 19      David Tryon.      I will also note that I also represent

 20      Dr. Cantor in this deposition.                                  09:22:34

 21              COUNSEL SWAMINATHAN:      Great.      Thank you,

 22      Mr. Tryon.

 23              And did you meet with Dr. Cantor at all in

 24      preparation for this deposition?

 25              MR. TRYON:     I'm sorry, are you asking me that        09:22:48

                                                                      Page 30

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 32Page
                                                           of 379
                                                                88PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21652#:
                                     1372

  1      question?

  2              COUNSEL SWAMINATHAN:      Yes.

  3              MR. TRYON:    I think you should direct your

  4      questions to Dr. Cantor.

  5      BY COUNSEL SWAMINATHAN:                                         09:22:55

  6         Q    Dr. Cantor, did you meet with Mr. Tryon in

  7      preparation for this deposition?

  8         A    Yes.   He was present, virtually, on Friday.

  9         Q    On Friday, but not yesterday?

 10         A    Correct.                                                09:23:02

 11         Q    So beyond the scan of research that you've

 12      done in preparation for this deposition, did you

 13      review any specific documents?

 14         A    Yes.   The documents are noted in my report.

 15         Q    What were those documents?                              09:23:17

 16         A    As best as I can recall, they were the

 17      declarations of Dr. Adkins, Jensen, Safer and the

 18      related rebuttals.

 19         Q    Did you review any documents beyond those

 20      that you just listed that are not cited in your                 09:23:38

 21      expert report?

 22         A    No.

 23         Q    Did you conduct any additional research to

 24      prepare for this deposition beyond what you did for

 25      your expert report?                                             09:23:52

                                                                      Page 31

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 33Page
                                                           of 379
                                                                89PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21653#:
                                     1373

  1         A    No.

  2         Q    Did you discuss this case with anyone other

  3      than your attorneys?

  4         A    No.

  5         Q    Did you bring anything with you today?                  09:24:05

  6         A    A blank notepad, the aforementioned documents

  7      so I could refer to them on the way, and the details

  8      of the address to how to get here.

  9         Q    Did anyone get you a water bottle?

 10         A    And a water bottle.                                     09:24:23

 11         Q    Great.    I'm glad you have that.

 12              Okay.    So if you could please go into the

 13      "Marked Exhibits" folder, I'm going to introduce

 14      tab 2, which is a document that has been marked as

 15      Exhibit 45 -- 44, apologies.                                    09:24:37

 16              (Exhibit 44 was marked for identification

 17             by the court reporter and is attached hereto.)

 18              MR. BARHAM:    Counsel, I'm in the "Marked

 19      Exhibits" folder, and I'm not seeing this document.

 20              COUNSEL SWAMINATHAN:      Apologies, my --              09:24:52

 21      I'll -- I'll let you know when -- when it's in

 22      there, and then you might need to give the -- the

 23      page a little bit of a refresh.         It's -- it takes a

 24      moment to load.

 25              Counsel, are you able to see the document and           09:25:35

                                                                      Page 32

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 34Page
                                                           of 379
                                                                90PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21654#:
                                     1374

  1      is the witness able to see the document now?

  2               MR. BARHAM:   Yes.

  3               COUNSEL SWAMINATHAN:     Great.

  4      BY COUNSEL SWAMINATHAN:

  5         Q     Dr. Cantor, why don't you take a moment to             09:25:46

  6      review what the document is.

  7         A     I'm sorry, this is a 100-page document?

  8         Q     Take a look at the first few pages to get

  9      your understanding of what it is.

 10               So have you seen this document before?                 09:26:15

 11         A     Yes.   This is my -- the report I prepared for

 12      today.

 13         Q     Did you author this document?

 14         A     Yes, I did.

 15         Q     Did anyone else help you draft this document?          09:26:27

 16         A     No.

 17         Q     When was this document created?

 18         A     Both -- primarily, over the course of the

 19      last two years or so.

 20         Q     Is there an execution date on the document?            09:26:48

 21               I believe it might be on page 2.

 22         A     I see a date on page 46, 31 March 2021.

 23         Q     On page 6, you said?

 24         A     36 (sic), I think that was.

 25               And the date of execution is 22 June 2021.             09:27:14

                                                                      Page 33

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 35Page
                                                           of 379
                                                                91PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21655#:
                                     1375

  1         Q    Great.   Thank you so much.

  2              And, Dr. Cantor, why was this document

  3      created?

  4         A    In preparation for today, that was the

  5      request put to me from the attorneys of West                    09:27:26

  6      Virginia.

  7         Q    Thank you.

  8              And if you could please go into the "Marked

  9      Exhibits" folder, I'd like you -- I'd like to

 10      introduce tab 1, which has been marked as                       09:27:38

 11      Exhibit 45.

 12              (Exhibit 45 was marked for identification

 13             by the court reporter and is attached hereto.)

 14              COUNSEL SWAMINATHAN:      Counsel and Dr. Cantor,

 15      let me know when you're able to -- to see that                  09:28:06

 16      document.

 17      BY COUNSEL SWAMINATHAN:

 18         Q    Do you have it up in front of you?

 19         A    Yes, I do.

 20         Q    Great.   Have you seen this document before?            09:28:31

 21         A    Yes, I have.

 22         Q    What is it?

 23         A    This is the report I prepared for today.

 24         Q    Did you author this document?

 25         A    Yes, I did.                                             09:28:44

                                                                      Page 34

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 36Page
                                                           of 379
                                                                92PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21656#:
                                     1376

  1         Q      Did anyone else help you draft this document?

  2                MR. BARHAM:   Counsel, I'm going to

  3      interrupt -- interrupt you because I'm confused

  4      why -- how this document differs from the prior one

  5      that we just reviewed.                                          09:29:01

  6                COUNSEL SWAMINATHAN:    So my understanding is

  7      that this is Dr. Cantor's report executed on

  8      February 23rd, 2022, and the prior document was

  9      Dr. Cantor's expert report submitted in

 10      conjunction -- in connection with the preliminary               09:29:20

 11      injunction motion, dated June 22nd, 2021.

 12                MR. BARHAM:   Thank you.

 13      BY COUNSEL SWAMINATHAN:

 14         Q      So, Dr. Cantor, when was this document

 15      created?                                                        09:29:34

 16         A      This was executed on February 23, 2022.

 17         Q      And why was this document created?

 18         A      In preparation for today, at the request of

 19      the attorneys.

 20         Q      Great.   And if you can, can you please turn          09:29:51

 21      to page 69 of this PDF.      Apologies for the long

 22      scroll.

 23                So what you should see on page 69 is the

 24      start of Appendix 1 to your expert report.

 25         A      Yes.                                                  09:30:46

                                                                      Page 35

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 37Page
                                                           of 379
                                                                93PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21657#:
                                     1377

  1         Q      Are you there?

  2                Have you seen --

  3         A      Yes.

  4         Q      -- this document before?

  5         A      Yes, I have.                                          09:30:50

  6         Q      What is it?

  7         A      That's my CV.

  8         Q      And did you author this document?

  9         A      Yes, I did.

 10         Q      Did anyone assist you in authoring this               09:30:56

 11      document?

 12         A      No.

 13         Q      When was it created?

 14         A      It's been accumulating over the course of my

 15      career.                                                         09:31:07

 16         Q      And is there anything in this copy of your CV

 17      that needs to be updated or corrected?

 18         A      One second.

 19         Q      Yeah, please take a moment to review.       I

 20      believe there are 32 pages.         You've done a lot over      09:31:21

 21      the course of your career.

 22         A      Nothing to add.    It's current.

 23         Q      Great.   So I want to talk to you a bit about

 24      your education history.

 25                So, Dr. Cantor, where did you complete your           09:31:52

                                                                      Page 36

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 38Page
                                                           of 379
                                                                94PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21658#:
                                     1378

  1      undergraduate education?

  2         A    Rensselaer Polytechnic Institute.

  3         Q    It's commonly known as RPI; right?

  4         A    Yes, it is.

  5         Q    Did you enjoy your time at RPI?                         09:32:07

  6         A    Yes.

  7         Q    What did you study?

  8         A    Interdisciplinary science, with

  9      concentrations in computer science, mathematics and

 10      physics.                                                        09:32:18

 11         Q    And so my next set of questions pertain just

 12      to your undergraduate education at RPI.

 13              As a part of your formal education for your

 14      undergraduate degree, did you ever take any courses

 15      focused on child psychology?                                    09:32:33

 16         A    As an undergraduate, no.

 17         Q    As an undergraduate.

 18         A    No.

 19         Q    How about adolescent psychology?

 20         A    No.                                                     09:32:42

 21         Q    Did you conduct any research on those

 22      subjects?

 23         A    No.

 24         Q    As a part of your formal education for your

 25      undergraduate degree, did you ever take any courses             09:32:56

                                                                      Page 37

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 39Page
                                                           of 379
                                                                95PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21659#:
                                     1379

  1      regarding transgender or gender-dysphoric people?

  2         A    No.

  3         Q    Did you ever conduct any research concerning

  4      transgender or gender-dysphoric people?

  5         A    No.                                                     09:33:09

  6         Q    Did you have any other educational training

  7      related to transgender or gender-dysphoric people at

  8      RPI?

  9         A    No.

 10         Q    Okay.   What did you study next?                        09:33:18

 11         A    After that, I did start studying psychology

 12      at the graduate level.

 13         Q    And where did you complete -- I see here a

 14      Master's of Arts; correct?

 15         A    Correct.                                                09:33:33

 16         Q    Where did you complete your Master's of Arts?

 17         A    Boston University.

 18         Q    And so I believe you said you studied

 19      psychology; is that correct?

 20         A    Correct.                                                09:33:47

 21         Q    So apologies for my naivety here, but as you

 22      were getting your Master's of Arts, would that be a

 23      major in psychology or a psychology focus?

 24         A    At the graduate level, there are no majors.

 25      The degree is in that subject matter specifically.              09:33:59

                                                                      Page 38

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 40Page
                                                           of 379
                                                                96PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21660#:
                                     1380

  1      So it would be a Master of Arts in psychology.

  2         Q    I appreciate that clarification.            Thank you.

  3              When did you graduate?

  4         A    1992.

  5         Q    And so my next set of questions are going to               09:34:18

  6      pertain solely to your Master's education.

  7              So as part of your formal education for your

  8      Master's of Arts, did you ever take any courses

  9      focused on child psychology?

 10         A    Yes.                                                       09:34:31

 11         Q    Can you describe those courses to me?

 12         A    The course specifically was in cognitive

 13      development and testing.

 14         Q    And how about adolescent psychology?

 15         A    It was blended in.                                         09:34:45

 16         Q    Okay.   And so beyond this one course in

 17      cognitive development, were there any other courses

 18      focused on child or adolescent psychology?

 19         A    Not focused on them, no.

 20         Q    Okay.   Did you conduct any research on those              09:34:58

 21      subjects, specifically speaking about child and

 22      adolescent psychology?

 23         A    No.

 24         Q    As a part of your formal education for your

 25      Master's of Arts, did you ever take any courses                    09:35:15

                                                                          Page 39

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 41Page
                                                           of 379
                                                                97PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21661#:
                                     1381

  1      regarding transgender or gender-dysphoric people?

  2         A    No.

  3         Q    Did you ever conduct any research concerning

  4      transgender or gender-dysphoric people?

  5         A    No.                                                     09:35:30

  6         Q    And so what did you study next after your

  7      time at Boston University?

  8         A    I worked for several years as a research

  9      assistant in neuropsychology and then began my

 10      doctoral studies in psychology.                                 09:35:50

 11         Q    So how long were you a research assistant in

 12      neuropsychology?

 13         A    About three years.

 14         Q    So you took a three-year gap between pursuing

 15      your doctorate degree, after completing your                    09:36:02

 16      Master's of Arts?

 17         A    Roughly, yes.

 18         Q    And where did you spend those three years as

 19      a research assistant?

 20         A    I remained in Boston -- remained in Boston --           09:36:12

 21      remained in Boston.

 22              COUNSEL SWAMINATHAN:      I apologize.      Did

 23      anyone else hear that a few times or --

 24      BY COUNSEL SWAMINATHAN:

 25         Q    Are you able to hear me clearly, Dr. Cantor?            09:36:25

                                                                      Page 40

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 42Page
                                                           of 379
                                                                98PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21662#:
                                     1382

  1         A    I think so.

  2         Q    Okay.    Cool.   Great.   Thank you.

  3              And so where -- where in Boston did you

  4      complete that research assistant three-year

  5      position?                                                       09:36:36

  6         A    It was the -- it's listed on my CV.         I don't

  7      immediately recall the formal name of the hospital.

  8         Q    Okay.    Would it be the Queen Elizabeth

  9      Hospital?

 10         A    No.                                                     09:36:52

 11         Q    No?

 12         A    It was the Boston VA, part of their

 13      Memory Disorders Research Center, which predates

 14      when I began recording my jobs on my CV.

 15         Q    Okay.    So that -- that job is --                      09:37:19

 16              (Simultaneous speaking.)

 17         A    Correct.     It was -- it was at the Boston VA,

 18      which has a formal name that I don't recall, and I

 19      was in the Memory Disorders Research Center.

 20         Q    Great.     And just for -- for my clarity, it is        09:37:32

 21      not listed on your CV; correct?

 22         A    Correct.

 23         Q    Okay.    And so you said you -- after you

 24      finished your research assistant in neuropsychology,

 25      three-year experience, you went on to get your                  09:37:47

                                                                       Page 41

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 43Page
                                                           of 379
                                                                99PageID
                                                                   of 902 #:
                                                                          PageID
                                                                             21663#:
                                     1383

  1      doctorate degree; is that right?

  2         A      Yes.

  3         Q      Again, apologies if I botch the -- the

  4      language here, but what did you focus on as a part

  5      of your doctorate degree?                                         09:38:03

  6         A      Clinical psychology.

  7         Q      Clinical psychology.

  8                And where did you complete your doctorate

  9      degree?

 10         A      McGill University.                                      09:38:12

 11         Q      So, again, my next set of questions pertain

 12      solely to your time at McGill.

 13                So as part of your formal education for your

 14      doctorate degree in clinical psychology, did you

 15      ever take any courses focused on child psychology?                09:38:28

 16         A      Not courses focused on it, no.        The design of

 17      the program at McGill often blended child,

 18      adolescent and adult psychology together.

 19         Q      I see.   Can you describe that a bit more?

 20         A      For example, in learning to do testing, one             09:38:50

 21      would be trained both in the standard intelligence

 22      test for adults as well as the standard intelligence

 23      test for children.

 24         Q      Thank you.   I appreciate that.

 25                And so, you know, my question pertaining to             09:39:06

                                                                         Page 42

                                  Veritext Legal Solutions
                                       866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 44Page
                                                            of 379
                                                                 100
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21664 #:
                                     1384

   1      adolescent psychology, it's your understanding that

   2      the courses were a blend of child, adolescent and

   3      adult psychology; correct?

   4         A    Many of them, yes.

   5         Q    Many of them.                                             09:39:17

   6              And you have never specifically taken a

   7      course that focused solely on adolescent psychology

   8      at McGill; right?

   9         A    Correct.

 10          Q    Okay.   Did you, as a part of your normal                 09:39:28

 11       education, ever take any courses regarding

 12       transgender or gender-dysphoric people at McGill?

 13          A    Not any courses focused on it, but there were

 14       courses focused on human sexuality, which, of

 15       course, included transsexuality.                                  09:39:50

 16          Q    Can you describe that a bit more?           Why would

 17       your course on human sexuality include

 18       transsexuality?

 19          A    Why would it include?

 20          Q    Let me rephrase it.      How did it include?              09:40:00

 21          A    By summarizing the existing research at the

 22       time and what was thought in the field at the time.

 23          Q    And how many courses would you say you took

 24       that focused on human sexuality?

 25               MR. BARHAM:     Objection; terminology.                   09:40:18

                                                                          Page 43

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 45Page
                                                            of 379
                                                                 101
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21665 #:
                                     1385

   1                MR. TRYON:     Objection.    Dave Tryon speaking.

   2                THE WITNESS:     The organization -- the

   3      organization of a doctoral program wasn't around

   4      courses at all.        The primary focus of -- at the

   5      doctoral level is on performing research, learning               09:40:38

   6      how to perform research and proper research

   7      methodology in whatever field the student is

   8      pursuing.

   9                In my case, that was sexuality.             So

 10       everything I did at the doctoral level was one way               09:40:49

 11       or another targeted towards sexuality, even though

 12       there were -- even if not as part of the formal

 13       course.

 14       BY COUNSEL SWAMINATHAN:

 15          Q      That is very helpful.       I obviously do not         09:41:01

 16       have a doctorate degree, so that's a helpful

 17       explanation for me to understand how the program is

 18       structured.

 19                 So let me ask another question.

 20                 How much of your research, in your study of            09:41:13

 21       sexuality, concerned transgender and

 22       gender-dysphoric people in particular?

 23                 MR. BARHAM:     Objection; terminology.

 24                 You can answer, if you can.

 25                 THE WITNESS:     It's a little hard to estimate.       09:41:34

                                                                        Page 44

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 46Page
                                                            of 379
                                                                 102
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21666 #:
                                     1386

   1      Roughly 10 to 20 percent was specifically on

   2      trans-related issues, and in others, because trans

   3      populations were -- were included one way or

   4      another, there was a little bit of all of them.

   5      BY COUNSEL SWAMINATHAN:                                          09:41:52

   6         Q    And what was the nature of that research,

   7      typically, in the 10 to 20 percent that you had just

   8      mentioned?

   9         A    Primarily brain development, cognitive

 10       development, and I'm also called upon, very                      09:42:04

 11       frequently, to consult in the statistics and how to

 12       analyze existing data.

 13          Q    Okay.   Did you have any other educational

 14       training at the doctorate level related to

 15       transgender people?                                              09:42:21

 16          A    What do you mean, educational training?

 17          Q    Beyond the independent research that you

 18       conducted or the research that you conducted with

 19       supervision at McGill, did you have any other

 20       educational training, such as a practicum, related               09:42:34

 21       to transgender people?

 22               MR. TRYON:     Objection; form of the -- form of

 23       the question.

 24               THE WITNESS:     Not practicum related

 25       specifically to transgender people, but I did                    09:42:50

                                                                        Page 45

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 47Page
                                                            of 379
                                                                 103
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21667 #:
                                     1387

   1      practicum related to human sexuality, which

   2      necessarily included transgender people.

   3      BY COUNSEL SWAMINATHAN:

   4         Q    Can you describe that practicum?

   5         A    I was seeing patients for -- mostly for                  09:43:05

   6      one-on-one therapy, regardless of the issue that

   7      they came in with.      That can be anything from sexual

   8      dysfunctions, curiosities about their own sexual

   9      interests, and dysphoric transgender issues.

 10          Q    Got it.     And you said you were seeing                 09:43:20

 11       patients.      How old were these patients, typically?

 12          A    Young adults and up.

 13          Q    And what do you understand "young adults" to

 14       mean, in terms of an age?

 15          A    Late teens.                                              09:43:34

 16          Q    So late teens and onward you would --

 17          A    Yes.

 18          Q    Okay.     About how many patients do you think

 19       you've seen during your time at McGill in -- in

 20       these practica that you just spoke about?                        09:43:52

 21          A    Roughly 30.

 22          Q    Okay.     Thank you.

 23               And so what did you do after obtaining your

 24       doctorate degree?

 25          A    I continued as a postdoctoral researcher at              09:44:07

                                                                        Page 46

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 48Page
                                                            of 379
                                                                 104
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21668 #:
                                     1388

   1      the University of Toronto and at the Centre for

   2      Addiction and Mental Health.

   3         Q    Is it okay with you if I refer to the

   4      Centre for Addiction and Mental Health, as CAMH?

   5         A    Yes.                                                     09:44:26

   6         Q    Is it commonly known as CAMH, or am I --

   7         A    Usually they pronounce it CAMH.

   8         Q    CAMH.     I will do the same.

   9              COUNSEL SWAMINATHAN:      And, Court Reporter,

 10       that is C-A-M-H when I refer to "CAMH."                          09:44:38

 11       BY COUNSEL SWAMINATHAN:

 12          Q    Okay.     Can you describe your fellowship

 13       experience at CAMH?

 14          A    I started at -- there was an overlap year

 15       between the doctoral studies and my postdoctoral                 09:44:50

 16       studies.     The final year of a Ph.D. is an internship

 17       program, which is very much like an advanced

 18       practicum program.

 19               Within the internship, I was half-time of the

 20       entire year in their Gender Identity Clinic and                  09:45:05

 21       half-time for a full year in their Sexual Behaviours

 22       Clinic, which worked primarily with sexual

 23       offenders.      I continued that work and continued the

 24       related research then for the seven years after

 25       receiving my doctorate, staying at the same                      09:45:24

                                                                        Page 47

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 49Page
                                                            of 379
                                                                 105
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21669 #:
                                     1389

   1      institution.

   2              The -- the projects themselves were primarily

   3      focussed on brain function and development of each

   4      of the sexual issues.

   5         Q    Got it.   And so you said during your                    09:45:34

   6      internship period you had a position with the

   7      Gender Identity Clinic and then separately the

   8      Sexual Behaviours Clinic; is that correct?

   9         A    Yes.

 10          Q    What responsibilities did you have during                09:45:46

 11       your time in those clinics?

 12          A    I was conducting one-on-one therapy with

 13       individual people, pursuing or wondering if they

 14       should pursue medical transition, group therapy of

 15       people just living their lives as trans people and               09:46:06

 16       requiring support, and among the sexual -- in the

 17       SBC, in the Sexual Behaviours Clinic, with the sex

 18       offenders, it was rehabilitation.

 19          Q    And what qualified you to provide the

 20       one-on-one therapy that you just spoke about for                 09:46:25

 21       individuals pursuing medical transition and group

 22       therapy?   Was there any additional certificate or

 23       training that you needed in order to provide this

 24       therapy?

 25          A    The training of those issues was -- for those            09:46:39

                                                                        Page 48

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 50Page
                                                            of 379
                                                                 106
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21670 #:
                                     1390

   1      issues is -- it's a lot of reading and then

   2      one-on-one study with other experts who are

   3      extremely experienced with -- with trans issues.            I

   4      studied under Ray Blanchard at CAMH.

   5         Q    Did you study under anyone else besides                   09:47:03

   6      Ray Blanchard?

   7         A    There were other instructors.          He ran the

   8      lab.   The other primary input to my education was a

   9      trans clin- -- she herself was a trans clinician,

 10       Maxine Petersen.                                                  09:47:24

 11          Q    And so did either Ray Blanchard or

 12       Maxine Petersen serve as a supervisor to you in each

 13       of those positions?

 14          A    Yes.    Both of them.

 15          Q    Okay.    Did you have anyone to supervise under           09:47:35

 16       you in those positions at the Gender Identity Clinic

 17       and the Sexual Behaviours Clinic?

 18          A    Not while I was an intern or -- not while I

 19       was an intern and not while I was a postdoc.

 20          Q    What did you do next, after interning at                  09:47:58

 21       those clinics?

 22          A    After the internship and I received my

 23       doctorate, then I was appointed as a postdoctoral

 24       fellow at CAMH.

 25          Q    So my next set of questions pertain to your               09:48:08

                                                                          Page 49

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 51Page
                                                            of 379
                                                                 107
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21671 #:
                                     1391

   1      fellowship.

   2              So as a part of your fellowship, did your

   3      work focus on child psychology?

   4         A    Did my focus -- it didn't focus on child

   5      psychology, no.                                                  09:48:25

   6         Q    And apologies, can we go back one minute

   7      to -- you -- you had stated that you provided

   8      one-on-one therapy to individuals pursuing medical

   9      transition/group therapy.

 10               What was the average age of those patients               09:48:37

 11       that you provided the one-on-one therapy to?

 12          A    Average age?

 13          Q    Yeah.

 14          A    Early 40s.

 15          Q    What do you think was the youngest age of the            09:48:51

 16       patient, to your recollection?          I understand it was

 17       a bit of time ago.

 18          A    Youngest would have been late teens, early

 19       20s.

 20          Q    Okay.    Great.   And, sorry, back to your               09:49:03

 21       fellowship.     We just spoke about child psychology,

 22       and you mentioned that it did not focus on child

 23       psychology; correct?

 24          A    Correct.

 25          Q    How about adolescent psychology?                         09:49:15

                                                                        Page 50

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 52Page
                                                            of 379
                                                                 108
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21672 #:
                                     1392

   1            A   Again, it didn't focus on adolescent

   2      psychology, but most of the assessments that we were

   3      doing and the research we were doing was entire

   4      lifespan.       So, of course, childhood and adolescence

   5      is a predominant part of that, but not the focus of              09:49:34

   6      it.

   7            Q   I see.    And so, again, you'll have to educate

   8      me a bit, but as a part of your postdoctoral

   9      fellowship, do you take any courses?

 10             A   No.                                                    09:49:48

 11             Q   No?    It's --

 12             A   Oh, I should take that back.          There are no

 13       courses built into the program itself, but I often

 14       opted to take extra courses just to fill in extra

 15       material that I needed, such as in neuroscience or               09:49:59

 16       similar advanced statistics.

 17             Q   So beyond neuroscience, what other courses

 18       did you elect to take during your postdoctoral

 19       fellowship?

 20             A   Just those two deals, neuroscience and                 09:50:12

 21       statistics.

 22             Q   And statistics.    Okay.

 23                 And were those, like, online courses, or were

 24       they courses offered through CAMH?

 25             A   They were courses through the Univer- --               09:50:22

                                                                         Page 51

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 53Page
                                                            of 379
                                                                 109
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21673 #:
                                     1393

   1      through the University of Toronto.          CAMH is a

   2      teaching hospital of the University of Toronto.

   3         Q    Great.     And so, as part of your fellowship,

   4      did any of your work focus on transgender or

   5      gender-dysphoric adults?                                         09:50:38

   6         A    Not at that time, no.

   7         Q    What about transgender or gender-dysphoric

   8      adolescents?

   9         A    Not at that time, no.

 10          Q    Okay.     Have you completed any other studies?          09:50:57

 11          A    Altogether, I -- oh, when you say "studies,"

 12       you don't mean published studies; you mean --

 13          Q    Right.     Educational pursuits of degrees and

 14       things like that.

 15          A    No.     That's my full formal education.                 09:51:14

 16          Q    And I don't mean to say that you haven't done

 17       so much already.      I just wanted to make sure that

 18       we've covered all of the bases.

 19               And what is your current occupation right

 20       now?                                                             09:51:26

 21          A    I'm in private practice as a clinical

 22       psychologist.

 23          Q    And where do you conduct your private

 24       practice?

 25          A    In Toronto.                                              09:51:35

                                                                        Page 52

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 54Page
                                                            of 379
                                                                 110
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21674 #:
                                     1394

   1         Q    In Toronto.     Okay.

   2              So I see on page 1 and 2 of your CV, which

   3      hopefully you still have in front of you, you list

   4      your employment history.        I would love to walk

   5      through your employment history, but if it's okay                09:51:54

   6      with you, in chronological order.          So if we can turn

   7      to page 2.

   8         A    Yes.

   9         Q    I see that you completed predoctoral

 10       practicum at the Queen Elizabeth Hospital in                     09:52:07

 11       Montreal, Canada; is that correct?

 12          A    Yes.

 13          Q    And that was in the department of psychiatry?

 14          A    Yes.

 15          Q    And you were there from May 1994 to                      09:52:16

 16       December 1994; is that correct?

 17          A    Yes.

 18          Q    What was your title in this position?

 19          A    They used a French word that I don't

 20       remember.      A "stagiaire."    A -- a local Montreal,          09:52:37

 21       Quebec, term.      The best English translation would be

 22       trainee in psychology.

 23          Q    Do you speak French?

 24          A    No, I don't.

 25          Q    Trainee.     Okay.   Great.                              09:52:51

                                                                         Page 53

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 55Page
                                                            of 379
                                                                 111
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21675 #:
                                     1395

   1               Can you tell me a bit about your work in this

   2      position?

   3         A     My focus then was general psychotherapy with

   4      outpatients who would typically come in to that

   5      clinic with a series of disorders, mainly                        09:53:08

   6      depressions and anxieties.

   7         Q     And did you work in this position focus on

   8      children?

   9         A     No.

 10          Q     What about adolescents?                                 09:53:17

 11          A     Didn't focus on them, no.

 12          Q     No.     So you predominantly worked with adults

 13       who came in with depression and anxiety disorders?

 14          A     Correct.

 15          Q     Okay.     And then I see that you completed a           09:53:31

 16       predoctoral practicum at the Royal Victoria Hospital

 17       in Montreal; is that right?

 18          A     Yes.

 19          Q     And this was in the sex and couples therapy

 20       unit?                                                            09:53:45

 21          A     That's correct.

 22          Q     And you were there for a little under four

 23       years.    It says September 1993 to June 1997; is that

 24       right?

 25          A     Correct.     I continued seeing clients there           09:53:55

                                                                        Page 54

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 56Page
                                                            of 379
                                                                 112
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21676 #:
                                     1396

   1      over the course of my doctoral studies.

   2         Q     Got it.     Okay.

   3               So can you tell me about your work in this

   4      position and whether you had a similar French title

   5      there?                                                           09:54:07

   6               What -- what was your title?

   7         A     My -- I don't remember -- I don't remember my

   8      title.

   9         Q     Okay.     No problem.

 10          A     It was in English.         It's an English-speaking     09:54:19

 11       hospital.       My functions there were sex therapy and

 12       couples therapy, the full range of sexual disorders

 13       and the range of issues that -- that interfere with

 14       romantic relationships.

 15          Q     Got it.     So did the majority of your work in         09:54:34

 16       this position focus on adults?

 17          A     Yes.

 18          Q     Okay.     And in this position, did you conduct

 19       any research or, you know, have any, like, work

 20       experience in the field of transgender or                        09:54:49

 21       gender-dysphoric people?

 22          A     Not specific to them, no.

 23          Q     Okay.     And then I see that you were a

 24       teaching assistant at McGill in the Department of

 25       Psychology; is that right?                                       09:55:05

                                                                         Page 55

                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 57Page
                                                            of 379
                                                                 113
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21677 #:
                                     1397

   1         A    Yes.

   2         Q    And was this during your doctorate degree as

   3      well?

   4         A    Yes.

   5         Q    Okay.   And so that was from September 1993 to           09:55:13

   6      May 1998 --

   7         A    Yes.

   8         Q    -- is that right?

   9              Okay.   Who were you a teaching assistant for?

 10       Was it for a professor, or were you a general                    09:55:25

 11       teaching assistant for the program?

 12          A    Two different professors.        One was

 13       Rhonda Amsel for statistics courses, and the other

 14       was Irv Binik for sexuality courses.

 15          Q    Can you repeat the name of the professor who             09:55:41

 16       focused on sexuality courses?

 17          A    Irv, I-r-v, Binik, B-i-n-i-k.

 18          Q    And so what courses within sexuality did

 19       Irv Binik teach?

 20          A    The name of the course itself was                        09:55:58

 21       Human Sexuality.

 22          Q    It was called Human Sexuality.          Okay.

 23               And has he taught any other courses at

 24       McGill, to your knowledge, or during the time that

 25       you were there?                                                  09:56:07

                                                                        Page 56

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 58Page
                                                            of 379
                                                                 114
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21678 #:
                                     1398

   1         A     I think that's the only course he taught

   2      while I was there, yes.

   3         Q     So in your role as a teaching assistant, were

   4      you required to conduct any research on transgender

   5      or gender-dysphoric people?                                        09:56:28

   6         A     As a part of that course, no.

   7         Q     As a part of that course.        No?

   8         A     Correct.   Not as part of that course.

   9         Q     Okay.   And then you went on to work as a

 10       clinical psychology intern, as we spoke about, at                  09:56:45

 11       CAMH; right?

 12          A     Correct.

 13                MR. BARHAM:   Counsel, we've been going about

 14       an hour.    Would this be a natural time for a

 15       five-minute break?                                                 09:56:55

 16                COUNSEL SWAMINATHAN:     Absolutely.       Let's take

 17       a break, and we can come back at 10:05, if that

 18       works.

 19                Do you want to take a seven-minute break?

 20                MR. BARHAM:   Sure.    That sounds good.                  09:57:05

 21                COUNSEL SWAMINATHAN:     Okay.     We can go off

 22       the record.

 23                THE VIDEOGRAPHER:     Yes, we are going off the

 24       record at 9:57 a.m., and this is the end of Media

 25       Unit No. 1.                                                        09:57:12

                                                                           Page 57

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 59Page
                                                            of 379
                                                                 115
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21679 #:
                                     1399

   1                (Recess.)

   2                THE VIDEOGRAPHER:        All right.       We are back on

   3      the record at 10:08 a.m., and this is the beginning

   4      of Media Unit No. 2.

   5                Go ahead, please.                                            10:08:34

   6      BY COUNSEL SWAMINATHAN:

   7         Q      Okay.     Dr. Cantor, before the break, you

   8      testified that you had studied under two

   9      individuals, Blanchard and Petersen; is that

 10       correct?                                                               10:08:46

 11          A      Yes.

 12          Q      And that's Ray Blanchard and Maxine Petersen;

 13       right?

 14          A      Yes.

 15          Q      And you mentioned that they are extremely                    10:08:56

 16       knowledgeable on issues of transgender identities

 17       and gender-dysphoric people; right?

 18          A      Yes.

 19          Q      And their focus is -- they -- they focus on

 20       adults who identify as transgender or who suffer                       10:09:14

 21       from gender dysphoria; right?

 22          A      Their writings and their careers have spanned

 23       the entire lifespan, but most of their work was with

 24       adults.

 25          Q      Adults.     Okay.                                            10:09:31

                                                                               Page 58

                                        Veritext Legal Solutions
                                             866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 60Page
                                                            of 379
                                                                 116
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21680 #:
                                     1400

   1              And so we spoke about your time at the -- at

   2      CAMH as a clinical psychology intern, but then you

   3      moved to the law and mental health program, is that

   4      correct, at CAMH?

   5         A    The Sexual Behaviours Clinic is part of the              10:09:49

   6      law and mental health program.

   7         Q    Oh, okay.    So let me ask it a different way.

   8              What did you do after you were a clinical

   9      psychology intern at CAMH?

 10          A    After I was an intern was when I started my              10:10:02

 11       postdoctoral -- postdoctoral studies.

 12          Q    And so this is when you were a psychologist

 13       within the law and mental health program?

 14          A    Yes.

 15          Q    Okay.    Can you tell me about your work in              10:10:16

 16       that position?

 17          A    That's when I began my brain-based research

 18       on the development of atypical human sexualities.

 19          Q    And did your work in this position focus on

 20       child psychology?                                                10:10:37

 21          A    It's a little hard to say.         What I was

 22       researching on was brain development, which begins

 23       at conception, continues, of course, quite

 24       dramatically over the course of gestation, continues

 25       to develop over the course of childhood and                      10:10:56

                                                                        Page 59

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 61Page
                                                            of 379
                                                                 117
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21681 #:
                                     1401

   1      adolescence and ends in adulthood.

   2         Q      Got it.   So this brain development research

   3      that you did, did you focus only on brain

   4      development as it relates to atypical sexualities?

   5         A      Although the questions I was asking were               10:11:12

   6      about human sexuality, I simultaneously needed to

   7      account for all of the other possible things that

   8      were going on in the brain; and so, therefore, they

   9      became related, even though those weren't the topics

 10       of my specific efforts.                                          10:11:35

 11          Q      Your work in this position didn't focus on

 12       children and adolescents with gender dysphoria;

 13       right?

 14          A      It's a little tough to say.       It's tough to

 15       say.     Everything I look at in a brain scan is an              10:11:54

 16       accumulation of everything that happens over life,

 17       very much of which happens in childhood and before

 18       childhood.     So I was looking at the effects in the

 19       brain of everything that happened over childhood

 20       accumulated -- accumulating, but I wasn't looking                10:12:10

 21       during childhood.

 22          Q      It's fair to say that it didn't focus on

 23       child (sic) and adolescents with gender dysphoria;

 24       right?

 25                 MR. BARHAM:   Objection; terminology.                  10:12:25

                                                                        Page 60

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 62Page
                                                            of 379
                                                                 118
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21682 #:
                                     1402

   1                THE WITNESS:     It depends on what one means by

   2      "focus."

   3      BY COUNSEL SWAMINATHAN:

   4            Q   You didn't work with children and adolescents

   5      with gender dysphoria in this position directly, did             10:12:33

   6      you?

   7            A   Not while they were children and adolescents,

   8      no.

   9            Q   Okay.    Did you conduct research specifically

 10       related to children and adolescents with gender                  10:12:46

 11       dysphoria, or did you focus more holistically on

 12       brain development from birth to adulthood?

 13                 MR. TRYON:     Objection; form.

 14                 THE WITNESS:     I didn't -- my research

 15       subjects, while they were research subjects, were no             10:13:06

 16       longer children, but we would often focus on events

 17       that happened during childhood and adolescence.

 18       BY COUNSEL SWAMINATHAN

 19             Q   I see.    So what approximate -- or age -- or

 20       what was the average age of the research subjects                10:13:19

 21       that you worked with?

 22             A   The research subjects then ran the -- the

 23       gamut from 18 to simulating.

 24             Q   Okay.    And, again, this research was related

 25       to brain development as connected to atypical                    10:13:40

                                                                        Page 61

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 63Page
                                                            of 379
                                                                 119
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21683 #:
                                     1403

   1      sexualities, right, the research you --

   2         A     Yes.

   3         Q     -- you just mentioned?

   4               Okay.    Thank you.

   5               And then you went on to be the research                 10:13:49

   6      section head at CAMH; right?

   7         A     Correct.

   8         Q     And you were the section head from

   9      December 2009 to September 2012; right?

 10          A     Correct.                                                10:14:03

 11          Q     Great.     What was your title beyond research

 12       section head in this position?          Did you hold any

 13       other titles?

 14          A     Psychologist.

 15          Q     Psychologist.     Okay.                                 10:14:15

 16                Can you tell me about your work in this

 17       position?

 18                Mainly what I'm trying to understand is how

 19       much of your practice was research versus clinical

 20       psychology.                                                      10:14:30

 21          A     It's -- it's tough to pull them apart at that

 22       level.    I was simultaneously doing frontline

 23       clinical work but also systematically recording the

 24       results of that work, those of my colleagues, those

 25       of my then-students in order to analyze patterns in              10:14:47

                                                                        Page 62

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 64Page
                                                            of 379
                                                                 120
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21684 #:
                                     1404

   1      the data of what everybody was seeing.

   2              So what was done for research purposes was

   3      also done for clinical purposes and vice versa.

   4         Q    I see.   And so during your time as research

   5      section head, did any of your research involve,                  10:15:04

   6      specifically, gender dysphoria or transgender

   7      medicine?

   8              MR. BARHAM:    Objection; form.

   9              THE WITNESS:    I would hesitate -- it didn't

 10       focus, but was repeatedly included.           In order to do     10:15:25

 11       any of the -- or in order to do research on any of

 12       these topics, because they interrelate, we also --

 13       at least indirectly, also include the other atypical

 14       sexualities.

 15       BY COUNSEL SWAMINATHAN:                                          10:15:39

 16          Q    I see.   So what was your work primarily

 17       focused on, though, during your time as research

 18       section head?

 19          A    My work, as I said, was primarily focused on

 20       how atypical sexualities develop.                                10:15:52

 21          Q    And in your understanding, how do they

 22       develop?

 23          A    Well, that could be any atypical sexuality.

 24       Some -- those include pedophilia, other paraphilias,

 25       transsexuality, people who call themselves                       10:16:08

                                                                         Page 63

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 65Page
                                                            of 379
                                                                 121
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21685 #:
                                     1405

   1      hypersexual.

   2              I also participated in research and the

   3      development of what I'll call ordinary -- the

   4      development of sexual orientation.

   5         Q    So would you say that your work was primarily            10:16:19

   6      focused on pedophilia and hypersexuality?

   7              MR. TRYON:     Objection; form.

   8              THE WITNESS:     Primarily, sure.

   9      BY COUNSEL SWAMINATHAN:

 10          Q    And then you went on to become the head of               10:16:35

 11       research at the Sexual Behaviours Clinic; right?

 12          A    Yes.

 13          Q    And that was from November 2010 to

 14       April 2014; correct?

 15          A    Yes.                                                     10:16:49

 16          Q    And you were still at CAMH?

 17          A    Yes.

 18          Q    Great.     So can you tell me about your work in

 19       this position?

 20          A    Only my position title changed.                          10:17:03

 21          Q    So your work remained the same, but you were

 22       promoted to head of research?

 23          A    Correct.

 24          Q    What is the difference between research

 25       section head and head of research?                               10:17:16

                                                                        Page 64

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 66Page
                                                            of 379
                                                                 122
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21686 #:
                                     1406

   1         A     There isn't one.        There was a reorganization

   2      of the departments.       The titles in the department

   3      were realigned to match those in other departments.

   4         Q     I see.     Thank you.

   5               And so in this position, as you continued on,           10:17:33

   6      am I correct to say that your work still focused

   7      primarily on pedophilia, hypersexuality and your

   8      work with sex offenders?          Is that correct?

   9         A     Yes.

 10          Q     Okay.     And did your work, in terms of the            10:17:49

 11       patients you saw, at all focus on children and

 12       adolescents?

 13                MR. BARHAM:     Objection; form.

 14                THE WITNESS:     Not --

 15                MR. TRYON:     Objection.                               10:18:06

 16                THE WITNESS:     Not while they were children

 17       and adolescents, but very many of the issues that we

 18       were dealing with were issues that occurred during

 19       childhood and adolescence.

 20       BY COUNSEL SWAMINATHAN:                                          10:18:11

 21          Q     I see.     But the patients themselves, at the

 22       time you saw them, were not children or adolescents;

 23       right?

 24          A     Correct.

 25          Q     Got it.     And then you were a senior scientist        10:18:20

                                                                        Page 65

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 67Page
                                                            of 379
                                                                 123
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21687 #:
                                     1407

   1      as a part of the complex mental illness program;

   2      right?

   3         A     Correct.

   4         Q     And that was from January 2012 to May 2018?

   5         A     Correct.                                                10:18:42

   6         Q     What was your responsibility or, you know,

   7      what were you duties under the title of senior

   8      scientist?

   9         A     The duties were the same as before, but,

 10       again, in the administrative structure of the                    10:18:53

 11       hospital, one often had dual titles.

 12          Q     I see.     So when you adopted the title of

 13       senior scientist, you were still the head of

 14       research; is that correct?

 15          A     Yes.                                                    10:19:09

 16          Q     So why did they give you this additional

 17       title?

 18          A     That was a higher rank than psychologist.

 19          Q     I see.     And did your roles change at all from

 20       head of research to then adopting this dual role as              10:19:23

 21       senior scientist and head of research?

 22          A     No.    My functions were the same.

 23          Q     Did you have a change in supervision at all?

 24          A     I'm not sure what you mean.

 25                Whom I was supervising or whom I was                    10:19:41

                                                                        Page 66

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 68Page
                                                            of 379
                                                                 124
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21688 #:
                                     1408

   1      supervised by?

   2         Q      Apologies.    Was who you reported to in your

   3      prior role as head of research still the same person

   4      or group of people you reported to as senior

   5      scientist?                                                            10:19:54

   6         A      Yes.

   7         Q      Who were those individuals?

   8         A      Oh, I don't recall his name.         He was the head

   9      of the law and mental health program.

 10          Q      So the head of the law and mental health                    10:20:12

 11       program in the 2012 to 2018 timeframe.               Is that fair

 12       to say?

 13          A      Yes.

 14          Q      And I take it from your slight

 15       misunderstanding of my prior question that you have                   10:20:29

 16       supervised people in those positions as well; right?

 17          A      Yes.

 18          Q      And so when you were a senior scientist, who

 19       did you supervise in that position?

 20          A      Students whom I was training at the time.                   10:20:41

 21          Q      And so these are students of the University

 22       of Toronto?

 23          A      No.    They were usually students really coming

 24       to CAMH from all over the world for their

 25       internships and their training.                                       10:21:02

                                                                              Page 67

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 69Page
                                                            of 379
                                                                 125
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21689 #:
                                     1409

   1         Q    I see.     Okay.

   2              And so at any given time, how many students

   3      would you say, on average, you supervise?

   4         A    Three to five.

   5         Q    Okay.     And what kind of work were those                  10:21:13

   6      students typically engaging in when they were under

   7      your supervision?

   8         A    A lot of the cognitive testing and treatment

   9      with people with atypical sexualities.

 10          Q    And what did -- what did their assignments                  10:21:27

 11       look like?      What -- what did they work on, when you

 12       say that they focused on cognitive treatment and

 13       atypical sexualities?

 14          A    There was a great deal of -- of testing.            Our

 15       object was to try to record, objectively, what other                10:21:45

 16       clinicians were perceiving subjectively.

 17          Q    And how did you do that?          How did you -- how

 18       did your clinic test objectively?

 19          A    Sometimes through document checks.            Sometimes

 20       through formal testing, using standardized                          10:22:03

 21       instruments.

 22          Q    Okay.     And so in your position as senior

 23       scientist and, you know, under -- while you were

 24       supervising these CAMH interns, did you ever work

 25       directly with children or adolescents with gender                   10:22:21

                                                                            Page 68

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 70Page
                                                            of 379
                                                                 126
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21690 #:
                                     1410

   1      dysphoria?

   2         A      Directly, no.

   3         Q      Did your testing ever involve issues

   4      pertaining to child or adolescent psychology?

   5         A      Issues pertaining to, yes.                             10:22:39

   6         Q      What would you describe those issues as?

   7         A      Events occurring during those periods of

   8      life.

   9         Q      And how would you obtain data on those

 10       events?                                                          10:22:52

 11          A      Sometimes through interview with the patient.

 12       Sometimes through review of documents.

 13          Q      Got it.    And so when you say you've

 14       interviewed the patients, you're interviewing them

 15       as adults, and they're recounting their childhood                10:23:05

 16       experiences; correct?

 17          A      Yes.

 18          Q      And when you say "records," who provides you

 19       with the medical records of these patients?

 20          A      Typically, they were provided by a court,              10:23:18

 21       parole or probation officers or the patients'

 22       lawyers.

 23          Q      I see.    Okay.   So how -- how do these

 24       patients come to you?        How do you -- or a better

 25       question is, how do you find these patients that you             10:23:34

                                                                        Page 69

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 71Page
                                                            of 379
                                                                 127
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21691 #:
                                     1411

   1      work with?

   2         A      Well, I didn't really find them at all.

   3      Typically, these would be assigned to the hospital,

   4      and then the hospital would get them to the

   5      appropriate clinic, and then I saw everybody who                 10:23:48

   6      came to that clinic, or I was ultimately responsible

   7      for the research going on with everybody in that

   8      clinic.

   9         Q      I see.   So how -- or why would these patients

 10       be referred to your hospital?                                    10:24:00

 11                 MR. TRYON:     Objection.

 12                 THE WITNESS:     Either through --

 13                 MR. BARHAM:     Objection as to form.

 14                 THE WITNESS:     Typically, they were -- they

 15       had committed a sexual offense and served their                  10:24:11

 16       sentence and were being released to parole and

 17       probation, and so the parole and probation system

 18       wanted as much information as possible in order to

 19       put the person -- to help maximize the person's

 20       benefit from their -- from their rehabilitation time             10:24:27

 21       and from their parole and probation time.

 22                 Other people self-referred because they had a

 23       question or concern with some issue and there was

 24       nobody else with the expertise to be able to answer

 25       it -- to be able to address it.                                  10:24:42

                                                                        Page 70

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 72Page
                                                            of 379
                                                                 128
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21692 #:
                                     1412

   1      BY COUNSEL SWAMINATHAN:

   2            Q   Two quick follow-up questions.

   3                So what was most typically the offense that

   4      these patients had committed when they came to your

   5      hospital?                                                        10:24:51

   6                MR. TRYON:     Objection.

   7                THE WITNESS:     I would hesitate to say to the

   8      hospital.     But the ones who ended up in my clinic

   9      were there specifically for a sex-related --

 10       sex-related reason.        Roughly two-thirds of those           10:25:03

 11       would be related to or potentially related to a

 12       sexual offense.

 13       BY COUNSEL SWAMINATHAN:

 14             Q   Can you describe for me what you mean by

 15       "sexual offense"?        What does sexual offense                10:25:18

 16       encompass?

 17                 MR. TRYON:     Objection.

 18                 And before you answer, I just -- I don't know

 19       what HIPAA laws are in Canada, but I just want to

 20       caution the witness to make sure that you're not                 10:25:28

 21       violating any confidentiality requirements of -- of

 22       Canadian law.

 23                 COUNSEL SWAMINATHAN:        Thank you, Counsel.

 24       Your objection is noted.

 25       ///

                                                                        Page 71

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 73Page
                                                            of 379
                                                                 129
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21693 #:
                                     1413

   1      BY COUNSEL SWAMINATHAN:

   2         Q      You can answer, Dr. Cantor.

   3         A      I understand.

   4                Typically, these were touching of a child or

   5      child pornog- -- or child pornography possession.                10:25:42

   6         Q      Thank you.   I appreciate that.

   7                So you also said that some of these patients

   8      were self-referred; right?

   9         A      Yes.

 10          Q      Approximately what percentage of your                  10:25:55

 11       patients were self-referred as opposed to coming to

 12       you from a different -- coming to the hospital from

 13       a different method?

 14          A      Roughly a quarter to a third.

 15          Q      I appreciate it.                                       10:26:13

 16                 And then your position has changed again, but

 17       maybe you can let me know if -- was there any

 18       difference between your role as a senior scientist

 19       and a senior scientist, inaugural member, as noted

 20       on your resumé?                                                  10:26:29

 21          A      No, there was no difference.

 22          Q      What -- what does it mean to be an inaugural

 23       member?

 24          A      It was -- it was an inaugural -- an inaugural

 25       member of that now newly formed institution.          It was     10:26:45

                                                                         Page 72

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 74Page
                                                            of 379
                                                                 130
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21694 #:
                                     1414

   1      a large donation to the hospital, which, again,

   2      triggered a another reorganization.

   3            Q   Oh, okay.     So what was the Campbell Family

   4      Mental Health Research Institute previously known an

   5      as?                                                              10:27:01

   6            A   It wasn't previously known.         The Campbell

   7      family was the source of the large donation which

   8      triggered the renaming and the reorganization.

   9            Q   I see.     So it was -- it's completely separate

 10       from the complex mental illness program or the                   10:27:10

 11       Sexual Behaviours Clinic?

 12             A   I don't recall the administrative details,

 13       but as I say, it was a shuffling rather than a -- it

 14       was more a shuffling than anything else.

 15             Q   So were the people that you worked with in             10:27:24

 16       that position largely the same as previous

 17       positions, in terms of your coworkers?

 18             A   Yes.     Nothing from my day-to-day work

 19       changed.

 20             Q   Got it.     And the -- the work that you had           10:27:36

 21       just described to me, that you had done in your role

 22       as senior scientist, that work was the same as

 23       senior scientist, inaugural member?

 24             A   Correct.

 25             Q   Okay.     And you were there until May 2018;           10:27:48

                                                                        Page 73

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 75Page
                                                            of 379
                                                                 131
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21695 #:
                                     1415

   1      right?

   2         A     Yes.

   3         Q     And then finally, I think we're getting to

   4      where you are presently, which is the director of

   5      the Toronto Sexuality Centre; correct?                           10:28:01

   6         A     Yes.

   7         Q     And so you are currently the director of the

   8      Toronto Sexuality Centre, but you're also conducting

   9      your own private practice; is that right?

 10          A     That is my private practice.                            10:28:14

 11          Q     Oh, that is your private practice.          Okay.

 12                And so can you tell me about your private

 13       practice?       Approximately how many patients do you

 14       have as a part of your private practice?

 15          A     Roughly 50, currently.                                  10:28:28

 16          Q     So you have about 50 patients.          Does this

 17       fluctuate a lot, or is it typically around 50?

 18          A     I do my best to keep the number pretty

 19       constant.

 20          Q     Okay.     And why is that?                              10:28:47

 21          A     Oh, for the -- for the workload.

 22          Q     Got it.     And so you've been in your private

 23       practice for about five years now; is that right?

 24          A     Yes.

 25          Q     When you first started your private practice,           10:29:01

                                                                        Page 74

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 76Page
                                                            of 379
                                                                 132
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21696 #:
                                     1416

   1      approximately how many patients did you have?

   2         A    I want to say zero, and then I worked it up

   3      from there.

   4         Q    And how are patients typically finding you or

   5      coming to you for -- for your treatment?                            10:29:20

   6         A    Generally from routine advertising.             Perhaps

   7      a quarter of them are referred specifically from

   8      other clinicians who feel that they're not qualified

   9      to deal with, whatever sexual issues, will send

 10       their client to me.                                                 10:29:38

 11          Q    You said "routine advertising."             What does

 12       routine advertising for your practice look like?

 13          A    An ad in Psychology Today and websites.

 14          Q    Any social media?

 15          A    No.                                                         10:29:53

 16          Q    And you said sometimes other clinicians refer

 17       patients to you because they are unable to meet the

 18       needs of what the patient is looking for; right?

 19          A    Correct.

 20          Q    And so what would you describe your specialty               10:30:05

 21       to be that these other clinicians don't possess?

 22          A    Human sexuality, which is left out of most

 23       mental health training programs altogether.

 24          Q    And I know we've spoken about this briefly

 25       before, but what all do you understand to fall under                10:30:24

                                                                            Page 75

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 77Page
                                                            of 379
                                                                 133
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21697 #:
                                     1417

   1      human sexuality again?

   2         A    Sexual functioning, sexual attraction --

   3      sexual functioning and sexual attraction patterns.

   4         Q    And so of your 50 patients, approximately --

   5      you know, what's the average age of your 50                      10:30:40

   6      patients?

   7         A    Average?     30 to 35.

   8         Q    How old is your youngest patient, without

   9      disclosing any HIPAA violative information?

 10          A    Youngest would be, I think, early 20s.                   10:30:57

 11          Q    Early 20s.     And how about the oldest?

 12          A    Oldest would be late 60s.

 13          Q    So as your role as director, is it -- am I

 14       correct that it's solely just your private practice,

 15       not your research?      There's no -- no more research           10:31:18

 16       component of this position?

 17          A    Not paid.

 18          Q    So at the Toronto Sexuality Centre, you're

 19       praid -- you're paid for the work that you do in

 20       conjunction with your private practice; right?                   10:31:36

 21          A    Correct.

 22          Q    And any other research you do, there's no

 23       payment from this entity for that research; right?

 24          A    Correct.

 25          Q    Okay.   So in any of these positions that                10:31:47

                                                                        Page 76

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 78Page
                                                            of 379
                                                                 134
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21698 #:
                                     1418

   1      we've spoken about, have you provided care directly

   2      to transgender people?

   3         A      I'm sorry, would you ask that again?

   4         Q      Sure.     So in any of these positions, have you

   5      provided care to transgender people?                             10:32:03

   6                MR. BARHAM:     Objection; form.

   7                THE WITNESS:     Yes.

   8      BY COUNSEL SWAMINATHAN:

   9         Q      Which positions have you provided care to

 10       transgender people?                                              10:32:15

 11          A      Right now, asking as to the Toronto Sexuality

 12       Centre?

 13          Q      Any others?

 14          A      I -- I don't have any other clinical

 15       positions.        I'm -- again, I'm checking your                10:32:28

 16       question.

 17                 When you asked me about my experiences with

 18       trans people, you mean the -- my clinical

 19       experiences within the Toronto Sexuality Centre?

 20          Q      Exactly.     And I'm just trying to ensure that        10:32:43

 21       I haven't missed any other practices that, you know,

 22       you may have had with respect to, you know,

 23       providing direct care to -- to transgender people.

 24                 So I understand your answer to be the Toronto

 25       Sexuality Centre; is that correct?                               10:32:57

                                                                        Page 77

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 79Page
                                                            of 379
                                                                 135
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21699 #:
                                     1419

   1         A     Yes, I -- I -- that includes trans people and

   2      people with transitions.

   3         Q     Okay.     And, again, none of this care was

   4      provided to transgender prepubertal kids; right?

   5         A     Correct.                                                10:33:15

   6         Q     And none of this care was provided to

   7      transgender adolescents; right?

   8         A     Some would be adolescents.         I -- I see

   9      clients at ages 16 and up.

 10          Q     16 and up.                                              10:33:32

 11                And you said your youngest client at the

 12       moment is in their early 20s, but you have seen

 13       clients who have been under the age of 18; is that

 14       right?

 15          A     Yes.                                                    10:33:45

 16          Q     How many transgender people under the age of

 17       18 have you provided care to?

 18          A     Six to eight.

 19          Q     Okay.

 20          A     While they were in that age.                            10:33:58

 21          Q     Got it.     And what about under the age 16,

 22       have you ever provided care to any transgender

 23       adolescent or prepubertal kid under the age of 16?

 24          A     No.

 25          Q     Okay.     Did any of the care that you provided         10:34:11

                                                                        Page 78

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 80Page
                                                            of 379
                                                                 136
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21700 #:
                                     1420

   1      to transgender and gender-dysphoric people involve

   2      prescribing puberty-delaying treatment?

   3         A    No.     I'm not licensed for providing medical

   4      care.

   5         Q    And so you're not licensed to provide -- or,             10:34:31

   6      sorry, prescribe hormone therapy; right?

   7         A    That is correct.

   8         Q    Okay.     So your care primarily involved

   9      counseling; right?

 10          A    Yes.                                                     10:34:44

 11          Q    So with respect to any employment that you've

 12       held, have you ever been subject to discipline by

 13       your employer?

 14          A    No.

 15          Q    No?     And you've spent a significant portion           10:34:55

 16       of your career at CAMH; right?

 17          A    Yes.

 18          Q    Okay.     How have you gotten along with your

 19       colleagues over the span of -- it looks like over

 20       20 -- 20 years?      22 years?   How have you gotten             10:35:15

 21       along with your colleagues there?

 22          A    In general, very well.

 23          Q    And apologies, just one -- one clarification.

 24               So you said that you're not licensed to

 25       prescribe puberty-delaying treatment or cross-sex                10:35:29

                                                                        Page 79

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 81Page
                                                            of 379
                                                                 137
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21701 #:
                                     1421

   1      hormones; right?

   2         A    Correct.

   3         Q    Are you qualified to refer patients to

   4      providers who are licensed to provide that care?

   5         A    I'm not -- the question doesn't quite make               10:35:49

   6      sense to me.

   7         Q    Great.     I'm -- I'm happy to rephrase.

   8              Have you ever provided a referral for one of

   9      your patients to obtain puberty-delaying treatment

 10       or cross-sex hormones from, let's say, an                        10:36:03

 11       endocrinologist?

 12          A    It's tough to say.      Again, the Canadian

 13       medical system doesn't work quite the same way as

 14       the American way does.      A letter from me would

 15       generally be sufficient for a medical provider who               10:36:27

 16       is looking for a licensed mental healthcare provider

 17       to say that a person is mentally healthy and ready

 18       to engage in a medical treatment, but we don't send

 19       the referral -- but -- but in the U.S., I understand

 20       there are certain legal ramifications how that                   10:36:53

 21       referral happens, which isn't necessarily relevant

 22       to where I am.

 23          Q    I see.     So you would provide a letter to

 24       another mental health provider who works with a

 25       patient, who would then be able to provide a                     10:37:05

                                                                        Page 80

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 82Page
                                                            of 379
                                                                 138
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21702 #:
                                     1422

   1      referral to the medical doctor to prescribe these

   2      treatments; right?

   3         A    No.   I would be that other mental health

   4      provider.

   5         Q    So you would receive a letter from another               10:37:18

   6      practitioner and then that -- you would be the

   7      decision-maker as to whether the person is ready for

   8      a referral to a medical doctor to receive these

   9      treatments; is that correct?

 10          A    No.   Usually, I would be the initiator.        I        10:37:35

 11       mean, a -- a -- any given patient might come to me

 12       through another provider, but that doesn't require

 13       anything -- anything formal or anything in writing.

 14               If the request or the -- if what is

 15       appropriate to the case is that the person does go               10:37:52

 16       on for medical treatment, then I would write a

 17       letter indicating that patient's preparedness for

 18       that medical treatment.

 19          Q    I see.   And so how often have you written

 20       such a letter?    How -- how many times, to your                 10:38:03

 21       approximate recollection?

 22          A    Two, three dozen.

 23          Q    Two, three dozen.

 24               And do you typically write these letters for

 25       those who are above the age of 16?                               10:38:17

                                                                        Page 81

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 83Page
                                                            of 379
                                                                 139
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21703 #:
                                     1423

   1         A    Yes.

   2         Q    Have you ever written a letter for a patient

   3      of yours who was under the age of 16 to receive

   4      puberty-delaying treatment or hormone therapy?

   5         A    No.                                                      10:38:33

   6         Q    Has any patient under the age of 16 come to

   7      you with that request?

   8         A    I don't see patients under 16.

   9         Q    How about under 18?      Has any patient between

 10       the ages of 16 and 18 come to you with a request                 10:38:46

 11       seeking puberty-delaying treatment or, sorry, at

 12       that point cross-sex hormones?

 13          A    I haven't had such a request, no.

 14          Q    Okay.   Sorry, we were just speaking about

 15       your colleagues at CAMH, and I was asking you, you               10:39:00

 16       know, how have you gotten along with your colleagues

 17       there, and you said fine; is that correct?

 18          A    Generally, quite well, yes.

 19          Q    Generally, quite well.

 20               Did you ever have any disagreements with                 10:39:11

 21       other employees of CAMH?

 22          A    Yes.

 23          Q    What kinds of disagreements have you had?

 24               MR. BARHAM:    I'm going to object and advise

 25       not to disclose any confidential information.                    10:39:31

                                                                        Page 82

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 84Page
                                                            of 379
                                                                 140
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21704 #:
                                     1424

   1              THE WITNESS:     Generally, these were, you

   2      know, minor administrative disagreements about how

   3      something should be done or -- or efficiency.

   4              The largest disagreement I had was not

   5      related to gender -- to gender issues at all, but it             10:39:51

   6      ultimately was what motivated my leaving the

   7      hospital.

   8      BY COUNSEL SWAMINATHAN:

   9         Q    It was not related to issues of gender

 10       dysphoria or related to transgender people?                      10:40:04

 11          A    Correct.

 12          Q    And it caused you to leave the hospital.

 13               And was that in 2018?

 14          A    Yes.

 15          Q    Okay.    So you've never had any issue come up           10:40:18

 16       relating to the topic of transgender people; right?

 17          A    When you now say "never had any issue come

 18       up," we're -- we're still talking in which -- in

 19       which context?

 20          Q    Apologies.     Let me -- let me clarify.                 10:40:38

 21               So you said that there was a disagreement in

 22       2018 that caused you to leave CAMH; right?

 23          A    I wouldn't say that there was a disagreement

 24       in 2018.    It took me several years to -- to get

 25       to -- to get to that point, but that certainly --                10:40:54

                                                                        Page 83

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 85Page
                                                            of 379
                                                                 141
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21705 #:
                                     1425

   1      but that was the formal date of when -- when I left

   2      CAMH.

   3         Q    I understand.

   4              What was that disagreement?

   5         A    It had become very apparent to me that the               10:41:05

   6      psychiatric staff was misusing hospital time for

   7      their own private practices, and I was ultimately

   8      unable to change that from happening in a

   9      substantial way.     I thought it was grossly unethical

 10       and no longer wanted any part of a clinic that would             10:41:24

 11       -- that would allow that.

 12          Q    And were these psychiatric staff individuals

 13       that you supervised?

 14          A    No.

 15          Q    No?   And to your knowledge, if -- if you                10:41:34

 16       know, how were they misusing hospital time?

 17          A    They were seeing private patients and using

 18       hospital resources for those private patients.

 19          Q    And would those patients be coming to the

 20       hospital, or would these be virtual sessions?                    10:41:51

 21          A    Coming to the hospital.

 22          Q    Yeah, I'm just trying to get a better

 23       understanding of whether, you know, these

 24       psychiatric staff were seeing these patients and the

 25       patients were not registered in the hospital                     10:42:06

                                                                        Page 84

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 86Page
                                                            of 379
                                                                 142
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21706 #:
                                     1426

   1      records.

   2              Is -- is that what happened?

   3         A    The --

   4              MR. BARHAM:    I'm going to object and caution

   5      you about resealing confidential information.                    10:42:16

   6              COUNSEL SWAMINATHAN:      Objection noted.     Thank

   7      you.

   8              THE WITNESS:    That's not how the system

   9      exactly was set up.     Because of the nature of the

 10       laboratory, it was permitted to see nonhospital                  10:42:35

 11       patients, but hour by hour and patient by patient,

 12       they were encroaching on hours that should have been

 13       reserved for hospital patients, but hospital

 14       patients were getting displaced for the private

 15       patients.                                                        10:42:49

 16          Q    And how, exactly, did this -- this misuse of

 17       time lead you to your decision to leave the hospital

 18       entirely?

 19          A    It became apparent -- it became apparent that

 20       some money resources had been bled away from the                 10:43:12

 21       clinic that there were no -- at one time, the -- the

 22       regular patients who were regularly getting referred

 23       ceased being referred.      The referral sources

 24       realized that the delays got so long, they didn't

 25       bother referring anybody anymore, and if there are               10:43:27

                                                                         Page 85

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 87Page
                                                            of 379
                                                                 143
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21707 #:
                                     1427

   1      no people, then -- if there are no referrals,

   2      there's no clinic.      If there's no clinic, there's no

   3      research.

   4              I was able to correct it for a time, but I

   5      was unable to get the hospital to change its policy              10:43:40

   6      to make it permanent.

   7         Q    I see.    And so your disagreement with how the

   8      hospital handled that situation is what caused you

   9      to leave; right?

 10          A    Yes.                                                     10:43:53

 11          Q    And prior to that, I think you testified that

 12       you've had no other disagreements during your time

 13       at CAMH with respect to topics concerning

 14       transgender people; right?

 15               MR. TRYON:     Objection; form.                          10:44:12

 16               THE WITNESS:     Correct.

 17       BY COUNSEL SWAMINATHAN:

 18          Q    You've never disagreed with any employee as

 19       to what proper care for transgender individuals

 20       should be?                                                       10:44:19

 21               MR. TRYON:     Objection.

 22               THE WITNESS:     Not that I recall, no.

 23       BY COUNSEL SWAMINATHAN:

 24          Q    Okay.    So let's move to page 3 of your CV, if

 25       you still have that up in front of you.                          10:44:33

                                                                        Page 86

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 88Page
                                                            of 379
                                                                 144
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21708 #:
                                     1428

   1         A     Yes.

   2         Q     Great.    Can you take a moment to review?

   3               I -- I believe pages 3 through 7 list

   4      publications that you have authored and coauthored;

   5      right?                                                           10:44:57

   6         A     Yes.

   7         Q     Okay.    Approximately how long have you been

   8      authoring publications?

   9         A     You said three pages?      I'm counting five.

 10          Q     3 through 7, sorry.     3, 4, 5, 6 --                   10:45:11

 11          A     Oh, pages 3 through 7?

 12          Q     Yes, yes.

 13          A     I understand.

 14                Yes, I'm sorry, what was your question again?

 15          Q     Approximately how long have you been                    10:45:23

 16       authoring publications?

 17          A     Oh, almost 30 years.

 18          Q     Almost 30 years.

 19                And what topics do you predominantly write

 20       about?                                                           10:45:33

 21          A     Human sexuality and atypical sexualities.

 22          Q     And within human sexuality and atypical

 23       sexuality, what subjects do you primarily focus on?

 24          A     Sexual orientation, paraphilias and gender

 25       identity.                                                        10:45:51

                                                                        Page 87

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 89Page
                                                            of 379
                                                                 145
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21709 #:
                                     1429

   1         Q     And you have 64 articles listed here under

   2      "Publications"; right?

   3         A     That's -- yes.

   4         Q     When did you start writing and researching

   5      about paraphilias?                                               10:46:06

   6         A     Specifically about the paraphilias, soon

   7      after I arrived at CAMH.

   8         Q     Okay.    So that would be around 1998, '99

   9      timeframe?

 10          A     Roughly, yes.                                           10:46:21

 11          Q     Okay.    And how many of these publications

 12       focus on transgender and gender-dysphoric people?

 13          A     I have listed them on my CV.          I'd have to

 14       count.    It's roughly a half dozen.

 15          Q     Why don't we go through these pages together.           10:46:39

 16                So your first publication titled "Transgender

 17       and gender diverse children and adolescents:

 18       Fact-checking of AAP policy," authored by J. Cantor

 19       in 2020; is that correct?

 20          A     Yes.                                                    10:46:58

 21          Q     And you would say that publication pertains

 22       to issues of transgender and gender dysphoria in

 23       people; right?

 24          A     Yes.

 25          Q     Great.    I'm looking down the list now.                10:47:08

                                                                        Page 88

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 90Page
                                                            of 379
                                                                 146
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21710 #:
                                     1430

   1               Is there anything else on page 3, any other

   2      publication listed on page 3 that deals specifically

   3      with transgender individuals or individuals

   4      diagnosed with gender dysphoria?

   5         A     No.                                                      10:47:29

   6         Q     Okay.   Let's go to page 4.        Can we go through

   7      this same exercise?

   8               Is this there any publication on this page

   9      that relates specifically to transgender individuals

 10       or individuals with gender dysphoria?                             10:47:52

 11          A     Only indirectly, number 26, Fazio and Cantor.

 12          Q     What do you mean by "indirectly"?

 13          A     One of the ways -- left-handedness is more

 14       common among people who are trans or gay, for that

 15       matter, than -- than not.                                         10:48:18

 16          Q     And that's the only -- that's the only way

 17       that this article is connected to issues concerning

 18       people who are transgender and gender dysphoric;

 19       right?

 20          A     Yes.                                                     10:48:33

 21          Q     Okay.   Great.   Let's go to page 5 of your

 22       list of publications.

 23          A     Yes.

 24          Q     Can we go through that same exercise?

 25                I can see that number 30 concerns paraphilia,            10:48:43

                                                                          Page 89

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 91Page
                                                            of 379
                                                                 147
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21711 #:
                                     1431

   1      gender dysphoria and hypersexuality, so I assume

   2      that article relates to transgender or

   3      gender-dysphoric people in some regard; right?

   4         A    Yes.

   5         Q    Is there any other article on that page that             10:48:57

   6      relates to what we're speaking about?

   7         A    That particular one, that's a -- the relevant

   8      chapter in the Oxford Textbook of Psychopathology.

   9      I just finished writing the new version of that, but

 10       it's not yet in my CV.      The book hasn't come out             10:49:17

 11       yet.

 12          Q    Okay.   Great.    So just number 30; right?

 13               And then can we --

 14          A    Hang on.    I'm going through the rest of the

 15       list.                                                            10:49:32

 16          Q    Oh, apologies.

 17          A    Again, indirectly, number 37, Cantor, 2012,

 18       "Is homosexuality a paraphilia?"         Again, gender

 19       identity factors indirectly, in answering that

 20       question.                                                        10:49:48

 21          Q    So, again, your testimony is that 37

 22       indirectly focuses on transgender people and gender

 23       identity disorders as related to homosexuality as a

 24       paraphilia; is that right?

 25          A    The evidence -- exactly as the -- the title              10:50:03

                                                                        Page 90

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 92Page
                                                            of 379
                                                                 148
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21712 #:
                                     1432

   1      states, reviewing the evidence and the arguments

   2      that have been posed for each side.

   3         Q    So how does this article specifically address

   4      issues of transgender people and gender dysphoria

   5      individuals?                                                     10:50:21

   6         A    There is a specific paraphilia called

   7      "autogynephilia" which is strongly related to the

   8      motivator -- which is strongly -- which is one of

   9      the strongest motivatives for adults who want to

 10       transition, specifically from male to female.                    10:50:36

 11          Q    So --

 12          A    Whether they --

 13          Q    Apologies.    Continue.

 14          A    Whether they consider themselves heterosexual

 15       or homosexual is often rooted at what their stage of             10:50:45

 16       transition is.    So it makes the question of

 17       whether -- sexual orientations of paraphilia a

 18       little more complicated.

 19          Q    Got it.   And as you just testified,

 20       autogynephilia applies to adults; right?                         10:51:00

 21          A    That's not exactly it, no.         Usually in a

 22       clinic, autogynephilia is the primary motivator

 23       behind most -- most people who start becoming gender

 24       dysphoric in adulthood, but that doesn't mean it's

 25       limited to adulthood.                                            10:51:21

                                                                        Page 91

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 93Page
                                                            of 379
                                                                 149
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21713 #:
                                     1433

   1         Q    Got it.     Are there any other articles on this

   2      page that relate to transgender --

   3         A    Yes.

   4         Q    -- or gender dysphoria?

   5         A    Yes.    Number 40, which is the then prior               10:51:33

   6      version of that chapter for the Oxford Textbook of

   7      Psychopathology, but the chapter was retitled, so

   8      the phrase "gender identity" doesn't appear in the

   9      title in that -- in that title.         Or it doesn't

 10       appear in the title in that version.                             10:51:50

 11          Q    So this chapter titled "Sexual disorders"

 12       encompasses information about transgender identities

 13       and gender dysphoria; is that right?

 14          A    Yes.

 15          Q    Okay.     Anything else on this page?                    10:51:59

 16          A    No.

 17          Q    Okay.     We're almost done with this exercise.

 18               Page 6.     Are there any articles on page 6 of

 19       your CV that focus --

 20          A    Yes.    Number 53, Zucker, et al.                        10:52:26

 21          Q    Okay.     "The Recalled Childhood Gender

 22       Identity/Gender Role Questionnaire:           Psychometric

 23       properties."

 24               So this publication focuses on issues

 25       pertaining to transgender and gender-dysphoric                   10:52:42

                                                                        Page 92

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 94Page
                                                            of 379
                                                                 150
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21714 #:
                                     1434

   1      individuals; right?

   2         A    Children specifically, yes.

   3         Q    Children specifically.       Okay.

   4              Anything else on this page?

   5         A    No.                                                      10:52:51

   6         Q    And the last page, page 7, are there any

   7      articles on this page that pertain to transgender

   8      individuals or gender-dysphoric individuals?

   9         A    No.

 10          Q    Great.   So you've identified six articles for           10:53:15

 11       me, and, if you don't mind, I'd like to go through

 12       those six articles in a little bit more depth.          So

 13       if you could turn back to page 3.

 14               Would it be fair to describe your work that

 15       you've done in connection with these articles as                 10:53:40

 16       research?

 17          A    Broadly speaking, in different contexts,

 18       people use the word "research" different ways.

 19          Q    I don't want to misrepresent your work, so

 20       how -- how would you describe what goes into the                 10:53:52

 21       publication of these articles?         Would you call it

 22       research or study?

 23               Is "study" a more appropriate word?

 24          A    Again, these mean different things in

 25       science, and we would use different words in                     10:54:11

                                                                        Page 93

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 95Page
                                                            of 379
                                                                 151
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21715 #:
                                     1435

   1      different contexts.

   2              Usually when I use the word "research," we're

   3      talking about actually collecting original data,

   4      analyzing patterns and then reporting the results of

   5      those analyses.                                                  10:54:24

   6         Q    Okay.

   7         A    In science, of course, when there are many

   8      such -- many such observations reported, we then go

   9      through and read -- read those, accumulate those and

 10       find patterns in those sets of observations.                     10:54:34

 11               So some people would call that research;

 12       others, not.    There also exists people who just

 13       refer -- review all of the research and summarize it

 14       all into one.     That also would legitimately be

 15       called research.                                                 10:54:51

 16          Q    Okay.   So why don't we go through these and

 17       you can correct me if I'm mischaracterizing

 18       anything.

 19               But article 1, to me, seems like a review; is

 20       that correct?                                                    10:55:02

 21          A    That would be fair to say.         In -- as I say,

 22       some people would call that research.

 23          Q    Okay.   So why did you author this article?

 24          A    When the AAP first published its paper, it

 25       very obviously, to me, contained glaring error after             10:55:24

                                                                        Page 94

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 96Page
                                                            of 379
                                                                 152
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21716 #:
                                     1436

   1      glaring error.      It repeatedly said whatever original

   2      studies made such a claim.       I was well aware of that

   3      original study and knew that it made no such claim.

   4              At that time, especially, there were

   5      relatively few people who knew any of the research               10:55:43

   6      on gender identity, so I simply conducted a

   7      fact-check of all the claims that were made by the

   8      AAP.

   9         Q    So this article doesn't include any original

 10       research of yours; right?                                        10:55:54

 11          A    I did not collect data for it.

 12          Q    Okay.     Who requested that you write this

 13       article?

 14          A    No one.

 15          Q    No one?                                                  10:56:06

 16               So it was your decision to fact-check the AAP

 17       policy; right?

 18          A    Yes.

 19          Q    It wasn't at the request of any other entity?

 20          A    Correct.                                                 10:56:16

 21          Q    Okay.     And let's go on to number 26, which I

 22       believe is the next publication, on page 4.

 23          A    Yes.

 24          Q    So this is an article that you authored along

 25       with Fazio; is that correct?                                     10:56:38

                                                                        Page 95

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 97Page
                                                            of 379
                                                                 153
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21717 #:
                                     1437

   1         A    Yes.

   2         Q    Who is Fazio?

   3         A    She was a graduate student who was studying

   4      under me for her internship and then --

   5         Q    Got it.                                                   10:56:47

   6         A    -- and then post-doc.

   7              MR. TRYON:     Pardon me, Counsel, which number

   8      are we on?

   9              COUNSEL SWAMINATHAN:        Apologies.      We are on

 10       page 4 of Dr. Cantor's CV and Article No. 26.                     10:56:54

 11               MR. TRYON:     Thank you.

 12               COUNSEL SWAMINATHAN:        No worries.

 13       BY COUNSEL SWAMINATHAN:

 14          Q    Okay.     And so this is the article that you

 15       mentioned tangentially related to transgender people              10:57:05

 16       and gender identity disorders because of the

 17       left-handed association; is that correct?

 18          A    Yes.

 19          Q    Okay.     And did you author this article out of

 20       your own volition, or were you requested by a                     10:57:26

 21       certain entity to -- to research this issue?

 22          A    Neither.     It was Fazio's initially.

 23          Q    Okay.     And so you were supervising Fazio's

 24       research; is that correct?

 25          A    This portion of it, yes.                                  10:57:41

                                                                          Page 96

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 98Page
                                                            of 379
                                                                 154
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21718 #:
                                     1438

   1         Q     Okay.    Great.

   2               And can we go to number 30 now, which is at

   3      the top of page 5 of your CV?

   4         A     Yes.

   5         Q     You mention that there is a new version of              10:57:58

   6      this Oxford textbook that is in the works right now;

   7      right?

   8         A     Yes.

   9         Q     And in this current version, you wrote this

 10       chapter with Sutton, K. S.; is that right?                       10:58:14

 11          A     Yes.

 12          Q     Who is Sutton?

 13          A     He was a postdoctoral fellow of mine at the

 14       time.

 15          Q     I see.    And you coauthored this article in            10:58:27

 16       2014; is that right?

 17          A     That's the year it came out.           I don't

 18       remember the date when we submitted the manuscript.

 19          Q     Okay.    A quick clarifying question.

 20                Is there a reason that your name is first in            10:58:42

 21       this article and Sutton's is second, but in the

 22       prior article we were looking at, Fazio's name was

 23       first and your name was second?

 24          A     Just reflecting proportion of -- of effort

 25       into it.    As I say, I -- with Fazio, I was                     10:59:00

                                                                        Page 97

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
       2:21-cv-00316 Document
                           Document
                              321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                    Page 99Page
                                                            of 379
                                                                 155
                                                                   PageID
                                                                     of 902#:PageID
                                                                              21719 #:
                                     1439

   1      participating only in a particular portion.             And

   2      with Sutton, I was the primary author and Sutton

   3      added in other details.

   4         Q      Got it.    Okay.

   5                And so, can you remind me again, how exactly            10:59:12

   6      does this article relate to transgender people or

   7      people with gender dysphoria?

   8         A      A section of that chapter is specifically

   9      about transgenderism.

 10          Q      What is that chapter focused on?                        10:59:24

 11          A      I'm sorry, I'm no longer sure that we're

 12       talking about the same chapter.             I'm talking about

 13       the chapter with Sutton.

 14          Q      What -- what -- you mentioned that a portion

 15       of the chapter focuses on transgender identities;                 10:59:41

 16       right?

 17          A      Yes.

 18          Q      I'm asking you to describe that portion a

 19       little bit more for me.

 20          A      Oh.    In that portion, we reviewed what, until         10:59:52

 21       then, was known about gender -- gender identity,

 22       gender dysphoria and transsexualism in children and

 23       adults.

 24          Q      And this was independent research that you

 25       and Sutton conducted?                                             11:00:04

                                                                          Page 98

                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 100
                                                          Page
                                                            of 379
                                                                156PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21720#:
                                      1440

   1         A    It was a review, as I said, of what was

   2     already known about those topics at that time.

   3         Q    Got it.   And were there any findings that you

   4     presented that were separate from what data was

   5     already existing in this review that you mentioned?              11:00:22

   6     Was there any new finding that came out of this

   7     article?

   8         A    Not an empirical finding.        When we saw

   9     patterns in the research or comparisons between

 10      different kinds of atypical sexualities and so on,               11:00:39

 11      we would -- we would add those, but the focus of the

 12      chapter and the purpose of the textbook was to

 13      convey to readers what was already established in

 14      the science.

 15          Q    And -- and I assume this chapter was reviewed           11:00:51

 16      by others; right?

 17          A    Yes.   That particular book, the Oxford

 18      Textbook of Psychopathology, is one of the best

 19      known such texts in the world.

 20          Q    Assume that it's a peer-reviewed text; right?           11:01:06

 21          A    I would hesitate to call it peer reviewed.

 22      It's not peer reviewed in the way that journal

 23      articles are peer reviewed.        In journal articles,

 24      it's initiated by the author, sent into the journal

 25      and the journal can either publish or not publish                11:01:25

                                                                       Page 99

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 101
                                                          Page
                                                            of 379
                                                                157PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21721#:
                                      1441

   1     it.

   2           Q   Uh-huh.

   3           A   Book chapters are by invitation.               The book

   4     editors then select topic experts and -- and invite

   5     them to submit a chapter for the book.                                 11:01:38

   6           Q   Got it.

   7           A   That chapter gets peer reviewed in the way

   8     that it's sent to other topic experts for -- for

   9     feedback, but it's not reviewed in the same should

 10      we consider this at all, I don't know anything about                   11:01:49

 11      this topic and then need an expert to tell me, which

 12      would happen in the journal peer review system.

 13            Q   Understood.        So you were invited to author

 14      this chapter by Blaney and Millon; is that correct?

 15            A   Correct.                                                     11:02:02

 16            Q   Okay.     And when did they extend this

 17      invitation to you?           Because previously when I said

 18      that, you know, it was published in 2014, you

 19      mentioned that the work that has been put into it

 20      was ongoing prior to 2014.                                             11:02:17

 21                So when -- when did they approach you about

 22      authoring this chapter?

 23            A   I don't recall exactly.           It would have been

 24      about a year and a half to two years ahead of time.

 25            Q   Okay.     Great.                                             11:02:29

                                                                             Page 100

                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 102
                                                          Page
                                                            of 379
                                                                158PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21722#:
                                      1442

   1              And then you mentioned number 37, article 37,

   2     is related to transgender identities and gender

   3     dysphoria as related to autogynephilia; is that

   4     correct?

   5         A    The -- yes, the nexus between the topics is              11:02:42

   6     autogynephilia.       In order to answer the questions

   7     that I had set for myself requires that people know

   8     each chunks of that literature.

   9         Q    Got it.     Okay.

 10               And article 40, you also mention that the                11:03:03

 11      title is "Sexual disorders," but that's only because

 12      it's a previous version of the title that did not

 13      include issues of gender identity; is that correct?

 14          A    Yes.

 15          Q    And the textbook actually includes                       11:03:17

 16      information pertinent to transgender individuals and

 17      gender identity disorders; is that right?

 18          A    Correct.     In the years after that, it

 19      became -- it became more and more uncontested

 20      whether gender identity should automatically be                   11:03:36

 21      called a -- a disorder at all.             So by parsing out

 22      the title, we removed the word "disorder"

 23      altogether.

 24          Q    I see.     And this -- this came out in 2009; is

 25      that right?                                                       11:03:52

                                                                        Page 101

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 103
                                                          Page
                                                            of 379
                                                                159PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21723#:
                                      1443

   1         A    Correct.

   2         Q    And then the last one you mentioned was on

   3     page 6 of 32 of your CV, and it's Article No. 53,

   4     the Zucker article.      And you mentioned that this

   5     article focuses on children with gender identity                 11:04:05

   6     disorders; is that right?

   7         A    Yes.

   8         Q    Can you tell me more about this -- and

   9     however you call it, a study or research that went

 10      into this article?                                               11:04:29

 11          A    I provided primarily statistical input into

 12      the article.     The topic on it was how to find the

 13      most objective and reliable way to ask about events

 14      in childhood and how cross-gender they were.

 15          Q    So what do you mean by "statistical input"?             11:04:49

 16          A    Because I have a substantial background in

 17      statistics, I'm often asked to -- to add to the

 18      statistical analyses that -- or to double-check the

 19      statistical analyses that any researcher is doing.

 20          Q    So is this Zucker article a compilation of              11:05:06

 21      original research?

 22          A    It is an original piece of research, yes.

 23          Q    It is an original piece of research.

 24               And your contribution to the article was to

 25      ensure that the statistical analysis was sound; is               11:05:19

                                                                      Page 102

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 104
                                                          Page
                                                            of 379
                                                                160PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21724#:
                                      1444

   1     that correct?

   2         A    I don't think it's fair to limit my

   3     contribution to that, but that was my predominant

   4     role.

   5         Q    Fair to say it was your predominant                       11:05:31

   6     contribution; right?

   7         A    Yes.

   8              COUNSEL SWAMINATHAN:        I just want to check in

   9     because I think it's been about an hour.             So I was

 10      wondering if you need a break.          Or, Counsel Travis,        11:05:40

 11      if -- if you want to take another short five-minute

 12      break.

 13               THE WITNESS:     I'm okay.

 14               COUNSEL SWAMINATHAN:        You're okay --

 15               MR. BARHAM:     I'm fine with continuing.                 11:05:47

 16               COUNSEL SWAMINATHAN:        Okay.   Sounds good.

 17      BY COUNSEL SWAMINATHAN:

 18          Q    So of these six publications that we just

 19      talked about, none of these publications focus on

 20      transgender people in athletics; right?                            11:06:02

 21          A    Correct.

 22          Q    Do any of these publications relate to the

 23      issues in this case?

 24               MR. TRYON:     Objection.

 25               THE WITNESS:     Do they relate?       I -- I'm           11:06:22

                                                                         Page 103

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 105
                                                          Page
                                                            of 379
                                                                161PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21725#:
                                      1445

   1     not -- I'm not sure I know how to answer that

   2     question.

   3     BY COUNSEL SWAMINATHAN:

   4         Q    Sure.     Let me ask a better question.

   5              What is your understanding of what this case             11:06:33

   6     is about?

   7         A    Well, there's what the case is about and

   8     there's what I've been asked to contribute --

   9         Q    Sure.     My question is, what is your

 10      understanding of what this case is about?                         11:06:43

 11          A    Is whether it's fair and appropriate for

 12      biological males to participate in -- on biological

 13      female teams.

 14          Q    And do any of these publications inform your

 15      opinion on the issues that you just identified?                   11:07:03

 16          A    I --

 17               MR. BARHAM:     Objection; form.

 18               THE WITNESS:     I would hesitate to say

 19      "inform" because several of my publications in turn

 20      reflect what's in the rest of the empirical                       11:07:21

 21      literature, and it's the entire empirical literature

 22      that informs my opinion.       It can't really be

 23      separated.       But none -- none of my opinion about

 24      this case developed from my publications.            Rather,

 25      my publications and my opinion both come from the                 11:07:40

                                                                        Page 104

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 106
                                                          Page
                                                            of 379
                                                                162PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21726#:
                                      1446

   1     sum of the scientific literature.

   2     BY COUNSEL SWAMINATHAN:

   3           Q   I appreciate that explanation.         Thank you.

   4               Let's go on to the next section of your CV.

   5               So on, let's see, page 8, you have a list of           11:07:55

   6     letters and commentaries that you have authored and

   7     coauthored; right?

   8           A   Yes.

   9           Q   Approximately how long have you been offering

 10      letters and commentaries?                                        11:08:18

 11            A   Roughly 20 years.

 12            Q   And what topics do you predominantly comment

 13      on?

 14            A   Atypical sexuality in humans.

 15            Q   When did you start commenting on atypical              11:08:32

 16      sexualities?

 17            A   The first publication on it was in 2000.

 18            Q   And is that the -- Publication No. 14 that

 19      was listed -- that's listed here on page 8?

 20            A   Yes, it is.                                            11:08:56

 21            Q   And do any of these publications focus on

 22      transgender people or people with gender dysphoria?

 23            A   Yes.

 24            Q   Which ones?

 25            A   Numbers 6, 9, 10, 11.      And I don't recall if       11:09:11

                                                                       Page 105

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 107
                                                          Page
                                                            of 379
                                                                163PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21727#:
                                      1447

   1     number 12 did, but I think not.

   2         Q    Okay.     So we're working with number 6, 9, 10

   3     and 11, right, under "Letters and Commentaries"?

   4         A    Yes.

   5         Q    And Letter No. -- or Letter or Commentary               11:09:59

   6     No. 6, this is a comment that you wrote in response

   7     to Italiano's 2012 comment on an article that you

   8     had written in 2011; is that right?

   9         A    Yes.

 10          Q    Does this comment have anything to do with              11:10:20

 11      transgender children and adolescents playing sports?

 12          A    No.

 13          Q    Let's turn to number 9, which is -- is this a

 14      letter, or is this commentary?

 15          A    A letter.                                               11:10:44

 16          Q    A letter.

 17          A    The difference -- there really -- it's a

 18      general standard whether they say "commentary" or

 19      "letter."       There's no rigorous or systematic

 20      difference between the terms.                                    11:10:54

 21          Q    Got it.     Thank you.

 22               And so this was in 2011, entitled "New MRI

 23      studies support the Blanchard typology of

 24      male-to-female transsexualism."

 25               Did I read that accurately?                             11:11:03

                                                                      Page 106

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 108
                                                          Page
                                                            of 379
                                                                164PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21728#:
                                      1448

   1         A     I'm sorry, say that again.

   2         Q     The -- it's titled "New MRI studies support

   3     the Blanchard typology of male-to-female

   4     transsexualism."

   5               Did I read that accurately?                            11:11:16

   6         A     Yes.

   7         Q     Okay.     And did this letter have anything to

   8     do with transgender children or adolescents playing

   9     sports?

 10          A     No.                                                    11:11:34

 11          Q     No?     Let's look at number 10.       This is --

 12      this is authored by Zucker, Bradley, Own-Anderson,

 13      Kibblewhite and yourself; is that correct?

 14          A     Yes.

 15          Q     And it's titled "Is gender identity disorder           11:11:51

 16      in adolescents coming out of the closet?"; correct?

 17          A     Yes.

 18          Q     Can you tell me a bit about this letter or

 19      commentary?        Why was it written?

 20          A     So we were observing, in those days -- we're           11:12:14

 21      now going back almost 15 years -- seeing the

 22      beginnings of the great increase in the number of

 23      adolescents presenting to clinics expressing gender

 24      dysphoria.

 25          Q     Okay.     And is this a piece of original              11:12:30

                                                                       Page 107

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 109
                                                          Page
                                                            of 379
                                                                165PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21729#:
                                      1449

   1     research, or is this a review of existing research?

   2         A    Original research.

   3         Q    Who funded this research?

   4         A    It wasn't funded in a direct way.             It

   5     required no -- it required no funding.               It wasn't        11:12:54

   6     the kind of a study that required hiring new people

   7     or equipment.

   8         Q    I see.     So there was no grant application

   9     process or something similar associated with this

 10      publication; right?                                                   11:13:07

 11          A    Correct.

 12          Q    How did the authors of this study, including

 13      yourself, come together to conduct this research?

 14          A    They were already colleagues at CAMH.

 15          Q    Got it.     So these are all employees of CAMH?              11:13:25

 16          A    At that time, yes.

 17          Q    Were any of these authors students or --

 18      sorry, fellows?

 19          A    I don't recall if Kibblewhite was.             They may

 20      have been.                                                            11:13:47

 21          Q    Okay.     And you said that this study was not

 22      directly funded.       Was it indirectly funded in any

 23      way?

 24          A    It would be reasonable to say that the

 25      hospital's salary support of the staff was an                         11:14:00

                                                                            Page 108

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 110
                                                          Page
                                                            of 379
                                                                166PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21730#:
                                      1450

   1     indirect funding, but it wasn't related to any --

   2     any one particular study at all.

   3         Q     Got it.     And just to clarify, this is a study

   4     that you-all came together to carry out on -- on

   5     your own, not at the request of anyone?                          11:14:17

   6         A     Correct.

   7         Q     Okay.     And is this study related to

   8     transgender children or adolescents participating in

   9     athletics specifically?

 10          A     No.                                                    11:14:30

 11          Q     Okay.     And then you said, finally, number 11

 12      under "Letters and Commentaries."            It's a review, in

 13      2003, of the book The Man Who Would Be Queen by

 14      J. Michael Bailey.        Did I read that accurate?

 15          A     Yes.                                                   11:14:52

 16          Q     What is The Man Who Would Be Queen?

 17          A     It was a book by J. Michael Bailey, published

 18      at the time, describing for the lay public gender

 19      identity and transsexualism in children -- well, in

 20      children and adults.                                             11:15:10

 21          Q     Did the book focus on children or adults?

 22          A     I don't think it's fair to say it focused on

 23      either.     It spanned a lifetime.

 24          Q     Understood.     I'm just trying to understand

 25      because it says "The Man Who Would Be Queen,"                    11:15:26

                                                                      Page 109

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 111
                                                          Page
                                                            of 379
                                                                167PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21731#:
                                      1451

   1     instead of "The Boy."       So I was just wondering how

   2     old the protagonist of this book is, to your

   3     recollection.

   4         A    There wasn't a single protagonist.          There

   5     were multiple protagonists.                                          11:15:38

   6         Q    What was the average age of the multiple

   7     protagonists in this book?

   8         A    Oh, I don't recall, and I'm not sure that

   9     that's meaningful.       That is, in the book, Bailey was

 10      describing the phenomena of transsexuality and                       11:16:00

 11      gender dysphoria and then used individual cases and

 12      describes people in order to -- in order to help,

 13      you know, color the -- the issue for -- for the

 14      audience, but it wasn't -- it wasn't of a number of

 15      people by which one could calculate an average.              He      11:16:20

 16      described a couple of children, and he described a

 17      couple of adults, and he tried to -- did his best to

 18      describe people who were transitioning in each

 19      direction.

 20          Q    I understand.     I'm -- sorry.       I was just            11:16:30

 21      trying to clarify whether this was book was similar

 22      to, you know, the clinical work that you do, where

 23      you speak to adults or people over the age of 16

 24      and, you know, retroactively gain their childhood --

 25      gain knowledge of their childhood experiences or if                  11:16:47

                                                                           Page 110

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 112
                                                          Page
                                                            of 379
                                                                168PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21732#:
                                      1452

   1     this book, the individual cases that you mentioned,

   2     were actually children versus adults.

   3              And you say it's a mix of both; right?

   4         A    It includes cases of both.

   5         Q    Yeah.     Okay.   That -- that's all I was              11:17:01

   6     wondering.       Thank -- thank you.

   7              And so why did you review this book?

   8         A    For the same reason I -- I -- for the same

   9     reason that I wrote the AAP study.            The book was

 10      fascinating, well written, very informative,                     11:17:19

 11      useful -- and useful to society, but also very

 12      controversial.       So I thought it would be useful, as

 13      one of the few people qualified to -- to do so, to

 14      compare the book with -- with the actual research at

 15      the time.                                                        11:17:37

 16          Q    Did anyone request you to write this review?

 17          A    No.

 18          Q    Did you speak to Michael Bailey while writing

 19      this review?

 20          A    I don't recall.      I had already met him before       11:17:47

 21      I wrote the review.        I don't recall contacting him

 22      at all while I was writing.

 23          Q    And so to your recollection and speaking

 24      about it more generally, this book has to do with

 25      the full age range of transgender identities, and,               11:18:20

                                                                      Page 111

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 113
                                                          Page
                                                            of 379
                                                                169PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21733#:
                                      1453

   1     in your testimony, it does not focus solely on adult

   2     transitioners; right?

   3         A    It's not limited -- it's not at all limited

   4     to adults.

   5         Q    It's not at all limited to adults, but more             11:18:33

   6     generally, it speaks to adults as opposed to

   7     children?

   8              MR. TRYON:     Objection; form.

   9              THE WITNESS:     I hesitate to say that it

 10      speaks to either one any more than the other.                    11:18:45

 11      BY COUNSEL SWAMINATHAN:

 12          Q    Okay.   That's fair.

 13               And then at the bottom of the page and then

 14      the next page, you have a list of your publications,

 15      specifically your editorials, and that is your CV                11:18:59

 16      page 8 and 9.

 17          A    Yes.

 18          Q    Okay.   And so approximately how long have you

 19      been authoring editorials?

 20          A    About 20 years.                                         11:19:18

 21          Q    20 years.    And what topics do you

 22      predominantly write on in terms of your editorial

 23      publications?

 24          A    Primarily on the editorial process itself.

 25      I'm on the editorial board for the Archives of                   11:19:32

                                                                      Page 112

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 114
                                                          Page
                                                            of 379
                                                                170PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21734#:
                                      1454

   1     Sexual Behavior, and I serve as editor in chief for

   2     the journal Sexual Abuse.

   3              So it's routine for editors and editorial

   4     board members to comment on the structure and

   5     recurrences within the journal itself.                           11:19:47

   6         Q    When did you start sitting on the board, the

   7     editor -- as -- as the editor in chief of the

   8     journal Sexual Abuse?

   9         A    It's on my CV.    I don't recall the year.

 10          Q    Approximately how long do you remember                  11:20:03

 11      sitting on the board for or sitting in that

 12      position?

 13          A    Roughly 15 to 20 years.

 14          Q    Okay.   And so you have ten publications

 15      listed here under "Editorials"; is that right?                   11:20:18

 16          A    Yes.

 17          Q    And from my view of the ten editorials, is it

 18      fair to say that you predominantly comment on sexual

 19      abuse?

 20          A    I wasn't -- no, I wasn't commenting on sexual           11:20:35

 21      abuse itself.     I was commenting on the journal

 22      entitled Sexual Abuse.

 23          Q    Okay.   So when you're commenting on the

 24      journal entitled Sexual Abuse, what is the nature of

 25      this commentary?                                                 11:20:52

                                                                      Page 113

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 115
                                                          Page
                                                            of 379
                                                                171PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21735#:
                                      1455

   1         A    Number of publications, people coming and

   2     leaving the editorial board, my plans for the

   3     journal for the future.        We weren't talking about

   4     the topic within the journal.          We were talking about

   5     the journal as the topic.                                        11:21:05

   6         Q    I see.    Okay.   So these are -- these are

   7     comments on kind of the -- the structure or the

   8     future of the journal itself, not specific

   9     substantive reviews of the articles contained within

 10      these journals; is that right?                                   11:21:21

 11          A    Yes.

 12          Q    Okay.    And then on page 10 of your CV, you've

 13      listed your funding history; is that right?

 14          A    Yes.

 15          Q    And so these two pages list the funding that            11:21:38

 16      you've been the recipient of over the course of your

 17      career; right?

 18          A    Yes.

 19          Q    Is this a comprehensive list of the grants

 20      you've received?                                                 11:21:54

 21          A    Yes.

 22          Q    And you were a co-investigator for four out

 23      of the seven times that you received funding for a

 24      study; right?

 25          A    Just checking.                                          11:22:08

                                                                      Page 114

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 116
                                                          Page
                                                            of 379
                                                                172PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21736#:
                                      1456

   1         Q    No problem.

   2         A    Yes, that's correct.

   3         Q    And you were a principal investigator, then,

   4     for three out of the seven times you received

   5     funding for a study; correct?                                    11:22:26

   6         A    Yes.

   7         Q    Were any of these seven awards of funds

   8     related to the study or treatment of gender

   9     dysphoria for transgender people?

 10          A    Yes.                                                    11:22:40

 11          Q    Can you point me to which ones, please?

 12          A    The first one, "Brain function and

 13      connectomics following sex hormone treatment in

 14      adolescents experience gender dysphoria."

 15          Q    Uh-huh.                                                 11:22:54

 16          A    And Effects of hormone treatment on brain

 17      development:       A magnetic resonance imaging of --

 18      study of adolescents with gender dysphoria.

 19          Q    Great.     Thank you.

 20               I would love to talk about those two studies            11:23:19

 21      a bit further.       So if we could start with the first

 22      one, which I understand to believe was granted in

 23      July of 2018.

 24               So I see that it says $650,000 and -- sorry,

 25      $650,250, and then it has a forward slash, 5 years.              11:23:36

                                                                      Page 115

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 117
                                                          Page
                                                            of 379
                                                                173PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21737#:
                                      1457

   1              So is that the amount of funds that were

   2     awarded over a period of five years?

   3         A    Yes, that's correct.

   4         Q    Not each year; right?       It's a totality of the

   5     funds received over five years?                                  11:23:51

   6         A    Correct.

   7         Q    Okay.   And when it says "July, 2018," does it

   8     mean that you -- like, the funds started coming in

   9     in July 2018 and continue on to, presumably,

 10      July 2023; is that correct?                                      11:24:07

 11          A    June 2023, but yes.

 12          Q    Okay.   June 2023.

 13               And so can you describe the study to me?

 14          A    The study itself is to take brain scans of

 15      kids throughout the process of -- throughout their               11:24:28

 16      process of transitions.

 17          Q    Okay.   And how did you discover this

 18      opportunity?

 19          A    I had worked, at least indirectly, with some

 20      of these authors before.       It's -- they're -- they --        11:24:41

 21      they're running the study, but, of course, they

 22      needed somebody with a background in brain imaging,

 23      in statistics and in human sexuality, including

 24      gender identity.

 25          Q    So who are Doug VanderLaan and                          11:24:58

                                                                      Page 116

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 118
                                                          Page
                                                            of 379
                                                                174PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21738#:
                                      1458

   1     Meng-Chuan Lai?

   2         A    They now are two sex researcher

   3     neuroscientists specializing in child gender

   4     identity.

   5         Q    They specialize in child gender identity                11:25:12

   6     disorders; is that right?

   7         A    Yes.

   8         Q    What about Megha Mallar Chakravarty, Nancy

   9     Lobaugh, M. Palmert and Skorska?

 10               Apologies if I mispronounced any of those.              11:25:25

 11          A    No problem.

 12               They're other statisticians and

 13      neuroscientists involved in the data collection for

 14      MRI research.

 15          Q    Are those folks also focused on child gender            11:25:38

 16      dysphoria identities?

 17          A    No.

 18          Q    No?    Okay.

 19               And who applied for the funding for this

 20      study?                                                           11:25:56

 21          A    Dr. VanderLaan.

 22          Q    VanderLaan.

 23               And are you aware of what papers were

 24      submitted in connection with that application?

 25          A    I don't understand the question.            Papers      11:26:07

                                                                       Page 117

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 119
                                                          Page
                                                            of 379
                                                                175PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21739#:
                                      1459

   1     submitted for an application?

   2         Q    I assume that to apply for a grant, there's

   3     some sort of application process; is that correct?

   4         A    Yes.

   5         Q    Were you involved in that application                   11:26:19

   6     process, or was that solely done by Doug VanderLaan?

   7         A    I was involved in relevant parts of it.

   8         Q    What was your involvement?

   9         A    To review, check and add to the sections on

 10      statistics, neuro- -- and neuroimaging research                  11:26:38

 11      methods.

 12          Q    Got it.     Okay.

 13               And I assume the study is still ongoing;

 14      right?

 15          A    Yes, it is.                                             11:26:48

 16          Q    It is.

 17               And you don't have any findings to report

 18      right now; right?

 19          A    No, not yet.

 20          Q    Okay.     And just to check in -- or is this            11:26:59

 21      study at all related to the participation of

 22      transgender children and adolescents in athletics

 23      specifically?

 24          A    It's not a topic of the study.

 25          Q    Okay.     And it looks like you said there was          11:27:17

                                                                      Page 118

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 120
                                                          Page
                                                            of 379
                                                                176PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21740#:
                                      1460

   1     another study where the principal investigator,

   2     Doug VanderLaan, and co-investigators, Bain, Cantor

   3     Chakravarty, Chavez, Lobaugh and Zucker, bas- -- or

   4     the date is September 2015.        That's the other study

   5     that you mentioned is relevant to transgender and                11:27:39

   6     gender-dysphoric individuals; right?

   7         A    It's a grant, not a study.

   8         Q    Sorry, grant.     Apologies.

   9              Can you tell me about that grant?

 10          A    It was very similar to the first one.         In        11:27:51

 11      fact -- well, the one we first discussed, even

 12      though it, chronologically, is first.            The

 13      chronologically first one bled into or ran into or

 14      became the second one, which is continuing the

 15      first.                                                           11:28:08

 16          Q    I see.     So were there independent results

 17      that were obtained from -- from this research, or

 18      did that research continue on into the grant that we

 19      just spoke about?

 20          A    That research is continuing on into the                 11:28:24

 21      current one.

 22          Q    Great.     And so it looks like it's the same

 23      agency that awarded both grants; right?

 24          A    Correct.

 25          Q    And this time, they provided you $952,955,              11:28:37

                                                                      Page 119

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 121
                                                          Page
                                                            of 379
                                                                177PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21741#:
                                      1461

   1     again, over the course of five years, starting from

   2     September 2015; is that right?

   3              MR. TRYON:     Objection; form of the question.

   4              THE WITNESS:     Yes.

   5     BY COUNSEL SWAMINATHAN:                                          11:29:01

   6         Q    So am I correct that your team of

   7     investigators applied for a second grant to continue

   8     the research that they were doing as a part of this

   9     initial awarding?

 10          A    Correct.                                                11:29:12

 11          Q    Is there a reason that they gave you less

 12      money the second time?

 13          A    Less was needed.

 14          Q    Less was needed?

 15          A    Yes.                                                    11:29:20

 16          Q    Why was less needed the second time around?

 17          A    Changes in staff and then -- and student

 18      needs, just the size of the lab that needed to be --

 19      needed to be supported.

 20               Also, in the second stage of the study, there           11:29:35

 21      are now ongoing participants who require brain

 22      scanning at regular intervals, which is unlike the

 23      earlier part of the study where it was a much wider

 24      range of people getting scanned.

 25          Q    I see.     And, again, did this first stage of          11:29:49

                                                                      Page 120

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 122
                                                          Page
                                                            of 379
                                                                178PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21742#:
                                      1462

   1     the study involve the participation of transgender

   2     children or adolescents in athletics?

   3         A     The -- the way you phrased your question is a

   4     little funny.        The -- the topic of the study wasn't

   5     focused on it, but I would not be at all surprised               11:30:08

   6     if some of the participants in the study were in

   7     turn involved in athletics.

   8         Q     Do you anticipate reporting specifically on

   9     athletic performance of transgender athletes in

 10      these studies?                                                   11:30:27

 11          A     I don't anticipate reporting on that, no.

 12          Q     No?     And you don't know for sure that these

 13      study participants may or may not be athletes as

 14      well; right?

 15          A     Correct.                                               11:30:39

 16          Q     Okay.

 17                COUNSEL SWAMINATHAN:      Okay.     How about we

 18      take a five-minute break.

 19                MR. BARHAM:     Sounds good.

 20                COUNSEL SWAMINATHAN:      Can we go off the            11:30:51

 21      record?

 22                THE VIDEOGRAPHER:     Yes.     We are going off the

 23      record at 11:31 a.m., and this is the end of Media

 24      Unit No. 2.

 25                (Recess.)                                              11:47:06

                                                                      Page 121

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 123
                                                          Page
                                                            of 379
                                                                179PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21743#:
                                      1463

   1              THE VIDEOGRAPHER:     All right.       We are back on

   2     the record at 11:47 a.m., and this is the beginning

   3     of Media Unit No. 3.

   4              Go ahead, please.

   5     BY COUNSEL SWAMINATHAN:                                           11:47:15

   6         Q    Okay.   So, Dr. Cantor, can you please turn to

   7     page 16 of your CV.

   8         A    I'm there.

   9         Q    Awesome.     So page 16 through 18, I

 10      understand, lists your paper presentations and                    11:47:39

 11      symposia; is that correct?

 12          A    Yes.

 13          Q    What topics do you predominantly present on?

 14          A    The same topics that -- that I research on,

 15      atypical human sexuality.                                         11:47:56

 16          Q    And when did you start presenting on atypical

 17      human sexuality?

 18          A    In the 1990s, I believe it was.             Roughly

 19      30 years.

 20          Q    And it looks like you have 38 presentations              11:48:09

 21      listed here; right?

 22          A    Yes.

 23          Q    We're going to go through a similar exercise.

 24               Would you please look at page 16 and tell me

 25      whether any of these paper presentations and                      11:48:28

                                                                        Page 122

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 124
                                                          Page
                                                            of 379
                                                                180PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21744#:
                                      1464

   1     symposia focus on transgendered people or

   2     gender-dysphoric people.

   3         A     Yes.     Number 1.   And that's the only one on

   4     this page.

   5         Q     Great.     And then can we do that same exercise       11:48:59

   6     for page 17 of 32, please, which are 14 through 25.

   7         A     Number 23 and number 25.

   8         Q     Great.     And then the last page, on page 18,

   9     please.

 10          A     None on that page.                                     11:50:33

 11          Q     Great.     So if we can turn back to page 16 and

 12      look at the first presentation that you have listed.

 13                So I understand it's a presentation given by

 14      yourself in April 2020, and it's titled "I'd rather

 15      have a trans kid than a dead kid: Critical                       11:50:51

 16      assessment of reported rates of suicidality in trans

 17      kids."

 18                Did I read that correctly?

 19          A     Yes.

 20          Q     And this was presented at the annual meeting           11:51:01

 21      of the Society for the Sex Therapy and Research;

 22      right?

 23          A     Yes.

 24          Q     And I assume it was online due to COVID?

 25          A     That's correct.                                        11:51:12

                                                                      Page 123

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 125
                                                          Page
                                                            of 379
                                                                181PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21745#:
                                      1465

   1         Q    Okay.     Who were you asked to present at this

   2     annual meeting by?

   3              MR. BARHAM:     Objection; form.

   4              MR. TRYON:     Objection; vague.

   5              THE WITNESS:     I wasn't -- I wasn't asked.             11:51:28

   6     BY COUNSEL SWAMINATHAN:

   7         Q    You weren't asked?

   8         A    Correct.     I submitted a proposal to -- to

   9     present, and it was accepted.

 10          Q    When was it accepted?                                    11:51:33

 11          A    Oh, I don't remember the date.          In general,

 12      they were four to six months ahead of the date of

 13      the conference itself.

 14          Q    Got it.     And what did you have to submit in

 15      order to vie for a spot to present at this annual                 11:51:47

 16      meeting?

 17          A    A form and a, roughly, one-paragraph summary.

 18          Q    And to the best of your recollection, what

 19      did you say in that one-paragraph summary?

 20          A    Roughly the same material that's contained in            11:52:03

 21      my report.

 22          Q    Can you give me a brief summary of what you

 23      mean by that?

 24          A    That very many people exaggerate the amount

 25      of suicide and suicidality that occur- -- that's                  11:52:14

                                                                        Page 124

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 126
                                                          Page
                                                            of 379
                                                                182PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21746#:
                                      1466

   1     reported amongst trans populations.

   2         Q    Got it.     And were you paid to give that

   3     presentation?

   4         A    No.

   5         Q    No?     And you said this presentation focuses          11:52:30

   6     on transgender children and adolescents or some

   7     other population?

   8         A    Transgender children and adolescents.

   9         Q    Does this -- did the presentation you give at

 10      all focus on transgender children and adolescents                11:52:45

 11      participating in athletics?

 12          A    No.

 13          Q    No?     Okay.

 14               Then you told me that number 23 also focuses

 15      on transgender people and gender-dysphoric people;               11:52:58

 16      right?

 17               It's a presentation from August 2003.        And I

 18      take it where you're the only person listed in the

 19      front, you are the only presenter; is that right?

 20          A    Yes.                                                    11:53:16

 21          Q    Okay.     And so this presentation was titled

 22      "Sex reassignment on demand: The clinician's

 23      dilemma."       And this paper was presented at the 111th

 24      annual meeting of the American Psychological

 25      Association in Toronto, Canada; is that correct?                 11:53:34

                                                                       Page 125

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 127
                                                          Page
                                                            of 379
                                                                183PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21747#:
                                      1467

   1         A    Yes.

   2         Q    So was this an American Psychological

   3     Association annual meeting in Canada?

   4         A    Yes.

   5         Q    Do they typically have their annual meetings            11:53:49

   6     in Canada?

   7         A    Oddly, more -- more frequently than you would

   8     think.    A -- Toronto is a very popular city for --

   9     for the APA.

 10          Q    Interesting.    Okay.                                   11:54:00

 11               And so you testified that in the previous

 12      presentation that we spoke about, you submitted a

 13      form requesting to present at that meeting.

 14               Did you do the same for this annual meeting?

 15          A    I don't remember the exact process anymore,             11:54:15

 16      but it was roughly the same.

 17          Q    So you requested your -- your participation

 18      in this meeting as opposed to someone reaching out

 19      to you, asking you to present at this meeting;

 20      right?                                                           11:54:29

 21          A    Correct.

 22          Q    Okay.   And what were you presenting on?

 23          A    I was presenting on my experiences, now

 24      having had the first several years of my experience

 25      working with people, in turn working with their                  11:54:45

                                                                      Page 126

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 128
                                                          Page
                                                            of 379
                                                                184PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21748#:
                                      1468

   1     gender identities.

   2         Q    So you were presenting on your own

   3     experience; right?

   4         A    I was couching everything in my experience,

   5     but it was meant to be a tutorial to help other                  11:55:03

   6     clinicians who were preparing to do the same thing.

   7         Q    Did you present any data at this annual

   8     meeting?

   9         A    No, I did not.

 10          Q    No?     Did you present any original research of        11:55:15

 11      yours at this annual meeting?

 12          A    No, I did not.

 13          Q    Okay.     And at this meeting, did any portion

 14      of your presentation focus on transgender children

 15      or adolescents?                                                  11:55:32

 16          A    No.

 17          Q    Okay.     25, I believe you said, was the -- the

 18      last one that focuses on transgender identities and

 19      people with gender dysphoria; right?

 20          A    That sounds right, yes.                                 11:55:55

 21          Q    Okay.     And so this was a presentation given

 22      in 2002, August 2002.       And, again, you were a sole

 23      presenter here.       And your presentation -- or your --

 24      title of your paper that was presented at the 110th

 25      annual meeting of the American Psychological                     11:56:18

                                                                      Page 127

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 129
                                                          Page
                                                            of 379
                                                                185PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21749#:
                                      1469

   1     Association, this time in Chicago, was titled

   2     "Gender role in autogynephilic transsexuals: The

   3     more things change..."; is that correct?              Did I read

   4     that correctly?

   5         A     Yes.                                                     11:56:38

   6         Q     Is there anything after that ellipses that

   7     was just left out because of lack of space, or is

   8     that --

   9         A     No.     The ellipses were part of the title.

 10          Q     Part of the tile.     Okay.                              11:56:46

 11                And did you submit a similar form to present

 12      at the 110th annual meeting of the -- are you okay

 13      if I call it the APA?        Is that an acronym you're

 14      familiar with?

 15          A     I'm familiar with it.       I'm fine in this             11:56:59

 16      context.        My single hesitation is that it's easy to

 17      confuse the American Psychological Association with

 18      the American Psychiatric Association since both get

 19      abbreviated APA.

 20          Q     I will go through the process of saying the              11:57:15

 21      whole term.

 22                So for the 110th annual meeting of the

 23      American Psychological Association, were you asked

 24      to present at this meeting, or did you submit a

 25      form, similar to the 111th?                                        11:57:30

                                                                        Page 128

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 130
                                                          Page
                                                            of 379
                                                                186PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21750#:
                                      1470

   1         A    I submitted an application to present.

   2         Q    Okay.     And I assume that application was

   3     accepted?

   4         A    Yes.

   5         Q    Were you paid to give that presentation?                     11:57:43

   6         A    No.

   7         Q    No?     And can you tell me a bit about the

   8     substance of that presentation?

   9         A    Yes.     I was presenting to the audience the

 10      existence of autogynephilia, which most people,                       11:58:04

 11      especially then, were very unfamiliar with.

 12          Q    So you said most people were unfamiliar with

 13      it then.

 14               Do you know of anyone else who was as

 15      familiar or similarly familiar with autogynephilia,                   11:58:21

 16      at the time, as you were?

 17          A    Yes.

 18          Q    Any prominent researches come to mind?             Would

 19      you be able to -- to name a few?

 20          A    Certainly.     Even the names that have been                 11:58:37

 21      mentioned already, J. Michael Bailey, Ray Blanchard

 22      and Maxine Petersen.

 23          Q    Any others come to mind?

 24          A    Again, it's a large literature.             Many people

 25      have published on it.       The largest other name that               11:58:51

                                                                            Page 129

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 131
                                                          Page
                                                            of 379
                                                                187PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21751#:
                                      1471

   1     quickly comes to mind is Anne Lawrence.              Again,

   2     herself an openly trans woman.

   3         Q    And, again, you said that at the time,

   4     though, it wasn't a very well-known subject for most

   5     people at this conference?                                       11:59:09

   6         A    Correct.

   7         Q    And, again, this presentation did not focus

   8     on transgender children and adolescents with gender

   9     dysphoria; right?

 10          A    Correct.                                                11:59:26

 11          Q    And it didn't focus on transgender children

 12      and adolescents participating in athletics, did it?

 13          A    Correct, it did not.

 14          Q    Okay.    And then if you could turn to page 25

 15      of your CV.      I think it's PDF page 93.                       11:59:48

 16          A    Yes.

 17          Q    I understand that this is a list of teaching

 18      and training, and so I assume that to mean that you

 19      were the supervisor of these students or fellows

 20      listed on this page; right?                                      12:00:14

 21          A    Correct.

 22          Q    Is this a comprehensive list, in addition to

 23      the back, which says -- on page 26, which continues

 24      the list at CAMH clinical supervision, doctoral- and

 25      masters-level practice, do these two pages cover                 12:00:29

                                                                       Page 130

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 132
                                                          Page
                                                            of 379
                                                                188PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21752#:
                                      1472

   1     your teaching and training experience?

   2         A    Yes.

   3         Q    Okay.     So did you ever provide educational

   4     training to the individuals that you supervised

   5     related to transgender people?                                   12:00:43

   6         A    One second.     I'm just running through them in

   7     my head.

   8         Q    No problem.

   9         A    Some of the students had some trans clients

 10      or a gender dysphoria-related question over the                  12:01:21

 11      course of a specific case, but none -- and some of

 12      my students were co-supervised by other supervisors

 13      who took the lead role, specifically in their

 14      gender -- in cases that they did have with gender

 15      dysphoria, but I myself didn't do the primary                    12:01:41

 16      supervision of a case specifically about gender

 17      dysphoria.

 18          Q    Got it.     So you did not specifically take the

 19      lead role in supervising them on issues of gender

 20      dysphoria; right?                                                12:01:56

 21          A    Correct.

 22          Q    Okay.     Did your supervision of these students

 23      ever involve providing care to transgender adults?

 24          A    Yes.

 25          Q    Can you tell me about that?                             12:02:17

                                                                      Page 131

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 133
                                                          Page
                                                            of 379
                                                                189PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21753#:
                                      1473

   1         A    Again, some of the -- although some of the

   2     clients weren't in to talk about trans issues

   3     themselves, some of them happened to have been

   4     trans. So it was related, but not a primary focus of

   5     the treatment.                                                   12:02:33

   6         Q    Got it.     So it was not a primary focus of the

   7     treatment, but their identities might have been

   8     relevant to transgender issues and gender dysphoria;

   9     is that correct?

 10          A    Yes, that's correct.                                    12:02:44

 11          Q    Okay.     Did your supervision ever involve

 12      research around puberty-delaying treatment

 13      prescribed to transgender children?

 14          A    No.

 15          Q    What about transgender adolescents?                     12:02:59

 16          A    No.

 17          Q    Did your supervision ever involve research

 18      around prescribing hormones to transgender adults?

 19          A    No.

 20          Q    Did your supervision ever involve research              12:03:14

 21      and -- sorry, strike that.

 22               Did your supervision ever involve prescribing

 23      hormones to transgender adults?

 24          A    No.

 25          Q    Okay.     We're finally through your resumé,            12:03:33

                                                                      Page 132

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 134
                                                          Page
                                                            of 379
                                                                190PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21754#:
                                      1474

   1     which may provide some sense of relief, and I want

   2     to talk more about your involvement in this case.

   3               So how did you first learn about this case?

   4           A   I was contacted by the lawyers, who informed

   5     me.                                                              12:03:58

   6           Q   Who were those lawyers?

   7           A   The ADF team.     I don't -- oh, no, no, no.

   8     I'm sorry.        No, I was contacted by the attorney

   9     general's office in West Virginia, who -- who told

 10      me about the case and asked if I would be willing to             12:04:19

 11      participate.

 12            Q   And when did that contact occur?

 13            A   I don't recall exactly.        Roughly six months

 14      ago.

 15            Q   Okay.     And had you worked with anyone from          12:04:31

 16      the AG office of West Virginia before?

 17            A   Before this --

 18                MR. BARHAM:     Objection; form.

 19      BY COUNSEL SWAMINATHAN:

 20            Q   I'm sorry, before --                                   12:04:47

 21            A   No, I hadn't.

 22            Q   Had you spoken to anyone at the AG's office

 23      of West Virginia before this case?

 24            A   No.

 25            Q   Okay.     And why did you agree to serve as an         12:04:55

                                                                       Page 133

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 135
                                                          Page
                                                            of 379
                                                                191PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21755#:
                                      1475

   1     expert in this case?

   2              MR. TRYON:     Objection to the extent that it

   3     calls for any attorney-client information.

   4              You can answer to the extent you do not

   5     reveal any communications with your attorneys.                   12:05:11

   6              COUNSEL SWAMINATHAN:      Objection noted.

   7              Thank you, Counsel.

   8              THE WITNESS:     I felt interested and

   9     qualified.

 10      BY COUNSEL SWAMINATHAN:                                          12:05:21

 11          Q    Okay.   And, again, you said that you were

 12      first reached out to by the AG's office of

 13      West Virginia.

 14               When did you hear from ADF, again?

 15               MR. BARHAM:     Objection.     To the extent that       12:05:32

 16      it calls for any communication between the witness

 17      and legal staff, I'm going to instruct him not to

 18      answer so as to preserve the attorney-client

 19      privilege.

 20               COUNSEL SWAMINATHAN:      Sure.     I'm -- I'm not      12:05:50

 21      asking the witness to disclose any attorney-client

 22      communications.       I'm simply asking him when he was

 23      first contacted by any member of the Alliance

 24      Defending Freedom team.

 25               MR. BARHAM:     You can answer.                         12:06:07

                                                                       Page 134

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 136
                                                          Page
                                                            of 379
                                                                192PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21756#:
                                      1476

   1              THE WITNESS:    A few months after I was

   2     contacted by the West Virginia AG's office.

   3     BY COUNSEL SWAMINATHAN:

   4         Q    So that would put you at about three months

   5     ago, right, since you said it was about six months               12:06:14

   6     ago that you were contacted by the West Virginia

   7     AG's office?

   8         A    That's roughly correct.

   9         Q    Roughly correct.     Okay.

 10               And who reached out to you?                             12:06:31

 11          A    Oh, I don't remember who from the team.        I

 12      believe it was Roger Brooks.

 13          Q    Okay.   And, again, I am not seeking any

 14      communications you had with counsel, but I just

 15      wanted to know the timing of that.                               12:06:43

 16               And so you said you agreed to serve as an

 17      expert in the case, as you were interested and

 18      qualified; correct?

 19          A    Yes.

 20          Q    What is your understanding of why you were              12:06:56

 21      qualified to serve as an expert in this case?

 22          A    Because I have a very substantial background

 23      in the relevant subject matter and science.

 24          Q    And can you describe your interest more, in

 25      this case?                                                       12:07:15

                                                                      Page 135

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 137
                                                          Page
                                                            of 379
                                                                193PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21757#:
                                      1477

   1         A    My interest is indeed in the science and in

   2     any opportunity that I have to provide that science

   3     so it can be used for public policy.

   4         Q    Got it.   Okay.

   5              And so you said the AG's office reached out             12:07:31

   6     to you about six months ago, but if you remember,

   7     the document that we reviewed, which is marked

   8     Exhibit 44, which is the declaration that you

   9     submitted in conjunction with the preliminary

 10      injunction motion, that motion was dated -- or                   12:07:49

 11      sorry, that declaration was dated June 22nd, 2021;

 12      right?

 13          A    Yes, that's the date.

 14          Q    So if the AG's office of West Virginia

 15      contacted you about six months ago, which is about               12:08:08

 16      October, who contacted you in connection with

 17      drafting this declaration in June of 2021?

 18          A    Again, I believe the person I was contacted

 19      by was Roger Brooks.

 20          Q    So during the period of June 2021, you had              12:08:46

 21      only spoken to Roger Brooks, not anyone at the AG's

 22      office of West Virginia; right?

 23               MR. TRYON:     Objection.

 24               THE WITNESS:      I think --

 25               MR. BARHAM:     Object -- objection as to form.         12:09:08

                                                                      Page 136

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 138
                                                          Page
                                                            of 379
                                                                194PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21758#:
                                      1478

   1              THE WITNESS:     Unless I misunderstood your

   2     question, the original question was contacted for

   3     this case.     I had received contact from the ADF team

   4     regarding prior cases.       And the other exhibit is

   5     from a deposition I gave in a prior case that was                12:09:25

   6     then reused for this case.

   7              So the date of the prior document I prepared

   8     is dated for -- from the prior case rather than when

   9     I was contacted for this case.

 10               COUNSEL SWAMINATHAN:      Court reporter, can you       12:09:46

 11      please read back my original question?

 12               THE REPORTER:     Yes.   So the last one was

 13               "Q   So during the period of June 2021..."

 14               Is that the question you want read back?

 15               COUNSEL SWAMINATHAN:      Actually, I think it's        12:08:48

 16      either the question before that -- it's the one

 17      pertaining to when he was first contacted about this

 18      case.

 19               (Record read.)

 20      BY COUNSEL SWAMINATHAN:                                          12:10:28

 21          Q    And, Dr. Cantor, you testified that, you

 22      know, this was an expert report in connection with

 23      another case, but I presume someone contacted you

 24      about the declaration that you submitted on

 25      June 22nd, 2021, in this case, which has your                    12:10:36

                                                                      Page 137

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 139
                                                          Page
                                                            of 379
                                                                195PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21759#:
                                      1479

   1     signature on the second page of the PDF; right?

   2         A    It has my signature, yes.

   3              The AG in West Virginia already had a copy of

   4     my prior report and asked me if it would be okay for

   5     them to use that, to which I agreed.                             12:10:55

   6         Q    Yeah.     So who contacted you and asked you

   7     whether it was agreeable for them to use this prior

   8     expert report?

   9         A    The AG's office.

 10          Q    And when did that contact happen?                       12:11:09

 11          A    That's what was about six months ago.

 12          Q    How could that possibly be about six months

 13      ago if it was executed with your signature on

 14      June 22nd, 2021?

 15          A    Oh, now I'm seeing it -- okay.          Now I got it.   12:11:21

 16               So it would have been older than six months

 17      ago.    As I said, it was really only -- only rough,

 18      my estimation of the time.

 19          Q    Got it.     And so -- I appreciate that.

 20               And so this report was not tailored to this             12:11:42

 21      case at all?

 22          A    The prior case?     The --

 23          Q    I apologize.     I can be more clear.

 24               So this report that was attached to the

 25      declaration of the June 22nd, 2021, executed                     12:11:59

                                                                      Page 138

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 140
                                                          Page
                                                            of 379
                                                                196PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21760#:
                                      1480

   1     document was not changed at all when used in this

   2     case; am I right?

   3         A    The submission to -- to the prior case wasn't

   4     changed at all when it was submitted for use in this

   5     case, and then I updated it for -- to submit a                   12:12:21

   6     report specific to this case.

   7         Q    Right.     I'm just trying to understand that

   8     this expert report that was attached to the

   9     declaration on June 22nd, 2021, was not changed at

 10      all from its prior use in the Allan Josephson case;              12:12:38

 11      is that right?

 12          A    Correct.

 13          Q    Okay.     Thank you.

 14               And so you testified earlier that your main

 15      area of expertise is studying atypical sexual                    12:12:53

 16      patterns -- or atypical sexualities and paraphilias;

 17      right?

 18          A    Yes.

 19          Q    What is your understanding of a paraphilia?

 20          A    Oh, goodness.     The term "paraphilia" is used         12:13:10

 21      different ways by different people in different

 22      contexts.       Most broadly it refers to the highly

 23      atypical sexual interest that dominate a person's

 24      life and interact with or prevent them from having

 25      a -- an otherwise typical sexual life.                           12:13:34

                                                                      Page 139

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 141
                                                          Page
                                                            of 379
                                                                197PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21761#:
                                      1481

   1         Q    So do you view being transgender as a

   2     paraphilia?

   3         A    No.

   4         Q    No.     Okay.

   5              And how much time do you spend researching              12:13:53

   6     paraphilias?

   7         A    Oh, currently?

   8         Q    Currently, yes.

   9         A    About half my time.

 10          Q    Okay.     And you said that you also focus on           12:14:15

 11      atypical sexualities.          And would that include

 12      hypersexuality?          Is that an atypical sexuality?

 13          A    Yes.

 14          Q    What is hypersexuality?

 15          A    Generally, these are people who are trying to           12:14:31

 16      reduce their sexual behaviors in one way or another.

 17               There is no formal definition.

 18          Q    And how much time do you spend researching

 19      hypersexuality?

 20          A    These days, roughly 10 percent.                         12:14:47

 21          Q    Okay.     And I think you mentioned that you

 22      also spend time researching sex addiction; is that

 23      correct?

 24          A    Yes.

 25          Q    What is sex addiction?                                  12:15:03

                                                                      Page 140

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 142
                                                          Page
                                                            of 379
                                                                198PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21762#:
                                      1482

   1         A    "Sex addiction" is a popular term.          It's

   2     essentially a synonym for hypersexuality.

   3         Q    Oh, okay.     So would you say that you spend

   4     about 10 percent of your time, in that same 10

   5     percent that we spoke about for hypersexuality,                  12:15:21

   6     researching sex addiction?

   7         A    Yes.

   8         Q    Okay.   And I understand that you also

   9     research pedophilia; correct?

 10          A    Yes.                                                    12:15:31

 11          Q    What do you understand pedophilia to be?

 12          A    The sexual attraction to children.          The

 13      formal diagnosis is more rigid.

 14          Q    Apologies, I -- the formal diagnosis is what?

 15          A    More rigid.                                             12:15:50

 16          Q    More rigid.

 17               What -- what is the formal diagnosis?

 18          A    The formal diagnosis of pedophilic disorder

 19      is somebody who's sexually attracted to prepubescent

 20      children more than they are attracted to adults.                 12:16:02

 21          Q    Thank you.

 22               And so how much time do you spend researching

 23      pedophilic disorders?

 24          A    Currently, roughly 10 to 20 percent.

 25          Q    Okay.   And so we were speaking earlier about           12:16:21

                                                                      Page 141

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 143
                                                          Page
                                                            of 379
                                                                199PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21763#:
                                      1483

   1     autogynephilia, and I just want to get a clear

   2     understanding.

   3               So is autogynephilia a paraphilia?

   4           A   Yes, it is.

   5           Q   Why is it a paraphilia?                                12:16:33

   6           A   It's a highly atypical sexual interest

   7     pattern that can interfere or interact with a

   8     person's usual sexual life.

   9           Q   Okay.   But being transgender is not a

 10      paraphilia; right?                                               12:16:51

 11                MR. BARHAM:    Objection.

 12                THE WITNESS:    Correct.

 13      BY COUNSEL SWAMINATHAN:

 14            Q   Okay.   So we've got about, I think, 80

 15      percent of your time covered now with -- with what               12:17:02

 16      we've spoken about, about what your research focuses

 17      on.

 18                What does the other 20 percent focus on?

 19            A   I wouldn't add the percentages quite so

 20      easily because these topics overlap so much.          For        12:17:18

 21      example, a person with -- with autogynephilia, but

 22      doesn't want to be autogynephilic, might refer to

 23      themselves as a sexual addict because they feel like

 24      that they're addicted to the related pornography.

 25                So which way it gets classified depends on             12:17:39

                                                                      Page 142

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 144
                                                          Page
                                                            of 379
                                                                200PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21764#:
                                      1484

   1     what classification system a person -- a person is

   2     using.

   3         Q    And so you testified earlier that

   4     autogynephilia is a paraphilia, but being

   5     transgender is not a paraphilia.                                 12:17:56

   6              Why is a transgender identity not a

   7     paraphilia?

   8         A    More than one thing can motivate a person to

   9     want to live as the other sex.          Autogynephilia is

 10      only one of them.                                                12:18:14

 11          Q    So being transgender is not a paraphilia

 12      because there are multiple -- multiple reasons for

 13      why an individual can identify as transgender; is

 14      that right?

 15          A    Yes, that's correct.                                    12:18:30

 16          Q    Okay.   And what are the other reasons behind

 17      autogynephilia that go into that?

 18          A    The other primary one that's been identified

 19      is sexual orientation, homosexuality.

 20          Q    So homosexuality is, in your mind, a                    12:18:47

 21      contributing factor to someone identifying as

 22      transgender?

 23          A    It can motivate a person to feel gender

 24      dysphoric, yes.

 25          Q    What do you mean by "motivate"?                         12:19:01

                                                                      Page 143

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 145
                                                          Page
                                                            of 379
                                                                201PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21765#:
                                      1485

   1         A    Be the source of the desire to change.

   2         Q    Is there anything else that comes to mind

   3     when you said that there are multiple contributing

   4     factors that prevent -- or that in your mind do not

   5     categorize transgender -- diagnoses of gender                    12:19:23

   6     dysphoria as paraphilias?

   7              We mentioned autogynephilia, and we mentioned

   8     homosexuality.     Are there any others?

   9         A    The remaining predominant one I would

 10      describe, as I described them in my report,                      12:19:39

 11      individuals, typically young, who mistake the

 12      emotions that they're having to be gender dysphoria

 13      when they're actually motivated by something else,

 14      for example, a desire not to be associated with the

 15      sex that they would be biologically associated with.             12:19:58

 16          Q    And so beyond what you just described, what

 17      other emotions are these young individuals feeling

 18      that would make them want to be the other sex?

 19          A    That's a subject of ongoing -- ongoing

 20      investigation.     We have some educated guesses, but I          12:20:18

 21      can't say that the question has been entirely --

 22      entirely answered.

 23          Q    And so similar to autogynephilia or

 24      homosexuality, is there a term to describe these --

 25      the experiences of these young individuals who                   12:20:35

                                                                      Page 144

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 146
                                                          Page
                                                            of 379
                                                                202PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21766#:
                                      1486

   1     mistake emotions that they are having for gender

   2     dysphoria?

   3         A     I can't think of a widespread term, no.

   4         Q     Is there any term that you use for it, to

   5     describe that phenomenon?                                        12:20:52

   6         A     No, I don't think so.

   7         Q     Okay.   So is it your testimony that anyone

   8     who is transgender is transgender either due to

   9     autogynephilia, homosexuality or a mistake they've

 10      made as a -- as a younger individual and the                     12:21:13

 11      emotions that they are misconstruing as

 12      gender-dysphoric feelings?        Is that your

 13      understanding?

 14          A     That's the best summary we have of the -- of

 15      the existing research, yes.                                      12:21:27

 16          Q     Okay.   When did you become interested in sex

 17      research?

 18          A     Oh, I think I was probably always interested

 19      in sex research, and then I just found a way to make

 20      a living at it.                                                  12:21:45

 21          Q     Okay.   So I'm going to introduce tab 4, which

 22      will be marked as Exhibit 46.         And it will take one

 23      minute to show up, so please give the system a

 24      second.

 25                (Exhibit 46 was marked for identification              12:21:59

                                                                      Page 145

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 147
                                                          Page
                                                            of 379
                                                                203PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21767#:
                                      1487

   1               by the court reporter and is attached hereto.)

   2                COUNSEL SWAMINATHAN:         And, Travis, we can

   3     break after this -- after this exhibit.

   4     BY COUNSEL SWAMINATHAN:

   5           Q    Can you see it there, Dr. Cantor?                       12:22:16

   6           A    Not yet.     Ooh.    Oh, yeah.

   7           Q    Great.     Okay.

   8                And so this is an -- my -- my understanding

   9     of this document is that the Kinsey Institute, which

 10      is associated with Indiana University, has an                      12:22:35

 11      interview series, and they had a conversation with

 12      Dr. James Cantor, which I presume is you, in this

 13      context; is that true?

 14            A    Yes, it is.

 15            Q    Do you remember this interview?                         12:22:49

 16            A    I can't say that I remember it specifically.

 17      I give a lot of interviews.             But I remember its

 18      author, Justin Lehmiller, and I remember, roughly,

 19      the -- the kind of interview.              But as I say, I can't

 20      take this specific interview out of the many that I                12:23:08

 21      do.

 22            Q    That's fair.

 23                 I would love to give you just a -- a moment

 24      to review, if you want to reflesh -- refresh your

 25      recollection.                                                      12:23:20

                                                                        Page 146

                                        Veritext Legal Solutions
                                             866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 148
                                                          Page
                                                            of 379
                                                                204PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21768#:
                                      1488

   1              And I believe the question on the first page,

   2     by Lehmiller, is (as read):

   3              "As a sex researcher, one of the

   4              most common questions you get asked

   5              is how you got into this line of                        12:23:48

   6              work in the first place.        So let's

   7              start there—what is it that drew you

   8              to this field of study?        What's the

   9              story behind how you became a sex

 10               researcher?"                                            12:24:01

 11               Did I read that correctly?

 12          A    Yes.

 13          Q    And when you answered, it says (as read):

 14               "Cantor: I think it was mostly dumb

 15               luck."                                                  12:24:12

 16               Did I read that correctly?

 17          A    Yes.

 18          Q    What do you mean when you say that it was

 19      mostly dumb luck that you got into the sex

 20      researcher line of work?                                         12:24:24

 21          A    I was referring, at that point, specifically

 22      to the people who were my supervisors when I started

 23      my clinical internship.       It's because they had a --

 24      it's because they were doing active sex research and

 25      the atypical sexualities that I got exposed to it                12:24:43

                                                                      Page 147

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 149
                                                          Page
                                                            of 379
                                                                205PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21769#:
                                      1489

   1     with the depth that I did, with, you know -- with

   2     experts as well known as -- as they were.

   3              I didn't pick that internship site because of

   4     the research that was going on there.            I went for a

   5     relatively usual clinical experience where I thought               12:25:00

   6     my clinical experience with the trans patients would

   7     be the most relevant to my career.

   8              And it's just because the other half of my

   9     exposure was with sex offenders and sex offender

 10      research that I realized that there was an                         12:25:17

 11      opportunity there for me to think and research more

 12      broadly than I was -- than I had planned.

 13          Q    And you said you have done a number of these

 14      interviews, correct, over the course of your career?

 15          A    Yes.                                                      12:25:32

 16          Q    And, you know, you strive to give accurate

 17      information in these interviews to the questions

 18      you're asked; right?

 19          A    Yes.

 20          Q    Yes.   Okay.                                              12:25:42

 21               Can you turn to the next page, please?          I

 22      think it's page 2 of the document.

 23               And Lehmiller asks you what your primary area

 24      of research and what methods do you typically use to

 25      answer your research questions.                                    12:25:59

                                                                         Page 148

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 150
                                                          Page
                                                            of 379
                                                                206PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21770#:
                                      1490

   1              Lehmiller asks you this question right after

   2     the first paragraph at the top.

   3              And your response is, quote, (as read):

   4              "My primary research opportunities

   5              have involved studying sex                                   12:26:11

   6              offenders, mostly pedophiles and

   7              persons with other atypical

   8              sexualities whose behaviours led

   9              them into the legal system."

 10               Did I read that correctly?                                   12:26:23

 11          A    Yes.

 12          Q    And would it be fair for me to say that most

 13      of the patients that you work with are those who

 14      have had contact with the legal system?

 15          A    Depending on how you count them.                             12:26:32

 16          Q    Can you tell me a bit more about that?             I

 17      think I'm -- I'm trying to understand.               Because you

 18      mentioned you have about 50 patients in your private

 19      practice at any given point in time.            Of those --

 20          A    Right.                                                       12:26:51

 21          Q    -- patients, are -- are they mostly folks who

 22      have had some contact with the legal system?

 23          A    No, they are not.     And that's why, as I say,

 24      it's difficult to be able to count this way.

 25               When I was doing research on sex offenders at                12:27:04

                                                                            Page 149

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 151
                                                          Page
                                                            of 379
                                                                207PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21771#:
                                      1491

   1     CAMH, my clinical contact was largely limited to

   2     roughly an hour or two per person, focused very

   3     specifically on history-taking and very specifically

   4     on the elements that would be useful in getting that

   5     person into the right kind of a treatment program.               12:27:24

   6              So those people count in very many thousands

   7     because it's an hour or two per person.

   8         Q    Got it.

   9         A    Actual ongoing treatment with a psychotherapy

 10      patient is an hour with that person per week, going              12:27:36

 11      on for many months.

 12          Q    So --

 13          A    So just counting number of people is

 14      incomparable unless you're counting the number of

 15      people in a comparable situation.                                12:27:48

 16          Q    Totally understood.

 17               So the distinction there is that the

 18      population that you worked with at CAMH is different

 19      than the population that you're currently working

 20      with in your private practice; is that right?                    12:27:56

 21          A    Correct.

 22          Q    Okay.     And is it accurate to say that your

 23      primary research opportunities have involved

 24      studying sex offenders?

 25          A    That would be fair, yes.                                12:28:06

                                                                      Page 150

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 152
                                                          Page
                                                            of 379
                                                                208PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21772#:
                                      1492

   1           Q   So how many of your current patients, without

   2     violating any HIPAA laws, have been adjudicated as

   3     sex offenders?

   4           A   Current patients?

   5           Q   Yes.                                                    12:28:25

   6           A   None.

   7           Q   None?     And how many, approximately, if you

   8     can give me a percentage, of the patients that you

   9     saw at CAMH have been adjudicated as sex offenders?

 10            A   80 percent --                                           12:28:38

 11            Q   80 --

 12            A   -- ish.

 13            Q   Okay.

 14                COUNSEL SWAMINATHAN:      So this might be a good

 15      place for us to break, for you to get lunch.                      12:28:45

 16                If we can go off the record.

 17                THE VIDEOGRAPHER:     Yep.     We are going off the

 18      record at 12:28 p.m., and this is the end of Media

 19      Unit No. 3.

 20                (Recess.)                                               01:20:01

 21                THE VIDEOGRAPHER:     All right.       We are back on

 22      the record at 1:20 p.m., and this is the beginning

 23      of Media Unit No. 4.

 24                Go ahead, please.

 25      ///

                                                                       Page 151

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 153
                                                          Page
                                                            of 379
                                                                209PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21773#:
                                      1493

   1     BY COUNSEL SWAMINATHAN:

   2         Q    So, Dr. Cantor, I understand you just had

   3     your lunch break.       Did you have any conversations

   4     with your counsel during the lunch break?

   5         A    Not about the case, no.                                   01:20:19

   6         Q    They -- to clarify, they weren't about the

   7     substance of the deposition; right?

   8         A    Correct.

   9         Q    Great.     So earlier this morning, you

 10      testified that in preparing for this deposition, you               01:20:30

 11      did a review to find updates in the literature; is

 12      that correct?

 13          A    Yes.

 14          Q    When did you complete this review?

 15          A    Oh, I would hesitate to say that I ever                   01:20:41

 16      completed it or ever would complete it.              I'm, you

 17      know, often scouring the literature, and I'm often

 18      made aware of new papers as they come out, and I

 19      keep a list to go -- to go back through them.

 20          Q    Understood.     I -- I think --                           01:20:58

 21          A    So --

 22          Q    -- a better question then is, when did you

 23      conduct your review in preparation for this

 24      deposition?

 25          A    Right up through, let's say, a few weeks                  01:21:03

                                                                         Page 152

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 154
                                                          Page
                                                            of 379
                                                                210PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21774#:
                                      1494

   1     before I submitted the final version.            I don't

   2     remember the exact date.

   3         Q    Got it.   And did you indeed find any updates

   4     in the literature that you thought to include in

   5     your updated report?                                             01:21:23

   6         A    I don't recall specifically.          As I say, I

   7     keep a reading pile and a reading list, and every

   8     time I need to produce a document, I go through it

   9     and -- and update it.      I can't say that I have a

 10      specific recollection of the size of that pile                   01:21:38

 11      before this specific report.

 12          Q    Got it.   So would you be able to give me a

 13      more general understanding of whether there was new

 14      literature that you reviewed in connection with

 15      drafting your second report?                                     01:21:50

 16          A    Yes, there -- there was a -- it had -- yes,

 17      there's been a pretty substantial increase relative

 18      to the very slow rate at which this literature

 19      was -- was growing.      So there was a substantial

 20      amount published in 2020 and 2021 that -- that I                 01:22:11

 21      needed to -- to include and -- that I needed to

 22      include.

 23          Q    And sitting here right now, you just can't

 24      remember the names of the specific articles or

 25      literature ; right?                                              01:22:25

                                                                      Page 153

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 155
                                                          Page
                                                            of 379
                                                                211PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21775#:
                                      1495

   1         A    No, I can't.    Generally, I do it

   2     chronologically.

   3         Q    Okay.   I'm going to ask you a bit about the

   4     individual plaintiff in this case.

   5              So do you know who B.P.J. is?                             01:22:33

   6         A    Only in theory.    I've never met the person.

   7     I couldn't -- and, of course, I have no direct

   8     contact with the -- with the client themself.

   9         Q    And you've never spoken to anyone in her

 10      family either; right?                                              01:22:51

 11          A    Correct.

 12          Q    You've personally not spoken to anyone at her

 13      school; right?

 14          A    Correct.

 15          Q    Have you reviewed any of B.P.J.'s medical                 01:22:59

 16      records?

 17          A    If I have, I'm not recalling.          In general, I

 18      go through a medical record to take note of

 19      anything, you know, specific of relevance.            If I did

 20      in this, I would have made such a note, and I don't                01:23:19

 21      recall doing so.

 22          Q    So it's your testimony today that you -- you

 23      have not reviewed any of B.P.J.'s medical records;

 24      right?

 25          A    Yes.                                                      01:23:30

                                                                         Page 154

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 156
                                                          Page
                                                            of 379
                                                                212PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21776#:
                                      1496

   1         Q    Okay.   Did you read B.P.J.'s declaration in

   2     this case?

   3         A    Not that I recall, no.

   4         Q    You read the intervenor's declaration in this

   5     case; right?                                                     01:23:46

   6         A    The interview?

   7         Q    The intervenor.    My apologies.

   8         A    I'm sorry, who is this?

   9         Q    Lainey Armistead, the intervenor in this

 10      case.                                                            01:23:57

 11          A    I'm -- did I see a copy of that?

 12          Q    I'm just trying to get an understanding of

 13      whether you read her declaration or not.

 14               If you -- what might be helpful is if you

 15      turn to Exhibit 45, which is your expert report that             01:24:10

 16      you prepared in 2022, and on page 4 of that expert

 17      report -- I'll -- I'll wait for you to -- to get

 18      there so we can review.

 19          A    Oh, yes.

 20          Q    So fair to say number 9 on page 4 of your               01:24:40

 21      expert report says (as read):

 22               "To prepare the expert report, I

 23               reviewed the following resources

 24               related to this litigation."

 25               And A is H.B. 3293.                                     01:24:48

                                                                      Page 155

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 157
                                                          Page
                                                            of 379
                                                                213PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21777#:
                                      1497

   1              B, the amended complaint in this litigation.

   2              C, Ms. Armistead's declaration.

   3              Do you see that?

   4         A    Yes, I do.

   5         Q    Why did you read the intervenor's                         01:25:00

   6     declaration?

   7         A    I was provided each of those documents in the

   8     beginning.     I reviewed the documents to see if

   9     there's anything -- if there's anything relevant.

 10      There wasn't anything relevant that I could -- that                01:25:09

 11      I anticipated being in the report, so, of course, I

 12      concentrated on the materials that were relevant.

 13          Q    Got it.   And is there any reason that you

 14      were not provided the plaintiff's declaration in

 15      this case, to your knowledge?                                      01:25:24

 16          A    I -- I couldn't say why I -- I have no idea

 17      why I wouldn't have been given something.            I -- no,

 18      I have no idea why I wouldn't have been supplied

 19      with a -- with a copy.

 20          Q    That's fair.    Okay.                                     01:25:38

 21               So we're going to continue with Exhibit 45,

 22      which is your report, and can you please turn to

 23      page 3, which is just the page before the one you

 24      were on.

 25               Can you please take a moment to review this               01:25:51

                                                                         Page 156

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 158
                                                          Page
                                                            of 379
                                                                214PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21778#:
                                      1498

   1     page and let me know when you're ready.

   2         A    Okay.

   3         Q    So the last paragraph on the page reads,

   4     quote, (as read):

   5              "In addition, I have been asked to                      01:26:28

   6              provide an expert opinion on how

   7              relevant professional organizations

   8              have addressed these questions and

   9              whether any of them have taken any

 10               meritorious position that would                         01:26:37

 11               undermine West Virginia's Protect

 12               Women's Sport Act (H.B. 3293)

 13               ('Act').   As I explain in detail in

 14               this report, it is my opinion that

 15               Plaintiffs' expert reports display a                    01:26:49

 16               wide variety of flaws that call

 17               their conclusions into question and

 18               that no professional organization

 19               has articulated a meritorious

 20               position that calls into question                       01:26:59

 21               the basis for the Act."

 22               Did I read that correctly?

 23          A    Yes.

 24          Q    So with respect to the Act, your role in this

 25      case is to review the opinions of various                        01:27:09

                                                                      Page 157

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 159
                                                          Page
                                                            of 379
                                                                215PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21779#:
                                      1499

   1     professional organizations and determine if they

   2     have taken any meritorious positions that would

   3     undermine the Act; right?

   4         A    That included that, yes.

   5         Q    Are you offering any positions in support of            01:27:21

   6     the Act?

   7         A    I don't think I can be said to be offering

   8     any opinions in support or against the Act so much

   9     as providing the information that's in the science,

 10      and then the political and legal process need to                 01:27:43

 11      integrate it into policy in the way that they do,

 12      but I'm not making any specific recommendation about

 13      any specific act.

 14          Q    So it's fair to say that you're not offering

 15      any positions in support of H.B. 3293; right?                    01:27:57

 16               MR. TRYON:    Objection to form.

 17          A    Not in support of it.       I can only say what

 18      elements of it are consistent or inconsistent with

 19      the existing science.

 20      BY COUNSEL SWAMINATHAN:                                          01:28:13

 21          Q    And are those opinions of whether they are

 22      consistent or inconsistent included in your report?

 23          A    Yes.

 24          Q    So is your main role here today to show that

 25      the organizations have not, in your view, undermined             01:28:26

                                                                      Page 158

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 160
                                                          Page
                                                            of 379
                                                                216PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21780#:
                                      1500

   1     the Act?

   2         A    I'm sorry, say that again.

   3         Q    Is your role in providing your expert

   4     testimony to show that the professional

   5     organizations have not, in your view, undermined the             01:28:38

   6     Act?

   7              MR. BARHAM:     Objection to form.

   8              THE WITNESS:     Is my position -- I'm sorry,

   9     one more time.

 10      BY COUNSEL SWAMINATHAN:                                          01:28:52

 11          Q    No problem.     I want to make this as clear as

 12      possible for you.

 13               I'm just trying to understand that your role

 14      is to show that no professional organization has

 15      articulated a meritorious position that calls into               01:29:02

 16      question the basis for the Act; right?

 17               MR. TRYON:     Objection.

 18               MR. BARHAM:     Objection to form.

 19               THE WITNESS:     I -- I don't think I can say

 20      that that is my purpose, although I'm aware of the               01:29:13

 21      legal context in which the questions are being asked

 22      of me.     But I'm not -- being asked of me.         But --

 23      but my only opinions are -- can be about -- can only

 24      be about what is or is not supported by the science.

 25      Where it goes from there is up to the -- it's up to              01:29:31

                                                                       Page 159

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 161
                                                          Page
                                                            of 379
                                                                217PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21781#:
                                      1501

   1     others.

   2     BY COUNSEL SWAMINATHAN:

   3           Q     Understood.     So rather than your purpose,

   4     just one, you know, objective that you achieved via

   5     drafting this report is to opine on whether any                  01:29:44

   6     professional organization has articulated a

   7     meritorious position that calls into question the

   8     basis for the Act; right?

   9                 MR. TRYON:     Objection.

 10                  THE WITNESS:     If I'm understanding properly       01:29:57

 11      the way you're asking the question, it's am I only

 12      going to give opinions one side versus the other,

 13      which is not correct.          My role has been to assess

 14      altogether the role of the science regardless of

 15      which way those facts fall, not to cite the facts                01:30:16

 16      merely on one side of the argument.

 17      BY COUNSEL SWAMINATHAN:

 18            Q     Right.   And so you spoke about the science.

 19                  So how do you believe that the Act is

 20      supported by the science that you're referring to?               01:30:27

 21                  MR. BARHAM:     Objection as to form.

 22                  THE WITNESS:     That question -- that question

 23      goes outside what I was -- what I've been asked to

 24      do.       I was -- I'm not and did not include in my

 25      report the science specific to athletic performance.             01:30:56

                                                                       Page 160

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 162
                                                          Page
                                                            of 379
                                                                218PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21782#:
                                      1502

   1     As my report contains, it is an overview and --

   2     describing the science of gender identity in

   3     general, which, of course, will get adopted into the

   4     question, but I am not offering an opinion on the

   5     amount, for example, by which being born male might              01:31:19

   6     serve as an athletic advantage relative to other

   7     females.    I was not asked that question, and that

   8     question is not in my report, but that's the part

   9     that's most pertinent to the -- to the long

 10      question.                                                        01:31:32

 11      BY COUNSEL SWAMINATHAN:

 12          Q    So how is the science that you discuss in the

 13      report relevant to the Act?

 14               MR. BARHAM:    Objection to the scope and form.

 15               THE WITNESS:    In order for any government to          01:31:54

 16      institute policies that best integrate the science

 17      into whatever they do, they need to know that

 18      science.    The same for Courts.        So in order to

 19      balance whatever a Court perceives as the relevant

 20      issues, they need that information before them to                01:32:10

 21      make the -- to make any decision.

 22      BY COUNSEL SWAMINATHAN:

 23          Q    But you're not a lawmaker; correct?

 24          A    Correct.

 25          Q    And you're not offering an expert opinion               01:32:23

                                                                      Page 161

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 163
                                                          Page
                                                            of 379
                                                                219PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21783#:
                                      1503

   1     regarding whether science supports the Act; right?

   2         A    I wasn't asked to review the part of the

   3     science that is most directly involved in the Act,

   4     that is to say, specifically differences in athletic

   5     performance between the genders -- sexes, I should               01:32:45

   6     say.

   7         Q    But it's fire say that you're not offering an

   8     expert opinion regarding whether science supports

   9     the Act; right?

 10               MR. TRYON:     Objection.                               01:32:54

 11               THE WITNESS:     I -- the questions, as posed to

 12      me and as phrased in my report, are neither to

 13      support nor to detract from the law but merely

 14      summarize the science and indicate parts of overlap

 15      and parts of contradiction.          None of it is in -- is      01:33:21

 16      in -- is a means to accomplish any specific end.

 17      BY COUNSEL SWAMINATHAN:

 18          Q    Dr. Cantor, I think my question might be a

 19      yes-or-no question.       I am just asking, you know,

 20      whether you believe that you're offering testimony               01:33:36

 21      today and in connection with your report as to

 22      whether science supports this act.

 23               I understand that earlier you said you were

 24      not offering an opinion on whether -- on -- on

 25      either side, whether to support or not support                   01:33:53

                                                                       Page 162

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 164
                                                          Page
                                                            of 379
                                                                220PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21784#:
                                      1504

   1     the Act.

   2              So I think my question might be a yes-or-no

   3     question.

   4         A    I don't think it is a yes-or-no question.

   5     Science is, you know, complicated.           There are --          01:34:03

   6     this issue is complicated.        And it's quite feasible

   7     that, you know, pieces of science will support some

   8     aspects and not others.

   9         Q    Okay.   So, again, if you can clarify, what in

 10      your report is relevant to the Act?            What testimony      01:34:19

 11      that you've offered in your report is relevant to

 12      the Act?

 13          A    All of it.

 14          Q    How is all of what you offer relevant to

 15      the Act?                                                           01:34:32

 16          A    In a decision made to affect trans people,

 17      one needs to be, as much as possible, aware of the

 18      science of trans people.

 19          Q    Okay.   And so it's your testimony that all of

 20      the opinions that you offer in your report are                     01:34:54

 21      opinions related to H.B. 3293; is that correct?

 22          A    Yes.

 23          Q    Okay.   And you agree that the Act is a

 24      decision that's made to affect trans people;

 25      correct?                                                           01:35:17

                                                                         Page 163

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 165
                                                          Page
                                                            of 379
                                                                221PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21785#:
                                      1505

   1         A    I'm not a lawyer, but --

   2              MR. TRYON:     Objection.

   3              THE WITNESS:     I'm not a lawyer myself, but I

   4     think that's fair for me to say, yes.

   5     BY COUNSEL SWAMINATHAN:                                          01:35:25

   6         Q    Okay.   And what is your understanding of

   7     H.B. 3293?

   8         A    That it requires people who were born male to

   9     play -- it forbids people who were born male from

 10      playing on female teams.                                         01:35:36

 11          Q    And have you read the text of the Act?

 12          A    Yes, I have.

 13          Q    You've read it from top to bottom?

 14          A    From what I believe to be the top and what I

 15      believe to be the bottom, yes.                                   01:35:49

 16          Q    Okay.   So what is your understanding of what

 17      the, quote, basis for the Act is?

 18               MR. BARHAM:     Objection as to form and the

 19      scope.

 20               THE WITNESS:     To ask for the basis of the Act        01:36:14

 21      I think is to ask what is on the minds of the

 22      political system and the politicians who created it,

 23      which, of course, I can't know.

 24      BY COUNSEL SWAMINATHAN:

 25          Q    I'm -- I'm definitely not asking you to read            01:36:27

                                                                      Page 164

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 166
                                                          Page
                                                            of 379
                                                                222PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21786#:
                                      1506

   1     into the minds of the politicians.

   2              I'm -- I'm going to read again the last

   3     sentence on page 3 of your expert report that says

   4     (as read):

   5              "As I explain in detail in this                         01:36:36

   6              report, it is my opinion that

   7              Plaintiffs' expert reports display a

   8              wide variety of flaws that call

   9              their conclusions into question and

 10               that no professional organization                       01:36:46

 11               has articulated a meritorious

 12               position that calls into question

 13               the basis for the Act."

 14               So I am simply asking you what your

 15      understanding of the basis for the Act is.                       01:37:01

 16          A    That the Act was necessary to improve the

 17      lives of the students on these teams.

 18          Q    Can you be more specific about "the students

 19      on these teams"?     What do you mean by that?

 20          A    To balance the rights, needs and privileges             01:38:00

 21      of each of the groups.

 22          Q    Who are the groups that we're speaking about?

 23          A    The people on the teams, the -- the

 24      competitors, the trans students and then their,

 25      typically, non-trans teammates.                                  01:38:13

                                                                      Page 165

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 167
                                                          Page
                                                            of 379
                                                                223PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21787#:
                                      1507

   1         Q    And which teams are we specifically talking

   2     about?

   3         A    I wasn't -- I wasn't talking about any

   4     particular sport, but this -- this would be any

   5     sex-segregated teams.                                            01:38:28

   6         Q    Okay.   And how did you develop the

   7     understanding that you just shared with me?

   8         A    I take it on general principles as the

   9     purpose behind any law is to improve the situation

 10      for the citizens relevant to it.                                 01:38:48

 11          Q    And how does this act impact the live --

 12      lives of trans students?

 13          A    I have no direct knowledge of that kind of

 14      impact outside of what's reported in the science,

 15      and I'm not aware of there being any objective signs             01:39:05

 16      measuring such an outcome.

 17               COUNSEL SWAMINATHAN:      Court Reporter, can you

 18      please read back Dr. Cantor's answer before this

 19      one?

 20               (Recess.)                                               01:39:16

 21      BY COUNSEL SWAMINATHAN:

 22          Q    So, Dr. Cantor, do you think that the Act

 23      improves the lives of trans students?

 24          A    There's no way for me to know that without

 25      data, and we don't have any.                                     01:39:43

                                                                      Page 166

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 168
                                                          Page
                                                            of 379
                                                                224PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21788#:
                                      1508

   1         Q    Do you have data on how it improves the lives

   2     of non-transgender students?

   3         A    No.    The topic hasn't been studied.

   4         Q    So your report discusses prepubertal kids;

   5     right?                                                           01:40:05

   6         A    In part, yes.

   7         Q    A portion of your report discusses

   8     prepubertal kids; right?

   9         A    Yes.

 10          Q    That discussion does not pertain to the                 01:40:13

 11      population affected by H.B. 3293; correct?

 12               MR. BARHAM:     Objection; form, scope and

 13      terminology.

 14               MR. TRYON:     Objection.

 15               THE WITNESS:     No, that's not correct.                01:40:27

 16      BY COUNSEL SWAMINATHAN:

 17          Q    How does your discussion about prepubertal

 18      kids pertain to the population affected by H.B.

 19      3293?

 20          A    The prepubertal kids become pubertal kids,              01:40:37

 21      then become adolescents, even though they are

 22      participating in these teams.         For example, in

 23      teenagehood, they still are members of -- they are

 24      still a member of the demographic group where they

 25      were.    So they would still represent a phenomenon of           01:40:52

                                                                      Page 167

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 169
                                                          Page
                                                            of 379
                                                                225PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21789#:
                                      1509

   1     child-onset gender dysphoria even after they cease

   2     to be a child.

   3         Q    What is your understanding of who is impacted

   4     by H.B. 3293?

   5         A    Participant- -- everyone who participates and           01:41:11

   6     follows in the -- the relevant sports.

   7         Q    And you said that prepubertal kids -- your --

   8     your discussion on prepubertal kids pertains to the

   9     population affected by H.B. 3293 because prepubertal

 10      kids become pubertal kids who become adolescents;                01:41:28

 11      right?

 12          A    Correct.   The classifications are according

 13      to when the -- the dysphoria starts, not where it

 14      currently is.

 15          Q    So is it your opinion that adolescents are              01:41:40

 16      still prepubertal kids?

 17          A    No, they are not.

 18          Q    Your report discusses adult-onset gender

 19      dysphoria; right?

 20          A    Yes, it does.                                           01:41:58

 21          Q    That discussion also does not pertain to the

 22      population affected by H.B. 3293; right?

 23          A    That is not correct.

 24          Q    Can you explain to me how adult-onset gender

 25      dysphoria pertains to the population affected by                 01:42:15

                                                                      Page 168

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 170
                                                          Page
                                                            of 379
                                                                226PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21790#:
                                      1510

   1     H.B. 3293?

   2         A     That's now a different question.           You're now

   3     asking me about adult onset rather than adult trans

   4     people who may or may not have been dysphoric

   5     earlier.                                                             01:42:29

   6         Q     Can you explain that difference to me?

   7         A     The -- the science demonstrates over and over

   8     again that the age -- the age of development at

   9     which one starts to feel highly dysphoric allows us

 10      to predict the -- predict many other phenomena and                   01:42:46

 11      the life trajectory that the person is on.

 12                If a person is adult onset, which not always,

 13      but in most of the literature is midlife, 30s and

 14      40s, this would be past the student athletics age,

 15      but if the person has -- but that's different from                   01:43:06

 16      people who had childhood-onset dysphoria, continue

 17      to have that dysphoria and then eventually become

 18      adults.

 19          Q     What studies are you talking about when you

 20      just mentioned that there are studies with data that                 01:43:23

 21      show over and over?

 22          A     The -- the -- the studies that show over and

 23      over -- which specific point?

 24          Q     Well, you just -- you tell me.         You -- you

 25      were just talking about studies that show that                       01:43:42

                                                                           Page 169

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 171
                                                          Page
                                                            of 379
                                                                227PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21791#:
                                      1511

   1     adult-onset gender -- the differences between

   2     adult-onset gender dysphoria and gender dysphoria in

   3     adults; right?

   4         A    Right.

   5         Q    I'm -- I'm just trying to understand what                01:43:54

   6     studies you were relying on when you just gave me

   7     that explanation of the differences.

   8         A    Oh.   There are many dozen such studies,

   9     including those cited in my report.            These are the

 10      studies that demonstrate that it's the adult onset,               01:44:08

 11      not the childhood onset which experience, for

 12      example, autogynephilia.

 13          Q    So you say there are dozens, and I absolutely

 14      do not expect you to recant every study cited in

 15      your report, but can you name a few studies that                  01:44:23

 16      you're referring to?

 17          A    I can't recite their titles.          The original

 18      author who started most of those were Ray Blanchard,

 19      and then many others have continued, such as

 20      Anne Lawrence, who I mentioned earlier.                           01:44:40

 21          Q    And you've cited -- cited these studies in

 22      your report; is that correct?

 23          A    I don't recall exactly which of those studies

 24      that I mentioned, but in the section on adult-onset

 25      gender dysphoria, I provide the appropriate topic --              01:44:54

                                                                        Page 170

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 172
                                                          Page
                                                            of 379
                                                                228PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21792#:
                                      1512

   1     provide the appropriate summary, with references.

   2         Q    Okay.    And the discussion of adult-onset

   3     gender dysphoria is not relevant to the Act;

   4     correct?

   5              MR. BARHAM:     Objection; asked and answered.           01:45:11

   6              MR. TRYON:     Objection.

   7              THE WITNESS:     It -- no, it -- it is

   8     relevant -- no, it is relevant.

   9     BY COUNSEL SWAMINATHAN:

 10          Q    I'm sorry, I don't think I heard an answer as            01:45:25

 11      to why it is relevant.

 12          A    Oh, I'm sorry.     It's relevant in order to

 13      help understand, especially with so much

 14      misinformation being circulated today, which facts

 15      apply to which group.                                             01:45:42

 16          Q    Which groups are you speaking about?

 17          A    Which onset -- which age -- which type of

 18      onset of gender dysphoria we're talking about.

 19          Q    And --

 20          A    But --                                                   01:45:56

 21          Q    I'm sorry, go -- I apologize for cutting you

 22      off.

 23          A    Adult-onset gender-dysphoric individuals who

 24      come in and are otherwise mentally healthy are shown

 25      to do very, very well after transition.              But one      01:46:10

                                                                        Page 171

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 173
                                                          Page
                                                            of 379
                                                                229PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21793#:
                                      1513

   1     needs to know that phenomenon is limited to the

   2     adult onset type so as to not misapply it to the

   3     childhood onset types.

   4              So even though the law would not directly

   5     pertain to the behaviors of the adult onset type,                01:46:22

   6     one needs to understand the functioning of the adult

   7     onset type so as not to confuse the information

   8     about it with information about the childhood onset

   9     type.

 10          Q    But we agree that the Act does not apply to             01:46:35

 11      the adults that we're speaking about; right?

 12               MR. TRYON:     Objection.

 13               THE WITNESS:     As I -- as I've just -- as I

 14      just explained, it's not relevant in a direct way,

 15      but in order to understand the information about                 01:46:49

 16      childhood onset, one requires information about

 17      adult onset with which to contrast it.

 18      BY COUNSEL SWAMINATHAN:

 19          Q    Okay.   And your report also discusses people

 20      with the female sex assigned at birth?                           01:47:02

 21          A    Yes.

 22               MR. TRYON:     Objection; terminology.

 23      BY COUNSEL SWAMINATHAN:

 24          Q    That discussion also does not pertain to the

 25      population affected by H.B. 3293; right?                         01:47:17

                                                                      Page 172

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 174
                                                          Page
                                                            of 379
                                                                230PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21794#:
                                      1514

   1              MR. TRYON:     Objection.

   2              MR. BARHAM:     Objection; form, scope,

   3     terminology.

   4              THE WITNESS:     No, that is not correct either.

   5     BY COUNSEL SWAMINATHAN:                                          01:47:25

   6         Q    So how does -- how does your report's

   7     discussion about people with a female sex assigned

   8     at birth pertain to the population effected by H.B.

   9     3293?

 10               MR. BARHAM:     Objection; terminology.                 01:47:36

 11               THE WITNESS:     For the same reason.       There's a

 12      great deal of information being offered -- being

 13      offered which pertains only to a certain subtype of

 14      gender dysphoria, and in order to make sure that

 15      like goes with like, one needs to understand all of              01:47:51

 16      them so information about one kind of transition

 17      doesn't get confused with other kinds of transition.

 18      BY COUNSEL SWAMINATHAN:

 19          Q    Is it fair for me to say that H.B. 3293 does

 20      not determine whether a person with the female sex               01:48:07

 21      assigned at birth can play on any specific sports

 22      team; correct?

 23               MR. BARHAM:     Objection --

 24               MR. TRYON:     Objection.

 25               MR. BARHAM:     -- form, scope and terminology.         01:48:20

                                                                      Page 173

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 175
                                                          Page
                                                            of 379
                                                                231PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21795#:
                                      1515

   1              THE WITNESS:     As I read the law, it doesn't

   2     alter directly or doesn't affect the -- the

   3     behaviors available for -- it is a one-way ban,

   4     not -- it bans people born as male to play on female

   5     teams, but not people born female to play on male                 01:48:40

   6     teams, is my understanding of the law.

   7     BY COUNSEL SWAMINATHAN:

   8         Q    Got it.   And are you offering an expert

   9     opinion on whether transgender girls and women

 10      should be allowed to play on sports teams consistent              01:48:52

 11      with their gender identity?

 12          A    I'm not -- not offering such an opinion of my

 13      own.    I'm just evaluating what's been circulating

 14      relative to the existing science.

 15          Q    So would you agree that H.B. 3293 is a                   01:49:03

 16      one-way ban?

 17               MR. TRYON:     Objection.

 18               MR. BARHAM:     Objection; form and scope.

 19               THE WITNESS:     Again, I'm not a lawyer.     I'm

 20      not aware of a technical definition for one way, but              01:49:19

 21      it certainly seems to fit that.

 22      BY COUNSEL SWAMINATHAN:

 23          Q    So the population of people affected are not

 24      people with adult-onset gender dysphoria; right?             We

 25      agree -- we discussed that; right?                                01:49:33

                                                                       Page 174

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 176
                                                          Page
                                                            of 379
                                                                232PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21796#:
                                      1516

   1              MR. TRYON:     Objection.

   2              THE WITNESS:     The law doesn't pertain to

   3     their behavior specifically, correct.

   4     BY COUNSEL SWAMINATHAN:

   5         Q    And are you offering an opinion on whether an           01:49:40

   6     11-year-old transgender girl who has been on puberty

   7     blockers since Tanner stage II should be allowed to

   8     play on the girls' cross-country team consistent

   9     with her gender identity?

 10          A    I'm not offering a specific opinion like                01:49:54

 11      that, no.

 12          Q    Okay.   Are you opining that H.B. 3293 is

 13      justified because it discourages children and

 14      adolescents from being on a pathway toward life as a

 15      transgender person?                                              01:50:12

 16               MR. TRYON:     Objection.

 17               THE WITNESS:     No, that -- no, I'm not.

 18      BY COUNSEL SWAMINATHAN:

 19          Q    Do you believe that H.B. 3293 discourages

 20      children and adolescents from being on a pathway                 01:50:22

 21      toward life as a transgender person?

 22               MR. BARHAM:     Objection.

 23               MR. TRYON:     Objection.

 24               THE WITNESS:     There's no way for me to know

 25      that.                                                            01:50:33

                                                                      Page 175

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 177
                                                          Page
                                                            of 379
                                                                233PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21797#:
                                      1517

   1     BY COUNSEL SWAMINATHAN:

   2         Q    What is your understanding of the impact

   3     on -- of H.B. 3293 on the decision to transition for

   4     children and adolescents suffering from gender

   5     dysphoria?                                                       01:50:46

   6         A    I'm not aware of that ever having been

   7     studied.

   8              COUNSEL SWAMINATHAN:      Okay.     I'm going to

   9     introduce tab 5, which has been marked as

 10      Exhibit 47.                                                      01:51:00

 11               (Exhibit 47 was marked for identification

 12              by the court reporter and is attached hereto.)

 13      BY COUNSEL SWAMINATHAN:

 14          Q    Again, it takes a moment to refresh and load,

 15      so please let me know when you have it.                          01:51:32

 16          A    I have it.

 17          Q    Great.    And have you seen this document

 18      before, Dr. Cantor?

 19          A    It's not looking familiar to me, no.

 20          Q    It's not looking familiar to you.                       01:52:03

 21               You did not help author this document, then,

 22      I understand; right?

 23          A    No.

 24          Q    Okay.    I will represent to you that these are

 25      the State of West Virginia's responses to plaintiff              01:52:19

                                                                      Page 176

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 178
                                                          Page
                                                            of 379
                                                                234PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21798#:
                                      1518

   1     B.P.J.'s first set of interrogatories, dated

   2     November 23rd, 2021.

   3              I'm going to be focusing on page 9 of the

   4     document, if you are able to turn to page 9.

   5         A    One moment.                                             01:52:40

   6         Q    No problem.    Take your time.

   7         A    Got it.

   8         Q    Great.    And so Interrogatory No. 6, which is

   9     at the top of the document, asks the State to

 10      "Identify all governmental interests that YOU" --                01:52:56

 11      the State of West Virginia -- "believe are advanced

 12      by H.B. 3293."

 13               Do you see that?

 14          A    Yes, I do.

 15          Q    And the state, in its response, says (as                01:53:08

 16      read):

 17               "Without waiver of any objections,

 18               the State asserts the following

 19               interests, primarily and in general,

 20               which are advanced by the Protection                    01:53:19

 21               of Women's Sports Act."

 22               And there are three items listed under there.

 23      The first is "To protect Women's Sports."            The

 24      second, "To follow Title IX."         And the third, "To

 25      protect women's safety in female athletic sports."               01:53:33

                                                                      Page 177

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 179
                                                          Page
                                                            of 379
                                                                235PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21799#:
                                      1519

   1              Do you see that?

   2         A    Yes, I do.

   3         Q    Okay.   So are you offering an expert opinion

   4     with respect to whether H.B. 3293 serves the

   5     interest of protecting women's sports?                           01:53:46

   6         A    I haven't been asked that, no.

   7         Q    Okay.   And are you offering an opinion with

   8     respect to whether H.B. 3293 serves the interest of

   9     following Title IX?

 10          A    I haven't been asked that, no.                          01:54:03

 11          Q    Okay.   And are you offering an opinion with

 12      respect to whether H.B. 3293 serves the interest of

 13      protecting women's safety in female athletic sports?

 14          A    I have not been asked that, no.

 15          Q    And are you aware that H.B. 3293 applies to             01:54:20

 16      college athletes as well?

 17          A    Yes.

 18          Q    Do you have any opinions on whether H.B. 3293

 19      should apply to college athletes?

 20          A    I have no opinion in any direction.                     01:54:33

 21          Q    Okay.   So it's -- it's fair to say that you

 22      don't have an opinion on -- on that issue; right?

 23          A    Yes.

 24          Q    Okay.   So I want to talk a bit about your

 25      experience with the treatment of gender dysphoria.               01:54:56

                                                                      Page 178

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 180
                                                          Page
                                                            of 379
                                                                236PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21800#:
                                      1520

   1              I understand earlier that you testified that

   2     you're not an endocrinologist; right?

   3         A    Yes.

   4         Q    And you personally have not diagnosed any

   5     child or adolescent with gender dysphoria; right?                01:55:05

   6         A    Correct.

   7         Q    And you personally have never treated any

   8     child or adolescent for gender dysphoria; right?

   9         A    Correct.

 10          Q    Okay.   And you don't provide psychotherapy             01:55:18

 11      counseling to children or adolescents with gender

 12      dysphoria; right?

 13          A    Age 16 or above, I do.       Under age 16, I do

 14      not.

 15          Q    And so it was your testimony earlier that you           01:55:38

 16      see about six to eight patients age 16 to 18;

 17      correct?

 18          A    Roughly, yes.

 19          Q    Roughly.   And so roughly, of those six to

 20      eight patients, how many of those patients come to               01:55:49

 21      you suffering from gender dysphoria?

 22          A    Those -- those people come to me -- I'm

 23      sorry, could you ask that again?

 24          Q    Sure.   I -- I must have phrased it poorly.

 25               So of the six to eight patients that you see,           01:56:11

                                                                      Page 179

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 181
                                                          Page
                                                            of 379
                                                                237PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21801#:
                                      1521

   1     on average, who are ages 16 to 18, how many of them

   2     have a gender dysphoria diagnosis?

   3         A    I don't recall if they came in already with

   4     such a diagnosis or at least I don't recall how many

   5     would have had -- would have already been assigned               01:56:46

   6     such a diagnosis by another clinician before they

   7     got to me.

   8         Q    Would you be able to share with me roughly

   9     how many of them identify as transgender or gender

 10      dysphoric?                                                       01:57:01

 11          A    When they come to me, they're not sure of

 12      what their identity is.       That's often among their

 13      questions.

 14          Q    Okay.   And what professional training or

 15      expertise do you possess to provide psychotherapy                01:57:14

 16      counseling to those adolescents who come to you

 17      questioning whether they have gender dysphoria or

 18      not?

 19          A    Do you mean my licensing or education?

 20          Q    Your licensing.                                         01:57:30

 21          A    My licensing is as a clinical psychologist,

 22      registered in Ontario, specifically for adults and

 23      adolescents age 16 and up.

 24          Q    Okay.   And so that licensing does not

 25      pertain -- or allow you to provide psychotherapy                 01:57:41

                                                                      Page 180

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 182
                                                          Page
                                                            of 379
                                                                238PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21802#:
                                      1522

   1     counseling to anyone under the age of 16; correct?

   2         A    Correct.

   3         Q    Okay.   Are you familiar with the term

   4     "affirmation on demand"?

   5         A    Yes.                                                         01:57:56

   6         Q    What does that term mean?

   7         A    It refers to permitting a person to engage in

   8     whatever available methods to acknowledge or to

   9     medically induce their transition with no other --

 10      with no evaluation or supervision.                                    01:58:15

 11          Q    Has any patient ever come to you asking for

 12      affirmation on demand?

 13          A    No.

 14          Q    What is your basis for saying that providers

 15      are providing affirmation on demand to children and                   01:58:31

 16      adolescents with gender dysphoria?

 17          A    Through several venues.        I get that

 18      information from parents, from people, you know, in

 19      society who e-mail me asking for help.               There's a

 20      large number of media reports of it happening                         01:58:49

 21      throughout the world, U.S., Canada and Europe.               And

 22      there's now been -- there are now several

 23      governmental entities, mostly in Europe, are now

 24      beginning more formal investiga- -- investigations

 25      of it.                                                                01:59:05

                                                                            Page 181

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 183
                                                          Page
                                                            of 379
                                                                239PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21803#:
                                      1523

   1           Q   Okay.     So let me see if I understand this

   2     correctly.

   3               You said parents, people who e-mail you, news

   4     sources and information put out by government

   5     entities, most commonly in Europe; is that correct?                01:59:17

   6     Those are the sources from which you've heard that

   7     providers are providing affirmation on demand?

   8           A   That question sounds slightly different to

   9     me.

 10                There's affirmation on demand as an idea.                01:59:36

 11            Q   Uh-huh.

 12            A   And then there are the actual processes that

 13      clinics are doing in which they're providing

 14      affirmation without sufficient evaluation.            So it's

 15      starting to approach affirmation on demand, which                  01:59:51

 16      would be the name for the most extreme version.

 17            Q   I see.     And so have you spoken to providers

 18      who claim to provide affirmation on demand to

 19      children and adolescents with gender dysphoria?

 20            A   No.     The people who are -- seem to be                 02:00:11

 21      providing it deny that that's what they're doing.

 22            Q   Have you -- are you personally aware of any

 23      providers who fail to conduct the sufficient

 24      evaluation that you just mentioned that teeters on

 25      the edge of affirmation on demand?                                 02:00:25

                                                                         Page 182

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 184
                                                          Page
                                                            of 379
                                                                240PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21804#:
                                      1524

   1         A    I'm not clear on what you mean by "personally

   2     aware" beyond the way that I already described how I

   3     become aware of it.

   4         Q    I think I'm just trying to understand more

   5     how that you know for certain providers are                      02:00:46

   6     providing affirmation on demand.

   7         A    Again, that -- that seems to be the question

   8     you asked before, where it's a series of different

   9     kinds of sources.

 10          Q    But none of those sources are actual                    02:01:00

 11      providers who provide this care; right?

 12          A    Again, as I said already, most of the people

 13      who seem to be providing something that would

 14      reasonably be called that deny that that's what

 15      they're doing.                                                   02:01:16

 16          Q    Has anyone at your hospital, to your

 17      knowledge, provided affirmation on demand?

 18          A    When you say my hospital, I assume you mean

 19      my former affiliation at CAMH.

 20          Q    Yes.    Apologies.                                      02:01:33

 21               Has anyone, to your knowledge, at CAMH

 22      provided affirmation on demand?

 23          A    No.    The clinic there is known for being

 24      cautious.

 25          Q    So you've not talked to any other providers             02:01:48

                                                                      Page 183

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 185
                                                          Page
                                                            of 379
                                                                241PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21805#:
                                      1525

   1     who have claimed to provide affirmation on demand;

   2     right?

   3         A    Correct.     The people who seem to be providing

   4     it deny that that's what they're providing.

   5         Q    Okay.     And your only evidence that                   02:02:03

   6     affirmation on demand is being provided is from

   7     parents, from people and society directly e-mailing

   8     you, from news sources and from the government

   9     entity releases that you spoke about earlier; right?

 10          A    Correct.                                                02:02:19

 11          Q    Okay.     Have you read any studies that show

 12      that providers are providing affirmation on demand

 13      to children and adolescents with gender dysphoria?

 14          A    No.     No, I'm not.   As I say, the -- the

 15      providers don't acknowledge that that's what they're             02:02:38

 16      doing to begin with, leaving little opportunity to

 17      study it at all.

 18          Q    Okay.     What do you understand desistance to

 19      mean in the context of gender dysphoria?

 20          A    Different people use the words in slightly              02:02:53

 21      different ways or with different cutoffs, but in

 22      general, they -- they refer to a person realizing

 23      that they weren't actually trans after all.

 24          Q    So you said different people have maybe

 25      different definitions.                                           02:03:08

                                                                      Page 184

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 186
                                                          Page
                                                            of 379
                                                                242PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21806#:
                                      1526

   1              What is your definition of desistance?

   2         A    I don't think I can really say that I have a

   3     definition so much as I do my best to understand

   4     what the person taking to me or the document that

   5     I'm reading, what they meant by it and then going                02:03:25

   6     with, you know, whatever meaning it is that -- that

   7     they meant.

   8         Q    I guess I'm trying to understand.

   9              So in your professional practice, what

 10      different variations of understanding of the word                02:03:43

 11      "desistance" have you encountered?

 12          A    Generally, they would differ according to how

 13      far along the transition process the person was to

 14      begin with.      A person suspecting that they might be

 15      trans and then figuring out that they're not is very             02:03:59

 16      different from a person who transitions, socially

 17      changed a name and then changed it back, which is

 18      still again very different from somebody who has

 19      taken hormones or gone through surgery and then

 20      regrets that.                                                    02:04:14

 21          Q    Okay.    You spoke about regret.

 22               What do you understand regret to mean in the

 23      context of desistance?

 24          A    Wishes that they had never gone through

 25      transition to begin with.                                        02:04:24

                                                                      Page 185

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 187
                                                          Page
                                                            of 379
                                                                243PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21807#:
                                      1527

   1         Q    Okay.   And are you aware of any studies

   2     tracking desistance in adolescents with gender

   3     dysphoria?

   4         A    I'm aware of studies that have included it

   5     inside of a larger study of the phenomenon -- of                 02:04:41

   6     trans adolescents in general.         There have -- I've

   7     seen that there exists now a small handful of

   8     studies trying to survey those kids.            I haven't

   9     studied them yet in any depth, however.

 10          Q    Okay.   Would you know the names of any of              02:05:06

 11      these small handful of studies you just mentioned?

 12          A    Not offhand, no.

 13          Q    Would you know any of the authors of these

 14      studies or the people who are in the process of

 15      collecting this data?                                            02:05:21

 16          A    Not offhand, no.

 17          Q    Okay.   And are any of these studies cited in

 18      your report?

 19          A    No, they are not.

 20          Q    Okay.   So I'm going to introduce tab 7, which          02:05:29

 21      is going to be marked as Exhibit 48.            Give me one

 22      moment for it to show up on your end.

 23               Are you --

 24               (Exhibit 48 was marked for identification

 25              by the court reporter and is attached hereto.)           02:06:07

                                                                       Page 186

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 188
                                                          Page
                                                            of 379
                                                                244PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21808#:
                                      1528

   1              THE WITNESS:     Yes.

   2     BY COUNSEL SWAMINATHAN

   3         Q    Great.     Do you recognize this blog post,

   4     Dr. Cantor?

   5         A    Yes, I do.                                              02:06:16

   6         Q    So this is a blog post entitled "Do trans

   7     kids stay trans when they grow up?"

   8              You authored this post in Sexology Today!;

   9     correct?

 10          A    Correct.                                                02:06:29

 11          Q    And you wrote this in 2016.         It says

 12      January 11th, 2016; correct?

 13          A    That's right.

 14          Q    Okay.    And so I want to turn your attention

 15      to the -- the second paragraph of -- the top of the              02:06:43

 16      page.    You write (as read):

 17               "Only very few trans- kids still

 18               want to transition by the time they

 19               are adults.     Instead, they generally

 20               turn out to be regular gay or                           02:06:57

 21               lesbian folks."

 22               Did I read that accurately?

 23          A    Yes.

 24          Q    What does "regular gay or lesbian folks"

 25      mean?                                                            02:07:08

                                                                      Page 187

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 189
                                                          Page
                                                            of 379
                                                                245PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21809#:
                                      1529

   1         A    No other sexual interest phenomena that would

   2     better account or better describe what they're

   3     interested -- what they're interested in.

   4         Q    What are non-regular gay or lesbian folks,

   5     then?                                                              02:07:24

   6         A    For example, somebody with a -- with a

   7     paraphilia or with a fetish that makes the

   8     determination of their sexual orientation a bit

   9     moot.

 10          Q    What does that mean, to make it a bit moot?               02:07:36

 11          A    That their sexual interest pattern doesn't

 12      follow along what most people are generally familiar

 13      with in -- in discussing attraction to men or

 14      attraction to women.

 15          Q    Okay.   So if a child's gender dysphoria were             02:07:53

 16      to persist and they continued to want to transition

 17      by the time they are adults, what are they, in your

 18      view?

 19          A    If -- they would most -- they would be in the

 20      running to qualify -- the emotion they would be                    02:08:11

 21      describing would be gender dysphoria.            Whether they

 22      qualify for the diagnosis depends on -- would

 23      require a more fulsome assessment.

 24          Q    Would they be irregular, in your mind?

 25          A    They would be atypical in that it is                      02:08:25

                                                                         Page 188

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 190
                                                          Page
                                                            of 379
                                                                246PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21810#:
                                      1530

   1     statistically a rarer phenomenon than cisgender is.

   2         Q    I heard you say, just a few seconds ago, they

   3     would be in the running for, and then you kind of

   4     cut off, I thought.

   5              What did you mean to say when you said they             02:08:44

   6     would be in the running for?         Would they be in the

   7     running for being transgender?

   8         A    Yes, that would be possible, but I can't make

   9     that kind of conclusion without the person

 10      undergoing, as I say, a more fulsome assessment,                 02:08:57

 11      looking for other possible motivators for why they

 12      might feel gender dysphoria.

 13          Q    So what do you -- let's see.

 14               Are you aware that gender identity and sexual

 15      orientation are distinct concepts?                               02:09:12

 16          A    Yes.

 17          Q    Yes?   Are you aware that someone can be

 18      transgender and gay?

 19          A    Yes, although the particular phrases become a

 20      little bit more complicated when a person is                     02:09:24

 21      changing sex and you're trying to say what they're

 22      attracted to relative to the sex they are.

 23          Q    And is it equally as complicated for the

 24      understanding that someone can be transgender and a

 25      lesbian?                                                         02:09:43

                                                                      Page 189

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 191
                                                          Page
                                                            of 379
                                                                247PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21811#:
                                      1531

   1         A    Is it complicated?      Yes.

   2         Q    Is it more complicated than someone being

   3     transgender and gay?

   4         A    No.   This is the same complication.

   5         Q    The same complication.         Okay.                     02:09:56

   6              Dr. Cantor, do you believe that social

   7     transition for gender-dysphoric adolescents after

   8     age 12 is appropriate?

   9         A    That's an empirical question -- that's an

 10      empirical question, and the science unde- -- is                   02:10:17

 11      still somewhat undecided about it.

 12          Q    I'm just asking for your opinion, though.

 13               Do you believe that social transition for

 14      gender-dysphoric adolescents after age 12 is

 15      appropriate?                                                      02:10:35

 16          A    It's not possible to have an opinion outside

 17      of the science.

 18               COUNSEL SWAMINATHAN:      Okay.        I'm going to

 19      introduce tab 23, which is now going to be marked as

 20      Exhibit 49.                                                       02:10:49

 21               (Exhibit 49 was marked for identification

 22              by the court reporter and is attached hereto.)

 23               THE WITNESS:    I see it.

 24      BY COUNSEL SWAMINATHAN:

 25          Q    Great.   And if you can turn to the second               02:11:15

                                                                        Page 190

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 192
                                                          Page
                                                            of 379
                                                                248PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21812#:
                                      1532

   1     page of this article, which is an article titled

   2     "When is a 'TERF'" --

   3              COUNSEL SWAMINATHAN:      For the court reporter,

   4     that's T-E-R-F.

   5     BY COUNSEL SWAMINATHAN:                                          02:11:26

   6         Q    -- "not a 'TERF'?" authored on July 20- --

   7     July 8th, 2020.

   8              And this is an article written by you, right,

   9     Dr. Cantor?

 10          A    Yes, it is.                                             02:11:36

 11          Q    And if you turn to page 2, you'll see, around

 12      the middle of the page, the -- the third paragraph

 13      that begins with (as read):

 14               "I support age 12, not for any

 15               ideological reason, but because that                    02:11:51

 16               is what the (current) evidence

 17               supports: The majority of

 18               prepubescent kids cease to feel

 19               trans during puberty, but the

 20               majority of kids who continue to                        02:12:04

 21               feel trans after puberty rarely

 22               cease."

 23               Do you see that?

 24          A    Yes, I do.

 25          Q    So is it fair to say that you support social            02:12:09

                                                                      Page 191

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 193
                                                          Page
                                                            of 379
                                                                249PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21813#:
                                      1533

   1     transition for gender-dysphoric adolescents at age

   2     12?

   3           A   No.

   4           Q   No?   So this article is authored in July of

   5     2020.                                                            02:12:29

   6               So has your opinion changed from July 2020 --

   7     July 2020 to now?

   8           A   Science has changed, and as I say, my opinion

   9     just follows the science.

 10            Q   How has the science changed?                           02:12:42

 11            A   The -- several of the papers that were being

 12      circulated in the late 2019s have turned out to be

 13      wrong.     Some were retracted.      Some were reanalyzed,

 14      and it was shown that their results were not correct

 15      to begin with.      And it was recognized that those             02:13:02

 16      studies which did seem to be indicating an

 17      improvement over -- over transition, such kids were

 18      receiving psychotherapy in addition to receiving

 19      medical transition.

 20                Once that was recognized, we could no longer           02:13:15

 21      conclude that it was any -- the medical

 22      transition -- that it was the medical transition or

 23      any other transition being the source of the benefit

 24      rather than the psychotherapy itself.

 25                So once the evidence supporting earlier                02:13:28

                                                                      Page 192

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 194
                                                          Page
                                                            of 379
                                                                250PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21814#:
                                      1534

   1     transition evaporated, then one's opinion of that

   2     science has to change with it.

   3         Q    So you mentioned studies that have been

   4     changed or retracted.      What studies are you talking

   5     about?                                                           02:13:42

   6         A    It's a series of -- a series of studies, all

   7     of which have been -- are cited in my report.

   8         Q    Can you name a few of those studies?

   9         A    I'm better with names if I could have my

 10      report in front of me at the same time.                          02:13:56

 11               MR. BARHAM:    The latest report is Exhibit 45;

 12      is that correct?

 13               COUNSEL SWAMINATHAN:      That is correct.

 14               THE WITNESS:    Bränström and Pachankis 2019

 15      became retracted.                                                02:14:53

 16      BY COUNSEL SWAMINATHAN:

 17          Q    Any others?

 18          A    Olson, et al., was demonstrated to be

 19      incorrect.

 20               The Costa study, although it came out                   02:15:37

 21      earlier, it then became better known once the other

 22      studies started -- after the other studies started

 23      showing that they were in error.

 24          Q    And you're talking about the Costa 2015; is

 25      that correct?                                                    02:16:00

                                                                      Page 193

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 195
                                                          Page
                                                            of 379
                                                                251PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21815#:
                                      1535

   1         A     Yes.

   2         Q     Okay.

   3         A     So those are the --

   4         Q     Okay.   Thank you, Dr. --

   5         A     Those are the ones -- okay.                            02:16:06

   6         Q     So, Dr. Cantor, what is the Dutch protocol?

   7         A     The Dutch protocol started outside of Canada.

   8     The largest clinic for children's gender dysphoria

   9     was in the Netherlands.       They also took a

 10      conservative method, like -- like the clinics in                 02:16:26

 11      Canada, where children who were otherwise qualified

 12      would be allowed to begin taking puberty blockers at

 13      age 14 and then cross-sex hormones at age 16.

 14          Q     And the Dutch protocol allowed for a social

 15      transition after age 12; right?                                  02:16:46

 16          A     It was during adolescence.        I don't recall

 17      the specific age.

 18          Q     Let me turn your attention to a page in your

 19      report that might help you reflect (sic) your

 20      recollection.                                                    02:17:02

 21                So if you could turn to page 19 of your

 22      report.

 23          A     One moment.

 24          Q     No problem.

 25                And at the top of the page, it says that "The          02:17:23

                                                                      Page 194

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 196
                                                          Page
                                                            of 379
                                                                252PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21816#:
                                      1536

   1     components of the Dutch Approach are: no social

   2     transition at all considered before age 12..." which

   3     they describe as the watchful waiting period.

   4         A    Correct.

   5         Q    So is it fair to say that the Dutch protocol            02:17:36

   6     allows for social transition after age 12?

   7         A    Allows for it?     Yes.

   8         Q    So is it your opinion as you testify today

   9     that you disagree with the Dutch protocol with

 10      respect to the age at which it allows for social                 02:17:53

 11      transition?

 12          A    There were some pieces missing in that.

 13               As I said, the Dutch protocol, at the time,

 14      was developed on the data that was available at that

 15      time.    Both have changed -- well, the Dutch                    02:18:15

 16      protocol, as we call it, hasn't changed, but the

 17      clinics themselves have -- are now becoming more

 18      conservative, as the original version of the Dutch

 19      protocol has not been as well replicated.

 20               But instead of clinics raising their                    02:18:29

 21      standards, like is happening throughout Europe,

 22      clinics in the U.S. who are receiving reports are

 23      lowering their standards.

 24          Q    I see.     And so if you look at page 18 of your

 25      report, just the page before, and you look at                    02:18:42

                                                                      Page 195

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 197
                                                          Page
                                                            of 379
                                                                253PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21817#:
                                      1537

   1     paragraph 46, in the last sentence of your

   2     paragraph, you state, quote, (as read):

   3               "Internationally, the Dutch Approach

   4               is currently the most widely

   5               accepted and utilized method for                       02:18:54

   6               treatment of children who present

   7               with gender dysphoria."

   8               End quote.

   9               Do you agree with that statement?

 10          A     Yes, that would -- that would still be fair            02:19:02

 11      to say.

 12          Q     Okay.   Dr. Cantor, what puberty-blocking

 13      drugs are you aware of?

 14          A     Oh, I couldn't tell them to you by name so

 15      much as by function.                                             02:19:20

 16          Q     What are you aware of about the function of

 17      puberty-blocking treatment?

 18          A     Well, there are a series of signals in the

 19      brain that indicate to different parts of the brain

 20      and different parts of the body when to -- that they             02:19:34

 21      should be maturing.      The puberty blocker stops --

 22      stops that cycle.

 23          Q     And, again, you are not an expert in the

 24      different types of prescription drugs that are used

 25      as puberty-blocking agents; right?                               02:19:50

                                                                      Page 196

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 198
                                                          Page
                                                            of 379
                                                                254PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21818#:
                                      1538

   1         A    That is correct.

   2         Q    Okay.   You have never obtained informed

   3     consent to provide puberty blockers; right?

   4         A    Correct.

   5         Q    And you've never had a patient sign an                  02:20:03

   6     informed consent form relating to puberty blockers;

   7     right?

   8         A    Correct.

   9         Q    You personally have no experience with

 10      monitoring patients who are undergoing                           02:20:15

 11      puberty-blocking treatment; right?

 12          A    Correct.

 13          Q    You don't know what type of monitoring is

 14      typically done or not done for those patients;

 15      right?                                                           02:20:28

 16          A    That's part of medical practice.

 17          Q    That's not your practice; right?

 18          A    Correct.

 19          Q    Okay.   Dr. Cantor, you know what cross-sex

 20      hormones are; correct?                                           02:20:46

 21          A    Yes.

 22          Q    For transgender women, estrogen is the

 23      hormone that's typically prescribed; correct?

 24               MR. BARHAM:    Objection as to terminology.

 25               THE WITNESS:    Yes.                                    02:20:55

                                                                      Page 197

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 199
                                                          Page
                                                            of 379
                                                                255PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21819#:
                                      1539

   1     BY COUNSEL SWAMINATHAN:

   2           Q   And for transgender men, testosterone is the

   3     hormone that's typically prescribed; correct?

   4               MR. BARHAM:    Objection; terminology.

   5               THE WITNESS:    Correct.                               02:21:07

   6     BY COUNSEL SWAMINATHAN:

   7           Q   Have you ever obtained informed consent to

   8     provide cross-sex hormones to anyone?

   9           A   No.

 10            Q   You've never had a patient sign an informed            02:21:15

 11      consent form relating to cross-sex hormones; right?

 12            A   Correct.

 13            Q   Okay.   Have you advised patients about

 14      potential risks and benefits of cross-sex hormones?

 15            A   No, I have not.                                        02:21:33

 16            Q   Okay.   Aside from the literature you have

 17      reviewed, you personally don't know what doctors

 18      tell their patients about cross-sex hormones; right?

 19                MR. BARHAM:    Objection as to form and scope.

 20                THE WITNESS:    That's not entirely true.     For      02:21:55

 21      example, people who have detransitioned or people

 22      who have transitioned, when it's relevant, you know,

 23      will discuss with me conversations that they've had

 24      with their physicians.

 25      ///

                                                                       Page 198

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 200
                                                          Page
                                                            of 379
                                                                256PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21820#:
                                      1540

   1     BY COUNSEL SWAMINATHAN:

   2         Q    Okay.     So your knowledge of what doctors tell

   3     their patients about cross-sex hormones comes from

   4     what your patients who have detransitioned have told

   5     you; is that fair?                                                   02:22:17

   6         A    In part.     The other sources are the sources

   7     that I mentioned earlier, e-mails and other contacts

   8     from -- from family members, requests for -- for

   9     consultation, media -- and media outlets.

 10          Q    Got it.     Thank you.   Okay.                              02:22:34

 11               Did you review --

 12               COUNSEL SWAMINATHAN:      Actually, I just want

 13      to check in.       You're -- are you okay to keep going?

 14      But it has been about an hour and ten minutes.               If

 15      you need a break, that's totally fine.                               02:22:44

 16               THE WITNESS:     I'm good.

 17               COUNSEL SWAMINATHAN:      You're good?      Okay.

 18      BY COUNSEL SWAMINATHAN:

 19          Q    Did you review the 2017 Endocrine Society

 20      guidelines in full before forming your opinions in                   02:22:56

 21      this case?

 22          A    Yes, I have.

 23          Q    You have?     You've read them from top to

 24      bottom as well?

 25          A    Yes, I have.                                                02:23:04

                                                                           Page 199

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 201
                                                          Page
                                                            of 379
                                                                257PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21821#:
                                      1541

   1         Q    When's the last time you've done that?

   2         A    Oh.     Last week.

   3         Q    Last week.     And are you aware that the

   4     Endocrine Society guidelines recommend treating

   5     gender-dysphoric and gender-incongruent adolescents              02:23:18

   6     who have entered puberty at Tanner stage II by

   7     suppression with gonadotropin-releasing hormone

   8     agonists?

   9         A    I'm aware that that's in that document, yes.

 10          Q    Okay.     And if we can take a look back -- I --        02:23:30

 11      I assume you still have your report pulled up.          If

 12      you can take a look at page 3 of your report.

 13          A    I'm there.

 14          Q    And you look at paragraph 8, subset (e), you

 15      state that (as read):                                            02:23:59

 16               "Affirmation of a transgender

 17               identity in minors who suffer from

 18               early-onset or adolescent-onset

 19               gender dysphoria is not an accepted

 20               'standard of care.'"                                    02:24:10

 21               Which is in quotes.

 22               Is that correct?

 23          A    That's correct.

 24          Q    So this opinion conflicts with the

 25      Endocrine Society recommendations; right?                        02:24:20

                                                                      Page 200

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 202
                                                          Page
                                                            of 379
                                                                258PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21822#:
                                      1542

   1         A    Yes, it does.

   2         Q    And you yourself are not a part of the

   3     Endocrine Society; right?

   4         A    That is correct.

   5         Q    You've never advised the Endocrine Society in           02:24:31

   6     any capacity; right?

   7         A    That is correct.

   8         Q    You personally were not involved with the

   9     development of the original Endocrine Society

 10      guidelines back in 2009; right?                                  02:24:47

 11          A    Correct.

 12          Q    You were not involved with the development of

 13      the updated guidelines in 2017; right?

 14          A    Correct.

 15          Q    Do you know what kind of scientific                     02:24:59

 16      literature review the Endocrine Society conducted in

 17      developing the 2017 updates?

 18          A    I'm not aware of its details, no.

 19          Q    Are you aware of what kind of outside experts

 20      the Endocrine Society may have consulted in                      02:25:16

 21      developing the 2017 updates?

 22          A    I'm aware that they had such people whom they

 23      requested, yes.

 24          Q    Are you aware of any of these people by name?

 25          A    The only one I know by name is from his                 02:25:32

                                                                      Page 201

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 203
                                                          Page
                                                            of 379
                                                                259PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21823#:
                                      1543

   1     involvement in this case, Dr. Jensen.

   2         Q     Okay.   And you don't hold yourself out as an

   3     expert in how the Endocrine Society developed the

   4     original 2009 guidelines for treatment of gender

   5     dysphoria; right?                                                 02:25:50

   6         A     It's a little hard to imagine such a question

   7     being used to determine whether a person can be

   8     called an expert on -- on anything.            That's a very

   9     narrow topic.      However, there has been systematic

 10      evaluation of the Endocrine Society's guidelines.                 02:26:08

 11          Q     I guess my question is that you don't hold

 12      yourself out personally as an expert in how the

 13      Endocrine Society developed the original 2009

 14      guidelines; right?

 15          A     Yes, that would be true.                                02:26:23

 16          Q     Okay.   And the same -- you don't hold

 17      yourself out as an expert in how the

 18      Endocrine Society developed the 2017 updates; right?

 19          A     That, again, would, I think, be true.

 20          Q     Okay.   You know what the WPATH is, right, the          02:26:40

 21      World Professional Association for Transgender

 22      Health?

 23          A     Yes, I am.

 24          Q     Sorry, yes, you do or yes, you --

 25          A     Yes, I am aware.                                        02:26:54

                                                                        Page 202

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 204
                                                          Page
                                                            of 379
                                                                260PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21824#:
                                      1544

   1         Q    Oh, okay.     Do you know that WPATH

   2     publishes standards of care for the health of

   3     transgender people?

   4         A    Yes, I'm aware.

   5         Q    Are you aware that WPATH has been publishing             02:27:07

   6     these standards since 1979?

   7         A    Yes, I am.

   8         Q    Okay.     To your knowledge, what is the latest

   9     standard of care available from WPATH?

 10          A    They're in the middle of revising them now.              02:27:21

 11      I don't remember the year of the current -- current

 12      version, but --

 13          Q    Do you know the number of the current

 14      version?

 15          A    No.     I don't recall.                                  02:27:33

 16          Q    Do you know when the most recent version was

 17      published?

 18          A    Not without looking it up.         I don't remember

 19      the year, no.

 20          Q    So in your report, you express some opinions             02:27:47

 21      about the WPATH Standards of Care; right?

 22          A    Correct.

 23          Q    Before you wrote this report, did you sit

 24      down and review the WPATH Standards of Care?

 25          A    Yes.     Yes, I did.                                     02:28:00

                                                                        Page 203

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 205
                                                          Page
                                                            of 379
                                                                261PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21825#:
                                      1545

   1         Q    When did you review them?

   2         A    That was now three or four years ago.

   3         Q    And have you reviewed all of the articles

   4     cited in the "References" section of the WPATH

   5     Standards of Care?                                               02:28:27

   6         A    I haven't looked through the reference list

   7     to see how many of them I would have read, no.

   8         Q    So you haven't reviewed the reference list;

   9     right?

 10          A    Well, I haven't reviewed the reference list             02:28:37

 11      to see how many of those references I happened to

 12      know, no.

 13          Q    Okay.   And you yourself are not a part of the

 14      WPATH; right?

 15          A    Correct.                                                02:28:48

 16          Q    Have you ever been a member of WPATH?

 17          A    No.

 18          Q    Have you ever advised the WPATH in any

 19      capacity?

 20          A    No.                                                     02:29:01

 21          Q    Okay.   You personally have not been involved

 22      with the development of WPATH Standards of Care,

 23      Version 7; right?

 24          A    Correct.

 25          Q    Okay.   Do you know that WPATH is currently             02:29:13

                                                                      Page 204

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 206
                                                          Page
                                                            of 379
                                                                262PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21826#:
                                      1546

   1     working on Version 8 of their standards of care?

   2         A    Yes, I am.

   3         Q    You personally have not been involved in the

   4     development of WPATH Standards of Care, Version 8;

   5     right?                                                           02:29:29

   6         A    Correct.

   7         Q    And you don't hold yourself out as an expert

   8     in how Version 8 is currently being developed;

   9     right?

 10          A    Again, I hesitate to say that that is a                 02:29:40

 11      subject in which there exists expertise.             It's

 12      within my topic of expertise, but I wouldn't say

 13      that I am an expert in that topic specifically.

 14          Q    Okay.     And in this particular case, you're

 15      not offering any expert opinions on how Version 8 of             02:29:59

 16      the WPATH Standards of Care are currently being

 17      developed; right?

 18          A    Correct.     The comments in my report included

 19      evaluation of Version 7.

 20          Q    Okay.     So, Dr. Cantor, I would love for you          02:30:16

 21      to turn to page 16 of your expert report.

 22          A    Got it.

 23          Q    Great.     If you could just have that open.

 24               So do you agree that the number and

 25      percentage of prepubertal kids with gender dysphoria             02:30:40

                                                                      Page 205

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 207
                                                          Page
                                                            of 379
                                                                263PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21827#:
                                      1547

   1     who do not go on to identify as transgender is

   2     currently unknown?

   3         A     No, I don't think that's exactly fair to say.

   4     What --

   5         Q     So -- what do you base your opinion --                    02:31:11

   6               MR. BARHAM:   I'd ask that -- I'd ask that you

   7     allow him to finish his answer before answer- --

   8     asking the next question.

   9               COUNSEL SWAMINATHAN:     Apologies, Counsel.

 10      BY COUNSEL SWAMINATHAN:                                             02:31:20

 11          Q     Please finish your answer, Dr. Cantor.

 12          A     There have been 11 studies, and all of them

 13      show that the large majority cease to want to

 14      transition by puberty, but the exact number changes

 15      study by study.     So I can't say that the number is               02:31:31

 16      known, in that we haven't found the same number

 17      coming up over and over again, but it would be

 18      unfair to say that, you know, the entire range of

 19      possible numbers are equally possible.               They're not.

 20      The studies have consistently even, even                            02:31:46

 21      unanimously, said that it was the large majority

 22      desist, but we still can't give a -- a specific

 23      number better than a range.

 24          Q     So you agree that the number and percentage

 25      of prepubertal kids with gender dysphoria who do not                02:32:03

                                                                         Page 206

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 208
                                                          Page
                                                            of 379
                                                                264PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21828#:
                                      1548

   1     go on to identify as transgender is currently

   2     unknown; right?

   3              MR. BARHAM:     Objection; asked and answered.

   4              MR. TRYON:     Objection.

   5              THE WITNESS:     Again, I can't say that there          02:32:12

   6     is a specific number, but the range is unanimously,

   7     in every single study, the large majority.

   8     BY COUNSEL SWAMINATHAN:

   9         Q    And which studies are you referring to?

 10          A    There were 11, and they were the -- the 11              02:32:29

 11      studies listed on my blog, which you posted.

 12          Q    I think I have maybe shown you two blog posts

 13      now.    Was it tab 40 -- sorry -- Exhibit 48?        Is that

 14      the one you're referring to?

 15          A    I don't remember the tab number, but only one           02:32:45

 16      of those two had a list of studies, and the other

 17      was, you know, just text from me.

 18          Q    Okay.   Do you agree that the number and

 19      percentage of adolescents with gender dysphoria who

 20      do not go on to identify as transgender is currently             02:33:00

 21      unknown?

 22          A    That is much less known, correct.

 23          Q    Okay.   And I take it you are not offering any

 24      expert opinions on what number or percentage of

 25      adolescents with gender dysphoria do not go on to                02:33:16

                                                                      Page 207

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 209
                                                          Page
                                                            of 379
                                                                265PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21829#:
                                      1549

   1     identify as transgender; right?

   2         A     I don't -- no, I'm not off- -- I'm not

   3     offering such a percentage, no.          We have -- we don't

   4     have the kind of prospective systematic studies to

   5     give us a better idea of the range.            Instead, we       02:33:37

   6     have studies which retrospectively try to ask

   7     questions from these people, but those studies don't

   8     give us an estimate of how many people have already

   9     desisted and, therefore, never took the

 10      questionnaire to begin with.                                     02:33:53

 11          Q     Okay.   And, Dr. Cantor, you agree that no

 12      study supports the withholding of gender-affirming

 13      treatment after the onset of puberty; right?

 14                MR. BARHAM:    Objection as to terminology.

 15                THE WITNESS:    Could you ask that again,              02:34:11

 16      please?

 17      BY COUNSEL SWAMINATHAN:

 18          Q     Sure.   You agree that no study supports the

 19      withholding of gender-affirming treatment after the

 20      onset of puberty; right?                                         02:34:19

 21          A     That no study supports the withholding.

 22                MR. BARHAM:    Objection --

 23                THE WITNESS:    That's --

 24                MR. BARHAM:    Objection as to terminology.

 25                THE WITNESS:    That's true in only a very             02:34:37

                                                                      Page 208

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 210
                                                          Page
                                                            of 379
                                                                266PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21830#:
                                      1550

   1     vacuous way in that that's not how science, never

   2     mind medical science, is conducted.            In science, we

   3     begin with the null hypothesis.          Everything starts

   4     with a null hypothesis.       The onus of proof belongs

   5     to the person saying that doing something will do                  02:35:12

   6     something.    It's not possible to prove a null

   7     hypothesis.     We start with it and wait for proof

   8     that doing something has whatever intended effect.

   9              All of that is to say it's not possible to

 10      conduct a study that would prove what happens when                 02:35:30

 11      you do nothing.       We start with that point.

 12      BY COUNSEL SWAMINATHAN:

 13          Q    So what is the basis for your opinion that

 14      it's not possible to prove what the effects of,

 15      quote, doing nothing are?                                          02:35:46

 16          A    That's a fundamental tenet of science.

 17      That's what I call the -- as I said, that's called

 18      the null hypothesis.       It's a basic functioning of

 19      the scientific process.

 20          Q    And so there's -- I'm right, though, that                 02:35:58

 21      there's no study that has tracked what you call as

 22      doing nothing in adolescents who are suffering from

 23      gender dysphoria; right?

 24               MR. TRYON:     Objection.

 25               THE WITNESS:     Correct, there is no such                02:36:17

                                                                         Page 209

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 211
                                                          Page
                                                            of 379
                                                                267PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21831#:
                                      1551

   1     study.

   2     BY COUNSEL SWAMINATHAN:

   3         Q     Okay.     You recognize that your theory of

   4     withholding social transition to see if prepubertal

   5     kids with gender dysphoria desist is an outlier in                02:36:27

   6     the scientific community?

   7               MR. BARHAM:     Objection as to form and

   8     terminology.

   9               THE WITNESS:     No, I would not say that at

 10      all.                                                              02:36:41

 11      BY COUNSEL SWAMINATHAN:

 12          Q     What do you base your -- that answer on?

 13          A     I'm in regular contact with a -- with very,

 14      very many scientists in my field, and they generally

 15      agree with me.        It's -- and they generally agree            02:36:51

 16      with -- agree with me.        It's the outliers who tend

 17      to speak most often, loudest and most publicly.           So

 18      the public mind is very, very different from the

 19      collection of scientists.

 20          Q     So you said very, very many people agree with           02:37:08

 21      you.     How many people are you talking about?

 22          A     Oh.     Several scores.   I -- of the ones I

 23      interact with, close to a hundred.

 24          Q     Can you define score for me?

 25          A     20.                                                     02:37:34

                                                                        Page 210

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 212
                                                          Page
                                                            of 379
                                                                268PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21832#:
                                      1552

   1         Q    So several scores.      Would you say 40 to 60 is

   2     an accurate capture of how many people you spoke to?

   3         A    Probably closer to a hundred.

   4         Q    Okay.    And who are these hundred people?       I'm

   5     not asking you to identify all 100 by name, but who,             02:37:54

   6     generally, are they?

   7         A    Sex researchers and sex therapists.

   8         Q    Okay.    So beyond the conversations that you

   9     had with these scores of individuals, do you have

 10      any other basis for believing that practitioners                 02:38:15

 11      support withholding social transition in prepubertal

 12      patients with gender disorder?

 13               MR. BARHAM:    Objection as to form and

 14      terminology.

 15               THE WITNESS:    No.   That's my primary source.         02:38:33

 16      BY COUNSEL SWAMINATHAN:

 17          Q    And do any of those hundred or so individuals

 18      actually treat transgender patients?

 19          A    Yes.    None of them does it as a specific

 20      specialty, but very many of them, of the clinicians              02:38:55

 21      among them, have or have had trans clients among

 22      their patient base.

 23          Q    Okay.    Can you please turn to page 18 of your

 24      report --

 25               COUNSEL SWAMINATHAN:      And, actually, I think        02:39:26

                                                                      Page 211

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 213
                                                          Page
                                                            of 379
                                                                269PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21833#:
                                      1553

   1     this might be a good time for a five-minute break.

   2     I think we've been going for about an hour and

   3     20 minutes now.

   4              Can we go off the record?

   5              THE VIDEOGRAPHER:     Yep.     We are going off the     02:39:34

   6     record and -- at, let's see, 2:39 p.m., and this is

   7     the end of Media Unit No. 4.

   8              (Recess.)

   9              THE VIDEOGRAPHER:     All right.       We are back on

 10      the record at 2:53 p.m., and this is the beginning               02:53:07

 11      of Media Unit No. 5.

 12               Go ahead, please.

 13      BY COUNSEL SWAMINATHAN:

 14          Q    Dr. Cantor, can you please turn to page 12 of

 15      your expert report, which is Exhibit 45.                         02:53:16

 16          A    Got it.

 17          Q    Okay.     So paragraph 29, on page 12, you state

 18      (as read):

 19               "For example, there exist only very

 20               few cases of transition regret among                    02:53:48

 21               adult transitioners, whereas the

 22               research has unanimously shown that

 23               the majority of children with gender

 24               dysphoria desist—that is, cease to

 25               experience such dysphoria by or                         02:54:01

                                                                      Page 212

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 214
                                                          Page
                                                            of 379
                                                                270PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21834#:
                                      1554

   1              during puberty."

   2              Did I read that correctly?

   3         A    Yes.

   4         Q    What is your basis for this assertion?

   5         A    The 11 studies that were also cited in my               02:54:16

   6     blog.

   7         Q    Is there a reason you didn't cite any of

   8     those studies here, in your report?

   9         A    I didn't include --

 10          Q    I just mean in this paragraph, on this page,            02:54:35

 11      is there a reason there's no footnotes --

 12          A    Oh, in that paragraph, on that page?        No.

 13      Only because there was an introductory paragraph,

 14      you know, before the rest of the document.

 15          Q    And those 11 studies are the -- the same                02:54:52

 16      studies that you mentioned before that you said were

 17      on your blog?

 18          A    Correct.

 19          Q    Okay.   And on page 18 of your expert report,

 20      on -- in paragraph 45 of page 18, you state (as                  02:55:10

 21      read):

 22               "Because only a minority of gender

 23               dysphoric children persist in

 24               feeling gender dysphoric in the

 25               first place, 'transition-on-demand'                     02:55:25

                                                                      Page 213

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 215
                                                          Page
                                                            of 379
                                                                271PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21835#:
                                      1555

   1               increases the proba-" --

   2               I assume you mean "probability."           It says

   3     "probably" here.

   4         A     Oh, goodness.   That's right.

   5         Q     That's right?   Okay.                                   02:55:33

   6               (As read):

   7               -- "increases the probability of

   8               unnecessary transition and

   9               unnecessary medical risks."

 10                Is that fair, as it's read?                             02:55:42

 11          A     Yes.

 12          Q     Okay.   What's your basis for this opinion?

 13          A     I want to say mathematics.

 14          Q     What do you mean by that?

 15          A     The -- if only few people regretted                     02:56:01

 16      transition, then transitioning everybody would be

 17      the wrong decision for only few people.              If most

 18      people cease to want to transition eventually, then

 19      transitioning all of them would be making a much

 20      larger number of errors.                                          02:56:23

 21          Q     What do you mean by "transitioning all of

 22      them"?

 23          A     If the people were given transition on

 24      demand.

 25          Q     So what do you understand the term                      02:56:33

                                                                        Page 214

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 216
                                                          Page
                                                            of 379
                                                                272PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21836#:
                                      1556

   1     "transition on demand" to mean?

   2         A    That we give the person -- we recognize

   3     whatever element of that person as soon as they make

   4     that request.

   5         Q    So I just want to make sure I understand.                 02:56:49

   6              You are saying that your opinion for -- or

   7     your basis for stating that a minority of

   8     gender-dysphoric children persist is based in math;

   9     is that correct?

 10          A    No.   I'm saying that the -- the conclusion               02:57:00

 11      that we will have more errors and make more mistakes

 12      if we don't consider that statistic.            That's math.

 13          Q    I guess I'm understanding what -- or trying

 14      to understand, what is the basis for that statistic,

 15      that only a minority of gender-dysphoric children                  02:57:17

 16      persist?

 17          A    Those 11 studies, which were summarized --

 18      which were summarized in my blog, together with the

 19      number -- the exact numbers of people who continue

 20      to want to transition after puberty and those which                02:57:33

 21      ceased to.

 22               These people only came into the clinics when

 23      they started expressing their gender dysphoria.            If

 24      they were transitioned after that first appointment,

 25      because we didn't yet know which ones were going to                02:57:48

                                                                         Page 215

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 217
                                                          Page
                                                            of 379
                                                                273PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21837#:
                                      1557

   1     persist and which ones were going to desist, then we

   2     would only know that if we transi- -- transitioned

   3     all of them that first day, most of those would end

   4     up being a mistake because we know that most of

   5     those will -- will have ceased to want to transition             02:58:06

   6     by puberty.

   7         Q    And is the reason that you don't state --

   8     sorry, strike that.

   9              To your knowledge, are people being

 10      transitioned on the first day?                                   02:58:20

 11          A    Those are the reports that we referred to

 12      earlier that there are becoming more and more cases

 13      getting reported to me or to the -- or via their

 14      families or in the media.        Or, as I say, now that

 15      there are investigations going on in other                       02:58:40

 16      countries, that's what they're continuing to find.

 17          Q    Okay.

 18          A    Transition on demand is the most extreme

 19      version of it, but -- but the difference is whether

 20      -- the meaningful part is whether these people are               02:58:51

 21      being transitioned before a meaningful assessment

 22      and a meaningful attempt to -- to estimate who might

 23      persist, who might not, or if we're even capable of

 24      doing that with enough precision to be risking the

 25      kind of medical risks that come into play.                       02:59:09

                                                                      Page 216

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 218
                                                          Page
                                                            of 379
                                                                274PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21838#:
                                      1558

   1         Q     Okay.     And so, again, you have no direct

   2     knowledge of this, but the reports you refer to are

   3     the parental anecdotes that are communicated to you,

   4     the e-mails that you receive, the government

   5     entities putting out information and the news                        02:59:26

   6     sources that you just mentioned; right?

   7         A     We're saying that people are being

   8     transitioned on demand, yes.

   9         Q     Yes.

 10          A     And when I say media reports, those are no                 02:59:36

 11      longer, necessarily, individual cases.                These are

 12      also administrators in schools and so on who are

 13      indicating what the policies are in that school or

 14      parents talking about policies in the -- in social

 15      groups and so on.        So these are people not going to            02:59:54

 16      clinics at all; they're merely being socially

 17      transitioned by -- you know, within their social

 18      groups.

 19          Q     Can you tell me more about those media

 20      reports?                                                             03:00:04

 21                You know, you -- you mentioned an example of

 22      a school.        Can you give me a more detail about that

 23      particular report from a school?

 24          A     No.     I haven't recorded -- I don't recall

 25      particulars.                                                         03:00:17

                                                                           Page 217

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 219
                                                          Page
                                                            of 379
                                                                275PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21839#:
                                      1559

   1         Q     Of any of the media reports that you're

   2     referencing, you don't recall particulars?

   3         A     Not -- not at this time, no.          Those, I

   4     haven't been accumulating.

   5         Q     Okay.     Can you please turn to page 27 of your       03:00:27

   6     report?

   7         A     Got it.

   8         Q     Great.     And so if you look at paragraph 69,

   9     you state the following, quote, (as read):

 10                "...a child experiencing depression                    03:00:48

 11                from social isolation might develop

 12                hope—" --

 13          A     I'm sorry, where did you say you were?

 14          Q     Oh, apologies.     It's the end of page 26, top

 15      of page 27.        It's the sentence beginning "For              03:01:03

 16      example."

 17          A     Got it.

 18          Q     Apologies.     So let me read that again.

 19                So you state, quote, (as read):

 20                "For example, a child experiencing                     03:01:13

 21                depression from social isolation

 22                might develop hope—and the

 23                unrealistic expectation—that

 24                transition will help them fit in,

 25                this time as and with the other                        03:01:27

                                                                      Page 218

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 220
                                                          Page
                                                            of 379
                                                                276PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21840#:
                                      1560

   1              sex."

   2              Did I read that accurately?

   3         A    Yes.

   4         Q    So what is the basis of this opinion?

   5              MR. TRYON:     This is Dave Tryon.                      03:01:37

   6              I'm just going to object that this is one

   7     sentence out of an entire paragraph.

   8              COUNSEL SWAMINATHAN:      Your objection is

   9     noted, Counsel.

 10      BY COUNSEL SWAMINATHAN:                                          03:01:50

 11          Q    Dr. Cantor, you can answer.

 12          A    It's an explanation -- I offer it as a

 13      possible explanation which accounts for all of the

 14      existing observations.

 15          Q    Are you aware of any study that shows that a            03:01:59

 16      child experiencing depression from social isolation

 17      might develop hope and the unrealistic expectation

 18      that transition will help them fit in?

 19          A    No.     That particular hypothesis hasn't

 20      been -- hasn't been tested.                                      03:02:17

 21          Q    Have you spoken to anyone about this

 22      hypothesis?

 23          A    Oh.     Yes, relatively and commonly.

 24          Q    Okay.     Can you please turn to page 53 of your

 25      expert report?                                                   03:02:35

                                                                      Page 219

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                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 221
                                                          Page
                                                            of 379
                                                                277PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21841#:
                                      1561

   1         A    Yes.

   2         Q    Great.     And so do you see that it's titled

   3     "References" at the top of the page?

   4         A    Yes.

   5         Q    Great.     And so pages 53 to 61 of your report         03:02:56

   6     includes a list of articles that you cite to in your

   7     report, and I've done my best to count them, but

   8     there are 106 articles cited in your report.

   9              Do you see that?

 10          A    I didn't count them either, but that sounds             03:03:18

 11      about right.

 12          Q    Okay.     How did you find these articles?

 13          A    Oh.     I've been accumulating these articles

 14      throughout my career, starting with my education and

 15      the classic -- and the classic articles with them,               03:03:33

 16      and then I read new ones as they come out and get

 17      discussed within my field.

 18          Q    So you found every single one of these

 19      articles in your references list.            Is that accurate?

 20          A    Yes.     Yes.   Yes, it is.                             03:03:47

 21          Q    None of these articles were provided to you

 22      by some other source?

 23          A    Oh.     I can't recall if there was a particular

 24      e-mail from a colleague who told me, have you seen

 25      this or that article.        I would -- I can't remember         03:04:03

                                                                      Page 220

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 222
                                                          Page
                                                            of 379
                                                                278PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21842#:
                                      1562

   1     specifics, but I would not be at all surprised if I

   2     received one of these articles as a manuscript, as a

   3     peer reviewer, before even it was published.

   4              Also, very commonly in science, it's a

   5     scientist spending many, many years releasing study              03:04:22

   6     after study, and before the study comes out, there

   7     are poster conferences and conference presentations.

   8     So I'm aware that they are coming even before --

   9     long before they come in print.

 10               So there are those indirect methods that --             03:04:34

 11      that are possible.

 12          Q    But no one sent you any of these articles in

 13      connection with your preparation of this report;

 14      right?

 15          A    No.     Yes, that is correct, no one has.               03:04:45

 16          Q    Okay.     So you said you accumulated this list

 17      of articles over the course of your career; right?

 18          A    Yes.

 19          Q    You've known about the existence of many of

 20      these articles well before agreeing to serve as an               03:05:02

 21      expert in this case; right?

 22          A    Most of them, yes.

 23          Q    Most of them.

 24               So when did you begin your research for

 25      drafting the expert report, version 2022?                        03:05:13

                                                                      Page 221

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 223
                                                          Page
                                                            of 379
                                                                279PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21843#:
                                      1563

   1         A    It would have been within a few days after I

   2     first received the -- the request to participate at

   3     all.

   4         Q    Okay.   And so have you read every article

   5     included in this list?                                           03:05:36

   6         A    Yes, I have, with the caveat that some of

   7     them are standard reference texts where only certain

   8     portions of the text are relevant.

   9         Q    Okay.   And so when you were looking for

 10      articles to include in your report, had you already              03:05:53

 11      formed an opinion about whether transgender women

 12      and girls have an athletic advantage over cisgender

 13      women?

 14               MR. BARHAM:    Objection as to scope and

 15      terminology.                                                     03:06:05

 16               THE WITNESS:    I was already very, very well

 17      aware of the state of the literature before I

 18      received any notice of this particular case than

 19      when I -- so it was on the basis of the knowledge of

 20      the literature that I already had that gave me, you              03:06:36

 21      know, some idea of what the liter- -- literature had

 22      and then my searching for any other articles,

 23      including articles that weren't relevant or weren't

 24      part of this particular question that I continued to

 25      accumulate, and I found nothing that changed my mind             03:06:59

                                                                      Page 222

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 224
                                                          Page
                                                            of 379
                                                                280PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21844#:
                                      1564

   1     as I was doing research for this case.

   2     BY COUNSEL SWAMINATHAN:

   3         Q    So prior to this case, what -- what was and,

   4     I guess, in your testimony now, continues to be your

   5     opinion on whether transgender women and girls have              03:07:18

   6     an athletic advantage over cisgender women?

   7         A    I wasn't --

   8              MR. BARHAM:     Objection as to scope.

   9              THE WITNESS:     I wasn't asked that question as

 10      part of this report.                                             03:07:28

 11      BY COUNSEL SWAMINATHAN:

 12          Q    Do you have any opinion on that question

 13      outside of, you know, your involvement in this case?

 14          A    Only my other knowledge -- my other knowledge

 15      of the studies that had been done on male and female             03:07:46

 16      child performance.

 17          Q    Do any of these 106 or so articles relate to

 18      athletic performance?

 19          A    No.     I wasn't asked to summarize that part of

 20      the literature.                                                  03:08:02

 21          Q    Okay.     And just to be clear, do you think

 22      this list of articles is comprehensive of the

 23      existing research on transgender children and

 24      adolescents?

 25          A    I would say comprehensive in scope and topic,           03:08:15

                                                                      Page 223

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 225
                                                          Page
                                                            of 379
                                                                281PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21845#:
                                      1565

   1     that is, the range of -- of the facts that are

   2     listed -- listed in it, but, again, I wasn't asked

   3     to do it specifically on athleticism.

   4         Q    Leaving aside athleticism, do you think this

   5     list of articles accurately captures the most                    03:08:35

   6     reputable studies on transgender children and

   7     adolescents?

   8         A    Yes, I think that --

   9              MR. TRYON:     Objection.

 10          A    I think that would be fair to say, yes.                 03:08:47

 11      BY COUNSEL SWAMINATHAN:

 12          Q    Okay.   Do you think these are articles that

 13      you have not included in this list that may present

 14      data that is contrary to your report?

 15          A    No, there isn't.                                        03:08:58

 16          Q    Okay.   Do you think there are articles that

 17      you have not included in this list that may reach

 18      conclusions that are contrary to your report?

 19          A    There exists such conclusions, and they've

 20      been published.       I would have to check to see to            03:09:21

 21      what extent those are merely opinions in -- in

 22      letters and commentaries, for example, opposed to

 23      derived from -- derived as conclusions from specific

 24      data.

 25          Q    So your testimony is that there may be some             03:09:40

                                                                      Page 224

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 226
                                                          Page
                                                            of 379
                                                                282PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21846#:
                                      1566

   1     studies that reach conclusions that are contrary to

   2     your report?

   3              MR. BARHAM:        Objection as to form and scope.

   4              THE WITNESS:        No.   The opposite.        It's -- I'm

   5     not aware of any studies that are based on data that                  03:09:50

   6     contradict these, although people may have expressed

   7     contradictory opinions.

   8     BY COUNSEL SWAMINATHAN:

   9         Q    Via letter and commentary; is that correct?

 10          A    Correct.                                                     03:10:01

 11          Q    Okay.     Great.

 12               Can you please turn to page 24 of the same

 13      exhibit, so continuing with your report.

 14          A    Got it.

 15          Q    Great.     And so the heading above paragraph 62             03:10:22

 16      of your report -- it starts with the letter "c" --

 17      says, quote, (as read):

 18               "Studies by other clinicians in

 19               other countries have failed to

 20               reliably replicate the positive                              03:10:39

 21               components of the results reported

 22               by the Dutch clinicians in de Vries

 23               et al. 2011."

 24               COUNSEL SWAMINATHAN:         And for the court

 25      reporter, that's D-E, space, capital V-R-I-E-S.                       03:10:49

                                                                           Page 225

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 227
                                                          Page
                                                            of 379
                                                                283PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21847#:
                                      1567

   1     BY COUNSEL SWAMINATHAN:

   2         Q    Do you see that?

   3         A    Oh, you're talking to me?

   4              Yes, I do.

   5         Q    I'm sorry.    Yes.                                      03:10:59

   6              What did you mean by this?

   7         A    Exactly what it says.       There was initially

   8     some research demonstrating improvement among these

   9     kids after transition, but when other countries and

 10      other facilities tried to do it, they were unable to             03:11:17

 11      replicate those results.       They were not finding

 12      improvement.

 13          Q    So what are the positive components of the

 14      results reported by the Dutch clinicians in

 15      de Vries, et al., 2011?                                          03:11:33

 16          A    They reported some improvements in some

 17      psychological parameters and social function.

 18          Q    Any other positive components?

 19          A    I would have to reread the original to see if

 20      that's an exhaustive list, but they were essentially             03:11:46

 21      all of those.

 22          Q    Are you aware that there are additional

 23      scientific peer-reviewed studies showing the

 24      positive effects of gender-affirming care?

 25          A    Yes, there are.                                         03:12:00

                                                                      Page 226

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 228
                                                          Page
                                                            of 379
                                                                284PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21848#:
                                      1568

   1         Q    Okay.   So are you aware of the 2022 Tordoff,

   2     et al., study titled "Mental Health Outcomes in

   3     Transgender and Nonbinary Youths Receiving

   4     Gender-Affirming Care"?

   5         A    Yes, I am.                                              03:12:17

   6              COUNSEL SWAMINATHAN:      Okay.     I'm going to

   7     introduce tab 8, which has been marked as

   8     Exhibit 50.

   9              (Exhibit 50 was marked for identification

 10              by the court reporter and is attached hereto.)           03:12:45

 11      BY COUNSEL SWAMINATHAN:

 12          Q    Let me know when you're able to see it,

 13      Dr. Cantor.

 14          A    I am.

 15          Q    Okay.   Great.                                          03:12:54

 16               And you can see at the top that this study

 17      was conducted by Diana Tordoff, Jonathon Wanta,

 18      Arin Collin, Cesalie Stepney, David Inwards-Breland,

 19      and Kim Ahrens; is that correct?

 20          A    Yes, that's what I see.                                 03:13:13

 21          Q    Are you familiar with any of these people?

 22          A    No, I'm not.

 23          Q    You don't have any personal connections to

 24      any of these people; right?

 25          A    Correct.                                                03:13:26

                                                                      Page 227

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 229
                                                          Page
                                                            of 379
                                                                285PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21849#:
                                      1569

   1         Q    Okay.   Do you agree that the Journal of

   2     American Medical Association is a highly respected

   3     publication?

   4         A    That's not this journal.

   5         Q    Oh, apologies.    The JAMA Network.                     03:13:39

   6              Do you agree that the JAMA Network is a

   7     highly respected entity?

   8         A    No, it is not.    It's relying on the fame of

   9     JAMA itself.

 10          Q    It's relying on the fame of what?           I           03:13:55

 11      apologize.

 12          A    JAMA, the Journal of the American Medical

 13      Association.     This is an online offshoot of that.

 14          Q    Okay.   And you don't know whether these

 15      researchers are highly respected researchers in the              03:14:04

 16      field, right, because you don't know who they are?

 17          A    Correct.

 18          Q    Okay.   Do you know whether this particular

 19      study is a peer-reviewed publication?

 20          A    To the best of my knowledge, it is.                     03:14:19

 21          Q    Okay.   Are you aware that this study found

 22      that gender-affirming care was associated with

 23      60 percent lower odds of moderate or severe

 24      depression and 73 percent lower odds of suicidality

 25      over a 12-month follow-up?                                       03:14:37

                                                                      Page 228

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 230
                                                          Page
                                                            of 379
                                                                286PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21850#:
                                      1570

   1         A    Not in the way that you said you were going

   2     to use the meaning of the word "care," no.

   3         Q    So what -- what did you understand this study

   4     to find in the way that you would identify care?

   5         A    Well, these kids were -- were receiving                  03:14:53

   6     medical care, and 65 percent of them were also

   7     receiving psychotherapy at the same time.

   8         Q    So for purposes of the question I'm asking

   9     you, can you understand gender-affirming care to

 10      include psychotherapy and medical care?              Is that      03:15:09

 11      fair?

 12          A    For the purpose of this question?            Sure.

 13               MR. BARHAM:     Objection to terminology.

 14      BY COUNSEL SWAMINATHAN:

 15          Q    Let me repeat my question, then.                         03:15:16

 16               Are you aware that this study found that

 17      gender-affirming care, both psychotherapy and

 18      medical care, was associated with 60 percent lower

 19      odds of moderate or severe depression and 73 percent

 20      lower odds of suicidality over a 12-month follow-up?              03:15:29

 21          A    I'm aware that that was their conclusion,

 22      yes.

 23          Q    Okay.     And at the time you authored your

 24      report, were you aware of those studies?

 25          A    No.     It had not yet come out.                         03:15:43

                                                                        Page 229

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 231
                                                          Page
                                                            of 379
                                                                287PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21851#:
                                      1571

   1         Q    Okay.    And are you aware of the 2021 Green,

   2     et al., study titled "Association of

   3     Gender-Affirming Hormone Therapy With Depression,

   4     Thoughts of Suicide, and Attempted Suicide Among

   5     Transgender and Nonbinary Youth"?                                03:16:01

   6         A    Yes, I am.

   7         Q    Great.

   8              COUNSEL SWAMINATHAN:       I'm going to introduce

   9     tab 9, which is going to be marked as Exhibit 51.

 10               It should pop up on your screen shortly.                03:16:19

 11               (Exhibit 51 was marked for identification

 12              by the court reporter and is attached hereto.)

 13      BY COUNSEL SWAMINATHAN:

 14          Q    And as you pull that up, Dr. Cantor, I just

 15      want to confirm, did you identify the Tordoff study              03:16:37

 16      as a part of your continued update to the literature

 17      that you were doing before sitting for this

 18      deposition?

 19          A    Well, as I say, that -- that study only just

 20      came out.     It -- it wasn't available when I                   03:16:58

 21      submitted my study.      And then I became notified of

 22      its existence, you know, when it did -- first came

 23      out, but my -- but my -- I shouldn't have said

 24      "study."    Report.    I'm sorry.     But my report was

 25      already submitted when it did come out.              So --       03:17:12

                                                                      Page 230

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 232
                                                          Page
                                                            of 379
                                                                288PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21852#:
                                      1572

   1         Q    I -- I --

   2         A    -- had my report been due in six months, it

   3     would have been edited.

   4         Q    I understand that.         I just meant in the

   5     review that you said you did in preparing for this               03:17:21

   6     deposition, was this one of the studies that you had

   7     reviewed prior to sitting for this deposition?

   8         A    The Green study?

   9         Q    The Tordoff study.

 10          A    Oh, the -- the Tordoff study?                           03:17:33

 11               Again, didn't exist when I prepared.

 12          Q    Okay.     So it's -- it didn't exist in the past

 13      few weeks?

 14          A    The --

 15          Q    Tordoff study.                                          03:17:43

 16          A    When you said in preparation, do you mean for

 17      sitting here physically today, or do you mean for my

 18      submitted report?

 19          Q    I mean for sitting here physically today.

 20          A    For sitting here physically today, I did -- I           03:17:54

 21      did review Tordoff, yes.

 22          Q    Got it.     Okay.    Thank you.

 23               And now we can turn our attention to the 2021

 24      Green study, and as you can see, the authors of this

 25      study are Amy Green, Jonah DeChants, Myeshia Price               03:18:13

                                                                      Page 231

                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 233
                                                          Page
                                                            of 379
                                                                289PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21853#:
                                      1573

   1     and Carrie Davis.

   2              Do you see that?

   3         A    Yes, I do.

   4         Q    Are you familiar with any of these

   5     individuals?                                                     03:18:27

   6         A    Not meaningfully.      Myeshia Price, I think I

   7     had a three e-mail exchange with a few years ago.

   8     Nothing substantive or relevant to today's case.

   9         Q    Your e-mails did not pertain to transgender

 10      people or gender dysphoria at all?                               03:18:47

 11          A    They did pertain to transgender individuals,

 12      not athleticism, not today's case, but I couldn't --

 13      I don't recall what aspects of gender dysphoria the

 14      discussion was.

 15          Q    Do you remember if the discussion was focused           03:19:05

 16      on adults suffering from gender dysphoria?

 17          A    I don't recall.

 18          Q    Okay.   That's fair.

 19               And so do you see that the study was

 20      published -- or accepted on October 28, 2021?          And       03:19:19

 21      do you agree that the Journal of Adolescent Health

 22      is a highly respected publication?

 23          A    Yes, to the best of my knowledge.

 24          Q    Is it a peer-reviewed publication?

 25          A    So far as I know.                                       03:19:36

                                                                      Page 232

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 234
                                                          Page
                                                            of 379
                                                                290PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21854#:
                                      1574

   1         Q     So are you aware that this study found that

   2     access to gender-affirming hormones during

   3     adolescence was associated with lower odds of recent

   4     depression and having attempted suicide in the past

   5     year?                                                            03:19:55

   6         A     In a retrospective survey, I'm aware of that,

   7     yes.

   8         Q     Yes.   At the time you authored your report,

   9     were you aware of this study?

 10          A     Yes, I was.                                            03:20:02

 11          Q     Did you cite this study in your report?

 12          A     No, I did not.

 13          Q     Why didn't you cite this Green 2021 study in

 14      your report?

 15          A     It's not -- it's not methodologically sound            03:20:16

 16      enough.     This was a retrospective instead of a

 17      prospective study.      Retrospective studies are not

 18      able to come to the kind of conclusions that -- that

 19      are not -- retrospective studies are only able to

 20      produce correlations.       We cannot, from a                    03:20:38

 21      correlation, say anything about causality.

 22          Q     Do you cite any retrospective studies in your

 23      report?

 24          A     I would have to go through and check.

 25          Q     Off the top of your head, can you think of             03:20:59

                                                                      Page 233

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 235
                                                          Page
                                                            of 379
                                                                291PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21855#:
                                      1575

   1     any retrospective studies you may have cited in your

   2     report?

   3         A     I can't think of one offhand, no.

   4         Q     Were any of the 11 studies that you mentioned

   5     that support your theory of desistance retrospective             03:21:17

   6     studies?

   7         A     No.     It was -- specifically was of

   8     prospective studies.

   9         Q     Okay.     And so it's your testimony that none

 10      of the studies that you've cited in your report are              03:21:31

 11      retrospective; right?

 12                MR. BARHAM:     Objection as to form and

 13      terminology.

 14                THE WITNESS:     No.    I just can't recall

 15      offhand if any were.                                             03:21:41

 16      BY COUNSEL SWAMINATHAN:

 17          Q     So there may be some retrospective studies

 18      that you rely on in drafting your report?

 19                MR. TRYON:     Objection.

 20                THE WITNESS:     Yes.    But not from making a         03:21:51

 21      causal conclusion.

 22      BY COUNSEL SWAMINATHAN:

 23          Q     Okay.     And are you aware of the 2012 Achille,

 24      et al., study titled "Longitudinal impact of

 25      gender-affirming endocrine intervention on the                   03:22:06

                                                                      Page 234

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 236
                                                          Page
                                                            of 379
                                                                292PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21856#:
                                      1576

   1     mental health and well-being of transgender youths"?

   2         A    Yes, I am.    It's cited in my report.

   3         Q    Great.    Would --

   4              COUNSEL SWAMINATHAN:       I'm going to introduce

   5     tab 10, which I believe now marks Exhibit 52.                    03:22:21

   6              (Exhibit 52 was marked for identification

   7             by the court reporter and is attached hereto.)

   8     BY COUNSEL SWAMINATHAN:

   9         Q    And let me know when you're able to see it,

 10      Dr. Cantor.                                                      03:22:52

 11          A    Yes, I can see.

 12          Q    Okay.    Great.

 13               So this study is published in the

 14      International Journal of Pediatric Endocrinology;

 15      correct?                                                         03:23:14

 16          A    Yes, it is.

 17          Q    And is -- the authors are Chris- --

 18      Christal Achille -- I apologize if I'm

 19      mispronouncing that -- Tenille Taggart, Nicholas

 20      Eaton, Jennifer Osipoff, Kimberly Tafuri, Andrew                 03:23:15

 21      Lane and Thomas Wilson.

 22               Do you see that?

 23          A    Yes, I do.

 24          Q    Are you familiar with any of these

 25      individuals?                                                     03:23:37

                                                                      Page 235

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 237
                                                          Page
                                                            of 379
                                                                293PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21857#:
                                      1577

   1         A    No, I'm not.

   2         Q    Okay.   And it looks like this study was

   3     conducted in 2020, at some point.           I don't see the

   4     date on it.

   5              But is it fair to say that it was -- it came            03:23:54

   6     out in 2020?

   7         A    The -- the study was conducted between 2013

   8     and 2018.

   9         Q    But the results were published, apologies, in

 10      2020?                                                            03:24:08

 11          A    It came out in print in 2020.

 12          Q    Okay.   And have you read this study before?

 13          A    Yes, I have.

 14          Q    And are you aware that is study found that

 15      endocrine intervention was associated with decreased             03:24:23

 16      depression and suicidal ideation and improved

 17      quality of life for transgender youth?

 18          A    I'm aware that that's what the paper said,

 19      yes.

 20          Q    And at the time you authored your report,               03:24:33

 21      were you aware of this study?

 22          A    Yes, I was.

 23          Q    And you cite this study in your report;

 24      right?

 25          A    Correct.                                                03:24:43

                                                                       Page 236

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 238
                                                          Page
                                                            of 379
                                                                294PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21858#:
                                      1578

   1         Q    Why didn't you cite this particular

   2     conclusion drawn from the study, that the endocrine

   3     intervention was associated with decreased

   4     depression and suicidal ideation and improved

   5     quality of life for transgender youth?                           03:25:00

   6         A    Because the improvements are also plausibly

   7     attributed -- attributable to the psychotherapy that

   8     the clients were -- that the patients were getting.

   9         Q    But, Dr. Cantor, isn't it true that no study,

 10      including the Dutch study, had a control group of                03:25:17

 11      people who received solely therapy, but no blockers

 12      or hormones?

 13          A    That is not correct.

 14          Q    Which -- can you tell me what study has a

 15      control group of people who received therapy, but no             03:25:29

 16      blockers and hormones?

 17          A    Costa, et al., 2015.

 18          Q    Can you spell that for the court reporter?

 19          A    C-O-S-T-A --

 20          Q    Uh-huh.                                                 03:25:37

 21          A    -- et al.

 22          Q    2015?

 23          A    Yes.

 24          Q    Am I accurate in saying that the Dutch

 25      protocol did not have a control group of people who              03:25:49

                                                                      Page 237

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 239
                                                          Page
                                                            of 379
                                                                295PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21859#:
                                      1579

   1     received therapy, but no blockers and hormones?

   2         A     That is correct.

   3         Q     And so would you agree that this Achille

   4     study is similarly situated to the Dutch protocol,

   5     in terms of what -- in terms of the two                             03:26:07

   6     interventions, both psychotherapy and hormone

   7     treatment, occurring at the same time?               Is that fair

   8     to say?

   9         A     No, it's not.   The research method being used

 10      is not related to the clinical method being used.                   03:26:23

 11      The research method is how one analyzes what's been

 12      doing clinically.

 13          Q     Okay.   So you mentioned that Costa, et al.,

 14      2015, does have a control group.          Are there any

 15      other studies that you can think of?                                03:26:40

 16          A     No, not offhand.

 17          Q     Okay.   And are you aware of the 2020 Kuper,

 18      et al., study titled "Body Dissatisfaction and

 19      Mental Health Outcomes of Youth on Gender-Affirming

 20      Hormone Therapy"?                                                   03:27:04

 21          A     I believe that one's in my report also.

 22                Can I refer to it just a second?

 23          Q     Absolutely.

 24                COUNSEL SWAMINATHAN:     I will introduce it as

 25      tab 11, which is Exhibit 53.                                        03:27:16

                                                                         Page 238

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 240
                                                          Page
                                                            of 379
                                                                296PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21860#:
                                      1580

   1               (Exhibit 53 was marked for identification

   2              by the court reporter and is attached hereto.)

   3               THE WITNESS:     Oh, no, I meant my report.

   4     BY COUNSEL SWAMINATHAN:

   5         Q     Oh, sure.     Feel free to reference your               03:27:20

   6     report.

   7               Do you see Exhibit 53, in the share?

   8               MR. BARHAM:     Counsel, the witness is still

   9     looking at his expert report, I see.

 10                COUNSEL SWAMINATHAN:      Oh, apologies.       I'm      03:28:08

 11      unable to see his hands by the --

 12                MR. BARHAM:     It's okay.

 13                THE WITNESS:     All right.     Got it.     Okay.

 14      Ready.     Yes, Kuper.

 15      BY COUNSEL SWAMINATHAN:                                           03:28:19

 16          Q     No problem.

 17                So, again -- so this study is conducted by

 18      Laura Kuper, Sunita Stewart, Stephanie Preston,

 19      May Lau and Ximena Lopez.

 20                Do you see that?                                        03:28:33

 21          A     One second.     We need to switch windows.

 22          Q     No problem.

 23          A     Yes, I have it.

 24          Q     Okay.   Are you familiar with any of those

 25      individuals?                                                      03:29:00

                                                                        Page 239

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 241
                                                          Page
                                                            of 379
                                                                297PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21861#:
                                      1581

   1         A    No, I am not.

   2         Q    And so this study was downloaded from the

   3     American Academy of Pediatrics; is that correct?

   4              You can see that --

   5         A    It was published in the journal Pediatrics              03:29:25

   6     which is owned by the American Association of

   7     Pediatrics.

   8         Q    Yes, apologies.

   9              I was just pointing towards the bottom of the

 10      page where it says this particular article was                   03:29:35

 11      downloaded from www.aappublications.org/news, and it

 12      was accepted for publication on December 6, 2019.

 13               Do you see that?

 14          A    Yes, I do.

 15          Q    Okay.   Is this a peer-reviewed publication?            03:29:55

 16          A    Yes, it is.

 17          Q    Okay.   And are you aware that the results of

 18      this study show that hormone therapy for youth is

 19      associated with reducing body dissatisfaction and

 20      modest improvements in mental health?                            03:30:09

 21          A    That's not what I would call the whole truth.

 22          Q    What would you call the whole truth?

 23          A    That this group of patients were -- were

 24      given many, many different mental health factors.

 25      The majority of those showed no differences, but the             03:30:30

                                                                      Page 240

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 242
                                                          Page
                                                            of 379
                                                                298PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21862#:
                                      1582

   1     report and the media reports about this are only

   2     talking about the positive ones, despite that there

   3     was no difference -- that there was generally no

   4     difference.

   5         Q    You said that this study has faced media                 03:30:42

   6     criticisms.       Is that fair?

   7         A    Media attention, I would say.

   8         Q    Media attention.

   9              What outlets of media have reported that

 10      there were no positive results from this study?                   03:30:57

 11          A    I didn't say that there were media reports

 12      saying no positive results.          The reverse.    The media

 13      had been reporting only the positive results.

 14          Q    So there were positive results as a result of

 15      this study; right?                                                03:31:14

 16               MR. TRYON:     Objection.

 17               THE WITNESS:     Some of the measures indicated

 18      positive results, but when one -- when one runs

 19      many, many, many statistical tests, some of them

 20      will always look like they're positive.                           03:31:26

 21      BY COUNSEL SWAMINATHAN:

 22          Q    I see.     But it's fair to say that there were

 23      positive results reported from the study; right?

 24          A    No, I'm not sure that is fair to say.          As I

 25      say, it's a statistical property that if you roll                 03:31:42

                                                                        Page 241

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 243
                                                          Page
                                                            of 379
                                                                299PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21863#:
                                      1583

   1     the dice enough times, you will eventually get snake

   2     eyes.     If you only report the snake eyes and fail to

   3     report everything else, it's not fair to say that

   4     you actually caused snake eyes.

   5         Q     Dr. Cantor, so it's your testimony today that          03:31:58

   6     there are no positive results from this Kuper 2020,

   7     et al., study?

   8               MR. BARHAM:    Objection as to form.

   9               THE WITNESS:    No, that's not my testimony

 10      either.                                                          03:32:10

 11      BY COUNSEL SWAMINATHAN:

 12          Q     So your testimony is what, that there -- you

 13      just --

 14          A     The positive results they found are easily

 15      attributable to a statistical fluke or game plan                 03:32:19

 16      rather than an actual reflection of changes in the

 17      actual age and groups.

 18          Q     Okay.   So that method also applies to studies

 19      showing negative reports; right?

 20          A     The principle applies to -- no, it does not.           03:32:38

 21      The problem of false positives only applies to

 22      positive results.

 23          Q     Interesting.    So it then isn't true for the

 24      negative results of other studies, but it only

 25      applies to the false positives.          Is that your            03:32:59

                                                                      Page 242

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 244
                                                          Page
                                                            of 379
                                                                300PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21864#:
                                      1584

   1     testimony?

   2         A    Not exactly.     I think we're using the word

   3     "negative" in different ways.

   4         Q    Okay.

   5         A    In statistics, the word "negative" means we             03:33:11

   6     didn't find anything.       Everything stays flat.

   7     Everything remains exactly where it was.

   8              I'm wondering if you're using the word

   9     "negative" to mean unfortunate or deleterious.

 10          Q    No, I think -- I think I -- I understand                03:33:25

 11      your -- the way you've been using "negative," so --

 12          A    Okay.   In statistics, it is indeed true that

 13      the methods used to find positive results are

 14      different from the ones that we use for analyzing

 15      negative results.       They are not equal.                      03:33:38

 16          Q    Okay.   And are you aware of the 2020

 17      van der Miesen, et al., study titled "Psychological

 18      Functioning in Transgender Adolescents Before and

 19      After Gender-Affirmative Care Compared With

 20      Cisgender General Population Peers"?                             03:33:58

 21          A    Yes, I am.     It also is in my report.

 22               COUNSEL SWAMINATHAN:      I'm going to introduce

 23      tab 12, which will be Exhibit 54.

 24               (Exhibit 54 was marked for identification

 25              by the court reporter and is attached hereto.)           03:34:06

                                                                      Page 243

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 245
                                                          Page
                                                            of 379
                                                                301PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21865#:
                                      1585

   1               THE WITNESS:     Hang on.    If I can just refer

   2     to my report again for the van der Miesen section.

   3     BY COUNSEL SWAMINATHAN:

   4           Q   No problem.     I can speed it up for you and

   5     say that you have cited this report on page 25 and               03:34:19

   6     26.

   7           A   Perfect.     Thank you.

   8           Q   No problem.

   9               Just a -- one more question regarding the --

 10      the statistics we were just talking about.            So --      03:34:37

 11            A   One second.

 12                Okay.   I'm ready.

 13            Q   Is your -- is it your understanding that data

 14      can be skewed or explained by alternate causation in

 15      all of these studies?                                            03:34:59

 16            A   I don't think you're using the word "skew"

 17      the way we use it in statistics.

 18                Can you phrase the question a different way?

 19            Q   Sure.   Isn't it possible that data can be

 20      represented or explained by alternative causation in             03:35:19

 21      all of these studies?

 22                MR. TRYON:     Objection; form of the question.

 23                THE WITNESS:     I don't know what you mean by

 24      alternative causality, was it, you said?

 25      ///

                                                                       Page 244

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 246
                                                          Page
                                                            of 379
                                                                302PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21866#:
                                      1586

   1     BY COUNSEL SWAMINATHAN:

   2         Q    Yeah, of -- you know, you said earlier that,

   3     you know, there -- there are alternate reasons for

   4     why some studies -- some of the results of certain

   5     studies may be misrepresented in how the results are             03:35:46

   6     presented; right?

   7         A    Some people will cherry-pick which results

   8     they report, yes.

   9         Q    Right.    And so are you saying that, you know,

 10      if you roll the dice enough times, you can get                   03:36:02

 11      results that you want and that's what some of these

 12      researches have done?

 13          A    Yes, that's true.

 14          Q    Yeah.    And isn't that true that that's a

 15      possibility for all studies?                                     03:36:20

 16          A    Yes, it is.

 17               MR. TRYON:    Objection.

 18      BY COUNSEL SWAMINATHAN:

 19          Q    Okay.

 20          A    Yes, it is.    And in figuring out what the             03:36:26

 21      probability of that happening is for any particular

 22      study is itself an important branch of statistics.

 23          Q    And so I think you have Exhibit 54 up, is

 24      that correct, the van der Miesen study?

 25          A    Yes.                                                    03:36:49

                                                                      Page 245

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 247
                                                          Page
                                                            of 379
                                                                303PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21867#:
                                      1587

   1         Q     Great.     So this study was conducted -- or it

   2     looks like it was a team of van der Miesen,

   3     Steensma, de Vries, Bos and Popma, is that correct,

   4     as the -- the authors of this study?

   5         A     Yes, it is.                                            03:37:13

   6         Q     Okay.     And do you know any of these folks?

   7         A     No.     I've never met anybody.

   8         Q     Okay.     And so this study was published in

   9     2020 in the Journal of Adolescent Health; is that

 10      right?                                                           03:37:27

 11          A     Yes, it is.

 12          Q     And are you aware that the results of this

 13      study showed fewer emotional and behavioral problems

 14      after puberty suppression and similar or fewer

 15      problems compared to same-age cisgender peers?                   03:37:38

 16          A     Yes, I am.

 17          Q     Okay.     And at the time you authored your

 18      report, were you aware of this study?

 19          A     Yes, I was.     It's referenced in it.

 20          Q     Did you reference this finding in your                 03:37:56

 21      report?

 22          A     I -- I referenced the finding and also

 23      then -- the people in this clinic also received

 24      psychotherapy along with their medical care.

 25          Q     Similar to the Dutch study; right?                     03:38:10

                                                                      Page 246

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 248
                                                          Page
                                                            of 379
                                                                304PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21868#:
                                      1588

   1         A    This is one of the Dutch studies.

   2         Q    This is a later version; correct?

   3         A    That's right.

   4         Q    2020.

   5              And are you -- actually, we -- we just spoke            03:38:24

   6     about the 2015 Costa, et al., article; right?          So I

   7     assume you are familiar with "Psychological Support,

   8     Puberty Suppression and Psychosocial Functioning in

   9     Adolescents with Gender Dysphoria"?

 10          A    That is correct.                                        03:38:40

 11          Q    Okay.

 12               COUNSEL SWAMINATHAN:      I'm going to introduce

 13      tab 13, which will be marked as Exhibit 55.

 14               (Exhibit 55 was marked for identification

 15              by the court reporter and is attached hereto.)           03:38:44

 16      BY COUNSEL SWAMINATHAN:

 17          Q    And I'll represent to you that you do cite

 18      this study as well in your report, on page 22, if --

 19      if you would like to reference that, but I won't be

 20      referring to your report in asking my questions.                 03:39:11

 21               MR. BARHAM:     Do you want the report?

 22               THE WITNESS:     No.   I'm fine with this.

 23               I see it.

 24      BY COUNSEL SWAMINATHAN:

 25          Q    Great.   And so let's look at the authors of            03:39:21

                                                                       Page 247

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 249
                                                          Page
                                                            of 379
                                                                305PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21869#:
                                      1589

   1     this study.       It's Rosalia Costa, Michael Dunsford,

   2     Elin Skagerberg, Victoria Holt, Polly Carmichael and

   3     Marco Colizzi.

   4               Do you see that?

   5         A     Yes, I do.                                             03:39:40

   6         Q     Do you know any of these folks?

   7         A     No, I don't.

   8         Q     Okay.    And this study was published in the

   9     Journal of Sexual Medicine; is that correct?

 10          A     Yes, it is.                                            03:39:48

 11          Q     Do you agree that the Journal of Sexual

 12      Medicine is a highly respected publication?

 13          A     No, I don't.

 14          Q     Why do you disagree?

 15          A     I had interactions with not the current                03:40:08

 16      editor, but the prior editor of the journal.

 17      Together with reviews and instructions to peer

 18      reviewers, he asked specifically that authors

 19      increase the number of papers citing that particular

 20      journal and manuscripts sent to that journal which               03:40:28

 21      would elevate that journal's -- it's called an

 22      impact factor.       The number of citations to studies

 23      in it is a measure of how important the journal is.

 24                So the prior editor was trying to gain the

 25      system.     So at that point, I refused any further              03:40:45

                                                                      Page 248

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 250
                                                          Page
                                                            of 379
                                                                306PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21870#:
                                      1590

   1     contact with the -- with the journal itself or that

   2     editor.

   3               As I said, there's a new editor.           I have had

   4     some contact with -- with the new editor, who no

   5     longer participates in that policy, but I remain                     03:40:52

   6     rather skeptical of the journal itself.

   7         Q     Have you ever submitted any of your studies

   8     to be published in the Journal of Sexual Medicine?

   9         A     I don't recall.   If I did, it would have been

 10      one soon after the journal started.                                  03:41:18

 11          Q     Okay.   And is this Journal of Sexual Medicine

 12      a peer-reviewed publication?

 13          A     Yes, it is.

 14          Q     And are you aware that the results of this

 15      study found increased psychological function after                   03:41:36

 16      six months of puberty suppression in adolescents

 17      with gender dysphoria?

 18          A     I'm aware that that's what it reported.

 19          Q     Did you include that finding in your report?

 20          A     Yes, I did, together with the caveat that                  03:41:51

 21      becau- -- that they were also receiving mental

 22      healthcare at the same time.

 23                This -- this paper didn't have a medical

 24      care -- medical care only.

 25          Q     Okay.   And are you aware of the 2014                      03:42:07

                                                                           Page 249

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 251
                                                          Page
                                                            of 379
                                                                307PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21871#:
                                      1591

   1     de Vries, et al., study titled "Young Adult

   2     Psychological Outcome After Puberty Suppression and

   3     Gender Reassignment"?

   4         A    Yes, I am.

   5              COUNSEL SWAMINATHAN:      I'm going to introduce        03:42:25

   6     tab 14, which will be marked as Exhibit 56.

   7              (Exhibit 56 was marked for identification

   8             by the court reporter and is attached hereto.)

   9              THE WITNESS:    I have it.

 10      BY COUNSEL SWAMINATHAN:                                          03:42:50

 11          Q    Great.   And so let's look at the authors.

 12      There's Annelou de Vries, Jenifer McGuire,

 13      Thomas Steensma, Eva Wagenaar, Theo Doreleijers and

 14      Peggy Cohen-Kettenis.

 15               Do you see that?                                        03:43:11

 16          A    Yes, I do.

 17          Q    Are you familiar with any of these folks?

 18          A    By reputation only.

 19          Q    Who are you familiar with by reputation?

 20          A    De Vries, because of the number of studies              03:43:21

 21      that -- that they've been involved with, and

 22      Dr. Cohen-Kettenis with her -- through her

 23      association with Dr. Zucker.

 24          Q    Have you met either de Vries or

 25      Cohen-Kettenis before?                                           03:43:36

                                                                      Page 250

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 252
                                                          Page
                                                            of 379
                                                                308PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21872#:
                                      1592

   1         A    No, I have not.

   2         Q    Have you communicated with them via e-mail?

   3         A    No, I have not.

   4         Q    Or by phone?

   5         A    No.                                                     03:43:45

   6         Q    Okay.   And so this study was accepted for

   7     publication on July 7th, 2014, and it's published in

   8     the Pediatrics journal that we just referred to

   9     earlier.

 10               Are you aware that this study followed a                03:44:02

 11      cohort of transgender young people in the

 12      Netherlands, from puberty suppression through

 13      surgical treatment?

 14          A    Yes, I am.

 15          Q    And, in fact, these are some of the same                03:44:12

 16      authors who wrote the Dutch study that you

 17      described, in great length, in your report; right?

 18          A    This is indeed the Dutch team, and it was on

 19      the basis of these results that they began forming

 20      what we're now calling the Dutch model.                          03:44:30

 21          Q    And are you aware that this study found that

 22      the cohort had global functioning that was

 23      equivalent to the Dutch population?

 24          A    Yes, I am.

 25          Q    And you included this study in your report;             03:44:44

                                                                      Page 251

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 253
                                                          Page
                                                            of 379
                                                                309PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21873#:
                                      1593

   1     right?

   2         A    Yes, I did.

   3         Q    And did you take similar issue with the fact

   4     that this study did not have a control of folks who

   5     received psychotherapy only?                                     03:44:57

   6         A    The issue wasn't that it lacked a group of

   7     psychotherapy only; the problem is that the study

   8     had no method of separating how much of its result

   9     was due to psychotherapy versus due to medical

 10      intervention.                                                    03:45:27

 11          Q    And that's typically done using a control

 12      group, though; right?

 13          A    That's one of the ways to do that, yes.

 14          Q    What are some of the other ways to do that?

 15          A    It's an advanced statistical technique called           03:45:38

 16      "allocation of variance," essentially.

 17          Q    Okay.

 18          A    Or there's a better term.        I'll get it.

 19      "Covariance analysis."

 20          Q    Covariance analysis.                                    03:45:57

 21               And so is it fair to say that the positive

 22      findings of the Dutch study have indeed been

 23      replicated?

 24          A    No, not meaningfully.

 25          Q    What is the difference between having been              03:46:19

                                                                      Page 252

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 254
                                                          Page
                                                            of 379
                                                                310PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21874#:
                                      1594

   1     replicated and having been replicated meaningfully?

   2         A    Other studies that have attempted to

   3     replicate it have changed parts of the protocol in

   4     one way or another or changed the ways that they

   5     measure the outcomes in order to make direct                     03:46:40

   6     comparison difficult.

   7         Q    So the de -- de Vries, as you pronounced it,

   8     2014 study, in your opinion, did not replicate the

   9     positive findings of the Dutch study?

 10          A    De Vries, 2014, is the Dutch study.                     03:46:57

 11          Q    This is -- so I believe we're talking about

 12      several Dutch studies at this -- at this point.

 13               So you had testified earlier that, I believe,

 14      the Dutch study was replicated in 2020 as well; is

 15      that correct?                                                    03:47:21

 16          A    Are you referring to the van der Miesen

 17      study?

 18          Q    I am, yes.

 19          A    No.   The van der Miesen 2020 study, from the

 20      Dutch group, would not be fairly called a                        03:47:46

 21      replication of their own 2011 and 2014 studies.

 22          Q    So why isn't it a fair replication?

 23          A    It's a different patient sample approaching

 24      the clinics now than in the years when -- when the

 25      first studies came out.                                          03:48:08

                                                                      Page 253

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 255
                                                          Page
                                                            of 379
                                                                311PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21875#:
                                      1595

   1         Q     What would you say the primary difference in

   2     the patiel -- patient sample is?

   3         A     The psychological profiles, their ages, their

   4     sex ratios.

   5         Q     Any other differences?                                 03:48:22

   6         A     Those are the major ones.

   7         Q     Okay.

   8               COUNSEL SWAMINATHAN:     So I'm going to

   9     introduce tab 15, which has been marked as

 10      Exhibit 57.                                                      03:48:37

 11                (Exhibit 57 was marked for identification

 12              by the court reporter and is attached hereto.)

 13      BY COUNSEL SWAMINATHAN:

 14          Q     Let me know when you're able to access it,

 15      please.                                                          03:49:24

 16          A     Yes, I have it now.

 17          Q     Great.   And so this is the 2011 Dhejne study;

 18      correct?

 19          A     It's Swedish.

 20          Q     How would you pronounce that?                          03:49:39

 21          A     Oh, oh, oh, you mean the -- the author's

 22      name.     I'm sorry.   You said "Dane," and my brain

 23      registered Danish.

 24          Q     No.

 25          A     Actually, I don't know how to pronounce this           03:49:49

                                                                      Page 254

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 256
                                                          Page
                                                            of 379
                                                                312PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21876#:
                                      1596

   1     author's name.

   2         Q    I've heard "Dhejne" for "Dhejne," so I'm

   3     going to go with "Dhejne" today.

   4              But do you see that this study was conducted

   5     by Cecilia Dhejne, Paul Lichtenstein, Marcus Boman,              03:50:01

   6     Anna Johansson, Niklas Långström and Mikael Landén?

   7              Do you see that?

   8         A    Yes.

   9         Q    And it's titled "Long-Term Follow-Up of

 10      Transsexual Persons Undergoing Sex Reassignment                  03:50:13

 11      Surgery: Cohort Study in Sweden."

 12               Did I read that correctly?

 13          A    Yes.

 14          Q    You cite this study in your report; correct?

 15          A    Yes, I believe I do.      Let me just refer to my       03:50:26

 16      own report with context.

 17               Do you have the page number offhand.

 18          Q    I do.   It's page 5 of your report.

 19          A    Thank you.

 20               Yes, ready.                                             03:51:10

 21          Q    So one of the points for which you cite this

 22      study is to say that Swedish patients who underwent

 23      gender-affirming firming surgery had a 19.1 times

 24      greater suicide rate than the control group; right?

 25          A    Yes.                                                    03:51:30

                                                                      Page 255

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 257
                                                          Page
                                                            of 379
                                                                313PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21877#:
                                      1597

   1         Q    Okay.   Beyond the Dhejne study, are you aware

   2     of any other authority for that claim?

   3         A    Not offhand, no.

   4         Q    Okay.   And who is the control group for the

   5     Dhejne study?                                                     03:51:45

   6         A    The Danish population, average.

   7         Q    And you understand that the control group

   8     consisted of patients without gender dysphoria;

   9     right?

 10          A    Yes.                                                     03:51:58

 11          Q    Okay.   So what this Dhejne study compared was

 12      the suicide rate for patients who underwent

 13      gender-affirming surgery against the general Swedish

 14      population; right?

 15          A    Correct.                                                 03:52:12

 16          Q    Okay.   And the suicide rate for patients who

 17      underwent gender-affirming surgery was not compared

 18      against patients who were transgender, but had no

 19      access to medical care; right?

 20          A    Correct.                                                 03:52:27

 21          Q    Okay.   So no one in the control group was

 22      transgender; right?

 23          A    There's no way to say that.         I would hesitate

 24      to call the remain- -- the demographics of the

 25      remaining population a control group.            They didn't      03:52:42

                                                                        Page 256

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 258
                                                          Page
                                                            of 379
                                                                314PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21878#:
                                      1598

   1     exactly participate at all except via government

   2     statistic.

   3         Q     And they were ten randomly selected control

   4     persons who were matched by sex and birth year;

   5     right?                                                           03:52:57

   6         A     I would have to recheck the original study

   7     for the details, but that sounds about correct.

   8         Q     Okay.   You know that there are studies that

   9     find that patients with gender dysphoria who don't

 10      undergo gender-affirming surgery have a higher risk              03:53:08

 11      of suicide compared to the general population.          Are

 12      you aware of that?

 13          A     Yes, I am.

 14          Q     Okay.   If you could please turn to page 7 of

 15      this study.                                                      03:53:22

 16          A     Yes.

 17          Q     And the font size is quite small, but if you

 18      look at the left side of the page and the third full

 19      paragraph in that left column, it starts with "For

 20      the purpose of evaluating."                                      03:53:45

 21                Can you take a moment to read that paragraph,

 22      please?

 23          A     Yes.

 24          Q     So the authors recognize that persons with

 25      gender dysphoria before sex reassignment may differ              03:54:26

                                                                       Page 257

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 259
                                                          Page
                                                            of 379
                                                                315PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21879#:
                                      1599

   1     from control patients who do not have gender

   2     dysphoria; right?

   3         A    I'm sorry, say that again.

   4         Q    Sure.   The authors of this study recognize

   5     that people with gender dysphoria before sex                     03:54:39

   6     reassignment may differ from control patients who do

   7     not have gender dysphoria; right?

   8         A    That is correct.

   9         Q    They say "In other words" -- this is a quote

 10      directly from the study (as read):                               03:54:55

 11               "In other words, the results should

 12               not be interpreted such as sex

 13               reassignment per se increases

 14               morbidity and mortality."

 15               Do you see that?                                        03:55:05

 16          A    Yes, I do.

 17          Q    You agree that this study does not support

 18      the conclusion that sex reassignment by itself

 19      increases the risk of suicide; right?

 20          A    That would be a bizarre conclusion, correct.            03:55:19

 21          Q    Okay.   And this study does not support the

 22      conclusion that sex reassignment by itself increases

 23      risk of other morbidities; right?

 24          A    I'm sorry, ask that again.

 25          Q    Sure.   This study does not support the                 03:55:36

                                                                      Page 258

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 260
                                                          Page
                                                            of 379
                                                                316PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21880#:
                                      1600

   1     conclusion that sex reassignment by itself increases

   2     risks of other morbidities; right?

   3         A    By itself, no.

   4         Q    Okay.    And the authors even go on to say

   5     "Things might have been even worse without sex                    03:55:54

   6     reassignment."

   7              Do you see that?

   8         A    Yes, I do.

   9         Q    Okay.

 10               COUNSEL SWAMINATHAN:      And I'm going to               03:56:05

 11      introduce tab 16, which has been marked as

 12      Exhibit 58.

 13               (Exhibit 58 was marked for identification

 14              by the court reporter and is attached hereto.)

 15               THE WITNESS:     I have it.                              03:56:40

 16      BY COUNSEL SWAMINATHAN:

 17          Q    Great.    And so I believe we referenced this

 18      study earlier in our conversation.           This is a study

 19      titled "Mental Health of Transgender Children Who

 20      Are Supported in Their Identities," and the authors               03:56:52

 21      are Kristina Olson, Lily Durwood, Madeleine DeMeules

 22      and Katie McLaughlin.

 23               Do you see that?

 24          A    Yes, I do.

 25          Q    Are you familiar with any of these authors?              03:57:02

                                                                        Page 259

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 261
                                                          Page
                                                            of 379
                                                                317PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21881#:
                                      1601

   1         A     No, I am not.

   2         Q     Do you recognize this study?

   3         A     By title, I do.     For content, I need to check

   4     my report again.

   5         Q     Okay.    I'll represent to you that you do cite            03:57:18

   6     this study in your report, and if helpful, I can

   7     point you to the paragraph number.            It's

   8     paragraph --

   9         A     Okay.

 10          Q     -- paragraph 15 of your report.             And I'll get   03:57:32

 11      the page number for you.        Pages 5 to 6 of your

 12      report.

 13          A     Hold on.

 14                Yeah, I have it.

 15          Q     Great.     And so in paragraph 15 of your                  03:57:59

 16      report, you state, quote, (as read):

 17                "Olson's report turned out to be

 18                incorrect.     The Olson data were

 19                reanalyzed and after correcting for

 20                statistical errors in the original                         03:58:08

 21                analysis, the data instead showed

 22                that the gender dysphoric children

 23                under Olson's care did, in fact,

 24                exhibit significantly lower mental

 25                health."                                                   03:58:20

                                                                          Page 260

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 262
                                                          Page
                                                            of 379
                                                                318PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21882#:
                                      1602

   1              And the cite you have for -- for that

   2     statement is "Schumm & Crawford, 2020: Schumm, et

   3     al., 2019."

   4              Did I read that accurately?

   5         A    Yes, that's correct.                                    03:58:34

   6         Q    Okay.   And so is it your understanding that

   7     the Olson data was reanalyzed by Schumm and

   8     Crawford?

   9         A    Yes.

 10          Q    Have you independently conducted your own               03:58:47

 11      statistical analysis of the Olson data?

 12          A    No, I have not.

 13          Q    Okay.   Have you asked any other

 14      statistician's opinion on whether Olson's

 15      statistical analysis was wrong?                                  03:59:02

 16          A    No, I have not.

 17          Q    Okay.   Do you know if Schumm's statistical

 18      analysis has ever been questioned in a court of law?

 19          A    Not that I know of, no.

 20          Q    Okay.                                                   03:59:19

 21               COUNSEL SWAMINATHAN:      So I'm going to

 22      introduce tab 17, which will be marked as

 23      Exhibit 59.

 24               (Exhibit 59 was marked for identification

 25              by the court reporter and is attached hereto.)           04:00:02

                                                                      Page 261

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 263
                                                          Page
                                                            of 379
                                                                319PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21883#:
                                      1603

   1     BY COUNSEL SWAMINATHAN:

   2         Q    Let me know when you're able to see it.

   3         A    I can see it.

   4         Q    Great.     And so I'll represent to you that

   5     this is a copy of an opinion from the District Court             04:00:11

   6     of Appeal of Florida, Third District, and the title

   7     of the case is Florida Department of Children and

   8     Families, Appellant, versus Adoption of -- in re

   9     Matter of Adoption of X.X.G. and N.R.G., Appellees.

 10               Do you see that?                                        04:00:29

 11          A    Yes, I do.

 12          Q    Are you familiar with this case?

 13          A    No, I am not.

 14          Q    You don't know what it's about; right?

 15          A    Correct.                                                04:00:44

 16          Q    Okay.     I'll represent to you that in this

 17      case, Dr. Schumm conducted a methodological analysis

 18      of the works of psychologists on homosexual

 19      parenting.       So this is a case about the adoption of

 20      children by a gay parent.        And I'll -- I'll make           04:00:57

 21      that representation to you, but also please feel

 22      free to review the document in further detail, if

 23      you -- if you need to.       But if not, I would like to

 24      turn your attention to pages 7 and 8 of the PDF.

 25      Start on page 7:                                                 04:01:12

                                                                      Page 262

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 264
                                                          Page
                                                            of 379
                                                                320PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21884#:
                                      1604

   1         A     I'm there.

   2         Q     Great.     And so if you could read from "We

   3     consider first the Department's experts."              If you

   4     could read that paragraph and let me know when you

   5     are done.                                                          04:01:46

   6         A     Just the one paragraph on that page?

   7         Q     Yes.     Just on that page.     I just want you to

   8     have the understanding that Dr. Schumm was one of

   9     the department's witnesses in this case.

 10                And then if you turn to the next page,                   04:02:06

 11      page 8.     If you can read the paragraph -- it's a

 12      lengthy paragraph -- on the left-hand side of the

 13      page, along with the final paragraph at the bottom,

 14      and let me know when you're finished with that, that

 15      would be great.                                                    04:02:26

 16          A     Okay.

 17          Q     Okay.     And so what you just read, it states

 18      the following (as read):

 19                "Dr. Schumm admitted that he applies

 20                statistical standards that depart                        04:03:34

 21                from conventions in the field.          In

 22                fact, Dr. Cochran and Dr. Lamb

 23                testified that Dr. Schumm's

 24                statistical re-analysis contained a

 25                number of fundamental errors.                            04:03:43

                                                                         Page 263

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 265
                                                          Page
                                                            of 379
                                                                321PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21885#:
                                      1605

   1              Dr. Schumm ultimately concluded that

   2              based on his re-analysis of the

   3              data, there are statistically

   4              significant differences between

   5              children of gay and lesbian parents                     04:03:54

   6              as compared to children of

   7              heterosexual parents.       Dr. Schumm

   8              understands that much of the

   9              scientific community disagrees with

 10               his conclusions and concedes to the                     04:04:01

 11               possibility that some gay parents

 12               may be beneficial to some children."

 13               Did I read this correctly?

 14          A    Yes, as best I can see.

 15          Q    Had you previously been aware that Dr. Schumm           04:04:12

 16      admitted in a court of law that he applies

 17      statistical standards that depart from conventions

 18      in the field?

 19          A    I'm sorry, is that what I read?

 20          Q    You can see it says "Dr. Schumm admitted that           04:04:27

 21      he applies statistical standards that depart from

 22      conventions in the field," in the middle of page 8.

 23          A    Yes, I see it.

 24          Q    If you had known this information, would that

 25      have affected your thinking about whether Schumm was             04:04:45

                                                                      Page 264

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 266
                                                          Page
                                                            of 379
                                                                322PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21886#:
                                      1606

   1     a reliable source for the reanalysis of the Olson

   2     data?

   3         A    No, I don't think so.

   4         Q    Why not?

   5         A    Because of the lack of the response from the            04:04:59

   6     original team that he commented on.

   7         Q    What do you mean by that?

   8         A    Olson never replied to Schumm's correction,

   9     and Schumm's correction, in this instance, was

 10      published, unlike what's being described in the case             04:05:15

 11      you just put before me.

 12          Q    And are you aware that there was a correction

 13      issued for the 2016 Olson article?

 14          A    Yes, I am.

 15               COUNSEL SWAMINATHAN:      I'm going to introduce        04:05:28

 16      tab 18, which will be marked as Exhibit 60.

 17               (Exhibit 60 was marked for identification

 18              by the court reporter and is attached hereto.)

 19      BY COUNSEL SWAMINATHAN:

 20          Q    Let me know when you have the document up.              04:05:58

 21          A    I do.

 22          Q    Okay.   So I'm going to represent to you that

 23      this is an errata of the Olson 2016 "Mental Health

 24      of Transgender Children Who Are Supported in Their

 25      Identities," and this errata was published in                    04:06:08

                                                                      Page 265

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 267
                                                          Page
                                                            of 379
                                                                323PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21887#:
                                      1607

   1     August 2018, as you can see at the bottom of the

   2     page.

   3         A    Yes.

   4         Q    So if you read the second paragraph on that

   5     page, the only correcting to the article was a                   04:06:26

   6     missing comma, not any changes to the statistics in

   7     the Olson analysis; correct?

   8         A    Correct.

   9         Q    And I'm going to ask you to look back at what

 10      was previously marked as Exhibit 44 -- sorry --                  04:06:38

 11      Exhibit 45, which is your report, again, and if you

 12      could please turn to page 6.

 13          A    Yes.

 14          Q    In paragraph 16 of your report, on page 6,

 15      you state, quote, (as read):                                     04:07:09

 16               "I conducted an electronic search of

 17               the research literature to identify

 18               any responses from the Olson team

 19               regarding the Schumm and Crawford

 20               re-analysis of the Olson data and                       04:07:20

 21               was not able to locate any.         I

 22               contacted Professor Schumm by email

 23               on August 22, 2021 to verify that

 24               conclusion, to which he wrote there

 25               has been:   'No response [from                          04:07:34

                                                                      Page 266

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 268
                                                          Page
                                                            of 379
                                                                324PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21888#:
                                      1608

   1               Olson].'"

   2               End quote.

   3               Did I read that correctly?

   4         A     Yes.

   5         Q     Did you ever reach out directly to                       04:07:41

   6     Kristina Olson regarding the results of this study?

   7         A     No, I did not.

   8         Q     Why not?

   9         A     It wasn't pertinent to my analysis.         Had she

 10      had a response, it should have been published.                     04:07:58

 11          Q     Did you ever reach out to anyone else on the

 12      Olson team regarding the results of this study?

 13          A     No, I did not.

 14          Q     Okay.   Are you aware of the 2021 Gibson,

 15      et al., study titled "Evaluation of Anxiety and                    04:08:12

 16      Depression in a Community Sample of Transgender

 17      Youth"?

 18          A     Not by title.    Did I cite that one?

 19          Q     I don't believe you have included this study

 20      in your report.                                                    04:08:30

 21          A     Okay.

 22          Q     But as you said, you may have discovered it

 23      in your further research, but I will show it to you

 24      so that we are on the same page of what we're

 25      talking about.                                                     04:08:42

                                                                         Page 267

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 269
                                                          Page
                                                            of 379
                                                                325PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21889#:
                                      1609

   1              COUNSEL SWAMINATHAN:      So I'm going to

   2     introduce tab 19, which will be marked as

   3     Exhibit 61.

   4              (Exhibit 61 was marked for identification

   5             by the court reporter and is attached hereto.)           04:08:53

   6     BY COUNSEL SWAMINATHAN:

   7         Q    Also, while we're waiting for that exhibit to

   8     load, is there any reason that you felt the need to

   9     reach out to Professor Schumm, but not

 10      Kristina Olson, with respect to the Olson study?                 04:09:03

 11          A    Only that given my known reputation, given

 12      that -- the great polarization in the field, I

 13      didn't anticipate a cordial or appropriate response

 14      from Olson.     It didn't seem to be -- there didn't

 15      seem to be a point to me.                                        04:09:30

 16          Q    What is your known reputation that you

 17      referred to in the field?

 18          A    I'm known as highly critical of a lot of the

 19      claims that people are making.

 20          Q    And is that what leads to what you refer to             04:09:41

 21      as the great polarization?

 22          A    Leads to, no.    I think it's an element of.

 23          Q    What are the other elements?

 24          A    Well, that the same thing happens to anybody

 25      who says anything critical about anybody's thinking              04:09:56

                                                                      Page 268

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 270
                                                          Page
                                                            of 379
                                                                326PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21890#:
                                      1610

   1     on either side of such questions.

   2         Q    How do you know that?

   3         A    I'm frequently a target of it.          I'm

   4     frequently in contact with other targets of it.           It

   5     has become one of the most frequently discussed                   04:10:19

   6     issues, not -- in the media and among academics.

   7         Q    So what evidence do you have that you are

   8     frequently a target of this -- you know, the

   9     polarization that you speak of?

 10          A    On social media, the way that my views are               04:10:31

 11      misrepresented in -- I wouldn't say mainstream

 12      media, but in minority media, I'm frequently

 13      misrepresented in -- in -- in similar ways.

 14          Q    Okay.   And so please let me know if Exhibit

 15      61 has entered your file share.                                   04:10:56

 16          A    Yes, I see it.

 17          Q    Okay.   Great.

 18               So this is a study conducted by Gibson --

 19      Dominic Gibson, Jessica Glazier and Kristina Olson.

 20               Do you see that?                                         04:11:17

 21          A    Yes, I do.

 22          Q    And this was a 2021 study.

 23               Do you see that?

 24               At the bottom of the page, you can --

 25          A    Yes, I do.                                               04:11:31

                                                                        Page 269

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 271
                                                          Page
                                                            of 379
                                                                327PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21891#:
                                      1611

   1         Q     Great.     And so do you see that Kristina Olson

   2     is an author -- one of the authors of this study?

   3         A     Yes, I see.

   4         Q     And you told me that you had not seen this

   5     study before; correct?                                           04:11:48

   6         A     Correct.

   7         Q     So I want to give you a second to review the

   8     introduction and perhaps the -- the first page, as

   9     much --

 10          A     Okay.    Give me a moment.                             04:12:10

 11          Q     Absolutely.

 12          A     Yes.

 13          Q     Great.     So as you can see, this study has a

 14      bigger sample size than the 2016 Olson study;

 15      correct?                                                         04:14:12

 16          A     Yes.

 17          Q     And you said you were not aware of this more

 18      recent study at the time you authored your report;

 19      right?

 20          A     I would hesitate to say that I was unaware             04:14:18

 21      entirely, but at least when I was going through the

 22      literature, it did not fit what I thought was

 23      relevant, so I passed it by.

 24          Q     Why didn't you think this study was relevant?

 25          A     Oh, I thought -- as I said, I imagine in the           04:14:36

                                                                      Page 270

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 272
                                                          Page
                                                            of 379
                                                                328PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21892#:
                                      1612

   1     mindset then, I still didn't see how it was

   2     relevant -- still don't see exactly how it was

   3     relevant or would add anything above the studies I

   4     already cited.

   5         Q    So it's your testimony that the study didn't            04:14:45

   6     add any new findings or new opinions to the studies

   7     that you had already relied on in offering your

   8     report; right?

   9         A    I would have to read it in full in order to

 10      be able to say that for sure.         When you asked had I       04:14:59

 11      seen it before, I can't say whether I actually said

 12      (sic) it before and rejected it or if I, in fact,

 13      hadn't seen it before, for whatever reason.

 14          Q    And, Dr. Cantor, do you agree that

 15      transgender or gender-dysphoric youth experience                 04:15:19

 16      significantly higher levels of anxiety and

 17      depression than their cisgender peers?

 18          A    That's what the science seems to indicate,

 19      yes.

 20          Q    So if you look at page 3 of this study,                 04:15:32

 21      understanding that you have not had the time to

 22      fully review it, at the top of the page, the

 23      paragraph starting "Nonetheless," this study found

 24      that many socially transitioned transgender or

 25      gender-dysphoric youth experienced levels of anxiety             04:15:56

                                                                      Page 271

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 273
                                                          Page
                                                            of 379
                                                                329PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21893#:
                                      1613

   1     and depression in the normative range and equal to

   2     or only slightly higher than their sibling --

   3     siblings and cisgender peers.

   4              Do you see that?

   5         A    Yes, I do.                                              04:16:09

   6         Q    So are you aware of any studies showing that

   7     the existence of a Y chromosome provides an athletic

   8     advantage if a person does not go through endogenous

   9     male puberty?

 10               MR. BARHAM:     Objection as to form and scope.         04:16:25

 11               MR. TRYON:     Objection.

 12               THE WITNESS:     I'm sorry, could you say that

 13      again?

 14      BY COUNSEL SWAMINATHAN:

 15          Q    Sure.   Are you aware of any studies showing            04:16:32

 16      that the existence of a Y chromosome in an -- in an

 17      individual provides an athletic advantage if a

 18      person does not go through endogenous male puberty?

 19               MR. TRYON:     Objection.

 20               THE WITNESS:     I have seen such studies, but          04:16:58

 21      because that question was outside of the scope of

 22      what was -- of the questions posed to me, I didn't

 23      study them closely.

 24      BY COUNSEL SWAMINATHAN:

 25          Q    Can you name some of those studies that                 04:17:08

                                                                      Page 272

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 274
                                                          Page
                                                            of 379
                                                                330PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21894#:
                                      1614

   1     you've seen?

   2         A    No, not offhand.

   3         Q    Okay.   Are you aware of any studies showing

   4     that the existence of genitalia associated with the

   5     male sex assigned at birth provides an athletic                  04:17:22

   6     advantage?

   7              MR. BARHAM:     Objection as to form, scope and

   8     terminology.

   9              MR. TRYON:     Same objection.

 10               THE WITNESS:     The studies that I saw didn't          04:17:33

 11      break down sex into the various components or

 12      evidence that indicates sex.

 13      BY COUNSEL SWAMINATHAN:

 14          Q    So it fair to say that you haven't seen a

 15      study showing that the existence of genitalia                    04:17:44

 16      associated with the male sex assigned at birth

 17      specifically provides an athletic advantage?

 18          A    No --

 19               MR. TRYON:     Same objection.

 20               THE WITNESS:     No, that's not exactly the same        04:17:56

 21      thing.    The studies typically compare boys versus

 22      girls.    They didn't compare any of the components

 23      that led them to know or believe that the boys were

 24      boys and the girls were girls.          They divided boys

 25      and girls, but they didn't analyze differences                   04:18:10

                                                                      Page 273

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 275
                                                          Page
                                                            of 379
                                                                331PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21895#:
                                      1615

   1     specifically according to chromosomes or genitalia.

   2     BY COUNSEL SWAMINATHAN:

   3         Q    Can you recall the names of any of those

   4     studies that you're referring to?

   5         A    No.     I didn't study them as closely since            04:18:21

   6     they weren't part of the questions posed to me.

   7         Q    Okay.

   8              COUNSEL SWAMINATHAN:      I'm going to show you

   9     tab 21, which will be marked as Exhibit 62.

 10               (Exhibit 62 was marked for identification               04:18:32

 11              by the court reporter and is attached hereto.)

 12               THE WITNESS:     I hit the wrong button.

 13               MR. BARHAM:     Is this a good break time?

 14               COUNSEL SWAMINATHAN:      Sure.

 15               Do you need a break, Dr. Cantor?                        04:19:22

 16               Can we go off the record?

 17               No problem.

 18               THE VIDEOGRAPHER:     Yes.     We are going off the

 19      record at 4:19 p.m., and this is the end of Media

 20      Unit No. 5.                                                      04:19:32

 21               (Recess.)

 22               THE VIDEOGRAPHER:     Okay.     We are back on the

 23      record, 4:31 p.m., and this is the beginning of

 24      Media Unit No. 6.

 25               Go ahead, please.                                       04:31:03

                                                                       Page 274

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 276
                                                          Page
                                                            of 379
                                                                332PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21896#:
                                      1616

   1               COUNSEL SWAMINATHAN:      Great.

   2     BY COUNSEL SWAMINATHAN:

   3         Q     So, Dr. Cantor, I believe just before the

   4     break I was introducing tab 21, which is marked as

   5     Exhibit 62, into the Exhibit Share.             Please let me      04:31:10

   6     know if you've been able to access it.

   7         A     Yes, I can see it.

   8         Q     Great.     And have you seen this one page

   9     before?

 10          A     Yes.     I wrote it.                                     04:31:43

 11          Q     Okay.     And so JamesCantor.org is your

 12      website; right?

 13          A     Yes, it is.

 14          Q     Great.     And why did you include this bill of

 15      transsexual rights on your website?                                04:31:54

 16          A     Typically addressing the other pole of this

 17      highly polarized debate.

 18          Q     So the first bill of rights states that

 19      "People who are transsexual have the right to

 20      respect."                                                          04:32:10

 21                Do you agree with this statement?

 22          A     Yes, I do.

 23          Q     Great.     And under the statement, it reads (as

 24      read):

 25                "As societies and institutions                           04:32:22

                                                                         Page 275

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 277
                                                          Page
                                                            of 379
                                                                333PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21897#:
                                      1617

   1              become increasingly aware of their

   2              transsexual members and

   3              participants, they become

   4              increasingly confronted by the needs

   5              to assimilate and accommodate what                      04:32:30

   6              they used to ignore.      Taking on

   7              these tasks from a position of basic

   8              respect will go a long way in

   9              establishing inclusive policies and

 10               healthy environments."                                  04:32:41

 11               Did I read that accurately?

 12          A    Yes.

 13          Q    What inclusive policies are you referring to

 14      here on your website?

 15          A    I wasn't referring to any particular policy.            04:32:53

 16          Q    So when you say "Taking on these tasks from a

 17      position of basic respect will go a long way in

 18      establishing inclusive policies," what did you mean

 19      inclusive -- what did you mean when you wrote

 20      "inclusive policies"?                                            04:33:11

 21          A    Policies that would help transsexuals feel

 22      included in the rest of society.

 23          Q    Got it.   And what did you understand -- or

 24      what do you understand the phrase "healthy

 25      environments" to mean?                                           04:33:22

                                                                      Page 276

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 278
                                                          Page
                                                            of 379
                                                                334PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21898#:
                                      1618

   1         A    I wasn't trying to make a -- I wasn't trying

   2     to be specific, certainly not when I wrote this,

   3     which, I think, now was more than ten years ago.           I

   4     was referring in general to how caustic environments

   5     were -- were becoming for everybody in those days.                04:33:41

   6              Unfortunately, environments have become all

   7     the more, as they say, polarized.

   8         Q    Do you still agree with this statement as it

   9     reads on your website?

 10          A    I -- I agree with the statement, but, of                 04:33:52

 11      course, we're in a very different context now.

 12      Society, I mean, is in a very different context now.

 13          Q    What's different about the context now as

 14      compared to when you authored this portion of your

 15      website?                                                          04:34:14

 16          A    Oh, goodness.    Most of the child transition

 17      issues have now become mainstream issues, and people

 18      are making extreme statements and cherry-picking and

 19      overstating the reality on both sides.

 20          Q    So I pulled this document, as you can see at             04:34:34

 21      the corner of the page, on March 17th, 2022, at

 22      7:14 a.m.    I was up early that day.

 23               Is there a reason that you haven't updated

 24      your website in the last ten years?

 25          A    Oh, I just became involved in other projects.            04:34:52

                                                                        Page 277

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 279
                                                          Page
                                                            of 379
                                                                335PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21899#:
                                      1619

   1     It also became easier to communicate with the public

   2     in other venues.     Again, ten years ago, we barely

   3     had any -- we barely had any social media.            I'm not

   4     even sure we had Twitter then.           So now there are

   5     just other venues by which to communicate these                    04:35:11

   6     types of ideas.

   7         Q    Got it.   Okay.

   8              And so the second bill of rights states (as

   9     read):

 10               "People considering transition have                       04:35:18

 11               the right to be free from undue

 12               pressure to transition -- to

 13               de-transition, or not to transition.

 14               Do you agree that people considering

 15      transition have the right to be free from undue                    04:35:28

 16      pressure to not transition?

 17          A    Yes.

 18          Q    And under this statement, it reads (as read):

 19               "Some aspects of transition, such as

 20               medical interventions, affect only                        04:35:44

 21               the person undergoing the process,

 22               and some aspects of transition

 23               directly affect other people in

 24               their lives.      People considering and

 25               undergoing transition have the right                      04:35:55

                                                                         Page 278

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 280
                                                          Page
                                                            of 379
                                                                336PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21900#:
                                      1620

   1               to make their choices on the basis

   2               of these only, and not for any

   3               political, religious, or societal

   4               statement that it might be perceived

   5               to be making."                                         04:36:06

   6               Did I read that correctly?

   7         A     Yes.

   8         Q     Do you agree that medical interventions and

   9     transitioning affect only the person undergoing the

 10      process?                                                         04:36:17

 11          A     That would depend on the medical intervention

 12      itself.     That's not a -- medical interventions

 13      aren't one thing.

 14          Q     Got it.   So it's a -- as your words say,

 15      "Some aspects of transition, such as medical                     04:36:34

 16      interventions, affect only the person undergoing the

 17      process..."

 18                What did you mean by that?

 19          A     I was allowing for the possibility, such as,

 20      for example, cosmetic -- purely cosmetic changes are             04:36:46

 21      for the person themselves, but someone who is going

 22      to be -- replace wearing false breasts with breast

 23      implants, to the outside world, it will look the

 24      same, but it will feel very different to the person.

 25          Q     So apologies, you said that medical                    04:37:03

                                                                      Page 279

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 281
                                                          Page
                                                            of 379
                                                                337PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21901#:
                                      1621

   1     intervention such as cosmetic changes?               So is -- is

   2     a cosmetic change like wearing a, you know, fake

   3     breast-augmenting device a medical intervention?

   4         A    I didn't mean to and still don't mean to be

   5     that precise so much as to point out to readers                       04:37:21

   6     that -- that there exists interventions which may

   7     have absolutely nothing to do with -- with anybody

   8     other than the transsexual person themselves.               I

   9     didn't mean to try to enumerate or express an

 10      opinion about any particular one of them.                             04:37:40

 11          Q    But you agree that those interventions can be

 12      medical, correct, as --

 13          A    Yes.

 14          Q    Okay.   And you then go on to state that (as

 15      read):                                                                04:37:47

 16               "People considering and undergoing

 17               transition have the right to make

 18               their choices on the basis of these

 19               only, and not for any political,

 20               religious, or societal statement..."                         04:38:00

 21               Do you agree that it should be the

 22      transgender person's choice whether to go through

 23      medical treatment?

 24          A    Phrase that again, please.

 25          Q    Do you agree that it should be the                           04:38:16

                                                                            Page 280

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 282
                                                          Page
                                                            of 379
                                                                338PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21902#:
                                      1622

   1     transgender or gender-dysphoric person's choice

   2     whether or not to go through medical treatment?

   3         A    Broadly speaking, yes.       There can, however,

   4     and there do legitimately -- there will legitimately

   5     exist exceptions to that.                                         04:38:39

   6         Q    Okay.   But broadly speaking, yes?

   7         A    In general, it is that person to -- it's up

   8     to that person to decide whether to do it.           But, of

   9     course, if there's a medical reason not to do it

 10      that the person is ignoring, it is indeed up to the               04:38:48

 11      actual medical staff to ensure that those procedures

 12      are not engaged in, even if it is the wishes of the

 13      patient.

 14          Q    Okay.   And if you turn to the next page,

 15      page 2 of 3 of your bill of transsexual rights,                   04:39:05

 16      number 5 states (as read):

 17               "People in the process of transition

 18               have the right to health care that

 19               respects the gender in which they

 20               live, including to be addressed by                       04:39:14

 21               pronouns and other language that

 22               acknowledges that gender."

 23               Did I read that correctly?

 24          A    I'm sorry, which number are you reading from?

 25          Q    Number 5.                                                04:39:34

                                                                        Page 281

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 283
                                                          Page
                                                            of 379
                                                                339PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21903#:
                                      1623

   1         A    Ah.

   2              MR. TRYON:     Counsel, I'm going to object to

   3     questions, continued questions, on this.             It's

   4     outside the scope.

   5              COUNSEL SWAMINATHAN:      Thank you, Counsel.           04:39:43

   6     Your objection is noted.

   7              THE WITNESS:     I'm sorry, I just reread it.

   8              And, I'm sorry, what was your question again?

   9     BY COUNSEL SWAMINATHAN:

 10          Q    I hadn't asked one yet, but I will --                   04:39:54

 11          A    Oh.

 12          Q    -- ask it now.

 13               Do you agree that people in the process of

 14      transition have the right to be addressed by

 15      pronouns and other language that acknowledges the                04:39:59

 16      gender in which they live?

 17               MR. BARHAM:     Objection as to form and scope.

 18               THE WITNESS:     In the context in which I wrote

 19      it, yes.       In today's context, where -- where the

 20      right is -- "exaggerated" isn't the right word, but              04:40:26

 21      being abused or used for disingenuous purposes would

 22      be a reasonable limit to that which really did not

 23      meaningfully exist when I first -- first wrote this.

 24      BY COUNSEL SWAMINATHAN:

 25          Q    So do you agree, generally, that people in              04:40:47

                                                                      Page 282

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 284
                                                          Page
                                                            of 379
                                                                340PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21904#:
                                      1624

   1     the process of transition have the right to be

   2     addressed by pronouns and other language that

   3     acknowledges the gender in which they live, aside

   4     from these ulterior instances that you just

   5     referenced?                                                      04:41:03

   6              MR. BARHAM:     Objection as to form and scope.

   7              MR. TRYON:     Same objection.

   8              THE WITNESS:     Again, in general, yes.     But

   9     transition -- the word "transition" and the process

 10      of transition now is used and meant very differently             04:41:17

 11      from how it was a decade ago.

 12      BY COUNSEL SWAMINATHAN:

 13          Q    How is it used differently?

 14          A    It's used more broadly, it's used

 15      prematurely, and it's used by people who are                     04:41:29

 16      completely outside any healthcare context.

 17          Q    Is it always used more broadly and more

 18      prematurely now?

 19          A    I don't really understand the question.

 20          Q    Is it always the case that the language that            04:41:51

 21      you're taking issue with today is due to the fact

 22      that it's being used prematurely in individuals who

 23      are gender dysphoric?

 24               MR. TRYON:     Objection to the form.

 25               THE WITNESS:     I'm sorry, I'm still not quite         04:42:09

                                                                      Page 283

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 285
                                                          Page
                                                            of 379
                                                                341PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21905#:
                                      1625

   1     understanding the question.

   2              COUNSEL SWAMINATHAN:      Court Reporter, can you

   3     please read back Dr. Cantor's answer before, where

   4     he expresses the understanding issue?

   5              (Record read.)

   6              THE REPORTER:    The one before that, do you

   7     want me to --

   8              COUNSEL SWAMINATHAN:      That's good.

   9              THE REPORTER:    Okay.

 10      BY COUNSEL SWAMINATHAN:

 11          Q    So, Dr. Cantor, I was just saying, do you

 12      believe that it's always the case that the word is

 13      used more broadly and more prematurely?

 14          A    There are people who still use it properly,

 15      yes.                                                             04:42:58

 16          Q    Okay.   So you were a member of the Society

 17      for the Scientific Study of Sexuality; correct?

 18          A    Yes, that's correct.

 19          Q    What is the purpose of the society?

 20          A    Their stated purpose is to forward and                  04:43:15

 21      promote the conduct and dissemination of sex

 22      research.

 23          Q    How did you get involved in that society?

 24          A    Oh, I joined when I was a student, as, in

 25      those days, it was -- it was a well-known large                  04:43:36

                                                                      Page 284

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 286
                                                          Page
                                                            of 379
                                                                342PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21906#:
                                      1626

   1     organization, and it had -- it was relatively easy

   2     to get into.     One, essentially, could get into it

   3     just by signing up.

   4         Q    Were there any fees associated with the

   5     society?                                                         04:43:51

   6         A    Yes, there were.

   7         Q    Were they annual membership fees?

   8         A    Yes, they were.

   9         Q    Are you able to give me an approximation of

 10      what those fees were to be a member of the society?              04:44:02

 11          A    I don't really recall.       They weren't

 12      substantial.     And, of course, for students, even

 13      lower, when I first joined.

 14          Q    And how long have you been a member of this

 15      society?                                                         04:44:21

 16          A    I would have to look it up.         It was roughly

 17      15 to 20 years before I resigned.

 18          Q    Okay.   And what did your membership involve?

 19          A    Oh, at that point, really just membership and

 20      discussions going -- well, actually, technically,                04:44:49

 21      too, I suppose.     One was participation, largely in

 22      their -- in their Listserv discussions with -- with

 23      other sex researchers.      And the other, I was on the

 24      editorial board of their journal, the Journal of Sex

 25      Research.                                                        04:45:07

                                                                       Page 285

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 287
                                                          Page
                                                            of 379
                                                                343PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21907#:
                                      1627

   1           Q    And so am I understanding it correctly that

   2     you had to be a member in order to access the

   3     Listserv for the Society for the Scientific Study of

   4     Sexuality?

   5           A    Yes, the Listserv was meant for members.                04:45:16

   6           Q    Okay.     And you said that you resigned from

   7     the society; is that correct?

   8           A    That is correct.

   9           Q    When did you resign?

 10            A    I would have to look up the date.           It was      04:45:29

 11      roughly two or three years ago now.

 12            Q    Okay.

 13                 COUNSEL SWAMINATHAN:      I'm going to introduce

 14      tab 22, which has been marked as Exhibit 30 -- or

 15      63.                                                                04:45:59

 16                 (Exhibit 63 was marked for identification

 17                by the court reporter and is attached hereto.)

 18      BY COUNSEL SWAMINATHAN:

 19            Q    Please let me know when you're able to see

 20      it.                                                                04:46:01

 21            A    Got it.

 22            Q    Great.     And so this is a blog post in

 23      Sexology Today!; correct?

 24            A    Yes, it is.

 25            Q    And remind me again, what -- what is                    04:46:34

                                                                         Page 286

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 288
                                                          Page
                                                            of 379
                                                                344PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21908#:
                                      1628

   1     Sexology Today!?

   2         A    It's my blog.

   3         Q    It's your blog.    Okay.

   4              And this blog post was published on

   5     August 10th, 2020; correct?                                      04:46:45

   6         A    Yes, that's correct.

   7         Q    And I'm not going to assume, but since it's

   8     your blog, I assume you authored this blog post;

   9     right?

 10          A    Yes.                                                    04:46:59

 11          Q    Okay.    And so I see here that you had a

 12      27-year association with the Society for the

 13      Scientific Study of Sexuality.

 14               Does that ring a bell?

 15          A    Yes.    Longer than I remember.                         04:47:09

 16          Q    And I see here that the society had removed

 17      you from the online forum; is that right?

 18          A    That's right.

 19          Q    It says (as read):

 20               "I then received an unsigned email                      04:47:24

 21               informing me that I had been

 22               suspended from the listserv."

 23               Did I read that correctly?

 24          A    I'm not seeing that line, but it sounds

 25      familiar.                                                        04:47:34

                                                                      Page 287

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 289
                                                          Page
                                                            of 379
                                                                345PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21909#:
                                      1629

   1         Q    Apologies.     It's toward the middle of the

   2     page.    I think the fourth paragraph down.

   3         A    Yes.

   4         Q    Okay.     Why were you removed from -- or why

   5     were you suspended from the Listserv?                            04:47:49

   6         A    That's a good question.        There's the reason

   7     they gave me, and there's the reason that everybody

   8     suspects, but nobody will say out loud.

   9         Q    Can you describe that a bit more?

 10          A    They believe -- or they told me that what I             04:48:05

 11      said they deemed to be disrespect- -- disrespectful.

 12          Q    What did you say that they deemed to be

 13      disrespectful?

 14          A    I sincerely don't remember.

 15          Q    Did -- to your recollection, did what you               04:48:30

 16      said -- did what you say deal with issues relating

 17      to transgender people or gender-dysphoric people?

 18          A    Yes.    We were debating something about the

 19      science or findings that were reported in the

 20      science and whether it matched up with whatever it               04:48:51

 21      was somebody else was saying.         That led to a -- and

 22      that led to a debate.       I don't remember without, you

 23      know, going back through my old e-mails exactly what

 24      it -- what it was.

 25          Q    Got it.     Can you turn to the next page of the        04:49:06

                                                                      Page 288

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 290
                                                          Page
                                                            of 379
                                                                346PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21910#:
                                      1630

   1     exhibit, please?

   2         A    Got it.

   3         Q    Okay.     And there's a footnote 1 at the bottom

   4     of the page.       Can you please review that footnote?

   5         A    Yes.                                                    04:49:29

   6         Q    So this is an e-mail that you received from

   7     the board of directors?

   8         A    Yes, it is.

   9         Q    Is the paragraph under the first sentence,

 10      the one beginning with "Nasty, discourteous, unkind,             04:49:43

 11      uncivil, attacking, inappropriate, unprofessional,

 12      harassing, threatening, hateful, racist, sexist,

 13      homophobic, erotophobic, derogatory, or

 14      objectionable remarks or jokes that might be

 15      offensive to other people, abusive, defamatory,                  04:50:01

 16      libelous, pornographic, obscene, invasive of

 17      another's privacy, or otherwise torturous or un- --

 18      torturous or unlawful messages will NOT be deemed

 19      appropriate.       Courtesy is highly valued" -- is what

 20      I just read one of the Listserv's guidelines?                    04:50:21

 21          A    Yes, I believe it is.

 22          Q    And did the Society for the Scientific Study

 23      of Sexuality believe that you violated one of these

 24      guidelines?

 25          A    There's no way to know what the society                 04:50:32

                                                                      Page 289

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 291
                                                          Page
                                                            of 379
                                                                347PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21911#:
                                      1631

   1     thought.    The board of directors voted that I did,

   2     but the enormous debate and the other resignations

   3     from the society at the -- at the same time

   4     suggested that was not the opinion of the society;

   5     it was just -- whichever relevant members of the                 04:50:51

   6     board.

   7         Q    Does this e-mail reflesh -- refresh your

   8     recollection of what opinion you expressed that

   9     caused them to suspend your membership from the

 10      Listserv?                                                        04:51:07

 11          A    No, it doesn't.    I didn't express -- I never

 12      expressed anything on that Listserv that I hadn't

 13      expressed in many other venues, including with other

 14      professionals, with other sex researchers.

 15          Q    And so can you please look at the next page,            04:51:20

 16      at footnote 3?

 17               And I believe footnote 3 spans three pages,

 18      from 3 of 9 to 5 of 9, of the exhibit.

 19               And this looks like it's an e-mail from you

 20      to the Society of Scientific Study of Sexuality                  04:51:47

 21      members dated July 20th, 2020, at 4:48 p.m.; is that

 22      correct?

 23          A    That time is correct.       But, no, I did not

 24      write that.

 25          Q    This is not your e-mail?                                04:52:02

                                                                      Page 290

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 292
                                                          Page
                                                            of 379
                                                                348PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21912#:
                                      1632

   1         A    Footnote -- in footnote 3, no, it is not.

   2         Q    Whose e-mail is this?

   3         A    Zoe Peterson, then-president of quad S.

   4         Q    Okay.    And --

   5         A    I believe she signed it at -- yes, that's her           04:52:16

   6     signature at the bottom of it.

   7         Q    Great.     And so this e-mail was written by

   8     Zoe Peterson in response to your resignation from

   9     the society and your suspension from the Listserv?

 10          A    I hesitate to say what she wrote -- I                   04:52:33

 11      hesitate to say that she wrote it in response to me.

 12      I think she wrote it in response to the enormous

 13      discussion on the list that happened, saying that

 14      the society disagreed with what the board did in

 15      banning me from the Listserv.                                    04:52:50

 16          Q    I see.     Okay.

 17               And so this e-mail did go out after you were

 18      banned from the Listserv; right?

 19          A    Correct.     Some of the other members continued

 20      to forward to me relevant e-mails about the debate               04:53:00

 21      that was going on which I then couldn't see.

 22          Q    Okay.    And if you look at page 4 of the

 23      exhibit, at the bottom of the page.

 24          A    Yes.

 25          Q    There's a paragraph starting with "Finally,             04:53:17

                                                                      Page 291

                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 293
                                                          Page
                                                            of 379
                                                                349PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21913#:
                                      1633

   1     and most importantly, to our transgender,

   2     non-binary, and gender nonconforming members who

   3     raised this issue and who have expressed that they

   4     have felt -- they have long felt hurt, disrespected,

   5     marginalized, and unprotected on our listserv and                04:53:33

   6     within our organization, I hear you and I thank you

   7     for sharing your experiences and reactions with such

   8     honesty and courage."

   9              Do you see that?

 10          A    Yes, I do.                                              04:53:46

 11          Q    Do you know why Zoe Peterson included that in

 12      her e-mail?

 13          A    I assume that she was trying to demonstrate

 14      that people who were resigning should stop resigning

 15      and that she was on what she considered to be the                04:54:02

 16      politically correct avenue.

 17          Q    So when she says "Finally, and most

 18      importantly, to our transgender, non-binary, and

 19      gender nonconforming members who raised this issue,"

 20      what issue is she talking about?                                 04:54:19

 21          A    That's a very good question.

 22          Q    Do you know the answer to that question?

 23          A    No, I don't.

 24          Q    Do you have any understanding that may inform

 25      what the issue that she is referring to may be?                  04:54:34

                                                                      Page 292

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 294
                                                          Page
                                                            of 379
                                                                350PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21914#:
                                      1634

   1         A    No.   My experience is that people are

   2     misrepresenting issues and exaggerating them in

   3     order to come out with whatever political outcome

   4     they want.     It is exactly because this is so vague

   5     that I can't come to any other conclusion but that                 04:54:51

   6     this is another one of those.

   7         Q    So is it your testimony that this response

   8     from Zoe Peterson was not in reaction to your

   9     suspension from the Listserv?

 10          A    That's not exactly --                                     04:55:11

 11               MR. BARHAM:    Objection as to form.

 12               THE WITNESS:    That's not exactly true either.

 13      We had a long chain of events, each leading to the

 14      next, leading to the next, leading to the next.            So

 15      there's an association, but not a direct                           04:55:27

 16      association.     And I have no reason to think that she

 17      was writing to me.      And she's a politician,

 18      president of the organization.          I also can't easily

 19      discount that she's writing it for purely political

 20      purposes and the content -- I -- I -- I can't know                 04:55:41

 21      how much she genuinely believes the content.

 22      BY COUNSEL SWAMINATHAN:

 23          Q    So can you tell me more generally what the

 24      chain of issues was about?

 25          A    No.   I honestly can't recall.         I'm in many,       04:55:55

                                                                         Page 293

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 295
                                                          Page
                                                            of 379
                                                                351PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21915#:
                                      1635

   1     many debates on many, many different Listservs over

   2     the years, and I can't any longer recall which

   3     particular issue sparked this particular debate.

   4         Q    And you said that Zoe Peterson is a

   5     politician because she's the president of the                    04:56:13

   6     Society for the Scientific Study of Sexuality.          Why

   7     did you --

   8         A    She --

   9         Q    -- say that?

 10          A    She's writing as a politician, in her                   04:56:15

 11      political capacity.

 12          Q    What is her political capacity as president

 13      for the Society for the Scientific Study of

 14      Sexuality?

 15          A    I don't understand that question outside                04:56:33

 16      of -- you answered it exactly within the question.

 17          Q    I guess I'm just trying to understand what

 18      makes Zoe Peterson a politician beyond her title as

 19      president of the society.

 20          A    That she is in charge of ensuring that the              04:56:45

 21      board of directors has sufficient respect in order

 22      to run the organization.       They were losing an

 23      enormous amount of respect over their treatment of

 24      me, and she was trying to shore up what she could.

 25          Q    How did you know that they were losing an               04:57:01

                                                                       Page 294

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 296
                                                          Page
                                                            of 379
                                                                352PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21916#:
                                      1636

   1     enormous amount of respect as a result of your ban

   2     from the Listserv and your resignation?

   3         A    Oh, dozens and dozens and dozens of people

   4     were e-mailing me directly immediately afterwards.

   5     They were saying things to the list.            Even though I      04:57:17

   6     couldn't see the list, they were cc'ing me on their

   7     responses so I could see it as they were sending it,

   8     as people --

   9         Q    You said --

 10          A    -- people who resigned.                                   04:57:26

 11          Q    Apologies, I interrupted your answer.          Please

 12      continue.

 13          A    As people were resigning from the

 14      organization, they were e-mailing me to let me know

 15      that they were resigning from the organization.                    04:57:36

 16          Q    You say dozens and dozens and dozens, does

 17      that mean about 36 people?

 18          A    Oh, again, I couldn't count.          Somewhere on

 19      the order of under 50 would -- seems about -- feels

 20      about right.                                                       04:57:51

 21          Q    Did any members disagree with you in the

 22      Society for the Scientific Study of Sexuality?

 23          A    That I recall, three or four people who were

 24      post- -- if that many -- who were posting during the

 25      debate itself.                                                     04:58:13

                                                                         Page 295

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 297
                                                          Page
                                                            of 379
                                                                353PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21917#:
                                      1637

   1         Q    Do you remember the names of those

   2     individuals?

   3         A    No, I don't.

   4         Q    And how many members were are the society, in

   5     total?                                                           04:58:23

   6         A    That's a good question.        Only a relatively

   7     small number of members are on the Listserv, only a

   8     small number of those who are on the Listserv ever

   9     participate in the Listserv, but I don't know the

 10      numbers of each of those categories.                             04:58:40

 11          Q    How many members would you say actively

 12      participate on the Listserv?

 13          A    I'd guess about a hundred.

 14          Q    Okay.   And so of those hundred, you say only

 15      three or four of them would agree with your                      04:59:02

 16      retracted access to the Listserv; is that correct?

 17          A    Well, no.

 18               MR. TRYON:     Objection.

 19               THE WITNESS:     We weren't disagreeing over my

 20      access to the Listserv; we were disagreeing over                 04:59:18

 21      whatever scientific issue it was that we were

 22      disagreeing over.

 23      BY COUNSEL SWAMINATHAN:

 24          Q    Were there folks who were in support of your

 25      resignation and your removal from the Listserv?                  04:59:29

                                                                      Page 296

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 298
                                                          Page
                                                            of 379
                                                                354PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21918#:
                                      1638

   1         A    The only ones I heard about were the people

   2     that Zoe Peterson referred to.          I never knew their

   3     names.    I don't know who reported me to whom, under

   4     what circumstances, the number of people.

   5         Q    Okay.   And so if we -- so sitting here today,          04:59:53

   6     you're -- you're not aware of what the issue was

   7     that caused?

   8         A    I don't recall, no.

   9         Q    Okay.   And remind me again -- so you said

 10      Sexology Today! is your blog; right?                             05:00:08

 11          A    That's correct.

 12          Q    Do you control all the content of

 13      Sexology Today!?

 14          A    Yes, I do.    Except sometimes people post

 15      comments.                                                        05:00:23

 16          Q    So the actual blog posts are all your

 17      writing, but the comments came from other people; is

 18      that correct?

 19          A    Yes, that's correct.

 20          Q    Okay.   About how many blog posts have you              05:00:34

 21      offered on Sexology Today!?

 22          A    Oh, 20ish, maybe.

 23          Q    And when did you start your website?

 24          A    Maybe 15 years ago.

 25          Q    And so why did you feel the need to write               05:00:56

                                                                      Page 297

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 299
                                                          Page
                                                            of 379
                                                                355PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21919#:
                                      1639

   1     this open letter of resignation from the Society for

   2     the Scientific Study of Sexuality on your blog post?

   3         A    Oh, because they were failing at their -- at

   4     their own mission.      I was promoting science.         Again,

   5     I don't remember which particular issue within it,                05:01:14

   6     but it was science -- it was what was being shown in

   7     the science despite whether anybody else liked what

   8     was being shown in the science.          By blocking me and

   9     what I was saying, they were blocking the progress

 10      of science -- of science itself and the purpose of                05:01:31

 11      the organization.

 12          Q    And I understand that you can't remember the

 13      incident that led to your resignation and your

 14      banning from the Listserv, but do you believe that

 15      you made any statements that would have been                      05:01:45

 16      perceived as offensive to any members of the

 17      society?

 18          A    I can't automatically collapse together what

 19      is offensive and what is called offensive.           I

 20      sincerely don't believe and I don't think that any                05:02:09

 21      objective observer would label anything that I had

 22      ever said as offensive, but that's very different

 23      from whether somebody would call it offensive in

 24      order to keep me from saying it because they didn't

 25      like its implications.                                            05:02:24

                                                                       Page 298

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 300
                                                          Page
                                                            of 379
                                                                356PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21920#:
                                      1640

   1         Q    I understand.     So it's possible that they

   2     either didn't like your implications of what you

   3     said or they were actually taking offense with what

   4     you had said; is that correct?          Those -- those are

   5     two plausible reactions?                                          05:02:38

   6              MR. TRYON:     Objection to the form of the

   7     question.

   8              THE WITNESS:     Yes, both of those are at least

   9     theoretically possible.

 10      BY COUNSEL SWAMINATHAN:                                           05:02:51

 11          Q    Okay.   And so, you know, we were talking

 12      earlier about what you understand gender-affirming

 13      care to mean versus how I use the phrase.

 14               So it your opinion that the word "transition"

 15      can only be applied in the healthcare setting?                    05:03:08

 16          A    It depends on the context.         It is relatively

 17      recent that social transition has come to be called

 18      transition at all.       So if one is reading older

 19      posts, older papers, older words, "transition"

 20      usually would refer to somebody who has embarked in               05:03:31

 21      a recognized program and is going through steps.

 22      When -- people use the word "transition" today much,

 23      much more broadly.

 24          Q    Okay.   And so as you sit here today, is it

 25      your understanding that the words -- the word                     05:03:51

                                                                        Page 299

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 301
                                                          Page
                                                            of 379
                                                                357PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21921#:
                                      1641

   1     "transition" should only be applied in the

   2     healthcare setting?

   3               MR. TRYON:     Objection.

   4               MR. BARHAM:     Objection --

   5               MR. TRYON:     Objection.                              05:04:02

   6               MR. BARHAM:     Objection as to form.

   7               THE WITNESS:     I can't say that I have any

   8     opinion about how it should be used.             The only

   9     important criterion to me is that a term, any term,

 10      is used consistently and concretely and                          05:04:18

 11      objectively -- and as objectively as possible.

 12                If "transition" is going to continue to mean

 13      something very, very broad, then we are, once again,

 14      going to need a term to refer to the more specific

 15      situations, as long as we're involved in those                   05:04:40

 16      specific situations.

 17      BY COUNSEL SWAMINATHAN:

 18            Q   And, Dr. Cantor, what is your understanding

 19      of a competitive sport?

 20                MR. BARHAM:     Objection as to form and scope.        05:04:54

 21                MR. TRYON:     I also object.

 22                THE WITNESS:     I would have to say that I

 23      really have no understanding of "competitive sport"

 24      other than a layperson's.

 25      ///

                                                                      Page 300

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 302
                                                          Page
                                                            of 379
                                                                358PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21922#:
                                      1642

   1     BY COUNSEL SWAMINATHAN:

   2           Q   Do you have any understanding of what a

   3     physical advantage is in a sport?

   4               MR. TRYON:     Objection.

   5               MR. BARHAM:     Objection to form and scope.           05:05:19

   6               THE WITNESS:     Again, I know the particular

   7     terms in the same way that any -- that the lay

   8     public would, but when questions -- when questions

   9     are posed or an issue is -- arises where there is a

 10      quantitative or numeric answer to it, I now have a               05:05:35

 11      level of expertise for analyzing those statistics

 12      for answering the question that other people don't.

 13      BY COUNSEL SWAMINATHAN:

 14            Q   Has anyone ever posed that question to you

 15      before me today?                                                 05:05:50

 16            A   Not in a formal context, no.

 17            Q   Would you be able to tell me what your

 18      understanding is of a physical advantage in a

 19      competitive sport, as you sit here today?

 20                MR. TRYON:     Objection; scope and form.              05:06:05

 21                MR. BARHAM:     Same.

 22                THE WITNESS:     Too var- -- any variable that

 23      has a causal relationship with the outcome of how

 24      that sport is -- is evaluated.

 25      ///

                                                                      Page 301

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 303
                                                          Page
                                                            of 379
                                                                359PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21923#:
                                      1643

   1     BY COUNSEL SWAMINATHAN:

   2         Q    And do you agree that there are some

   3     competitive sports teams where physical size is an

   4     advantage?

   5         A    That would certainly seem so, yes.                      05:06:29

   6         Q    Okay.

   7              COUNSEL SWAMINATHAN:       I'm going to introduce

   8     tab 23, which will -- which was previously marked as

   9     Exhibit 49.       And the article is another blog post

 10      from Sexology Today! titled "When is a 'TERF' not a              05:06:54

 11      TERF?"

 12               THE WITNESS:     Got it.

 13      BY COUNSEL SWAMINATHAN:

 14          Q    Great.     And you authored this article in

 15      July of 2020; correct?                                           05:07:14

 16          A    Correct.

 17          Q    And in this article, you write -- and I'll

 18      turn your attention to the middle of the post.          It

 19      says (as read):

 20               "I must first challenge the                             05:07:27

 21               ironically binary premise that

 22               'exclusion' is all or none.         It's

 23               only in the current climate of

 24               extremism that no moderate views get

 25               discussed.     Here is a range of some                  05:07:40

                                                                      Page 302

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 304
                                                          Page
                                                            of 379
                                                                360PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21924#:
                                      1644

   1               areas in which sex/gender require

   2               protection:"

   3               And you list employment, housing, public

   4     accommodation, with ellipses, locker rooms/showers,

   5     with nudity, and in parentheses, sauna, hottub,                  05:07:57

   6     ellipses, close parentheses, locker room/washrooms,

   7     sex segregated.        And the final item you list is

   8     competitive sports team, where physical size is an

   9     advantage.

 10                Did I read that correctly?                             05:08:18

 11            A   Yes.

 12            Q   Great.   And so in this blog post, you say

 13      that sex/gender require protection in competitive

 14      sports teams where physical size is an advantage; is

 15      that correct?                                                    05:08:39

 16            A   I offered it as more of an example of -- of

 17      an extreme on a range, but it's hard to think of

 18      something that would be even more extreme than that,

 19      yes.

 20            Q   Is it your belief that cross-country is a              05:08:48

 21      sport where physical size is an advantage?

 22                MR. TRYON:     Objection; scope.

 23                THE WITNESS:     I don't know.      I would have

 24      to -- I haven't read that part of the literature.

 25      ///

                                                                      Page 303

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 305
                                                          Page
                                                            of 379
                                                                361PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21925#:
                                      1645

   1     BY COUNSEL SWAMINATHAN:

   2         Q    Have you seen any evidence that shows that

   3     physical sides provide -- physical size provides an

   4     advantage in cross-country?

   5              MR. TRYON:     Objection; scope.                         05:09:15

   6              MR. BARHAM:     Objection.

   7              THE WITNESS:     No, I haven't read those

   8     studies.

   9     BY COUNSEL SWAMINATHAN:

 10          Q    Okay.   Sitting here today, do you have any              05:09:19

 11      opinion whether or not the plaintiff in this case,

 12      B.P.J., should be allowed to run on the girls'

 13      cross-country team?

 14               MR. BARHAM:     Objection as to scope and form.

 15               MR. TRYON:     Same objection.                           05:09:36

 16               THE WITNESS:     I have no opinion in the actual

 17      outcome.

 18               COUNSEL SWAMINATHAN:      Okay.     I think this is

 19      a good point for a break.        I'm just going to confer

 20      with my co-counsel and see if we have anything else               05:09:44

 21      left to discuss with Dr. Cantor.

 22               But does regrouping at 5:120 work -- sorry --

 23      5:20 work for everyone, a ten-minute break?

 24               MR. BARHAM:     Sure.

 25               COUNSEL SWAMINATHAN:      Go off the record.             05:10:00

                                                                        Page 304

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 306
                                                          Page
                                                            of 379
                                                                362PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21926#:
                                      1646

   1               THE VIDEOGRAPHER:    Yep.     We're going off the

   2     record.     The time is 5:10 p.m., and this is the end

   3     of Media Unit No. 6.

   4               (Recess.)

   5               THE VIDEOGRAPHER:    All right.       We are back on     05:26:05

   6     the record at 5:26 p.m., and this is the beginning

   7     of Media Unit No. 7.

   8               Go ahead, please.

   9     BY COUNSEL SWAMINATHAN:

 10          Q     Dr. Cantor, I'm going to ask you to take a               05:26:15

 11      look back at your 2022 expert report, page 3.

 12          A     I'm sorry, what page again?

 13          Q     Page 3.

 14          A     Got it.

 15          Q     Great.    And before we conclude today, I just           05:26:41

 16      to confirm that you are offering no opinions beyond

 17      the principal opinions that you on this page of the

 18      report and the paragraph at the bottom of the page.

 19      Is that accurate?

 20          A     Yes, it is.                                              05:26:56

 21          Q     Great.

 22                COUNSEL SWAMINATHAN:     Thank you so much for

 23      your time, Dr. Cantor.

 24                I have no further questions right now.         I'll

 25      tender the witness, but reserve my right to ask                    05:27:03

                                                                         Page 305

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 307
                                                          Page
                                                            of 379
                                                                363PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21927#:
                                      1647

   1     questions should defense counsel ask questions.

   2               So thank you so much.

   3

   4                              EXAMINATION

   5     BY MR. BARHAM:                                                   05:27:07

   6           Q   I do have a few quick questions for you,

   7     Dr. Cantor.

   8               I want to refer to your expert report and

   9     page 32 of your CV.        Unfortunately, I don't know

 10      which page that is in the deck.                                  05:27:30

 11                THE WITNESS:     It's the last page of it, is

 12      it?

 13      BY MR. BARHAM:

 14            Q   Correct.

 15            A   Goodness, next life, I get a shorter career.           05:27:57

 16                Here we go.

 17            Q   Earlier today, when we were discussing your

 18      expert testimony, were you referring -- did you have

 19      this page in front of you at the time?

 20            A   No, I did not.                                         05:28:10

 21            Q   On here, there is a 2019 case in probate and

 22      family court, a custody hearing in Boston,

 23      Massachusetts.

 24                Do you see that line on page 32?

 25            A   Yes, I do.                                             05:28:27

                                                                      Page 306

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 308
                                                          Page
                                                            of 379
                                                                364PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21928#:
                                      1648

   1         Q     Could you describe the general issue

   2     involving your expert testimony in that case?

   3         A     Yes.    Two women, a lesbian couple, were

   4     divorcing.       They had joint custody of their child

   5     whom they were fighting over.         The child had gender       05:28:38

   6     dysphoria.       Now it's a female.     One parent believed

   7     that the child should transition; the other parent

   8     did not.

   9         Q     Earlier today, we were also discussing the

 10      instances in which you have provided care for                    05:28:57

 11      transgender individuals.

 12                Is it the case that you have only provided

 13      care for transgender individuals in your current

 14      clinic?

 15          A     No.    I was also providing care while I was at        05:29:15

 16      CAMH.

 17                COUNSEL SWAMINATHAN:     Can I just interrupt

 18      you for one quick second, Dr. Cantor?

 19                Travis, I'm having trouble hearing you.

 20                MR. BARHAM:    Oh, I apologize.                        05:29:26

 21                COUNSEL SWAMINATHAN:     If you could get closer

 22      to the mic, I would greatly appreciate that.

 23                And sorry, again, to disrupt.

 24                MR. BARHAM:    Court Reporter -- is the court

 25      reporter having similar issues, or have we been able

                                                                       Page 307

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 309
                                                          Page
                                                            of 379
                                                                365PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21929#:
                                      1649

   1     to get all those questions into the transcript?

   2               THE REPORTER:     I've been able to get them

   3     all.    It is a little bit difficult to hear you,

   4     though.

   5               MR. BARHAM:     I apologize.     I slid too far

   6     over to my binder.

   7               THE REPORTER:     Thank you.

   8               MR. BARHAM:     I will address that.

   9               THE REPORTER:     Thank you.

 10      BY MR. BARHAM:                                                    05:29:46

 11          Q     Dr. Cantor, we also were earlier discussing

 12      the different types of gender dysphoria, adult

 13      onset, adolescent onset and childhood onset.

 14                If we're dealing with -- if you're confronted

 15      with an individual in, say, his early -- his or her               05:30:04

 16      early 20s who is experiencing gender dysphoria,

 17      which category would that individual likely fall

 18      into?     What -- what categories would be possible?

 19          A     Both categories are possible.          Early 20s, the

 20      adult onset would be more likely, but we can't be                 05:30:31

 21      quite as sure today as we could, say, 10, 15 years

 22      ago.    But they're -- until relatively recently, the

 23      children who came in were children, prepubescent,

 24      and the adults who came in were generally

 25      middle-aged.     We didn't get anybody coming in during           05:30:47

                                                                       Page 308

                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 310
                                                          Page
                                                            of 379
                                                                366PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21930#:
                                      1650

   1     their teens or 20s.      And so the nicknames for

   2     these -- for these two groups simply became child

   3     onset and adult onset.

   4              As years have gone on and more people started

   5     presenting, there's now a little bit more overlap in             05:31:02

   6     between.

   7              So when age can't be used in order to provide

   8     very obvious categorization -- if somebody comes in

   9     clinically, we would start ask -- asking other

 10      questions that -- that would tell us what group they             05:31:16

 11      belong to, such as their sexual interest patterns,

 12      whether they were attracted to men, women, both and

 13      so on.

 14          Q    And when you said a moment ago that both

 15      categories would be possible, what are the two                   05:31:31

 16      categories that you had in mind?

 17          A    It's possible that the --

 18               COUNSEL SWAMINATHAN:      Objection to the form.

 19               THE WITNESS:    It's possible that the person

 20      would be an adult-onset case, but coming into a                  05:31:40

 21      clinic relatively early, especially now that trans

 22      issues are talked about so much more.            Or as a

 23      childhood-onset case who didn't come in for the

 24      medical or other -- other care until atypically

 25      late.                                                            05:31:57

                                                                      Page 309

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 311
                                                          Page
                                                            of 379
                                                                367PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21931#:
                                      1651

   1              MR. BARHAM:     All right.     I believe those are

   2     all the questions I need to ask.

   3              Mr. Tryon, do you need to supplement?

   4              MR. TRYON:     Maybe I could ask just one

   5     question, Mr. -- Dr. Cantor.                                     05:32:13

   6

   7                              EXAMINATION

   8     BY MR. TRYON:

   9         Q    So in the event that you were to determine

 10      that someone in that age category, who was a college             05:32:18

 11      student, were suffering from adult-onset dysphoria,

 12      would then adult-onset dysphoria become relevant in

 13      connection with the statute which we have in place

 14      here, which we are discussing here?

 15               COUNSEL SWAMINATHAN:      Objection to form.            05:32:41

 16               THE WITNESS:     Yes, it would become relevant.

 17               MR. TRYON:     I have no other questions.

 18               MS. DUPHILY:     Should we go off the record?

 19               COUNSEL SWAMINATHAN:      Sounds great.

 20               THE VIDEOGRAPHER:     All right.                        05:33:02

 21               MR. BARHAM:     Does this conclude the

 22      deposition, or are we taking a break?

 23               THE VIDEOGRAPHER:     This --

 24               COUNSEL SWAMINATHAN:      It concludes our

 25      questioning from plaintiff's side.                               05:33:06

                                                                       Page 310

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 312
                                                          Page
                                                            of 379
                                                                368PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21932#:
                                      1652

   1              THE VIDEOGRAPHER:      Everybody's had a chance;

   2     otherwise, we'll --

   3              MS. GREEN:    Actually -- this is Roberta Green

   4     on behalf of WVSSAC, and I would just like to note

   5     for the record that we have no questions.                        05:33:17

   6              THE VIDEOGRAPHER:      Okay.

   7              MR. CROPP:    This is Jeffrey Cropp for the

   8     Harrison County Board of Education and Dora Stutler.

   9     We have no questions.

 10               THE VIDEOGRAPHER:      Okay.                            05:33:24

 11               MS. MORGAN:    This is Kelly Morgan on behalf

 12      of the West Virginia Board of Education and

 13      Superintendent Burch.      I don't have any questions.

 14               Thank you.

 15               THE VIDEOGRAPHER:      Okay.    I think that's          05:33:40

 16      everyone now.      So with -- with that, I will take us

 17      off the record.

 18               Okay.    We are off the record at 5:33 p.m.,

 19      and this ends today's testimony given by Dr. Cantor.

 20               The total number of media used was seven and            05:33:54

 21      will be retained by Veritext Legal Solutions.

 22                       (TIME NOTED:    5:33 p.m.)

 23

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                                                                      Page 311

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 313
                                                          Page
                                                            of 379
                                                                369PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21933#:
                                      1653

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  3
  4
  5                   I, JAMES M. CANTOR, do hereby declare under
  6       penalty of perjury that I have read the foregoing
  7       transcript; that I have made any corrections as
  8       appear noted, in ink, initialed by me, or attached
  9       hereto; that my testimony as contained herein, as
 10       corrected, is true and correct.
 11                   EXECUTED this _____ day of _______________,
 12       20____, at ______________________, ________________.
                                     (City)                        (State)
 13
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 16                   ____________________________________
                                    JAMES M. CANTOR
 17                                       VOLUME I
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 22
 23
 24
 25

                                                                    Page 312

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 314
                                                          Page
                                                            of 379
                                                                370PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21934#:
                                      1654

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  3                 I, the undersigned, a Certified Shorthand
  4       Reporter of the State of California, do hereby
  5       certify:
  6                   That the foregoing proceedings were taken
  7       before me at the time and place herein set forth;
  8       that any witnesses in the foregoing proceedings,
  9       prior to testifying, were placed under oath; that a
 10       record of the proceedings was made by me using
 11       machine shorthand which was thereafter transcribed
 12       under my direction; further, that the foregoing is
 13       an accurate transcription thereof.
 14                   I further certify that I am neither
 15       financially interested in the action nor a relative
 16       or employee of any attorney of any of the parties.
 17                   IN WITNESS WHEREOF, I have this date
 18       subscribed my name.
 19                   Dated: MARCH 28, 2022
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 25                               CSR NO. 13795

                                                                    Page 313

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 315
                                                          Page
                                                            of 379
                                                                371PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21935#:
                                      1655

   1    TRAVIS C. BARHAM, ESQ.

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   3                                                          MARCH 28, 2022

   4    RE: BPJ V. WEST VIRGINIA STATE BOARD OF EDUCATION

   5    MARCH 21, 2022, JAMES M. CANTOR, JOB NO. 5122845

   6    The above-referenced transcript has been

   7    completed by Veritext Legal Solutions and

   8    review of the transcript is being handled as follows:

   9    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

 10         to schedule a time to review the original transcript at

 11         a Veritext office.

 12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

 13         Transcript - The witness should review the transcript and

 14         make any necessary corrections on the errata pages included

 15         below, notating the page and line number of the corrections.

 16         The witness should then sign and date the errata and penalty

 17         of perjury pages and return the completed pages to all

 18         appearing counsel within the period of time determined at

 19         the deposition or provided by the Code of Civil Procedure.

 20     __ Waiving the CA Code of Civil Procedure per Stipulation of

 21         Counsel - Original transcript to be released for signature

 22         as determined at the deposition.

 23     __ Signature Waived – Reading & Signature was waived at the

 24         time of the deposition.

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                                                                       Page 314

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 316
                                                          Page
                                                            of 379
                                                                372PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21936#:
                                      1656

   1    _X_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

   2        Transcript - The witness should review the transcript and

   3        make any necessary corrections on the errata pages included

   4        below, notating the page and line number of the corrections.

   5        The witness should then sign and date the errata and penalty

   6        of perjury pages and return the completed pages to all

   7        appearing counsel within the period of time determined at

   8        the deposition or provided by the Federal Rules.

   9    __ Federal R&S Not Requested - Reading & Signature was not

 10         requested before the completion of the deposition.

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 25

                                                                      Page 315

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 317
                                                          Page
                                                            of 379
                                                                373PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21937#:
                                      1657

  1     BPJ V. WEST VIRGINIA STATE BOARD OF EDUCATION
  2     JAMES M. CANTOR (#5122845)
  3                              E R R A T A           S H E E T
  4     PAGE_____ LINE_____ CHANGE________________________
  5     __________________________________________________
  6     REASON____________________________________________
  7     PAGE_____ LINE_____ CHANGE________________________
  8     __________________________________________________
  9     REASON____________________________________________
 10     PAGE_____ LINE_____ CHANGE________________________
 11     __________________________________________________
 12     REASON____________________________________________
 13     PAGE_____ LINE_____ CHANGE________________________
 14     __________________________________________________
 15     REASON____________________________________________
 16     PAGE_____ LINE_____ CHANGE________________________
 17     __________________________________________________
 18     REASON____________________________________________
 19     PAGE_____ LINE_____ CHANGE________________________
 20     __________________________________________________
 21     REASON____________________________________________
 22
 23     ________________________________                      _______________
 24     WITNESS                                               Date
 25

                                                                     Page 316

                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 318
                                                          Page
                                                            of 379
                                                                374PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21938#:
                                      1658
    [& - 2022]

              &            11:47 122:2             265:16              2013 236:7
     & 3:5 4:6 6:18 7:6    11th 187:12           186 10:1              2014 64:14 97:16
       261:2 314:23        12 21:13 24:16        18th 7:19               100:18,20 249:25
       315:9                 25:16,20 106:1      19 4:21 194:21          251:7 253:8,10,21
                             190:8,14 191:14       268:2               2015 119:4 120:2
              0
                             192:2 194:15        19.1 255:23             193:24 237:17,22
     00316 1:8 2:8           195:2,6 212:14,17   190 10:3                238:14 247:6
       13:12                 228:25 229:20       1979 203:6            2016 12:1 187:11
     02116-3740 5:15         243:23              1990s 122:18            187:12 265:13,23
              1            120 4:20              1992 39:4               270:14
     1 1:25 13:6 34:10     125 7:18              1993 54:23 56:5       2017 199:19
       35:24 53:2 57:25    12:28 151:18          1994 53:15,16           201:13,17,21
       94:19 123:3 289:3   13 247:13             1997 54:23              202:18
       315:1               13795 1:23 2:25       1998 56:6 88:8        2018 66:4 67:11
     10 45:1,7 105:25        313:25              1:20 151:22             73:25 83:13,22,24
       106:2 107:11        14 21:1 105:18                 2              115:23 116:7,9
       114:12 140:20         123:6 194:13                                236:8 266:1
                                                 2 32:14 33:21 53:2
       141:4,4,24 235:5      250:6                                     2019 193:14
                                                   53:7 58:4 121:24
       308:21              1411 3:8                                      240:12 261:3
                                                   148:22 191:11
     100 33:7 211:5        145 9:18                                      306:21
                                                   281:15
     1000 6:10             14th 5:14                                   2019s 192:12
                                                 20 45:1,7 79:20,20
     10004 7:20            15 9:6 107:21                               2020 88:19 123:14
                                                   105:11 112:20,21
     10005-3919 4:22         113:13 254:9                                153:20 191:7
                                                   113:13 141:24
     106 220:8 223:17        260:10,15 285:17                            192:5,6,7 236:3,6
                                                   142:18 191:6
     10:05 57:17             297:24 308:21                               236:10,11 238:17
                                                   210:25 212:3
     10:08 58:3            16 78:9,10,21,23                              242:6 243:16
                                                   285:17 312:12
     10th 287:5              81:25 82:3,6,8,10                           246:9 247:4
                                                 200 3:9
     11 20:25 105:25         110:23 122:7,9,24                           253:14,19 261:2
                                                 2000 105:17
       106:3 109:11          123:11 179:13,13                            287:5 290:21
                                                 2002 127:22,22
       175:6 206:12          179:16 180:1,23                             302:15
                                                 2003 109:13
       207:10,10 213:5       181:1 194:13                              2021 33:22,25
                                                   125:17
       213:15 215:17         205:21 259:11                               35:11 136:11,17
                                                 2009 62:9 101:24
       234:4 238:25          266:14                                      136:20 137:13,25
                                                   201:10 202:4,13
     110th 127:24          17 123:6 261:22                               138:14,25 139:9
                                                 2010 64:13
       128:12,22           176 9:22                                      153:20 177:2
                                                 2011 106:8,22
     111th 125:23          17th 277:21                                   230:1 231:23
                                                   225:23 226:15
       128:25              18 61:23 78:13,17                             232:20 233:13
                                                   253:21 254:17
     112 3:17                82:9,10 122:9                               266:23 267:14
                                                 2012 62:9 66:4
     11776 313:24            123:8 179:16                                269:22
                                                   67:11 90:17 106:7
     11:31 121:23            180:1 195:24                              2022 1:20 2:23
                                                   234:23
                             211:23 213:19,20                            13:1,5 35:8,16

                                                                                    Page 1
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 319
                                                          Page
                                                            of 379
                                                                375PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21939#:
                                      1659
    [2022 - 6]

       155:16 221:25       26 89:11 95:21          167:11,19 168:4,9             5
       227:1 277:21          96:10 130:23          168:22 169:1        5 87:10 89:21 97:3
       305:11 313:19         218:14 244:6          172:25 173:9,19       115:25 176:9
       314:3,5             261 11:24               174:15 175:12,19      212:11 255:18
     2023 116:10,11,12     26330 6:22              176:3 177:12          260:11 274:20
     2025.520 314:9,12     265 12:1                178:4,8,12,15,18      281:16,25 290:18
     20ish 297:22          268 12:3              34 9:15               50 10:5 74:15,16
     20s 50:19 76:10,11    27 218:5,15 287:12    35 76:7                 74:17 76:4,5
       78:12 308:16,19     274 12:7              36 33:24 295:17         149:18 227:8,9
       309:1               28 232:20 313:19      37 90:17,21 101:1       295:19
     20th 290:21             314:3                 101:1               500 4:9 5:13 7:9
     21 1:20 2:23 13:1     286 12:10             38 122:20             51 10:9 230:9,11
       274:9 275:4 314:5   29 212:17                      4            5122845 1:24
     212.549.2500 7:22     2:21 1:8 2:8 13:12                            314:5 316:2
                                                 4 87:10 89:6 95:22
     21st 13:5             2:39 212:6                                  52 10:15 235:5,6
                                                   96:10 145:21
     22 33:25 79:20        2:53 212:10                                 53 10:21 92:20
                                                   151:23 155:16,20
       247:18 266:23                3                                    102:3 219:24
                                                   212:7 291:22
       286:14                                                            220:5 238:25
                           3 86:24 87:3,10,10    40 92:5 101:10
     227 10:5                                                            239:1,7
                             87:11 89:1,2          207:13 211:1
     22nd 35:11 136:11                                                 54 10:25 243:23,24
                             93:13 122:3         400 6:21
       137:25 138:14,25                                                  245:23
                             151:19 156:23       40s 50:14 169:14
       139:9                                                           55 11:6 247:13,14
                             165:3 200:12        44 9:12 32:15,16
     23 35:16 123:7                                                    56 11:11 250:6,7
                             271:20 281:15         136:8 266:10
       125:14 190:19                                                   57 11:15 254:10,11
                             290:16,17,18        45 9:15 32:15
       302:8                                                           58 11:20 259:12,13
                             291:1 305:11,13       34:11,12 155:15
     230 10:9                                                          59 11:24 261:23,24
                           30 46:21 76:7           156:21 193:11
     235 10:15                                                         5:10 305:2
                             87:17,18 89:25        212:15 213:20
     239 10:21                                                         5:120 304:22
                             90:12 97:2 122:19     266:11
     23rd 35:8 177:2                                                   5:20 304:23
                             286:14 315:1        46 9:18 33:22
     24 225:12                                                         5:26 305:6
                           30043 6:10              145:22,25 196:1
     243 10:25                                                         5:33 2:23 311:18
                           304.933.8154 6:23     47 9:22 176:10,11
     247 11:6                                                            311:22
                           306 9:7               48 10:1 186:21,24
     25 123:6,7 127:17
                           30s 169:13              207:13                        6
       130:14 244:5
                           31 33:22              49 10:3 190:20,21     6 33:23 87:10
     250 11:11
                           316 1:25                302:9                 92:18,18 102:3
     25301 4:11 7:11
                           32 9:12 36:20         4:19 274:19             105:25 106:2,6
     25301-3088 3:10
                             102:3 123:6 306:9   4:31 274:23             177:8 240:12
     25305-0220 3:18
                             306:24              4:48 290:21             260:11 266:12,14
     254 11:15
                           3293 155:25                                   274:24 305:3
     259 11:20
                             157:12 158:15
                             163:21 164:7

                                                                                   Page 2
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 320
                                                          Page
                                                            of 379
                                                                376PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21940#:
                                      1660
    [60 - addressed]

     60 12:1 211:1        93 130:15               275:6 286:2         act 157:12,13,21
       228:23 229:18      952,955 119:25          296:16,20             157:24 158:3,6,8
       265:16,17          99 88:8               accommodate             158:13 159:1,6,16
     600 4:10 7:10        9:03 2:22 13:2,5        276:5                 160:8,19 161:13
     60s 76:12            9:57 57:24            accommodation           162:1,3,9,22 163:1
     61 12:3 220:5                 a              303:4                 163:10,12,15,23
       268:3,4 269:15                           accomplish 162:16       164:11,17,20
                          a.m. 2:22 13:2,5
     617.937.2305 5:16                          account 60:7            165:13,15,16
                            57:24 58:3 121:23
     62 12:7 225:15                               188:2                 166:11,22 171:3
                            122:2 277:22
       274:9,10 275:5                           accounts 219:13         172:10 177:21
                          aap 88:18 94:24
     63 12:10 286:15,16                         accumulate 94:9       action 313:15
                            95:8,16 111:9
     64 88:1                                      222:25              active 147:24
                          abarr 5:20
     65 229:6                                   accumulated           actively 296:11
                          abbreviated
     650,000 115:24                               60:20 221:16        activities 1:11
                            128:19
     650,250 115:25                             accumulating            2:11 3:3
                          able 32:25 33:1
     681.313.4570 3:19                            29:12 36:14 60:20   activity 15:6
                            34:15 40:25 70:24
     69 35:21,23 218:8                            218:4 220:13        actual 111:14
                            70:25 80:25 86:4
              7                                 accumulation            150:9 182:12
                            129:19 149:24
                                                  60:16                 183:10 242:16,17
     7 87:3,10,11 93:6      153:12 177:4
                                                accurate 109:14         281:11 297:16
       186:20 204:23        180:8 227:12
                                                  148:16 150:22         304:16
       205:19 257:14        233:18,19 235:9
                                                  211:2 220:19        ad 75:13
       262:24,25 305:7      254:14 262:2
                                                  237:24 305:19       add 36:22 99:11
     73 228:24 229:19       266:21 271:10
                                                  313:13                102:17 118:9
     7:14 277:22            275:6 285:9
                                                accurately 18:2         142:19 271:3,6
     7th 251:7              286:19 301:17
                                                  19:25 106:25        added 98:3
              8             307:25 308:2
                                                  107:5 187:22        addict 142:23
                          absolutely 57:16
     8 105:5,19 112:16                            219:2 224:5 261:4   addicted 142:24
                            170:13 238:23
       200:14 205:1,4,8                           276:11              addiction 47:2,4
                            270:11 280:7
       205:15 227:7                             achieved 160:4          140:22,25 141:1,6
                          abuse 113:2,8,19
       262:24 263:11                            achille 234:23        addition 130:22
                            113:21,22,24
       264:22                                     235:18 238:3          157:5 192:18
                          abused 282:21
     80 142:14 151:10                           acknowledge           additional 31:23
                          abusive 289:15
       151:11                                     181:8 184:15          48:22 66:16
                          academics 269:6
     8th 191:7                                  acknowledges            226:22
                          academy 240:3
              9                                   281:22 282:15       address 32:8
                          accepted 124:9,10
     9 105:25 106:2,13                            283:3                 70:25 91:3 308:8
                            129:3 196:5
       112:16 155:20                            aclu 14:12            addressed 157:8
                            200:19 232:20
       177:3,4 230:9                            aclu.org 7:21           281:20 282:14
                            240:12 251:6
       290:18,18                                acronym 128:13          283:2
                          access 233:2
                            254:14 256:19

                                                                                   Page 3
                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 321
                                                          Page
                                                            of 379
                                                                377PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21941#:
                                      1661
    [addressing - agreed]

     addressing 275:16        179:11 180:16,23       272:8,17 273:6,17     169:8,8,14 171:17
     adf 133:7 134:14         181:16 182:19          301:3,18 302:4        179:13,13,16
       137:3                  184:13 186:2,6         303:9,14,21 304:4     180:23 181:1
     adflegal.org 6:11        190:7,14 192:1       advertising 75:6        190:8,14 191:14
       6:12,13,14 314:2       200:5 207:19,25        75:11,12              192:1 194:13,13
     adjudicated 151:2        209:22 223:24        advise 82:24            194:15,17 195:2,6
       151:9                  224:7 243:18         advised 198:13          195:10 242:17
     adkins 31:17             247:9 249:16           201:5 204:18          246:15 309:7
     administered           adopted 66:12          affect 163:16,24        310:10
       15:20                  161:3                  174:2 278:20,23     aged 308:25
     administrative         adopting 66:20           279:9,16            agency 119:23
       66:10 73:12 83:2     adoption 11:25         affiliation 183:19    agents 196:25
     administrators           262:8,9,19           affirmation 181:4     ages 78:9 82:10
       217:12               adult 11:11 42:18        181:12,15 182:7       180:1 254:3
     admitted 263:19          43:3 112:1 168:18      182:10,14,15,18     ago 20:18 22:8,9
       264:16,20              168:24 169:3,3,12      182:25 183:6,17       50:17 133:14
     adolescence 51:4         170:1,2,10,24          183:22 184:1,6,12     135:5,6 136:6,15
       60:1 61:17 65:19       171:2,23 172:2,5,6     200:16                138:11,13,17
       194:16 233:3           172:17 174:24        affirmative 11:2        189:2 204:2 232:7
     adolescent 25:23         212:21 250:1           243:19                277:3 278:2
       26:9 37:19 39:14       308:12,20 309:3      affirming 10:7,9        283:11 286:11
       39:18,22 42:18         309:20 310:11,12       10:16,23 19:3         297:24 308:22
       43:1,2,7 50:25       adulthood 60:1           208:12,19 226:24      309:14
       51:1 69:4 78:23        61:12 91:24,25         227:4 228:22        agonists 200:8
       179:5,8 200:18       adults 42:22 46:12       229:9,17 230:3      agree 133:25
       232:21 246:9           46:13 52:5 54:12       233:2 234:25          163:23 172:10
       308:13                 55:16 58:20,24,25      238:19 255:23         174:15,25 196:9
     adolescents 11:1,8       69:15 91:9,20          256:13,17 257:10      205:24 206:24
       26:23 27:6,11,23       98:23 109:20,21        299:12                207:18 208:11,18
       28:5,18 52:8           110:17,23 111:2      aforementioned          210:15,15,16,20
       54:10 60:12,23         112:4,5,6 131:23       32:6                  228:1,6 232:21
       61:4,7,10 65:12,17     132:18,23 141:20     ag 133:16 138:3         238:3 248:11
       65:22 68:25 78:7       169:18 170:3         ag's 133:22 134:12      258:17 271:14
       78:8 88:17 106:11      172:11 180:22          135:2,7 136:5,14      275:21 277:8,10
       107:8,16,23 109:8      187:19 188:17          136:21 138:9          278:14 279:8
       115:14,18 118:22       232:16 308:24        age 20:25 46:14         280:11,21,25
       121:2 125:6,8,10     advanced 47:17           50:10,12,15 61:19     282:13,25 296:15
       127:15 130:8,12        51:16 177:11,20        61:20 76:5 78:13      302:2
       132:15 167:21          252:15                 78:16,20,21,23      agreeable 138:7
       168:10,15 175:14     advantage 161:6          81:25 82:3,6        agreed 135:16
       175:20 176:4           222:12 223:6           110:6,23 111:25       138:5

                                                                                      Page 4
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 322
                                                          Page
                                                            of 379
                                                                378PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21942#:
                                      1662
    [agreeing - approaching]

     agreeing 221:20        126:2 127:25          171:10 206:7,7,11     171:21 228:11
     ah 282:1               128:17,18,23          210:12 219:11         235:18 307:20
     ahead 58:5 100:24      228:2,12 240:3,6      284:3 292:22          308:5
       122:4 124:12       amount 116:1            295:11 301:10       apparent 84:5
       151:24 212:12        124:24 153:20       answered 144:22         85:19,19
       274:25 305:8         161:5 294:23          147:13 171:5        appeal 262:6
     ahrens 227:19          295:1                 207:3 294:16        appear 92:8,10
     al 13:9 92:20        amsel 56:13           answering 20:1          312:8
       193:18 225:23      amy 231:25              90:19 301:12        appearances 3:1
       226:15 227:2       analyses 94:5         answers 18:1,2          4:1 5:1 6:1 7:1 8:1
       230:2 234:24         102:18,19           anticipate 121:8      appearing 2:22
       237:17,21 238:13   analysis 102:25         121:11 268:13         314:18 315:7
       238:18 242:7         252:19,20 260:21    anticipated 156:11    appellant 262:8
       243:17 247:6         261:11,15,18        anxieties 54:6        appellees 262:9
       250:1 261:3          262:17 263:24       anxiety 12:3 54:13    appendix 35:24
       267:15               264:2 266:7,20        267:15 271:16,25    application 108:8
     alexis 1:23 2:24       267:9               anybody 85:25           117:24 118:1,3,5
       13:16 313:24       analyze 45:12           246:7 268:24          129:1,2
     allan 139:10           62:25 273:25          280:7 298:7         applied 117:19
     alliance 6:4 14:22   analyzes 238:11         308:25                120:7 299:15
       15:12 134:23       analyzing 94:4        anybody's 268:25        300:1
     allocation 252:16      243:14 301:11       anymore 85:25         applies 91:20
     allow 13:23 84:11    anderson 107:12         126:15                178:15 242:18,20
       180:25 206:7       andrew 5:8 14:4       apa 126:9 128:13        242:21,25 263:19
     allowed 174:10         235:20                128:19                264:16,21
       175:7 194:12,14    anecdotes 217:3       apart 62:21           apply 118:2
       304:12             anna 255:6            apologies 17:3          171:15 172:10
     allowing 279:19      anne 130:1 170:20       24:21 27:19 29:22     178:19
     allows 169:9 195:6   annelou 250:12          32:15,20 35:21      appointed 49:23
       195:7,10           annual 123:20           38:21 42:3 50:6     appointment
     alter 174:2            124:2,15 125:24       67:2 79:23 83:20      215:24
     alternate 244:14       126:3,5,14 127:7      90:16 91:13 96:9    appreciate 17:19
       245:3                127:11,25 128:12      117:10 119:8          39:2 42:24 72:6
     alternative 244:20     128:22 285:7          141:14 155:7          72:15 105:3
       244:24             another's 289:17        183:20 206:9          138:19 307:22
     altogether 52:11     answer 16:22 17:5       218:14,18 228:5     approach 100:21
       75:23 101:23         17:7,13,20 18:25      236:9 239:10          182:15 195:1
       160:14               44:24 70:24 71:18     240:8 279:25          196:3
     amended 156:1          72:2 77:24 101:6      288:1 295:11        approaching
     american 7:16          104:1 134:4,18,25   apologize 28:11         253:23
       80:14 125:24         148:25 166:18         40:22 138:23

                                                                                    Page 5
                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 323
                                                          Page
                                                            of 379
                                                                379PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21943#:
                                      1663
    [appropriate - attorney]

     appropriate 70:5       articles 29:19 88:1    aspects 163:8         athletes 26:20
       81:15 93:23            92:1,18 93:7,10,12     232:13 278:19,22      28:18 121:9,13
       104:11 170:25          93:15,21 99:23,23      279:15                178:16,19
       171:1 190:8,15         114:9 153:24         assertion 213:4       athletic 121:9
       268:13 289:19          204:3 220:6,8,12     asserts 177:18          160:25 161:6
     approximate              220:13,15,19,21      assess 160:13           162:4 177:25
       61:19 81:21            221:2,12,17,20       assessment 123:16       178:13 222:12
     approximately            222:10,22,23           188:23 189:10         223:6,18 272:7,17
       72:10 74:13 75:1       223:17,22 224:5        216:21                273:5,17
       76:4 87:7,15           224:12,16            assessments 51:2      athleticism 224:3
       105:9 112:18         articulated 157:19     assigned 18:14,20       224:4 232:12
       113:10 151:7           159:15 160:6           70:3 172:20 173:7   athletics 26:17,23
     approximation            165:11                 173:21 180:5          27:6,12,16 103:20
       285:9                arts 38:14,16,22         273:5,16              109:9 118:22
     april 64:14 123:14       39:1,8,25 40:16      assignments 68:10       121:2,7 125:11
     archives 112:25        aside 198:16 224:4     assimilate 276:5        130:12 169:14
     area 139:15              283:3                assist 36:10          attached 32:17
       148:23               asked 17:18 77:17      assistant 40:9,11       34:13 138:24
     areas 303:1              102:17 104:8           40:19 41:4,24         139:8 146:1
     argument 160:16          124:1,5,7 128:23       55:24 56:9,11         176:12 186:25
     arguments 91:1           133:10 138:4,6         57:3                  190:22 227:10
     arin 227:18              147:4 148:18         associated 108:9        230:12 235:7
     arises 301:9             157:5 159:21,22        144:14,15 146:10      239:2 243:25
     armistead 1:17           160:23 161:7           228:22 229:18         247:15 250:8
       2:17 155:9             162:2 171:5 178:6      233:3 236:15          254:12 259:14
     armistead's 156:2        178:10,14 183:8        237:3 240:19          261:25 265:18
     arrived 88:7             207:3 223:9,19         273:4,16 285:4        268:5 274:11
     article 10:1,3           224:2 248:18         association 10:9        286:17 312:8
       12:10 89:17 90:2       261:13 271:10          96:17 125:25        attacking 289:11
       90:5 91:3 94:19        282:10                 126:3 128:1,17,18   attempt 216:22
       94:23 95:9,13,24     asking 30:25 60:5        128:23 202:21       attempted 10:11
       96:10,14,19 97:15      77:11 82:15 98:18      228:2,13 230:2        230:4 233:4 253:2
       97:21,22 98:6          126:19 134:21,22       240:6 250:23        attention 187:14
       99:7 101:1,10          160:11 162:19          287:12 293:15,16      194:18 231:23
       102:3,4,5,10,12,20     164:25 165:14        assume 17:13 90:1       241:7,8 262:24
       102:24 106:7           169:3 181:11,19        99:15,20 118:2,13     302:18
       191:1,1,8 192:4        190:12 206:8           123:24 129:2        attorney 3:7,14,16
       220:25 222:4           211:5 229:8            130:18 183:18         4:8 6:20 7:8 14:19
       240:10 247:6           247:20 309:9           200:11 214:2          16:2,6 30:10
       265:13 266:5         asks 148:23 149:1        247:7 287:7,8         133:8 134:3,18,21
       302:9,14,17            177:9                  292:13                313:16

                                                                                      Page 6
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 324
                                                          Page
                                                            of 379
                                                                380PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21944#:
                                      1664
    [attorneys - barham]

     attorneys 4:19          236:20 246:17          166:15 174:20        288:23 305:5,11
       5:12 6:9 30:8,9       270:18 277:14          176:6 178:15        background
       32:3 34:5 35:19       287:8 302:14           182:22 183:2,3       102:16 116:22
       134:5               authoring 36:10          186:1,4 189:14,17    135:22
     attracted 141:19        87:8,16 100:22         196:13,16 200:3,9   bailey 4:6 7:6
       141:20 189:22         112:19                 201:18,19,22,24      109:14,17 110:9
       309:12              authority 256:2          202:25 203:4,5       111:18 129:21
     attraction 76:2,3     authors 108:12,17        219:15 221:8        baileywyant.com
       141:12 188:13,14      116:20 186:13          222:17 225:5         4:12 7:12
     attributable 237:7      231:24 235:17          226:22 227:1        bain 119:2
       242:15                246:4 247:25           228:21 229:16,21    balance 161:19
     attributed 237:7        248:18 250:11          229:24 230:1         165:20
     atypical 59:18          251:16 257:24          233:1,6,9 234:23    ban 174:3,16
       60:4 61:25 63:13      258:4 259:4,20,25      236:14,18,21         295:1
       63:20,23 68:9,13      270:2                  238:17 240:17       banned 291:18
       87:21,22 99:10      autogynephilia           243:16 246:12,18    banning 291:15
       105:14,15 122:15      91:7,20,22 101:3,6     249:14,18,25         298:14
       122:16 139:15,16      129:10,15 142:1,3      251:10,21 256:1     bans 174:4
       139:23 140:11,12      142:21 143:4,9,17      257:12 264:15       barely 278:2,3
       142:6 147:25          144:7,23 145:9         265:12 267:14       barham 6:5 9:7
       149:7 188:25          170:12                 270:17 272:6,15      14:21,21 25:12
     atypically 309:24     autogynephilic           273:3 276:1 297:6    26:14,24 27:14
     audience 110:14         128:2 142:22         awesome 122:9          28:8,23 32:18
       129:9               automatically                   b             33:2 35:2,12
     augmenting 280:3        101:20 298:18                               43:25 44:23 57:13
                                                  b 56:17 156:1
     august 125:17         available 174:3                               57:20 60:25 63:8
                                                    315:1
       127:22 266:1,23       181:8 195:14                                65:13 70:13 77:6
                                                  b.p.j. 1:6 2:6 5:3
       287:5                 203:9 230:20                                82:24 85:4 103:15
                                                    13:8 16:7 19:13
     author 33:13          avenue 3:17                                   104:17 121:19
                                                    154:5 304:12
       34:24 36:8 94:23      292:16                                      124:3 133:18
                                                  b.p.j.'s 154:15,23
       96:19 98:2 99:24    average 50:10,12                              134:15,25 136:25
                                                    155:1 177:1
       100:13 146:18         61:20 68:3 76:5,7                           142:11 159:7,18
                                                  back 23:14 50:6
       170:18 176:21         110:6,15 180:1                              160:21 161:14
                                                    50:20 51:12 57:17
       270:2                 256:6                                       164:18 167:12
                                                    58:2 93:13 107:21
     author's 254:21       awarded 116:2                                 171:5 173:2,10,23
                                                    122:1 123:11
       255:1                 119:23                                      173:25 174:18
                                                    130:23 137:11,14
     authored 87:4         awarding 120:9                                175:22 193:11
                                                    151:21 152:19
       88:18 95:24 105:6   awards 115:7                                  197:24 198:4,19
                                                    166:18 185:17
       107:12 187:8        aware 19:24 95:2                              206:6 207:3
                                                    200:10 201:10
       191:6 192:4           117:23 152:18                               208:14,22,24
                                                    212:9 266:9
       229:23 233:8          159:20 163:17                               210:7 211:13
                                                    274:22 284:3

                                                                                    Page 7
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 325
                                                          Page
                                                            of 379
                                                                381PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21945#:
                                      1665
    [barham - board]

       222:14 223:8          156:8 181:24        belong 309:11           43:16 45:4 50:17
       225:3 229:13          212:10 218:15       belongs 209:4           51:8 54:1 93:12
       234:12 239:8,12       274:23 289:10       beneficial 264:12       98:19 107:18
       242:8 247:21          305:6               benefit 70:20           115:21 129:7
       272:10 273:7        beginnings 107:22       192:23                149:16 154:3
       274:13 282:17       begins 59:22          benefits 198:14         178:24 188:8,10
       283:6 293:11          191:13              best 17:24 31:16        189:20 288:9
       300:4,6,20 301:5    behalf 2:21 14:24       53:21 74:18 99:18     308:3 309:5
       301:21 304:6,14       15:2,5 311:4,11       110:17 124:18       bizarre 258:20
       304:24 306:5,13     behavior 113:1          145:14 161:16       blanchard 49:4,6
       307:20,24 308:5,8     175:3                 185:3 220:7           49:11 58:9,12
       308:10 310:1,21     behavioral 246:13       228:20 232:23         106:23 107:3
       314:1               behaviors 140:16        264:14                129:21 170:18
     barr 5:8 14:4,4         172:5 174:3         better 69:24 84:22    blaney 100:14
     bas 119:3             behaviours 47:21        104:4 152:22        blank 32:6
     base 206:5 210:12       48:8,17 49:17         188:2,2 193:9,21    bled 85:20 119:13
       211:22                59:5 64:11 73:11      206:23 208:5        blend 43:2
     based 59:17 215:8       149:8                 252:18              blended 39:15
       225:5 264:2         belief 303:20         beyond 31:11,19         42:17
     bases 52:18           believe 14:15           31:24 39:16 45:17   block 7:17 14:12
     basic 209:18 276:7      22:15 33:21 36:20     51:17 62:11           14:12
       276:17                38:18 87:3 95:22      144:16 183:2        blocker 196:21
     basis 157:21            115:22 122:18         211:8 256:1         blockers 175:7
       159:16 160:8          127:17 135:12         294:18 305:16         194:12 197:3,6
       164:17,20 165:13      136:18 147:1        bigger 270:14           237:11,16 238:1
       165:15 181:14         160:19 162:20       bill 12:7 275:14,18   blocking 196:12
       209:13 211:10         164:14,15 175:19      278:8 281:15          196:17,25 197:11
       213:4 214:12          177:11 190:6,13     binary 292:2,18         298:8,9
       215:7,14 219:4        235:5 238:21          302:21              blog 187:3,6
       222:19 251:19         253:11,13 255:15    binder 308:6            207:11,12 213:6
       279:1 280:18          259:17 267:19       binik 56:14,17,19       213:17 215:18
     bdsm 21:20              273:23 275:3        biological 104:12       286:22 287:2,3,4,8
     bearing 16:9            284:12 288:10         104:12                287:8 297:10,16
     becau 249:21            289:21,23 290:17    biologically            297:20 298:2
     becoming 91:23          291:5 298:14,20       144:15                302:9 303:12
       195:17 216:12         310:1               birth 18:15,21        board 1:9,10 2:9
       277:5               believed 307:6          61:12 172:20          2:10 4:3 6:16 7:3
     began 40:9 41:14      believes 293:21         173:8,21 257:4        13:9 14:25 15:3
       59:17 251:19        believing 211:10        273:5,16              112:25 113:4,6,11
     beginning 2:22        bell 287:14           bit 17:3 18:10          114:2 285:24
       58:3 122:2 151:22                           32:23 36:23 42:19     289:7 290:1,6

                                                                                    Page 8
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 326
                                                          Page
                                                            of 379
                                                                382PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21946#:
                                      1666
    [board - care]

       291:14 294:21        branch 245:22         call 16:5 63:25         30:20,23 31:4,6
       311:8,12 314:4       break 17:16,17,21       64:3 93:21 94:11      33:5 34:2,14
       316:1                  57:15,17,19 58:7      94:22 99:21 102:9     35:14 36:25 40:25
     body 10:21 196:20        103:10,12 121:18      128:13 157:16         58:7 72:2 88:18
       238:18 240:19          146:3 151:15          165:8 195:16          89:11 90:17 119:2
     boman 255:5              152:3,4 199:15        209:17,21 240:21      122:6 137:21
     book 90:10 99:17         212:1 273:11          240:22 256:24         146:5,12 147:14
       100:3,3,5 109:13       274:13,15 275:4       298:23                152:2 162:18
       109:17,21 110:2,7      304:19,23 310:22    called 45:10 56:22      166:22 176:18
       110:9,21 111:1,7,9   breast 279:22           91:6 94:15 101:21     187:4 190:6 191:9
       111:14,24              280:3                 183:14 202:8          194:6 196:12
     borelli 4:17 13:25     breasts 279:22          209:17 248:21         197:19 205:20
       13:25                breland 227:18          252:15 253:20         206:11 208:11
     born 161:5 164:8       bridgeport 6:22         298:19 299:17         212:14 219:11
       164:9 174:4,5        brief 124:22          calling 251:20          227:13 230:14
     bos 246:3              briefly 30:16         calls 134:3,16          235:10 237:9
     boston 5:15 38:17        75:24                 157:20 159:15         242:5 271:14
       40:7,20,20,21 41:3   bring 32:5              160:7 165:12          274:15 275:3
       41:12,17 306:22      broad 7:18 300:13     camera 17:2             284:11 300:18
     botch 42:3             broadly 27:24         camh 47:4,6,7,8         304:21 305:10,23
     bother 85:25             93:17 139:22          47:10,13 49:4,24      306:7 307:18
     bottle 32:9,10           148:12 281:3,6        51:24 52:1 57:11      308:11 310:5
     bottom 112:13            283:14,17 284:13      59:2,4,9 62:6         311:19 312:5,16
       164:13,15 199:24       299:23                64:16 67:24 68:24     314:5 316:2
       240:9 263:13         brooks 135:12           79:16 82:15,21      cantor's 35:7,9
       266:1 269:24           136:19,21             83:22 84:2 86:13      96:10 166:18
       289:3 291:6,23       bränström 193:14        88:7 108:14,15        284:3
       305:18               built 51:13             130:24 150:1,18     capable 216:23
     boulevard 6:21         burch 1:12 2:12         151:9 183:19,21     capacity 1:12,13
     boy 110:1                4:4 7:4 15:4          307:16                2:12,13 201:6
     boylston 5:13            311:13              campbell 73:3,6         204:19 294:11,12
     boys 273:21,23,24      button 274:12         canada 53:11          capital 225:25
       273:24                         c             71:19 125:25        capture 211:2
     bpj 314:4 316:1                                126:3,6 181:21      captured 18:4
                            c 6:5 16:15,15
     bradley 107:12                                 194:7,11            captures 224:5
                              47:10 156:2
     brain 45:9 48:3                              canadian 71:22        care 10:7 11:2
                              225:16 237:19
       59:17,22 60:2,3,8                            80:12                 19:2,3,3,4,9,9,11
                              314:1
       60:15,19 61:12,25                          cantor 1:20 2:20        20:5,6 77:1,5,9,23
                            ca 314:9,12,20
       115:12,16 116:14                             9:3,12,15,20 13:7     78:3,6,17,22,25
                            calculate 110:15
       116:22 120:21                                15:19,25 16:14,17     79:4,8 80:4 86:19
                            california 3:17
       196:19,19 254:22                             20:8 28:13 29:2       131:23 183:11
                              313:4

                                                                                     Page 9
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 327
                                                          Page
                                                            of 379
                                                                383PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21947#:
                                      1667
    [care - childhood]

       200:20 203:2,9,21      284:12 304:11         212:24 214:18       chapter 90:8 92:6
       203:24 204:5,22        306:21 307:2,12     ceased 85:23            92:7,11 97:10
       205:1,4,16 226:24      309:20,23             215:21 216:5          98:8,10,12,13,15
       227:4 228:22         cases 21:12,14,22     cecilia 255:5           99:12,15 100:5,7
       229:2,4,6,9,10,17      21:23 23:9,12,15    center 41:13,19         100:14,22
       229:18 243:19          23:17 24:2,4,8,9    centre 47:1,4 74:5    chapters 100:3
       246:24 249:24,24       24:16 25:9,17,20      74:8 76:18 77:12    charge 294:20
       256:19 260:23          25:22 26:2 27:16      77:19,25            charleston 1:3 2:3
       281:18 299:13          28:2 110:11 111:1   certain 80:20           3:10,18 4:11 7:11
       307:10,13,15           111:4 131:14          96:21 173:13          13:11
       309:24                 137:4 212:20          183:5 222:7 245:4   chavez 119:3
     career 36:15,21          216:12 217:11       certainly 83:25       check 95:7,16
       79:16 114:17         catch 28:9              129:20 174:21         102:18 103:8
       148:7,14 220:14      categories 296:10       277:2 302:5           118:9,20 199:13
       221:17 306:15          308:18,19 309:15    certificate 48:22       224:20 233:24
     careers 58:22            309:16              certified 2:24          260:3
     carmichael 248:2       categorization          313:3               checking 77:15
     carrie 232:1             309:8               certify 313:5,14        88:18 114:25
     carry 109:4            categorize 25:5       cesalie 227:18        checks 68:19
     case 13:11 19:14         144:5               chain 293:13,24       cherry 245:7
       20:19,23 21:6,20     category 308:17       chakravarty             277:18
       22:3,4,5,7,14,17       310:10                117:8 119:3         chicago 128:1
       22:18,20 23:4,24     catie 6:6             challenge 302:20      chief 113:1,7
       24:13 29:3 32:2      causal 234:21         chance 21:5 311:1     child 37:15 39:9
       44:9 81:15 103:23      301:23              change 66:19,23         39:18,21 42:15,17
       104:5,7,10,24        causality 233:21        84:8 86:5 128:3       43:2 50:3,4,21,22
       131:11,16 133:2,3      244:24                144:1 193:2 280:2     59:20 60:23 69:4
       133:10,23 134:1      causation 244:14        316:4,7,10,13,16      72:4,5,5 117:3,5
       135:17,21,25           244:20                316:19                117:15 168:1,2
       137:3,5,6,8,9,18     caused 83:12,22       changed 64:20           179:5,8 218:10,20
       137:23,25 138:21       86:8 242:4 290:9      72:16 73:19 139:1     219:16 223:16
       138:22 139:2,3,5,6     297:7                 139:4,9 185:17,17     277:16 307:4,5,7
       139:10 152:5         caustic 277:4           192:6,8,10 193:4      309:2
       154:4 155:2,5,10     caution 71:20 85:4      195:15,16 222:25    child's 188:15
       156:15 157:25        cautious 183:24         253:3,4             childhood 51:4
       199:21 202:1         caveat 222:6          changes 120:17          59:25 60:17,18,19
       205:14 221:21          249:20                206:14 242:16         60:21 61:17 65:19
       222:18 223:1,3,13    cc'ing 295:6            266:6 279:20          69:15 92:21
       232:8,12 262:7,12    ccp 314:9,12            280:1                 102:14 110:24,25
       262:17,19 263:9      cease 168:1 191:18    changing 189:21         169:16 170:11
       265:10 283:20          191:22 206:13                               172:3,8,16 308:13

                                                                                    Page 10
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 328
                                                          Page
                                                            of 379
                                                                384PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21948#:
                                      1668
    [childhood - collection]

       309:23               chunks 101:8          clarifying 97:19       clinician 49:9
     children 11:21,24      circulated 171:14     clarity 41:20            180:6
       25:23,24 26:9,11       192:12              classic 220:15,15      clinician's 125:22
       42:23 54:8 60:12     circulating 174:13    classification         clinicians 68:16
       61:4,7,10,16 65:11   circumstances           143:1                  75:8,16,21 127:6
       65:16,22 68:25         297:4               classifications          211:20 225:18,22
       88:17 93:2,3         cisgender 11:3          168:12                 226:14
       98:22 102:5            18:13 189:1         classified 142:25      clinics 48:11 49:21
       106:11 107:8           222:12 223:6        clayton 1:12 2:12        107:23 182:13
       109:8,19,20,21         243:20 246:15       clean 16:20              194:10 195:17,20
       110:16 111:2           271:17 272:3        clear 17:12 138:23       195:22 215:22
       112:7 118:22         citations 248:22        142:1 159:11           217:16 253:24
       121:2 125:6,8,10     cite 160:15 213:7       183:1 223:21         close 210:23 303:6
       127:14 130:8,11        220:6 233:11,13     clearly 40:25          closely 272:23
       132:13 141:12,20       233:22 236:23       client 75:10 78:11       274:5
       175:13,20 176:4        237:1 247:17          134:3,18,21 154:8    closer 211:3
       179:11 181:15          255:14,21 260:5     clients 54:25 78:9       307:21
       182:19 184:13          261:1 267:18          78:13 131:9 132:2    closet 107:16
       194:11 196:6         cited 31:20 170:9       211:21 237:8         coauthored 87:4
       212:23 213:23          170:14,21,21        climate 302:23           97:15 105:7
       215:8,15 223:23        186:17 193:7        clin 49:9              cochran 263:22
       224:6 259:19           204:4 213:5 220:8   clinic 47:20,22        code 314:9,12,19
       260:22 262:7,20        234:1,10 235:2        48:7,8,17 49:16,17     314:20
       264:5,6,12 265:24      244:5 271:4           54:5 59:5 64:11      cognitive 39:12,17
       308:23,23            citing 248:19           68:18 70:5,6,8         45:9 68:8,12
     children's 194:8       citizens 166:10         71:8 73:11 84:10     cohen 250:14,22
     choice 280:22          city 21:3 126:8         85:21 86:2,2           250:25
       281:1                  312:12                91:22 183:23         cohort 11:17
     choices 279:1          civil 7:16 314:19       194:8 246:23           251:11,22 255:11
       280:18                 314:20                307:14 309:21        colizzi 248:3
     chris 235:17           ckelley 6:12          clinical 42:6,7,14     collapse 298:18
     christal 235:18        claim 95:2,3            52:21 57:10 59:2     colleague 220:24
     chromosome               182:18 256:2          59:8 62:19,23        colleagues 62:24
       272:7,16             claimed 184:1           63:3 77:14,18          79:19,21 82:15,16
     chromosomes            claims 95:7 268:19      110:22 130:24          108:14
       274:1                clarification 39:2      147:23 148:5,6       collect 95:11
     chronological 53:6       79:23                 150:1 180:21         collecting 94:3
     chronologically        clarify 19:8 83:20      238:10                 186:15
       119:12,13 154:2        109:3 110:21        clinically 238:12      collection 117:13
     chuan 117:1              152:6 163:9           309:9                  210:19


                                                                                    Page 11
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 329
                                                          Page
                                                            of 379
                                                                385PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21949#:
                                      1669
    [college - confidentiality]

     college 178:16,19      comments 114:7        complaint 156:1       conclude 192:21
       310:10                 205:18 297:15,17    complete 36:25          305:15 310:21
     collin 227:18          commission 1:11         38:13,16 41:4       concluded 264:1
     color 110:13             2:11 3:4 15:7         42:8 152:14,16      concludes 310:24
     column 257:19          committed 70:15       completed 52:10       conclusion 189:9
     come 29:20 54:4          71:4                  53:9 54:15 152:16     215:10 229:21
       57:17 69:24 81:11    common 89:14            314:7,17 315:6        234:21 237:2
       82:6,10 83:15,17       147:4               completely 19:25        258:18,20,22
       90:10 104:25         commonly 18:10          73:9 283:16           259:1 266:24
       108:13 129:18,23       37:3 47:6 182:5     completing 40:15        293:5
       152:18 171:24          219:23 221:4        completion 21:21      conclusions
       179:20,22 180:11     communicate             315:10                157:17 165:9
       180:16 181:11          278:1,5             complex 66:1            224:18,19,23
       216:25 220:16        communicated            73:10                 225:1 233:18
       221:9 229:25           217:3 251:2         complicated 91:18       264:10
       230:25 233:18        communication           163:5,6 189:20,23   concretely 300:10
       293:3,5 299:17         134:16                190:1,2             conditions 20:22
       309:23               communications        complication          conduct 31:23
     comes 130:1 144:2        29:9 134:5,22         190:4,5               37:21 38:3 39:20
       199:3 221:6 309:8      135:14              component 76:16         40:3 52:23 55:18
     coming 67:23           community 12:4        components 195:1        57:4 61:9 108:13
       72:11,12 75:5          210:6 264:9           225:21 226:13,18      152:23 182:23
       84:19,21 107:16        267:16                273:11,22             209:10 284:21
       114:1 116:8          comparable            comprehensive         conducted 30:2
       206:17 221:8           150:15                114:19 130:22         45:18,18 95:6
       308:25 309:20        compare 111:14          223:22,25             98:25 201:16
     comma 266:6              273:21,22           computer 37:9           209:2 227:17
     comment 25:1           compared 11:3         concedes 264:10         236:3,7 239:17
       105:12 106:6,7,10      243:19 246:15       concentrated            246:1 255:4
       113:4,18               256:11,17 257:11      156:12                261:10 262:17
     commentaries             264:6 277:14        concentrations          266:16 269:18
       105:6,10 106:3       comparison 253:6        37:9                conducting 48:12
       109:12 224:22        comparisons 99:9      conception 59:23        74:8
     commentary             competitive           concepts 189:15       confer 304:19
       106:5,14,18            300:19,23 301:19    concern 70:23         conference 124:13
       107:19 113:25          302:3 303:8,13      concerned 44:21         130:5 221:7
       225:9                competitors           concerning 38:3       conferences 221:7
     commented 265:6          165:24                40:3 86:13 89:17    confidential 82:25
     commenting             compilation           concerns 89:25          85:5
       105:15 113:20,21       102:20              concierge 8:4         confidentiality
       113:23                                                             71:21

                                                                                   Page 12
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 330
                                                          Page
                                                            of 379
                                                                386PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21950#:
                                      1670
    [confirm - correct]

     confirm 230:15        consistently          continued 4:1 5:1     convey 99:13
       305:16                206:20 300:10         6:1 7:1 8:1 46:25   cool 41:2
     confirming 19:3       constant 74:19          47:23,23 54:25      cooley 5:4 14:3,5,7
     conflicts 200:24      consult 45:11           65:5 170:19           14:8,11
     confronted 276:4      consultation 199:9      188:16 222:24       cooley.com 5:17
       308:14              consulted 201:20        230:16 282:3          5:18,19,20,21,22
     confuse 128:17        contact 133:12          291:19                5:23
       172:7                 137:3 138:10        continues 59:23       copy 36:16 138:3
     confused 35:3           149:14,22 150:1       59:24 130:23          155:11 156:19
       173:17                154:8 210:13          223:4                 262:5
     conjunction 35:10       249:1,4 269:4       continuing 103:15     cordial 268:13
       76:20 136:9           314:9                 119:14,20 216:16    corner 277:21
     connected 61:25       contacted 133:4,8       225:13              correct 19:19
       89:17                 134:23 135:2,6      contradict 225:6        22:19 23:19 24:6
     connection 22:10        136:15,16,18        contradiction           24:7,11 26:2,4
       27:10 30:11 35:10     137:2,9,17,23         162:15                27:12 29:5 31:10
       93:15 117:24          138:6 266:22        contradictory           38:14,15,19,20
       136:16 137:22       contacting 111:21       225:7                 41:17,21,22 43:3,9
       153:14 162:21       contacts 199:7        contrary 224:14         48:8 50:23,24
       221:13 310:13       contained 94:25         224:18 225:1          53:11,16 54:14,21
     connections             114:9 124:20        contrast 172:17         54:25 57:8,12
       227:23                263:24 312:9        contribute 104:8        58:10 59:4 62:7
     connectomics          contains 161:1        contributing            62:10 64:14,23
       115:13              content 260:3           143:21 144:3          65:6,8,24 66:3,5
     consent 197:3,6         293:20,21 297:12    contribution            66:14 69:16 73:24
       198:7,11            context 83:19           102:24 103:3,6        74:5 75:19 76:14
     conservative            128:16 146:13       control 237:10,15       76:21,24 77:25
       194:10 195:18         159:21 184:19         237:25 238:14         78:5 79:7 80:2
     consider 91:14          185:23 255:16         252:4,11 255:24       81:9 82:17 83:11
       100:10 215:12         277:11,12,13          256:4,7,21,25         86:4,16 88:19
       263:3                 282:18,19 283:16      257:3 258:1,6         94:17,20 95:20,25
     considered 195:2        299:16 301:16         297:12                96:17,24 100:14
       292:15              contexts 93:17        controversial           100:15 101:4,13
     considering             94:1 139:22           111:12                101:18 102:1
       278:10,14,24        continue 91:13        conventions             103:1,21 107:13
       280:16                116:9 119:18          263:21 264:17,22      107:16 108:11
     consisted 256:8         120:7 156:21        conversation 9:19       109:6 115:2,5
     consistent 158:18       169:16 191:20         146:11 259:18         116:3,6,10 118:3
       158:22 174:10         215:19 295:12       conversations           119:24 120:6,10
       175:8                 300:12                152:3 198:23          121:15 122:11
                                                   211:8                 123:25 124:8

                                                                                   Page 13
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 331
                                                          Page
                                                            of 379
                                                                387PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21951#:
                                      1671
    [correct - couple]

       125:25 126:21          286:23 287:5,6        30:5,18,21 31:2,5      230:8,13 234:16
       128:3 130:6,10,13      290:22,23 291:19      32:18,20,25 33:3,4     234:22 235:4,8
       130:21 131:21          292:16 296:16         34:14,14,17 35:2,6     238:24 239:4,8,10
       132:9,10 135:8,9       297:11,18,19          35:13 40:22,24         239:15 241:21
       135:18 139:12          299:4 302:15,16       44:14 45:5 46:3        242:11 243:22
       140:23 141:9           303:15 306:14         47:9,11 57:13,16       244:3 245:1,18
       142:12 143:15          312:10                57:21 58:6 61:3        247:12,16,24
       148:14 150:21        corrected 36:17         61:18 63:15 64:9       250:5,10 254:8,13
       152:8,12 154:11        312:10                65:20 71:1,13,23       259:10,16 261:21
       154:14 160:13        correcting 260:19       71:23 72:1 77:8        262:1 265:15,19
       161:23,24 163:21       266:5                 83:8 85:6 86:17        268:1,6 272:14,24
       163:25 167:11,15     correction 265:8,9      86:23 96:7,9,12,13     273:13 274:2,8,14
       168:12,23 170:22       265:12                103:8,10,14,16,17      275:1,2 282:2,5,5
       171:4 173:4,22       corrections 312:7       104:3 105:2            282:9,24 283:12
       175:3 179:6,9,17       314:14,15 315:3,4     112:11 120:5           284:2,8,10 286:13
       181:1,2 182:5        correctly 123:18        121:17,20 122:5        286:18 293:22
       184:3,10 187:9,10      128:4 147:11,16       124:6 133:19           296:23 299:10
       187:12 192:14          149:10 157:22         134:6,7,10,20          300:17 301:1,13
       193:12,13,25           182:2 213:2           135:3,14 137:10        302:1,7,13 304:1,9
       195:4 197:1,4,8,12     255:12 264:13         137:15,20 142:13       304:18,20,25
       197:18,20,23           267:3 279:6           146:2,4 151:14         305:9,22 306:1
       198:3,5,12 200:22      281:23 286:1          152:1,4 158:20         307:17,21 309:18
       200:23 201:4,7,11      287:23 303:10         159:10 160:2,17        310:15,19,24
       201:14 203:22        correlation 233:21      161:11,22 162:17       314:18,21 315:7
       204:15,24 205:6      correlations            164:5,24 166:17      counseling 79:9
       205:18 207:22          233:20                166:21 167:16          179:11 180:16
       209:25 213:18        cosmetic 279:20         171:9 172:18,23        181:1
       215:9 221:15           279:20 280:1,2        173:5,18 174:7,22    count 21:20 88:14
       225:9,10 227:19      costa 193:20,24         175:4,18 176:1,8       149:15,24 150:6
       227:25 228:17          237:17 238:13         176:13 187:2           220:7,10 295:18
       235:15 236:25          247:6 248:1           190:18,24 191:3,5    counting 87:9
       237:13 238:2         couching 127:4          193:13,16 198:1,6      150:13,14
       240:3 245:24         counsel 4:4 7:4 9:6     199:1,12,17,18       countries 216:16
       246:3 247:2,10         13:18,20,22,23        206:9,9,10 207:8       225:19 226:9
       248:9 253:15           14:15,22 15:24        208:17 209:12        country 175:8
       254:18 255:14          16:6,23 17:4          210:2,11 211:16        303:20 304:4,13
       256:15,20 257:7        18:24 19:10 24:14     211:25 212:13        county 1:10,14
       258:8,20 261:5         24:15,17 25:9,14      219:8,9,10 223:2       2:10,14 6:16
       262:15 266:7,8         26:16 27:3,18         223:11 224:11          14:25 22:16 311:8
       270:5,6,15 280:12      28:11,15,16,19,21     225:8,24 226:1       couple 110:16,17
       284:17,18 286:7,8      28:24 29:1,10         227:6,11 229:14        307:3

                                                                                     Page 14
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 332
                                                          Page
                                                            of 379
                                                                388PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21952#:
                                      1672
    [couples - decision]

     couples 54:19           268:5 274:11          150:19 168:14        dated 35:11
       55:12                 284:2 286:17          196:4 204:25           136:10,11 137:8
     courage 292:8           306:22 307:24,24      205:8,16 206:2         177:1 290:21
     course 21:2 33:18     courtesy 289:19         207:1,20               313:19
       36:14,21 39:12,16   courts 161:18         custody 306:22         dave 8:7 13:14
       43:7,15,17 44:13    covariance 252:19       307:4                  44:1 219:5
       51:4 55:1 56:20       252:20              cut 24:21 189:4        david 3:15 14:18
       57:1,6,7,8 59:23    cover 130:25          cutoffs 20:20            30:19 227:18
       59:24,25 94:7       covered 52:18           184:21               david.c.tryon 3:20
       114:16 116:21         142:15              cutting 171:21         davis 232:1
       120:1 131:11        covid 123:24          cv 1:8 2:8 13:12       day 73:18,18
       148:14 154:7        coworkers 73:17         36:7,16 41:6,14,21     216:3,10 277:22
       156:11 161:3        crawford 261:2,8        53:2 86:24 88:13       312:11
       164:23 221:17         266:19                90:10 92:19 96:10    days 107:20
       277:11 281:9        created 33:17 34:3      97:3 102:3 105:4       140:20 222:1
       285:12                35:15,17 36:13        112:15 113:9           277:5 284:25
     courses 37:14,25        164:22                114:12 122:7         de 225:22 226:15
       39:8,11,17,25       credentials 24:25       130:15 306:9           246:3 250:1,12,20
       42:15,16 43:2,11    criterion 300:9       cycle 196:22             250:24 253:7,7,10
       43:13,14,23 44:4    critical 123:15                d               278:13
       51:9,13,14,17,23      268:18,25                                  dead 123:15
                                                 d 225:25
       51:24,25 56:13,14   criticisms 241:6                             deal 21:14 68:14
                                                 dane 254:22
       56:16,18,23         cropp 6:19 14:24                               75:9 173:12
                                                 danish 254:23
     court 1:1 2:1           14:24 311:7,7                                288:16
                                                   256:6
       13:10,16 16:20      cross 22:4,18                                dealing 65:18
                                                 data 45:12 63:1
       18:1,4 19:19 21:2     79:25 80:10 82:12                            308:14
                                                   69:9 94:3 95:11
       22:14 23:3,4,5,6      102:14 175:8                               deals 51:20 89:2
                                                   99:4 117:13 127:7
       23:10,13,16 28:12     194:13 197:19                              debate 275:17
                                                   166:25 167:1
       32:17 34:13 47:9      198:8,11,14,18                               288:22 290:2
                                                   169:20 186:15
       69:20 137:10          199:3 303:20                                 291:20 294:3
                                                   195:14 224:14,24
       146:1 161:19          304:4,13                                     295:25
                                                   225:5 244:13,19
       166:17 176:12       csr 1:23 313:25                              debates 294:1
                                                   260:18,21 261:7
       186:25 190:22       curiosities 46:8                             debating 288:18
                                                   261:11 264:3
       191:3 225:24        current 36:22                                decade 283:11
                                                   265:2 266:20
       227:10 230:12         52:19 97:9 119:21                          december 53:16
                                                 date 33:20,22,25
       235:7 237:18          151:1,4 191:16                               62:9 240:12
                                                   84:1 97:18 119:4
       239:2 243:25          203:11,11,13                               dechants 231:25
                                                   124:11,12 136:13
       247:15 250:8          248:15 302:23                              decide 281:8
                                                   137:7 153:2 236:4
       254:12 259:14         307:13                                     decision 81:7
                                                   286:10 313:17
       261:18,25 262:5     currently 74:7,15                              85:17 95:16
                                                   314:16 315:5
       264:16 265:18         140:7,8 141:24                               161:21 163:16,24
                                                   316:24

                                                                                   Page 15
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 333
                                                          Page
                                                            of 379
                                                                389PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21953#:
                                      1673
    [decision - development]

       176:3 214:17          182:10,15,18,25       30:24 31:7,12,24    desire 144:1,14
     deck 306:10             183:6,17,22 184:1     137:5 152:7,10,24   desist 206:22
     declaration 9:12        184:6,12 213:25       230:18 231:6,7        210:5 212:24
       9:15 136:8,11,17      214:24 215:1          310:22 314:19,22      216:1
       137:24 138:25         216:18 217:8          314:24 315:8,10     desistance 184:18
       139:9 155:1,4,13    demeules 259:21       depression 10:10        185:1,11,23 186:2
       156:2,6,14          demographic             12:4 54:13 218:10     234:5
     declarations 31:17      167:24                218:21 219:16       desisted 208:9
     declare 312:5         demographics            228:24 229:19       despite 241:2
     decreased 236:15        256:24                230:3 233:4           298:7
       237:3               demonstrate             236:16 237:4        detail 157:13
     deemed 288:11,12        170:10 292:13         267:16 271:17         165:5 217:22
       289:18              demonstrated            272:1                 262:22
     defamatory              193:18              depressions 54:6      details 25:13 32:7
       289:15              demonstrates          depth 93:12 148:1       73:12 98:3 201:18
     defendant 1:18          169:7                 186:9                 257:7
       2:18 9:23 21:7      demonstrating         der 243:17 244:2      determination
     defendants 1:16         226:8                 245:24 246:2          188:8
       2:16 6:16 14:25     deny 182:21             253:16,19           determine 25:1
     defending 6:4           183:14 184:4        derived 224:23,23       158:1 173:20
       14:22,23 15:12      depart 263:20         derogatory 289:13       202:7 310:9
       134:24                264:17,21           describe 39:11        determined
     defense 30:5 306:1    department 4:5          42:19 43:16 46:4      314:18,22 315:7
     define 210:24           7:5 11:24 53:13       47:12 69:6 71:14    detract 162:13
     definitely 164:25       55:24 65:2 262:7      75:20 93:14,20      detransitioned
     definition 140:17     department's            98:18 110:18          198:21 199:4
       174:20 185:1,3        263:3,9               116:13 135:24       develop 59:25
     definitions 184:25    departments 65:2        144:10,24 145:5       63:20,22 166:6
     degree 37:14,25         65:3                  188:2 195:3 288:9     218:11,22 219:17
       38:25 40:15 42:1    depend 279:11           307:1               developed 104:24
       42:5,9,14 44:16     depending 149:15      described 73:21         195:14 202:3,13
       46:24 56:2          depends 61:1            110:16,16 144:10      202:18 205:8,17
     degrees 52:13           142:25 188:22         144:16 183:2        developing 201:17
     del 5:6 14:10,11        299:16                251:17 265:10         201:21
     delaying 79:2,25      deposed 20:7,15       describes 110:12      development
       80:9 82:4,11          21:10 22:7 23:9     describing 109:18       39:13,17 45:9,10
       132:12              deposition 1:19         110:10 161:2          48:3 59:18,22
     delays 85:24            2:20 13:7,13          188:21                60:2,4 61:12,25
     deleterious 243:9       14:23 18:12,18      description 9:11        64:3,4 115:17
     demand 125:22           20:3 22:11 29:6     design 42:16            169:8 201:9,12
       181:4,12,15 182:7     29:11 30:11,15,20                           204:22 205:4

                                                                                  Page 16
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 334
                                                          Page
                                                            of 379
                                                                390PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21954#:
                                      1674
    [device - document]

     device 280:3          differently 283:10    discount 293:19       disrespectful
     dhejne 254:17           283:13              discourages             288:11,13
       255:2,2,3,5 256:1   differs 35:4            175:13,19           disrupt 307:23
       256:5,11            difficult 149:24      discourteous          dissatisfaction
     diagnosable 21:1        253:6 308:3           289:10                10:21 238:18
     diagnosed 89:4        dilemma 125:23        discover 116:17         240:19
       179:4               direct 31:3 77:23     discovered 267:22     dissemination
     diagnoses 144:5         108:4 154:7         discuss 32:2            284:21
     diagnosis 20:21         166:13 172:14         161:12 198:23       distinct 189:15
       141:13,14,17,18       217:1 253:5           304:21              distinction 150:17
       180:2,4,6 188:22      293:15              discussed 119:11      district 1:1,2 2:1,2
     diagnostic 20:20      direction 110:19        174:25 220:17         13:10,10 262:5,6
     diana 227:17            178:20 313:12         269:5 302:25        diverse 88:17
     dice 242:1 245:10     directly 61:5         discusses 167:4,7     divided 273:24
     differ 185:12           68:25 69:2 77:1       168:18 172:19       division 1:3 2:3
       257:25 258:6          108:22 162:3        discussing 188:13       13:11
     difference 64:24        172:4 174:2 184:7     306:17 307:9        divorcing 307:4
       72:18,21 106:17       258:10 267:5          308:11 310:14       doc 96:6
       106:20 169:6          278:23 295:4        discussion 167:10     doctor 9:20 81:1,8
       216:19 241:3,4      director 74:4,7         167:17 168:8,21     doctoral 40:10
       252:25 254:1          76:13                 171:2 172:24          44:3,5,10 47:15
     differences 162:4     directors 289:7         173:7 232:14,15       55:1 130:24
       170:1,7 240:25        290:1 294:21          291:13              doctorate 40:15
       254:5 264:4         disagree 195:9        discussions 285:20      42:1,5,8,14 44:16
       273:25                248:14 295:21         285:22                45:14 46:24 47:25
     different 23:4,5      disagreed 86:18       disingenuous            49:23 56:2
       56:12 59:7 72:12      291:14                282:21              doctors 198:17
       72:13 93:17,18,24   disagreeing           disorder 101:21         199:2
       93:25 94:1 99:10      296:19,20,22          101:22 107:15       document 32:14
       139:21,21,21        disagreement 83:4       141:18 211:12         32:19,25 33:1,6,7
       150:18 169:2,15       83:21,23 84:4       disorders 41:13,19      33:10,13,15,17,20
       182:8 183:8           86:7                  54:5,13 55:12         34:2,16,20,24 35:1
       184:20,21,21,24     disagreements           90:23 92:11 96:16     35:4,8,14,17 36:4
       184:25 185:10,16      82:20,23 83:2         101:11,17 102:6       36:8,11 68:19
       185:18 196:19,20      86:12                 117:6 141:23          136:7 137:7 139:1
       196:24 210:18       disagrees 264:9       displaced 85:14         146:9 148:22
       240:24 243:3,14     discipline 79:12      display 157:15          153:8 176:17,21
       244:18 253:23       disclose 82:25          165:7                 177:4,9 185:4
       277:11,12,13          134:21              disrespect 288:11       200:9 213:14
       279:24 294:1        disclosing 29:9       disrespected 292:4      262:22 265:20
       298:22 308:12         76:9                                        277:20

                                                                                   Page 17
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 335
                                                          Page
                                                            of 379
                                                                391PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21955#:
                                      1675
    [documents - early]

     documents 29:17          190:6 191:9 194:4     251:20,23 252:22     52:5,7 55:21 57:5
       31:13,14,15,19         194:6 196:12          253:9,10,12,14,20    58:17 79:1 88:12
       32:6 69:12 156:7       197:19 202:1         duties 66:7,9         89:18 90:3 91:24
       156:8                  205:20 206:11        dysfunctions 46:8     92:25 93:8 119:6
     doing 17:25 51:3,3       208:11 212:14        dysphoria 11:9        123:2 125:15
       62:22 102:19           219:11 227:13         18:11 19:5 58:21     143:24 145:12
       120:8 147:24           230:14 235:10         60:12,23 61:5,11     169:4,9 171:23
       149:25 154:21          237:9 242:5           63:6 69:1 83:10      180:10 190:7,14
       182:13,21 183:15       250:22,23 262:17      88:22 89:4,10        192:1 200:5
       184:16 209:5,8,15      263:8,19,22,22,23     90:1 91:4 92:4,13    213:23,24 215:8
       209:22 216:24          264:1,7,15,20         98:7,22 101:3        215:15 260:22
       223:1 230:17           271:14 274:15         105:22 107:24        271:15,25 281:1
       238:12                 275:3 284:3,11        110:11 115:9,14      283:23 288:17
     dominate 139:23          300:18 304:21         115:18 117:16                e
     dominic 269:19           305:10,23 306:7       127:19 130:9
                                                                       e 3:8 16:14,15
     donation 73:1,7          307:18 308:11         131:10,15,17,20
                                                                         181:19 182:3
     dora 1:13 2:13           310:5 311:19          132:8 144:6,12
                                                                         184:7 191:4 199:7
       6:17 15:1 311:8      draft 33:15 35:1        145:2 168:1,13,19
                                                                         200:14 217:4
     doreleijers 250:13     drafting 136:17         168:25 169:16,17
                                                                         220:24 225:25,25
     double 102:18            153:15 160:5          170:2,2,25 171:3
                                                                         232:7,9 251:2
     doug 116:25 118:6        221:25 234:18         171:18 173:14
                                                                         288:23 289:6
       119:2                dramatically            174:24 176:5
                                                                         290:7,19,25 291:2
     downloaded 240:2         59:24                 178:25 179:5,8,12
                                                                         291:7,17,20
       240:11               drawn 237:2             179:21 180:2,17
                                                                         292:12 295:4,14
     dozen 20:11,12         drew 147:7              181:16 182:19
                                                                         314:9,12 315:1
       21:13 81:22,23       drugs 196:13,24         184:13,19 186:3
                                                                         316:3,3,3
       88:14 170:8          dual 66:11,20           188:15,21 189:12
                                                                       earlier 120:23
     dozens 170:13          due 123:24 145:8        194:8 196:7
                                                                         139:14 141:25
       295:3,3,3,16,16,16     231:2 252:9,9         200:19 202:5
                                                                         143:3 152:9
     dr 13:7 15:25            283:21                205:25 206:25
                                                                         162:23 169:5
       16:14,17 20:8        dumb 147:14,19          207:19,25 209:23
                                                                         170:20 179:1,15
       28:13 29:2 30:20     dunsford 248:1          210:5 212:24,25
                                                                         184:9 192:25
       30:23 31:4,6,17      duphily 8:4             215:23 232:10,13
                                                                         193:21 199:7
       33:5 34:2,14 35:7      310:18                232:16 247:9
                                                                         216:12 245:2
       35:9,14 36:25        durwood 259:21          249:17 256:8
                                                                         251:9 253:13
       40:25 58:7 72:2      dutch 194:6,7,14        257:9,25 258:2,5,7
                                                                         259:18 299:12
       96:10 117:21           195:1,5,9,13,15,18    307:6 308:12,16
                                                                         306:17 307:9
       122:6 137:21           196:3 225:22          310:11,12
                                                                         308:11
       146:5,12 152:2         226:14 237:10,24     dysphoric 26:20
                                                                       early 50:14,18
       162:18 166:18,22       238:4 246:25          38:1,4,7 40:1,4
                                                                         76:10,11 78:12
       176:18 187:4           247:1 251:16,18       43:12 44:22 46:9
                                                                         200:18 277:22

                                                                                   Page 18
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 336
                                                          Page
                                                            of 379
                                                                392PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21956#:
                                      1676
    [early - establishing]

       308:15,16,19          efforts 60:10         encompass 27:11     entirely 85:18
       309:21                eight 20:17 78:18       27:22 71:16         144:21,22 198:20
     easier 278:1              179:16,20,25        encompasses           270:21
     easily 142:20           either 21:6 23:17       92:12             entities 181:23
       242:14 293:18           49:11 70:12 99:25   encountered           182:5 217:5
     easy 128:16 285:1         109:23 112:10         185:11            entitled 106:22
     eaton 235:20              137:16 145:8        encroaching 85:12     113:22,24 187:6
     edge 182:25               154:10 162:25       ended 71:8          entity 76:23 95:19
     edited 231:3              173:4 220:10        endocrine 10:16       96:21 184:9 228:7
     editor 113:1,7,7          242:10 250:24         199:19 200:4,25   enumerate 280:9
       248:16,16,24            269:1 293:12          201:3,5,9,16,20   environments
       249:2,3,4               299:2                 202:3,10,13,18      276:10,25 277:4,6
     editorial 112:22        elect 51:18             234:25 236:15     equal 243:15
       112:24,25 113:3       electronic 266:16       237:2               272:1
       114:2 285:24          element 215:3         endocrinologist     equally 189:23
     editorials 112:15         268:22                80:11 179:2         206:19
       112:19 113:15,17      elements 150:4        endocrinology       equipment 108:7
     editors 100:4             158:18 268:23         235:14            equivalent 251:23
       113:3                 elevate 248:21        endogenous 272:8    ereinhardt 5:21
     educate 51:7            elin 248:2              272:18            erotophobic
     educated 144:20         elizabeth 5:9 14:6    ends 60:1 311:19      289:13
     education 1:10,10         41:8 53:10          engage 80:18        errata 12:1 265:23
       2:10,10 4:3,5 6:16    ellipses 128:6,9        181:7               265:25 314:14,16
       7:3,5 13:9 14:25        303:4,6             engaged 281:12        315:3,5
       15:3 36:24 37:1       email 266:22          engaging 68:6       error 94:25 95:1
       37:12,13,24 39:6,7      287:20              english 53:21         193:23
       39:24 42:13 43:11     embarked 299:20         55:10,10          errors 214:20
       49:8 52:15 180:19     emotion 188:20        enjoy 37:5            215:11 260:20
       220:14 311:8,12       emotional 246:13      enormous 290:2        263:25
       314:4 316:1           emotions 144:12         291:12 294:23     especially 95:4
     educational 38:6          144:17 145:1,11       295:1               129:11 171:13
       45:13,16,20 52:13     empirical 99:8        ensure 77:20          309:21
       131:3                   104:20,21 190:9       102:25 281:11     esq 314:1
     effect 209:8              190:10              ensured 29:14       essentially 141:2
     effected 173:8          employee 86:18        ensuring 25:3         226:20 252:16
     effects 60:18             313:16                294:20              285:2
       115:16 209:14         employees 82:21       entered 200:6       establish 16:20
       226:24                  108:15                269:15            established 99:13
     efficiency 83:3         employer 79:13        entire 47:20 51:3   establishing 276:9
     effort 25:16 97:24      employment 53:4         58:23 104:21        276:18
                               53:5 79:11 303:3      206:18 219:7

                                                                                  Page 19
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 337
                                                          Page
                                                            of 379
                                                                393PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21957#:
                                      1677
    [estimate - expertise]

     estimate 44:25          exactly 77:20 85:9       10:21,25 11:6,11     expect 170:14
       208:8 216:22            85:16 90:25 91:21      11:15,20,24 12:1,3   expectation
     estimation 138:18         98:5 100:23            12:7,10 32:15,16       218:23 219:17
     estrogen 197:22           133:13 170:23          34:11,12 136:8       experience 41:25
     et 9:22 13:9 92:20        206:3 226:7 243:2      137:4 145:22,25        47:13 55:20
       193:18 225:23           243:7 257:1 271:2      146:3 155:15           115:14 126:24
       226:15 227:2            273:20 288:23          156:21 176:10,11       127:3,4 131:1
       230:2 234:24            293:4,10,12            186:21,24 190:20       148:5,6 170:11
       237:17,21 238:13        294:16                 190:21 193:11          178:25 197:9
       238:18 242:7          exaggerate 124:24        207:13 212:15          212:25 271:15
       243:17 247:6          exaggerated              225:13 227:8,9         293:1
       250:1 261:2             282:20                 230:9,11 235:5,6     experienced 49:3
       267:15                exaggerating             238:25 239:1,7         271:25
     europe 181:21,23          293:2                  243:23,24 245:23     experiences 69:16
       182:5 195:21          examination 9:2          247:13,14 250:6,7      77:17,19 110:25
     eva 250:13                15:23 306:4 310:7      254:10,11 259:12       126:23 144:25
     evaluated 301:24        examined 15:20           259:13 260:24          292:7
     evaluating 174:13       example 42:20            261:23,24 265:16     experiencing
       257:20                  142:21 144:14          265:17 266:10,11       218:10,20 219:16
     evaluation 12:3           161:5 167:22           268:3,4,7 269:14       308:16
       181:10 182:14,24        170:12 188:6           274:9,10 275:5,5     expert 23:21,25
       202:10 205:19           198:21 212:19          286:14,16 289:1        24:3,5,9 25:3,17
       267:15                  217:21 218:16,20       290:18 291:23          29:3 31:21,25
     evaporated 193:1          224:22 279:20          302:9                  35:9,24 100:11
     event 310:9               303:16               exhibits 9:10            134:1 135:17,21
     events 61:16 69:7       exceptions 281:5         32:13,19 34:9          137:22 138:8
       69:10 102:13          exchange 232:7         exist 212:19             139:8 155:15,16
       293:13                exclude 24:12,18         231:11,12 281:5        155:21,22 157:6
     eventually 169:17         24:24 25:10            282:23                 157:15 159:3
       214:18 242:1          excluded 25:20         existence 129:10         161:25 162:8
     everybody 63:1          exclusion 302:22         221:19 230:22          165:3,7 174:8
       70:5,7 214:16         executed 35:7,16         272:7,16 273:4,15      178:3 196:23
       277:5 288:7             138:13,25 312:11     existing 43:21           202:3,8,12,17
     everybody's 311:1       execution 33:20          45:12 99:5 108:1       205:7,13,15,21
     evidence 90:25            33:25                  145:15 158:19          207:24 212:15
       91:1 184:5 191:16     exercise 89:7,24         174:14 219:14          213:19 219:25
       192:25 269:7            92:17 122:23           223:23                 221:21,25 239:9
       273:12 304:2            123:5                exists 94:12 186:7       305:11 306:8,18
     exact 126:15 153:2      exhaustive 226:20        205:11 224:19          307:2
       206:14 215:19         exhibit 9:12,15,18       280:6                expertise 70:24
                               9:22 10:1,3,5,9,15                            139:15 180:15

                                                                                      Page 20
                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 338
                                                          Page
                                                            of 379
                                                                394PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21958#:
                                      1678
    [expertise - fine]

       205:11,12 301:11      260:23 263:22         250:17,19 259:25       174:4,5 177:25
     experts 49:2 100:4      271:12 283:21         262:12 287:25          178:13 223:15
       100:8 148:2         factor 143:21         families 11:25           307:6
       201:19 263:3          248:22                216:14 262:8        females 161:7
     explain 16:19         factors 90:19         family 73:3,7         fetish 188:7
       157:13 165:5          144:4 240:24          154:10 199:8        fewer 246:13,14
       168:24 169:6        facts 160:15,15         306:22              field 43:22 44:7
     explained 172:14        171:14 224:1        far 18:7 185:13          55:20 147:8
       244:14,20           fail 182:23 242:2       232:25 308:5           210:14 220:17
     explanation 44:17     failed 225:19         fascinating 111:10       228:16 263:21
       105:3 170:7         failing 298:3         fazio 89:11 95:25        264:18,22 268:12
       219:12,13           fair 17:14 60:22        96:2 97:25             268:17
     exposed 147:25          67:11 93:14 94:21   fazio's 96:22,23      fighting 307:5
     exposure 148:9          103:2,5 104:11        97:22               figuring 185:15
     express 203:20          109:22 112:12       feasible 163:6           245:20
       280:9 290:11          113:18 146:22       february 35:8,16      file 269:15
     expressed 225:6         149:12 150:25       federal 315:1,8,9     filed 13:9
       290:8,12,13 292:3     155:20 156:20       feedback 100:9        fill 51:14
     expresses 284:4         158:14 164:4        feel 16:5 75:8        final 47:16 153:1
     expressing 107:23       173:19 178:21         142:23 143:23          263:13 303:7
       215:23                191:25 195:5          169:9 189:12        finally 74:3 109:11
     extend 100:16           196:10 199:5          191:18,21 239:5        132:25 291:25
     extent 134:2,4,15       206:3 214:10          262:21 276:21          292:17
       224:21                224:10 229:11         279:24 297:25       financially 313:15
     extra 51:14,14          232:18 236:5        feeling 144:17        find 69:25 70:2
     extraordinary           238:7 241:6,22,24     213:24                 94:10 102:12
       25:2,5                242:3 252:21        feelings 145:12          152:11 153:3
     extreme 182:16          253:22 273:14       feels 295:19             216:16 220:12
       216:18 277:18       fairly 253:20         fees 285:4,7,10          229:4 243:6,13
       303:17,18           fake 280:2            fellow 49:24 97:13       257:9
     extremely 49:3        fall 75:25 160:15     fellows 108:18        finding 75:4 99:6
       58:15                 308:17                130:19                 99:8 226:11
     extremism 302:24      false 242:21,25       fellowship 47:12         246:20,22 249:19
     eyes 242:2,2,4          279:22                50:1,2,21 51:9,19   findings 99:3
                f          fame 228:8,10           52:3                   118:17 252:22
                           familiar 128:14,15    felt 134:8 268:8         253:9 271:6
     f 191:4
                             129:15,15 176:19      292:4,4                288:19
     faced 241:5
                             176:20 181:3        female 91:10          fine 16:11 82:17
     facilities 226:10
                             188:12 227:21         104:13 106:24          103:15 128:15
     fact 24:5 88:18
                             232:4 235:24          107:3 164:10           199:15 247:22
       95:7,16 119:11
                             239:24 247:7          172:20 173:7,20
       251:15 252:3

                                                                                  Page 21
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 339
                                                          Page
                                                            of 379
                                                                395PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21959#:
                                      1679
    [finish - full]

     finish 206:7,11           58:19 59:19 60:3    follows 15:21         former 183:19
     finished 41:24            60:11,22 61:2,11      168:6 192:9 314:8   forming 199:20
        90:9 263:14            61:16 63:10 65:11   font 257:17             251:19
     fire 162:7                87:23 88:12 92:19   footnote 289:3,4      forth 313:7
     firming 255:23            99:11 103:19          290:16,17 291:1,1   forum 287:17
     first 9:22 20:14          105:21 109:21       footnotes 213:11      forward 115:25
        23:24 33:8 74:25       112:1 123:1         forbids 164:9           284:20 291:20
        88:16 94:24 97:20      125:10 127:14       foregoing 312:6       found 145:19
        97:23 105:17           130:7,11 132:4,6      313:6,8,12            206:16 220:18
        115:12,21 119:10       140:10 142:18       form 25:12,16,18        222:25 228:21
        119:11,12,13,15      focused 26:2 27:5       26:14 45:22,22        229:16 233:1
        120:25 123:12          37:15 39:9,18,19      61:13 63:8 64:7       236:14 242:14
        126:24 133:3           42:15,16 43:7,13      65:13 70:13 77:6      249:15 251:21
        134:12,23 137:17       43:14,24 56:16        86:15 104:17          271:23
        147:1,6 149:2          63:17,19 64:6         112:8 120:3 124:3   four 54:22 114:22
        177:1,23 213:25        65:6 68:12 98:10      124:17 126:13         124:12 204:2
        215:24 216:3,10        109:22 117:15         128:11,25 133:18      295:23 296:15
        222:2 230:22           121:5 150:2           136:25 158:16       fourth 288:2
        253:25 263:3           232:15                159:7,18 160:21     frampton 6:7 15:9
        270:8 275:18         focuses 90:22           161:14 164:18         15:10,12
        282:23,23 285:13       92:24 98:15 102:5     167:12 173:2,25     frcp 315:1
        289:9 302:20           125:5,14 127:18       174:18 197:6        free 16:5 239:5
     fit 174:21 218:24         142:16                198:11,19 210:7       262:22 278:11,15
        219:18 270:22        focusing 177:3          211:13 225:3        freedom 6:4 14:22
     five 57:15 68:4         focussed 48:3           234:12 242:8          15:12 134:24
        74:23 87:9 103:11    folder 32:13,19         244:22 272:10       french 53:19,23
        116:2,5 120:1          34:9                  273:7 282:17          55:4
        121:18 212:1         folks 117:15            283:6,24 293:11     frequently 45:11
     flat 243:6                149:21 187:21,24      299:6 300:6,20        126:7 269:3,4,5,8
     flaws 157:16 165:8        188:4 246:6 248:6     301:5,20 304:14       269:12
     floor 4:21 5:14           250:17 252:4          309:18 310:15       friday 30:17 31:8
        7:19                   296:24              formal 20:21            31:9
     florida 11:24           follow 11:15 71:2       37:13,24 39:7,24    friend 1:6 2:6
        262:6,7                177:24 188:12         41:7,18 42:13       front 34:18 53:3
     fluctuate 74:17           228:25 229:20         44:12 52:15 68:20     86:25 125:19
     fluke 242:15              255:9                 81:13 84:1 140:17     193:10 306:19
     focus 26:8,12,15        followed 251:10         141:13,14,17,18     frontline 62:22
        28:4 38:23 42:4      following 115:13        181:24 301:16       full 47:21 52:15
        44:4 50:3,4,4,22       155:23 177:18       formed 72:25            55:12 111:25
        51:1,5 52:4 54:3,7     178:9 218:9           222:11                199:20 257:18
        54:11 55:16 58:19      263:18                                      271:9

                                                                                    Page 22
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 340
                                                          Page
                                                            of 379
                                                                396PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21960#:
                                      1680
    [fully - go]

     fully 271:22           19:5 22:12,21          205:25 206:25         188:12 210:14,15
     fulsome 188:23         26:20 38:1,4,7         207:19,25 208:12      211:6 241:3
       189:10               40:1,4 43:12           208:19 209:23         282:25 293:23
     function 48:3          44:22 47:20 48:7       210:5 211:12          308:24
       115:12 196:15,16     49:16 52:5,7           212:23 213:22,24    genitalia 273:4,15
       226:17 249:15        55:21 57:5 58:17       215:8,15,23           274:1
     functioning 10:25      58:21 60:12,23         226:24 227:4        genuinely 293:21
       11:8 76:2,3 172:6    61:5,10 63:6           228:22 229:9,17     gestation 59:24
       209:18 243:18        68:25 79:1 83:5,5      230:3 232:10,13     getting 38:22 74:3
       247:8 251:22         83:9 87:24 88:12       232:16 233:2          85:14,22 120:24
     functions 55:11        88:17,22 89:4,10       234:25 238:19         150:4 216:13
       66:22                89:18 90:1,3,18,22     243:19 247:9          237:8
     fundamental            91:4,23 92:4,8,13      249:17 250:3        gibson 267:14
       209:16 263:25        92:21,22,25 93:8       255:23 256:8,13       269:18,19
     funded 108:3,4,22      95:6 96:16 98:7        256:17 257:9,10     girl 175:6
       108:22               98:21,21,22 101:2      257:25 258:1,5,7    girls 174:9 175:8
     funding 108:5          101:13,17,20           260:22 271:15,25      222:12 223:5
       109:1 114:13,15      102:5,14 105:22        281:1,19,22           273:22,24,24,25
       114:23 115:5         107:15,23 109:18       282:16 283:3,23       304:12
       117:19               110:11 115:8,14        288:17 292:2,19     give 32:22 66:16
     funds 115:7 116:1      115:18 116:24          299:12 303:1,13       124:22 125:2,9
       116:5,8              117:3,5,15 119:6       307:5 308:12,16       129:5 145:23
     funny 121:4            123:2 125:15         genders 162:5           146:17,23 148:16
     further 115:21         127:1,19 128:2       general 3:14 4:4        151:8 153:12
       248:25 262:22        130:8 131:10,14        7:4 11:3 54:3         160:12 186:21
       267:23 305:24        131:14,16,19           56:10 79:22           206:22 208:5,8
       313:12,14            132:8 143:23           106:18 124:11         215:2 217:22
     future 114:3,8         144:5,12 145:1,12      153:13 154:17         270:7,10 285:9
               g            161:2 168:1,18,24      161:3 166:8         given 23:21 68:2
                            170:1,2,2,25 171:3     177:19 184:22         81:11 123:13
     gain 110:24,25
                            171:18,23 173:14       186:6 243:20          127:21 149:19
       248:24
                            174:11,24 175:9        256:13 257:11         156:17 214:23
     game 242:15
                            176:4 178:25           277:4 281:7 283:8     240:24 268:11,11
     gamut 61:23
                            179:5,8,11,21          307:1                 311:19
     gap 40:14
                            180:2,9,17 181:16    general's 14:19       glad 32:11
     gay 89:14 187:20
                            182:19 184:13,19       133:9               glaring 94:25 95:1
       187:24 188:4
                            186:2 188:15,21      generally 75:6        glazier 269:19
       189:18 190:3
                            189:12,14 190:7        80:15 82:18,19      global 251:22
       262:20 264:5,11
                            190:14 192:1           83:1 111:24 112:6   go 20:13 21:21
     gender 10:7,9,16
                            194:8 196:7 200:5      140:15 154:1          24:20 32:12 34:8
       10:23 11:2,9,13
                            200:5,19 202:4         185:12 187:19         50:6 57:21 58:5
       18:11,13,19 19:3,3

                                                                                  Page 23
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 341
                                                          Page
                                                            of 379
                                                                397PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21961#:
                                      1681
    [go - happen]

       81:15 88:15 89:6      274:8,18 279:21        53:25 62:11 64:18   groups 165:21,22
       89:6,21,24 93:11      282:2 285:20           68:14 80:7 87:2       171:16 217:15,18
       94:8,16 95:21         286:13 287:7           88:25 89:21 90:12     242:17 309:2
       97:2 105:4 121:20     288:23 291:21          93:10 97:1 100:25   grow 187:7
       122:4,23 128:20       299:21 300:12,14       107:22 115:19       growing 153:19
       143:17 151:16,24      302:7 304:19           119:22 123:5,8,11   guess 24:23 185:8
       152:19,19 153:8       305:1,10               146:7 152:9           202:11 215:13
       154:18 171:21       gonadotropin             173:12 176:17         223:4 294:17
       206:1 207:1,20,25     200:7                  177:8 187:3           296:13
       212:4,12 233:24     good 13:4 14:4           190:25 205:23       guesses 144:20
       255:3 259:4 272:8     15:25 57:20            218:8 220:2,5       guidelines 199:20
       272:18 274:16,25      103:16 121:19          225:11,15 227:15      200:4 201:10,13
       276:8,17 280:14       151:14 199:16,17       230:7 235:3,12        202:4,10,14
       280:22 281:2          212:1 274:13           246:1 247:25          289:20,24
       291:17 304:25         284:8 288:6            250:11 251:17                h
       305:8 306:16          292:21 296:6           254:17 259:17
                                                                        h 16:15 47:10
       310:18                304:19                 260:15 262:4
                                                                          316:3
     goes 93:20 159:25     goodness 139:20          263:2,15 268:12
                                                                        h.b. 155:25 157:12
       160:23 173:15         214:4 277:16           268:21 269:17
                                                                          158:15 163:21
     going 18:9 25:7         306:15                 270:1,13 275:1,8
                                                                          164:7 167:11,18
       32:13 35:2 39:5     gotten 79:18,20          275:14,23 286:22
                                                                          168:4,9,22 169:1
       57:13,23 60:8         82:16                  291:7 302:14
                                                                          172:25 173:8,19
       70:7 82:24 85:4     government               303:12 305:15,21
                                                                          174:15 175:12,19
       90:14 107:21          161:15 182:4           310:19
                                                                          176:3 177:12
       121:22 122:23         184:8 217:4 257:1    greater 255:24
                                                                          178:4,8,12,15,18
       134:17 145:21       governmental           greatly 307:22
                                                                        hal 6:7 15:12
       148:4 150:10          177:10 181:23        green 3:6 15:5,5
                                                                        half 47:19,21
       151:17 154:3        graduate 38:12,24        230:1 231:8,24,25
                                                                          88:14 100:24
       156:21 160:12         39:3 96:3              233:13 311:3,3
                                                                          140:9 148:8
       165:2 176:8 177:3   grant 108:8 118:2      grossly 84:9
                                                                        halvorson 8:7
       185:5 186:20,21       119:7,8,9,18 120:7   ground 16:19
                                                                          13:14
       190:18,19 199:13    granted 115:22         grounds 25:9
                                                                        hand 263:12
       212:2,5 215:25      grants 114:19          group 48:14,21
                                                                        handed 96:17
       216:1,15 217:15       119:23                 50:9 67:4 167:24
                                                                        handedness 89:13
       219:6 227:6 229:1   great 16:19 17:10        171:15 237:10,15
                                                                        handful 186:7,11
       230:8,9 235:4         17:24 18:7 19:2        237:25 238:14
                                                                        handled 86:8
       243:22 247:12         19:13,17 28:24         240:23 252:6,12
                                                                          314:8
       250:5 254:8 255:3     29:6 30:21 32:11       253:20 255:24
                                                                        hands 239:11
       259:10 261:21         33:3 34:1,20           256:4,7,21,25
                                                                        hang 90:14 244:1
       265:15,22 266:9       35:20 36:23 41:2       309:10
                                                                        happen 21:5
       268:1 270:21          41:20 50:20 52:3
                                                                          100:12 138:10

                                                                                   Page 24
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 342
                                                          Page
                                                            of 379
                                                                398PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21962#:
                                      1682
    [happened - hypersexual]

     happened 25:16         healthy 80:17         hframpton 6:13        hormones 80:1,10
       60:19 61:17 85:2       171:24 276:10,24    hi 14:2                82:12 132:18,23
       132:3 204:11         hear 40:23,25         higher 66:18           185:19 194:13
       291:13                 134:14 292:6          257:10 271:16        197:20 198:8,11
     happening 84:8           308:3                 272:2                198:14,18 199:3
       181:20 195:21        heard 29:19           highly 139:22          233:2 237:12,16
       245:21                 171:10 182:6          142:6 169:9 228:2    238:1
     happens 60:16,17         189:2 255:2 297:1     228:7,15 232:22     hospital 41:7,9
       80:21 209:10         hearing 306:22          248:12 268:18        52:2 53:10 54:16
       268:24                 307:19                275:17 289:19        55:11 66:11 70:3
     happy 17:11 80:7       heather 1:6 2:6       hipaa 71:19 76:9       70:4,10 71:5,8
     harassing 289:12         4:4 7:4 13:8          151:2                72:12 73:1 83:7
     hard 44:25 59:21       held 13:13 79:12      hiring 108:6           83:12 84:6,16,18
       202:6 303:17         help 33:15 35:1       history 36:24 53:4     84:20,21,25 85:13
     harrison 1:10,14         70:19 110:12          53:5 114:13 150:3    85:13,17 86:5,8
       2:10,14 6:16           127:5 171:13        hit 274:12             183:16,18
       14:25 311:8            176:21 181:19       hold 23:14 62:12      hospital's 108:25
     hartnett 5:5 14:2,2      194:19 218:24         202:2,11,16 205:7   hottub 303:5
     hateful 289:12           219:18 276:21         260:13              hour 17:17 57:14
     head 18:3,4 62:6,8     helpful 44:15,16      holistically 61:11     85:11,11 103:9
       62:12 63:5,18          155:14 260:6        holsterom 5:11         150:2,7,10 199:14
       64:10,22,25,25       hereto 32:17 34:13    holt 248:2             212:2
       66:13,20,21 67:3,8     146:1 176:12        homophobic            hours 85:12
       67:10 131:7            186:25 190:22         289:13              housing 303:3
       233:25                 227:10 230:12       homosexual 91:15      huh 100:2 115:15
     heading 225:15           235:7 239:2           262:18               182:11 237:20
     health 10:5,17,22        243:25 247:15       homosexuality         human 43:14,17
       11:20 47:2,4 59:3      250:8 254:12          90:18,23 143:19      43:24 46:1 56:21
       59:6,13 67:9,10        259:14 261:25         143:20 144:8,24      56:22 59:18 60:6
       73:4 75:23 80:24       265:18 268:5          145:9                75:22 76:1 87:21
       81:3 202:22 203:2      274:11 286:17       honestly 293:25        87:22 116:23
       227:2 232:21           312:9               honesty 292:8          122:15,17
       235:1 238:19         hesitate 63:9 71:7    hope 218:12,22        humans 105:14
       240:20,24 246:9        99:21 104:18          219:17              hundred 210:23
       259:19 260:25          112:9 152:15        hopefully 53:3         211:3,4,17 296:13
       265:23 281:18          205:10 256:23       hormone 10:10,23       296:14
     healthcare 18:10         270:20 291:10,11      79:6 82:4 115:13    hurricane 6:10
       80:16 249:22         hesitation 128:16       115:16 197:23       hurt 292:4
       283:16 299:15        heterosexual            198:3 200:7 230:3   hutchens 4:4 7:4
       300:2                  91:14 264:7           238:6,20 240:18     hypersexual 64:1


                                                                                   Page 25
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 343
                                                          Page
                                                            of 379
                                                                399PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21963#:
                                      1683
    [hypersexuality - individuals]

     hypersexuality        identity 18:14,20      improvement           incongruent 200:5
       64:6 65:7 90:1         22:12,22 47:20        192:17 226:8,12     inconsistent
       140:12,14,19           48:7 49:16 87:25    improvements            158:18,22
       141:2,5                90:19,23 92:8,22      226:16 237:6        incorrect 193:19
     hypothesis 209:3,4       95:6 96:16 98:21      240:20                260:18
       209:7,18 219:19        101:13,17,20        improves 166:23       increase 107:22
       219:22                 102:5 107:15          167:1                 153:17 248:19
               i              109:19 116:24       inappropriate         increased 249:15
                              117:4,5 143:6         289:11              increases 214:1,7
     idea 156:16,18
                              161:2 174:11        inaugural 72:19         258:13,19,22
       182:10 208:5
                              175:9 180:12          72:22,24,24 73:23     259:1
       222:21
                              189:14 200:17       incident 298:13       increasingly 276:1
     ideas 278:6
                           ideological 191:15     include 28:1,3          276:4
     ideation 236:16
                           ignore 276:6             43:17,19,20 63:13   independent 45:17
       237:4
                           ignoring 281:10          63:24 95:9 101:13     98:24 119:16
     identification
                           ii 175:7 200:6           140:11 153:4,21     independently
       32:16 34:12
                           illinois 21:4,12         153:22 160:24         30:2 261:10
       145:25 176:11
                           illness 21:1,20          213:9 222:10        index 9:1
       186:24 190:21
                              66:1 73:10            229:10 249:19       indiana 146:10
       227:9 230:11
                           imagine 202:6            275:14              indicate 162:14
       235:6 239:1
                              270:25              included 26:10          196:19 271:18
       243:24 247:14
                           imaging 115:17           27:1 28:17 43:15    indicated 241:17
       250:7 254:11
                              116:22                45:3 46:2 63:10     indicates 273:12
       259:13 261:24
                           immediately 41:7         158:4,22 186:4      indicating 20:24
       265:17 268:4
                              295:4                 205:18 222:5          81:17 192:16
       274:10 286:16
                           impact 10:15             224:13,17 251:25      217:13
     identified 93:10
                              166:11,14 176:2       267:19 276:22       indirect 109:1
       104:15 143:18
                              234:24 248:22         292:11 314:14         221:10
     identify 13:18
                           impacted 168:3           315:3               indirectly 63:13
       15:10 58:20
                           implants 279:23        includes 78:1           89:11,12 90:17,19
       143:13 177:10
                           implications             101:15 111:4          90:22 108:22
       180:9 206:1 207:1
                              298:25 299:2          220:6                 116:19
       207:20 208:1
                           important 245:22       including 29:14       individual 29:13
       211:5 229:4
                              248:23 300:9          108:12 116:23         48:13 110:11
       230:15 266:17
                           importantly 292:1        170:9 222:23          111:1 143:13
     identifying 143:21
                              292:18                237:10 281:20         145:10 154:4
     identities 11:22
                           improve 165:16           290:13                217:11 272:17
       58:16 92:12 98:15
                              166:9               inclusive 276:9,13      308:15,17
       101:2 111:25
                           improved 236:16          276:18,19,20        individually 20:14
       117:16 127:1,18
                              237:4               incomparable          individuals 23:18
       132:7 259:20
                                                    150:14                26:1 48:21 50:8
       265:25

                                                                                   Page 26
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 344
                                                          Page
                                                            of 379
                                                                400PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21964#:
                                      1684
    [individuals - involve]

       58:9 67:7 84:12        instance 265:9        intern 49:18,19       interviewed 69:14
       86:19 89:3,3,9,10      instances 22:2          57:10 59:2,9,10     interviewing
       91:5 93:1,8,8            283:4 307:10        international           69:14
       101:16 119:6           institute 9:18 37:2     235:14              interviews 146:17
       131:4 144:11,17          73:4 146:9 161:16   internationally         148:14,17
       144:25 171:23          institution 48:1        196:3               introduce 32:13
       211:9,17 232:5,11        72:25               interning 49:20         34:10 145:21
       235:25 239:25          institutions 275:25   interns 68:24           176:9 186:20
       283:22 296:2           instruct 17:6         internship 47:16        190:19 227:7
       307:11,13                134:17                47:19 48:6 49:22      230:8 235:4
     induce 181:9             instructions            96:4 147:23 148:3     238:24 243:22
     inform 104:14,19           248:17              internships 67:25       247:12 250:5
       292:24                 instructors 49:7      interpreted             254:9 259:11
     information 70:18        instructs 16:23         258:12                261:22 265:15
       76:9 82:25 85:5        instruments 68:21     interrelate 63:12       268:2 286:13
       92:12 101:16           integrate 158:11      interrogatories         302:7
       134:3 148:17             161:16                9:23 177:1          introducing 275:4
       158:9 161:20           intelligence 42:21    interrogatory         introduction
       172:7,8,15,16            42:22                 177:8                 270:8
       173:12,16 181:18       intended 209:8        interrupt 35:3,3      introductions
       182:4 217:5            interact 139:24         307:17                13:24
       264:24                   142:7 210:23        interrupted           introductory
     informative              interactions            295:11                213:13
       111:10                   248:15              intervals 120:22      invasive 289:16
     informed 133:4           interdisciplinary     intervenor 1:18       investiga 181:24
       197:2,6 198:7,10         37:8                  2:18 6:3 15:13      investigation
     informing 287:21         interest 20:25          155:7,9               144:20
     informs 104:22             135:24 136:1        intervenor's 155:4    investigations
     initial 120:9              139:23 142:6          156:5                 181:24 216:15
     initialed 312:8            178:5,8,12 188:1    intervenors 14:22     investigator
     initially 96:22            188:11 309:11       intervention 10:17      114:22 115:3
       226:7                  interested 134:8        234:25 236:15         119:1
     initiated 99:24            135:17 145:16,18      237:3 252:10        investigators
     initiator 81:10            188:3,3 313:15        279:11 280:1,3        119:2 120:7
     injunction 35:11         interesting 126:10    interventions         invitation 100:3
       136:10                   242:23                238:6 278:20          100:17
     ink 312:8                interests 46:9          279:8,12,16 280:6   invite 100:4
     input 49:8 102:11          177:10,19             280:11              invited 100:13
       102:15                 interfere 55:13       interview 9:18        involve 25:22,25
     inside 186:5               142:7                 69:11 146:11,15       63:5 69:3 79:1
                                                      146:19,20 155:6       121:1 131:23

                                                                                    Page 27
                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 345
                                                          Page
                                                            of 379
                                                                401PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21965#:
                                      1685
    [involve - know]

       132:11,17,20,22        161:20 269:6        jokes 289:14          keep 74:18 152:19
       285:18                 277:17,17 288:16    jonah 231:25            153:7 199:13
     involved 79:8            293:2,24 307:25     jonathon 227:17         298:24
       117:13 118:5,7         309:22              josephson 22:3,5      kelley 6:6
       121:7 149:5          italiano's 106:7        23:4 139:10         kelly 4:7 7:7 15:2
       150:23 162:3         item 303:7            josh 14:12              311:11
       201:8,12 204:21      items 177:22          joshua 7:17           kettenis 250:14,22
       205:3 250:21         ix 177:24 178:9       journal 99:22,23        250:25
       277:25 284:23                  j             99:24,25 100:12     khartnett 5:17
       300:15                                       113:2,5,8,21,24     kibblewhite
                            j 16:14 88:18
     involvement 118:8                              114:3,4,5,8 228:1     107:13 108:19
                              109:14,17 129:21
       133:2 202:1                                  228:4,12 232:21     kid 78:23 123:15
                            jackson 1:6 2:6
       223:13                                       235:14 240:5          123:15
                              13:8
     involving 307:2                                246:9 248:9,11,16   kids 78:4 116:15
                            jama 228:5,6,9,12
     inwards 227:18                                 248:20,20,23          123:17 167:4,8,18
                            james 1:20 2:20
     ironically 302:21                              249:1,6,8,10,11       167:20,20 168:7,8
                              9:3,12,15,20 13:7
     irregular 188:24                               251:8 285:24,24       168:10,10,16
                              15:19 16:14
     irv 56:14,17,19                              journal's 248:21        186:8 187:7,17
                              146:12 312:5,16
     ish 151:12                                   journals 114:10         191:18,20 192:17
                              314:5 316:2
     isolation 218:11                             julie 5:10              205:25 206:25
                            jamescantor.org
       218:21 219:16                              july 115:23 116:7       210:5 226:9 229:5
                              12:8 275:11
     issue 46:6 70:23                               116:9,10 191:6,7    kim 227:19
                            january 66:4
       83:15,17 96:21                               192:4,6,7 251:7     kimberly 235:20
                              187:12
       110:13 163:6                                 290:21 302:15       kind 21:18 68:5
                            jblock 7:21
       178:22 252:3,6                             june 33:25 35:11        108:6 114:7
                            jeffrey 6:19 14:24
       283:21 284:4                                 54:23 116:11,12       146:19 150:5
                              311:7
       292:3,19,20,25                               136:11,17,20          166:13 173:16
                            jeffrey.cropp 6:24
       294:3 296:21                                 137:13,25 138:14      189:3,9 201:15,19
                            jenifer 250:12
       297:6 298:5 301:9                            138:25 139:9          208:4 216:25
                            jennifer 235:20
       307:1                                      justified 175:13        233:18
                            jensen 31:17 202:1
     issued 12:1 265:13                           justin 146:18         kinds 82:23 99:10
                            jessica 269:19
     issues 21:22,24                              jveroff 5:22            173:17 183:9
                            job 1:24 41:15
       22:13,22 26:5                                       k            kingly 28:10
                              314:5
       45:2 46:9 48:4,25                                                kinsey 9:18 146:9
                            jobs 41:14            k 56:17 97:10
       49:1,3 55:13                                                     kkang 5:18
                            johansson 255:6       kagay 1:23 2:24
       58:16 65:17,18                                                   kmorgan 4:12
                            johnson 6:18            13:16 313:24
       69:3,5,6 75:9 83:5                                                 7:12
                            johnson.com 6:24      kang 5:7 14:8,8
       83:9 88:22 89:17                                                 knew 95:3,5 297:2
                            joined 284:24         katelyn 5:7 14:8
       91:4 92:24 101:13                                                know 17:11 24:25
                              285:13              kathleen 5:5 14:2
       103:23 104:15                                                      27:8 32:21 34:15
                            joint 307:4           katie 259:22
       131:19 132:2,8                                                     42:25 55:19 66:6

                                                                                   Page 28
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 346
                                                          Page
                                                            of 379
                                                                402PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21966#:
                                      1686
    [know - letters]

       68:23 71:18 72:17     303:23 306:9        lane 235:21           lead 85:17 131:13
       75:24 76:5 77:21    knowledge 25:8        langhofer 6:8           131:19
       77:22 82:16 83:2      56:24 84:15         language 42:4         leading 293:13,14
       84:16,23 100:10       110:25 156:15         281:21 282:15         293:14
       100:18 101:7          166:13 183:17,21      283:2,20            leads 268:20,22
       104:1 110:13,22       199:2 203:8 216:9   large 73:1,7          learn 133:3
       110:24 121:12         217:2 222:19          129:24 181:20       learning 42:20
       129:14 135:15         223:14,14 228:20      206:13,21 207:7       44:5
       137:22 148:1,16       232:23                284:25              leave 83:12,22
       152:17 154:5,19     knowledgeable         largely 73:16           85:17 86:9
       157:1 160:4           58:16                 150:1 285:21        leaving 83:6 114:2
       161:17 162:19       known 37:3 47:6       larger 186:5            184:16 224:4
       163:5,7 164:23        73:4,6 98:21 99:2     214:20              led 149:8 273:23
       166:24 172:1          99:19 130:4 148:2   largest 83:4            288:21,22 298:13
       175:24 176:15         183:23 193:21         129:25 194:8        left 75:22 84:1
       181:18 183:5          206:16 207:22       late 46:15,16           89:13 96:17 128:7
       185:6 186:10,13       221:19 264:24         50:18 76:12           257:18,19 263:12
       197:13,19 198:17      268:11,16,18          192:12 309:25         304:21
       198:22 201:15,25      284:25              latest 193:11         legal 4:15 13:22,23
       202:20 203:1,13     kristina 259:21         203:8                 14:1 16:3 80:20
       203:16 204:12,25      267:6 268:10        lau 239:19              134:17 149:9,14
       206:18 207:17         269:19 270:1        laura 239:18            149:22 158:10
       213:14 215:25       kuper 238:17          law 3:7,16 4:8,19       159:21 311:21
       216:2,4 217:17,21     239:14,18 242:6       5:12 6:9,20 7:8       314:7
       222:21 223:13                 l             59:3,6,13 67:9,10   legitimately 94:14
       227:12 228:14,16                            71:22 162:13          281:4,4
                           l 16:15
       228:18 230:22                               166:9 172:4 174:1   lehmiller 146:18
                           lab 49:8 120:18
       232:25 235:9                                174:6 175:2           147:2 148:23
                           label 298:21
       244:23 245:2,3,9                            261:18 264:16         149:1
                           laboratory 85:10
       246:6 248:6                               lawmaker 161:23       length 251:17
                           lack 128:7 265:5
       254:14,25 257:8                           lawrence 130:1        lengthy 263:12
                           lacked 252:6
       261:17,19 262:2                             170:20              lesbian 187:21,24
                           lai 117:1
       262:14 263:4,14                           laws 71:19 151:2        188:4 189:25
                           lainey 1:17 2:17
       265:20 269:2,8,14                         lawyer 164:1,3          264:5 307:3
                             155:9
       273:23 275:6                                174:19              letter 80:14,23
                           lamb 263:22
       280:2 286:19                              lawyers 69:22           81:5,17,20 82:2
                           lambda 4:15 13:22
       288:23 289:25                               133:4,6               106:5,5,14,15,16
                             13:23 14:1 16:3
       292:11,22 293:20                          lay 109:18 301:7        106:19 107:7,18
                           lambdalegal.org
       294:25 295:14                             layperson's             225:9,16 298:1
                             4:23,24,25
       296:9 297:3                                 300:24              letters 81:24 105:6
                           landén 255:6
       299:11 301:6                                                      105:10 106:3

                                                                                  Page 29
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 347
                                                          Page
                                                            of 379
                                                                403PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21967#:
                                      1687
    [letters - machine]

        109:12 224:22          224:17 226:20       live 143:9 166:11       285:16 286:10
     level 38:12,24 44:5       291:13 295:5,6        281:20 282:16         290:15 291:22
        44:10 45:14 62:22      303:3,7               283:3                 305:11
        130:25 301:11       listed 31:20 41:6      lives 48:15 165:17    looked 204:6
     levels 271:16,25          41:21 88:1,13         166:12,23 167:1     looking 17:1 60:18
     libelous 289:16           89:2 105:19,19        278:24                60:20 75:18 80:16
     liberties 7:16            113:15 114:13       living 48:15            88:25 97:22
     licensed 79:3,5,24        122:21 123:12         145:20                176:19,20 189:11
        80:4,16                125:18 130:20       llp 14:3,7,9            203:18 222:9
     licensing 180:19          177:22 207:11       load 32:24 176:14       239:9
        180:20,21,24           224:2,2               268:8               looks 79:19 118:25
     lichtenstein 255:5     lists 122:10           lobaugh 117:9           119:22 122:20
     life 60:16 69:8        listserv 285:22          119:3                 236:2 246:2
        139:24,25 142:8        286:3,5 287:22      local 53:20             290:19
        169:11 175:14,21       288:5 290:10,12     locate 266:21         lopez 239:19
        236:17 237:5           291:9,15,18 292:5   locked 314:12         losing 294:22,25
        306:15                 293:9 295:2 296:7     315:1               lot 36:20 49:1 68:8
     lifespan 51:4             296:8,9,12,16,20    locker 303:4,6          74:17 146:17
        58:23                  296:25 298:14       long 11:15 35:21        268:18
     lifetime 109:23        listserv's 289:20        40:11 85:24 87:7    loud 288:8
     liked 298:7            listservs 294:1          87:15 105:9         loudest 210:17
     lily 259:21            liter 222:21             112:18 113:10       loudoun 22:16
     limit 103:2 282:22     literature 29:16         161:9 221:9 255:9   love 53:4 115:20
     limited 26:10             29:21,24 101:8        276:8,17 285:14       146:23 205:20
        91:25 112:3,3,5        104:21,21 105:1       292:4 293:13        lower 228:23,24
        150:1 172:1            129:24 152:11,17      300:15                229:18,20 233:3
     lindsay 8:4               153:4,14,18,25      longer 61:16 84:10      260:24 285:13
     line 17:19 147:5          169:13 198:16         98:11 192:20        lowering 195:23
        147:20 287:24          201:16 222:17,20      217:11 249:5        luck 147:15,19
        306:24 314:15          222:21 223:20         287:15 294:2        lunch 151:15
        315:4 316:4,7,10       230:16 266:17       longitudinal 10:15      152:3,4
        316:13,16,19           270:22 303:24         234:24              långström 255:6
     list 53:3 87:3         litigation 23:22       look 33:8 60:15                m
        88:25 89:22 90:15      155:24 156:1          68:11 75:12
                                                                         m 1:20 2:20 5:6
        105:5 112:14        little 17:2 32:23        107:11 122:24
                                                                           6:19 9:3,12,15
        114:15,19 130:17       44:25 45:4 54:22      123:12 195:24,25
                                                                           15:19 16:14,15
        130:22,24 152:19       59:21 60:14 91:18     200:10,12,14
                                                                           47:10 117:9 312:5
        153:7 204:6,8,10       93:12 98:19 121:4     218:8 241:20
                                                                           312:16 314:5
        207:16 220:6,19        184:16 189:20         247:25 250:11
                                                                           316:2
        221:16 222:5           202:6 308:3 309:5     257:18 266:9
                                                                         machine 313:11
        223:22 224:5,13                              271:20 279:23

                                                                                    Page 30
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 348
                                                          Page
                                                            of 379
                                                                404PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21968#:
                                      1688
    [madeleine - medical]

     madeleine 259:21       march 1:20 2:23       mathematics 37:9     meaning 185:6
     magnetic 115:17         13:1,5 33:22          214:13               229:2
     maia 4:18               277:21 313:19        matter 13:7 16:8     meaningful 110:9
     mail 181:19 182:3       314:3,5               38:25 89:15          216:20,21,22
      220:24 232:7          marco 248:3            135:23 262:9        meaningfully
      251:2 289:6 290:7     marcus 255:5          matters 27:22         232:6 252:24
      290:19,25 291:2,7     marginalized          maturing 196:21       253:1 282:23
      291:17 292:12          292:5                maximize 70:19       means 61:1 162:16
     mailing 184:7          marked 32:13,14       maxine 49:10,12       243:5
      295:4,14               32:16,18 34:8,10      58:12 129:22        meant 127:5 185:5
     mails 199:7 217:4       34:12 136:7          mccuskey 3:5          185:7 231:4 239:3
      232:9 288:23           145:22,25 176:9      mcgill 42:10,12,17    283:10 286:5
      291:20                 176:11 186:21,24      43:8,12 45:19       measure 248:23
     main 139:14             190:19,21 227:7,9     46:19 55:24 56:24    253:5
      158:24                 230:9,11 235:6       mcguire 250:12       measures 241:17
     mainstream              239:1 243:24         mclaughlin 259:22    measuring 166:16
      269:11 277:17          247:13,14 250:6,7    mean 18:13,19        media 13:6 57:24
     major 38:23 254:6       254:9,11 259:11       19:1,9,11 24:25      58:4 75:14 121:23
     majority 55:15          259:13 261:22,24      45:16 46:14 52:12    122:3 151:18,23
      191:17,20 206:13       265:16,17 266:10      52:12,16 66:24       181:20 199:9,9
      206:21 207:7           268:2,4 274:9,10      71:14 72:22 77:18    212:7,11 216:14
      212:23 240:25          275:4 286:14,16       81:11 89:12 91:24    217:10,19 218:1
     majors 38:24            302:8                 93:24 102:15         241:1,5,7,8,9,11
     maker 81:7             marks 235:5            116:8 124:23         241:12 269:6,10
     making 158:12          massachusetts          130:18 143:25        269:12,12 274:19
      214:19 234:20          5:15 306:23           147:18 165:19        274:24 278:3
      268:19 277:18         master 39:1            180:19 181:6         305:3,7 311:20
      279:5                 master's 38:14,16      183:1,18 184:19     medical 19:4,9,11
     male 91:10 106:24       38:22 39:6,8,25       185:22 187:25        20:6 48:14,21
      107:3 161:5 164:8      40:16                 188:10 189:5         50:8 69:19 79:3
      164:9 174:4,5         masters 130:25         213:10 214:2,14      80:13,15,18 81:1,8
      223:15 272:9,18       match 18:20 65:3       214:21 215:1         81:16,18 154:15
      273:5,16              matched 257:4          226:6 231:16,17      154:18,23 192:19
     males 104:12            288:20                231:19 243:9         192:21,22 197:16
     mallar 117:8           matches 18:14          244:23 254:21        209:2 214:9
     man 109:13,16,25       material 30:7,7        265:7 276:18,19      216:25 228:2,12
     manuscript 97:18        51:15 124:20          276:25 277:12        229:6,10,18
      221:2                 materials 30:3         279:18 280:4,4,9     246:24 249:23,24
     manuscripts             156:12                295:17 299:13        252:9 256:19
      248:20                math 215:8,12          300:12               278:20 279:8,11
                                                                        279:12,15,25

                                                                                  Page 31
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 349
                                                          Page
                                                            of 379
                                                                405PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21969#:
                                      1689
    [medical - money]

      280:3,12,23 281:2    265:23                221:10 243:13      misinformation
      281:9,11 309:24     mentally 80:17        mic 307:22           171:14
     medically 181:9       171:24               michael 16:14       mispronounced
     medicine 63:7        mention 97:5           109:14,17 111:18    117:10
      248:9,12 249:8,11    101:10                129:21 248:1       mispronouncing
     meet 30:5,23 31:6    mentioned 21:14       middle 17:19         235:19
      75:17                22:17 24:17 29:18     191:12 203:10      misrepresent
     meeting 30:17         45:8 50:22 58:15      264:22 288:1        93:19
      123:20 124:2,16      62:3 96:15 98:14      302:18 308:25      misrepresented
      125:24 126:3,13      99:5 100:19 101:1    midlife 169:13       245:5 269:11,13
      126:14,18,19         102:2,4 111:1        miesen 243:17       misrepresenting
      127:8,11,13,25       119:5 129:21          244:2 245:24        293:2
      128:12,22,24         140:21 144:7,7        246:2 253:16,19    missed 77:21
     meetings 126:5        149:18 169:20        mikael 255:6        missing 195:12
     megha 117:8           170:20,24 182:24     millon 100:14        266:6
     member 72:19,23       186:11 193:3         mind 25:4 93:11     mission 298:4
      72:25 73:23          199:7 213:16          129:18,23 130:1    mistake 144:11
      134:23 167:24        217:6,21 234:4        143:20 144:2,4      145:1,9 216:4
      204:16 284:16        238:13                188:24 209:2       mistakes 215:11
      285:10,14 286:2     merely 160:16          210:18 222:25      misunderstanding
     members 113:4         162:13 217:16         309:16              67:15
      167:23 199:8         224:21               minds 164:21        misunderstood
      276:2 286:5 290:5   meritorious            165:1               24:1 27:20 137:1
      290:21 291:19        157:10,19 158:2      mindset 271:1       misuse 85:16
      292:2,19 295:21      159:15 160:7         mine 97:13          misusing 84:6,16
      296:4,7,11 298:16    165:11               minor 83:2          mix 111:3
     membership           messages 289:18       minority 213:22     model 251:20
      285:7,18,19 290:9   met 30:6,14,16         215:7,15 269:12    moderate 228:23
     memory 41:13,19       111:20 154:6         minors 200:17        229:19 302:24
     men 188:13 198:2      246:7 250:24         minute 50:6 57:15   modest 240:20
      309:12              method 72:13           57:19 103:11       moment 32:24
     meng 117:1            194:10 196:5          121:18 145:23       33:5 36:19 78:12
     mental 10:5,17,21     238:9,10,11           212:1 304:23        87:2 146:23
      11:20 21:1,20        242:18 252:8         minutes 199:14       156:25 176:14
      47:2,4 59:3,6,13    methodological         212:3               177:5 186:22
      66:1 67:9,10 73:4    262:17               misapply 172:2       194:23 257:21
      73:10 75:23 80:16   methodologically      mischaracterizing    270:10 309:14
      80:24 81:3 227:2     233:15                94:17              monday 1:20 2:23
      235:1 238:19        methodology 44:7      misconstruing        13:1
      240:20,24 249:21    methods 118:11         145:11             money 85:20
      259:19 260:24        148:24 181:8                              120:12

                                                                              Page 32
                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 350
                                                          Page
                                                            of 379
                                                                406PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21970#:
                                      1690
    [monitoring - number]

     monitoring 197:10                n           needed 48:23          newly 72:25
      197:13                n 16:15 56:17           51:15 60:6 116:22   news 182:3 184:8
     month 228:25           n.r.g. 262:9            120:13,14,16,18       217:5 240:11
      229:20                naivety 38:21           120:19 153:21,21    nexus 101:5
     months 124:12          name 13:14 16:1       needs 36:17 75:18     nicholas 235:19
      133:13 135:1,4,5        16:13 21:6 41:7       120:18 163:17       nicknames 309:1
      136:6,15 138:11         41:18 56:15,20        165:20 172:1,6      niklas 255:6
      138:12,16 150:11        67:8 97:20,22,23      173:15 276:4        nodding 18:3
      231:2 249:16            129:19,25 170:15    negative 242:19       non 165:25 167:2
     montreal 53:11,20        182:16 185:17         242:24 243:3,5,9      188:4 292:2,18
      54:17                   193:8 196:14          243:11,15           nonbinary 10:6,13
     moot 188:9,10            201:24,25 211:5     neither 96:22           227:3 230:5
     morbidities              254:22 255:1          162:12 313:14       nonconforming
      258:23 259:2            272:25 313:18       netherlands 194:9       292:2,19
     morbidity 258:14       names 129:20            251:12              nonhospital 85:10
     morgan 4:7 7:7           153:24 186:10       network 228:5,6       normal 43:10
      15:2,2 311:11,11        193:9 274:3 296:1   neuro 118:10          normative 272:1
     morning 13:4 14:4        297:3               neuroimaging          notating 314:15
      15:25 152:9           nancy 117:8             118:10                315:4
     mortality 258:14       narrow 202:9          neuropsychology       note 17:1 18:9
     mother 1:6 2:6         nasty 289:10            40:9,12 41:24         20:4 30:19 154:18
     motion 35:11           natural 57:14         neuroscience            154:20 311:4
      136:10,10             naturally 17:17         51:15,17,20         noted 31:14 71:24
     motivate 143:8,23      nature 20:19          neuroscientists         72:19 85:6 134:6
      143:25                  22:20 45:6 85:9       117:3,13              219:9 282:6
     motivated 83:6           113:24              never 43:6 83:15        311:22 312:8
      144:13                ne 6:10                 83:17 86:18 154:6   notepad 32:6
     motivatives 91:9       necessarily 46:2        154:9 179:7         notes 20:3 29:12
     motivator 91:8,22        80:21 217:11          185:24 197:2,5        29:19
     motivators 189:11      necessary 165:16        198:10 201:5        notice 222:18
     move 86:24               314:14 315:3          208:9 209:1 246:7   notified 230:21
     moved 59:3             need 16:5 17:5,16       265:8 290:11        november 64:13
     mri 106:22 107:2         32:22 100:11          297:2                 177:2
      117:14                  103:10 153:8        new 4:22,22 7:20      nudity 303:5
     multiple 110:5,6         158:10 161:17,20      7:20 21:18,19       null 209:3,4,6,18
      143:12,12 144:3         199:15 239:21         23:15 29:15,19,25   number 9:11
     myeshia 231:25           260:3 262:23          90:9 97:5 99:6        13:12 74:18 89:11
      232:6                   268:8 274:15          106:22 107:2          89:25 90:12,17
     mzelkind 4:25            297:25 300:14         108:6 152:18          92:5,20 95:21
                              310:2,3               153:13 220:16         96:7 97:2 101:1
                                                    249:3,4 271:6,6       106:1,2,13 107:11

                                                                                   Page 33
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 351
                                                          Page
                                                            of 379
                                                                407PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21971#:
                                      1691
    [number - oh]

       107:22 109:11         158:16 159:7,17     observing 107:20        207:23 208:3
       110:14 114:1          159:18 160:9,21     obtain 69:9 80:9        271:7 305:16
       123:3,7,7 125:14      161:14 162:10       obtained 119:17       offhand 21:8
       148:13 150:13,14      164:2,18 167:12       197:2 198:7           186:12,16 234:3
       155:20 181:20         167:14 171:5,6      obtaining 46:23         234:15 238:16
       203:13 205:24         172:12,22 173:1,2   obvious 309:8           255:17 256:3
       206:14,15,16,23       173:10,23,24        obviously 44:15         273:2
       206:24 207:6,15       174:17,18 175:1       94:25               office 14:19 133:9
       207:18,24 214:20      175:16,22,23        occupation 52:19        133:16,22 134:12
       215:19 248:19,22      197:24 198:4,19     occur 124:25            135:2,7 136:5,14
       250:20 255:17         207:3,4 208:14,22     133:12                136:22 138:9
       260:7,11 263:25       208:24 209:24       occurred 65:18          314:11
       281:16,24,25          210:7 211:13        occurrence 20:13      officers 69:21
       296:7,8 297:4         219:8 222:14        occurring 69:7        official 1:12,13
       311:20 314:15         223:8 224:9 225:3     238:7                 2:12,13
       315:4                 229:13 234:12,19    october 136:16        offshoot 228:13
     numbers 105:25          241:16 242:8          232:20              oh 21:3 24:4 29:24
       206:19 215:19         244:22 245:17       oddly 126:7             51:12 52:11 59:7
       296:10                272:10,11,19        odds 228:23,24          67:8 73:3 74:11
     numeric 301:10          273:7,9,19 282:6      229:19,20 233:3       74:21 87:11,17
              o              282:17 283:6,7,24   offender 148:9          90:16 98:20 110:8
                             293:11 296:18       offenders 47:23         124:11 133:7
     o 16:15 237:19
                             299:6 300:3,4,5,6     48:18 65:8 148:9      135:11 138:15
     oaks 6:21
                             300:20 301:4,5,20     149:6,25 150:24       139:20 140:7
     oath 15:20 19:18
                             303:22 304:5,6,14     151:3,9               141:3 145:18
       313:9
                             304:15 309:18       offense 70:15 71:3      146:6 152:15
     object 68:15 82:24
                             310:15                71:12,15,15 299:3     155:19 170:8
       85:4 136:25 219:6
                           objectionable         offensive 289:15        171:12 196:14
       282:2 300:21
                             289:14                298:16,19,19,22       200:2 203:1
     objection 18:23
                           objections 177:17       298:23                210:22 213:12
       19:7 25:12 26:14
                           objective 102:13      offer 163:14,20         214:4 218:14
       26:24 27:14 43:25
                             160:4 166:15          219:12                219:23 220:13,23
       44:1,23 45:22
                             298:21              offered 51:24           226:3 228:5
       60:25 61:13 63:8
                           objectively 68:15       163:11 173:12,13      231:10 239:3,5,10
       64:7 65:13,15
                             68:18 300:11,11       297:21 303:16         254:21,21,21
       70:11,13 71:6,17
                           objects 17:4          offering 105:9          270:25 277:16,25
       71:24 77:6 85:6
                           obscene 289:16          158:5,7,14 161:4      282:11 284:24
       86:15,21 103:24
                           observations 94:8       161:25 162:7,20       285:19 295:3,18
       104:17 112:8
                             94:10 219:14          162:24 174:8,12       297:22 298:3
       120:3 124:3,4
                           observer 298:21         175:5,10 178:3,7      307:20
       133:18 134:2,6,15
                                                   178:11 205:15
       136:23,25 142:11

                                                                                  Page 34
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 352
                                                          Page
                                                            of 379
                                                                408PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21972#:
                                      1692
    [okay - opinion]

     okay 13:4 14:17        130:14 131:3,22        231:12,22 232:18      268:14 269:19
       15:8,14,15,17 17:4   132:11,25 133:15       234:9,23 235:12       270:1,14
       20:7 21:9 22:14      133:25 134:11          236:2,12 238:13     olson's 260:17,23
       23:20 24:7,12        135:9,13 136:4         238:17 239:12,13      261:14
       25:8,15,22 26:7      138:4,15 139:13        239:24 240:15,17    once 30:14 192:20
       27:19 28:7,15,21     140:4,10,21 141:3      242:18 243:4,12       192:25 193:21
       32:12 38:10 39:16    141:8,25 142:9,14      243:16 244:12         300:13
       39:20 41:2,8,15,23   143:16 145:7,16        245:19 246:6,8,17   one's 193:1 238:21
       43:10 45:13 46:18    145:21 146:7           247:11 248:8        ones 71:8 105:24
       46:22 47:3,12        148:20 150:22          249:11,25 251:6       115:11 194:5
       49:15 50:20 51:22    151:13 154:3           252:17 254:7          210:22 215:25
       52:10 53:1,5,25      155:1 156:20           256:1,4,11,16,21      216:1 220:16
       54:15 55:2,9,18,23   157:2 163:9,19,23      257:8,14 258:21       241:2 243:14
       56:5,9,22 57:9,21    164:6,16 166:6         259:4,9 260:5,9       254:6 297:1
       58:7,25 59:7,15      171:2 172:19           261:6,13,17,20      ongoing 100:20
       61:9,24 62:4,15      175:12 176:8,24        262:16 263:16,17      118:13 120:21
       65:10 68:1,5,22      178:3,7,11,21,24       265:22 267:14,21      144:19,19 150:9
       69:23 73:3,25        179:10 180:14,24       269:14,17 270:10    online 51:23
       74:11,20 76:25       181:3 182:1 184:5      273:3 274:7,22        123:24 228:13
       78:3,19,25 79:8,18   184:11,18 185:21       275:11 278:7          287:17
       82:14 83:15 86:24    186:1,10,17,20         280:14 281:6,14     onset 168:1,18,24
       87:7 88:8,11 89:6    187:14 188:15          284:9,16 285:18       169:3,12,16 170:1
       89:21 90:12 92:15    190:5,18 194:2,4,5     286:6,12 287:3,11     170:2,10,11,24
       92:17,21 93:3        196:12 197:2,19        288:4 289:3 291:4     171:2,17,18,23
       94:6,16,23 95:12     198:13,16 199:2        291:16,22 296:14      172:2,3,5,7,8,16
       95:21 96:14,19,23    199:10,13,17           297:5,9,20 299:11     172:17 174:24
       97:1,19 98:4         200:10 202:2,16        299:24 302:6          200:18,18 208:13
       100:16,25 101:9      202:20 203:1,8         304:10,18 311:6       208:20 308:13,13
       103:13,14,16         204:13,21,25           311:10,15,18          308:13,20 309:3,3
       106:2 107:7,25       205:14,20 207:18     old 21:1 46:11          309:20,23 310:11
       108:21 109:7,11      207:23 208:11          76:8 110:2 175:6      310:12
       111:5 112:12,18      210:3 211:4,8,23       288:23              ontario 180:22
       113:14,23 114:6      212:17 213:19        older 138:16          onus 209:4
       114:12 116:7,12      214:5,12 216:17        299:18,19,19        onward 46:16
       116:17 117:18        217:1 218:5          oldest 76:11,12       ooh 146:6
       118:12,20,25         219:24 220:12        olson 12:1 193:18     open 205:23 298:1
       121:16,17 122:6      221:16 222:4,9         259:21 260:18       openly 130:2
       124:1 125:13,21      223:21 224:12,16       261:7,11 265:1,8    opine 160:5
       126:10,22 127:13     225:11 227:1,6,15      265:13,23 266:7     opining 175:12
       127:17,21 128:10     228:1,14,18,21         266:18,20 267:1,6   opinion 104:15,22
       128:12 129:2         229:23 230:1           267:12 268:10,10      104:23,25 157:6

                                                                                  Page 35
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 353
                                                          Page
                                                            of 379
                                                                409PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21973#:
                                      1693
    [opinion - paper]

       157:14 161:4,25       253:5 271:9 286:2   outpatients 54:4        191:1,11,12
       162:8,24 165:6        293:3 294:21        outside 25:2            194:18,21,25
       168:15 174:9,12       295:19 298:24         160:23 166:14         195:24,25 200:12
       175:5,10 178:3,7      309:7                 190:16 194:7          205:21 211:23
       178:11,20,22        ordinary 64:3           201:19 223:13         212:14,17 213:10
       190:12,16 192:6,8   organization 44:2       272:21 279:23         213:12,19,20
       193:1 195:8           44:3 157:18           282:4 283:16          218:5,14,15
       200:24 206:5          159:14 160:6          294:15                219:24 220:3
       209:13 214:12         165:10 285:1        overall 27:2            225:12 240:10
       215:6 219:4           292:6 293:18        overlap 47:14           244:5 247:18
       222:11 223:5,12       294:22 295:14,15      142:20 162:14         255:17,18 257:14
       253:8 261:14          298:11                309:5                 257:18 260:11
       262:5 280:10        organizations         overstating 277:19      262:25 263:6,7,10
       290:4,8 299:14        157:7 158:1,25      overview 161:1          263:11,13 264:22
       300:8 304:11,16       159:5               owned 240:6             266:2,5,12,14
     opinions 157:25       orientation 64:4      oxford 90:8 92:6        267:24 269:24
       158:8,21 159:23       87:24 143:19          97:6 99:17            270:8 271:20,22
       160:12 163:20,21      188:8 189:15                  p             275:8 277:21
       178:18 199:20       orientations 91:17                            281:14,15 288:2
                                                 p.m. 2:23 151:18
       203:20 205:15       original 94:3 95:1                            288:25 289:4
                                                   151:22 212:6,10
       207:24 224:21         95:3,9 102:21,22                            290:15 291:22,23
                                                   274:19,23 290:21
       225:7 271:6           102:23 107:25                               305:11,12,13,17
                                                   305:2,6 311:18,22
       305:16,17             108:2 127:10                                305:18 306:9,10
                                                 pachankis 193:14
     opportunities           137:2,11 170:17                             306:11,19,24
                                                 page 9:11 32:23
       149:4 150:23          195:18 201:9                                314:15 315:4
                                                   33:7,21,22,23
     opportunity             202:4,13 226:19                             316:4,7,10,13,16
                                                   35:21,23 53:2,7
       116:18 136:2          257:6 260:20                                316:19
                                                   86:24 89:1,2,6,8
       148:11 184:16         265:6 314:10,21                            pages 1:25 33:8
                                                   89:21 90:5 92:2
     opposed 72:11         osipoff 235:20                                36:20 87:3,9,11
                                                   92:15,18,18 93:4,6
       112:6 126:18        outcome 11:12                                 88:15 114:15
                                                   93:6,7,13 95:22
       224:22                166:16 250:2                                130:25 220:5
                                                   96:10 97:3 102:3
     opposing 24:14,15       293:3 301:23                                260:11 262:24
                                                   105:5,19 112:13
       24:17 25:9            304:17                                      290:17 314:14,17
                                                   112:14,16 114:12
     opposite 225:4        outcomes 10:5,22                              314:17 315:3,6,6
                                                   122:7,9,24 123:4,6
     opted 51:14             227:2 238:19                               paid 76:17,19
                                                   123:8,8,10,11
     order 48:23 53:6        253:5                                       125:2 129:5
                                                   130:14,15,20,23
       62:25 63:10,11      outlets 199:9                                palmert 117:9
                                                   138:1 147:1
       70:18 101:6           241:9                                      paper 94:24
                                                   148:21,22 155:16
       110:12,12 124:15    outlier 210:5                                 122:10,25 125:23
                                                   155:20 156:23,23
       161:15,18 171:12    outliers 210:16                               127:24 236:18
                                                   157:1,3 165:3
       172:15 173:14                                                     249:23
                                                   177:3,4 187:16

                                                                                   Page 36
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 354
                                                          Page
                                                            of 379
                                                                410PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21974#:
                                      1694
    [papers - people]

     papers 29:13          parsing 101:21         298:5 301:6          patterns 62:25
      117:23,25 152:18     part 27:1 37:13,24    particulars 217:25      76:3 94:4,10 99:9
      192:11 248:19         39:7,24 41:12         218:2                  139:16 309:11
      299:19                42:4,13 43:10        parties 313:16        paul 255:5
     paragraph 124:17       44:12 50:2 51:5,8    parts 118:7 162:14    payment 76:23
      124:19 149:2          52:3 57:6,7,8 59:5    162:15 196:19,20     pdf 35:21 130:15
      157:3 187:15          66:1 74:14 84:10      253:3                  138:1 262:24
      191:12 196:1,2        120:8,23 128:9,10    passed 270:23           314:12 315:1
      200:14 212:17         161:8 162:2 167:6    pathway 175:14        pediatric 235:14
      213:10,12,13,20       197:16 199:6          175:20               pediatrics 240:3,5
      218:8 219:7           201:2 204:13         patiel 254:2            240:7 251:8
      225:15 257:19,21      216:20 222:24        patient 50:16         pedophiles 149:6
      260:7,8,10,15         223:10,19 230:16      69:11 75:18 76:8     pedophilia 20:21
      263:4,6,11,12,13      274:6 303:24          80:25 81:11 82:2       63:24 64:6 65:7
      266:4,14 271:23      participant 168:5      82:6,9 85:11,11        141:9,11
      288:2 289:9          participants 2:22      150:10 181:11        pedophilic 141:18
      291:25 305:18         120:21 121:6,13       197:5 198:10           141:23
     parameters             276:3                 211:22 253:23        peer 99:20,21,22
      226:17               participate 104:12     254:2 281:13           99:23 100:7,12
     paraphilia 89:25       133:11 222:2         patient's 81:17         221:3 226:23
      90:18,24 91:6,17      257:1 296:9,12       patients 46:5,11        228:19 232:24
      139:19,20 140:2      participated 64:2      46:11,18 50:10         240:15 248:17
      142:3,5,10 143:4,5   participates 168:5     65:11,21 69:14,19      249:12
      143:7,11 188:7        249:5                 69:21,24,25 70:9     peers 11:4 243:20
     paraphilias 63:24     participating          71:4 72:7,11           246:15 271:17
      87:24 88:5,6          15:11 26:23 27:11     74:13,16 75:1,4,17     272:3
      139:16 140:6          98:1 109:8 125:11     76:4,6 80:3,9 82:8   peggy 250:14
      144:6                 130:12 167:22         84:17,18,19,24,25    pelet 5:6 14:10,10
     pardon 96:7           participation          85:11,13,14,15,22    penalty 312:6
     parent 262:20          118:21 121:1          148:6 149:13,18        314:16 315:5
      307:6,7               126:17 285:21         149:21 151:1,4,8     people 18:11 19:5
     parental 217:3        particular 20:25       179:16,20,20,25        26:3 38:1,4,7 40:1
     parentheses 303:5      44:22 90:7 98:1       197:10,14 198:13       40:4 43:12 44:22
      303:6                 99:17 109:2 166:4     198:18 199:3,4         45:15,21,25 46:2
     parenting 262:19       189:19 205:14         211:12,18 237:8        48:13,15,15 55:21
     parents 181:18         217:23 219:19         240:23 255:22          57:5 58:17 63:25
      182:3 184:7           220:23 222:18,24      256:8,12,16,18         67:4,16 68:9
      217:14 264:5,7,11     228:18 237:1          257:9 258:1,6          70:22 73:15 77:2
     parole 69:21 70:16     240:10 245:21        pattern 142:7           77:5,10,18,23 78:1
      70:17,21              248:19 276:15         188:11                 78:2,16 79:1
                            280:10 294:3,3                               83:10,16 86:1,14

                                                                                   Page 37
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 355
                                                          Page
                                                            of 379
                                                                411PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21975#:
                                      1695
    [people - plaintiff]

       88:12,23 89:14,18     292:14 293:1          81:15 125:18         petersen 49:10,12
       90:3,22 91:4,23       295:3,8,10,13,17      136:18 142:21          58:9,12 129:22
       93:18 94:11,12,22     295:23 297:1,4,14     143:1,1,8,23 150:2   peterson 291:3,8
       95:5 96:15 98:6,7     297:17 299:22         150:5,7,10 154:6       292:11 293:8
       101:7 103:20          301:12 309:4          169:11,12,15           294:4,18 297:2
       105:22,22 108:6     perceived 279:4         173:20 175:15,21     ph.d. 47:16
       110:12,15,18,23       298:16                181:7 184:22         phd 1:20 9:3,13,16
       111:13 114:1        perceives 161:19        185:4,13,14,16         15:19
       115:9 120:24        perceiving 68:16        189:9,20 202:7       phenomena
       123:1,2 124:24      percent 45:1,7          209:5 215:2,3          110:10 169:10
       125:15,15 126:25      140:20 141:4,5,24     272:8,18 278:21        188:1
       127:19 129:10,12      142:15,18 151:10      279:9,16,21,24       phenomenon
       129:24 130:5          228:23,24 229:6       280:8 281:7,8,10       145:5 167:25
       131:5 139:21          229:18,19             309:19                 172:1 186:5 189:1
       140:15 147:22       percentage 72:10      person's 70:19         phone 251:4
       150:6,13,15           151:8 205:25          139:23 142:8         phrase 92:8
       163:16,18,24          206:24 207:19,24      280:22 281:1           244:18 276:24
       164:8,9 165:23        208:3               personal 227:23          280:24 299:13
       169:4,16 172:19     percentages           personally 154:12      phrased 121:3
       173:7 174:4,5,23      142:19                179:4,7 182:22         162:12 179:24
       174:24 179:22       perfect 244:7           183:1 197:9          phrases 189:19
       181:18 182:3,20     perform 44:6            198:17 201:8         physical 301:3,18
       183:12 184:3,7,20   performance             202:12 204:21          302:3 303:8,14,21
       184:24 186:14         121:9 160:25          205:3                  304:3,3
       188:12 198:21,21      162:5 223:16,18     persons 11:16          physically 231:17
       201:22,24 203:3     performing 44:5         149:7 255:10           231:19,20
       208:7,8 210:20,21   period 48:6 116:2       257:4,24             physicians 198:24
       211:2,4 214:15,17     136:20 137:13       pertain 37:11 39:6     physics 37:10
       214:18,23 215:19      195:3 314:18          42:11 49:25 93:7     pick 148:3 245:7
       215:22 216:9,20       315:7                 167:10,18 168:21     picking 277:18
       217:7,15 225:6      periods 69:7            172:5,24 173:8       piece 102:22,23
       227:21,24 232:10    perjury 312:6           175:2 180:25           107:25
       237:11,15,25          314:17 315:6          232:9,11             pieces 163:7
       245:7 246:23        permanent 86:6        pertaining 21:19         195:12
       251:11 258:5        permitted 85:10         42:25 69:4,5         pile 153:7,10
       268:19 275:19       permitting 181:7        92:25 137:17         place 147:6 151:15
       277:17 278:10,14    persist 188:16        pertains 88:21           213:25 310:13
       278:23,24 280:16      213:23 215:8,16       168:8,25 173:13        313:7
       281:17 282:13,25      216:1,23            pertinent 101:16       placed 313:9
       283:15 284:14       person 26:6 67:3        161:9 267:9          plaintiff 1:7 2:7,21
       288:17,17 289:15      70:19 80:17 81:7                             4:14 5:3 7:15

                                                                                    Page 38
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 356
                                                          Page
                                                            of 379
                                                                412PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21976#:
                                      1696
    [plaintiff - practice]

       13:22 14:1,3,5,7,9     149:19 169:23         243:20 251:23       possess 75:21
       14:11,13 16:7          209:11 236:3          256:6,14,25           180:15
       19:14 21:6 154:4       248:25 253:12         257:11              possession 72:5
       176:25 304:11          260:7 268:15         populations 45:3     possibility 245:15
     plaintiff's 9:22         280:5 285:19          125:1                 264:11 279:19
       156:14 310:25          304:19               pornog 72:5          possible 60:7
     plaintiffs 157:15       pointing 240:9        pornographic           70:18 159:12
       165:7                 points 255:21          289:16                163:17 189:8,11
     plan 242:15             polarization          pornography 72:5       190:16 206:19,19
     planned 148:12           268:12,21 269:9       142:24                209:6,9,14 219:13
     plans 114:2             polarized 275:17      portion 18:8 79:15     221:11 244:19
     plausible 299:5          277:7                 96:25 98:1,14,18      299:1,9 300:11
     plausibly 237:6         pole 275:16            98:20 127:13          308:18,19 309:15
     play 164:9 173:21       policies 161:16        167:7 277:14          309:17,19
       174:4,5,10 175:8       217:13,14 276:9      portions 222:8       possibly 138:12
       216:25                 276:13,18,20,21      posed 28:13 91:2     post 96:6 187:3,6
     playing 106:11          policy 86:5 88:18      162:11 272:22         187:8 286:22
       107:8 164:10           95:17 136:3           274:6 301:9,14        287:4,8 295:24
     please 13:18 15:15       158:11 249:5         position 41:5 48:6     297:14 298:2
       15:17 16:12 17:11      276:15                53:18 54:2,7 55:4     302:9,18 303:12
       18:1 28:12 32:12      political 158:10       55:16,18 59:16,19   postdoc 49:19
       34:8 35:20 36:19       164:22 279:3          60:11 61:5 62:12    postdoctoral
       58:5 115:11 122:4      280:19 293:3,19       62:17 64:19,20        46:25 47:15 49:23
       122:6,24 123:6,9       294:11,12             65:5 67:19 68:22      51:8,18 59:11,11
       137:11 145:23         politically 292:16     72:16 73:16 76:16     97:13
       148:21 151:24         politician 293:17      113:12 157:10,20    posted 207:11
       156:22,25 166:18       294:5,10,18           159:8,15 160:7      poster 221:7
       176:15 206:11         politicians 164:22     165:12 276:7,17     posting 295:24
       208:16 211:23          165:1                positions 49:13,16   posts 207:12
       212:12,14 218:5       polly 248:2            67:16 73:17 76:25     297:16,20 299:19
       219:24 225:12         polytechnic 37:2       77:4,9,15 158:2,5   potential 198:14
       254:15 257:14,22      poorly 179:24          158:15              potentially 71:11
       262:21 266:12         pop 230:10            positive 225:20      practica 46:20
       269:14 274:25         popma 246:3            226:13,18,24        practice 52:21,24
       275:5 280:24          popular 126:8          241:2,10,12,13,14     62:19 74:9,10,11
       284:3 286:19           141:1                 241:18,20,23          74:13,14,23,25
       289:1,4 290:15        population 11:4        242:6,14,22           75:12 76:14,20
       295:11 305:8           125:7 150:18,19       243:13 252:21         130:25 149:19
     pllc 4:6 6:18 7:6        167:11,18 168:9       253:9                 150:20 185:9
     point 82:12 83:25        168:22,25 172:25     positives 242:21       197:16,17
       115:11 147:21          173:8 174:23          242:25

                                                                                    Page 39
                                      Veritext Legal Solutions
                                           866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 357
                                                          Page
                                                            of 379
                                                                413PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21977#:
                                      1697
    [practices - process]

     practices 77:21        prepubertal 25:23     presently 74:4          137:4,5,7,8 138:4
       84:7                   26:9,11 78:4,23     preserve 134:18         138:7,22 139:3,10
     practicum 45:20          167:4,8,17,20       president 291:3         223:3 231:7
       45:24 46:1,4           168:7,8,9,16          293:18 294:5,12       248:16,24 313:9
       47:18 53:10 54:16      205:25 206:25         294:19              privacy 289:17
     practitioner 81:6        210:4 211:11        pressure 278:12       private 52:21,23
     practitioners          prepubescent            278:16                74:9,10,11,12,14
       211:10                 141:19 191:18       preston 239:18          74:22,25 76:14,20
     praid 76:19              308:23              presumably 116:9        84:7,17,18 85:14
     precise 280:5          prescribe 79:6,25     presume 137:23          149:18 150:20
     precision 216:24         81:1                  146:12              privilege 134:19
     predates 41:13         prescribed 132:13     pretty 74:18          privileges 165:20
     predict 169:10,10        197:23 198:3          153:17              proba 214:1
     predoctoral 53:9       prescribing 79:2      prevent 19:21,25      probability 214:2
       54:16                  132:18,22             139:24 144:4          214:7 245:21
     predominant 51:5       prescription          previous 73:16        probably 145:18
       103:3,5 144:9          196:24                101:12 126:11         211:3 214:3
     predominantly          present 8:3 31:8      previously 73:4,6     probate 306:21
       54:12 87:19            122:13 124:1,9,15     100:17 264:15       probation 69:21
       105:12 112:22          126:13,19 127:7       266:10 302:8          70:17,17,21
       113:18 122:13          127:10 128:11,24    price 231:25 232:6    problem 55:9
     preliminary 10:19        129:1 196:6         primarily 33:18         115:1 117:11
       35:10 136:9            224:13                45:9 47:22 48:2       131:8 159:11
     prematurely            presentation            63:16,19 64:5,8       177:6 194:24
       283:15,18,22           123:12,13 125:3,5     65:7 79:8 87:23       239:16,22 242:21
       284:13                 125:9,17,21           102:11 112:24         244:4,8 252:7
     premise 302:21           126:12 127:14,21      177:19                274:17
     preparation 30:15        127:23 129:5,8      primary 44:4 49:8     problems 246:13
       30:24 31:7,12          130:7                 91:22 98:2 131:15     246:15
       34:4 35:18 152:23    presentations           132:4,6 143:18      procedure 314:19
       221:13 231:16          122:10,20,25          148:23 149:4          314:20
     prepare 29:6,10          221:7                 150:23 211:15       procedures 281:11
       31:24 155:22         presented 99:4          254:1               proceed 15:17
     prepared 33:11           123:20 125:23       principal 115:3       proceedings 313:6
       34:23 137:7            127:24 245:6          119:1 305:17          313:8,10
       155:16 231:11        presenter 125:19      principle 242:20      process 108:9
     preparedness             127:23              principles 166:8        112:24 116:15,16
       81:17                presenting 107:23     print 221:9 236:11      118:3,6 126:15
     preparing 127:6          122:16 126:22,23    prior 27:16 35:4,8      128:20 158:10
       152:10 231:5           127:2 129:9 309:5     67:3,15 86:11         185:13 186:14
                                                    92:5 97:22 100:20     209:19 278:21

                                                                                   Page 40
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 358
                                                          Page
                                                            of 379
                                                                414PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21978#:
                                      1698
    [process - publication]

       279:10,17 281:17       properties 92:23         220:21 307:10,12       69:4 75:13
       282:13 283:1,9         property 241:25          314:19 315:8         psychometric
     processes 182:12         proportion 97:24       provider 80:15,16        92:22
     produce 153:8            proposal 124:8           80:24 81:4,12        psychopathology
       233:20                 prospective 208:4      providers 80:4           90:8 92:7 99:18
     produced 27:9              233:17 234:8           181:14 182:7,17      psychosocial 11:7
     professional 157:7       protagonist 110:2        182:23 183:5,11        247:8
       157:18 158:1             110:4                  183:25 184:12,15     psychotherapy
       159:4,14 160:6         protagonists 110:5     provides 69:18           54:3 150:9 179:10
       165:10 180:14            110:7                  272:7,17 273:5,17      180:15,25 192:18
       185:9 202:21           protect 157:11           304:3                  192:24 229:7,10
     professionals              177:23,25            providing 77:23          229:17 237:7
       290:14                 protecting 178:5         79:3 131:23 158:9      238:6 246:24
     professor 56:10,15         178:13                 159:3 181:15           252:5,7,9
       266:22 268:9           protection 177:20        182:7,13,21 183:6    pubertal 167:20
     professors 56:12           303:2,13               183:13 184:3,4,12      168:10
     profiles 254:3           protocol 194:6,7         307:15               puberty 11:6,12
     program 42:17              194:14 195:5,9,13    psychiatric 84:6         79:2,25 80:9 82:4
       44:3,17 47:17,18         195:16,19 237:25       84:12,24 128:18        82:11 132:12
       51:13 56:11 59:3         238:4 253:3          psychiatry 53:13         175:6 191:19,21
       59:6,13 66:1 67:9      prove 209:6,10,14      psychological            194:12 196:12,17
       67:11 73:10 150:5      provide 17:20            10:25 11:6,11          196:21,25 197:3,6
       299:21                   22:6 30:2 48:19        125:24 126:2           197:11 200:6
     programs 75:23             48:23 79:5 80:4        127:25 128:17,23       206:14 208:13,20
     progress 298:9             80:23,25 131:3         226:17 243:17          213:1 215:20
     projects 48:2              133:1 136:2 157:6      247:7 249:15           216:6 246:14
       277:25                   170:25 171:1           250:2 254:3            247:8 249:16
     prominent 129:18           179:10 180:15,25     psychologist 52:22       250:2 251:12
     promote 284:21             182:18 183:11          59:12 62:14,15         272:9,18
     promoted 64:22             184:1 197:3 198:8      66:18 180:21         public 109:18
     promoting 298:4            304:3 309:7          psychologists            136:3 210:18
     pronounce 47:7           provided 19:4            262:18                 278:1 301:8 303:3
       254:20,25                22:24 23:21,25       psychology 37:15       publication 88:16
     pronounced 253:7           24:9,13 25:17,19       37:19 38:11,19,23      88:21 89:2,8
     pronouns 16:4,17           26:8 27:22 29:17       38:23 39:1,9,14,18     92:24 93:21 95:22
       281:21 282:15            50:7,11 69:20          39:22 40:10 42:6       105:17,18 108:10
       283:2                    77:1,5,9 78:4,6,17     42:7,14,15,18 43:1     228:3,19 232:22
     proof 209:4,7              78:22,25 80:8          43:3,7 50:3,5,21       232:24 240:12,15
     proper 44:6 86:19          102:11 119:25          50:23,25 51:2          248:12 249:12
     properly 160:10            156:7,14 183:17        53:22 55:25 57:10      251:7
       284:14                   183:22 184:6           59:2,9,20 62:20

                                                                                        Page 41
                                        Veritext Legal Solutions
                                             866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 359
                                                          Page
                                                            of 379
                                                                415PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21979#:
                                      1699
    [publications - reactions]

     publications 87:4      182:4 265:11          229:15 244:9,18      267:2
      87:8,16 88:2,11      putting 217:5          244:22 272:21      quotes 200:21
      89:22 103:18,19               q             282:8 283:19                 r
      103:22 104:14,19                            284:1 288:6
                           quad 291:3                                r 16:15 56:17
      104:24,25 105:21                            292:21,22 294:15
                           qualified 25:1                              191:4 225:25
      112:14,23 113:14                            294:16 296:6
                            48:19 75:8 80:3                            316:3,3
      114:1                                       299:7 301:12,14
                            111:13 134:9                             r&s 315:1,9
     publicly 210:17                              310:5
                            135:18,21 194:11                         racist 289:12
     publish 99:25,25                            questioned 261:18
                           qualify 25:3                              raised 292:3,19
     published 52:12                             questioning 25:6
                            188:20,22                                raising 195:20
      94:24 100:18                                180:17 310:25
                           quality 236:17                            ramifications
      109:17 129:25                              questionnaire
                            237:5                                      80:20
      153:20 203:17                               92:22 208:10
                           quantitative                              ran 49:7 61:22
      221:3 224:20                               questions 16:22
                            301:10                                     119:13
      232:20 235:13                               17:5,6,19 20:1
                           quarter 72:14                             randomly 257:3
      236:9 240:5 246:8                           31:4 37:11 39:5
                            75:7                                     range 20:25 55:12
      248:8 249:8 251:7                           42:11 49:25 60:5
                           quebec 53:21                                55:13 111:25
      265:10,25 267:10                            71:2 101:6 147:4
                           queen 41:8 53:10                            120:24 206:18,23
      287:4                                       148:17,25 157:8
                            109:13,16,25                               207:6 208:5 224:1
     publishes 203:2                              159:21 162:11
                           question 17:10,13                           272:1 302:25
     publishing 203:5                             180:13 208:7
                            17:18 21:18 24:2                           303:17
     pull 62:21 230:14                            247:20 269:1
                            27:7 28:10,13,22                         rank 66:18
     pulled 200:11                                272:22 274:6
                            31:1 42:25 44:19                         rarely 191:21
      277:20                                      282:3,3 301:8,8
                            45:23 67:15 69:25                        rarer 189:1
     purely 279:20                                305:24 306:1,1,6
                            70:23 77:16 80:5                         rate 153:18 255:24
      293:19                                      308:1 309:10
                            87:14 90:20 91:16                          256:12,16
     purpose 99:12                                310:2,17 311:5,9
                            97:19 104:2,4,9                          rates 123:16
      159:20 160:3                                311:13
                            117:25 120:3                             ratios 254:4
      166:9 229:12                               quick 71:2 97:19
                            121:3 131:10                             ray 49:4,6,11
      257:20 284:19,20                            306:6 307:18
                            137:2,2,11,14,16                           58:12 129:21
      298:10                                     quickly 130:1
                            144:21 147:1                               170:18
     purposes 18:12,18                           quite 18:10 59:23
                            149:1 152:22                             reach 224:17
      63:2,3 229:8                                80:5,13 82:18,19
                            157:17,20 159:16                           225:1 267:5,11
      282:21 293:20                               142:19 163:6
                            160:7,11,22,22                             268:9
     pursue 48:14                                 257:17 283:25
                            161:4,7,8,10                             reached 134:12
     pursuing 40:14                               308:21
                            162:18,19 163:2,3                          135:10 136:5
      44:8 48:13,21                              quote 149:3 157:4
                            163:4 165:9,12                           reaching 126:18
      50:8                                        164:17 196:2,8
                            169:2 182:8 183:7                        reaction 293:8
     pursuits 52:13                               209:15 218:9,19
                            190:9,10 202:6,11                        reactions 292:7
     put 34:5 70:19                               225:17 258:9
                            206:8 222:24                               299:5
      100:19 135:4                                260:16 266:15
                            223:9,12 229:8,12

                                                                                Page 42
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 360
                                                          Page
                                                            of 379
                                                                416PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21980#:
                                      1700
    [read - refer]

     read 28:14 94:9,9       278:18                67:8 73:12 86:22    recognized 192:15
       106:25 107:5        ready 80:17 81:7        100:23 105:25         192:20 299:21
       109:14 123:18         157:1 239:14          108:19 110:8        recollection 20:16
       128:3 137:11,14       244:12 255:20         111:20,21 113:9       50:16 81:21 110:3
       137:19 147:2,11     realigned 65:3          133:13 153:6          111:23 124:18
       147:13,16 149:3     reality 277:19          154:21 155:3          146:25 153:10
       149:10 155:1,4,13   realized 85:24          170:23 180:3,4        194:20 288:15
       155:21 156:5          148:10                194:16 203:15         290:8
       157:4,22 164:11     realizing 184:22        217:24 218:2        recommend 200:4
       164:13,25 165:2,4   really 15:11 67:23      220:23 232:13,17    recommendation
       166:18 174:1          70:2 104:22           234:14 249:9          158:12
       177:16 184:11         106:17 138:17         274:3 285:11        recommendations
       187:16,22 191:13      185:2 282:22          293:25 294:2          200:25
       196:2 199:23          283:19 285:11,19      295:23 297:8        record 13:5 16:13
       200:15 204:7          300:23              recalled 92:21          28:14 57:22,24
       212:18 213:2,21     reanalysis 265:1      recalling 154:17        58:3 68:15 121:21
       214:6,10 218:9,18   reanalyzed 192:13     recant 170:14           121:23 122:2
       218:19 219:2          260:19 261:7        receive 81:5,8 82:3     137:19 151:16,18
       220:16 222:4        reason 19:24            217:4                 151:22 154:18
       225:17 236:12         71:10 97:20 111:8   received 49:22          212:4,6,10 274:16
       255:12 257:21         111:9 120:11          114:20,23 115:4       274:19,23 284:5
       258:10 260:16         156:13 173:11         116:5 137:3 221:2     304:25 305:2,6
       261:4 263:2,4,11      191:15 213:7,11       222:2,18 237:11       310:18 311:5,17
       263:17,18 264:13      216:7 268:8           237:15 238:1          311:18 313:10
       264:19 266:4,15       271:13 277:23         246:23 252:5        recorded 13:6
       267:3 271:9           281:9 288:6,7         287:20 289:6          217:24
       275:24 276:11         293:16 316:6,9,12   receiving 10:7        recording 41:14
       278:9,18 279:6        316:15,18,21          47:25 192:18,18       62:23
       280:15 281:16,23    reasonable 108:24       195:22 227:3        records 69:18,19
       284:3,5 287:19,23     282:22                229:5,7 249:21        85:1 154:16,23
       289:20 302:19       reasonably 183:14     recess 58:1 121:25    recounting 69:15
       303:10,24 304:7     reasons 143:12,16       151:20 166:20       recurrences 113:5
       312:6                 245:3                 212:8 274:21        reduce 140:16
     readers 99:13         reassignment            305:4               reducing 240:19
       280:5                 11:13,17 125:22     recheck 257:6         refer 16:5 19:2
     reading 49:1            250:3 255:10        recipient 114:16        32:7 47:3,10
       153:7,7 185:5         257:25 258:6,13     recite 170:17           75:16 80:3 94:13
       281:24 299:18         258:18,22 259:1,6   recognize 187:3         142:22 184:22
       314:23 315:9        rebuttals 31:18         210:3 215:2           217:2 238:22
     reads 157:3           recall 25:13 27:15      257:24 258:4          244:1 255:15
       275:23 277:9          31:16 41:7,18         260:2                 268:20 299:20

                                                                                  Page 43
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 361
                                                          Page
                                                            of 379
                                                                417PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21981#:
                                      1701
    [refer - rephrase]

       300:14 306:8        regarding 26:17        relating 83:16        religious 279:3
     reference 204:6,8       26:19,22 38:1          197:6 198:11          280:20
       204:10 222:7          40:1 43:11 137:4       288:16              rely 234:18
       239:5 246:20          162:1,8 244:9        relationship          relying 170:6
       247:19                266:19 267:6,12        301:23                228:8,10
     referenced 246:19     regardless 46:6        relationships         remain 249:5
       246:22 259:17         160:14                 55:14                 256:24
       283:5 314:6         registered 84:25       relative 153:17       remained 40:20
     references 171:1        180:22 254:23          161:6 174:14          40:20,21 64:21
       204:4,11 220:3,19   regret 185:21,22         189:22 313:15       remaining 21:22
     referencing 218:2       212:20               relatively 95:5         144:9 256:25
     referral 80:8,19      regrets 185:20           148:5 219:23        remains 243:7
       80:21 81:1,8        regretted 214:15         285:1 296:6         remarks 289:14
       85:23               regrouping 304:22        299:16 308:22       remember 21:3,5
     referrals 86:1        regular 85:22            309:21                23:6 53:20 55:7,7
     referred 70:10,22       120:22 187:20,24     released 70:16          97:18 113:10
       72:8,11 75:7          188:4 210:13           314:21                124:11 126:15
       85:22,23 216:11     regularly 85:22        releases 184:9          135:11 136:6
       251:8 268:17        rehabilitation         releasing 200:7         146:15,16,17,18
       297:2                 48:18 70:20            221:5                 153:2,24 203:11
     referring 19:4,14     rehearsal 30:6         relevance 154:19        203:18 207:15
       20:5 85:25 147:21   rehearse 30:17         relevant 27:16          220:25 232:15
       160:20 170:16       reinhardt 5:9 14:6       28:1 29:14 80:21      287:15 288:14,22
       207:9,14 247:20       14:6                   90:7 118:7 119:5      296:1 298:5,12
       253:16 274:4        rejected 271:12          132:8 135:23        remind 20:4 29:22
       276:13,15 277:4     relate 92:2 98:6         148:7 156:9,10,12     98:5 286:25 297:9
       292:25 306:18         103:22,25 223:17       157:7 161:13,19     remotely 2:22
     refers 139:22         related 20:21            163:10,11,14        removal 296:25
       181:7                 23:17 27:22 31:18      166:10 168:6        removed 101:22
     reflect 104:20          38:7 45:2,14,20,24     171:3,8,8,11,12       287:16 288:4
       194:19                46:1 47:24 60:9        172:14 198:22       renaming 73:8
     reflecting 97:24        61:10,24 71:9,10       222:8,23 232:8      rensselaer 37:2
     reflection 242:16       71:11,11 83:5,9,10     270:23,24 271:2,3   reorganization
     reflesh 146:24          90:23 91:7 96:15       290:5 291:20          65:1 73:2,8
       290:7                 101:2,3 109:1,7        310:12,16           repeat 28:10,12
     refresh 32:23           115:8 118:21         reliable 102:13         56:15 229:15
       146:24 176:14         131:5,10 132:4         265:1               repeatedly 63:10
       290:7                 142:24 155:24        reliably 225:20         95:1
     refused 248:25          163:21 238:10        relied 271:7          rephrase 17:11
     regard 90:3           relates 60:4 89:9      relief 133:1            43:20 80:7
                             90:2,6

                                                                                   Page 44
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 362
                                                          Page
                                                            of 379
                                                                418PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21982#:
                                      1702
    [replace - researchers]

     replace 279:22             242:2,3 243:21        217:2,10,20 218:1   37:21 38:3 39:20
     replicate 225:20           244:2,5 245:8         241:1,11 242:19     40:3,8,11,19 41:4
       226:11 253:3,8           246:18,21 247:18    represent 16:7        41:13,19,24 43:21
     replicated 195:19          247:20,21 249:19      30:19 167:25        44:5,6,6,20 45:6
       252:23 253:1,1,14        251:17,25 255:14      176:24 247:17       45:17,18 47:24
     replication 253:21         255:16,18 260:4,6     260:5 262:4,16      51:3 55:19 57:4
       253:22                   260:10,12,16,17       265:22              59:17 60:2 61:9
     replied 265:8              266:11,14 267:20    representation        61:14,15,20,22,24
     report 31:14,21,25         270:18 271:8          262:21              62:1,5,11,19 63:2
       33:11 34:23 35:7         305:11,18 306:8     represented           63:4,5,11,17 64:2
       35:9,24 118:17         report's 173:6          244:20              64:11,22,24,25
       124:21 137:22          reported 1:22 67:2    representing          66:14,20,21 67:3
       138:4,8,20,24            67:4 94:8 123:16      14:20 30:11         70:7 73:4 76:15
       139:6,8 144:10           125:1 166:14        reputable 224:6       76:15,22,23 86:3
       153:5,11,15              216:13 225:21       reputation 250:18     93:16,18,22 94:2
       155:15,17,21,22          226:14,16 241:9       250:19 268:11,16    94:11,13,15,22
       156:11,22 157:14         241:23 249:18       request 34:5 35:18    95:5,10 96:21,24
       158:22 160:5,25          288:19 297:3          81:14 82:7,10,13    98:24 99:9 102:9
       161:1,8,13 162:12      reporter 2:24           95:19 109:5         102:21,22,23
       162:21 163:10,11         13:16 16:20 18:1      111:16 215:4        108:1,1,2,3,13
       163:20 165:3,6           18:4 28:12 32:17      222:2               111:14 117:14
       167:4,7 168:18           34:13 47:9 137:10   requested 95:12       118:10 119:17,18
       170:9,15,22              137:12 146:1          96:20 126:17        119:20 120:8
       172:19 186:18            166:17 176:12         201:23 315:1,9,10   122:14 123:21
       193:7,10,11              186:25 190:22       requesting 126:13     127:10 132:12,17
       194:19,22 195:25         191:3 225:25        requests 199:8        132:20 141:9
       200:11,12 203:20         227:10 230:12       require 23:9 81:12    142:16 145:15,17
       203:23 205:18,21         235:7 237:18          120:21 188:23       145:19 147:24
       211:24 212:15            239:2 243:25          303:1,13            148:4,10,11,24,25
       213:8,19 217:23          247:15 250:8        required 23:12,15     149:4,25 150:23
       218:6 219:25             254:12 259:14         57:4 108:5,5,6      212:22 221:24
       220:5,7,8 221:13         261:25 265:18       requirements          223:1,23 226:8
       221:25 222:10            268:5 274:11          71:21               238:9,11 266:17
       223:10 224:14,18         284:2,6,9 286:17    requires 101:7        267:23 284:22
       225:2,13,16              307:24,25 308:2,7     164:8 172:16        285:25
       229:24 230:24,24         308:9 313:4         requiring 48:16     researcher 46:25
       231:2,18 233:8,11      reporting 94:4        reread 29:12,13       102:19 117:2
       233:14,23 234:2          121:8,11 241:13       226:19 282:7        147:3,10,20
       234:10,18 235:2        reports 157:15        resealing 85:5      researchers 211:7
       236:20,23 238:21         165:7 181:20        research 27:9 30:1    228:15,15 285:23
       239:3,6,9 241:1          195:22 216:11         30:7 31:11,23       290:14

                                                                                    Page 45
                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 363
                                                          Page
                                                            of 379
                                                                419PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21983#:
                                      1703
    [researches - right]

     researches 129:18     responsible 70:6        118:9 146:24        80:1 81:2 83:16
       245:12              rest 90:14 104:20       152:11,14,23        83:22 86:9,14
     researching 59:22       213:14 276:22         155:18 156:25       87:5 88:2,23
       88:4 140:5,18,22    result 241:14           157:25 162:2        89:19 90:3,12,24
       141:6,22              252:8 295:1           199:11,19 201:16    91:20 92:13 93:1
     reserve 305:25        results 10:19           203:24 204:1        95:10,17 97:6,7,10
     reserved 85:13          62:24 94:4 119:16     231:5,21 262:22     97:16 98:16 99:16
     resign 286:9            192:14 225:21         270:7 271:22        99:20 101:17,25
     resignation 291:8       226:11,14 236:9       289:4 314:8,10,13   102:6 103:6,20
       295:2 296:25          240:17 241:10,12      315:2               105:7 106:3,8
       298:1,13              241:13,14,18,23     reviewed 29:23        108:10 111:3
     resignations 290:2      242:6,14,22,24        30:3 35:5 98:20     112:2 113:15
     resigned 285:17         243:13,15 245:4,5     99:15,20,21,22,23   114:10,13,17,24
       286:6 295:10          245:7,11 246:12       100:7,9 136:7       116:4 117:6
     resigning 292:14        249:14 251:19         153:14 154:15,23    118:14,18,18
       292:14 295:13,15      258:11 267:6,12       155:23 156:8        119:6,23 120:2
     resonance 115:17      resumé 72:20            198:17 204:3,8,10   121:14 122:1,21
     resources 84:18         132:25                226:23 228:19       123:22 125:16,19
       85:20 155:23        retained 29:3           231:7 232:24        126:20 127:3,19
     respect 77:22           311:21                240:15 249:12       127:20 130:9,20
       79:11 86:13         retitled 92:7         reviewer 221:3        131:20 135:5
       157:24 178:4,8,12   retracted 192:13      reviewers 248:18      136:12,22 138:1
       195:10 268:10         193:4,15 296:16     reviewing 91:1        139:2,7,11,17
       275:20 276:8,17     retroactively         reviews 114:9         142:10 143:14
       294:21,23 295:1       110:24                248:17              148:18 149:1,20
     respected 228:2,7     retrospective         revising 203:10       150:5,20 151:21
       228:15 232:22         233:6,16,17,19,22   rgreen 3:11           152:7,25 153:23
       248:12                234:1,5,11,17       rhonda 56:13          153:25 154:10,13
     respects 281:19       retrospectively       right 17:25 24:10     154:24 155:5
     response 106:6          208:6                 25:7 27:23 28:20    158:3,15 159:16
       149:3 177:15        return 314:17           29:4 30:15 37:3     160:8,18 162:1,9
       265:5 266:25          315:6                 42:1 43:8 52:13     167:5,8 168:11,19
       267:10 268:13       reused 137:6            52:19 54:17,24      168:22 170:3,4
       291:8,11,12 293:7   reveal 134:5            55:25 56:8 57:11    172:11,25 174:24
     responses 9:22        reverse 241:12          58:2,13,17,21       174:25 176:22
       176:25 266:18       review 31:13,19         60:13,24 62:1,6,9   178:22 179:2,5,8
       295:7                 33:6 36:19 69:12      64:11 65:23 66:2    179:12 183:11
     responsibilities        87:2 94:13,19         67:16 72:8 74:1,9   184:2,9 187:13
       48:10                 99:1,5 100:12         74:23 75:18 76:20   191:8 194:15
     responsibility          108:1 109:12          76:23 77:11 78:4    196:25 197:3,7,11
       66:6                  111:7,16,19,21        78:7,14 79:6,9,16   197:15,17 198:11

                                                                                 Page 46
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 364
                                                          Page
                                                            of 379
                                                                420PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21984#:
                                      1704
    [right - scientists]

       198:18 200:25       roberta 3:6 15:5      runs 241:18           school 1:11 2:11
       201:3,6,10,13         311:3                        s              3:3 15:6 154:13
       202:5,14,18,20      roger 135:12                                  217:13,22,23
                                                 s 16:14 97:10
       203:21 204:9,14       136:19,21                                 schools 217:12
                                                   225:25 237:19
       204:23 205:5,9,17   role 20:23 22:10                            schumm 261:2,2,7
                                                   291:3 316:3
       207:2 208:1,13,20     26:4 57:3 66:20                             262:17 263:8,19
                                                 safer 31:17
       209:20,23 212:9       67:3 72:18 73:21                            264:1,7,15,20,25
                                                 safety 177:25
       214:4,5 217:6         76:13 92:22 103:4                           266:19,22 268:9
                                                   178:13
       220:11 221:14,17      128:2 131:13,19                           schumm's 261:17
                                                 salary 108:25
       221:21 227:24         157:24 158:24                               263:23 265:8,9
                                                 sample 12:4
       228:16 234:11         159:3,13 160:13                           science 20:24
                                                   253:23 254:2
       236:24 239:13         160:14                                      22:12,21 26:5,7,8
                                                   267:16 270:14
       241:15,23 242:19    roles 66:19                                   27:2,5,10,21,24
                                                 sauna 303:5
       245:6,9 246:10,25   roll 241:25 245:10                            37:8,9 93:25 94:7
                                                 saw 65:11,22 70:5
       247:3,6 251:17      romantic 55:14                                99:14 135:23
                                                   99:8 151:9 273:10
       252:1,12 255:24     room 303:6                                    136:1,2 158:9,19
                                                 saying 27:21
       256:9,14,19,22      rooms 303:4                                   159:24 160:14,18
                                                   128:20 181:14
       257:5 258:2,7,19    rooted 91:15                                  160:20,25 161:2
                                                   209:5 215:6,10
       258:23 259:2        rosalia 248:1                                 161:12,16,18
                                                   217:7 237:24
       262:14 270:19       rough 138:17                                  162:1,3,8,14,22
                                                   241:12 245:9
       271:8 275:12,19     roughly 21:15,17                              163:5,7,18 166:14
                                                   284:11 288:21
       278:11,15,25          22:8,9 40:17 45:1                           169:7 174:14
                                                   291:13 295:5
       280:17 281:18         46:21 71:10 72:14                           190:10,17 192:8,9
                                                   298:9,24
       282:14,20,20          74:15 88:10,14                              192:10 193:2
                                                 says 54:23 109:25
       283:1 287:9,17,18     105:11 113:13                               209:1,2,2,16 221:4
                                                   115:24 116:7
       291:18 295:20         122:18 124:17,20                            271:18 288:19,20
                                                   130:23 147:13
       297:10 305:5,24       126:16 133:13                               298:4,6,7,8,10,10
                                                   155:21 165:3
       305:25 310:1,20       135:8,9 140:20                            scientific 105:1
                                                   177:15 187:11
     rights 12:7 165:20      141:24 146:18                               201:15 209:19
                                                   194:25 214:2
       275:15,18 278:8       150:2 179:18,19                             210:6 226:23
                                                   225:17 226:7
       281:15                179:19 180:8                                264:9 284:17
                                                   240:10 264:20
     rigid 141:13,15,16      285:16 286:11                               286:3 287:13
                                                   268:25 287:19
     rigorous 106:19       routine 25:3 75:6                             289:22 290:20
                                                   292:17 302:19
     ring 287:14             75:11,12 113:3                              294:6,13 295:22
                                                 sbc 48:17
     risk 257:10 258:19    royal 54:16                                   296:21 298:2
                                                 scan 29:24 31:11
       258:23              rpi 37:3,5,12 38:8                          scientist 65:25
                                                   60:15
     risking 216:24        rules 16:19 315:8                             66:8,13,21 67:5,18
                                                 scanned 120:24
     risks 198:14 214:9    run 294:22 304:12                             68:23 72:18,19
                                                 scanning 120:22
       216:25 259:2        running 116:21                                73:22,23 221:5
                                                 scans 116:14
     road 6:10               131:6 188:20                              scientists 210:14
                                                 schedule 314:10
                             189:3,6,7                                   210:19

                                                                                   Page 47
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 365
                                                          Page
                                                            of 379
                                                                421PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21985#:
                                      1705
    [scope - sexist]

     scope 161:14            54:15 55:23 61:19      138:15 287:24      served 70:15
       164:19 167:12         63:4,16 65:4,21      seeking 82:11        serves 178:4,8,12
       173:2,25 174:18       66:12,19 68:1          135:13             serving 24:2
       198:19 222:14         69:23 70:9 73:9      seen 33:10 34:20     sessions 84:20
       223:8,25 225:3        78:8 80:23 81:19       36:2 46:19 78:12   set 37:11 39:5
       272:10,21 273:7       82:8 85:10 86:7        176:17 186:7         42:11 49:25 85:9
       282:4,17 283:6        89:25 97:15            220:24 270:4         101:7 177:1 313:7
       300:20 301:5,20       101:24 105:5           271:11,13 272:20   sets 94:10
       303:22 304:5,14       108:8 114:6            273:1,14 275:8     setting 299:15
     score 210:24            115:24 119:16          304:2                300:2
     scores 210:22           120:25 146:5         segregated 166:5     seven 47:24 57:19
       211:1,9               155:11 156:3,8         303:7                114:23 115:4,7
     scouring 152:17         177:13 178:1         select 100:4           311:20
     screen 230:10           179:16,25 182:1      selected 257:3       severe 228:23
     scroll 35:22            182:17 189:13        self 70:22 72:8,11     229:19
     se 258:13               190:23 191:11,23     send 75:9 80:18      sex 11:17 18:14,20
     search 266:16           195:24 204:7,11      sending 295:7          48:17 54:19 55:11
     searching 222:22        210:4 212:6 220:2    senior 65:25 66:7      65:8 71:9,10
     second 21:9 22:17       220:9 224:20           66:13,21 67:4,18     79:25 80:10 82:12
       36:18 97:21,23        226:2,19 227:12        68:22 72:18,19       115:13 117:2
       119:14 120:7,12       227:16,20 231:24       73:22,23             123:21 125:22
       120:16,20 131:6       232:2,19 235:9,11    sense 80:6 133:1       140:22,25 141:1,6
       138:1 145:24          235:22 236:3         sent 99:24 100:8       143:9 144:15,18
       153:15 177:24         239:7,9,11,20          221:12 248:20        145:16,19 147:3,9
       187:15 190:25         240:4,13 241:22      sentence 70:16         147:19,24 148:9,9
       238:22 239:21         247:23 248:4           165:3 196:1          149:5,25 150:24
       244:11 266:4          250:15 255:4,7         218:15 219:7         151:3,9 166:5
       270:7 278:8           258:15 259:7,23        289:9                172:20 173:7,20
       307:18                262:2,3,10 264:14    separate 73:9 99:4     189:21,22 194:13
     secondary 1:11          264:20,23 266:1      separated 104:23       197:19 198:8,11
       2:11 3:3 15:6         269:16,20,23         separately 48:7        198:14,18 199:3
     seconds 189:2           270:1,3,13 271:1,2   separating 252:8       211:7,7 219:1
     section 62:6,8,12       272:4 275:7          september 54:23        254:4 255:10
       63:5,18 64:25         277:20 286:19          56:5 62:9 119:4      257:4,25 258:5,12
       98:8 105:4 170:24     287:11,16 291:16       120:2                258:18,22 259:1,5
       204:4 244:2           291:21 292:9         series 9:19 54:5       273:5,11,12,16
     sections 118:9          295:6,7 304:20         146:11 183:8         284:21 285:23,24
     see 17:2 29:25          306:24                 193:6,6 196:18       290:14 303:1,7,13
       32:25 33:1,22       seeing 32:19 46:5      serve 49:12 113:1    sexes 162:5
       34:15 35:23 38:13     46:10 54:25 63:1       133:25 135:16,21   sexist 289:12
       42:19 51:7 53:2,9     84:17,24 107:21        161:6 221:20

                                                                                  Page 48
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 366
                                                          Page
                                                            of 379
                                                                422PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21986#:
                                      1706
    [sexology - social]

     sexology 10:1,3          298:2               side 91:2 160:12     sit 203:23 299:24
       12:10 187:8          sexually 141:19         160:16 162:25        301:19
       286:23 287:1         shaking 18:3            257:18 263:12      site 148:3
       297:10,13,21         share 180:8 239:7       269:1 310:25       sitting 113:6,11,11
       302:10                 269:15 275:5        sides 277:19 304:3     153:23 230:17
     sexual 20:25 46:7      shared 166:7          sign 197:5 198:10      231:7,17,19,20
       46:8 47:21,22        sharing 292:7           314:16 315:5         297:5 304:10
       48:4,8,16,17 49:17   shoals 6:10           signals 196:18       situated 238:4
       55:12 59:5 64:4      shore 294:24          signature 138:1,2    situation 21:11
       64:11 70:15 71:12    short 103:11            138:13 291:6         86:8 150:15 166:9
       71:15,15 73:11       shorter 306:15          313:24 314:21,23   situations 300:15
       75:9 76:2,2,3,3      shorthand 2:24          314:23 315:9         300:16
       87:24 91:17 92:11      313:3,11            signed 291:5         six 21:11,13,16
       101:11 113:1,2,8     shortly 230:10        significant 79:15      78:18 93:10,12
       113:18,20,22,24      show 145:23             264:4                103:18 124:12
       139:15,23,25           158:24 159:4,14     significantly          133:13 135:5
       140:16 141:12          169:21,22,25          260:24 271:16        136:6,15 138:11
       142:6,8,23 143:19      184:11 186:22       signing 285:3          138:12,16 179:16
       188:1,8,11 189:14      206:13 240:18       signs 166:15           179:19,25 231:2
       248:9,11 249:8,11      267:23 274:8        similar 21:17          249:16
       309:11               showed 240:25           22:21 51:16 55:4   size 120:18 153:10
     sexualities 59:18        246:13 260:21         108:9 110:21         257:17 270:14
       60:4 62:1 63:14      showers 303:4           119:10 122:23        302:3 303:8,14,21
       63:20 68:9,13        showing 193:23          128:11,25 144:23     304:3
       87:21 99:10            226:23 242:19         246:14,25 252:3    skagerberg 248:2
       105:16 139:16          272:6,15 273:3,15     269:13 307:25      skeptical 249:6
       140:11 147:25        shown 171:24          similarly 129:15     skew 244:16
       149:8                  192:14 207:12         238:4              skewed 244:14
     sexuality 43:14,17       212:22 298:6,8      simply 95:6          skorska 117:9
       43:24 44:9,11,21     shows 219:15            134:22 165:14      slash 115:25
       46:1 56:14,16,18       304:2                 309:2              slicer 3:5
       56:21,22 60:6        shuffling 73:13,14    simulating 61:23     slid 308:5
       63:23 74:5,8         shuman 3:5            simultaneous         slight 67:14
       75:22 76:1,18        shumanlaw.com           41:16              slightly 182:8
       77:11,19,25 87:21      3:11                simultaneously         184:20 272:2
       87:22,23 105:14      sibling 272:2           60:6 62:22         slow 153:18
       116:23 122:15,17     siblings 272:3        sincerely 288:14     small 186:7,11
       140:12 284:17        sic 15:6 33:24          298:20               257:17 296:7,8
       286:4 287:13           60:23 194:19        single 110:4         snake 242:1,2,4
       289:23 290:20          271:12                128:16 207:7       social 75:14 190:6
       294:6,14 295:22                              220:18               190:13 191:25

                                                                                  Page 49
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 367
                                                          Page
                                                            of 379
                                                                423PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21987#:
                                      1707
    [social - staff]

       194:14 195:1,6,10    sorry 24:21 28:8      spans 290:17            147:21 150:3,3
       210:4 211:11           30:25 33:7 50:20    sparked 294:3           153:6 162:4 166:1
       217:14,17 218:11       77:3 79:6 82:11     speak 17:24 53:23       175:3 180:22
       218:21 219:16          82:14 87:10,14        110:23 111:18         205:13 224:3
       226:17 269:10          98:11 107:1           210:17 269:9          234:7 248:18
       278:3 299:17           108:18 110:20       speaking 39:21          273:17 274:1
     socially 185:16          115:24 119:8          41:16 44:1 55:10    specifics 221:1
       217:16 271:24          132:21 133:8,20       82:14 90:6 93:17    speed 244:4
     societal 279:3           136:11 155:8          111:23 141:25       spell 16:12 237:18
       280:20                 159:2,8 171:10,12     165:22 171:16       spend 40:18 140:5
     societies 275:25         171:21 179:23         172:11 281:3,6        140:18,22 141:3
     society 111:11           202:24 207:13       speaks 112:6,10         141:22
       123:21 181:19          216:8 218:13        specialize 117:5      spending 221:5
       184:7 199:19           226:5 230:24        specializing 117:3    spent 79:15
       200:4,25 201:3,5,9     254:22 258:3,24     specialty 75:20       spoke 23:8,20 26:2
       201:16,20 202:3        264:19 266:10         211:20                46:20 48:20 50:21
       202:13,18 276:22       272:12 281:24       specific 22:2 25:24     57:10 59:1 119:19
       277:12 284:16,19       282:7,8 283:25        26:6 28:4 31:13       126:12 141:5
       284:23 285:5,10        304:22 305:12         55:22 60:10 91:6      160:18 184:9
       285:15 286:3,7         307:23                114:8 131:11          185:21 211:2
       287:12,16 289:22     sort 118:3              139:6 146:20          247:5
       289:25 290:3,4,20    sound 102:25            153:10,11,24        spoken 75:24 77:1
       291:9,14 294:6,13      233:15                154:19 158:12,13      133:22 136:21
       294:19 295:22        sounds 57:20            160:25 162:16         142:16 154:9,12
       296:4 298:1,17         103:16 121:19         165:18 169:23         182:17 219:21
     society's 202:10         127:20 182:8          173:21 175:10       sport 157:12 166:4
     sole 127:22              220:10 257:7          194:17 206:22         300:19,23 301:3
     solely 39:6 42:12        287:24 310:19         207:6 211:19          301:19,24 303:21
       43:7 76:14 112:1     source 73:7 144:1       224:23 277:2        sports 106:11
       118:6 237:11           192:23 211:15         300:14,16             107:9 168:6
     solutions 311:21         220:22 265:1        specifically 16:5       173:21 174:10
       314:7                sources 85:23           17:6 19:9 20:6        177:21,23,25
     somebody 116:22          182:4,6 183:9,10      26:25 28:18 38:25     178:5,13 302:3
       141:19 185:18          184:8 199:6,6         39:12,21 43:6         303:8,14
       188:6 288:21           217:6                 45:1,25 61:9 63:6   spot 124:15
       298:23 299:20        southern 13:10          71:9 75:7 88:6      sruti 4:16 13:21
       309:8                space 128:7             89:2,9 91:3,10        16:2
     somewhat 190:11          225:25                93:2,3 98:8 109:9   sswaminathan
     soon 88:6 215:3        span 79:19              112:15 118:23         4:23
       249:10               spanned 58:22           121:8 131:13,16     staff 84:6,12,24
                              109:23                131:18 146:16         108:25 120:17

                                                                                   Page 50
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 368
                                                          Page
                                                            of 379
                                                                424PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21988#:
                                      1708
    [staff - study]

       134:17 281:11         196:2 200:15        stay 187:7             115:20 121:10
     stage 91:15 120:20      212:17 213:20       staying 47:25          169:19,20,22,25
       120:25 175:7          216:7 218:9,19      stays 243:6            170:6,8,10,15,21
       200:6                 222:17 260:16       steensma 246:3         170:23 184:11
     stagiaire 53:20         266:15 280:14         250:13               186:1,4,8,11,14,17
     standard 42:21,22       312:12 313:4        stephanie 239:18       192:16 193:3,4,6,8
       106:18 200:20         314:4,9,12 316:1    stepney 227:18         193:22,22 206:12
       203:9 222:7         stated 50:7 284:20    steps 299:21           206:20 207:9,11
     standardized          statement 196:9       steptoe 6:18,24        207:16 208:4,6,7
       68:20                 261:2 275:21,23     stewart 239:18         213:5,8,15,16
     standards 195:21        277:8,10 278:18     stipulation 314:20     215:17 223:15
       195:23 203:2,6,21     279:4 280:20        stop 292:14            224:6 225:1,5,18
       203:24 204:5,22     statements 277:18     stops 196:21,22        226:23 229:24
       205:1,4,16 263:20     298:15              story 147:9            231:6 233:17,19
       264:17,21           states 1:1 2:1 91:1   street 3:8 4:9,20      233:22 234:1,4,6,8
     start 13:23 35:24       263:17 275:18         5:13 7:9,18          234:10,17 238:15
       38:11 88:4 91:23      278:8 281:16        strike 132:21          242:18,24 244:15
       105:15 113:6        stating 215:7           216:8                244:21 245:4,5,15
       115:21 122:16       statistic 215:12,14   strive 148:16          247:1 248:22
       147:7 209:7,11        257:2               strongest 91:9         249:7 250:20
       262:25 297:23       statistical 102:11    strongly 91:7,8        253:2,12,21,25
       309:9                 102:15,18,19,25     structure 66:10        257:8 271:3,6
     started 47:14           241:19,25 242:15      113:4 114:7          272:6,15,20,25
       59:10 74:25 116:8     252:15 260:20       structured 44:18       273:3,10,21 274:4
       147:22 170:18         261:11,15,17        student 44:7 96:3      304:8
       193:22,22 194:7       263:20,24 264:17      120:17 169:14      study 11:18 37:7
       215:23 249:10         264:21                284:24 310:11        38:10 40:6 44:20
       309:4               statistically 189:1   students 62:25         49:2,5 93:22,23
     starting 20:14          264:3                 67:20,21,23 68:2,6   95:3 102:9 108:6
       120:1 182:15        statistician's          108:17 130:19        108:12,21 109:2,3
       220:14 271:23         261:14                131:9,12,22          109:7 111:9
       291:25              statisticians           165:17,18,24         114:24 115:5,8,18
     starts 168:13           117:12                166:12,23 167:2      116:13,14,21
       169:9 209:3         statistics 45:11        285:12               117:20 118:13,21
       225:16 257:19         51:16,21,22 56:13   studied 38:18 49:4     118:24 119:1,4,7
     state 1:9,12,14 2:9     102:17 116:23         58:8 167:3 176:7     120:20,23 121:1,4
       2:12,14 3:13 4:5      118:10 243:5,12       186:9                121:6,13 147:8
       7:5 9:24 13:8         244:10,17 245:22    studies 40:10          170:14 184:17
       14:20 16:12 21:4      266:6 301:11          47:15,16 52:10,11    186:5 193:20
       21:18 176:25        statute 310:13          52:12 55:1 59:11     206:15,15 207:7
       177:9,11,15,18                              95:2 106:23 107:2    208:12,18,21

                                                                                  Page 51
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 369
                                                          Page
                                                            of 379
                                                                425PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21989#:
                                      1709
    [study - sure]

       209:10,21 210:1      stutler 1:13 2:13     suggested 290:4         181:10
       219:15 221:5,6,6       6:17 15:1 311:8     suicidal 236:16       supervisor 49:12
       227:2,16 228:19      subject 21:14           237:4                 130:19
       228:21 229:3,16        27:15 38:25 79:12   suicidality 123:16    supervisors
       230:2,15,19,21,24      130:4 135:23          124:25 228:24         131:12 147:22
       231:8,9,10,15,24       144:19 205:11         229:20              supplement 310:3
       231:25 232:19        subjectively 68:16    suicide 10:11,12      supplied 156:18
       233:1,9,11,13,17     subjects 37:22          124:25 230:4,4      support 11:6
       234:24 235:13          39:21 61:15,15,20     233:4 255:24          48:16 106:23
       236:2,7,12,14,21       61:22 87:23           256:12,16 257:11      107:2 108:25
       236:23 237:2,9,10    submission 139:3        258:19                158:5,8,15,17
       237:14 238:4,18      submit 100:5          suite 3:9 4:10 7:10     162:13,25,25
       239:17 240:2,18        124:14 128:11,24    sum 105:1               163:7 191:14,25
       241:5,10,15,23         139:5               summarize 22:12         211:11 234:5
       242:7 243:17         submitted 35:9          22:21 26:4 94:13      247:7 258:17,21
       245:22,24 246:1,4      97:18 117:24          162:14 223:19         258:25 296:24
       246:8,13,18,25         118:1 124:8         summarized            supported 11:21
       247:18 248:1,8         126:12 129:1          215:17,18             120:19 159:24
       249:15 250:1           136:9 137:24        summarizing             160:20 259:20
       251:6,10,16,21,25      139:4 153:1           20:24 26:7 27:1       265:24
       252:4,7,22 253:8,9     230:21,25 231:18      43:21               supporting 192:25
       253:10,14,17,19        249:7               summary 27:4          supports 162:1,8
       254:17 255:4,11      subscribed 313:18       124:17,19,22          162:22 191:17
       255:14,22 256:1,5    subset 200:14           145:14 171:1          208:12,18,21
       256:11 257:6,15      substance 129:8       sunita 239:18         suppose 285:21
       258:4,10,17,21,25      152:7               superintendent        suppression 11:7
       259:18,18 260:2,6    substantial 84:9        1:13,14 2:13,14       11:12 200:7
       267:6,12,15,19         102:16 135:22         4:3 6:17 7:3 15:1     246:14 247:8
       268:10 269:18,22       153:17,19 285:12      15:4 311:13           249:16 250:2
       270:2,5,13,14,18     substantive 18:8      supervise 49:15         251:12
       270:24 271:5,20        114:9 232:8           67:19 68:3          sure 13:20 15:10
       271:23 272:23        subtype 173:13        supervised 67:1         28:7,21 52:17
       273:15 274:5         successfully 25:20      67:16 84:13 131:4     57:20 64:8 66:24
       284:17 286:3         suffer 58:20            131:12                71:20 77:4 98:11
       287:13 289:22          200:17              supervising 66:25       104:1,4,9 110:8
       290:20 294:6,13      suffering 176:4         68:24 96:23           121:12 134:20
       295:22 298:2           179:21 209:22         131:19                173:14 179:24
     studying 38:11           232:16 310:11       supervision 45:19       180:11 208:18
       96:3 139:15 149:5    sufficient 80:15        66:23 68:7 130:24     215:5 229:12
       150:24                 182:14,23 294:21      131:16,22 132:11      239:5 241:24
                                                    132:17,20,22          244:19 258:4,25

                                                                                   Page 52
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 370
                                                          Page
                                                            of 379
                                                                426PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21990#:
                                      1710
    [sure - tara]

       271:10 272:15       105:2 112:11           286:13,18 293:22     tafuri 235:20
       274:14 278:4        120:5 121:17,20        296:23 299:10        taggart 235:19
       304:24 308:21       122:5 124:6            300:17 301:1,13      tailored 138:20
     surgery 11:17         133:19 134:6,10        302:1,7,13 304:1,9   take 17:16,20
       185:19 255:11,23    134:20 135:3           304:18,25 305:9        23:14 33:5,8
       256:13,17 257:10    137:10,15,20           305:22 307:17,21       36:19 37:14,25
     surgical 251:13       142:13 146:2,4         309:18 310:15,19       39:8,25 42:15
     surprised 121:5       151:14 152:1           310:24                 43:11 51:9,12,14
       221:1               158:20 159:10        swear 15:15              51:18 57:16,19
     survey 186:8          160:2,17 161:11      sweden 11:18             67:14 87:2 103:11
       233:6               161:22 162:17          255:11                 116:14 121:18
     suspecting 185:14     164:5,24 166:17      swedish 254:19           125:18 131:18
     suspects 288:8        166:21 167:16          255:22 256:13          145:22 146:20
     suspend 290:9         171:9 172:18,23      switch 239:21            154:18 156:25
     suspended 287:22      173:5,18 174:7,22    sworn 13:19 15:16        166:8 177:6
       288:5               175:4,18 176:1,8     symposia 122:11          200:10,12 207:23
     suspension 291:9      176:13 187:2           123:1                  252:3 257:21
       293:9               190:18,24 191:3,5    synonym 141:2            305:10 311:16
     sutton 97:10,12       193:13,16 198:1,6    system 70:17           taken 2:21 43:6
       98:2,2,13,25        199:1,12,17,18         80:13 85:8 100:12      157:9 158:2
     sutton's 97:21        206:9,10 207:8         143:1 145:23           185:19 313:6
     swaminathan 4:16      208:17 209:12          149:9,14,22          takes 32:23 176:14
       9:6 13:20,21        210:2,11 211:16        164:22 248:25        talk 36:23 115:20
       14:15 15:24 16:2    211:25 212:13        systematic 106:19        132:2 133:2
       16:6,6 18:24        219:8,10 223:2,11      202:9 208:4            178:24
       19:10 25:14 26:16   224:11 225:8,24      systematically         talked 29:4 103:19
       27:3,18 28:11,15    226:1 227:6,11         62:23                  183:25 309:22
       28:19,24 29:1       229:14 230:8,13                t            talking 18:9 83:18
       30:21 31:2,5        234:16,22 235:4,8                             94:3 98:12,12
                                                t 16:15 191:4
       32:20 33:3,4        238:24 239:4,10                               114:3,4 166:1,3
                                                  237:19 316:3,3
       34:14,17 35:6,13    239:15 241:21                                 169:19,25 171:18
                                                tab 32:14 34:10
       40:22,24 44:14      242:11 243:22                                 193:4,24 210:21
                                                  145:21 176:9
       45:5 46:3 47:9,11   244:3 245:1,18                                217:14 226:3
                                                  186:20 190:19
       57:16,21 58:6       247:12,16,24                                  241:2 244:10
                                                  207:13,15 227:7
       61:3,18 63:15       250:5,10 254:8,13                             253:11 267:25
                                                  230:9 235:5
       64:9 65:20 71:1     259:10,16 261:21                              292:20 299:11
                                                  238:25 243:23
       71:13,23 72:1       262:1 265:15,19                             tangentially 96:15
                                                  247:13 250:6
       77:8 83:8 85:6      268:1,6 272:14,24                           tanner 175:7
                                                  254:9 259:11
       86:17,23 96:9,12    273:13 274:2,8,14                             200:6
                                                  261:22 265:16
       96:13 103:8,14,16   275:1,2 282:5,9,24                          tara 4:17 13:25
                                                  268:2 274:9 275:4
       103:17 104:3        283:12 284:2,8,10
                                                  286:14 302:8

                                                                                  Page 53
                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 371
                                                          Page
                                                            of 379
                                                                427PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21991#:
                                      1711
    [target - think]

     target 269:3,8          198:18 199:2          152:10 179:1          194:4 199:10
     targeted 44:11          217:19 237:14         253:13 263:23         231:22 244:7
     targets 269:4           293:23 301:17       testify 23:10,12,15     255:19 282:5
     tasks 276:7,16          309:10                195:8                 292:6 305:22
     taught 56:23 57:1     ten 20:17 113:14      testifying 19:18,19     306:2 308:7,9
     tbarham 6:11            113:17 199:14         19:22 313:9           311:14
       314:2                 257:3 277:3,24      testimony 22:2        themself 154:8
     tborelli 4:24           278:2 304:23          23:1,20,22,25       theo 250:13
     teach 56:19           tend 210:16             24:10,13,18 25:10   theoretically
     teaching 52:2         tender 305:25           25:17,19 26:8,13      299:9
       55:24 56:9,11       tenet 209:16            27:8,10,22 28:4     theory 154:6
       57:3 130:17 131:1   tenille 235:19          90:21 112:1 145:7     210:3 234:5
     team 120:6 133:7      terf 191:2,6            154:22 159:4        therapists 211:7
       134:24 135:11         302:10,11             162:20 163:10,19    therapy 10:10,23
       137:3 173:22        term 11:15 53:21        179:15 223:4          46:6 48:12,14,20
       175:8 246:2           128:21 139:20         224:25 234:9          48:22,24 50:8,9,11
       251:18 265:6          141:1 144:24          242:5,9,12 243:1      54:19 55:11,12
       266:18 267:12         145:3,4 181:3,6       271:5 293:7           79:6 82:4 123:21
       303:8 304:13          214:25 252:18         306:18 307:2          230:3 237:11,15
     teammates 165:25        255:9 300:9,9,14      311:19 312:9          238:1,20 240:18
     teams 104:13          terminology 18:23     testing 39:13         thereof 313:13
       164:10 165:17,19      19:7 26:24 27:14      42:20 68:8,14,20    thing 13:20 127:6
       165:23 166:1,5        43:25 44:23 60:25     69:3                  143:8 268:24
       167:22 174:5,6,10     167:13 172:22       testosterone 198:2      273:21 279:13
       302:3 303:14          173:3,10,25         tests 241:19          things 52:14 60:7
     technical 174:20        197:24 198:4        text 99:20 164:11       93:24 128:3 259:5
     technically 285:20      208:14,24 210:8       207:17 222:8          295:5
     technique 252:15        211:14 222:15       textbook 90:8 92:6    think 21:25 24:1
     teenagehood             229:13 234:13         97:6 99:12,18         24:21 27:7 28:8
       167:23                273:8                 101:15                31:3 33:24 41:1
     teens 46:15,16        terms 25:25 26:7      texts 99:19 222:7       46:18 50:15 57:1
       50:18 309:1           46:14 65:10 73:17   thank 15:25 16:8        74:3 76:10 86:11
     teeters 182:24          106:20 112:22         16:11,16 28:23        103:2,9 106:1
     tell 22:1,5 54:1        238:5,5 301:7         30:21 34:1,7          109:22 126:8
       55:3 59:15 62:16    test 42:22,23 68:18     35:12 39:2 41:2       130:15 136:24
       64:18 74:12         tested 219:20           42:24 46:22 62:4      137:15 140:21
       100:11 102:8        testified 15:21         65:4 71:23 72:6       142:14 145:3,6,18
       107:18 119:9          26:17,19,22 58:8      85:6 96:11 105:3      147:14 148:11,22
       122:24 129:7          86:11 91:19           106:21 111:6,6        149:17 152:20
       131:25 149:16         126:11 137:21         115:19 134:7          158:7 159:19
       169:24 196:14         139:14 143:3          139:13 141:21         162:18 163:2,4

                                                                                   Page 54
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 372
                                                          Page
                                                            of 379
                                                                428PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21992#:
                                      1712
    [think - tough]

       164:4,21 166:22     tile 128:10            timing 135:15            311:19
       171:10 183:4        time 16:1 20:14        title 53:18 55:4,6,8   told 125:14 133:9
       185:2 202:19           21:9 29:15 37:5        62:11 64:20 66:7      199:4 220:24
       206:3 207:12           40:7 42:12 43:22       66:12,17 90:25        270:4 288:10
       211:25 212:2           43:22 46:19 47:19      92:9,9,10 101:11    top 97:3 149:2
       223:21 224:4,8,10      47:21 48:11 50:17      101:12,22 127:24      164:13,14 177:9
       224:12,16 232:6        52:6,9 56:24           128:9 177:24          187:15 194:25
       233:25 234:3           57:14 59:1 63:4        178:9 260:3 262:6     199:23 218:14
       238:15 243:2,10        63:17 65:22 67:20      267:18 294:18         220:3 227:16
       243:10 244:16          68:2 70:20,21       titled 88:16 92:11       233:25 271:22
       245:23 265:3           84:6,16 85:17,21       107:2,15 123:14     topic 27:24 28:1
       268:22 270:24          86:4,12 95:4           125:21 128:1          83:16 100:4,8,11
       277:3 288:2            97:14 99:2 100:24      191:1 220:2 227:2     102:12 114:4,5
       291:12 293:16          108:16 109:18          230:2 234:24          118:24 121:4
       298:20 303:17          111:15 119:25          238:18 243:17         167:3 170:25
       304:18 311:15          120:12,16 128:1        250:1 255:9           202:9 205:12,13
     thinking 264:25          129:16 130:3           259:19 267:15         223:25
       268:25                 138:18 140:5,9,18      302:10              topics 60:9 63:12
     third 72:14 177:24       140:22 141:4,22     titles 62:13 65:2        86:13 87:19 99:2
       191:12 257:18          142:15 149:19          66:11 170:17          101:5 105:12
       262:6                  153:8 159:9 177:6   tlanghofer 6:14          112:21 122:13,14
     thirds 71:10             187:18 188:17       today 10:1,3 12:10       142:20
     thomas 235:21            193:10 195:13,15       16:1,9,21 17:25     tordoff 227:1,17
       250:13                 200:1 212:1 218:3      18:8 19:18,22         230:15 231:9,10
     thought 43:22            218:25 229:7,23        29:7 30:6,10,17       231:15,21
       84:9 111:12 148:5      233:8 236:20           32:5 33:12 34:4     toro 5:6 14:10,11
       153:4 189:4            238:7 246:17           34:23 35:18 75:13   toronto 47:1 52:1
       270:22,25 290:1        249:22 270:18          154:22 158:24         52:2,25 53:1
     thoughts 10:11           271:21 274:13          162:21 171:14         67:22 74:5,8
       230:4                  290:3,23 305:2,23      187:8 195:8           76:18 77:11,19,24
     thousands 150:6          306:19 311:22          231:17,19,20          125:25 126:8
     threatening              313:7 314:10,18        242:5 255:3         torturous 289:17
       289:12                 314:24 315:7           283:21 286:23         289:18
     three 21:17 40:13     timeframe 67:11           287:1 297:5,10,13   total 296:5 311:20
       40:14,18 41:4,25       88:9                   297:21 299:22,24    totality 116:4
       68:4 81:22,23       times 20:10 23:8          301:15,19 302:10    totally 150:16
       87:9 115:4 135:4       40:23 81:20            304:10 305:15         199:15
       177:22 204:2           114:23 115:4           306:17 307:9        touching 72:4
       232:7 286:11           242:1 245:10           308:21              tough 60:14,14
       290:17 295:23          255:23              today's 29:11            62:21 80:12
       296:15                                        232:8,12 282:19

                                                                                     Page 55
                                     Veritext Legal Solutions
                                          866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 373
                                                          Page
                                                            of 379
                                                                429PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21993#:
                                      1713
    [tracked - true]

     tracked 209:21         46:2,9 52:4,7          307:13              translation 53:21
     tracking 186:2         55:20 57:4 58:16     transgendered         transsexual 11:16
     trained 42:21          58:20 63:6 77:2,5      123:1                 12:7 255:10
     trainee 53:22,25       77:10,23 78:4,7,16   transgenderism          275:15,19 276:2
     training 38:6          78:22 79:1 83:10       98:9                  280:8 281:15
       45:14,16,20 48:23    83:16 86:14,19       transi 216:2          transsexualism
       48:25 67:20,25       88:12,16,22 89:3,9   transition 48:14        98:22 106:24
       75:23 130:18         89:18 90:2,22          48:21 50:9 91:10      107:4 109:19
       131:1,4 180:14       91:4 92:2,12,25        91:16 171:25        transsexuality
     trajectory 169:11      93:7 96:15 98:6        173:16,17 176:3       27:25 43:15,18
     trans 21:22 45:2,2     98:15 101:2,16         181:9 185:13,25       63:25 110:10
       48:15 49:3,9,9       103:20 105:22          187:18 188:16       transsexuals
       77:18 78:1 89:14     106:11 107:8           190:7,13 192:1,17     128:2 276:21
       123:15,16 125:1      109:8 111:25           192:19,22,22,23     travis 6:5 14:21
       130:2 131:9 132:2    115:9 118:22           193:1 194:15          30:12,13,14
       132:4 148:6          119:5 121:1,9          195:2,6,11 206:14     103:10 146:2
       163:16,18,24         125:6,8,10,15          210:4 211:11          307:19 314:1
       165:24,25 166:12     127:14,18 130:8        212:20 213:25       treat 18:11 19:5
       166:23 169:3         130:11 131:5,23        214:8,16,18,23        211:18
       184:23 185:15        132:8,13,15,18,23      215:1,20 216:5,18   treated 179:7
       186:6 187:6,7,17     140:1 142:9 143:5      218:24 219:18       treating 200:4
       191:19,21 211:21     143:6,11,13,22         226:9 277:16        treatment 68:8,12
       309:21               144:5 145:8,8          278:10,12,13,13       75:5 79:2,25 80:9
     transcribe 18:2        167:2 174:9 175:6      278:15,16,19,22       80:18 81:16,18
     transcribed            175:15,21 180:9        278:25 279:15         82:4,11 115:8,13
       313:11               189:7,18,24 190:3      280:17 281:17         115:16 132:5,7,12
     transcript 16:21       197:22 198:2           282:14 283:1,9,9      150:5,9 178:25
       308:1 312:7 314:6    200:16 202:21          283:10 299:14,17      196:6,17 197:11
       314:8,10,13,13,21    203:3 206:1 207:1      299:18,19,22          202:4 208:13,19
       315:2,2              207:20 208:1           300:1,12 307:7        238:7 251:13
     transcription          211:18 222:11        transitioned            280:23 281:2
       313:13               223:5,23 224:6         198:22 215:24         294:23
     transgender 10:6       227:3 230:5 232:9      216:2,10,21 217:8   treatments 81:2,9
       10:12,18 11:1,20     232:11 235:1           217:17 271:24       tried 24:12,17,24
       12:5 18:11,19        236:17 237:5         transitioners           110:17 226:10
       19:4 21:24 23:18     243:18 251:11          112:2 212:21        triggered 73:2,8
       25:23,25 26:3,9,19   256:18,22 259:19     transitioning         trouble 307:19
       26:22 27:5,5,11,23   265:24 267:16          110:18 214:16,19    true 146:13
       28:5,17 38:1,4,7     271:15,24 280:22       214:21 279:9          198:20 202:15,19
       40:1,4 43:12         281:1 288:17         transitions 78:2        208:25 237:9
       44:21 45:15,21,25    292:1,18 307:11        116:16 185:16         242:23 243:12

                                                                                   Page 56
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 374
                                                          Page
                                                            of 379
                                                                430PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21994#:
                                      1714
    [true - understanding]

       245:13,14 293:12        304:5,15 310:3,4,8     75:4 81:24 126:5   undersigned 313:3
       312:10                  310:17                 144:11 148:24      understand 16:24
     truth 240:21,22         turn 35:20 53:6          165:25 197:14,23    17:8,10,22 18:5,16
     truthfully 19:22          93:13 104:19           198:3 252:11        18:22 19:1,6,12,15
     try 17:11,17 24:25        106:13 121:7           273:21 275:16       19:17 27:7 28:20
       25:9 68:15 208:6        122:6 123:11         typology 106:23       44:17 46:13 50:16
       280:9                   126:25 130:14          107:3               62:18 72:3 75:25
     trying 62:18 77:20        148:21 155:15        tyson 6:8             77:24 80:19 84:3
       84:22 109:24            156:22 177:4                  u            87:13 109:24
       110:21 139:7            187:14,20 190:25                           110:20 115:22
                                                    u.s. 13:9 80:19
       140:15 149:17           191:11 194:18,21                           117:25 122:10
                                                      181:21 195:22
       155:12 159:13           205:21 211:23                              123:13 130:17
                                                    uh 100:2 115:15
       170:5 183:4 185:8       212:14 218:5                               139:7 141:8,11
                                                      182:11 237:20
       186:8 189:21            219:24 225:12                              149:17 152:2
                                                    ulterior 283:4
       215:13 248:24           231:23 257:14                              159:13 162:23
                                                    ultimately 70:6
       277:1,1 292:13          262:24 263:10                              170:5 171:13
                                                      83:6 84:7 264:1
       294:17,24               266:12 281:14                              172:6,15 173:15
                                                    un 289:17
     tryon 3:15 14:18          288:25 302:18                              176:22 179:1
                                                    unable 75:17 84:8
       14:18 18:23 19:7      turned 192:12                                182:1 183:4
                                                      86:5 226:10
       30:18,19,22,25          260:17                                     184:18 185:3,8,22
                                                      239:11
       31:3,6 44:1,1         tutorial 127:5                               214:25 215:5,14
                                                    unanimously
       45:22 61:13 64:7      twitter 278:4                                229:3,9 231:4
                                                      206:21 207:6
       65:15 70:11 71:6      two 21:25 22:1                               243:10 256:7
                                                      212:22
       71:17 86:15,21          23:15 26:2 33:19                           276:23,24 283:19
                                                    unaware 270:20
       96:7,11 103:24          51:20 56:12 58:8                           294:15,17 298:12
                                                    uncivil 289:11
       112:8 120:3 124:4       71:2,10 81:22,23                           299:1,12
                                                    uncontested
       134:2 136:23            100:24 114:15                             understanding
                                                      101:19
       158:16 159:17           115:20 117:2                               25:15 28:3 33:9
                                                    unde 190:10
       160:9 162:10            130:25 150:2,7                             35:6 43:1 63:21
                                                    undecided 190:11
       164:2 167:14            207:12,16 238:5                            84:23 104:5,10
                                                    undergo 257:10
       171:6 172:12,22         286:11 299:5                               135:20 139:19
                                                    undergoing 11:16
       173:1,24 174:17         307:3 309:2,15                             142:2 145:13
                                                      189:10 197:10
       175:1,16,23 207:4     type 171:17 172:2                            146:8 153:13
                                                      255:10 278:21,25
       209:24 219:5,5          172:5,7,9 197:13                           155:12 160:10
                                                      279:9,16 280:16
       224:9 234:19          types 172:3 196:24                           164:6,16 165:15
                                                    undergraduate
       241:16 244:22           278:6 308:12                               166:7 168:3 174:6
                                                      37:1,12,14,16,17
       245:17 272:11,19      typical 139:25                               176:2 185:10
                                                      37:25
       273:9,19 282:2        typically 45:7                               189:24 215:13
                                                    undermine 157:11
       283:7,24 296:18         46:11 54:4 68:6                            244:13 261:6
                                                      158:3
       299:6 300:3,5,21        69:20 70:3,14                              263:8 271:21
                                                    undermined
       301:4,20 303:22         71:3 72:4 74:17                            284:1,4 286:1
                                                      158:25 159:5

                                                                                    Page 57
                                       Veritext Legal Solutions
                                            866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 375
                                                          Page
                                                            of 379
                                                                431PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21995#:
                                      1715
    [understanding - vries]

      292:24 299:25       unsigned 287:20       variable 301:22         274:18,22 305:1,5
      300:18,23 301:2     update 153:9          variance 252:16         310:20,23 311:1,6
      301:18                230:16              variations 185:10       311:10,15
     understands 264:8    updated 36:17         variety 157:16        videotaped 1:19
     understood 17:14       139:5 153:5           165:8                 2:20
      28:21 100:13          201:13 277:23       various 157:25        vie 124:15
      109:24 150:16       updates 152:11          273:11              view 113:17 140:1
      152:20 160:3          153:3 201:17,21     venues 181:17           158:25 159:5
     underwent 255:22       202:18                278:2,5 290:13        188:18
      256:12,17           use 16:4,17 18:1      verbal 18:1           views 269:10
     undue 278:11,15        20:5 93:18,25       verify 24:25            302:24
     unethical 84:9         94:2 138:5,7          266:23              violated 289:23
     unfair 206:18          139:4,10 145:4      veritext 8:4 13:15    violating 71:21
     unfamiliar 129:11      148:24 184:20         13:17 311:21          151:2
      129:12                229:2 243:14          314:7,9,11          violative 76:9
     unfortunate 243:9      244:17 284:14       veroff 5:10           virginia 1:2,9,11
     unfortunately          299:13,22           versa 63:3              1:15 2:2,9,11,15
      18:3 277:6 306:9    useful 111:11,11      verse 25:5              3:3,8,10,13,14,18
     union 7:16             111:12 150:4        version 90:9 92:6       4:3,9,11 6:22 7:3
     unit 13:6 54:20      usual 142:8 148:5       92:10 97:5,9          7:9,11 9:24 13:8
      57:25 58:4 121:24   usually 47:7 67:23      101:12 153:1          13:11 14:19,20
      122:3 151:19,23       81:10 91:21 94:2      182:16 195:18         15:3,6 34:6 133:9
      212:7,11 274:20       299:20                203:12,14,16          133:16,23 134:13
      274:24 305:3,7      utilized 196:5          204:23 205:1,4,8      135:2,6 136:14,22
     united 1:1 2:1                v              205:15,19 216:19      138:3 177:11
     univer 51:25                                 221:25 247:2          311:12 314:4
                          v 11:25 56:17
     university 38:17                           versus 13:8 62:19       316:1
                            225:25 314:4
      40:7 42:10 47:1                             111:2 160:12        virginia's 157:11
                            316:1
      52:1,2 67:21                                252:9 262:8           176:25
                          va 41:12,17
      146:10                                      273:21 299:13       virtual 84:20
                          vacuous 209:1
     unkind 289:10                              vice 63:3             virtually 13:13
                          vague 124:4 293:4
     unknown 206:2                              victoria 54:16          31:8
                          valeria 5:6 14:10
      207:2,21                                    248:2               volition 96:20
                          valued 289:19
     unlawful 289:18                            video 13:6            volume 1:21 2:21
                          van 243:17 244:2
     unnecessary 214:8                          videoconference         9:4 312:17
                            245:24 246:2
      214:9                                       3:1                 voted 290:1
                            253:16,19
     unprofessional                             videographer 8:6      vpeletdeltoro 5:19
                          vanderlaan
      289:11                                      13:4,15 14:14,17    vries 225:22
                            116:25 117:21,22
     unprotected 292:5                            15:8,14,17 57:23      226:15 246:3
                            118:6 119:2
     unrealistic 218:23                           58:2 121:22 122:1     250:1,12,20,24
                          var 301:22
      219:17                                      151:17,21 212:5,9     253:7,10

                                                                                 Page 58
                                   Veritext Legal Solutions
                                        866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 376
                                                          Page
                                                            of 379
                                                                432PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21996#:
                                      1716
    [vs - word]

     vs 1:8 2:8             149:24 158:11         316:1                199:16 207:5
              w             160:11,15 166:24     western 1:2 2:2       208:15,23,25
                            172:14 174:3,16      when's 200:1          209:25 210:9
     w 1:11 2:11
                            174:20 175:24        whereof 313:17        211:15 222:16
     wagenaar 250:13
                            183:2 209:1 229:1    whichever 290:5       223:9 225:4
     wait 155:17 209:7
                            229:4 243:11         white 6:21            234:14,20 239:3,8
     waiting 195:3
                            244:17,18 253:4      wide 157:16 165:8     239:13 241:17
       268:7
                            256:23 269:10        widely 196:4          242:9 244:1,23
     waived 314:23,23
                            276:8,17 289:25      wider 120:23          247:22 250:9
     waiver 177:17
                            301:7                widespread 145:3      259:15 272:12,20
     waiving 314:20
                           ways 89:13 93:18      willing 133:10        273:10,20 274:12
     walk 53:4
                            139:21 184:21        wilson 235:21         282:7,18 283:8,25
     wall 4:20
                            243:3 252:13,14      windows 239:21        293:12 296:19
     want 18:9 28:20
                            253:4 269:13         wishes 185:24         299:8 300:7,22
       36:23 57:19 71:19
                           we've 52:18 57:13      281:12               301:6,22 302:12
       75:2 91:9 93:19
                            75:24 77:1 142:14    withholding           303:23 304:7,16
       103:8,11 133:1
                            142:16 212:2          208:12,19,21         305:25 306:11
       137:14 142:1,22
                           wearing 279:22         210:4 211:11         309:19 310:16
       143:9 144:18
                            280:2                witness 9:2 13:19     313:17 314:13,16
       146:24 159:11
                           website 275:12,15      15:15,16 19:8        315:2,5 316:24
       178:24 187:14,18
                            276:14 277:9,15       24:3,5,5 25:13      witnesses 263:9
       188:16 199:12
                            277:24 297:23         26:15,25 27:15       313:8
       206:13 214:13,18
                           websites 75:13         28:17 29:3 33:1     woman 130:2
       215:5,20 216:5
                           week 150:10 200:2      44:2,25 45:24       women 174:9
       230:15 245:11
                            200:3                 61:1,14 63:9 64:8    188:14 197:22
       247:21 263:7
                           weeks 152:25           65:14,16 70:12,14    222:11,13 223:5,6
       270:7 284:7 293:4
                            231:13                71:7,20 77:7 83:1    307:3 309:12
       306:8
                           went 29:15 41:25       85:8 86:16,22       women's 157:12
     wanta 227:17
                            57:9 62:5 64:10       103:13,25 104:18     177:21,23,25
     wanted 52:17
                            102:9 148:4           112:9 120:4 124:5    178:5,13
       70:18 84:10
                           west 1:2,9,10,15       134:8,16,21 135:1   wondering 24:23
       135:15
                            2:2,9,10,15 3:3,10    136:24 137:1         48:13 103:10
     washrooms 303:6
                            3:13,14,18 4:3,11     142:12 159:8,19      110:1 111:6 243:8
     watchful 195:3
                            6:22 7:3,11 9:24      160:10,22 161:15    word 20:5 24:24
     water 32:9,10
                            13:8,10 14:19,20      162:11 164:3,20      28:9 53:19 93:18
     way 30:8 32:7
                            15:3,6 34:5 133:9     167:15 171:7         93:23 94:2 101:22
       44:10 45:3 59:7
                            133:16,23 134:13      172:13 173:4,11      185:10 229:2
       80:13,14 84:9
                            135:2,6 136:14,22     174:1,19 175:2,17    243:2,5,8 244:16
       89:16 99:22 100:7
                            138:3 157:11          175:24 187:1         282:20 283:9
       102:13 108:4,23
                            176:25 177:11         190:23 193:14        284:12 299:14,22
       121:3 140:16
                            311:12 314:4          197:25 198:5,20      299:25
       142:25 145:19

                                                                                 Page 59
                                    Veritext Legal Solutions
                                         866 299-5127
Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 377
                                                          Page
                                                            of 379
                                                                433PageID
                                                                    of 902 #:
                                                                           PageID
                                                                              21997#:
                                      1717
    [words - zucker]

     words 25:2 93:25     writing 81:13 88:4      203:11,19 233:5              z
      184:20 258:9,11       90:9 111:18,22        257:4 287:12        zelkind 4:18
      279:14 299:19,25      293:17,19 294:10    years 20:17 21:1      zero 75:2
     work 47:23 50:3        297:17                29:13,21 33:19      zholstrom 5:23
      52:4 54:1,7 55:3    writings 58:22          40:8,13,18 47:24    zoe 5:11 291:3,8
      55:15,19 57:9       written 81:19 82:2      54:23 74:23 79:20     292:11 293:8
      58:23 59:15,19        106:8 107:19          79:20 83:24 87:17     294:4,18 297:2
      60:11 61:4 62:16      111:10 191:8          87:18 100:24        zoom 3:1
      62:23,24 63:16,19     291:7                 101:18 105:11       zucker 92:20
      64:5,18,21 65:6,8   wrong 192:13            107:21 112:20,21      102:4,20 107:12
      65:10 68:5,11,24      214:17 261:15         113:13 115:25         119:3 250:23
      70:1 73:18,20,22      274:12                116:2,5 120:1
      76:19 80:13 93:14   wrote 20:4 97:9         122:19 126:24
      93:19 100:19          106:6 111:9,21        204:2 221:5 232:7
      110:22 147:6,20       187:11 203:23         253:24 277:3,24
      149:13 304:22,23      251:16 266:24         278:2 285:17
     worked 40:8 47:22      275:10 276:19         286:11 294:2
      54:12 61:21 73:15     277:2 282:18,23       297:24 308:21
      75:2 116:19           291:10,11,12          309:4
      133:15 150:18       wvago.gov 3:20        yep 151:17 212:5
     working 106:2        wvssac 311:4            305:1
      126:25,25 150:19    www.aappublic...      yesterday 30:16
      205:1                 240:11                31:9
     workload 74:21       wyant 4:6 7:6         york 4:22,22 7:20
     works 57:18 80:24             x              7:20 21:18,19
      97:6 262:18                                 23:15
                          x 315:1
     world 67:24 99:19                          young 11:11 46:12
                          x.x.g. 262:9
      181:21 202:21                               46:13 144:11,17
                          ximena 239:19
      279:23                                      144:25 250:1
                          xxg 11:25
     worries 96:12                                251:11
     worse 259:5                   y            younger 145:10
     wpath 202:20         y 272:7,16            youngest 50:15,18
      203:1,5,9,21,24     yeah 16:8 36:19         76:8,10 78:11
      204:4,14,16,18,22     50:13 84:22 111:5   youth 10:13,22
      204:25 205:4,16       138:6 146:6 245:2     12:5 230:5 236:17
     write 81:16,24         245:14 260:14         237:5 238:19
      87:19 95:12         year 22:8,9,23          240:18 267:17
      111:16 112:22         40:14 41:4,25         271:15,25
      187:16 290:24         47:14,16,20,21      youths 10:6,19
      297:25 302:17         97:17 100:24          227:3 235:1
                            113:9 116:4 175:6

                                                                                 Page 60
                                   Veritext Legal Solutions
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 Case1:22-cv-01075-JMS-MKK
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                                     47-105/12/22
                                           Filed 06/30/22
                                                   Page 378
                                                          Page
                                                            of 379
                                                                434PageID
                                                                    of 902 #:
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                         Federal Rules of Civil Procedure

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            (e) Review By the Witness; Changes.

            (1) Review; Statement of Changes. On request by the

            deponent or a party before the deposition is

            completed, the deponent must be allowed 30 days

            after being notified by the officer that the

            transcript or recording is available in which:

            (A) to review the transcript or recording; and

            (B) if there are changes in form or substance, to

            sign a statement listing the changes and the

            reasons for making them.

            (2) Changes Indicated in the Officer's Certificate.

            The officer must note in the certificate prescribed

            by Rule 30(f)(1) whether a review was requested

            and, if so, must attach any changes the deponent

            makes during the 30-day period.




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Case
 Case1:22-cv-01075-JMS-MKK
      2:21-cv-00316 DocumentDocument
                             321-2 Filed
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                                                   Page 379
                                                          Page
                                                            of 379
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                                                                    of 902 #:
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Case1:22-cv-01075-JMS-DLP
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                                                 06/30/22 Page
                                                           Page1436
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
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                                                                                    #:
                                     1720




                      EXHIBIT 9




                                                                        Exhibit 17
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page2437
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 958
                                                                                    #:
                                     1721




                 A.M. v. Indianapolis Public Schools, et al.

                         Case 1:22-cv-01075-JMS-DLP




         EXPERT REPORT OF JAMES M. CANTOR, PhD
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page3438
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 959
                                                                                    #:
                                     1722



                                                  TABLE OF CONTENTS

   I.     Background & Credentials .............................................................................................. 1

   II.    Fact-Check of Assertions of Plaintiff Expert Declaration ............................................. 3

   III.   Fact-Check of Assertions of Plaintiff Expert Deposition ............................................. 11

   IV.    The Science (Executive Summary) ............................................................................... 14

   V.     The Science of Gender Dysphoria and Transsexualism .............................................. 15

          A. Adult-Onset Gender Dysphoria ................................................................................ 15
               1. Outcome Studies of Transition in Adult-Onset Gender Dysphoria ................ 16
               2. Mental Health Issues in Adult-Onset Gender Dysphoria ............................... 17

          B. Childhood Onset (Pre-Puberty) Gender Dysphoria ................................................. 18
               1. Follow-up Studies Show Most Children Desist by Puberty ............................. 18
               2. “Watchful Waiting” and “The Dutch Protocol” ................................................. 21
               3. Follow-Up Studies of Puberty Blockers and Cross-Sex Hormones ................. 22
                    a. Four studies found no mental health improvement ................................... 23
                    b. Five studies confounded psychotherapy and medical treatment .............. 25
                    c. Two studies showed no superiority of medical intervention above
                       psychotherapy .............................................................................................. 27
                    d. Conclusions ................................................................................................... 27
               4. Social transition may increase persistence/decrease desistance ..................... 28
               5. Mental Health Issues in Childhood-Onset Gender Dysphoria ........................ 29

          C. Adolescent-Onset Gender Dysphoria ....................................................................... 31
               1. Features of Adolescent-Onset Gender Dysphoria ............................................ 31
               2. Social Transition and Puberty Blockers with Adolescent Onset ..................... 32
               3. Mental Illness in Adolescent-Onset Gender Dysphoria ................................... 32

   VI.    Other Scientific Claims Assessed ................................................................................. 35

          A. Suicide and Suicidality ............................................................................................. 35

          B. Conversion Therapy .................................................................................................. 39

          C. Assessing Demands for Social Transition and Affirmation-Only or Affirmation-on-
             Demand Treatment in Pre-Pubertal Children. ...................................................... 39

          D. Assessing the “Minority Stress Hypothesis” ........................................................... 41

   VII.   International Health Care Consensus .......................................................................... 42


                                                                  ii
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page4439
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 960
                                                                                    #:
                                     1723



                   1. United Kingdom ................................................................................................. 43
                   2. Finland ............................................................................................................... 44
                   3. Sweden................................................................................................................ 45
                   4. France ................................................................................................................. 46
                   5. Australia ............................................................................................................. 47

   VIII.     Assessing Statements from Professional Associations ................................................ 47
                   1. World Professional Association for Transgender Health (WPATH) ............... 48
                   2. Endocrine Society (ES) ...................................................................................... 50
                   3. Pediatric Endocrine Society and Endocrine Society (ES/PES) ........................ 51
                   4. American Academy of Child & Adolescent Psychiatry (AACAP) .................... 52
                   5. American College of Obstetricians & Gynecologists (ACOG) .......................... 53
                   6. American College of Physicians (ACP) ............................................................. 54
                   7. American Academy of Pediatrics (AAP) ........................................................... 56
                   8. The ESPE-LWPES GnRH Analogs Consensus Conference Group ................. 57

   REFERENCES ............................................................................................................................. 58

   APPENDICES .............................................................................................................................. 69




                                                                        iii
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page5440
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 961
                                                                                    #:
                                     1724



   I.        Background & Credentials
        1.     I am a neuroscientist and sex researcher, with an internationally

   recognized record studying the development of human sexuality and atypical

   sexualities. I am the author of over 50 peer-reviewed articles in my field, spanning

   the development of sexual orientation, gender identity, hypersexuality, and atypical

   sexualities collectively referred to as paraphilias. I am the author of the past three

   editions of the gender identity and atypical sexualities chapter of the Oxford Textbook

   of Psychopathology. These works are now routinely cited in the field and are included

   in numerous other textbooks of sex research. These publications span the biological

   and non-biological development of human sexuality, the classification of sexual

   interest patterns, the assessment and treatment of atypical sexualities, and the

   application of statistics and research methodology in sex research.

        2.     Over my academic career, my posts have included Senior Scientist and

   Psychologist at the Centre for Addiction and Mental Health (CAMH), Head of

   Research for CAMH’s Sexual Behaviour Clinic, Associate Professor of Psychiatry on

   the University of Toronto Faculty of Medicine, and Editor-in-Chief of the peer

   reviewed journal, Sexual Abuse. That journal is one of the top-impact, peer-reviewed

   journals in sexual behavior science and is the official journal of the Association for

   the Treatment of Sexual Abusers. In that appointment, I was charged to be the final

   arbiter for impartially deciding which contributions from other scientists in my field

   merited publication. I believe that appointment indicates not only my extensive

   experience evaluating scientific claims and methods, but also the faith put in me by

   the other scientists in my field. I have also served on the Editorial Boards of the

   Journal of Sex Research, the Archives of Sexual Behavior, and Journal of Sexual

   Aggression. I am currently the Director of the Toronto Sexuality Centre in Canada.

   Thus, although I cannot speak for other scientists, I regularly interact with and am

   routinely exposed to the views and opinions of most of the scientists active in our field


                                              1
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page6441
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 962
                                                                                    #:
                                     1725



   today, within the United States and throughout the world.

      3.      For my education and training, I received my Bachelor of Science degree

   from Rensselaer Polytechnic Institute, where I studied mathematics, physics, and

   computer science. I received my Master of Arts degree in psychology from Boston

   University, where I studied neuropsychology. I earned my Doctoral degree in

   psychology from McGill University, which included successfully defending my

   doctoral   dissertation   studying   the   effects   of   psychiatric   medication   and

   neurochemical changes on sexual behavior, and included a clinical internship

   assessing and treating people with a wide range of sexual and gender identity issues.

      4.      I began providing clinical services to people with gender dysphoria in 1998.

   I trained under Dr. Ray Blanchard of CAMH and have participated in the assessment

   and treatment of over one hundred individuals at various stages of considering and

   enacting both transition and detransition, including its legal, social, and medical

   (both cross-hormonal and surgical) aspects. My clinical experience includes the

   assessment and treatment of several thousand individuals experiencing other

   atypical sexuality issues. I am regularly called upon to provide objective assessment

   of the science of human sexuality by the courts (prosecution and defense), professional

   media, and mental health care providers.

      5.      I have served as an expert witness in 12 cases in the past four years. These

   are listed on my curriculum vitae, attached here as Appendix 1.

      6.      A substantial proportion of the existing research on gender dysphoria comes

   from two clinics, one in Canada and one in the Netherlands. The CAMH gender clinic

   (previously, Clarke Institute of Psychiatry) was in operation for several decades, and

   its research was directed by Dr. Kenneth Zucker. I was employed by CAMH between
   1998 and 2018. Although I was a member of the hospital’s adult forensic program, I

   remained in regular contact with members of the CAMH child psychiatry program

   (of which Dr. Zucker was a member), and we collaborated on multiple research


                                              2
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page7442
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 963
                                                                                    #:
                                     1726



   projects.

         7.     For my work in this case, I am being compensated at the hourly rate of $400

   per hour. My compensation does not change based on the conclusions and opinions

   that I provide here or later in this case or on the outcome of this lawsuit.

   II.        Fact-Check of Assertions of Plaintiff Expert Declaration
         8.     I have reviewed the declaration submitted by Dr. Fortenberry, comparing

   its claims with the contents of the peer-reviewed research literature and evaluating

   it according to the scientific and statistical standards of the fields of clinical science

   and sex research. The Fortenberry declaration failed to provide in-line citations with

   its assertations, obscuring the sources of its claims and masking which claims have

   no source at all. Exhibit B of the declaration was a list of 36 publications which Dr.

   Fortenberry indicated was the literature upon which he relied for his opinions. As

   detailed in the following sections, that list represents only a small and

   misrepresentative selection of the relevant published research literature, which,

   when described in full, supports entirely different conclusions. The opinions offered

   by Dr. Fortenberry do not reflect the contents of the relevant scientific literature, and

   his analysis fails to employ the established scientific methods for reviewing,

   analyzing, or interpreting research.

         9.     That the entries in Exhibit B are all peer-reviewed studies is untrue. The

   list includes multiple editorials, committee work-products, and self-published reports

   from advocacy groups, which do not undergo peer review: Bocking (2016); Flores, et

   al. (2016); Hembree, et al. (2017); James, et al. (2016); Reisner et al. (2015); Reynolds

   et al. (2021); WPATH (2011).         During Dr. Fortenberry’s deposition, it became

   apparent that this was not merely carelessness, but that Dr. Fortenberry is unaware
   of the scholarly publishing process: Letters, opinions, perspective, etc., are selected

   by journals’ editors handling many issues for basic relevance; they do not undergo the

   blind peer review process from topic experts, as articles do. The New England


                                               3
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page8443
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 964
                                                                                    #:
                                     1727



   Journal of Medicine is no exception. Its procedures for both kinds of publication are

   available online:

              https://www.nejm.org/media‐center/publication‐process

              https://www.nejm.org/author‐center/letters‐to‐the‐editor


   Dr. Fortenberry’s comments suggest he believes that “peer review” follows from a

   journal’s reputation and perceived prestige rather than its procedures.

       10.    The list also includes three publications authored by Dr. Fortenberry
   himself, none of which bears any relation to the present case: Fortenberry (2013)

   provides a scholarly review of sexuality during puberty and adolescents, but includes

   no mention of transgender issues. Hickey, et al. (2015) and Mullins, et al. (2015)

   regard the human papillomavirus vaccine and the vaginal microbiota of adolescent

   girls, neither including any mention of transgender issues.

       11.    That the entries in Exhibit B are all accepted by persons in the relevant

   field is also untrue. As detailed within its own section of the present report, this

   research literature has been evaluated by the health care departments of several

   national governments, including Sweden1 and the U.K.,2 with each finding the

   research to be of very low quality, receiving the lowest quality ratings available. That

   there exists enormous controversy and disagreement among experts is itself the topic

   of major media coverage, including the New York Times’ The Battle Over Gender

   Therapy: More teenagers than ever are seeking transitions, but the medical community

   that treats them is deeply divided about why — and what to do to help them.3 No
   matter one’s views on these issues, they cannot be resolved when their very existence

   1   Swedish Agency for Health Technology Assessment and Assessment of Social Services, 2019.
   2   U.K. National Health Service (NHS), 2021.
   3   Bazelon, E. (2022, June 15). The Battle Over Gender Therapy: More teenagers than ever are
   seeking transitions, but the medical community that treats them is deeply divided about why — and
   what to do to help them. New York Times. Retrieved from
   https://www.nytimes.com/2022/06/15/magazine/gender-therapy.html


                                                   4
Case
Case1:22-cv-01075-JMS-DLP
     1:22-cv-01075-JMS-MKK Document
                            Document36-9
                                     47-1 Filed
                                           Filed06/17/22
                                                 06/30/22 Page
                                                           Page9444
                                                                 of 245
                                                                     of 902
                                                                         PageID
                                                                            PageID
                                                                                #: 965
                                                                                    #:
                                     1728



   is denied.

       12.      Fortenberry Exhibit B includes entries whose findings have been shown to

   be statistical errors, such as from the TransYouth Project of the Olson research team:

   After they were reported, the Olson data were subjected to re-analysis and, after

   correcting for the errors in the original analyses, the data instead showed that the

   gender dysphoric children under Olson’s care exhibited significantly lower mental

   health.4 I conducted an electronic search of the research literature to identify any

   responses from the Olson team regarding the Schumm and Crawford re-analysis of

   the Olson data and was not able to locate any. I contacted Professor Schumm by email

   on August 22, 2021 to verify that conclusion, to which he wrote there has been: “No

   response [from Olson].”

       13.      Altogether missing from the Fortenberry report is the great majority of the

   relevant published research. There have been a total of eleven follow-up studies of

   pre-pubescent children, and of these, Fortenberry’s Exhibit B included none. In

   contrast with Dr. Fortenberry’s conclusions (and as detailed in their own section

   herein), these eleven studies all came to the same conclusion: The majority of gender

   dysphoric children cease to feel dysphoric by puberty.

       14.      There have also been eleven follow-up studies of pubescent/adolescent

   children using puberty-blocking medication or cross-sex hormone treatment.                                Of

   these, Fortenberry Exhibit B included two (de Vries, et al., 2014; van der Miesen, et

   al., 2020). As detailed in their own section to follow: Of the eleven studies, four

   showed a lack of mental health benefit.5 Five studies provided psychotherapy along

   with medical interventions, making it unknowable whether the medical or non-

   medical treatment were responsible for changes.6 The two remaining studies were



   4   Schumm & Crawford, 2020; Schumm, et al., 2019
   5   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020; Kuper, et al., 2020.
   6   Allen, et al., 2019; de Vries, et al., 2011, 2014; Tordoff, et al., 2022; van der Miesen, et al., 2020.


                                                        5
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page10445
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 966
                                                                                  #:
                                      1729



   able to compare medical with non-medical aspects of treatment, and neither found a

   statistically significant advantage to medical interventions beyond psychotherapy.7

   (The two studies included by Fortenberry were among the five that combined medical

   with non-medical treatments.)

       15.      The Fortenberry declaration is also inaccurate regarding the science on the

   causes of gender identity (Fortenberry, paragraph 12). Despite Dr. Fortenberry’s

   claim that his opinions follow from the publications he listed, those works instead

   agree with the analyses and conclusions I myself published in this research

   literature: Exhibit B includes Guillamon, et al. (2016), which says: “Following this

   line of thought, Cantor (2011, 2012, but also see Italiano, 2012) has recently

   suggested that Blanchard’s predictions have been fulfilled in two independent

   structural neuroimaging studies….Cantor seems to be right”.8 Where Fortenberry
   claims a generic mix of biological and non-biological influences, the consensus of the

   scientists     (including     me)     is   that     childhood      onset     gender      dysphoria   is

   neuroanatomically related to homosexuality, whereas adult-onset gender dysphoria

   represents an entirely distinct phenomenon that seems similar only superficially.

   The science regarding these is summarized herein. I note Dr. Fortenberry denied

   there being an association between gender identity and homosexuality, during his

   deposition (Fortenberry deposition, page 116). It is exactly this body of neuroscience,

   of which Dr. Fortenberry is apparently unaware, that objectively demonstrates the

   existence of exactly that association.

       16.      Dr. Fortenberry claimed “Gender dysphoria can be diagnosed very early on

   in a child’s life” (Fortenberry declaration, paragraph 21). In the present context, that

   statement is highly misleading: When combined with the (false) belief that gender

   identity is unchanging, asserting that diagnoses can be made so early suggests that


   7   Achille, et al., 2020; Costa, et al., 2015.
   8   c.f., Cantor, 2011; Cantor, 2012; Guillamon, et al., p. 1634, italics added; Italiano, 2012.


                                                       6
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page11446
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 967
                                                                                  #:
                                      1730



   medical decisions could therefore also be made that early; however, and as detailed

   in its own section of this report, all 11 out of the 11 existing follow-up studies of boys

   and girls diagnosed in childhood showed that the children ceased to feel gender

   dysphoric by puberty. If it were possible to predict which children would go on to

   become desisters versus persisters, then care providers would be able to direct young

   children into the most appropriate developmental path. Despite the several attempts

   to do so, however, researchers have been unable to make such predictions accurately.

   As summarized in its own section to follow as well, there is a statistical tendency of

   more highly dysphoric children being more likely to persist, but the difference is not

   strong enough to be clinically meaningful.

        17.     In the June-17 supplement he submitted, Dr. Fortenberry added that the

   specific study serving as the source of his claim about early diagnosis was Zaliznyak,

   et al. (2020). The conclusion Dr. Fortenberry derived from this study represents

   another violation of scientific principles:                 This survey of adults whose gender

   dysphoria persisted cannot inform us about people whose gender dysphoria desisted

   and (by definition) were not included in the survey. Surveys of only the persisters

   cannot tell us how many desisters there were, not surveyed at all.

        18.     The Fortenberry report frankly misrepresented the research basis

   justifying the procedures of his clinic. There exist three widely circulated sets of

   standards of care for the medical management of gender dysphoria: the Dutch

   Protocol, the WPATH standards, and the Endocrine Society standards. Of these, only

   the Dutch Protocol (which includes concurrent psychotherapy) has been associated

   with improvements in mental health.                    Failures of improvement are repeatedly

   reported from clinics employing the WPATH standards9 or Endocrine Society

   standards.10 Whereas the Fortenberry declaration indicates that his clinic follows


   9    Achille, et al., 2020; Carmichael, et al., 2021; Costa, et al., 2015.
   10   Achille, et al., 2020; Kuper, et al., 2020.


                                                         7
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page12447
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 968
                                                                                  #:
                                      1731



   WPATH standards (Fortenberry, paragraph 23), the declaration cites none of the

   WPATH studies, instead listing only the studies that used the more successful Dutch

   Protocol, specifically: de Vries, et al. (2014), Steensma, et al. (2013), and van der

   Miesen, et al. (2020).

        19.     It is not at all clear on what basis Dr. Fortenberry asserts gender identity

   to be a well-established concept, either in medicine or elsewhere (Fortenberry,

   paragraph 11). Despite the public popularity of the term, in science, there is no such

   thing as an “inner sense.” To be a scientifically viable concept, it must be falsifiable.

   That is, to be scientifically valid at all, there must exist (even if only in theory) a

   means to demonstrate that the hypothesis or concept is false; however, because a

   person can always continue to report a subjective experience despite any and all

   objective evidence, it is not possible to falsify someone’s inner sense, even in theory.

   The very purpose of science is to replace unfalsifiable, subjective claims with objective

   observation and measurement.          Gender identity is unlike emotions, which are

   associated with physiological changes such as heartrate and brain activity. Gender

   identity is unlike sexual orientation, which is associated with objectively ascertained

   evidence, including brain anatomy. Gender Dysphoria is unlike disorders of sexual

   development (DSD’s, also called “intersex conditions”), again in that DSDs are

   objectively detectable with physical measures, whereas gender identity is not. DSDs

   include, for example, genetic disorders which prevent a person’s body from

   responding to testosterone, a disease called Androgen Insensitivity Syndrome.11 Still

   more unlike gender identity, the physical nature of such disorders allows many of

   them to be detected before birth, whereas gender identity has no such feature.

        20.     Throughout his analyses, Dr. Fortenberry repeatedly violated another

   scientific principle, often known to the public as “Correlation doesn’t imply



   11   E.g., Vilain, 2006.


                                                8
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page13448
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 969
                                                                                  #:
                                      1732



   causation.” There do not exist any studies employing the research methodology

   necessary to draw causal conclusions, yet the Fortenberry declaration repeatedly

   asserted exactly that belief. His comments did not merely slip into using causal

   language when there was no evidence of causality; rather, he indicated his medical

   decision-making was based on his belief that he knows what is causing what, despite

   that it is not possible to know exactly that. Examples include:

               “…is an essential component” (para 27)
               “…is an essential aspect” (para 28)
               “…have long-term influences” (para 29)
               “The effect of puberty-blocking…” (para 31, header)
               “puberty blockers mitigate…” (para 35)
               “without the support of puberty blockers…” (para 35)

      21.       Despite any confident language, there exist no such studies to support

   causal conclusions, and the Fortenberry report lacks any mention or consideration,

   never mind the ruling out, of the multiple alternatives. The primary alternative

   explanation—indeed the superior explanation—is that the great majority of youth

   labelling themselves transgender do so to seek escape from the challenges and

   expectations they associate with being a member of their biological sex.

      22.       In place of any systematic or representative summary of the peer reviewed
   literature, Dr. Fortenberry’s declaration offers the benefit of his personal experience

   providing medical services to this population, relying on what science refers to as

   anecdotal evidence. That is, although reporting experience with 700 such patients

   (which would represent one of the largest such samples ever collected), Dr.

   Fortenberry has never published and did not report engaging in any scientific,

   statistical, or other systematic analysis that would rule out potential biases to yield

   generalizable knowledge. In clinical science, expert opinion (in the clinical sense

   rather than the legal sense) represents only the lowest form of scientific evidence:




                                               9
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page14449
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 970
                                                                                  #:
                                      1733



            Figure: Pyramid of standards of evidence




            Source: OpenMD, 2021. Retrieved from https://openmd.com/guide/levels‐of‐evidence


      23.      The advantages of accumulated personal experience is its low cost and

   potential utility when there do not exist systematic studies of the unique combination

   of variables represented by some cases. The disadvantages are that it is the most
   subject to human biases, such as recall bias and confirmation bias, as well as to

   sampling biases including both self-selection biases (who decides to come into the

   clinic in the first place) and any variables which led to dropping out of the clinic,

   leaving clinicians no capacity for determining why.

      24.      If there did not already exist multiple studies systematically studying

   cohorts of minors undergoing puberty-blocking or cross-sex hormone treatment, then

   expert opinion relying on anecdotal evidence might represent the only option

   available. That is not the current situation, however: Rather than engage in the

   scientifically valid research method of accepting higher order evidence over lower


                                                       10
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page15450
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 971
                                                                                  #:
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   order evidence (expert opinion), the Fortenberry report retained only the lowest.

        25.     In sum, the Fortenberry report failed to provide the court with a

   comprehensive or representative summary of the relevant science and failed to

   engage in the scientific methods relevant to evaluating research. Dr. Fortenberry’s

   conclusion contradicts what the existing research evidence and scientific method

   show.

   III.       Fact-check of Assertions of Plaintiff Expert Deposition
        26.     I have reviewed the testimony from Dr. Fortenberry’s deposition of 13 June

   2022 (rough draft transcript) and the supplement to that deposition he submitted on

   17 June 2022.           Dr. Fortenberry indicated he did not endeavor to assemble

   comprehensive lists of the studies. The following sections of the present report

   provide exactly those comprehensive lists. Cited also are the comprehensive lists

   published by other expert authors or by national health care bodies, as such

   comprehensive evaluation represents the appropriate standard in clinical science,

   and it would not be possible for the court to come to informed decisions without them.

        27.     In his deposition, Dr. Fortenberry was asked, “Do you think of any

   differences between the Dutch protocol and the WPATH guidelines?” responding “No,

   I think they're pretty parallel.” Dr. Fortenberry is incorrect: A central difference

   between these is their starting ages.        The Dutch Protocol imposes an age 12

   minimum, and their research sample had an average age of 14.75 years when

   beginning puberty-blockers.12 The WPATH guidelines, however, permit such

   interventions to begin at the very start of puberty, explicitly acknowledging that this

   can often be as early as age 9.13

        28.     The available clinical guidelines for treating children with gender

   dysphoria repeatedly emphasize the need to assess and treat any other mental health


   12   DeVries, et al., 2011, Table 1.
   13   WPATH, 2011, at 18.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page16451
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 972
                                                                                  #:
                                      1735



   issues before undergoing transition.     Dr. Fortenberry’s description of his clinic’s

   procedures for assessing such issues was extremely limited, however. He described

   them as “a variety of screening tests for depression and anxiety, some standardized

   scales related to the intensity of the gender dysphoria, the experience of

   discrimination related to gender.” Such an assessment would be able to identity

   someone who expresses certainty about their gender status and feels victimized, but

   missing from the assessment procedures (described both here and in his written

   declaration) were screening tests for any of the other mental health issues pertinent

   to patients’ care.

      29.    This error in decision-making is called confirmation bias: One cannot

   examine a question by looking for the evidence for only one possibility. One needs

   simultaneously to rule out the other possibilities. In clinical practice, this is what

   distinguishes “diagnosis” from “differential diagnosis.”    As summarized in their

   sections to follow, there are other mental health issues which are easily mistaken to

   represent cases of gender dysphoria, but their presence cannot be detected or treated

   or ruled out when they are left out of the assessment.

      30.    When asked at his deposition what evidence indicated improvements in the

   potential suicidality of patients, he noted two studies: Russell, et al. (2018) and

   Toomey, et al. (2018). Both references represent a repetition of Dr. Fortenberry’s

   mistaking or misrepresenting correlation as cause. Both of these studies represent

   retrospective surveys and do not show that youth receiving medical treatment

   develop better mental health: Rather, they show that the children with superior

   mental health are permitted to go on to receive medical transition services. It is

   because retrospective surveys such as Russell, et al. and Toomey, et al. are unable to
   distinguish between these situations that their results are superseded by more

   advanced studies. A comprehensive summary of the full scientific literature on

   suicidality appears in its own section to follow.


                                              12
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page17452
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 973
                                                                                  #:
                                      1736



      31.    In his supplement of 17-June-2022, Dr. Fortenberry added that three other

   studies regarding transgender youth suicidality, Aitken, et al. (2016), Perez-Brumer,

   et al. (2017), and Green, et al. (2022). None of these three studies shows medical

   treatment to reduce suicidality; indeed, none of these three studies are treatment

   studies at all. Rather, they are additional retrospective surveys repeating the finding

   that youth who claim to be transgender also express more mental health issues than

   youth who do not claim gender dysphoria. It is the existence of these elevated rates

   of mental health issues that supports psychotherapy as the first resort.

      32.    Dr. Fortenberry denied the existence of adult onset gender dysphoria, “For

   me to be a bit less skeptical, I would need to see some data, and I'm not aware of any.”

   The evidence demonstrating the validity of adult-onset gender dysphoria and that

   adult-onset and childhood-onset gender dysphoria represent a distinct phenomena

   comprises a large and mature scientific literature. A summary of that peer reviewed

   science follows.

      33.    Throughout his deposition, Dr. Fortenberry’s responses repeatedly

   depended on the same study: Olson, et al., which is soon to be published in print.

   Fortenberry acknowledged that Olson, et al. found that socially transitioned children

   are unlikely to persist, opposite to non-transitioned children, but repeatedly denied

   the possibility that social transition was what caused the change. In ignoring the

   possibility of causality, Dr. Fortenberry makes the reverse error as before: One cannot

   rule out causality from correlational data, such as these, any more than one can

   assume causality from them.       Dr. Fortenberry appears to assume versus reject

   causality as is convenient to his argument, rather than apply the same principles of

   science across all analyses.
      34.    Dr. Fortenberry similarly referred to a preliminary study, Costa, et al.

   (2015), indicating he accept it to be evidence of the superiority of medical over

   psychotherapeutic treatment. First, that description misrepresents the contents of


                                             13
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page18453
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 974
                                                                                  #:
                                      1737



   Costa, et al., whose results were not statistically significant. Secondly, Costa was a

   preliminary report and its results have been superseded by the final report of that

   research group, showing there no improvements among transitioners after all. That

   report, Carmichael, et al. (2021), as well as Costa, et al. (2015) are both summarized,

   together with the comprehensive list of all outcomes studies of medical transition in

   the following.

   IV.       The Science (Executive Summary)

            The scientific research literature has long and consistently demonstrated that
             there is more than one distinct phenomenon that can lead to gender dysphoria.
             These different phenomena are distinguished by differing epidemiological and
             demographic patterns, unique psychological and behavioral profiles, and
             differing responses to treatment options. Many misunderstandings follow
             from mis-attributing information about one of these types to another.
            For adults with gender dysphoria, studies show that those who are otherwise
             mentally healthy and undergo thorough (1 2 year) assessments supervised by
             clinics engaged in gate-keeping roles typically adjust well to life as the opposite
             sex.
            For pre-pubescent children with gender dysphoria, there have been exactly 11
             outcomes studies. All 11 reported the majority of children to cease to feel
             dysphoric by puberty. They typically report being gay or lesbian instead.
            For pubescent and adolescent age minors using puberty blockers or cross-sex
             hormones, there have been (also) 11 follow-up studies: In four, mental health
             failed to improve and even deteriorated on several variables. In five, some
             mental health variables improved, but because psychotherapy and medical
             interventions were provided together, it cannot be known which treatment
             caused what changes. The two remaining studies employed methods that did
             permit psychotherapy effects to be distinguished from medical effects, and
             neither found medical intervention to be superior to psychotherapy-only.
             These studies are often misrepresented as support for medicalization by
             ignoring the concurrent psychotherapy.
            Psychological research importantly distinguishes completed suicide—which
             occurs primarily among biological males and involves the intent to die—from
             suicidal ideation, gestures, and attempts—which occur primarily among
             biological females and represent psychological distress and cries for help. The
             evidence is minimally consistent with transphobia being the predominant
             cause of suicidality. The evidence is very strongly consistent with the
             hypothesis that other mental health issues, such as Borderline Personality


                                                 14
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page19454
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 975
                                                                                  #:
                                      1738



              Disorder (BPD), cause suicidality and unstable identities, including gender
              identity confusion.
             The international consensus of public health care agencies is that there is
              insufficient evidence to support medicalized transition of minors. Although
              initially supportive, Sweden, Finland, France, Australia, and the United
              Kingdom have issued increasingly restrictive statements and policies, now
              prioritizing psychotherapy as the treatment of choice, including Sweden’s
              outright ban on medical transition of minors.
             Some American medical and professional associations have issued statements
              regarding the medical transition for minors, but none has done so on the basis
              of any systematic review of the research, as have other nations’ health care
              services.

   V.         Science of Gender Dysphoria and Transsexualism
        35.      One   of   the   most   widespread    public   misunderstandings     about

   transsexualism and people with gender dysphoria is that all cases of gender

   dysphoria represent the same phenomenon; however, the clinical science has long

   and consistently demonstrated that gender dysphoric children (cases of early-onset

   gender dysphoria) do not represent the same phenomenon as adult gender dysphoria

   (cases of late-onset gender dysphoria),14 merely attending clinics at younger ages.
   That is, gender dysphoric children are not simply younger versions of gender

   dysphoric adults. They differ in every known regard, from sexual interest patterns,

   to responses to treatments. A third presentation has recently become increasingly
   observed among people presenting to gender clinics: These cases appear to have an

   onset in adolescence in the absence of any childhood history of gender dysphoria. Such

   cases have been called adolescent-onset or “rapid-onset” gender dysphoria (ROGD).

   Very many public misunderstandings and expert misstatements come from

   misattributing evidence or personal experience from one of these types to another.

                 A. Adult-Onset Gender Dysphoria
        36.      People with adult-onset gender dysphoria typically attend clinics

   requesting transition services in mid-adulthood, usually in their 30s or 40s. Such

   14   Blanchard, 1985.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page20455
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 976
                                                                                  #:
                                      1739



   individuals are nearly exclusively biological males.15 They typically report being

   sexually attracted to women and sometimes to both men and women. Some cases

   profess asexuality, but very few indicate having a primary sexual interest in men.16

   Cases of adult-onset gender dysphoria are typically associated with a sexual interest

   pattern (medically, a paraphilia) involving themselves in female form.17

               1. Outcome Studies        of   Transition    in   Adult-Onset     Gender
                  Dysphoria
        37.    Clinical research facilities studying gender dysphoria have repeatedly

   reported low rates of regret (less than 3%) among adult-onset patients who

   underwent complete transition (i.e., social, plus hormonal, plus surgical transition).

   This has been widely reported by clinics in Canada,18 Sweden,19 and the
   Netherlands.20

        38.    Importantly, each of the Canadian, Swedish, and Dutch clinics for adults

   with gender dysphoria all performed “gate-keeping” procedures, disqualifying from

   medical services people with mental health or other contraindications. One would not

   expect the same results to emerge in the absence of such gate-keeping or when gate-

   keepers apply only minimal standards or cursory assessment.

        39.    An important caution applies to interpreting these results: The side-effect

   of removing these people from the samples of transitioners is that if a researcher

   compared the average mental health of individuals coming into the clinic with the

   average mental health of individuals going through medical transition, then the post-

   transition group would appear to show a substantial improvement, even though

   transition had no effect at all: The removal of people with poorer mental health

   created the statistical illusion of improvement among the remaining people.

   15   Blanchard, 1990, 1991.
   16   Blanchard, 1988.
   17   Blanchard 1989a, 1989b, 1991.
   18   Blanchard, et al., 1989.
   19   Dhejneberg, et al., 2014.
   20   Wiepjes, et al., 2018.


                                              16
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page21456
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 977
                                                                                  #:
                                      1740


                2. Mental Health Issues in Adult-Onset Gender Dysphoria
        40.     The research evidence on mental health issues in gender dysphoria

   indicates it to be different between adult-onset versus adolescent-onset versus

   prepubescent-onset types. The co-occurrence of mental illness with gender dysphoria

   in adults is widely recognized and widely documented.21 A research team in 2016

   published a comprehensive and systematic review of all studies examining rates of

   mental health issues in transgender adults.22 There were 38 studies in total. The

   review indicated that many studies were methodologically weak, but nonetheless

   demonstrated (1) that rates of mental health issues among people are highly elevated

   both before and after transition, (2) but that rates were less elevated among those

   who completed transition. Analyses were not conducted in a way so as to compare the

   elevation in mental health issues observed among people newly attending clinics to

   improvement after transition. Also, several studies showed more than 40% of patients

   to become “lost to follow-up.” With attrition rates that high, it is unclear to what

   extent the information from the remaining participants would accurately reflect the

   whole population. The very high rate of “lost to follow-up” leaves open the possibility

   of considerably more negative results overall.

        41.     The long-standing and consistent finding that gender dysphoric adults

   continue to show high rates of mental health issues after transition indicates a

   critical point: To the extent that gender dysphoric children resemble adults, we

   should not expect mental health to improve as a result of transition—that is,

   transition does not appear to be what causes mental health improvement. Rather,

   mental health issues should be resolved before any transition, as has been noted in

   multiple standards of care documents, as detailed in their own section of this report.




   21   See, e.g., Hepp, et al., 2005.
   22   Dhejne, et al., 2016.


                                             17
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page22457
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 978
                                                                                  #:
                                      1741


                B. Childhood Onset (Pre-Puberty) Gender Dysphoria

                1. Follow-up Studies Show Most Children Desist by Puberty
        42.     Prepubescent children (and their parents) have been approaching mental

   health professionals for help with their unhappiness with their sex and belief they

   would be happier living as the other for many decades. The large majority of

   childhood onset cases of gender dysphoria occur in biological males, with clinics

   reporting 2–6 biological male children to each female.23

        43.     In total, there have been 11 outcomes studies of these children, listed in

   Appendix 2. In sum, despite coming from a variety of countries, conducted by a variety

   of labs, using a variety of methods, all spanning four decades, every study without

   exception has come to the identical conclusion: Among prepubescent children who feel

   gender dysphoric, the majority cease to want to be the other gender over the course

   of puberty—ranging from 61–88% desistance across the large, prospective studies.

   Such cases are often referred to as “desisters,” whereas children who continue to feel

   gender dysphoric are often called “persisters.”

        44.     Notably, in most cases, these children were receiving professional

   psychosocial support across the study period aimed, not at affirming cross-gender

   identification, but at resolving stressors and issues potentially interfering with

   desistance. While beneficial to these children and their families, the inclusion of

   therapy in the study protocol represents a complication for the interpretation of the

   results: It is not possible to know to what extent the outcomes were influenced by the

   psychosocial support or would have emerged regardless. In science, this is referred to

   as a confound.24

        45.     While the absolute number of those who present as prepubescent children

   with gender dysphoria and “persist” through adolescence is very small in relation to

   the total population, persistence in some subjects was observed in each of these

   23   Cohen-Kettenis, et al., 2003; Steensma, et al., 2018; Wood, et al., 2013.
   24   Skelly et al., 2012.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page23458
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 979
                                                                                  #:
                                      1742



   studies. Thus, a clinician cannot take either outcome for granted.

        46.     It is because of this long-established and unanimous research finding of

   desistance being probable but not inevitable, that the “watchful waiting” method

   became the standard approach for assisting gender dysphoric children. The balance

   of potential risks to potential benefits is very different for groups likely to desist

   versus groups unlikely to desist: If a child is very likely to persist, then taking on the

   risks of medical transition might be more worthwhile than if that child is very likely

   to desist in transgender feelings.

        47.     The consistent observation of high rates of desistance among pre-pubertal

   children who present with gender dysphoria demonstrates a pivotally important—

   yet often overlooked—feature: because gender dysphoria so often desists on its own,

   clinical researchers cannot assume that therapeutic intervention cannot facilitate or

   speed desistance for at least some patients. That is, gender identity is not the same

   as sexual orientation, and it cannot be assumed that gender identity is as

   unchangeable as is sexual orientation. Such is an empirical question, and there has

   not yet been any such study.

        48.     It is also important to note that research has not yet identified any reliable

   procedure for discerning which children who present with gender dysphoria will

   persist, as against the majority who will desist, absent transition and “affirmation.”

   Such a method would be valuable, as the more accurately that potential persisters

   can be distinguished from desisters, the better the risks and benefits of options can

   be weighted. Such “risk prediction” and “test construction” are standard components

   of applied statistics in the behavioral sciences. Multiple research teams have reported

   that, on average, groups of persisters are somewhat more gender non-conforming
   than desisters, but not so different as to usefully predict the course of a particular

   child.25

   25   Singh, et al. (2021); Steensma et al., 2013.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
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                                               06/17/22
                                                 06/30/22Page
                                                          Page24459
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 980
                                                                                  #:
                                      1743



        49.    In contrast, one research team (the aforementioned Olson group) claimed

   the opposite, asserting that they developed a method of distinguishing persisters from

   desisters, using a single composite score representing a combination of children’s

   “peer preference, toy preference, clothing preference, gender similarity, and gender

   identity.”26 They reported a statistical association (mathematically equivalent to a

   correlation) between that composite score and the probability of persistence. As they

   indicated, “Our model predicted that a child with a gender-nonconformity score of .50

   would have roughly a .30 probability . . . of socially transitioning. By contrast, a child

   with gender-nonconformity score of .75 would have roughly a .48 probability.”27
   Although the Olson team declared that “social transitions may be predictable from

   gender identification and preferences,”28 their actual results suggest the opposite:

   The gender-nonconforming group who went on to transition (socially) had a mean

   composite score of .73 (which is less than .75), and the gender-nonconforming group

   who did not transition had a mean composite score of .61, also less than .75.29 Both of

   those are lower than the value of .75, so both of those would be more likely than not

   to desist, rather than to proceed to transition. That is, Olson’s model does not

   distinguish likely from unlikely to transition; rather, it distinguishes unlikely from

   even less likely to transition.

        50.    Although it remains possible for some future discovery to yield a method to

   identify with sufficient accuracy which gender dysphoric children will persist, there

   does not exist such a method at the present time. Moreover, in the absence of long-

   term follow-up, it cannot be known what proportions come to regret having

   transitioned and then detransition. Because only a minority of gender dysphoric

   children persist in feeling gender dysphoric in the first place, “transition-on-demand”


   26   Rae, et al., 2019, at 671.
   27   Rae, et al., 2019, at 673.
   28   Rae, et al., 2019, at 669.
   29   Rae, et al., 2019, Supplemental Material at 6, Table S1, bottom line.


                                                     20
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page25460
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 981
                                                                                  #:
                                      1744



   increases the probability of unnecessary transition and unnecessary medical risks.

               2. “Watchful Waiting” and “The Dutch Protocol”
        51.    It was this state of the science—that the majority of prepubescent children

   will desist in their feelings of gender dysphoria and that we lack an accurate method

   of identifying which children will persist—that led to the development of a clinical

   approach, The Dutch Protocol,30 including its “Watchful Waiting” period.

   Internationally, the Dutch Protocol remains the most empirically supported protocol

   for the treatment of children with gender dysphoria.

        52.    The purpose of the protocol was to compromise the conflicting needs among:

   clients’ initial wishes upon assessment, the long-established and repeated

   observation that those wishes will change in the majority of (but not in all) childhood

   cases, and that cosmetic aspects of medical transition are perceived to be better when

   they occur earlier rather than later.

        53.    The Dutch Protocol was developed over many years by the Netherlands’

   child gender identity clinic, incorporating the accumulating findings from their own

   research as well as those reported by other clinics working with gender dysphoric

   children. They summarized and explicated the approach in their peer-reviewed

   report, Clinical management of gender dysphoria in children and adolescents: The

   Dutch Approach.31 The components of the Dutch Approach are:
                  no social transition at all considered before age 12 (watchful waiting
                   period),
                  no puberty blockers considered before age 12,
                  cross-sex hormones considered only after age 16, and
                  resolution of mental health issues before any transition.
        54.    For youth under age 12, “the general recommendation is watchful waiting

   and carefully observing how gender dysphoria develops in the first stages of puberty.”32


   30   Delemarre-van de Waal & Cohen-Kettenis (2006).
   31   de Vries & Cohen-Kettenis, 2012
   32   de Vries & Cohen-Kettenis, 2012, at 301.


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 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
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                                                 06/30/22Page
                                                          Page26461
                                                                 of 245
                                                                    of 902
                                                                        PageID
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        55.     The age cut-offs of the Dutch Approach were not based on any research

   demonstrating their superiority over other potential age cut-off’s. Rather, they were

   chosen to correspond to the ages of consent to medical procedures under Dutch law.

   Nevertheless, whatever the original rationale, the data from this clinic simply contain

   no information about the safety or efficacy of employing these measures at younger

   ages.

        56.     The authors of the Dutch Approach repeatedly and consistently emphasize

   the need for extensive mental health assessment, including clinical interviews,

   formal psychological testing with validated psychometric instruments, and multiple

   sessions with the child and the child’s parents.

        57.     Within the Dutch approach, there is no social transition before age twelve.

   That is, social affirmation of the new gender may not begin until age 12—as

   desistance is less likely to occur past that age. “Watchful Waiting” refers to a child’s

   developmental period up to that age. Watchful waiting does not mean do nothing but

   passively observe the child. Rather, such children and families typically present with

   substantial distress involving both gender and non-gender issues, and it is during the

   watchful waiting period that a child (and other family members as appropriate) would

   undergo therapy, resolving other issues which may be exacerbating psychological

   stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

   received extensive family or other social support . . . [and they] were all regularly

   seen by one of the clinic’s psychologists or psychiatrists.”33 One is actively treating

   the person, while carefully “watching” the dysphoria.

                3. Follow-Up Studies of Puberty Blockers and Cross-Sex Hormones
        58.     Very many strong claims have appeared in the media and on social media

   asserting that transition results in improved mental health or, contradictorily, in

   decreased mental health. In the highly politicized context of gender and transgender

   33   de Vries, et al., 2011, at 2280-2281.


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 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                               06/17/22
                                                 06/30/22Page
                                                          Page27462
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 983
                                                                                  #:
                                      1746



   research, many outlets have cited only the findings which appear to support one side,

   withholding contrary evidence. It total, there have been 11 prospective outcomes

   studies following up gender dysphoric children undergoing medically induced

   suppression of puberty or cross-sex hormone treatment. Four studies failed to find

   evidence of improvement in mental health functioning at all, and some groups

   deteriorated on some variables.34 Five studies successfully identified evidence of

   improvement, but because patients received psychotherapy along with medical

   services, which of those treatments caused the improvement is unknowable.35 In the

   remaining two studies, both psychotherapy and medical interventions were provided,

   but the studies were designed in such a way as to allow the effects of psychotherapy

   to be separated from the effects of the puberty-blocking medications.36 As detailed in
   the following, neither identified benefits of medication over psychotherapy alone.
                    a. Four studies found no mental health improvement
        59.     Carmichael, et al. (2021) recently released its findings from the Tavistock

   and Portman clinic in the U.K.37 Study participants were ages 12–15 (Tanner stage

   3 for natal males, Tanner stage 2 for natal females) and were repeatedly tested before

   beginning puberty-blocking medications and then every six months thereafter. Cases

   exhibiting serious mental illnesses (e.g., psychosis, bipolar disorder, anorexia

   nervosa, severe body-dysmorphic disorder unrelated to gender dysphoria) were

   excluded. Relative to the time point before beginning puberty suppression, there were

   no significant changes in any psychological measure, from either the patients’ or their

   parents’ perspective.

        60.     In Kuper, et al. (2020), a multidisciplinary team from Dallas published a

   prospective follow-up study which included 25 youths as they began puberty


   34   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020; Kuper, et al., 2020.
   35   de Vries, et al., 2011; Tordoff, et al., 2022; van der Miesen, et al., 2020.
   36   Achille, et al., 2020; Costa, et al., 2015.
   37   Carmichael, et al., 2021.


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                                                 06/30/22Page
                                                          Page28463
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 984
                                                                                  #:
                                      1747



   suppression.38 (The other 123 study participants were undergoing cross-sex hormone

   treatment.) Interventions were administered according to practice guidelines from the

   Endocrine Society.39 Their analyses found no statistically significant changes in the

   group undergoing puberty suppression on any of the nine measures of wellbeing

   measured, spanning tests of body satisfaction, depressive symptoms, or anxiety

   symptoms.40 Notably, whereas the Dutch Protocol includes age 12 as a minimum for

   puberty suppression treatment, this team provided such treatment beginning at age

   9.8 years (full range: 9.8–14.9 years).41

        61.     Hisle-Gorman, et al. (2021) analyzed military families’ healthcare data to

   compare 963 transgender and gender-diverse youth before versus after hormonal

   treatment, with their non-gender dysphoric siblings as controls. The study

   participants included youth undergoing puberty-blocking as well as those undergoing

   cross-sex hormone treatment, but these subgroups did not differ from each other.

   Study participants had a mean age of 18 years when beginning the study, but their

   initial clinical contacts and diagnoses occurred at a mean age of 10 years. According

   to the study, “mental health care visits overall did not significantly change following

   gender-affirming         pharmaceutical        care,”42    yet,       “psychotropic   medication   use

   increased,”43 indicating deteriorating mental health.

        62.     Kaltiala et al. (2020) similarly reported that after cross-sex hormone

   treatment, “Those who had psychiatric treatment needs or problems in school, peer

   relationships and managing everyday matters outside of home continued to have

   problems during real-life.”44 They concluded, “Medical gender reassignment is not

   enough to improve functioning and relieve psychiatric comorbidities among

   38   Kuper, et al., 2020, at 5.
   39   Kuper, et al., 2020, at 3, referring to Hembree, et al., 2017.
   40   Kuper, et al., 2020, at Table 2.
   41   Kuper, et al., 2020, at 4.
   42   Hisle-Gorman, et al., 2021, at 1448.
   43   Hisle-Gorman, et al., 2021, at 1448, emphasis added.
   44   Kaltiala et al., 2020, at 213.


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 Case1:22-cv-01075-JMS-DLP
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                                               06/17/22
                                                 06/30/22Page
                                                          Page29464
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 985
                                                                                  #:
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   adolescents with gender dysphoria. Appropriate interventions are warranted for

   psychiatric comorbidities and problems in adolescent development.”45
                    b. Five studies             confounded    psychotherapy   and   medical
                       treatment
        63.     The initial enthusiasm for medical blocking of puberty followed largely from

   early reports from the Dutch clinical research team suggesting at least some mental

   health improvement.46 It was when subsequent research studies failed to replicate

   those successes that it became apparent that the successes were due, not to the

   medical interventions, but to the psychotherapy that accompanied such interventions

   in most clinics, including the Dutch clinic.

        64.     The Dutch clinical research team followed up a cohort of youth at their

   clinic undergoing puberty suppression47 and later cross-hormone treatment and
   surgical sex reassignment.48 The youth improved on several variables upon follow-up

   as compared to pre-suppression measurement, including depressive symptoms and

   general functioning. No changes were detected in feelings of anxiety or anger or in

   gender dysphoria as a result of puberty suppression; however, natal females using

   puberty suppression suffered increased body dissatisfaction both with their

   secondary sex characteristics and with nonsexual characteristics.49

        65.     As the report authors noted, while it is possible that the improvement on

   some variables was due to the puberty-blockers, it is also possible that the

   improvement was due to the mental health support, and it is possible that the

   improvement occurred only on its own with natural maturation. So any conclusion

   that puberty blockers improved the mental health of the treated children is not

   justified by the data. Because this study did not include a control group (another


   45   Kaltiala et al., 2020, at 213.
   46   de Vries, et al., 2011; de Vries, et al., 2014
   47   de Vries, et al., 2011.
   48   de Vries, et al., 2014.
   49   Biggs, 2020.


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 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                               06/17/22
                                                 06/30/22Page
                                                          Page30465
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 986
                                                                                  #:
                                      1749



   group of adolescents matching the first group, but not receiving medical or social

   support), these possibilities cannot be distinguished from each other. The authors of

   the study were explicit in noting this themselves: “All these factors may have

   contributed to the psychological well-being of these gender dysphoric adolescents.”50

        66.     In a 2020 update, the Dutch clinic reported continuing to find improvement

   in transgender adolescents’ psychological functioning, reaching age-typical levels,

   “after the start of specialized transgender care involving puberty suppression.”51

   Unfortunately, because the transgender care method of that clinic involves both

   psychosocial support and puberty suppression, it again cannot be known which of

   those (or their combination) is driving the improvement. Also, the authors indicate

   that the changing demographic and other features among gender dysphoric youth

   might have caused the treated group to differ from the control group in unknown

   ways. As the study authors noted again, “The present study can, therefore, not

   provide evidence about the direct benefits of puberty suppression over time and long-

   term mental health outcomes.”52
        67.     Allen, et al. (2019) reported on a sample of 47 youth, ages 13–20, undergoing

   cross-sex hormone treatment. They reported observing increases in measures of well-

   being and decreases in measures of suicidality; however, as the authors also noted,

   “whether a patient is actively receiving psychotherapy” may have been a confounding

   variable.53

        68.     Tordoff, et al. (2022) reported on a sample of youth, ages 13–20 years,

   treated with either puberty blockers or cross-sex hormones. There were

   improvements in mental health functioning; however, 62.5% of the sample was again

   receiving mental health therapy.54

   50   de Vries, et al. 2011, at 2281.
   51   van der Miesen, et al., 2020, at 699.
   52   van der Miesen, et al., 2020, at 703.
   53   Allen, et al., 2019.
   54   Tordoff, et al., 2022, Table 1.


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Case
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                                                 06/30/22Page
                                                          Page31466
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 987
                                                                                  #:
                                      1750


                     c. Two studies showed no superiority of medical intervention
                        above psychotherapy
        69.     Costa, et al. (2015) reported on preliminary outcomes from the Tavistock

   and Portman NHS Foundation Trust clinic in the UK. They compared the

   psychological functioning of one group of youth receiving psychological support with

   a second group receiving both psychological support as well as puberty blocking

   medication. Both groups improved in psychological functioning over the course of the

   study, but no statistically significant differences between the groups was detected at

   any point.55 This clinical team subsequently released its final report, finding that

   neither group actually experienced significant improvement,56 making moot any
   discussion of the source any improvement.

        70.     Achille, et al. (2020) at Stony Brook Children’s Hospital in New York

   treated a sample of 95 youth with gender dysphoria, providing follow-up data on 50

   of them. (The report did not indicate how these 50 were selected from the 95.) As well

   as receiving puberty blocking medications, “Most subjects were followed by mental

   health professionals. Those that were not were encouraged to see a mental health

   professional.”57 The puberty blockers themselves “were introduced in accordance with

   the Endocrine Society and the WPATH guidelines.”58 Upon follow-up, some

   incremental improvements were noted; however, after statistically adjusting for

   psychiatric medication and engagement in counselling, “most predictors did not reach

   statistical significance.”59 That is, puberty blockers did not improve mental health

   any more than did mental health care on its own.
                     d. Conclusions
        71.     The authors of the original Dutch studies were careful not to overstate the

   implications of their results, “We cautiously conclude that puberty suppression may


   55   Costa, et al., 2015, at 2212 Table 2.
   56   Carmichael, et al., 2021.
   57   Achille, et al., 2020, at 2.
   58   Achille, et al., 2020, at 2.
   59   Achille, et al., 2020, at 3 (italics added).


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                                                 06/30/22Page
                                                          Page32467
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 988
                                                                                  #:
                                      1751



   be a valuable element in clinical management of adolescent gender dysphoria.”60

   Nonetheless, many other clinics and clinicians intrepidly proceeded on the basis of

   only the perceived positives, broadened the range of people beyond those represented

   in the research findings, and removed the protections applied in the procedures that

   led to those outcomes. Many clinics and individual clinicians have reduced the

   minimum age for transition to 10 instead of 12. While the Dutch Protocol involves

   interdisciplinary teams of clinicians, many clinics now rely on a single assessor, in

   some cases one without adequate professional training in childhood and adolescent

   mental health. Comprehensive, longitudinal assessments (e.g., 1 to 2 years61) became
   approvals after one or two assessment sessions. Validated, objective measures of

   youths’ psychological functioning were replaced with clinicians’ subjective (and first)

   opinions, often reflecting only the clients’ own self-report. Systematic recordings of

   outcomes, so as to allow for detection and correction of clinical deficiencies, were

   eliminated.

        72.     Notably, Dr. Thomas Steensma, central researcher of the Dutch clinic, has

   decried other clinics for “blindly adopting our research” despite the indications that

   those results may not actually apply: “We don’t know whether studies we have done

   in the past are still applicable to today. Many more children are registering, and also

   a different type.”62 Steensma opined that “every doctor or psychologist who is involved

   in transgender care should feel the obligation to do a good pre- and post-test.” But

   few if any are doing so.

                4. Social transition may increase persistence/decrease desistance
        73.     In addition to these, another study followed-up children, ages 3–12 (average

   of 8), who had already made a complete, binary (rather than intermediate) social



   60   de Vries, et al. 2011, at 2282, italics added.
   61   de Vries, et al., 2011.
   62   Tetelepta, 2021.


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 Case1:22-cv-01075-JMS-DLP
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                                               06/17/22
                                                 06/30/22Page
                                                          Page33468
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 989
                                                                                  #:
                                      1752



   transition, including a change of pronouns.63 (Olson et al., in press). The study did

   not employ DSM-5 diagnoses, as “Many parents in this study did not believe that

   such diagnoses were either ethical or useful and some children did not experience the

   required distress criterion.”64 Rather, children were classified according to their

   pronoun preference. In contrast with the studies of non-transitioned children, only

   few (7.3%) in the Olson sample desisted (7.3%, which Olson et al. called

   “retransitioned”).65 Although the Olson team did not discuss it, their finding matches

   the Zucker hypothesis that social transition itself represents an active intervention,

   such that social transition causes the persistence (or, conversely, that social

   transition prevents desistance, such as by withholding from the child opportunities

   to develop confidence as members of their biological sex).66

                5. Mental Health Issues in Childhood-Onset Gender Dysphoria
        74.     As shown by the outcomes studies, there is little evidence that transition

   improves the mental well-being of children. As shown repeatedly by clinical

   guidelines from multiple professional associations, mental health issues are expected

   or required to be resolved before undergoing transition. The reasoning behind these

   conclusions is that children may be expressing gender dysphoria, not because they

   are experiencing what gender dysphoric adults report, but because they mistake what

   their experiences indicate or to what they might lead. For example, a child

   experiencing depression from social isolation might develop the hope—and the

   unrealistic expectation—that transition will help them fit in, this time as and with

   the other sex.

        75.     If a child undergoes transition, discovering only then that their mental

   health or social situations will not in fact change, the medical risks and side-effects


   63   Olson, et al., in press.
   64   Olson, et al., in press.
   65   Olson, et al., in press.
   66   Singh, et al., 2021; Zucker, 2018, 2020.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                                 06/30/22Page
                                                          Page34469
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 990
                                                                                  #:
                                      1753



   (such as sterilization) will have been borne for no reason. If, however, a child resolves

   the mental health issues first, with the gender dysphoria resolving with it (which the

   research literature shows to be the case in the large majority), then the child need

   not undergo transition at all, but retains the opportunity to do so later.

        76.     Elevated rates of multiple mental health issues among gender dysphoric

   children are reported throughout the research literature. A formal analysis of

   children (ages 4–11) undergoing assessment at the Dutch child gender clinic showed

   52% fulfilled criteria for a formal DSM diagnosis.67 A comparison of the children

   attending the Canadian versus Dutch child gender dysphoria clinic showed only few

   differences between them, but a large proportion in both groups were diagnosable

   with clinically significant mental health issues. Results of standard assessment

   instruments (Child Behavior Check List, or CBCL) demonstrated that the average

   score was in the clinical rather than healthy range, among children in both clinics.68
   When expressed as percentages, among 6–11-year-olds, 61.7% of the Canadian and

   62.1% of the Dutch sample were in the clinical range.

        77.     A systematic, comprehensive review of all studies of Autism Spectrum

   Disorders (ASDs) and Attention-Deficit Hyperactivity Disorder (ADHD) among

   children diagnosed with gender dysphoria was recently conducted. It was able to

   identify a total of 22 studies examining the prevalence of ASD or ADHD I youth with

   gender dysphoria. Studies reviewing medical records of children and adolescents

   referred to gender clinics showed 5–26% to have been diagnosed with ASD.69

   Moreover, those authors gave specific caution on the “considerable overlap between

   symptoms of ASD and symptoms of gender variance, exemplified by the subthreshold

   group which may display symptoms which could be interpreted as either ASD or

   gender variance. Overlap between symptoms of ASD and symptoms of GD may well

   67   Wallien, et al., 2007.
   68   Cohen-Kettenis, et al., 2003, at 46.
   69   Thrower, et al., 2020.


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 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page35470
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 991
                                                                                  #:
                                      1754



   confound results.”70 The rate of ADHD among children with GD was 8.3–11%.

   Conversely, in data from children (ages 6–18) with Autism Spectrum Disorders

   (ASDs) show they are more than seven times more likely to have parent-reported

   “gender variance.”71

                C. Adolescent-Onset Gender Dysphoria

                1. Features of Adolescent-Onset Gender Dysphoria
        78.     In the social media age, a third profile has recently begun to present

   clinically or socially, characteristically distinct from the two previously identified

   profiles.72 Unlike adult-onset or childhood-onset gender dysphoria, this group is
   predominately biologically female. This group typically presents in adolescence, but

   lacks the history of cross-gender behavior in childhood like the childhood-onset cases

   have. It is that feature which led to the term Rapid Onset Gender Dysphoria

   (ROGD).73 The majority of cases appear to occur within clusters of peers and in

   association with increased social media use74 and especially among people with

   autism or other neurodevelopmental or mental health issues.75

        79.     It cannot be easily determined whether the self-reported gender dysphoria

   is a result of other underlying issues or if those mental health issues are the result of

   the stresses of being a sexual minority, as some writers are quick to assume.76 (The

   science of the Minority Stress Hypothesis appears in its own section.) Importantly,

   and unlike other presentations of gender dysphoria, people with rapid-onset gender

   dysphoria often (47.2%) experienced declines rather than improvements in mental

   health when they publicly acknowledged their gender status.77 Although long-term

   outcomes have not yet been reported, these distinctions demonstrate that one cannot

   70   Thrower, et al., 2020, at 703.
   71   Janssen, et al., 2016.
   72   Kaltiala-Heino, et al., 2015; Littman, 2018.
   73   Littman, 2018.
   74   Littman, 2018.
   75   Kaltiala-Heino, et al., 2015; Littman, 2018; Warrier, et al., 2020.
   76   Boivin, et al., 2020.
   77   Biggs, 2020; Littman, 2018.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page36471
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 992
                                                                                  #:
                                      1755



   apply findings from the other types of gender dysphoria to this type. That is, in the

   absence of evidence, researchers cannot assume that the pattern found in childhood-

   onset or adult-onset gender dysphoria also applies to adolescent-onset gender

   dysphoria. The multiple differences already observed between these groups argue

   against predicting that features present in one type would generalize to be present in

   all types of gender dysphoria.

             2. Social Transition and Puberty Blockers with Adolescent Onset
      80.    There do not yet exist prospective outcomes studies either for social

   transition or for medical interventions for people whose gender dysphoria began in

   adolescence. That is, instead of taking a sample of individuals and following them

   forward over time (thus permitting researchers to account for people dropping out of

   the study, people misremembering the order of events, etc.), all studies have thus far

   been retrospective. It is not possible for such studies to identify what factors caused

   what outcomes. No study has yet been organized in such a way as to allow for an

   analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset

   cases. Many of the newer clinics (not the original clinics which systematically tracked

   and reported on their cases’ results) fail to distinguish between people who had

   childhood-onset gender dysphoria and have aged into adolescence versus people

   whose onset was not until adolescence. (Analogously, there are reports failing to

   distinguish people who had adolescent-onset gender dysphoria and aged into

   adulthood from adult-onset gender dysphoria.) Studies selecting groups according to

   their current age instead of their ages of onset produces confounded results,

   representing unclear mixes according to how many of each type of case wound up in

   the final sample.

             3. Mental Illness in Adolescent-Onset Gender Dysphoria
      81.    In 2019, a Special Section appeared in the Archives of Sexual Behavior

   titled, “Clinical Approaches to Adolescents with Gender Dysphoria.” It included this


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page37472
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 993
                                                                                  #:
                                      1756



   brief yet thorough summary of rates of mental health issues among adolescents

   expressing gender dysphoria, by Dr. Aron Janssen of the Department of Child and

   Adolescent Psychiatry of New York University:78 The literature varies in the range of

   percentages of adolescents with co-occurring disorders. The range for depressive

   symptoms ranges was 6–42%,79 with suicide attempts ranging 10 to 45%.80 Self-

   injurious thoughts and behaviors range 14–39%.81 Anxiety disorders and disruptive

   behavior difficulties including Attention Deficit/Hyperactivity Disorder are also

   prevalent.82 Gender dysphoria also overlaps with Autism Spectrum Disorder.83

        82.    Of particular concern in the context of adolescent onset gender dysphoria is

   Borderline Personality Disorder (BPD; diagnostic criteria to follow). It is increasingly

   hypothesized that very many cases appearing to be adolescent-onset gender

   dysphoria actually represent cases of BPD.84 That is, some people may be
   misinterpreting their experiencing of the broader “identity disturbance” of symptom

   Criterion 3 to represent a gender identity issue specifically. Like adolescent-onset

   gender dysphoria, BPD begins to manifest in adolescence, is three times more

   common in biological females than males, and occurs in 2–3% of the population,

   rather than 1-in-5,000 people. (Thus, if even only a portion of people with BPD

   experienced an identity disturbance that focused on gender identity and were

   mistaken for transgender, they could easily overwhelm the number of genuine cases

   of gender dysphoria.)

        83.    DSM-5-TR Diagnostic Criteria for Borderline Personality Disorder:
               A pervasive pattern of instability of interpersonal relationships, self-
               image, and affects, and marked impulsivity beginning by early
               adulthood and present in a variety of contexts, as indicated by five (or

   78 Janssen, et al., 2019.
   79 Holt, et al., 2016; Skagerberg, et al., 2013; Wallien, et al., 2007.
   80 Reisner, et al., 2015.
   81 Holt, et al., 2016; Skagerberg, et al., 2013.
   82 de Vries, et al., 2011; Mustanski, et al., 2010; Wallien, et al., 2007.
   83 de Vries, et al., 2010; Jacobs, et al., 2014; Janssen, et al., 2016; May, et al., 2016; Strang, et al.,
   2014, 2016.
   84 E.g., Anzani, et al., 2020; Zucker, 2019.


                                                      33
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 Case1:22-cv-01075-JMS-DLP
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                                                 06/30/22Page
                                                          Page38473
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 994
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             more) of the following:
             1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not
                include suicidal or self-mutilating behaviour covered in Criterion 5.)
             2. A pattern of unstable and intense interpersonal relationship
                characterized by alternating between extremes of idealization and
                devaluation.
             3. Identity disturbance: markedly and persistently unstable self-image
                or sense of self.
             4. Impulsivity in at least two areas that are potentially self-damaging
                (e.g., spending, sex, substance abuse, reckless driving, binge eating).
                (Note: Do not include suicidal or self-mutilating behavior covered in
                Criterion 5.)
             5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating
                behavior.
             6. Affective instability due to a marked reactivity of mood (e.g., intense
                episodic dysphoria, irritability, or anxiety usually lasting a few hours
                and only rarely more than a few days).
             7. Chronic feelings of emptiness.
             8. Inappropriate, intense anger or difficulty controlling anger (e.g., fre-
                quent displays of temper, constant anger, recurrent physical fights).
             9. Transient, stress-related paranoid ideation or severe dissociative
                symptoms.
   (Italics added.)

      84.    Mistaking cases of BPD for cases of Gender Dysphoria may prevent such

   youth from receiving the correct mental health services for their condition, and a

   primary cause for concern is symptom Criterion 5: Recurrent suicidality. (The

   research on suicide and suicidality are detailed in their own section herein.)

   Regarding the provision of mental health care, the distinction between these

   conditions is crucial: A person with BPD going undiagnosed will not receive the

   appropriate treatments (the currently most effective of which is Dialectical Behavior

   Therapy). A person with a cross-gender identity would be expected to feel relief from

   medical transition, but someone with BPD would not: The problem was not about

   gender identity, but about having an unstable identity. Moreover, after a failure of

   medical transition to provide relief, one would predict for these people increased

   levels of hopelessness and increased risk of suicidality.



                                             34
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                               06/17/22
                                                 06/30/22Page
                                                          Page39474
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 995
                                                                                  #:
                                      1758



         85.     Regarding research, there have now been several attempts to document

   rates of suicidality among gender dysphoric adolescents. The scientific concern

   presented by BPD is that it poses a potential confound: Samples of gender dysphoric

   adolescents could appear to have elevated rates of suicidality, not because of the

   gender dysphoria (or transphobia in society), but because of the number of people

   with BPD in the sample.

   VI.         Other Scientific Claims Assessed

                 A. Suicide and Suicidality
         86.     Social media increasingly circulate demands for transition accompanied by

   hyperbolic warnings of suicide should there be delay or obstacle. Claims accompany

   admissions that “I’d rather have a trans daughter than a dead son,” and such threats

   are treated as the justification for referring to affirming gender transitions as ‘life-

   saving’ or ‘medically necessary’. Such claims convey only grossly misleading

   misrepresentations of the research literature, however, deploying terms for their

   shock value rather than accuracy, and exploiting common public misperceptions

   about suicide. Indeed, suicide prevention research and public health campaigns

   repeatedly warn against circulating such exaggerations, due to the risk of copy-cat

   behavior they encourage.85

         87.     Despite that the media treat them as near synonyms, suicide and

   suicidality are distinct phenomena. They represent different behaviors with different

   motivations, with different mental health issues, and with different clinical needs.

   Suicide refers to completed suicides and the sincere intent to die. It is substantially

   associated with impulsivity, using more lethal means, and being a biological male.86

   Suicidality refers to parasuicidal behaviors, including suicidal ideation, threats, and

   gestures. These typically represent cries for help rather than an intent to die and are


   85    Gould & Lake, 2013.
   86    Freeman, et al., 2017.


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 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page40475
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 996
                                                                                  #:
                                      1759



   more common among biological females. Suicidal threats can indicate any of many

   problems or represent emotional blackmail, as typified by “If you leave me, I will kill

   myself.” Professing suicidality is also used for attention-seeking or for the support or

   sympathy it evokes from others, denoting distress much more frequently than an

   intent to die.

        88.    Notwithstanding public misconceptions about the frequency of suicide and

   related behaviors, the highest rates of suicide are among middle-aged and elderly

   men in high income countries.87 Biological males are at three times greater risk of

   death by suicide than are biological females, whereas suicidal ideation, plans, and

   attempts are three times more common among biological females.88 In contrast with
   completed suicides, the frequency of suicidal ideation, plans, and attempts is highest

   during adolescence and young adulthood, with reported ideation rates spanning 12.1–

   33%.89 Relative to other countries, Americans report elevated rates of each of suicidal

   ideation (15.6%), plans (5.4%), and attempts (5.0%).90 Suicide attempts occur up to 30

   times more frequently than completed suicides.91 The rate of completed suicides in

   the U.S. population is 14.5 per 100,000 people.92 The widely discrepant numbers

   representing completed suicides versus transient suicidal ideation has left those

   statistics open to substantial abuse in the media and social media. Despite public

   media guidelines urging “Avoid dramatic headlines and strong terms such as ‘suicide

   epidemic’,”93 that is exactly what mainstream outlets have done.94

        89.    There is substantial research associating sexual orientation with



   87   Turecki & Brent, 2016
   88   Klonsky et al., 2016; Turecki & Brent, 2016
   89   Borges et a., 2010; Nock et al., 2008
   90   Klonsky, et al., 2016.
   91   Bachman, 2018.
   92   World Health Organization, 2022.
   93   Samaritans, 2020.
   94   E.g., MSNBC, 2015, Trans youth and suicide: An epidemic.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                     47-1Filed
                                           Filed
                                               06/17/22
                                                 06/30/22Page
                                                          Page41476
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 997
                                                                                  #:
                                      1760



   suicidality, but much less so with completed suicide.95 More specifically, there is some

   evidence suggesting gay adult men are more likely to die by suicide than are

   heterosexual men, but there is less evidence of an analogous pattern among lesbian

   women. Regarding suicidality, surveys of self-identified LGB Americans repeatedly

   report rates of suicidal ideation and suicide attempts 2–7 times higher than their

   heterosexual counterparts. Because of this association of suicidality with sexual

   orientation, one must apply caution in interpreting findings allegedly about gender

   identity: Because of the overlap between people who self-identify as non-heterosexual

   and as non-cis-gendered, correlations detected between suicidality and gender

   dysphoria may instead reflect (be confounded by) homosexuality. Indeed, other

   authors have made explicit their surprise that so many studies, purportedly of gender

   identity, entirely omitted measurement or consideration of sexual orientation,

   creating the situation where features that seem to be associated with gender identity

   instead reflect the sexual orientation of the members of the sample.96
        90.    Among post-transition transsexuals, completed suicide rates are elevated,

   but are nonetheless rare.97 Regarding suicidality, there have been three recent,

   systematic reviews of the research literature.98 All three included specific methods to

   minimize any potential effects of bias in selecting findings from within the research

   literature. Compiling the results of 108 articles reported from 64 research projects,

   Adams and Vincent (2019) found an overall average rate of 46.55% for suicidal

   ideation (ranging 18.18%–95.5%) and an overall average rate of 27.19% for suicidal

   attempts (ranging 8.57%–52.4%). These findings confirmed those reported by McNeil,

   et al. (2017), whose review of 30 articles revealed a range of 37%–83% for suicidal

   ideation and 9.8%–43% for suicidal attempts. Thus, on the one hand, these ranges


   95   Haas, et al., 2011.
   96   McNeil, et al. (2017)
   97   Wiepjes, et al., 2020.
   98   Adams & Vincent, 2019; Marshall, et al., 2016; McNeil, et al. (2017).


                                                     37
Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
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                                               06/17/22
                                                 06/30/22Page
                                                          Page42477
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 998
                                                                                  #:
                                      1761



   are greater than those reported for the mainstream population—They instead

   approximate the rates reported among sexual orientation minorities. On the other

   hand, with measures so lacking in reliability that they produce every result from

   ‘rare’ to ‘almost everyone’, it is unclear which, if any of them, represents a valid

   conclusion.

         91.     McNeil et al. (2017) observed also the research to reveal rates of suicidal

   ideation and suicidal attempts to be related—not to transition status—but to the

   social support received: The studies reviewed showed support to decrease suicidality,

   but transition not to. Indeed, in some situations, social support was associated with

   increased suicide attempts, suggesting the reported suicidality may represent

   attempts to evoke more support.99

         92.     Marshall et al. (2016) identified and examined 31 studies, again finding

   rates of suicidal ideation and suicide attempts to be elevated, particularly among

   biological females, indicating that suicidality patterns correspond to biological sex

   rather than self-identified gender.100

         93.     Despite that mental health issues, including suicidality, are repeatedly

   required by clinical standards of care to be resolved before transition, threats of

   suicide are instead oftentimes used as the very justification for labelling transition a

   ‘medical necessity’. However plausible it might seem that failing to affirm transition

   causes suicidality, the epidemiological evidence indicates that hypothesis to be

   incorrect: Suicide rates remains elevated even after complete transition, as shown by

   a comprehensive review of 17 studies of suicidality in gender dysphoria.101

         94.     The scientific study of suicide is inextricably linked to that of mental illness,

   and Borderline Personality Disorder is repeatedly documented to be greatly elevated



   99    Bauer, et al., 2015; Canetto, et al., 2021.
   100   Marshall, et al., 2016.
   101   McNeil, et al., 2017.


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Case
 Case1:22-cv-01075-JMS-DLP
      1:22-cv-01075-JMS-MKKDocument
                            Document36-9
                                     47-1Filed
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                                               06/17/22
                                                 06/30/22Page
                                                          Page43478
                                                                 of 245
                                                                    of 902
                                                                        PageID
                                                                           PageID
                                                                               #: 999
                                                                                  #:
                                      1762



   among sexual minorities102.

                 B. Conversion Therapy
         95.     Activists and social media increasingly, but erroneously, apply the term

   “conversion therapy” moving farther and farther from what the research has

   reported. “Conversion therapy” (or “reparative therapy” and other names) was the

   attempt to change a person’s sexual orientation; however, with the public more

   frequently accustomed to “LGB” being expanded to “LGBTQ+”, the claims relevant

   only to sexual orientation are being misapplied to gender identity. The research has

   repeatedly demonstrated that once one explicitly acknowledges being gay or lesbian,

   one is only very rarely mistaken. That is entirely unlike gender identity, wherein the

   great majority of children who declare cross-gender identity cease to do so by puberty,

   as already shown unanimously by all follow-up studies. As the field grows

   increasingly polarized, any therapy failing to provide affirmation-on-demand is

   mislabeled “conversion therapy.”103 Indeed, even actions of non-therapists, unrelated
   to any therapy, have been (mis-)labelled conversion therapy, including the

   prohibition of biological males competing on female teams.104

                 C. Assessing Demands for Social Transition and Affirmation-Only
                 or Affirmation-on-Demand Treatment in Pre-Pubertal Children.
         96.     Colloquially, affirmation refers broadly to any actions that treat the person

   as belonging to a new gender. In different contexts, that could apply to social actions

   (use of a new name and pronouns), legal actions (changes to birth certificates), or

   medical actions (hormonal and surgical interventions). That is, social transition, legal

   transition, and medical transition (and subparts thereof) need not, and rarely do,

   occur at the same time. In practice, there are cases in which a child has socially only

   partially transitioned, such as presenting as one gender at home and another at


   102   Reuter, et al., 2016; Rodriguez-Seiljas, et al., 2021; Zanarni, et al., 2021.
   103   D’Angelo, et al., 2021.
   104   Turban, 2021, March 16.


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Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 479
                                                              44 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1000
                                     1763



  school or presenting as one gender with one custodial parent and another gender with

  the other parent.

     97.    Referring to “affirmation” as a treatment approach is ambiguous: Although

  often used in public discourse to take advantage of the positive connotations of the

  term, it obfuscates what exactly is being affirmed. This often leads to confusion, such

  as quoting a study of the benefits and risks of social affirmation in a discussion of

  medical affirmation, where the appearance of the isolated word “affirmation” refers

  to entirely different actions.

     98.    It is also an error to divide treatment approaches into affirmative versus

  non-affirmative. As noted already, the widely adopted Dutch Approach (and the

  guidelines of the multiple professional associations based on it) cannot be said to be

  either: It is a staged set of interventions, wherein social transition (and puberty

  blocking) may not begin until age 12 and cross-sex hormonal and other medical

  interventions, later.

     99.    Formal clinical approaches to helping children expressing gender dysphoria

  employ a gate-keeper model, with decision trees to help clinicians decide when and if

  the potential benefits of affirmation of the new gender would outweigh the potential

  risks of doing so. Because the gate-keepers and decision-trees generally include the

  possibility of affirmation in at least some cases, it is misleading to refer to any one

  approach as “the affirmation approach.” The most extreme decision-tree would be

  accurately called affirmation-on-demand, involving little or no opportunity for

  children to explore at all whether the distress they feel is due to some other, less

  obvious, factor, whereas more moderate gate-keeping would endorse transition only

  in select situations, when the likelihood of regretting transition is minimized.
     100.   Many outcomes studies have been published examining the results of gate-

  keeper models, but no such studies have been published regarding affirmation-on-

  demand with children. Although there have been claims that affirmation-on-demand


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Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 480
                                                              45 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1001
                                     1764



  causes mental health or other improvement, these have been the result only of

  “retrospective” rather than “prospective” studies. That is, such studies did not take a

  sample of children and follow them up over time, to see how many dropped out

  altogether, how many transitioned successfully, and how many transitioned and

  regretted it or detransitioned. Rather, such studies took a sample of successfully

  transitioned adults and asked them retrospective questions about their past. In such

  studies, it is not possible to know how many other people dropped out or regretted

  transition, and it is not possible to infer causality from any of the correlations

  detected, despite authors implying and inferring causality.

            D. Assessing the “Minority Stress Hypothesis”
        101.   The elevated levels of mental health problems among lesbian, gay, and

  bisexual populations is a well-documented phenomenon, and the idea that it is caused

  by living within a socially hostile environment is called the Minority Stress

  Hypothesis.105 The association is not entirely straight-forward, however. For example,

  although lesbian, gay, and bisexual populations are more vulnerable to suicide

  ideation overall, the evidence specifically on adult lesbian and bisexual women is

  unclear. Meyer did not include transgender populations in originating the hypothesis,

  and it remains a legitimate question to what extent and in what ways it might apply

  to gender identity.

        102.   Minority stress is associated, in large part, with being a visible minority.

  There is little evidence that transgender populations show the patterns suggested by

  the hypothesis. For example, the minority stress hypothesis would predict differences

  according to how visibly a person is discernable as a member of the minority, which

  often changes greatly upon transition. Biological males who are very effeminate stand

  out throughout childhood, but in some cases can successfully blend in as adult

  females; whereas the adult-onset transitioners blend in very much as heterosexual

  105   Meyer, 2003.


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Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 481
                                                              46 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1002
                                     1765



  cis-gendered males during their youth and begin visibly to stand out in adulthood,

  only for the first time.

        103.   Also suggesting minority stress cannot be the full story is that the mental

  health symptoms associated with minority stress do not entirely correspond with

  those associated with gender dysphoria. The primary symptoms associated with

  minority stress are depressive symptoms, substance use, and suicidal ideation.106 The

  symptoms associated with gender dysphoria indeed include depressive symptoms and

  suicidal ideation, but also include anxiety symptoms, Autism Spectrum Disorders,

  and personality disorders.

        104.   A primary criterion for readiness for transition used by the clinics

  demonstrating successful transition is the absence or resolution of other mental

  health concerns, such as suicidality. In the popular media, however, indications of

  mental health concerns are instead often dismissed as an expectable result caused by

  Sexual Minority Stress (SMS). It is generally implied that such symptoms will resolve

  upon transition and integration into an affirming environment.

  VII.     International Health Care Consensus
        105.   As detailed in the following, Westernized countries other than the U.S. have

  followed a remarkably similar pattern of policy development: The health care systems

  of these countries responded to the demands of transgender advocates by facilitating

  transition-on-demand, which was followed by the identification of the failure of those

  efforts to improve the mental health of an exponentially increasing number of youth,

  and, currently, by the reversal of initial policy, now endorsing psychotherapy as the

  treatment of choice, with medical interventions representing a method of last resort,

  if permitted at all. These range from medical advisories to outright bans on the

  medical transition of minors.



  106   Meyer, 2003.


                                              42
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 482
                                                              47 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1003
                                     1766


                1. United Kingdom
        106.   The National Health Service (NHS) of the United Kingdom centralizes

  gender counselling and transitioning services in a single clinic, the Gender Identity

  Development Service (GIDS) of the Tavistock and Portman NHS Foundation Trust.

  Between 2008 and 2018, the number of referrals to the clinic had increased by a factor

  of 40, leading to a government inquiry into the causes107. The GIDS was repeatedly

  accused of over-diagnosing and permitting transition in cases despite indicators

  against patient transition, including by 35 members of the GIDS staff, who resigned

  by 2019108.

        107.   The NHS appointed Dr. Hilary Cass, former President of the Royal College

  of Paediatrics and Child Health, to conduct an independent review109. That review
  included a systematic consolidation of all the research evidence, following established

  procedures for preventing selective citation favouring or down-playing any one

  conclusion110. The review’s results were unambiguous: “The critical outcomes for

  decision making are the impact on gender dysphoria, mental health and quality of

  life. The quality of evidence for these outcomes was assessed as very low”111, again

  using established procedures for assessing clinical research evidence (called GRADE).

  The review also assessed as “very low” the quality of evidence regarding “body image,

  psychosocial impact, engagement with health care services, impact on extent of an

  satisfaction with surgery and stopping treatment”112. The report concluded that of

  the existing research, “The studies included in this evidence review are all small,

  uncontrolled observational studies, which are subject to bias and confounding….They

  suggest little change with GnRH analogues [puberty blockers] from baseline to follow-

  up”113.

  107   Marsh, 2020; Rayner, 2018.
  108   BBC, 2021; Donnelly, 2019.
  109   National Health Service, 2020, Sept. 22.
  110   U.K. National Health Service (NHS), 2021.
  111   U.K. National Health Service (NHS), 2021, p. 4.
  112   U.K. National Health Service (NHS), 2021, p. 5.
  113   U.K. National Health Service (NHS), 2021, p. 13.


                                                    43
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 483
                                                              48 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1004
                                     1767


                2. Finland
        108.   In Finland, the assessments of mental health and preparedness of minors

  for transition services are centralized by law into two research clinics, Helsinki

  University Central Hospital and Tampere University Hospital. The eligibility of

  minors began in 2011. In 2019, Finnish researchers published an analysis of the

  outcomes of adolescents diagnosed with transsexualism and receiving cross-sex

  hormone treatment114. That study showed that despite the purpose of medical

  transition to improve mental health: “Medical gender reassignment is not enough to

  improve functioning and relieve psychiatric comorbidities among adolescents with

  gender dysphoria. Appropriate interventions are warranted for psychiatric

  comorbidities and problems in adolescent development”115. The patients who were
  functioning well after transition were those who were already functioning well before

  transition, and those who were functioning poorly, continued to function poorly after

  transition.

        109.   Consistent with the evidence, Finland’s health care service (Council for

  Choices in Health Care in Finland—COHERE) thus ended the surgical transition of

  minors, ruling in 2020 that “Surgical treatments are not part of the treatment

  methods for dysphoria caused by gender-related conflicts in minors” (COHERE,

  2020). The review of the research concluded that “[N]o conclusions can be drawn on

  the stability of gender identity during the period of disorder caused by a psychiatric

  illness with symptoms that hamper development.” COHERE also greatly restricted

  access to puberty-blocking and other hormonal treatments, indicating they “may be

  considered if the need for it continues after the other psychiatric symptoms have

  ceased and adolescent development is progressing normally”116. The council was

  explicit in noting the lack of research needed for decision-making, “There is also a


  114   Kaltiala et al., 2020.
  115   Kaltiala et al., 2020, p. 213.
  116   Council for Choices in Health Care in Finland, 2020; italics added.


                                                     44
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 484
                                                              49 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1005
                                     1768



  need for more information on the disadvantages of procedures and on people who

  regret them”117.

                3. Sweden
        110.   Sweden’s national health care policy regarding trans issues has developed

  quite similarly to that of the UK. Already in place 20 years ago, Swedish health care

  policy permitted otherwise eligible minors to receive puberty-blockers beginning at

  age 14 and cross-sex hormones at age 16.) At that time, only small numbers of minors

  sought medical transition services. An explosion of referrals ensued in 2013–2014.

  Sweden’s Board of Health and Welfare reported that, in 2018, the number of

  diagnoses of gender dysphoria was 15 times higher than 2008 among girls ages 13–

  17.

        111.   Sweden has long been very accepting with regard to sexual and gender

  diversity. In 2018, a law was proposed to lower the age of eligibility for surgical care

  from age 18 to 15, remove the requirement for parental consent, and lower legal

  change of gender to age 12. A series of cases of regret and suicide were reported in

  the Swedish media, leading to questions of mental health professionals failing to

  consider. In 2019, the Swedish Agency for Health Technology Assessment and

  Assessment of Social Services (SBU) therefore conducted its own comprehensive

  review of the research118. Like the UK, the Swedish investigation employed methods

  to ensure the encapsulation of the all the relevant evidence119.

        112.   The SBU report came to the same conclusions as the UK commission. From

  2022 forward, the Swedish National Board or Health and Welfare therefore

  “recommends restraint when it comes to hormone treatment…Based on the results

  that have emerged, the National Board of Health and Welfare’s overall conclusion is

  that the risks of anti-puberty and sex-confirming hormone treatment for those under

  117   Council for Choices in Health Care in Finland, 2020; italics added.
  118   Orange, 2020, Feb 22.
  119   Swedish Agency for Health Technology Assessment and Assessment of Social Services, 2019.


                                                  45
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 485
                                                              50 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1006
                                     1769



  18 currently outweigh the possible benefits for the group as a whole”120. Neither

  puberty blockers nor cross-sex hormones would be provided under age 16, and

  patients ages 16–18 would receive such treatments only within research settings

  (clinical trials monitored by the appropriate Swedish research ethics board).

               4. France
        113.   In 2022, the Académie Nationale de Médecine of France issued a strongly

  worded statement, citing the Swedish ban on hormone treatments. “[A] great medical

  caution must be taken in children and adolescents, given the vulnerability,

  particularly psychological, of this population and the many undesirable effects, and

  even serious complications, that some of the available therapies can cause…such as

  impact on growth, bone fragility, risk of sterility, emotional and intellectual

  consequences and, for girls, symptoms reminiscent of menopause”121. For hormones,
  the Académie concluded “the greatest reserve is required in their use,” and for

  surgical treatments, “[T]heir irreversible nature must be emphasized.” The Académie

  did not outright ban medical interventions, but warned “the risk of over-diagnosis is

  real, as shown by the increasing number of transgender young adults wishing to

  “detransition”. Rather than medical interventions, it advised health care providers

  “to extend as much as possible the psychological support phase.” The Académie

  reviewed and emphasized the evidence indicating the very large and very sudden

  increase in youth requesting medical transition. It attributed the change, not to

  society now being more accepting of sexual diversity, but to social media, “underlining

  the addictive character of excessive consultation of social networks which is both

  harmful to the psychological development of young people and responsible, for a very

  important part, of the growing sense of gender incongruence.”




  120   Swedish National Board of Health and Welfare, 2022.
  121   Académie Nationale de Médecine, 2022, Feb. 25.


                                                  46
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 486
                                                              51 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1007
                                     1770


                5. Australia
        114.    In Australia, from 2004 to 2017, court approval was required before starting

  hormone treatment. The end of that policy was followed by a jump to the opposite

  extreme: The subsequent Australian standards of care were explicit in indicating

  “decision making should be driven by the child or adolescent wherever possible; this

  applies to options regarding not only medical intervention but also social

  transition”,122 emphasizing that “Social transition should be led by the child.”123

  Notably, these guidelines were based, not on the research literature, but on expert

  consensus.124 In 2019, however, the Royal Australian and New Zealand College of

  Psychiatrists withdrew its support for those guidelines, issuing a position statement

  prioritizing psychotherapy. In an interview with Medscape, the president of the

  National Association of Practising Psychiatrists in Australia said that exploration of

  a patients reasons for identifying as transgender is essential, and “There may be

  other reasons for doing it and we need to look for those, identify them and treat them.

  This needs to be done before initiating hormones and changing the whole physical

  nature of the child.”125

  VIII. Assessing Statements from Professional Associations
        115.    In stark contrast with the consensus of the international health bodies

  endorsing evidence-based medicine, some U.S. medical associations instead continue

  to endorse medical intervention for children. The value of such endorsement should

  not be either over or under-estimated. The general public typically infers from such

  support that it followed from the association having conducted a scholarly review of

  the scientific evidence, ideally using standardized research methods to isolate biases

  and favors any specific results. Yet, whereas European public health services have



  122   Telfer, et al., 2018, p. 133.
  123   Telfer, et al., 2018, p. 134.
  124   Telfer, et al., 2018, p. 132.
  125   Medscape, 2021, Oct. 7.


                                               47
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 487
                                                              52 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1008
                                     1771



  engaged in exactly these comprehensive and transparent methods126 (e.g.,

  CASS/NICE in Appendix 4), the American professional associations have not.

        116.   With the broad exception of the AAP, the professional associations’

  statements repeatedly noted instead that:

                  Desistance of gender dysphoria occurs in the majority of prepubescent
                   children.
                  Mental health issues need to be assessed as potentially contributing
                   factors and need to be addressed before transition.
                  Puberty-blocking medication is an experimental, not a routine,
                   treatment.
                  Social transition is not generally recommended until after puberty.
  Although some other associations have published broad statements of moral support

  for sexual minorities and against discrimination, they did not include any specific

  standards or guidelines regarding medical- or transition-related care.

               1. World Professional            Association   for   Transgender    Health
                  (WPATH)
        117.   The WPATH standards as they relate to prepubescent children begin with

  the acknowledgement of the known rates of desistance among gender dysphoric

  children:
               [I]n follow-up studies of prepubertal children (mainly boys) who were
               referred to clinics for assessment of gender dysphoria, the dysphoria
               persisted into adulthood for only 6–23% of children (Cohen-Kettenis,
               2001; Zucker & Bradley, 1995). Boys in these studies were more likely
               to identify as gay in adulthood than as transgender (Green, 1987; Money
               & Russo, 1979; Zucker & Bradley, 1995; Zuger, 1984). Newer studies,
               also including girls, showed a 12–27% persistence rate of gender
               dysphoria into adulthood (Drummond, Bradley, Peterson-Badali, &
               Zucker, 2008; Wallien & Cohen-Kettenis, 2008).127
        118.   That is, “In most children, gender dysphoria will disappear before, or early

  in, puberty.”128

        119.   Although WPATH does not refer to puberty blocking medications as

  “experimental,” the document indicates the non-routine, or at least inconsistent

  126   U.K. National Health Service (NHS), 2021.
  127   Coleman, et al., 2012, at 172.
  128   Coleman, et al., 2012, at 173.


                                                    48
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 488
                                                              53 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1009
                                     1772



  availability of the treatment:
               Among adolescents who are referred to gender identity clinics, the
               number considered eligible for early medical treatment—starting with
               GnRH analogues to suppress puberty in the first Tanner stages—differs
               among countries and centers. Not all clinics offer puberty suppression.
               If such treatment is offered, the pubertal stage at which adolescents are
               allowed to start varies from Tanner stage 2 to stage 4 (Delemarre-van
               de Waal & Cohen-Kettenis, 2006; Zucker et al., [2012]).129
        120.   WPATH neither endorses nor proscribes social transitions before puberty,

  instead recognizing the diversity among families’ decisions:
               Social transitions in early childhood do occur within some families with
               early success. This is a controversial issue, and divergent views are held
               by health professionals. The current evidence base is insufficient to
               predict the long-term outcomes of completing a gender role transition
               during early childhood.130
        121.   It does caution, however, “Relevant in this respect are the previously

  described relatively low persistence rates of childhood gender dysphoria.”131
        122.   The WPATH standards have been subjected to standardized evaluation, the

  Appraisal of Guidelines for Research and Evaluation (“AGREE II”) method, as part

  of an appraisal of all published Clinical Practice Guidelines (CPGs) regarding sex and

  gender minority healthcare.132 Utilizing community stakeholders to set domain

  priorities for the evaluation, the assessment concluded that the guidelines regarding

  HIV and its prevention were of high quality, but that “[t]ransition-related CPGs

  tended to lack methodological rigour and rely on patchier, lower-quality primary

  research.”133 The WPATH guidelines were not recommended for use. Indeed, the

  WPATH guidelines received unanimous ratings of “Do not recommend.”134

        123.   Finally, it should be noted that WPATH is in stark opposition to

  international standards: Public healthcare systems throughout the world have

  instead been ending the practice of medical transition of minors, responding to the

  129   Coleman, et al., 2012, at 173.
  130   Coleman, et al., 2012, at 176.
  131   Coleman, et al., 2012, at 176 (quoting Drummond, et al., 2008; Wallien & Cohen-Kettenis, 2008).
  132   Dahlen, et al., 2021.
  133   Dahlen, et al., 2021, at 6.
  134   Dahlen, et al., 2021, at 7.


                                                    49
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 489
                                                              54 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1010
                                     1773



  increasingly recognized risks associated with hormonal interventions and the now

  clear lack of evidence that medical transition was benefitting most children, as

  opposed to the mental health counseling accompanying transition.

               2. Endocrine Society (ES)
        124.   The 150,000-member Endocrine Society appointed a nine-member task

  force, plus a methodologist and a medical writer, who commissioned two systematic

  reviews of the research literature and, in 2017, published an update of their 2009

  recommendations, based on the best available evidence identified. The guideline was

  co-sponsored by the American Association of Clinical Endocrinologists, American

  Society of Andrology, European Society for Paediatric Endocrinology, European

  Society of Endocrinology, Pediatric Endocrine Society (PES), and the World

  Professional Association for Transgender Health (WPATH).

        125.   The document acknowledged the frequency of desistance among gender

  dysphoric children:
               Prospective follow-up studies show that childhood GD/gender
               incongruence does not invariably persist into adolescence and adulthood
               (so-called “desisters”). Combining all outcome studies to date, the
               GD/gender incongruence of a minority of prepubertal children appears
               to persist in adolescence. . . . In adolescence, a significant number of
               these desisters identify as homosexual or bisexual.135
        126.   The statement similarly acknowledges inability to predict desistance or

  persistence, “With current knowledge, we cannot predict the psychosexual outcome

  for any specific child.”136

        127.   Although outside their area of professional expertise, mental health issues

  were also addressed by the Endocrine Society, repeating the need to handle such

  issues before engaging in transition, “In cases in which severe psychopathology,

  circumstances, or both seriously interfere with the diagnostic work or make

  satisfactory treatment unlikely, clinicians should assist the adolescent in managing

  135   Hembree, et al., 2017, at 3876.
  136   Hembree, et al., 2017, at 3876.


                                              50
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 490
                                                              55 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1011
                                     1774



  these other issues.”137 This ordering—to address mental health issues before

  embarking on transition—avoids relying on the unproven belief that transition will

  solve such issues.

        128.   The Endocrine Society did not endorse any affirmation-only approach. The

  guidelines were neutral with regard to social transitions before puberty, instead

  advising that such decisions be made only under clinical supervision: “We advise that

  decisions regarding the social transition of prepubertal youth are made with the

  assistance of a mental health professional or similarly experienced professional.”138

        129.   The Endocrine Society guidelines make explicit that, after gathering

  information from adolescent clients seeking medical interventions and their parents,

  the clinician “provides correct information to prevent unrealistically high

  expectations [and] assesses whether medical interventions may result in unfavorable

  psychological and social outcomes.”139

               3. Pediatric Endocrine Society and Endocrine Society (ES/PES)
        130.   In 2020, the 1500-member Pediatric Endocrine Society partnered with the

  Endocrine Society to create and endorse a brief, two-page position statement.140

  Although strongly worded, the document provided no specific guidelines, instead

  deferring to the Endocrine Society guidelines.141

        131.   It is not clear to what extent this endorsement is meaningful, however.

  According to the PES, the Endocrine Society “recommendations include evidence that

  treatment of gender dysphoria/gender incongruence is medically necessary and

  should be covered by insurance.”142 However, the Endocrine Society makes neither

  statement. Although the two-page PES document mentioned insurance coverage four


  137   Hembree, et al., 2017, at 3877.
  138   Hembree, et al., 2017, at 3872.
  139   Hembree, et al., 2017, at 3877.
  140   PES, online; Pediatric Endocrine Society & Endocrine Society, Dec. 2020.
  141   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1; Hembree, et al., 2017.
  142   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1.


                                                     51
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 491
                                                              56 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1012
                                     1775



  times, the only mention of health insurance by the Endocrine Society was: “If GnRH

  analog treatment is not available (insurance denial, prohibitive cost, or other

  reasons), postpubertal, transgender female adolescents may be treated with an

  antiandrogen that directly suppresses androgen synthesis or action.”143 Despite the

  PES asserting it as “medically necessary,” the Endocrine Society stopped short of

  that. Its only use of that phrase was instead limiting: “We recommend that a patient

  pursue genital gender-affirming surgery only after the MHP and the clinician

  responsible for endocrine transition therapy both agree that surgery is medically

  necessary and would benefit the patient’s overall health and/or well-being.”144

               4. American Academy of Child & Adolescent Psychiatry (AACAP)
        132.   The 2012 statement of the American Academy of Child & Adolescent

  Psychiatry (AACAP) is not an affirmation-only policy. It notes:
               Just as family rejection is associated with problems such as depression,
               suicidality, and substance abuse in gay youth, the proposed benefits of
               treatment to eliminate gender discordance in youth must be carefully
               weighed against such possible deleterious effects. . . . In general, it is
               desirable to help adolescents who may be experiencing gender distress
               and dysphoria to defer sex reassignment until adulthood, or at least
               until the wish to change sex is unequivocal, consistent, and made with
               appropriate consent.145
        133.   The AACAP’s language repeats the description of the use of puberty

  blockers only as an exception: “For situations in which deferral of sex reassignment

  decisions until adulthood is not clinically feasible, one approach that has been

  described in case series is sex hormone suppression under endocrinological

  management with psychiatric consultation using gonadotropin-releasing hormone

  analogues.”146

        134.   The AACAP statement acknowledges the long-term outcomes literature for

  gender dysphoric children: “In follow-up studies of prepubertal boys with gender


  143   Hembree, et al. 2017, at 3883.
  144   Hembree, et al., 2017 at 3872, 3894.
  145   Adelson & AACAP, 2012, at 969.
  146   Adelson & AACAP, 2012, at 969 (italics added).


                                                   52
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 492
                                                              57 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1013
                                     1776



  discordance—including many without any mental health treatment—the cross

  gender wishes usually fade over time and do not persist into adulthood,”147 adding

  that “[c]linicians should be aware of current evidence on the natural course of gender

  discordance and associated psychopathology in children and adolescents in choosing

  the treatment goals and modality.”148

        135.   The policy similarly includes a provision for resolving mental health issues:

  “Gender reassignment services are available in conjunction with mental health

  services focusing on exploration of gender identity, cross-sex treatment wishes,

  counseling during such treatment if any, and treatment of associated mental health

  problems.”149 The document also includes minority stress issues and the need to deal
  with mental health aspects of minority status (e.g., bullying).150

        136.   Rather than endorse social transition for prepubertal children, the AACAP

  indicates: “There is similarly no data at present from controlled studies to guide

  clinical decisions regarding the risks and benefits of sending gender discordant

  children to school in their desired gender. Such decisions must be made based on

  clinical judgment, bearing in mind the potential risks and benefits of doing so.”151

               5. American College of Obstetricians & Gynecologists (ACOG)
        137.   The American College of Obstetricians & Gynecologists (ACOG) published

  a “Committee Opinion” expressing recommendations in 2017. The statement

  indicates it was developed by the ACOG’s Committee on Adolescent Health Care, but

  does not indicate participation based on professional expertise or a systematic method

  of objectively assessing the existing research. It includes the disclaimer: “This

  document reflects emerging clinical and scientific advances as of the date issued and

  is subject to change. The information should not be construed as dictating an

  147   Adelson & AACAP, 2012, at 963.
  148   Adelson & AACAP, 2012, at 968.
  149   Adelson & AACAP, 2012, at 970 (italics added).
  150   Adelson & AACAP, 2012, at 969.
  151   Adelson & AACAP, 2012, at 969.


                                                   53
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 493
                                                              58 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1014
                                     1777



  exclusive course of treatment or procedure to be followed.”152

        138.   Prepubertal children do not typically have clinical contact with

  gynecologists, and the ACOG recommendations include that the client additionally

  have a primary health care provider.153

        139.   The ACOG statement cites the statements made by other medical

  associations—European Society for Pediatric Endocrinology (ESPE), PES, and the

  Endocrine Society—and by WPATH.154 It does not cite any professional association of

  mental health care providers, however. The ACOG recommendations repeat the

  previously mentioned eligibility/readiness criteria of having no mental illness that

  would hamper diagnosis and no medical contraindications to treatment. It notes:

  “Before any treatment is undertaken, the patient must display eligibility and

  readiness (Table 1), meaning that the adolescent has been evaluated by a mental

  health professional, has no contraindications to therapy, and displays an

  understanding of the risks involved.”155
        140.   The “Eligibility and Readiness Criteria” also include, “Diagnosis

  established for gender dysphoria, transgender, transsexualism.”156 This standard,

  requiring a formal diagnosis, forestalls affirmation-on-demand because self-declared

  self-identification is not sufficient for DSM diagnosis.

        141.   ACOG’s remaining recommendations pertain only to post-transition,

  medically oriented concerns. Pre-pubertal social transition is not mentioned in the

  document, and the outcomes studies of gender dysphoric (prepubescent) children are

  not cited.

               6. American College of Physicians (ACP)
        142.   The American College of Physicians published a position paper broadly

  152   ACOG, 2017, at 1.
  153   ACOG, 2017, at 1.
  154   ACOG, 2017, at 1, 3.
  155   ACOG, 2017, at 1, 3 (citing the Endocrine Society guidelines) (italics added).
  156   ACOG, 2017, at 3 Table 1.


                                                      54
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 494
                                                              59 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1015
                                     1778



  expressing support for the treatment of LGBT patients and their families, including

  nondiscrimination, antiharassment, and defining “family” by emotional rather than

  biological or legal relationships in visitation policies, and the inclusion of transgender

  health care services in public and private health benefit plans.157

        143.   ACP did not provide guidelines or standards for child or adult gender

  transitions. The policy paper opposed attempting “reparative therapy;” however, the

  paper confabulated sexual orientation with gender identity in doing so. That is, on

  the one hand, ACP explicitly recognized that “[s]exual orientation and gender identity

  are inherently different.”158 It based this statement on the fact that “the American
  Psychological Association conducted a literature review of 83 studies on the efficacy

  of efforts to change sexual orientation.”159 The APA’s document, entitled “Report of

  the American Psychological Task Force on appropriate therapeutic responses to

  sexual orientation” does not include or reference research on gender identity.160

  Despite citing no research about transgenderism, the ACP nonetheless included in

  its statement: “Available research does not support the use of reparative therapy as

  an effective method in the treatment of LGBT persons.”161 That is, the inclusion of

  “T” with “LGB” is based on something other than the existing evidence.

        144.   There is another statement,162 which was funded by ACP and published in

  the Annals of Internal Medicine under its “In the Clinic” feature, noting that “‘In the

  Clinic’ does not necessarily represent official ACP clinical policy.”163 The document

  discusses medical transition procedures for adults rather than for children, except to

  note that “[n]o medical intervention is indicated for prepubescent youth,”164 that a

  “mental health provider can assist the child and family with identifying an

  157   Daniel & Butkus, 2015a, 2015b.
  158   Daniel & Butkus, 2015b, at 2.
  159   Daniel & Butkus, 2015b, at 8 (italics added).
  160   APA, 2009 (italics added).
  161   Daniel & Butkus, 2015b, at 8 (italics added).
  162   Safer & Tangpricha, 2019.
  163   Safer & Tangpricha, 2019, at ITC1.
  164   Safer & Tangpricha, 2019, at ITC9.


                                                        55
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 495
                                                              60 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1016
                                     1779



  appropriate time for a social transition,”165 and that the “child should be assessed and

  managed for coexisting mood disorders during this period because risk for suicide is

  higher than in their cisgender peers.”166

               7. American Academy of Pediatrics (AAP)
        145.   The policy of the American Academy of Pediatrics (AAP) is unique among

  the major medical associations in being the only one to endorse an affirmation-on-

  demand policy, including social transition before puberty without any watchful

  waiting period. Although changes in recommendations can obviously be appropriate

  in response to new research evidence, the AAP provided none. Rather, the research

  studies AAP cited in support of its policy simply did not say what AAP claimed they

  did. In fact, the references that AAP cited as the basis of their policy instead outright

  contradicted that policy, repeatedly endorsing watchful waiting.167 Moreover, of all
  the outcomes research published, the AAP policy cited one, and that without

  mentioning the outcome data it contained.168.

        146.   Immediately following the publication of the AAP policy, I conducted a

  point-by-point fact-check of the claims it asserted and the references it cited in

  support. I submitted that to the Journal of Sex & Marital Therapy, a well-known

  research journal of my field, where it underwent blind peer review and was published.

  I append that article as part of this report. See Appendix 3. A great deal of published

  attention ensued; however, the AAP has yet to respond to the errors I demonstrated

  its policy contained. Writing for The Economist about the use of puberty blockers,

  Helen Joyce asked AAP directly, “Has the AAP responded to Dr Cantor? If not, have

  you any response now?” The AAP Media Relations Manager, Lisa Black, responded:

  “We do not have anyone available for comment.”


  165   Safer & Tangpricha, 2019, at ITC9.
  166   Safer & Tangpricha, 2019, at ITC9.
  167   Cantor, 2020.
  168   Cantor, 2020, at 1.


                                              56
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 496
                                                              61 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1017
                                     1780


                8. The ESPE-LWPES GnRH Analogs Consensus Conference Group
         147.   Included in the interest of completeness, there was also a collaborative
  report in 2009, between the European Society for Pediatric Endocrinology (ESPE)
  and the Lawson Wilkins Pediatric Endocrine Society (LWPES)_169 Thirty experts

  were convened, evenly divided between North American and European labs and

  evenly divided male/female, who comprehensively rated the research literature on
   gonadotropin-release hormone analogs in children.
         148.   The effort concluded that "(u]se of gonadotropin-releasing hormone analogs

  for conditions other than central precocious puberty requires additional investigation
  and cannot be suggested routinely."l70 However, gender dysphoria was not explicitly

   mentioned as one of those other conditions. Such additional investigations have still
   not appeared in the research literature, and the need for them continues to be

  expressed by these same professional bodies.
         Executed on this 17th day of June 2022.




                                                James M. Cantor, Ph.D.




   169   Carel et al. , 2009.
   170   Carel et al. 2009, at 752.


                                               57
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 497
                                                              62 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1018
                                     1781


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                                                06/17/22 Page
                                                         Page 508
                                                              73 ofof245
                                                                      902PageID
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                                    APPENDICES

  Appendix 1

        Curriculum Vita



  Appendix 2

        The Outcomes Studies of Childhood-Onset Gender Dysphoria



  Appendix 3

        Cantor, J. M. (2020). Transgender and gender diverse children and
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                                                06/17/22 Page
                                                         Page 509
                                                              74 ofof245
                                                                      902PageID
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                                        APPENDIX 1

                         James M. Cantor, PhD
  Toronto Sexuality Centre                                                            416-766-8733 (o)
  2 Carlton Ave., suite 1820                                                          416-352-6003 ( f )
  Toronto, Ontario, Canada M5B 1J3                                          jamescantorphd@gmail.com


                                          EDUCATION

  Postdoctoral Fellowship                                                       Jan., 2000–May, 2004
  Centre for Addiction and Mental Health • Toronto, Canada

  Doctor of Philosophy                                                          Sep., 1993–Jun., 2000
  Psychology • McGill University • Montréal, Canada

  Master of Arts                                                                Sep., 1990–Jan., 1992
  Psychology • Boston University • Boston, MA

  Bachelor of Science                                                           Sep. 1984–Aug., 1988
  Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
  Concentrations: Computer science, mathematics, physics


                                     EMPLOYMENT HISTORY

  Director                                                                         Feb., 2017–Present
  Toronto Sexuality Centre • Toronto, Canada

  Senior Scientist (Inaugural Member)                                          Aug., 2012–May, 2018
  Campbell Family Mental Health Research Institute
  Centre for Addiction and Mental Health • Toronto, Canada

  Senior Scientist                                                              Jan., 2012–May, 2018
  Complex Mental Illness Program
  Centre for Addiction and Mental Health • Toronto, Canada

  Head of Research                                                              Nov., 2010–Apr. 2014
  Sexual Behaviours Clinic
  Centre for Addiction and Mental Health • Toronto, Canada

  Research Section Head                                                         Dec., 2009–Sep. 2012
  Law & Mental Health Program
  Centre for Addiction and Mental Health • Toronto, Canada

  Psychologist                                                                 May, 2004–Dec., 2011
  Law & Mental Health Program
  Centre for Addiction and Mental Health • Toronto, Canada


                                                                                                   1/32
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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
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                                                              75 ofof245
                                                                      902PageID
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  Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
  Centre for Addiction and Mental Health • Toronto, Canada

  Teaching Assistant                                            Sep., 1993–May, 1998
  Department of Psychology
  McGill University • Montréal, Canada

  Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
  Sex and Couples Therapy Unit
  Royal Victoria Hospital • Montréal, Canada

  Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
  Department of Psychiatry
  Queen Elizabeth Hospital • Montréal, Canada


                               ACADEMIC APPOINTMENTS

  Associate Professor                                            Jul., 2010–May, 2019
  Department of Psychiatry
  University of Toronto Faculty of Medicine • Toronto, Canada

  Adjunct Faculty                                               Aug. 2013–Jun., 2018
  Graduate Program in Psychology
  York University • Toronto, Canada

  Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
  School of Behavioural, Cognitive & Social Science
  University of New England • Armidale, Australia

  Assistant Professor                                            Jun., 2005–Jun., 2010
  Department of Psychiatry
  University of Toronto Faculty of Medicine • Toronto, Canada

  Adjunct Faculty                                               Sep., 2004–Jun., 2010
  Clinical Psychology Residency Program
  St. Joseph’s Healthcare • Hamilton, Canada




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                                                06/17/22 Page
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 Case1:22-cv-01075-JMS-MKK
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                                                         Page 514
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                                                06/17/22 Page
                                                         Page 515
                                                              80 ofof245
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                                                06/17/22 Page
                                                         Page 516
                                                              81 ofof245
                                                                      902PageID
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  LETTERS AND COMMENTARIES
  1.  Cantor, J. M. (2015). Research methods, statistical analysis, and the phallometric test for
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  2. Cantor, J. M. (2015). In his own words: Response to Moser [Editorial Commentary].
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  3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
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  5. Soh, D. W., & Cantor, J. M. (2015). A peek inside a furry convention [Letter to the Editor].
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  6. Cantor, J. M. (2012). Reply to Italiano’s (2012) comment on Cantor (2011) [Letter to the
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  8. Cantor, J. M., & Blanchard, R. (2012). White matter volumes in pedophiles, hebephiles, and
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          19(2), 6.
  12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
          Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
  13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
          Division 44 of the American Psychological Association, 18(3), 5–8.
  14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
          Journal of Sex and Marital Therapy, 26, 107–109.


  EDITORIALS
  1.   Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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                                                06/17/22 Page
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                                                              82 ofof245
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  3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
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          and Treatment, 22, 371–373.
  4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
          Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
          Research and Treatment, 21, 3–5.
  5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
          Sexual Research, 38, 878–882.
  6. Barbaree, H. E., & Cantor, J. M. (2008). Performance indicators for Sexual Abuse: A
          Journal of Research and Treatment [Editorial]. Sexual Abuse: A Journal of Research
          and Treatment, 20, 3–4.
  7. Zucker, K. J., & Cantor, J. M. (2008). The Archives in the era of online first ahead of
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  8. Zucker, K. J., & Cantor, J. M. (2006). The impact factor: The Archives breaks from the pack
          [Editorial]. Archives of Sexual Behavior, 35, 7–9.
  9. Zucker, K. J., & Cantor, J. M. (2005). The impact factor: “Goin’ up” [Editorial]. Archives of
          Sexual Behavior, 34, 7–9.
  10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
                                                         Page 518
                                                              83 ofof245
                                                                      902PageID
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                                      FUNDING HISTORY

  Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
  Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                             Palmert, M. Skorska
  Title:                     Brain function and connectomics following sex hormone treatment in
                             adolescents experience gender dysphoria
  Agency:                    Canadian Institutes of Health Research (CIHR),
                             Behavioural Sciences-B-2
  Funds:                     $650,250 / 5 years (July, 2018)

  Principal Investigator:    Michael C. Seto
  Co-Investigators:          Martin Lalumière , James M. Cantor
  Title:                     Are connectivity differences unique to pedophilia?
  Agency:                    University Medical Research Fund, Royal Ottawa Hospital
  Funds:                     $50,000 / 1 year (January, 2018)

  Principal Investigator:    Lori Brotto
  Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
  Title:                     Investigations into the neural underpinnings and biological correlates
                             of asexuality
  Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                             Discovery Grants Program
  Funds:                     $195,000 / 5 years (April, 2017)

  Principal Investigator:    Doug VanderLaan
  Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                             Chavez, Nancy Lobaugh, and Kenneth J. Zucker
  Title:                     Effects of sex hormone treatment on brain development: A magnetic
                             resonance imaging study of adolescents with gender dysphoria
  Agency:                    Canadian Institutes of Health Research (CIHR),
                             Transitional Open Grant Program
  Funds:                     $952,955 / 5 years (September, 2015)

  Principal Investigator:    James M. Cantor
  Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                             Phillip E. Klassen, and David J. Mikulis
  Title:                     Neuroanatomic features specific to pedophilia
  Agency:                    Canadian Institutes of Health Research (CIHR)
  Funds:                     $1,071,920 / 5 years (October, 2008)

  Principal Investigator:    James M. Cantor
  Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
  Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
  Funds:                     $10,000 (July, 2008)




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 Case1:22-cv-01075-JMS-MKK
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                                                              84 ofof245
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                                     1803



  Principal Investigator:   James M. Cantor
  Co-Investigator:          Ray Blanchard
  Title:                    Morphological and neuropsychological correlates of pedophilia
  Agency:                   Canadian Institutes of Health Research (CIHR)
  Funds:                    $196,902 / 3 years (April, 2006)




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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
                                                         Page 520
                                                              85 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1041
                                     1804



                          KEYNOTE AND INVITED ADDRESSES

  1.  Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
         review. Plenary Session for the 40th Annual Research and Treatment Conference,
         Association for the Treatment of Sexual Abusers.
  2. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
         Conference, London, UK.
  3. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
         ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
         Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
  4. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
         answered. Preconference training presented to the International Association for the
         Treatment of Sexual Offenders, Vilnius, Lithuania.
  5. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
         address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
         Minnesota.
  6. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
         Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
         Minneapolis, Minnesota.
  7. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
         to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
         Canada.
  8. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
         evidence and the public response. Invited presentation to the 7th annual SBC education
         event, Centre for Addiction and Mental Health, Toronto, Canada.
  9. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
         reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
         Toronto, Canada.
  10. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
         Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
         Research, Montréal, Canada.
  11. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
         Consistencies across methods and modalities. Invited lecture to the Brain Imaging
         Centre, Royal Ottawa Hospital, Ottawa, Canada.
  12. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
         reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
         Network, Toronto, Ontario, Canada.
  13. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
         Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
  14. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
         what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
         Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
         only: https://vimeo.com/239131108/3387c80652]
  15. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second
         generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
         Conference, Hamilton, Ontario.


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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
                                                         Page 521
                                                              86 ofof245
                                                                      902PageID
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  16. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
         10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
  17. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
         Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
         Canada.
  18. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
         Invited address at the 41st annual meeting of the International Academy of Sex Research.
         Toronto, Canada.
  19. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
         Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
         opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
         conference, Lethbridge, AL, Canada.
  20. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
         Gambling Provincial Forum. Toronto, Canada.
  21. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
         Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
         and Child Sexual Abuse (NeMUP). Berlin, Germany.
  22. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
         them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
         meeting of the Society for Sex Therapy and Research, Boston, MA.
  23. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
         Columbia University School of Journalism. New York, NY.
  24. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
         to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
  25. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
         assessment, research, and policy. Keynote address to the inaugural meeting of the
         Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
  26. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
         safety and society. Keynote address for The Jewish Community Confronts Violence and
         Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
  27. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
         workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
  28. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
         status and implications. Invited lecture presented to the Mental Health and Addition
         Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
  29. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
         the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
         Ontario, Canada.
  30. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
         University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
  31. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
         presented at the 2014 annual meeting of the Washington State Association for the
         Treatment of Sexual Abusers, Cle Elum, WA.
  32. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
         (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
         Toronto Western Hospital, Toronto, Ontario, Canada.


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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
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                                                              87 ofof245
                                                                      902PageID
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                                     1806



  33. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
         current status, and their implications. Invited lecture to the Forensic Psychology
         Research Centre, Carleton University, Ottawa, Canada.
  34. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
         presented to the 32nd annual meeting of the Association for the Treatment of Sexual
         Abusers, Chicago, IL.
  35. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
         update. Invited workshop presented at the 32nd annual meeting of the Association for
         the Treatment of Sexual Abusers, Chicago, IL.
  36. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
         what can we do? Invited address presented to the Board of Examiners of Sex Therapists
         and Counselors of Ontario, Toronto, Ontario, Canada.
  37. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
         implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
         presentation, Montréal, Québec, Canada.
  38. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
         presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
         Abusers, Minneapolis, MN.
  39. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
         assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
         the Society for Sex Therapy and Research, Baltimore, MD.
  40. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
         presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
         TX.
  41. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
         of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
         Health Association of California, Monterey, CA.
  42. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
         to the Canadian Border Services Agency, Toronto, Ontario, Canada.
  43. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
         children: Neuroimaging and its implications for public safety. Invited guest lecture to
         University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
         NM.
  44. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
         annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
  45. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
         workshop at the San Diego International Conference on Child and Family Maltreatment,
         San Diego, CA.
  46. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
         Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
  47. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
         treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
         Sexual Abusers, Toronto, Ontario, Canada.
  48. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
         neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
         in Forensic Psychiatry, Regensberg, Germany.


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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
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                                                06/17/22 Page
                                                         Page 523
                                                              88 ofof245
                                                                      902PageID
                                                                          PageID#:#:
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                                     1807



  49. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
         the state of the art. Workshop presented at the winter conference of the Oregon
         Association for the Treatment of Sexual Abusers, Oregon City, OR.
  50. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
         the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
         Phoenix, AZ.
  51. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
         International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
  52. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
         basics to the state of the art. Workshop presented at the annual meeting of the
         Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
  53. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
         Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
  54. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
         the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
  55. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
         Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
         & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
         25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  56. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
         implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
         28th annual meeting of the Society for Sex Therapy and Research, Miami.
  57. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
         Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
         annual meeting of the International Academy of Sex Research, Bromont, Canada.
  58. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
         First glance at IQ, memory functioning and handedness in sex offenders. Lecture
         presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
         Toronto, Ontario, Canada.
  59. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
         Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
         Institute, Royal Victoria Hospital, Montréal, Canada.




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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
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                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 524
                                                              89 ofof245
                                                                      902PageID
                                                                          PageID#:#:
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                                     1808



                       PAPER PRESENTATIONS AND SYMPOSIA

  1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
          of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
          the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
  2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
          between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
          presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
          New Brunswick, Canada.
  3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
          sexual interest? Paper presented at the annual meeting of the American-Psychology
          Law Society Annual Meeting, Seattle, WA.
  4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
          polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
          annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
          Canada.
  5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
          (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
          review of phallometric research. Paper presented at the 33rd annual meeting of the
          Association for the Treatment of Sexual Abusers, San Diego, CA.
  6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
          sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
          at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
          Diego, CA.
  7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
          and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
          presented at the 33rd annual meeting of the Association for the Treatment of Sexual
          Abusers, San Diego, CA.
  8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
          (2014, September). Pedophilia and the brain: White matter differences detected with
          DTI. Paper presented at the 13th annual meeting of the International Association for the
          Treatment of Sexual Abusers, Porto, Portugal.
  9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
          role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
          meeting of the American Psychology and Law Society, New Orleans, LA.
  10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
          J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
          against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
          Association for the Treatment of Sexual Abusers, Chicago, IL.
  11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
          implications. Paper presented at the 21st annual World Congress for Sexual Health,
          Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
  12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
          the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
  13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
          pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


                                                                                               16/32
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 525
                                                              90 ofof245
                                                                      902PageID
                                                                          PageID#:#:
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                                     1809



          preferences. Symposium presented at the 37th annual meeting of the International
          Academy of Sex Research, Los Angeles, USA.
  14. Cantor, J. M. (Chair). (2011, August). Neuroimaging of men’s object preferences.
          Symposium conducted at the 37th annual meeting of the International Academy of Sex
          Research, Los Angeles.
  15. Cantor, J. M. (2010, October). A meta-analysis of neuroimaging studies of male sexual
          arousal. In S. Stolerú (Chair), Brain processing of sexual stimuli in pedophilia: An
          application of functional neuroimaging. Symposium presented at the 29th annual
          meeting of the Association for the Treatment of Sexual Abusers, Phoenix, AZ.
  16. Chivers, M. L., Seto, M. C., Cantor, J. C., Grimbos, T., & Roy, C. (April, 2010).
          Psychophysiological assessment of sexual activity preferences in women. Paper
          presented at the 35th annual meeting of the Society for Sex Therapy and Research,
          Boston, USA.
  17. Cantor, J. M., Girard, T. A., & Lovett-Barron, M. (2008, November). The brain regions that
          respond to erotica: Sexual neuroscience for dummies. Paper presented at the 51st
          annual meeting of the Society for the Scientific Study of Sexuality, San Juan, Puerto
          Rico.
  18. Barbaree, H., Langton, C., Blanchard, R., & Cantor, J. M. (2007, October). The role of age-
          at-release in the evaluation of recidivism risk of sexual offenders. Paper presented at
          the 26th annual meetingof the Association for the Treatment of Sexual Abusers, San
          Diego.
  19. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
          Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
          & Blanchard, R. (2006, July). Pedophilia and brain morphology. Abstract and paper
          presented at the 32nd annual meeting of the International Academy of Sex Research,
          Amsterdam, Netherlands.
  20. Seto, M. C., Cantor, J. M., & Blanchard, R. (2006, March). Child pornography offending is
          a diagnostic indicator of pedophilia. Paper presented at the 2006 annual meeting of the
          American Psychology-Law Society Conference, St. Petersburg, Florida.
  21. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove, S. M., & Ellis, L. (2005, August).
          Interaction of fraternal birth order and handedness in the development of male
          homosexuality. Abstract and paper presented at the International Behavioral
          Development Symposium, Minot, North Dakota.
  22. Cantor, J. M., & Blanchard, R. (2005, July). Quantitative reanalysis of aggregate data on
          IQ in sexual offenders. Abstract and poster presented at the 31st annual meeting of the
          International Academy of Sex Research, Ottawa, Canada.
  23. Cantor, J. M. (2003, August). Sex reassignment on demand: The clinician’s dilemma. Paper
          presented at the 111th annual meeting of the American Psychological Association,
          Toronto, Canada.
  24. Cantor, J. M. (2003, June). Meta-analysis of VIQ–PIQ differences in male sex offenders.
          Paper presented at the Harvey Stancer Research Day, Toronto, Ontario, Canada.
  25. Cantor, J. M. (2002, August). Gender role in autogynephilic transsexuals: The more things
          change… Paper presented at the 110th annual meeting of the American Psychological
          Association, Chicago.




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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 526
                                                              91 ofof245
                                                                      902PageID
                                                                          PageID#:#:
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  26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
          IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
          Harvey Stancer Research Day, Toronto, Ontario, Canada.
  27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 106th annual meeting of the American Psychological
          Association.
  28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 105th annual meeting of the American Psychological Association.
  29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
          students. Paper presented at the 105th annual meeting of the American Psychological
          Association.
  30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 104th annual meeting of the American Psychological Association.
  31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
          psychologists and accreditation. Paper presented at the 104th annual meeting of the
          American Psychological Association, Toronto.
  32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 104th annual meeting of the American Psychological
          Association.
  33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 103rd annual meeting of the American Psychological Association.
  34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 103rd annual meeting of the American Psychological
          Association.
  35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 102nd annual meeting of the American Psychological Association.
  36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 102nd annual meeting of the American Psychological
          Association.
  37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
          survey of graduate students. Paper presented at the Centennial Convention of the
          American Psychological Association, Washington, DC. (ERIC Document Reproduction
          Service No. ED 351 618)
  38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
          memberships, four times the problems. Paper presented at the 99th annual meeting of
          the American Psychological Association, San Francisco.




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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
                                                         Page 527
                                                              92 ofof245
                                                                      902PageID
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                                     1048
                                     1811



                                 POSTER PRESENTATIONS

  1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
          psychological propensities of risk in undetected sexual offenders. Poster presented at
          the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
          Montréal, Canada.
  2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
          Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
          meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
  3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
          A. (2015, August). The development and validation of the Revised Screening Scale for
          Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
          International Academy of Sex Research. Toronto, Canada.
  4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
          presentation at the 41st annual meeting of the International Academy of Sex Research.
          Toronto, Canada.
  5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
          S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
          J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
          evidence of cortical surface area differences in adolescent natal females. Poster
          presentation at the 31st annual meeting of the International Academy of Sex Research.
          Toronto, Canada.
  6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
          Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
          analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
  7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
          the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
          the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
          Diego, CA.
  8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
          personality, psychological, and sexuality trait variables associated with self-reported
          hypersexual behavior. Poster presentation at the 30th annual meeting of the
          International Academy of Sex Research, Dubrovnik, Croatia.
  9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
          The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
          annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
          The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
          32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
          (FLI) in a population with established atypical handedness. Poster presented at the 33rd
          annual meeting of the National Academy of Neuropsychology, San Diego.
  12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
          (2013, August). Investigating resting state networks in pedohebephiles. Poster
          presented at the 29th annual meeting of the International Academy of Sex Research,
          Chicago.


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 Case1:22-cv-01075-JMS-MKK
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                                                06/17/22 Page
                                                         Page 528
                                                              93 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1049
                                     1812



  13. McPhail, I. V., Lykins, A. D., Robinson, J. J., LeBlanc, S., & Cantor, J. M. (2013, August).
           Effects of prescription medication on volumetric phallometry output. Poster presented
           at the 29th annual meeting of the International Academy of Sex Research, Chicago.
  14. Murray, M. E., Dyshniku, F., Fazio, R. L., & Cantor, J. M. (2013, August). Minor physical
           anomalies as a window into the prenatal origins of pedophilia. Poster presented at the
           29th annual meeting of the International Academy of Sex Research, Chicago.
  15. Sutton, K. S., Stephens, S., Dyshniku, F., Tulloch, T., & Cantor, J. M. (2013, August). Pilot
           group treatment for “procrasturbation.” Poster presented at 39th annual meeting of the
           International Academy of Sex Research, Chicago.
  16. Sutton, K. S., Pytyck, J., Stratton, N., Sylva, D., Kolla, N., & Cantor, J. M. (2013, August).
           Client characteristics by type of hypersexuality referral: A quantitative chart review.
           Poster presented at the 39th annual meeting of the International Academy of Sex
           Research, Chicago.
  17. Fazio, R. L., & Cantor, J. M. (2013, June). A replication and extension of the psychometric
           properties of the Digit Vigilance Test. Poster presented at the 11th annual meeting of the
           American Academy of Clinical Neuropsychology, Chicago.
  18. Lafaille, S., Moayedi, M., Mikulis, D. M., Girard, T. A., Kuban, M., Blak, T., & Cantor, J.
           M. (2012, July). Diffusion Tensor Imaging (DTI) of the brain in pedohebephilic men:
           Preliminary analyses. Poster presented at the 38th annual meeting of the International
           Academy of Sex Research, Lisbon, Portugal.
  19. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
           Blanchard, R. (2010, July). Sexual arousal to female children in gynephilic men. Poster
           presented at the 38th annual meeting of the International Academy of Sex Research,
           Prague, Czech Republic.
  20. Cantor, J. M., Girard, T. A., Lovett-Barron, M., & Blak, T. (2008, July). Brain regions
           responding to visual sexual stimuli: Meta-analysis of PET and fMRI studies. Abstract
           and poster presented at the 34th annual meeting of the International Academy of Sex
           Research, Leuven, Belgium.
  21. Lykins, A. D., Blanchard, R., Cantor, J. M., Blak, T., & Kuban, M. E. (2008, July).
           Diagnosing sexual attraction to children: Considerations for DSM-V. Poster presented
           at the 34th annual meeting of the International Academy of Sex Research, Leuven,
           Belgium.
  22. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
           October). Physical height in pedophilia and hebephilia. Poster presented at the 26th
           annual meeting of the Association for the Treatment of Sexual Abusers, San Diego.
  23. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
           August). Physical height in pedophilia and hebephilia. Abstract and poster presented at
           the 33rd annual meeting of the International Academy of Sex Research, Vancouver,
           Canada.
  24. Puts, D. A., Blanchard, R., Cardenas, R., Cantor, J., Jordan, C. L., & Breedlove, S. M.
           (2007, August). Earlier puberty predicts superior performance on male-biased
           visuospatial tasks in men but not women. Abstract and poster presented at the 33rd
           annual meeting of the International Academy of Sex Research, Vancouver, Canada.
  25. Seto, M. C., Cantor, J. M., & Blanchard, R. (2005, November). Possession of child
           pornography is a diagnostic indicator of pedophilia. Poster presented at the 24th annual
           meeting of the Association for the Treatment of Sexual Abusers, New Orleans.



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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
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                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 529
                                                              94 ofof245
                                                                      902PageID
                                                                          PageID#:#:
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  26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
          Interaction of fraternal birth order and handedness in the development of male
          homosexuality. Abstract and poster presented at the 31st annual meeting of the
          International Academy of Sex Research, Ottawa, Canada.
  27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
          offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
          the International Academy of Sex Research, Bloomington, Indiana.
  28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
          analysis of two brief memory tests: Preliminary evidence for modality-specific
          measurement. Poster presented at the 30th annual meeting of the International
          Neuropsychological Society, Toronto, Ontario, Canada.
  29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
          owe their sexual orientation to fraternal birth order? Abstract and poster presented at
          the International Behavioral Development Symposium, Minot, North Dakota.
  30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
          sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
          the Society for Neurosciences, Washington, DC.
  31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
          sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
          annual Conference on Reproductive Behavior, Montréal, Canada.
  32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
          test of retrograde memory: Performance of amnestic and unimpaired populations.
          Poster presented at the 2nd annual science symposium of the Massachusetts
          Neuropsychological Society, Cambridge, MA.




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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
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                                                06/17/22 Page
                                                         Page 530
                                                              95 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1051
                                     1814



                   EDITORIAL AND PEER-REVIEWING ACTIVITIES

  Editor-in-Chief
  Sexual Abuse: A Journal of Research and Treatment                  Jan., 2010–Dec., 2014


  Editorial Board Memberships
  Journal of Sexual Aggression                                       Jan., 2010–Dec., 2021
  Journal of Sex Research, The                                       Jan., 2008–Aug., 2020
  Sexual Abuse: A Journal of Research and Treatment                  Jan., 2006–Dec., 2019
  Archives of Sexual Behavior                                        Jan., 2004–Present
  The Clinical Psychologist                                          Jan., 2004–Dec., 2005


  Ad hoc Journal Reviewer Activity
  American Journal of Psychiatry                Journal of Consulting and Clinical Psychology
  Annual Review of Sex Research                 Journal of Forensic Psychology Practice
  Archives of General Psychiatry                Journal for the Scientific Study of Religion
  Assessment                                    Journal of Sexual Aggression
  Biological Psychiatry                         Journal of Sexual Medicine
  BMC Psychiatry                                Journal of Psychiatric Research
  Brain Structure and Function                  Nature Neuroscience
  British Journal of Psychiatry                 Neurobiology Reviews
  British Medical Journal                       Neuroscience & Biobehavioral Reviews
  Canadian Journal of Behavioural Science       Neuroscience Letters
  Canadian Journal of Psychiatry                Proceedings of the Royal Society B
  Cerebral Cortex                                  (Biological Sciences)
  Clinical Case Studies                         Psychological Assessment
  Comprehensive Psychiatry                      Psychological Medicine
  Developmental Psychology                      Psychological Science
  European Psychologist                         Psychology of Men & Masculinity
  Frontiers in Human Neuroscience               Sex Roles
  Human Brain Mapping                           Sexual and Marital Therapy
  International Journal of Epidemiology         Sexual and Relationship Therapy
  International Journal of Impotence Research   Sexuality & Culture
  International Journal of Sexual Health        Sexuality Research and Social Policy
  International Journal of Transgenderism       The Clinical Psychologist
  Journal of Abnormal Psychology                Traumatology
  Journal of Clinical Psychology                World Journal of Biological Psychiatry




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 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 531
                                                              96 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1052
                                     1815



                               GRANT REVIEW PANELS

  2017–2021   Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

  2017        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2017        Member, International Review Board, Research collaborations on behavioural
              disorders related to violence, neglect, maltreatment and abuse in childhood and
              adolescence. Bundesministerium für Bildung und Forschung [Ministry of
              Education and Research], Germany.

  2016        Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

  2016        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2015        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
              Council, Australia.

  2015        Reviewer. Czech Science Foundation, Czech Republic.

  2015        Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
              Germany.

  2015        External Reviewer, Discovery Grants program¾Biological Systems and
              Functions. National Sciences and Engineering Research Council of Canada,
              Canada

  2015        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2014        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
              Council, Australia.

  2014        External Reviewer, Discovery Grants program¾Biological Systems and
              Functions. National Sciences and Engineering Research Council of Canada,
              Canada.

  2014        Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
              Faculty of Medicine, Canada.

  2014        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2013        Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
              Faculty of Medicine, Canada.




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Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 532
                                                              97 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1053
                                     1816



  2013        Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
              Panel. University of Toronto Faculty of Medicine, Canada.

  2012        Board Member, International Review Board, Research collaborations on
              behavioural disorders related to violence, neglect, maltreatment and abuse in
              childhood and adolescence (2nd round). Bundesministerium für Bildung und
              Forschung [Ministry of Education and Research], Germany.

  2012        External Reviewer, University of Ottawa Medical Research Fund. University of
              Ottawa Department of Psychiatry, Canada.

  2012        External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
              Research, Canada.

  2011        Board Member, International Review Board, Research collaborations on
              behavioural disorders related to violence, neglect, maltreatment and abuse in
              childhood and adolescence. Bundesministerium für Bildung und Forschung
              [Ministry of Education and Research], Germany.




                                                                                              24/32
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 533
                                                              98 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1054
                                     1817



                                 TEACHING AND TRAINING
  PostDoctoral Research Supervision
  Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
  Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
  Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
  Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


  Doctoral Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
  Debra Soh • York University                                               May, 2013–Aug, 2017
  Skye Stephens • Ryerson University                                       April, 2012–June, 2016


  Masters Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Nicole Cormier • Ryerson University                                         June, 2012–present
  Debra Soh • Ryerson University                                           May, 2009–April, 2010


  Undergraduate Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Kylie Reale • Ryerson University                                                   Spring, 2014
  Jarrett Hannah • University of Rochester                                          Summer, 2013
  Michael Humeniuk • University of Toronto                                          Summer, 2012


  Clinical Supervision (Doctoral Internship)
  Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
  Katherine S. Sutton • Queen’s University                                               2011–2012
  David Sylva • Northwestern University                                                  2011–2012
  Jordan Rullo • University of Utah                                                      2010–2011
  Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
  Carolin Klein • University of British Columbia                                         2009–2010
  Bobby R. Walling • University of Manitoba                                              2009–2010




                                                                                             25/32
Case
 Case1:22-cv-01075-JMS-MKK
      1:22-cv-01075-JMS-DLP Document
                            Document 47-1
                                     36-9 Filed
                                          Filed 06/30/22
                                                06/17/22 Page
                                                         Page 534
                                                              99 ofof245
                                                                      902PageID
                                                                          PageID#:#:
                                     1055
                                     1818



                                  TEACHING AND TRAINING
  Clinical Supervision (Doctoral- and Masters- level practica)
  Centre for Addiction and Mental Health, Toronto, Canada
  Tyler Tulloch • Ryerson University                                                   2013–2014
  Natalie Stratton • Ryerson University                                              Summer, 2013
  Fiona Dyshniku • University of Windsor                                             Summer, 2013
  Mackenzie Becker • McMaster University                                             Summer, 2013
  Skye Stephens • Ryerson University                                                   2012–2013
  Vivian Nyantakyi • Capella University                                                2010–2011
  Cailey Hartwick • University of Guelph                                                Fall, 2010
  Tricia Teeft • Humber College                                                      Summer, 2010
  Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
  Helen Bailey • Ryerson University                                                  Summer, 2009
  Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
  Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
  Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
  Zoë Laksman • Adler School of Professional Psychology                                2005–2006
  Diana Mandelew • Adler School of Professional Psychology                             2005–2006
  Susan Wnuk • York University                                                         2004–2005
  Hiten Lad • Adler School of Professional Psychology                                  2004–2005
  Natasha Williams • Adler School of Professional Psychology                           2003–2004
  Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
  Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
  Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
  Althea Monteiro • York University                                                  Summer, 2002
  Samantha Dworsky • York University                                                   2001–2002
  Kerry Collins • University of Windsor                                              Summer, 2001
  Jennifer Fogarty • Waterloo University                                               2000–2001
  Emily Cripps • Waterloo University                                                 Summer, 2000
  Lee Beckstead • University of Utah                                                          2000




                                                                                            26/32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 100
                                                             535 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1056
                                    1819



                       PROFESSIONAL SOCIETY ACTIVITIES

  OFFICES HELD
  2018–2019    Local Host. Society for Sex Therapy and Research.
     2015      Member, International Scientific Committee, World Association for Sexual
                Health.
     2015      Member, Program Planning and Conference Committee, Association for the
                Treatment of Sexual Abusers
  2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
  2012–2013    Member, Program Planning and Conference Committee, Association for the
                Treatment of Sexual Abusers
  2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
  2010–2011    Scientific Program Committee, International Academy of Sex Research
  2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
  2002–2003    Chair, Committee on Science Issues, APA Division 44
     2002      Observer, Grant Review Committee • Canadian Institutes of Health Research
                Behavioural Sciences (B)
  2001–2009    Reviewer • APA Division 44 Convention Program Committee
  2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
  2000–2005    Task Force on Transgender Issues, APA Division 44
  1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
     1997      Student Representative • APA Board of Professional Affairs’ Institute on
                TeleHealth
  1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
  1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
                Prescription Privileges
  1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
  1997–1998    Liaison • APA Board of Professional Affairs
  1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




                                                                                          27/32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
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                                               06/30/22 Page
                                                        Page 101
                                                             536 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1057
                                    1820



                         PROFESSIONAL SOCIETY ACTIVITIES

  MEMBERSHIPS
  2017–2021     Member • Canadian Sex Research Forum
  2009–Present Member • Society for Sex Therapy and Research
  2006–Present Member (elected) • International Academy of Sex Research
  2006–Present Research and Clinical Member • Association for the Treatment of Sex Abusers
  2003–2006     Associate Member (elected) • International Academy of Sex Research
  2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
  2001–2013     Member • Canadian Psychological Association (CPA)
  2000–2015     Member • American Association for the Advancement of Science
  2000–2015     Member • American Psychological Association (APA)
                       APA Division 12 (Clinical Psychology)
                       APA Division 44 (Society for the Psychological Study of LGB Issues)
  2000–2020     Member • Society for the Scientific Study of Sexuality
  1995–2000     Student Member • Society for the Scientific Study of Sexuality
  1993–2000     Student Affiliate • American Psychological Association
  1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




                                                                                        28/32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 102
                                                             537 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1058
                                    1821



                          CLINICAL LICENSURE/REGISTRATION

  Certificate of Registration, Number 3793
  College of Psychologists of Ontario, Ontario, Canada



                                   AWARDS AND HONORS

  2017 Elected Fellow, Association for the Treatment of Sexual Abusers

  2011 Howard E. Barbaree Award for Excellence in Research
  Centre for Addiction and Mental Health, Law and Mental Health Program

  2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
  American Psychological Association Advanced Training Institute and NIH

  1999–2001 CAMH Post-Doctoral Research Fellowship
  Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

  1998 Award for Distinguished Contribution by a Student
  American Psychological Association, Division 44

  1995 Dissertation Research Grant
  Society for the Scientific Study of Sexuality

  1994–1996 McGill University Doctoral Scholarship

  1994 Award for Outstanding Contribution to Undergraduate Teaching
  “TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




                                                                                         29/32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 103
                                                             538 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1059
                                    1822



                                         MAJOR MEDIA
                               (Complete list available upon request.)

  Feature-length Documentaries
  Vice Canada Reports. Age of Consent. 14 Jan 2017.
  Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

  Appearances and Interviews
  11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
         The Globe & Mail.
  25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
  3 Nov 2019. Village of the damned. 60 Minutes Australia.
  1 Nov 2019. HÅKON F. HØYDAL. Norsk nettovergriper: – Jeg hater meg selv: Nordmannen
         laster ned overgrepsmateriale fra nettet – og oppfordrer politiet til å gi amnesti for slike
         som ham.
  10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
         reformed. National Public Radio.
  29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
         York Times.
  29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
  21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
         really do that? The Washington Post.
  12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
         with Rita Celli. CBC.
  12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
         CBC News.
  27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
  25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
         ID: Source. Toronto Star.
  24 Ap 2018 Understanding ‘incel’. CTV News.
  27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
         Times.
  14 Nov 2017. Tremonti, A. M. The Current. CBC.
  9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
         http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
  7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
  15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
  12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
  11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
  18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
  16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
         weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
         the world convinced their curse has been vanquished. National Post.
  26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
  24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
  12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
  26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
  13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 104
                                                             539 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1060
                                    1823



  1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
          pedofilie ontkracht. De Morgen.
  12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
          into a paedophile'. The Independent.
  8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
          intervention can stop pedophiles. The Globe and Mail.
  1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
  24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
  24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
  20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
  19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
          Canadian psychiatrist says. National Post.
  2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
  13 Jul 2015. The nature of pedophilia. BBC Radio 4.
  9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
          men who’ve been accused of sexually abusing children. The Atlantic.
  10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
  10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
  31 Jan 2015. Begrip voor/van pedofilie [Understanding pedophilia]. de Volkskrant.
  9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
  1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
  17 Nov2014. Say pedófile, busco aydua. El Pais.
  4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
  27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
  25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
  21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
  26 Jan 2014. Paedophilia a result of faulty wiring, scientists suggest. Daily Mail.
  22 Dec 2013. Kane, L. Is pedophilia a sexual orientation? Toronto Star.
  21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
  1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
  2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
  1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
  6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
  31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
  24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 105
                                                             540 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1061
                                    1824



                         LEGAL TESTIMONY, PAST 4 YEARS

  1. 2022 A.M. v Indiana Public Schools                        Southern District, IN
  2. 2022 Ricard v Kansas                                      Geery County, KS
  3. 2022 Eknes-Tucker v Alabama                               Montgomery County, AL
  4. 2022 Hersom & Doe v WVa Health & Human Services           Southern District, WVa
  5. 2022 BPJ v West Virginia Board of Education               Southern District, WVa
  6. 2021 Cox v Indiana Child Services                         Child Services, IN
  7. 2021 Josephson v University of Kentucky                   Western District, KY
  8. 2021 Cross et al. v Loudoun School Board                  Loudoun, VA
  9. 2021 Re Commitment of Michael Hughes (Frye Hearing)       Cook County, IL
  10. 2019 US vs Peter Bright                                  Southern District, NY
  11. 2019 Spiegel-Savoie vs Savoie-Sexten (Custody Hearing)   Boston, MA
  12. 2019 Re Commitment of Steven Casper (Frye Hearing)       Kendall County, IL
  13. 2019 Re Commitment of Inger (Frye Hearing)               Poughkeepsie, NY




                                                                                32/32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 106
                                                             541 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1062
                                    1825

                                       APPENDIX 2
               Prospective Outcomes Studies of Gender Dysphoric Children
        2/16 gay
                                Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its
        4/16 trans-/crossdress
                                outcome. American Journal of Psychiatry, 128, 1283–1289.
       10/16 straight/uncertain

        2/16 trans-             Zuger, B. (1978). Effeminate behavior present in boys from
        2/16 uncertain          childhood: Ten additional years of follow-up. Comprehensive
       12/16 gay                Psychiatry, 19, 363–369.

                                Money, J., & Russo, A. J. (1979). Homosexual outcome of
         0/9 trans-
                                discordant gender identity/role: Longitudinal follow-up. Journal of
         9/9 gay
                                Pediatric Psychology, 4, 29–41.

        2/45 trans-/crossdress Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
       10/45 uncertain         significance for homosexuality. Journal of Nervous and Mental
       33/45 gay               Disease, 172, 90–97.
        1/10   trans-
        2/10   gay              Davenport, C. W. (1986). A follow-up study of 10 feminine
        3/10   uncertain        boys. Archives of Sexual Behavior, 15,511–517.
        4/10   straight
        1/44   trans-           Green, R. (1987). The "sissy boy syndrome" and the development
       43/44   cis-             of homosexuality. New Haven, CT: Yale University Press.
         0/8 trans-             Kosky, R. J. (1987). Gender-disordered children: Does inpatient
         8/8 cis-               treatment help? Medical Journal of Australia, 146, 565–569.

                                Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual
       21/54 trans-
                                outcome of gender-dysphoric children. Journal of the American
       33/54 cis-
                                Academy of Child and Adolescent Psychiatry, 47, 1413–1423.

        3/25 trans-             Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K.
        6/25 lesbian/bi-        J. (2008). A follow-up study of girls with gender identity
       16/25 straight           disorder. Developmental Psychology, 44, 34–45.

                                Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J.,
                                & Cohen-Kettenis, P. T. (2013). Factors associated with desistence
      47/127 trans-
                                and persistence of childhood gender dysphoria: A quantitative follow-
      80/127 cis-
                                up study. Journal of the American Academy of Child and Adolescent
                                Psychiatry, 52, 582–590.

                                Singh, D., Bradley, S. J., and Zucker, K. J. (2021) A follow-up study
      17/139 trans-
                                of boys with gender identity disorder. Frontiers in Psychiatry, 12,
     122/139 cis-
                                632784. doi: 10.3389/fpsyt.2021.632784
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Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 107
                                                             542 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                               APPENDIX 3
                                    1063
                                    1826
          Journal of Sex & Marital Therapy




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    Transgender and Gender Diverse Children and
    Adolescents: Fact-Checking of AAP Policy

    James M. Cantor

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    10.1080/0092623X.2019.1698481

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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 108
                                                             543 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1064
                                    1827
       JOURNAL OF SEX & MARITAL THERAPY
       2020, VOL. 46, NO. 4, 307–313
       https://doi.org/10.1080/0092623X.2019.1698481




       Transgender and Gender Diverse Children and Adolescents:
       Fact-Checking of AAP Policy
       James M. Cantor
       Toronto Sexuality Centre, Toronto, Canada


           ABSTRACT
           The American Academy of Pediatrics (AAP) recently published a policy
           statement: Ensuring comprehensive care and support for transgender and
           gender-diverse children and adolescents. Although almost all clinics and pro-
           fessional associations in the world use what’s called the watchful waiting
           approach to helping gender diverse (GD) children, the AAP statement
           instead rejected that consensus, endorsing gender affirmation as the only
           acceptable approach. Remarkably, not only did the AAP statement fail to
           include any of the actual outcomes literature on such cases, but it also
           misrepresented the contents of its citations, which repeatedly said the very
           opposite of what AAP attributed to them.



       The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
       Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
       cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
       Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
       Wellness, 2018). These are children who manifest discontent with the sex they were born as and
       desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
       able document: Although almost all clinics and professional associations in the world use what’s
       called the watchful waiting approach to helping transgender and gender diverse (GD) children,
       the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
       consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
       before transition. With AAP taking such a dramatic departure from other professional associa-
       tions, I was immediately curious about what evidence led them to that conclusion. As I read the
       works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
       These documents simply did not say what AAP claimed they did. In fact, the references that
       AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
       ing watchful waiting.
           The AAP statement was also remarkable in what it left out—namely, the actual outcomes
       research on GD children. In total, there have been 11 follow-up studies of GD children, of which
       AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
       come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
       jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
       all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
       children, without exception, found the same thing: Over puberty, the majority of GD children
       cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


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Case 1:22-cv-01075-JMS-MKK
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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 109
                                                             544 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
        308   J. M. CANTOR          1065
                                    1828

       whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
       false, as detailed below.
           AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
       and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
       acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
       sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
         “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
         identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
         approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
         the mainstream of traditional medical practice.29,39–42

       The citations were:
         38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
             1994;62(2):221–227.
         29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
             Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
             and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
             2012;51(9):957–974.
         39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
         40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
             changing insights. J Sex Med. 2008;5(8):1892–1897.
         41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
             Sex Res Soc Policy. 2006;3(3):23–39.
         42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
             Minneapolis, MN: World Professional Association for Transgender Health; 2010.

           AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
       identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
       the sexual orientation of adults, not to gender identity and not of children in any case. The article
       AAP cited to support their claim (reference number 38) is indeed a classic and well-known
       review, but it is a review of sexual orientation research only. Neither gender identity, nor even
       children, received a single mention in it. Indeed, the narrower scope of that article should be
       clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
       sion therapy” [italics added].
           AAP continued, saying that conversion approaches for GD children have already been rejected
       by medical consensus, citing five sources. This claim struck me as just as odd, however—I
       recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
       tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
       hood gender identity. So, I started checking AAP’s citations for that, and these sources too
       pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
       did repeatedly emphasize was that:

         A.   Sexual orientation of adults is unaffected by conversion therapy and any other [known]
              intervention;
         B.   Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
              (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
         C.   Gender dysphoria in childhood persisting after puberty tends to persist entirely.

          That is, in the context of GD children, it simply makes no sense to refer to externally induced
       “conversion”: The majority of children “convert” to cisgender or “desist” from transgender
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Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                                06/30/22 Page Page 110545 ofof 245
                                                                               902 PageID
                                                                                    PageID #:
                                                                                           #:
                                    1066
                                    1829      JOURNAL OF SEX & MARITAL THERAPY    309


        regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
        sexual orientation because (unlike childhood gender identity), adult homosexuality never or
        nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
        orientation may often be analogous and discussed together with regard to social or political val-
        ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
        to medical and mental health care choices. Although AAP emphasized to the reader that “gender
        identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
        to treat them as such nonetheless.
            To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
        from the Committee on Quality Issues of the American Academy of Child and Adolescent
        Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
        unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
        tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
        can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
        lished evidence that change in a predominant, enduring homosexual pattern of development is
        possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
        who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
        ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
        tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
        sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
        ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
        italics added).
            Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
        ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
        “Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
        treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
        tudinal evidence that gender discordance persists in only a small minority of untreated cases
        arising in childhood, further research is needed on predictors of persistence and desistence of
        childhood gender discordance as well as the long-term risks and benefits of intervention before
        any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
        Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
        eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
        to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
        bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
        actual view.
            Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
        “Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
        tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
        exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
        same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
        statement misrepresents.
            In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
        ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
        sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
        to 16, which they did on the basis of a series of studies showing the high rates of success with
        this age group. Although it did strike me as odd that AAP picked as support against conversion
        therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
        as an example of what the “mainstream of traditional medical practice” consists of (the logic
        being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
        what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 111
                                                             546 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
        310   J. M. CANTOR          1067
                                    1830

       espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
       and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
       “[P]ubertal suppression may give adolescents, together with the attending health professional,
       more time to explore their gender identity, without the distress of the developing secondary sex
       characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
       2008, p. 1894).
          Reference 41 presented a very interesting history spanning the 1960s–1990s about how
       feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
       how that status came to be entered into the DSM at the same time as homosexuality was
       being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
       that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
       analysis: “An important omission from the DSM is a discussion of the kinds of treatment
       that GIDC children should receive. (This omission is a general orientation of the DSM and
       not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
       tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
       to support a claim about the current consensus in this quickly evolving discussion remains all
       the more unfathomable.
          Cited last in this section was a one-paragraph press release from the World Professional
       Association for Transgender Health. Written during the early stages of the American Psychiatric
       Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
       Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
       Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
       removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
       that it should. Now that the DSM revision process is years completed however, history has seen
       that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
       AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
       rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
       mainstream of traditional medical practice.” (!)
          AAP based this entire line of reasoning on their belief that conversion therapy is being used
       “to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
       That claim is left without citation or support. In contrast, what is said by AAP’s sources is
       “delaying affirmation should not be construed as conversion therapy or an attempt to change
       gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
       that: simply relabeling any alternative approach as equivalent to conversion therapy.
          Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
       on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
       about the existing science on gender identity at all, never mind gender identity of children.
          AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
       repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
       evidence, with even its own sources repeatedly calling watchful waiting the current standard.
       According to AAP:
         [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
         held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
         an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
         serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
         in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
         gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
         with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
         by adolescence, did not seek further treatment (“desisters”).45,47

       The citations from AAP’s reference list are:
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                                06/30/22 Page Page 112547 ofof 245
                                                                               902 PageID
                                                                                    PageID #:
                                                                                           #:
                                    1068
                                    1831      JOURNAL OF SEX & MARITAL THERAPY    311


           45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
               transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
               2018;19(2):251–268
           47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
               Psychiatry. 2016;55(3):155–156.e3

            I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
        “arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
        of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
        in “prepubertal boys with gender discordance—including many without any mental health treat-
        ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
        only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
        963, italics added), whereas “when gender variance with the desire to be the other sex is present
        in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
        964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
        ages decrease or even disappear in a considerable percentage of children (estimates range from
        80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
        However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
        et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
        postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
        of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
        trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
        ical backing as puberty has.
            Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
        AAP cited no support for its claim. The people in such programs often receive substantial sup-
        port during this period. Also unclear is on what basis AAP could already know exactly which
        treatments are “critical” and which are not—Answering that question is the very purpose of this
        entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
        already pre-convinced that gender affirmation is the only acceptable alternative that would make
        watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
        method one has already decided to be critical.
            Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
        notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
        that existing outcome studies have been about people transitioning from one sex to the other,
        rather than from one sex to an in-between status or a combination of masculine/feminine fea-
        tures. Neither reference presented this as a reason to reject the results from the existing studies of
        complete transition however (which is how AAP cast it). Although it is indeed true that the out-
        come data have been about complete transition, some future study showing that partial transition
        shows a different outcome would not invalidate what is known about complete transition.
        Indeed, data showing that partial transition gives better outcomes than complete transition would,
        once again, support the watchful waiting approach which AAP rejected.
            Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
        indicated what those alleged concerns and flaws were (or which studies they were), then it would
        be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
        of the later studies showed the same result as did the early studies, any such allegation is neces-
        sarily moot.
            Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
        tions criticisms previously made of three of the eleven outcome studies of GD children, but does
        not provide any analysis or discussion. The only specific claim was that studies (whether early or
        late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
        follow-up period, then people who seemed to have desisted might have returned to the clinic as
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 113
                                                             548 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
        312   J. M. CANTOR          1069
                                    1832

       cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
       AAP instead simply withheld from the reader the result from the original researchers having
       tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
       lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
       the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
       66.7% desistence instead of 70.0% desistance.
           Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
       that source said the very opposite, explicitly referring to watchful waiting as the current
       approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
       tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
       cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
       et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
       use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
       can give the child and their family time to develop a clearer understanding and is not necessar-
       ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
       watchful waiting model (which they feel is applied too conservatively), but they do not come
       close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
       fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
       ally binary narrative.
           In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
       of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
       checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
       that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
       was about sexual orientation, not gender identity. AAP claimed, “Current available research and
       expert opinion from clinical and research leaders … will serve as the basis for recommendations”
       (pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
       opposition to that research and opinion.
           AAP is advocating for something far in excess of mainstream practice and medical consensus.
       In the presence of compelling evidence, that is just what is called for. The problems with
       Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
       statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
       misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
       failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
       ing evidence.


       Disclosure statement
       No potential conflict of interest was reported by the author.


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          Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and Wellness. (2018). Ensuring
          comprehensive care and support for transgender and gender-diverse children and adolescents. Pediatrics, 142(4),
          e20182162 doi:10.1542/peds.2018-2162
       Steensma, T. D., & Cohen-Kettenis, P. T. (2015). More than two developmental pathways in children with gender
          dysphoria? Journal of the American Academy of Child and Adolescent Psychiatry, 52, 147–148. doi:10.1016/j.jaac.
          2014.10.016
       Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric children. Journal of
          the American Academy of Child and Adolescent Psychiatry, 47, 1413–1423. doi:10.1097/CHI.0b013e31818956b9
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Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                                06/30/22 Page Page 114549 ofof 245
                                                                               902 PageID
                                                                                    PageID #:
                                                                                           #:
                                    1070
                                    1833      JOURNAL OF SEX & MARITAL THERAPY    313


        Appendix



        Count             Group                                                            Study
           2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
           4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
          10/16    straight/uncertain
           2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
           2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
          12/16    gay
             0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
             9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
           2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
          10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
          33/45    gay
           1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
           2/10    gay                      Sexual Behavior, 15, 511–517.
           3/10    uncertain
           4/10    straight
           1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
          43/44    cis-                      New Haven, CT: Yale University Press.
             0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
             8/8   cis-                     Medical Journal of Australia, 146, 565–569.
          21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
          33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                            1413–1423.
           3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
           6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
          16/25    straight
         17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
        122/139    cis-                      dissertation, University of Toronto.
         47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
         80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                             A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                             Psychiatry, 52, 582–590.
        For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 115
                                                             550 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1071
                                    1834
                                       APPENDIX 4

   Evidence review: Gonadotrophin releasing
   hormone analogues for children and
   adolescents with gender dysphoria
   This document will help inform Dr Hilary Cass’ independent review into gender identity
   services for children and young people. It was commissioned by NHS England and
   Improvement who commissioned the Cass review. It aims to assess the evidence for the
   clinical effectiveness, safety and cost-effectiveness of gonadotrophin releasing hormone
   (GnRH) analogues for children and adolescents aged 18 years or under with gender
   dysphoria.

   The document was prepared by NICE in October 2020.

   The content of this evidence review was up to date on 14 October 2020. See summaries of
   product characteristics (SPCs), British National Formulary (BNF) or the Medicines and
   Healthcare products Regulatory Agency (MHRA) or NICE websites for up-to-date
   information.




                                                1
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 116
                                                             551 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1072
                                    1835


   Contents


   1. Introduction ....................................................................................................................... 3
   2. Executive summary of the review ...................................................................................... 3
      Critical outcomes ............................................................................................................... 4
      Important outcomes ........................................................................................................... 5
      Discussion ....................................................................................................................... 12
      Conclusion ...................................................................................................................... 13
   3. Methodology ................................................................................................................... 14
      Review questions ............................................................................................................ 14
      Review process ............................................................................................................... 14
   4. Summary of included studies .......................................................................................... 15
   5. Results ............................................................................................................................ 19
   6. Discussion ...................................................................................................................... 40
   7. Conclusion ...................................................................................................................... 45
   Appendix A PICO document ............................................................................................... 47
   Appendix B Search strategy ................................................................................................ 50
   Appendix C Evidence selection ........................................................................................... 73
   Appendix D Excluded studies table ..................................................................................... 74
   Appendix E Evidence tables................................................................................................ 76
   Appendix F Quality appraisal checklists .............................................................................. 98
   Appendix G Grade profiles .................................................................................................. 99
   Glossary............................................................................................................................ 129
   References ....................................................................................................................... 130




                                                                       2
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 117
                                                             552 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1073
                                    1836


   1. Introduction

   This review aims to assess the evidence for the clinical effectiveness, safety and cost-
   effectiveness of gonadotrophin releasing hormone (GnRH) analogues for children and
   adolescents aged 18 years or under with gender dysphoria. The review follows the NHS
   England Specialised Commissioning process and template and is based on the criteria
   outlined in the PICO framework (see appendix A). This document will help inform Dr Hilary
   Cass’ independent review into gender identity services for children and young people.

   Gender dysphoria in children, also known as gender identity disorder or gender
   incongruence of childhood (World Health Organisation 2020), refers to discomfort or distress
   that is caused by a discrepancy between a person’s gender identity (how they see
   themselves1 regarding their gender) and that person’s sex assigned at birth and the
   associated gender role, and/or primary and secondary sex characteristics (Diagnostic and
   Statistical Manual of Mental Disorders 2013).

   GnRH analogues suppress puberty by delaying the development of secondary sexual
   characteristics. The intention is to alleviate the distress associated with the development of
   secondary sex characteristics, thereby providing a time for on-going discussion and
   exploration of gender identity before deciding whether to take less reversible steps. In
   England, the GnRH analogue triptorelin (a synthetic decapeptide analogue of natural GnRH,
   which has marketing authorisations for the treatment of prostate cancer, endometriosis and
   precocious puberty [onset before 8 years in girls and 10 years in boys]) is used for this
   purpose. The use of triptorelin for children and adolescents with gender dysphoria is off-
   label.

   For children and adolescents with gender dysphoria it is recommended that management
   plans are tailored to the needs of the individual, and aim to ameliorate the potentially
   negative impact of gender dysphoria on general developmental processes, support young
   people and their families in managing the uncertainties inherent in gender identity
   development and provide on-going opportunities for exploration of gender identity. The plans
   may also include psychological support and exploration and, for some individuals, the use of
   GnRH analogues in adolescence to suppress puberty; this may be followed later with
   gender-affirming hormones of the desired sex (NHS England 2013).


   2. Executive summary of the review

   Nine observational studies were included in the evidence review. Five studies were
   retrospective observational studies (Brik et al. 2020, Joseph et al. 2019, Khatchadourian et
   al. 2014, Klink et al. 2015, Vlot et al. 2017), 3 studies were prospective longitudinal
   observational studies (Costa et al. 2015, de Vries et al. 2011, Schagen et al. 2016) and 1
   study was a cross-sectional study (Staphorsius et al. 2015). Two studies (Costa et al. 2015




   1 Gender refers to the roles, behaviours, activities, attributes and opportunities that any society

   considers appropriate for girls and boys, and women and men (World Health Organisation, Health
   Topics: Gender).
                                                       3
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 118
                                                             553 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1074
                                    1837


   and Staphorsius et al. 2015) provided comparative evidence and the remaining 7 studies
   used within-person, before and after comparisons.

   The terminology used in this topic area is continually evolving and is different depending on
   stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
   assigned sex at birth’ rather than natal or biological sex, gonadotrophin releasing hormone
   (GnRH) analogues rather than ‘puberty blockers’ and gender-affirming hormones rather than
   ‘cross sex hormones’. The research studies included in this evidence review may use
   historical terms which are no longer considered appropriate.

   In children and adolescents with gender dysphoria, what is the clinical effectiveness
   of treatment with GnRH analogues compared with one or a combination of
   psychological support, social transitioning to the desired gender or no intervention?

   Critical outcomes

   The critical outcomes for decision making are the impact on gender dysphoria, mental health
   and quality of life. The quality of evidence for these outcomes was assessed as very low
   certainty using modified GRADE.

   Impact on gender dysphoria
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones does not affect
   gender dysphoria (measured using the Utrecht Gender Dysphoria Scale [UGDS]). The mean
   (±SD) gender dysphoria (UGDS) score was not statistically significantly different at baseline
   compared with follow-up (n=41, 53.20 [±7.91] versus 53.9 [±17.42], p=0.333).

   Impact on mental health
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones may reduce
   depression (measured using the Beck Depression Inventory-II [BDI-II]). The mean [±SD] BDI
   score was statistically significantly lower (improved) from baseline compared with follow-up
   (n=41, 8.31 [±7.12] versus 4.95 [±6.72], p=0.004).

   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones does not affect
   anger (measured using the Trait Anger Scale [TPI]). The mean [±SD] anger (TPI) score was
   not statistically significantly different at baseline compared with follow-up (n=41, 18.29
   [±5.54] versus 17.88 [±5.24], p=0.503).

   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones does not affect
   anxiety (measured using the Trait Anxiety Scale [STAI]). The mean [±SD] anxiety (STAI)
   score was not statistically significantly different at baseline compared with follow-up (n=41,
   39.43 [±10.07] versus 37.95 [±9.38], p=0.276).

   Impact on quality of life
   No evidence was identified.

                                                  4
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 119
                                                             554 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1075
                                    1838



   Important outcomes

   The important outcomes for decision making are impact on body image, psychosocial
   impact, engagement with health care services, impact on extent of and satisfaction with
   surgery and stopping treatment. The quality of evidence for all these outcomes was
   assessed as very low certainty using modified GRADE.

   Impact on body image
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones does not affect
   body image (measured using the Body Image Scale [BIS]). The mean [±SD] body image
   (BIS) scores were not statistically significantly different from baseline compared with follow-
   up for primary sexual characteristics (n=57, 4.10 [±0.56] versus 3.98 [±0.71], p=0.145),
   secondary sexual characteristics (n=57, 2.74 [±0.65] versus 2.82 [±0.68], p=0.569) or neutral
   body characteristics (n=57, 2.41 [±0.63] versus 2.47 [±0.56], p=0.620).

   Psychosocial impact
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   treatment with GnRH analogues before starting gender-affirming hormones may improve
   psychosocial impact over time (measured using the Children’s Global Assessment Scale
   [CGAS]). The mean [±SD] CGAS score was statistically significantly higher (improved) from
   baseline compared with follow-up (n=41, 70.24 [±10.12] versus 73.90 [±9.63], p=0.005).

   This study also found that psychosocial functioning may improve over time (measured using
   the Child Behaviour Checklist [CBCL] and the self-administered Youth Self-Report [YSR]).
   The mean [±SD] CBCL scores were statistically significantly lower (improved) from baseline
   compared with follow-up for Total T score (n=54, 60.70 [±12.76] versus 54.46 [±11.23],
   p<0.001), internalising T score (n=54, 61.00 [±12.21] versus 52.17 [±9.81], p<0.001) and
   externalising T score (n=54, 58.04 [±12.99] versus 53.81 [±11.86], p=0.001). The mean
   [±SD] YSR scores were statistically significantly lower (improved) from baseline compared
   with follow-up for Total T score (n=54, 55.46 [±11.56] versus 50.00 [±10.56], p<0.001),
   internalising T score (n=54, 56.04 [±12.49] versus 49.78 [±11.63], p<0.001) and externalising
   T score (n=54, 53.30 [±11.87] versus 49.98 [±9.35], p=0.009). The proportion of adolescents
   scoring in the clinical range decreased from baseline to follow up on the CBCL total problem
   scale (44.4% versus 22.2%, p=0.001) and the internalising scale of the YSR (29.6% versus
   11.1%, p=0.017).

   The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
   of psychological support followed by either GnRH analogues and continued psychological
   support or continued psychological support only, found that during treatment with GnRH
   analogues psychosocial impact in terms of global functioning may improve over time
   (measured using the CGAS). In the group receiving GnRH analogues, the mean [±SD]
   CGAS score was statistically significantly higher (improved) after 6 months (n=60, 64.70
   [±13.34]) and 12 months (n=35, 67.40 [±13.39]) compared with baseline (n=101, 58.72
   [±11.38], p=0.003 and p<0.001, respectively). However, there was no statistically significant
   difference in global functioning (CGAS scores) between the group receiving GnRH
   analogues plus psychological support and the group receiving psychological support only at
   any time point.

                                                 5
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 120
                                                             555 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1076
                                    1839



   The study by Staphorsius et al. 2015 in 40 adolescents with gender dysphoria (20 of whom
   were receiving GnRH analogues) gave mean [±SD] CBCL scores for each group, but
   statistical analysis is unclear (transfemales receiving GnRH analogues 57.4 [±9.8],
   transfemales not receiving GnRH analogues 58.2 [±9.3], transmales receiving GnRH
   analogues 57.5 [±9.4], transmales not receiving GnRH analogues 63.9 [±10.5]).

   Engagement with health care services
   The study by Brik et al. 2018 in 143 children and adolescents with gender dysphoria
   receiving GnRH analogues found that 9 adolescents in the original sampling frame (9/214,
   4.2%) were excluded from the study because they stopped attending appointments.

   The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
   of psychological support followed by either GnRH analogues and continued psychological
   support or continued psychological support only had a large loss to follow-up over time. The
   sample size at baseline and 6 months was 201, which dropped by 39.8% to 121 after 12
   months and by 64.7% to 71 at 18 months follow-up. No explanation of the reasons for loss to
   follow-up are reported.

   Impact on extent of and satisfaction with surgery
   No evidence was identified.

   Stopping treatment
   The study by Brik et al. 2018 in 143 children and adolescents with gender dysphoria
   receiving GnRH analogues reported the reasons for stopping GnRH analogues. During the
   follow-up period 6.2% (9/143) of adolescents had stopped GnRH analogues after a median
   duration of 0.8 years (range 0.1 to 3.0). Five adolescents stopped treatment because they
   no longer wished to receive gender-affirming treatment for various reasons. In 4 adolescents
   (all transmales), GnRH analogues were stopped mainly because of adverse effects (such as
   mood and emotional lability), although they wanted to continue treatments for gender
   dysphoria.

   The study by Khatchadourian et al. 2014 in 27 adolescents with gender dysphoria who
   started GnRH analogues reported the reasons for stopping them. Eleven out of 26 where
   data was available (42%) stopped GnRH analogues during follow up.

   In children and adolescents with gender dysphoria, what is the short-term and long-
   term safety of GnRH analogues compared with one or a combination of psychological
   support, social transitioning to the desired gender or no intervention?

   Evidence was available for bone density, cognitive development or functioning, and other
   safety outcomes. The quality of evidence for all these outcomes was assessed as very low
   certainty using modified GRADE.

   Bone density
   The study by Joseph et al. 2019 in 70 adolescents with gender dysphoria found that GnRH
   analogues may reduce the expected increase in lumbar or femoral bone density (measured
   with the z-score). However, the z-scores were largely within 1 standard deviation of normal,

                                                 6
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 121
                                                             556 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1077
                                    1840


   and actual lumbar or femoral bone density values were not statistically significantly different
   between baseline and follow-up:

      •   The mean z-score [±SD] for lumbar bone mineral apparent density (BMAD) was
          statistically significantly lower at 1 year compared with baseline in transfemales
          (baseline 0.859 [±0.154], 1 year −0.228 [±1.027], p=0.000) and transmales (baseline
          −0.186 [±1.230], 1 year −0.541 [±1.396], p=0.006).
      •   The mean z-score [±SD] for lumbar BMAD was statistically significantly lower after
          receiving GnRH analogues for 2 years compared with baseline in transfemales
          (baseline 0.486 [±0.809], 2 years −0.279 [±0.930], p=0.000) and transmales
          (baseline −0.361 [±1.439], 2 years −0.913 [±1.318], p=0.001).
      •   The mean z-score [±SD] for femoral neck bone mineral density (BMD) was
          statistically significantly lower after receiving GnRH analogues for 2 years compared
          with baseline in transfemales (baseline 0.0450 [±0.781], 2 years −0.600 [±1.059],
          p=0.002) and transmales (baseline −1.075 [±1.145], 2 years −1.779 [±0.816],
          p=0.001).

   The study by Klink et al. 2015 in 34 adolescents with gender dysphoria found that GnRH
   analogues may reduce the expected increase in lumbar (transmales only), but not femoral
   bone density. However, the z-scores are largely within 1 standard deviation of normal. Actual
   lumbar or femoral bone density values were not statistically significantly different between
   baseline and follow-up (apart from BMD measurements in transmales):

      •   The mean z-score [±SD] for lumbar BMAD was not statistically significantly different
          between starting GnRH analogues and starting gender-affirming hormones in
          transfemales, but was statistically significantly lower when starting gender-affirming
          hormones in transmales (GnRH analogues 0.28 [±0.90], gender-affirming hormones
          −0.50 [±0.81], p=0.004).

   The study by Vlot et al. 2017 in 70 adolescents with gender dysphoria found that GnRH
   analogues may reduce the expected increase in lumbar or femoral bone density. However,
   the z-scores were largely within 1 standard deviation of normal. Actual lumbar or femoral
   bone density values were not statistically significantly different between baseline and follow-
   up (apart from in transmales with a bone age ≥14 years). This study reported change in
   bone density from starting GnRH analogues to starting gender-affirming hormones by bone
   age:

      •   The median z-score [range] for lumbar BMAD in transfemales with a bone age of <15
          years was statistically significantly lower at starting gender-affirming hormones than
          at starting GnRH analogues (GnRH analogues −0.20 [−1.82 to 1.18], gender-
          affirming hormones −1.52 [−2.36 to 0.42], p=0.001) but was not statistically
          significantly different in transfemales with a bone age ≥15 years.
      •   The median z-score [range] for lumbar BMAD in transmales with a bone age of <14
          years was statistically significantly lower at starting gender-affirming hormones than
          at starting GnRH analogues (GnRH analogues −0.05 [−0.78 to 2.94], gender-
          affirming hormones −0.84 [−2.20 to 0.87], p=0.003) and in transmales with a bone
          age ≥14 years (GnRH analogues 0.27 [−1.60 to 1.80], gender-affirming hormones
          −0.29 [−2.28 to 0.90], p≤0.0001).


                                                  7
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 122
                                                             557 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1078
                                    1841


      •   The median z-score [range] for femoral neck BMAD in transfemales with a bone age
          of <15 years was not statistically significantly lower at starting gender-affirming
          hormones than at starting GnRH analogues (GnRH analogues −0.71 [−3.35 to 0.37],
          gender-affirming hormones −1.32 [−3.39 to 0.21], p≤0.1) or in transfemales with a
          bone age ≥15 years (GnRH analogues −0.44 [−1.37 to 0.93], gender-affirming
          hormones −0.36 [−1.50 to 0.46]).
      •   The z-score for femoral neck BMAD in transmales with a bone age of <14 years was
          not statistically significantly lower at starting gender-affirming hormones than at
          starting GnRH analogues (GnRH analogues −0.01 [−1.30 to 0.91], gender-affirming
          hormone −0.37 [−2.28 to 0.47]) but was statistically significantly lower in transmales
          with a bone age ≥14 years (GnRH analogues 0.27 [−1.39 to 1.32], gender-affirming
          hormones −0.27 [−1.91 to 1.29], p=0.002).

   Cognitive development or functioning
   The study by Staphorsius et al. 2015 in 40 adolescents with gender dysphoria (20 of whom
   were receiving GnRH analogues) measured cognitive development or functioning (using an
   IQ test, and reaction time and accuracy measured using the Tower of London task):
       • The mean (±SD) IQ in transfemales receiving GnRH analogues was 94.0 (±10.3) and
           109.4 (±21.2) in the control group. In transmales receiving GnRH analogues the
           mean (±SD) IQ was 95.8 (±15.6) and 98.5 (±15.9) in the control group.
       • The mean (±SD) reaction time in transfemales receiving GnRH analogues was 10.9
           (±4.1) and 9.9 (±3.1) in the control group. In transmales receiving GnRH analogue it
           was 9.9 (±3.1) and 10.0 (±2.0) in the control group.
       • The mean (±SD) accuracy score in transfemales receiving GnRH analogues was
           73.9 (±9.1) and 83.4 (±9.5) in the control group. In transmales receiving GnRH
           analogues it was 85.7 (±10.5) and 88.8 (±9.7) in the control group.
   No statistical analyses or interpretation of the results was reported.

   Other safety outcomes
   The study by Schagen et al. 2016 in 116 adolescents with gender dysphoria found that
   GnRH analogues do not affect renal or liver function:
      • There was no statistically significant difference between baseline and 1 year results
          for serum creatinine in transfemales, but there was a statistically significant decrease
          between baseline and 1 year in transmales (p=0.01).
      • Glutamyl transferase, alanine aminotransferase (ALT), and aspartate
          aminotransferase (AST) levels did not significantly change from baseline to 12
          months of treatment.

   The study by Khatchadourian et al. 2014 in 27 adolescents with gender dysphoria who
   started GnRH analogues narratively reported adverse effects from GnRH analogues in 26
   adolescents:
       • 1 transmale developed sterile abscesses; they were switched from leuprolide acetate
           to triptorelin, and this was well tolerated
       • 1 transmale developed leg pains and headaches, which eventually resolved
       • 1 participant gained 19 kg within 9 months of starting GnRH analogues.




                                                  8
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 123
                                                             558 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1079
                                    1842


   In children and adolescents with gender dysphoria, what is the cost-effectiveness of
   GnRH analogues compared to one or a combination of psychological support, social
   transitioning to the desired gender or no intervention?

   No cost-effectiveness evidence was found for GnRH analogues in children and adolescents
   with gender dysphoria.

   From the evidence selected, are there any subgroups of children and adolescents
   with gender dysphoria that may benefit from GnRH analogues more than the wider
   population of interest?

   Some studies reported data separately for the following subgroups of children and
   adolescents with gender dysphoria: sex assigned at birth males (transfemales) and sex
   assigned at birth females (transmales). This included some direct comparisons of these
   subgroups, and differences were largely seen at baseline as well as follow up. No evidence
   was found for other specified subgroups.

   Sex assigned at birth males (transfemales)
   Impact on gender dysphoria
   The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
   of psychological support followed by either GnRH analogues and continued psychological
   support or continued psychological support only, found that gender dysphoria (measured
   using the UGDS) in sex assigned at birth males is lower than in sex assigned at birth
   females. Sex assigned at birth males had a statistically significantly lower (improved) mean
   [±SD] UGDS score of 51.6 [±9.7] compared with sex assigned at birth females (56.1 [±4.3],
   p<0.001), but it was not reported if this was at baseline or follow-up.

   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that gender
   dysphoria (measured using the UGDS) in sex assigned at birth males is lower than in sex
   assigned at birth females at baseline and follow up. The mean [±SD] UGDS score was
   statistically significantly lower (improved) in sex assigned at birth males compared with sex
   assigned at birth females at baseline (n=not reported, mean UGDS score: 47.95 [±9.70]
   versus 56.57 [±3.89]) and follow up (n=not reported, 49.67 [±9.47] versus 56.62 [±4.00]);
   between sex difference p<0.001).

   Impact on mental health
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that the
   impact on mental health (depression, anger and anxiety) may be different in sex assigned at
   birth males compared with sex assigned at birth females. Over time there was no statistically
   significant difference between sex assigned at birth males and sex assigned at birth females
   for depression, but sex assigned at birth males had statistically significantly lower levels of
   anger and anxiety than sex assigned at birth females at baseline and follow up.

      •   The mean [±SD] depression (BDI-II) score was not statistically significantly different
          in sex assigned at birth males compared with sex assigned at birth females at
          baseline (n=not reported, mean BDI score [±SD]: 5.71 [±4.31] versus 10.34 [±8.24])
          and follow-up (n=not reported, 3.50 [±4.58] versus 6.09 [±7.93]), between sex
          difference p=0.057

                                                  9
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 124
                                                             559 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1080
                                    1843


      •   The mean [±SD] anger (TPI) score was statistically significantly lower (improved) in
          sex assigned at birth males compared with sex assigned at birth females at baseline
          (n=not reported, mean TPI score [±SD]: 5.22 [±2.76] versus 6.43 [±2.78]) and follow-
          up (n=not reported, 5.00 [±3.07] versus 6.39 [±2.59]), between sex difference
          p=0.022
      •   The mean [±SD] anxiety (STAI) score was statistically significantly lower (improved)
          in sex assigned at birth males compared with sex assigned at birth females at
          baseline (n=not reported, mean STAI score [±SD]: 4.33 [±2.68] versus 7.00 [±2.36])
          and follow-up (n=not reported, 4.39 [±2.64] versus 6.17 [±2.69]), between sex
          difference p<0.001.

   Impact on body image
   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that the
   impact on body image may be different in sex assigned at birth males compared with sex
   assigned at birth females. Sex assigned at birth males are less dissatisfied with their primary
   and secondary sex characteristics than sex assigned at birth females at both baseline and
   follow up, but the satisfaction with neutral body characteristics is not different.

      •   The mean [±SD] BIS score for primary sex characteristics was statistically
          significantly lower (improved) in sex assigned at birth males compared with sex
          assigned at birth females at baseline (n=not reported, mean BIS score [±SD]: 4.02
          [±0.61] versus 4.16 [±0.52]) and follow up (n=not reported, 3.74 [±0.78] versus 4.17
          [±0.58]) between sex difference p=0.047.
      •   The mean [±SD] BIS score for secondary sex was statistically significantly lower
          (improved) in sex assigned at birth males compared with sex assigned at birth
          females at baseline (n=not reported, mean BIS score [±SD]: 2.66 [±0.50] versus 2.81
          [±0.76]) and follow up (n=not reported, 2.39 [±0.69] versus 3.18 [±0.42]), between
          sex difference p=0.001.
      •   The mean [±SD] BIS score for neutral body characteristics was not statistically
          significantly different in sex assigned at birth males compared with sex assigned at
          birth females at baseline (n=not reported, 2.60 [±0.58] versus 2.24 [±0.62], between
          sex difference p=0.777).

   Psychosocial impact
   The study by Costa et al. 2015 in 201 adolescents with gender dysphoria who had 6 months
   of psychological support followed by either GnRH analogues and continued psychological
   support or continued psychological support only, found that sex assigned at birth males had
   statistically significant lower mean [±SD] CGAS scores at baseline compared with sex
   assigned at birth females (n=201, 55.4 [±12.7] versus 59.2 [±11.8], p=0.03), but no
   conclusions could be drawn.

   The study by de Vries et al. 2011 in 70 adolescents with gender dysphoria found that
   psychosocial impact in terms of global functioning (CGAS) and psychosocial functioning
   (CBCL and YSR) may be different in sex assigned at birth males compared with sex
   assigned at birth females, but no conclusions could be drawn.

      •   There was no statistically significant difference between sex assigned at birth males
          and sex assigned at birth females (at baseline or follow up) for the CBCL Total T
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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 125
                                                             560 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1081
                                    1844


          score, the CBCL internalising T score, the YSR Total T score or the YSR internalising
          T score.
      •   Sex assigned at birth males had statistically higher mean [±SD] CGAS scores
          compared with sex assigned at birth females at baseline (n=54, 73.10 [±8.44] versus
          67.25 [±11.06]) and follow up (n=54, 77.33 [±8.69] versus 70.30 [±9.44]), between
          sex difference p=0.021.
      •   Sex assigned at birth males had statistically lower mean [±SD] CBCL externalising T
          scores compared with sex assigned at birth females at baseline (n=54, 54.71
          [±12.91] versus 60.70 [±12.64]) and follow up (n=54, 48.75 [±10.22] versus 57.87
          [±11.66]), between sex difference p=0.015.
      •   Sex assigned at birth males had statistically lower mean [±SD] YSR externalising T
          scores compared with sex assigned at birth females at both baseline (n=54, 48.72
          [±11.38] versus 57.24 [±10.59]) and follow up (n=54, 46.52 [±9.23] versus 52.97
          [±8.51]), between sex difference p=0.004.

   Bone density
   The studies by Joseph et al. 2019, Klink et al. 2015 and Vlot et al. 2017 provided evidence
   on bone density in sex assigned at birth males (see above for details).

   Cognitive development or functioning
   The study by Staphorsius et al. 2015 provided evidence on cognitive development or
   functioning in sex assigned at birth males (see above for details).

   Other safety outcomes
   The study by Schagen et al. 2016 provided evidence on renal function in sex assigned at
   birth males (see above).

   Sex assigned at birth females (transmales)
   Impact on gender dysphoria
   The studies by de Vries et al. 2011 and Costa et al. 2015 found that gender dysphoria
   (measured using the UGDS) in sex assigned at birth females is higher than in sex assigned
   at birth males at baseline and follow up (see above for details).

   Impact on mental health
   The study by de Vries et al. 2011 found that the impact on mental health (depression, anger
   and anxiety) may be different in sex assigned at birth females compared with sex assigned
   at birth males. Over time there was no statistically significant difference between sex
   assigned at birth females and sex assigned at birth males for depression, but sex assigned
   at birth females had statistically significantly greater levels of anger and anxiety than sex
   assigned at birth males at both baseline and follow up (see above for details).

   Impact on body image
   The study by de Vries et al. 2011 found that the impact on body image may be different in
   sex assigned at birth females compared with sex assigned at birth males. Sex assigned at
   birth females are more dissatisfied with their primary and secondary sex characteristics than
   sex assigned at birth males at both baseline and follow up, but the satisfaction with neutral
   body characteristics is not different (see above for details).


                                                11
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 126
                                                             561 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1082
                                    1845


   Psychosocial impact
   The studies by de Vries et al. 2011 and Costa et al. 2015 found that psychosocial impact in
   terms of global functioning (CGAS) and psychosocial functioning (CBCL and YSR) may be
   different in sex assigned at birth females compared with sex assigned at birth males, but no
   conclusions could be drawn (see above for details).

   Bone density
   The studies by Joseph et al. 2019, Klink et al. 2015 and Vlot et al. 2017 provided evidence
   on bone density in sex assigned at birth females (see above for details).

   Cognitive development or functioning
   The study by Staphorsius et al. 2015 provided evidence on cognitive development or
   functioning in sex assigned at birth females (see above for details).

   Other safety outcomes
   The study by Schagen et al. 2016 provided evidence on renal function in sex assigned at
   birth females (see above for details).

   From the evidence selected:
   (a)   what are the criteria used by the research studies to define gender dysphoria,
         gender identity disorder and gender incongruence of childhood?
   (b)   what were the ages at which participants commenced treatment with GnRH
         analogues?
   (c)   what was the duration of treatment with GnRH analogues?

   All studies that reported diagnostic criteria for gender dysphoria (6/9 studies) used the
   version of the Diagnostic and Statistical Manual of Mental Disorders (DSM) criteria that was
   in use at the time. In 5 studies (Costa et al. 2015, Klink et al. 2015, Schagen et al. 2016,
   Staphorsius et al. 2015 and Vlot et al. 2017) the DSM-fourth edition, text revision (IV-TR)
   criteria were used. The study by Brik et al. 2020 used DSM-V criteria. It was not reported
   how gender dysphoria was defined in the remaining 3 studies.

   The studies show variation in the age (11 to 18 years old) at which children and adolescents
   with gender dysphoria started GnRH analogues.

   Most studies did not report the duration of treatment with GnRH analogues (Joseph et al.
   2019, Khatchadourian et al. 2014, Vlot et al. 2017, Costa et al. 2015, de Vries et al. 2011,
   Schagen et al. 2016), but where this was reported (Brik et al. 2020, Klink et al. 2015,
   Staphorsius et al. 2015) there was a wide variation ranging from a few months to about 5
   years.

   Discussion

   A key limitation to identifying the effectiveness and safety of GnRH analogues for children
   and adolescents with gender dysphoria is the lack of reliable comparative studies. The lack
   of clear, expected outcomes from treatment with a GnRH analogue (the purpose of which is
   to suppress secondary sexual characteristics which may cause distress from unwanted
   pubertal changes) also makes interpreting the evidence difficult.


                                                 12
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 127
                                                             562 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1083
                                    1846


   The studies included in this evidence review are all small, uncontrolled observational
   studies, which are subject to bias and confounding, and all the results are of very low
   certainty using modified GRADE. They all reported physical and mental health comorbidities
   and concomitant treatments very poorly. All the studies are from a limited number of, mainly
   European, care facilities. They are described as either tertiary referral or expert services but
   the low number of services providing such care and publishing evidence may bias the results
   towards the outcomes in these services only and limit extrapolation.

   Many of the studies did not report statistical significance or confidence intervals. Changes in
   outcome scores for clinical effectiveness and bone density were assessed with regards to
   statistical significance. However, there is relatively little interpretation of whether the changes
   in outcomes are clinically meaningful.

   In the observational, retrospective studies providing evidence on bone density, participants
   acted as their own controls and change in bone density was determined between starting
   GnRH analogues and follow up. Observational studies such as these can only show an
   association with GnRH analogues and bone density; they cannot show that GnRH
   analogues caused any differences in bone density seen. Because there was no comparator
   group and participants acted as their own controls, it is not known whether the findings are
   associated with GnRH analogues or due to changes over time.

   Conclusion

   The results of the studies that reported impact on the critical outcomes of gender dysphoria
   and mental health (depression, anger and anxiety), and the important outcomes of body
   image and psychosocial impact (global and psychosocial functioning), in children and
   adolescents with gender dysphoria are of very low certainty using modified GRADE. They
   suggest little change with GnRH analogues from baseline to follow-up.

   Studies that found differences in outcomes could represent changes that are either of
   questionable clinical value, or the studies themselves are not reliable and changes could be
   due to confounding, bias or chance. It is plausible, however, that a lack of difference in
   scores from baseline to follow-up is the effect of GnRH analogues in children and
   adolescents with gender dysphoria, in whom the development of secondary sexual
   characteristics might be expected to be associated with an increased impact on gender
   dysphoria, depression, anxiety, anger and distress over time without treatment. The study by
   de Vries et al. 2011 reported statistically significant reductions in the Child Behaviour
   Checklist (CBCL) and Youth Self-Report (YSR) scores from baseline to follow up, which
   include measures of distress. As the aim of GnRH analogues is to reduce distress caused by
   the development of secondary sexual characteristics, this may be an important finding.
   However, as the studies all lack appropriate controls who were not receiving GnRH
   analogues, any positive changes could be a regression to mean.

   The results of the studies that reported bone density outcomes suggest that GnRH
   analogues may reduce the expected increase in bone density (which is expected during
   puberty). However, as the studies themselves are not reliable, the results could be due to
   confounding, bias or chance. While controlled trials may not be possible, comparative
   studies are needed to understand this association and whether the effects of GnRH
   analogues on bone density are seen after they are stopped. All the studies that reported
   safety outcomes provided very low certainty evidence.
                                                   13
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 128
                                                             563 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1084
                                    1847


   No cost-effectiveness evidence was found to determine whether or not GnRH analogues are
   cost-effective for children and adolescents with gender dysphoria.

   The results of the studies that reported outcomes for subgroups of children and adolescents
   with gender dysphoria, suggest there may be differences between sex assigned at birth
   males (transfemales) and sex assigned at birth females (transmales).


   3. Methodology

   Review questions

   The review question(s) for this evidence review are:
          1. For children and adolescents with gender dysphoria, what is the clinical
             effectiveness of treatment with GnRH analogues compared with one or a
             combination of psychological support, social transitioning to the desired gender or
             no intervention?
          2. For children and adolescents with gender dysphoria, what is the short-term and
             long-term safety of GnRH analogues compared with one or a combination of
             psychological support, social transitioning to the desired gender or no
             intervention?
          3. For children and adolescents with gender dysphoria, what is the cost-
             effectiveness of GnRH analogues compared to one or a combination of
             psychological support, social transitioning to the desired gender or no
             intervention?
          4. From the evidence selected, are there any subgroups of children and
             adolescents with gender dysphoria that may derive more (or less) advantage
             from treatment with GnRH analogues than the wider population of children and
             adolescents with gender dysphoria?
          5. From the evidence selected,
             a) what are the criteria used by the research studies to define gender dysphoria,
                 gender identity disorder and gender incongruence of childhood?
             b) what were the ages at which participants commenced treatment with GnRH
                 analogues?
             c) what was the duration of treatment with GnRH analogues?

   See appendix A for the full review protocol.

   Review process

   The methodology to undertake this review is specified by NHS England in their ‘Guidance on
   conducting evidence reviews for Specialised Services Commissioning Products’ (2020).

   The searches for evidence were informed by the PICO document and were conducted on
   23 July 2020.

   See appendix B for details of the search strategy.

   Results from the literature searches were screened using their titles and abstracts for
   relevance against the criteria in the PICO framework. Full text references of potentially
                                                 14
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 129
                                                             564 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1085
                                    1848


   relevant evidence were obtained and reviewed to determine whether they met the inclusion
   criteria for this evidence review.

   See appendix C for evidence selection details and appendix D for the list of studies excluded
   from the review and the reasons for their exclusion.

   Relevant details and outcomes were extracted from the included studies and were critically
   appraised using a checklist appropriate to the study design. See appendices E and F for
   individual study and checklist details.

   The available evidence was assessed by outcome for certainty using modified GRADE. See
   appendix G for GRADE Profiles.


   4. Summary of included studies

   Nine observational studies were identified for inclusion. Five studies were retrospective
   observational studies (Brik et al. 2020, Joseph et al. 2019, Khatchadourian et al. 2014, Klink
   et al. 2015, Vlot et al. 2017), 3 studies were prospective longitudinal observational studies
   (Costa et al. 2015, de Vries et al. 2011, Schagen et al. 2016) and 1 study was a cross-
   sectional study (Staphorsius et al. 2015).

   The terminology used in this topic area is continually evolving and is different depending on
   stakeholder perspectives. In this evidence review we have used the phrase ‘people’s
   assigned sex at birth’ rather than natal or biological sex, gonadotrophin releasing hormone
   (GnRH) analogues rather than ‘puberty blockers’ and gender-affirming hormones rather than
   ‘cross sex hormones’. The research studies included in this evidence review may use
   historical terms which are no longer considered appropriate.

   Table 1 provides a summary of these included studies and full details are given in
   appendix E.

   Table 1 Summary of included studies

    Study              Population                             Intervention and        Outcomes
                                                              comparison              reported
    Brik et al. 2020   The study was conducted at the         Intervention            Critical
                       Curium-Leiden University Medical       143 children and        Outcomes
                       Centre gender clinic in Leiden, the    adolescents receiving    • No critical
    Retrospective
                       Netherlands and involved               GnRH analogues (no         outcomes
    observational
                       adolescents with gender dysphoria.     specific treatment,        reported
    single-centre
    study              The sample size was 143                dose, route or          Important
                       adolescents (median age at start of    frequency of            outcomes
                       treatment was 15.0 years, range        administration
    Netherlands        11.1 to 18.6 years in transfemales;    reported). The median   • Stopping
                       16.1 years, range 10.1 to 17.9 years   duration was 2.1          treatment
                       in transmales) from a sampling         years (range 1.6–
                       frame of 269 children and              2.8 years).
                       adolescents registered at the clinic   Comparison
                       between November 2010 and
                                                              No comparator.
                       January 2018.


                                                   15
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 130
                                                             565 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1086
                                    1849


    Study              Population                            Intervention and           Outcomes
                                                             comparison                 reported
                       Participants were included in the
                       study if they were diagnosed with
                       gender dysphoria according to the
                       DSM-5 criteria, registered at the
                       clinic, were prepubertal and within
                       the appropriate age range, and had
                       started GnRH analogues. No
                       concomitant treatments were
                       reported.
    Costa et al.       The study was conducted at the        Intervention               Critical
    2015               Gender Identity Development           101 adolescents            Outcomes
                       Service in London and involved        assessed as being           • No critical
                       adolescents with gender dysphoria.    immediately eligible          outcomes
    Prospective
    longitudinal       The sample size was 201               for GnRH analogues            reported
    observational      adolescents (mean [±SD] age           (no specific treatment,    Important
    single centre      15.52±1.41 years, range 12 to         dose or route of           outcomes
    cohort study       17 years) from a sampling frame of    administration
                       436 consecutive adolescents           reported) plus             • Psychosocial
                       referred to the service between       psychological support.       impact
    United Kingdom     2010 and 2014. The mean [±SD]         The average duration
                       age at the start of GnRH analogues    of treatment was
                       was 16.48 [±1.26] years, range 13     approximately 12
                       to 17 years.                          months (no exact
                       Participants were invited to          figure given).
                       participate following a 6-month       Comparison
                       diagnostic process using DSM-IV-      100 adolescents
                       TR criteria. No concomitant           assessed as not
                       treatments were reported.             immediately eligible
                                                             for GnRH analogues
                                                             (more time needed to
                                                             make the decision to
                                                             start GnRH
                                                             analogues) who had
                                                             psychological support
                                                             only. None received
                                                             GnRH analogues
                                                             throughout the study.
    de Vries et al.    The study was conducted at the        Intervention               Critical
    2011               Amsterdam gender identity clinic of   70 individuals             Outcomes
                       the VU University Medical Centre      assessed at baseline       • Gender
                       and involved adolescents who were     (T0) before the start of     dysphoria
    Prospective
                       defined as “transsexual”.             GnRH analogues (no
    longitudinal                                                                         • Mental health
    observational      The sample size was 70                specific treatment,           (depression,
    single centre      adolescents receiving GnRH            dose or route of              anger and
    before and after   analogues (mean age [±SD] at          administration                anxiety)
    study              assessment 13.6±1.8 years) from a     reported).
                       sampling frame of 196 consecutive                                Important
                                                             Comparison                 outcomes
                       adolescents referred to the service
    Netherlands                                              No comparator.
                       between 2000 and 2008.                                           • Body image
                       Participants were invited to                                     • Psychosocial
                       participate if they subsequently                                   impact
                       started gender-affirming hormones
                       between 2003 and 2009. No
                       diagnostic criteria or concomitant
                       treatments were reported.


                                                   16
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 131
                                                             566 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1087
                                    1850


    Study               Population                                Intervention and          Outcomes
                                                                  comparison                reported
    Joseph et al.       This study was conducted at the           Intervention              Critical
    2019                Early intervention clinic at University   GnRH analogues. No        Outcomes
                        College London Hospital (all              specific treatment,        • No critical
                        participants had been seen at the         duration, dose or            outcomes
    Retrospective
                        Gender Identity Development               route of administration      reported
    longitudinal
                        Service in London) and involved           reported.
    observational                                                                           Important
                        adolescents with gender dysphoria.
    single centre                                                 Comparison                outcomes
    study               The sample size was 70
                                                                  No comparator.            • Safety: bone
                        adolescents with gender dysphoria
                        (no diagnostic criteria described) all                                density
    United Kingdom      offered GnRH analogues. The
                        mean age at the start of treatment
                        was 13.2 years (SD ±1.4) for
                        transfemales and 12.6 years (SD
                        ±1.0) for transmales. Details of the
                        sampling frame were not reported.
                        Further details of how the sample
                        was drawn are not reported. No
                        concomitant treatments were
                        reported.
    Khatchadourian      This study was conducted at the           Intervention              Critical
    et al. 2014         Endocrinology and Diabetes Unit at        84 young people with      Outcomes
                        British Columbia Children’s               gender dysphoria. For      • No critical
                        Hospital, Canada and involved             GnRH analogues no            outcomes
    Retrospective
                        youths with gender dysphoria.             specific treatment,          reported
    observational
    chart review        The sample size was 27 young              duration, dose or         Important
    single centre       people with gender dysphoria who          route of administration   outcomes
    study               started GnRH analogues (at mean           reported.
                        age 14.7 [SD ±1.9] years) out of 84                                 • Stopping
                                                                  Comparison                  treatment
                        young people seen at the unit
    Canada                                                        No comparator.
                        between 1998 and 2011. Diagnostic                                   • Safety:
                        criteria and concomitant treatments                                   adverse
                        were not reported.                                                    effects

    Klink et al. 2015   This study was conducted in the           Intervention              Critical
                        Netherlands at a tertiary referral        The intervention was      Outcomes
                        centre. It is unclear which centre        GnRH analogue              • No critical
    Retrospective
                        this was.                                 monotherapy                  outcomes
    longitudinal
    observational       The sample size was 34                    (triptorelin 3.75 mg         reported
    single centre       adolescents (mean age 14.9 [SD            subcutaneously every      Important
    study               ±1.9] years for transfemales and          4 weeks) followed by      outcomes
                        15.0 [SD ±2.0] years for transmales       gender-affirming
                        at start of GnRH analogues). Details      hormones with             • Safety: bone
    Netherlands         of the sampling frame are not             discontinuation of          density
                        reported.                                 GnRH analogues after
                        Participants were included if they        gonadectomy.
                        met DSM-IV-TR criteria for gender         Duration of GnRH
                        identity disorder of adolescence and      analogues was 1.3
                        had been treated with GnRH                years (range 0.5 to
                        analogues and gender-affirming            3.8 years) in
                        hormones during their pubertal            transfemales and 1.5
                        years. No concomitant treatments          years (0.25 to
                        were reported.                            5.2 years in
                                                                  transmales.
                                                                  Comparison
                                                                  No comparator.
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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 132
                                                             567 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1088
                                    1851


    Study              Population                              Intervention and          Outcomes
                                                               comparison                reported
    Schagen et al.     This study was conducted at the         Intervention              Critical
    2016               Centre of Expertise on Gender           The intervention was      Outcomes
                       Dysphoria at the VU University          GnRH analogue              • No critical
                       Medical Centre (Amsterdam,              monotherapy                  outcomes
    Prospective
                       Netherlands) and involved               (triptorelin 3.75 mg at      reported
    longitudinal
                       adolescents with gender dysphoria.      0, 2 and 4 weeks
    study                                                                                Important
                       The sample size was 116                 followed by               outcomes
                       adolescents (median age [range]         intramuscular
    Netherlands        13.6 years [11.6 to 17.9] in            injections every 4        • Safety: liver
                       transfemales and 14.2 years [11.1       weeks, for at least 3       and renal
                       to 18.6] in transmales during first     months).                    function.
                       year of GnRH analogues) out of 128      Comparison
                       adolescents who started GnRH
                                                               No comparator.
                       analogues.
                       Participants were included if they
                       met DSM-IV-TR criteria for gender
                       dysphoria, had lifelong extreme
                       gender dysphoria, were
                       psychologically stable and were
                       living in a supportive environment.
                       No concomitant treatments were
                       reported.
    Staphorsius et     This study was conducted at the VU      Intervention              Critical
    al. 2015           University Medical Centre               The intervention was      Outcomes
                       (Amsterdam, Netherlands) and            a GnRH analogue            • No critical
                       involved adolescents with gender        (triptorelin 3.75 mg         outcomes
    Cross-sectional
                       dysphoria.                              every 4 weeks                reported
    (single time
    point)             The sample size was 85, of whom         subcutaneously or         Important
    assessment         40 were adolescents with gender         intramuscularly). The     outcomes
    single centre      dysphoria (20 of whom were being        mean duration of
                       treated with GnRH analogues) and        treatment was 1.6         • Psychosocial
    study                                                                                  impact
                       45 were controls without gender         years (SD ±1.0).
                       dysphoria (not further reported         Comparison                • Safety:
    Netherlands        here). Mean (±SD) age 15.1 (±2.4)                                   cognitive
                                                               Adolescents with
                       years in transfemales and 15.8                                      functioning
                                                               gender dysphoria not
                       (±1.9) years in transmales. Details
                                                               treated with GnRH
                       of the sampling frame are not
                                                               analogues.
                       reported.
                       Participants were included if they
                       were diagnosed with Gender
                       Identity Disorder according to the
                       DSM-IV-TR and at least 12 years
                       old and Tanner stage of at least B2
                       or G2 to G3 with measurable
                       oestradiol and testosterone levels in
                       girls and boys, respectively. No
                       concomitant treatments were
                       reported.
    Vlot et al. 2017   This study was conducted at the VU      Intervention              Critical
                       University Medical Centre               The intervention was      Outcomes
                       (Amsterdam, Netherlands) and            a GnRH analogue            • No critical
    Retrospective
                       involved adolescents with gender        (triptorelin 3.75 mg         outcomes
    observational
                       dysphoria.                              every 4 weeks                reported
    data analysis
    study              The sample size was 70                  subcutaneously).          Important
                       adolescents (median age [range]         Comparison                outcomes
                       15.1 years [11.7 to 18.6] for
                                                               No comparator.
                                                    18
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 133
                                                             568 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1089
                                    1852


    Study             Population                            Intervention and         Outcomes
                                                            comparison               reported
    Netherlands       transmales and 13.5 years [11.5 to                              • Safety: bone
                      18.3] for transfemales at start of                                density
                      GnRH analogues). Details of the
                      sampling frame are not reported.
                      Participants were included if they
                      had a diagnosis of gender
                      dysphoria according to DSM-IV-TR
                      criteria who were receiving GnRH
                      analogues and then gender-
                      affirming hormones. No concomitant
                      treatments were reported.
    Abbreviations: DSM-IV-TR, Diagnostic and Statistical Manual of Mental Disorders, fourth edition,
    text revision; GnRH, Gonadotrophin releasing hormone; SD, Standard deviation.


   5. Results

   In children and adolescents with gender dysphoria, what is the clinical
   effectiveness of treatment with GnRH analogues compared with one or a
   combination of psychological support, social transitioning to the desired
   gender or no intervention?

    Outcome              Evidence statement

    Clinical Effectiveness

    Critical outcomes

    Impact on            This is a critical outcome because gender dysphoria in children and
    gender               adolescents is associated with significant distress and problems with
    dysphoria            functioning.

    Certainty of         One uncontrolled, prospective observational longitudinal study (de
    evidence: very       Vries et al. 2011) provided evidence relating to the impact on gender
    low                  dysphoria in adolescents, measured using the Utrecht Gender
                         Dysphoria Scale (UGDS). The UGDS is a validated screening tool for
                         both adolescents and adults to assess gender dysphoria. It consists of
                         12 items, to be answered on a 1- to 5-point scale, resulting in a sum
                         score between 12 and 60. The higher the UGDS score the greater the
                         gender dysphoria.

                         The study measured the impact on gender dysphoria at 2 time points:
                            • before starting a GnRH analogue (mean [±SD] age: 14.75
                                [±1.92] years), and
                            • shortly before starting gender-affirming hormones (mean [±SD]
                                age: 16.64 [±1.90] years).

                         The mean (±SD) UGDS score was not statistically significantly different
                         at baseline compared with follow-up (n=41, 53.20 [±7.91] versus 53.9
                         [±17.42], p=0.333) (VERY LOW).



                                                   19
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 134
                                                             569 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1090
                                    1853


                     This study provides very low certainty evidence that treatment
                     with GnRH analogues, before starting gender-affirming
                     hormones, does not affect gender dysphoria.
    Impact on        This is a critical outcome because self-harm and thoughts of suicide
    mental health:   have the potential to result in significant physical harm and, for
    depression       completed suicides, the death of the young person.

    Certainty of     One uncontrolled, prospective observational longitudinal study (de
    evidence: very   Vries et al. 2011) provided evidence relating to the impact on
    low              depression in children and adolescents with gender dysphoria.
                     Depression was measured using the Beck Depression Inventory-II
                     (BDI-II). The BDI-II is a valid, reliable, and widely used tool for
                     assessing depressive symptoms. There are no specific scores to
                     categorise depression severity, but it is suggested that 0 to 13 is
                     minimal symptoms, 14 to 19 is mild depression, 20 to 28 is moderate
                     depression, and severe depression is 29 to 63.

                     The study provided evidence for depression measured at 2 time points:
                        • before starting a GnRH analogue (mean [±SD] age: 14.75
                            [±1.92] years), and
                        • shortly before starting gender-affirming hormones (mean [±SD]
                            age: 16.64 [±1.90] years).

                     The mean (±SD) depression (BDI) score was statistically significantly
                     lower (improved) from baseline compared with follow-up (n=41, 8.31
                     [±7.12] versus 4.95 [ ±6.72], p=0.004) (VERY LOW).

                     This study provides very low certainty evidence that treatment
                     with GnRH analogues, before starting gender-affirming hormones,
                     may reduce depression.
    Impact on        This is a critical outcome because self-harm and thoughts of suicide
    mental health:   have the potential to result in significant physical harm and, for
    anger            completed suicides, the death of the young person.

    Certainty of     One uncontrolled, prospective observational longitudinal study (de
    evidence: very   Vries et al. 2011) provided evidence relating to the impact on anger in
    low              children and adolescents with gender dysphoria. Anger was measured
                     using the Trait Anger Scale of the State-Trait Personality Inventory
                     (TPI). This is a validated 20-item inventory tool which measures the
                     intensity of anger as the disposition to experience angry feelings as a
                     personality trait. Higher scores indicate greater anger.

                     The study provided evidence for anger measured at 2 time points:
                        • before starting a GnRH analogue (mean [±SD] age: 14.75
                            [±1.92] years), and
                        • shortly before starting gender-affirming hormones (mean [±SD]
                            age: 16.64 [±1.90] years).

                     The mean (±SD) anger (TPI) score was not statistically significantly
                     different at baseline compared with follow-up (n=41, 18.29 [±5.54]
                     versus 17.88 [±5.24], p=0.503) (VERY LOW).

                     This study provides very low certainty evidence that treatment
                     with GnRH analogues, before starting gender-affirming hormones,
                     does not affect anger.
                                            20
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 135
                                                             570 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1091
                                    1854


    Impact on         This is a critical outcome because self-harm and thoughts of suicide
    mental health:    have the potential to result in significant physical harm and, for
    anxiety           completed suicides, the death of the young person.

    Certainty of      One uncontrolled, prospective observational longitudinal study (de
    evidence: very    Vries et al. 2011) provided evidence relating to the impact on anxiety in
    low               children and adolescents with gender dysphoria. Anxiety was measured
                      using the Trait Anxiety Scale of the State-Trait Personality Inventory
                      (STAI). This is a validated and commonly used measure of trait and
                      state anxiety. It has 20 items and can be used in clinical settings to
                      diagnose anxiety and to distinguish it from depressive illness. Higher
                      scores indicate greater anxiety.

                      The study provided evidence for anxiety at 2 time points:
                         • before starting a GnRH analogue (mean [±SD] age: 14.75
                             [±1.92] years), and
                         • shortly before starting gender-affirming hormones (mean [±SD]
                             age: 16.64 [±1.90] years).

                      The mean (±SD) anxiety (STAI) score was not statistically significantly
                      different at baseline compared with follow-up (n=41, 39.43 [±10.07]
                      versus 37.95 [±9.38], p=0.276) (VERY LOW).

                      This study provides very low certainty evidence that treatment
                      with GnRH analogues, before starting gender-affirming hormones,
                      does not affect levels of anxiety.
    Quality of life   This is a critical outcome because gender dysphoria in children and
                      adolescents may be associated with a significant reduction in health-
                      related quality of life.

                      No evidence was identified.
    Important outcomes

    Impact on body    This is an important outcome because some children and adolescents
    image             with gender dysphoria may want to take steps to suppress features of
                      their physical appearance associated with their sex assigned at birth or
    Certainty of      accentuate physical features of their desired gender.
    evidence: very
    low               One uncontrolled, prospective observational longitudinal study provided
                      evidence relating to the impact on body image (de Vries et al. 2011).
                      Body image was measured using the Body Image Scale (BIS) which is
                      a validated 30-item scale covering 3 aspects: primary, secondary and
                      neutral body characteristics. Higher scores represent a higher degree
                      of body dissatisfaction.

                      The study (de Vries et al. 2011) provided evidence for body image
                      measured at 2 time points:
                         • before starting a GnRH analogue (mean [±SD] age: 14.75
                             [±1.92] years), and
                         • shortly before starting gender-affirming hormones (mean [±SD]
                             age: 16.64 [±1.90] years).

                      The mean (±SD) body image (BIS) scores for were not statistically
                      significantly different from baseline compared with follow-up for:

                                              21
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 136
                                                             571 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1092
                                    1855


                        •   primary sexual characteristics (n=57, 4.10 [±0.56] versus 3.98
                            [±0.71], p=0.145)
                        •   secondary sexual characteristics (n=57, 2.74 [±0.65] versus
                            2.82 [±0.68], p=0.569)
                        •   neutral body characteristics (n=57, 2.41 [±0.63] versus 2.47
                            [±0.56], p=0.620) (VERY LOW).

                     This study provides very low certainty evidence that treatment
                     with GnRH analogues, before starting gender affirming hormones,
                     does not affect body image.
    Psychosocial     This is an important outcome because gender dysphoria in children and
    impact: global   adolescents is associated with internalising and externalising
    functioning      behaviours, and emotional and behavioural problems which may impact
                     on social and occupational functioning.
    Certainty of
    evidence: very   One uncontrolled, observational, prospective cohort study (de Vries et
    low              al 2011) and one prospective cross-sectional cohort study (Costa et al.
                     2015) provided evidence relating to psychosocial impact in terms of
                     global functioning. Global functioning was measured using the
                     Children’s Global Assessment Scale (CGAS). The CGAS tool is a
                     validated measure of global functioning on a single rating scale from 1
                     to 100. Lower scores indicate poorer functioning.

                     One study (de Vries et al. 2011) provided evidence for global
                     functioning (CGAS) at 2 time points:
                        • before starting a GnRH analogue (mean [±SD] age: 14.75
                             [±1.92] years), and
                        • shortly before starting gender-affirming hormones (mean [±SD]
                             age: 16.64 [±1.90] years).

                     The mean (±SD) CGAS score was statistically significantly higher
                     (improved) from baseline compared with follow-up (n=41, 70.24
                     [±10.12] versus 73.90 [±9.63], p=0.005) (VERY LOW).

                     One study (Costa et al. 2015) in adolescents with gender dysphoria who
                     had 6 months of psychological support followed by either GnRH
                     analogues and continued psychological support (the immediately
                     eligible group) or continued psychological support only (the delayed
                     eligible group who did not receive GnRH analogues) provided evidence
                     for global functioning (CGAS) measured at 4 time points:
                         • at baseline (T0) in both groups,
                         • after 6 months of psychological support in both groups (T1),
                         • after 6 months of GnRH analogues and 12 months of
                              psychological support in the immediately eligible group and 12
                              months of psychological support only in the delayed eligible
                              group (T2), and
                         • after 18 months of psychological support and 12 months of
                              GnRH analogues in the immediately eligible group and after 18
                              months of psychological support only in the delayed eligible
                              group (T3).

                     The mean [±SD] CGAS score was statistically significantly higher
                     (improved) for all adolescents (including those not receiving GnRH
                     analogues) at T1, T2 or T3 compared with baseline (T0).

                                            22
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 137
                                                             572 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1093
                                    1856


                     For the immediately eligible group (who received GnRH analogues)
                     versus the delayed eligible group (who did not receive GnRH
                     analogues) there were no statistically significant differences in CGAS
                     scores between the 2 groups at baseline T0 (n=201, p=0.23), T1
                     (n=201, p=0.73), T2 (n=121, p=0.49) or T3 (n=71, p=0.14) time points.

                     For the immediately eligible group (who received GnRH analogues),
                     the mean (±SD) CGAS score was not statistically significantly different
                     at:
                         • T1 compared with T0
                         • T2 compared with T1
                         • T3 compared with T2.

                     The mean (±SD) CGAS score was statistically significantly higher
                     (improved) at:
                        • T2 compared with T0 (n=60, 64.70 [±13.34] versus n=101, 58.72
                            [±11.38], p=0.003)
                        • T3 compared with T0 (n=35, 67.40 [±13.39] versus n=101, 58.72
                            [±11.38], p<0.001)
                        • T3 compared with T1 (n=35, 67.40 [±13.93] versus n=101, 60.89
                            [±12.17], p<0.001) (VERY LOW).

                     These studies provide very low certainty evidence that during
                     treatment with GnRH analogues, global functioning may improve
                     over time. However, there was no statistically significant
                     difference in global functioning between GnRH analogues plus
                     psychological support compared with psychological support only
                     at any time point.
    Psychosocial     This is an important outcome because gender dysphoria in children and
    impact:          adolescents is associated with internalising and externalising
    psychosocial     behaviours, and emotional and behavioural problems which may impact
    functioning      on social and occupational functioning.

    Certainty of     Two studies provided evidence for this outcome. One uncontrolled,
    evidence: very   observational, prospective cohort study (de Vries et al, 2011) and 1
    low              cross-sectional observational study (Staphorsius et al. 2015) assessed
                     psychosocial functioning using the Child Behaviour Checklist (CBCL)
                     and the self-administered Youth Self-Report (YSR). The CBCL is a
                     checklist parents complete to detect emotional and behavioural
                     problems in children and adolescents. YSR is similar but is self-
                     completed by the child or adolescent. The scales consist of a Total
                     problems score, which is the sum of the scores of all the problem items.
                     An internalising problem scale sums the anxious/depressed,
                     withdrawn-depressed, and somatic complaints scores while the
                     externalising problem scale combines rule-breaking and aggressive
                     behaviour. The standard scores are scaled so that 50 is average for the
                     child or adolescent’s age and gender, with a SD of 10 points. Higher
                     scores indicate greater problems, with a T-score above 63 considered
                     to be in the clinical range.

                     One study (de Vries et al. 2011) provided evidence for psychosocial
                     functioning (CBCL and YSR scores) at 2 time points:
                        • before starting a GnRH analogue (mean [±SD] age: 14.75
                             [±1.92] years), and

                                             23
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 138
                                                             573 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1094
                                    1857


                          •   shortly before starting gender-affirming hormones (mean [±SD]
                              age: 16.64 [±1.90] years).

                       At follow up, the mean (±SD) CBCL scores were statistically
                       significantly lower (improved) compared with baseline for:
                           • Total T score (n=54, 60.70 [±12.76] versus 54.46 [±11.23],
                               p<0.001
                           • Internalising T score (n=54, 61.00 [±12.21] versus 52.17 [±9.81],
                               p<0.001)
                           • Externalising T score (n=54, 58.04 [±12.99] versus 53.81
                               [±11.86], p=0.001).

                       At follow up, the mean (±SD) YSR scores were statistically significantly
                       lower (improved) compared with baseline for:
                           • Total T score (n=54, 55.46 [±11.56] versus 50.00 [±10.56],
                               p<0.001)
                           • Internalising T score (n=54, 56.04 [±12.49] versus 49.78
                               [±11.63], p<0.001)
                           • Externalising T score (n=54, 53.30 [±11.87] versus 49.98
                               [±9.35], p=0.009).

                       The proportion of adolescents scoring in the clinical range decreased
                       from baseline to follow up on the CBCL total problem scale (44.4%
                       versus 22.2%, p=0.001) and the internalising scale of the YSR (29.6%
                       versus 11.1%, p=0.017) (VERY LOW).

                       One study (Staphorsius et al. 2015) assessed CBCL in a cohort of
                       adolescents with gender dysphoria (transfemale: n=18, mean [±SD]
                       age 15.1 [±2.4] years and transmale: n=22, mean [±SD] age 15.8
                       [±1.9] years) either receiving GnRH analogues (transfemale, n=8 and
                       transmale, n=12), or not receiving GnRH analogues (transfemale,
                       n=10 and transmale, n=10).

                       The mean (±SD) CBCL scores for each group were (statistical
                       analysis unclear):
                          • transfemales (total) 57.8 [±9.2]
                          • transfemales receiving GnRH analogues 57.4 [±9.8]
                          • transfemales not receiving GnRH analogues 58.2 [±9.3]
                          • transmales (total) 60.4 [±10.2]
                          • transmales receiving GnRH analogues 57.5 [±9.4]
                          • transmales not receiving GnRH analogues 63.9 [±10.5] (VERY
                              LOW).

                       These studies provide very low certainty evidence that during
                       treatment with GnRH analogues psychosocial functioning may
                       improve, with the proportion of adolescents in the clinical range
                       for some CBCL and YSR scores decreasing over time.
    Engagement         This is an important outcome because patient engagement with health
    with health care   care services will impact on their clinical outcomes.
    services
                       Two uncontrolled observational cohort studies provided evidence
    Certainty of       relating to loss to follow up, which could be a marker of engagement
    evidence: very     with health care services (Brik et al. 2018 and Costa et al. 2015).
    low

                                               24
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 139
                                                             574 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1095
                                    1858


                        In one retrospective study (Brik et al. 2018), 9 adolescents (9/214,
                        4.2%) who had stopped attending appointments were excluded from
                        the study between November 2010 and July 2019 (VERY LOW).

                        One prospective study (Costa et al. 2015) had evidence for a large loss
                        to follow-up over time. The sample size at baseline (T0) and 6 months
                        (T1) was 201, which dropped by 39.8% to 121 after 12 months (T2) and
                        by 64.7% to 71 at 18 months follow-up (T3). No explanation of the
                        reasons for loss to follow-up are reported (VERY LOW).

                        Due to their design there was no reported loss to follow-up in the other
                        3 effectiveness studies (de Vries et al 2011; Khatchadourian et al. 2014;
                        Staphorsius et al. 2015).

                        These studies provide very low certainty evidence about loss to
                        follow up, which could be a marker of engagement with health care
                        services, during treatment with GnRH analogues. Due to the large
                        variation in rates between studies no conclusions could be drawn.
    Impact on extent    This is an important outcome because some children and adolescents
    of and              with gender dysphoria may proceed to transitioning surgery.
    satisfaction with
    surgery             No evidence was identified.
    Stopping            This is an important outcome because there is uncertainty about the
    treatment           short- and long-term safety and adverse effects of GnRH analogues in
                        children and adolescents with gender dysphoria.
    Certainty of
    evidence: very      Two uncontrolled, retrospective, observational cohort studies provided
    low                 evidence relating to stopping GnRH analogues. One study had
                        complete reporting of the cohort (Brik et al. 2018), the other
                        (Khatchadourian et al. 2014) had incomplete reporting of its cohort,
                        particularly for transfemales where outcomes for only 4/11 were
                        reported.

                        Brik et al. 2018 narratively reported the reasons for stopping GnRH
                        analogues in a cohort of 143 adolescents (38 transfemales and 105
                        transmales). Median age at the start of GnRH analogues was 15.0
                        years (range, 11.1–18.6 years) in transfemales and 16.1 years (range,
                        10.1–17.9 years) in transmales. Of these adolescents, 125 (87%, 36
                        transfemales, 89 transmales) subsequently started gender-affirming
                        hormones after 1.0 (0.5–3.8) and 0.8 (0.3–3.7) years of GnRH
                        analogues. At the time of data collection, the median duration of GnRH
                        analogue use was 2.1 years (1.6–2.8).

                        During the follow-up period 6.3% (9/143) of adolescents had
                        discontinued GnRH analogues after a median duration of 0.8 years
                        (range 0.1 to 3.0). The percentages and reasons for stopping were:
                            • 2.8% (4/143) stopped GnRH analogues although they wanted
                               to continue endocrine treatments for gender dysphoria:
                                   o 1 transmale stopped due to increase in mood problems,
                                       suicidal thoughts and confusion attributed to GnRH
                                       analogues
                                   o 1 transmale had hot flushes, increased migraines, fear
                                       of injections, stress at school and unrelated medical
                                       issues, and temporarily stopped treatment (after 4
                                       months) and restarted 5 months later.
                                                25
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 140
                                                             575 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1096
                                    1859


                                 o  1 transmale had mood swings 4 months after starting
                                    GnRH analogues. After 2.2 years had unexplained
                                    severe nausea and rapid weight loss and discontinued
                                    GnRH analogues after 2.4 years
                                o 1 transmale stopped GnRH analogues because of
                                    inability to regularly collect medication and attend
                                    appointments for injections.
                         •   3.5% (5/143) stopped treatment because they no longer wished
                             to receive gender-affirming treatment for various reasons
                             (VERY LOW).

                      Khatchadourian et al. 2014 narratively reported the reasons for stopping
                      GnRH analogues in a cohort of 26 adolescents (15 transmales and 11
                      transfemales), 42% (11/26) discontinued GnRH analogues during
                      follow-up between 1998 and 2011.

                      Of 15 transmales receiving GnRH analogues, 14 received testosterone
                      during the observation period, of which:
                          • 7 continued GnRH analogues after starting testosterone
                          • 7 stopped GnRH analogues after a median of 3.0 years (range
                              0.2 to 9.2 years), of which:
                                  o 5 stopped after hysterectomy and salpingo-
                                      oophorectomy
                                  o 1 stopped after 2.2 years (transitioned to gender-
                                      affirming hormones)
                                  o 1 stopped after <2 months due to mood and emotional
                                      lability (VERY LOW).

                      Of 11 transfemales receiving GnRH analogues, 5 received oestrogen
                      during the observation period, of which:
                          • 4 continued GnRH analogues after starting oestrogen
                          • 1 stopped GnRH analogues when taking oestrogen (no reason
                              reported) (VERY LOW).

                      Of the remaining 6 transfemales taking GnRH analogues:
                          • 1 stopped GnRH analogues after a few months due to emotional
                              lability
                          • 1 stopped GnRH analogues before taking oestrogen (the
                              following year delayed due to heavy smoking)
                          • 1 stopped GnRH analogues after 13 months due not to pursuing
                              transition (VERY LOW).

                     These studies provide very low certainty evidence for the number
                     of adolescents who stop GnRH analogues and the reasons for this.
   Abbreviations: GnRH, gonadotrophin releasing hormone; SD, standard deviation.

   In children and adolescents with gender dysphoria, what is the short-term and
   long-term safety of GnRH analogues compared with one or a combination of
   psychological support, social transitioning to the desired gender or no
   intervention?

    Outcome           Evidence statement


                                              26
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 141
                                                             576 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1097
                                    1860


    Safety

    Change in bone    This is an important outcome because puberty is an important time for
    density: lumbar   bone development and puberty suppression may affect bone
                      development, as shown by changes in lumbar bone density.
    Certainty of
    evidence: very    Three uncontrolled, observational, retrospective studies provided
    low               evidence relating to the effect of GnRH analogues on bone density
                      (based on lumbar BMAD) between starting with a GnRH analogue and
                      at 1 and 2 year intervals (Joseph et al. 2019), and between starting
                      GnRH analogues and starting gender-affirming hormones (Klink et al.
                      2015 and Vlot et al. 2017). All outcomes were reported separately for
                      transfemales and transmales; also see subgroups table below.

                      BMAD is a size adjusted value of BMD incorporating body size
                      measurements using UK norms in growing adolescents. It was reported
                      as g/cm3 and as z-scores. Z-scores report how many standard
                      deviations from the mean a measurement sits. A z-score of 0 is equal
                      to the mean, a z-score of −1 is equal to 1 standard deviation below the
                      mean, and a z-score of +1 is equal to 1 standard deviation above the
                      mean.

                      One retrospective observational study (Joseph et al. 2019, n=70)
                      provided non-comparative evidence on change in lumbar BMAD
                      increase using z-scores.
                          • The z-score for lumbar BMAD was statistically significantly lower
                             at 2 years compared with baseline in transfemales (z-score
                             [±SD]: baseline 0.486 [0.809], 2 years −0.279 [0.930], p=0.000)
                             and transmales (baseline −0.361 [1.439], 2 years −0.913
                             [1.318], p=0.001) (VERY LOW).
                          • The z-score for lumbar BMAD was statistically significantly lower
                             at 1 year compared with baseline in transfemales (baseline
                             0.859 [0.154], 1 year −0.228 [1.027], p=0.000) and transmales
                             (baseline −0.186 [1.230], 1 year −0.541 [1.396], p=0.006)
                             (VERY LOW).
                          • Actual lumbar BMAD values in g/cm3 were not statistically
                             significantly different between baseline and 1 or 2 years in
                             transfemales or transmales (VERY LOW).

                      Two retrospective observational studies (Klink et al. 2015 and Vlot et al.
                      2017, n=104 in total) provided non-comparative evidence on change in
                      lumbar BMAD between starting GnRH analogues and starting gender-
                      affirming hormones. All outcomes were reported separately for
                      transfemales and transmales; also see subgroups table below.

                      In Klink et al. 2015 the z-score for lumbar BMAD was not statistically
                      significantly different between starting GnRH analogues and starting
                      gender-affirming hormones in transfemales but was statistically
                      significantly lower when starting gender-affirming hormones in
                      transmales (z-score mean [±SD]: GnRH analogue 0.28 [±0.90], gender-
                      affirming hormone −0.50 [±0.81], p=0.004). Actual lumbar BMAD values
                      in g/cm3 were not statistically significantly different between starting
                      GnRH analogues and starting gender-affirming hormones in
                      transfemales or transmales (VERY LOW).

                                              27
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 142
                                                             577 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1098
                                    1861


                    Vlot et al. 2017 reported change from starting GnRH analogues to
                    starting gender-affirming hormones in lumbar BMAD by bone age.
                        • The z-score for lumbar BMAD in transfemales with a bone age
                            of <15 years was statistically significantly lower at starting
                            gender-affirming hormone treatment than at starting GnRH
                            analogues (z-score median [range]: GnRH analogue −0.20
                            [−1.82 to 1.18], gender-affirming hormone −1.52 [−2.36 to
                            0.42], p=0.001) but was not statistically significantly different in
                            transfemales with a bone age ≥15 years (VERY LOW).
                        • The z-score for lumbar BMAD in transmales with a bone age of
                            <14 years was statistically significantly lower at starting
                            gender-affirming hormone treatment than at starting GnRH
                            analogues (z-score median [range]: GnRH analogue −0.05
                            [−0.78 to 2.94], gender-affirming hormone −0.84 [−2.20 to
                            0.87], p=0.003) and in transmales with a bone age ≥14 years
                            (GnRH analogue 0.27 [−1.60 to 1.80], gender-affirming
                            hormone −0.29 [−2.28 to 0.90], p≤0.0001) (VERY LOW).
                        • Actual lumbar BMAD values in g/cm3 were not statistically
                            significantly different between starting GnRH analogues and
                            starting gender-affirming hormones in transfemales or
                            transmales with young or old bone age (VERY LOW).

                    Two uncontrolled, observational, retrospective studies provided
                    evidence for the effect of GnRH analogues on bone density (based on
                    lumbar BMD) between starting GnRH analogues and either at 1 or 2
                    year intervals (Joseph et al. 2019), or starting gender-affirming
                    hormones (Klink et al. 2015). All outcomes were reported separately for
                    transfemales and transmales; also see subgroups table below.

                    One retrospective observational study (Joseph et al. 2019, n=70)
                    provided non-comparative evidence on change in lumbar BMD increase
                    using z-scores.
                        • The z-score for lumbar BMD was statistically significantly lower
                           at 2 years compared with baseline in transfemales (z-score
                           mean [±SD]: baseline 0.130 [0.972], 2 years −0.890 [±1.075],
                           p=0.000) and transmales (baseline −0.715 [±1.406], 2 years
                           −2.000 [1.384], p=0.000) (VERY LOW).
                        • The z-score for lumbar BMD was statistically significantly lower
                           at 1 year compared with baseline in transfemales (z-score mean
                           [±SD]: baseline −0.016 [±1.106], 1 year −0.461 [±1.121],
                           p=0.003) and transmales (baseline −0.395 [±1.428], 1 year
                           −1.276 [±1.410], p=0.000) (VERY LOW).
                        • With the exception of transmales, where lumbar BMD in kg/m2
                           increased between baseline and 1 year (mean [±SD]: baseline
                           0.694 [±0.149], 1 year 0.718 [±0.124], p=0.006), actual lumbar
                           BMD values were not statistically significantly different between
                           baseline and 1 or 2 years in transfemales or between 0 and 2
                           years in transmales (VERY LOW).

                    One retrospective observational study (Klink et al. 2015, n=34) provided
                    non-comparative evidence on change in lumbar BMD between starting
                    GnRH analogues and starting gender-affirming hormones.
                       • The z-score for lumbar BMD was not statistically significantly
                           different between starting GnRH analogue and starting gender-
                           affirming hormone treatment in transfemales, but was
                                           28
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 143
                                                             578 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1099
                                    1862


                              statistically significantly lower when starting gender-affirming
                              hormones in transmales (z-score mean [±SD]: GnRH analogue
                              0.17 [±1.18], gender-affirming hormone −0.72 [±0.99], p<0.001)
                              (VERY LOW).
                          •   Actual lumbar BMD in g/cm2 was not statistically significantly
                              different between starting GnRH analogues and starting gender-
                              affirming hormones in transfemales but was statistically
                              significantly lower when starting gender-affirming hormones in
                              transmales (mean [±SD]: GnRH analogues 0.95 [±0.12],
                              gender-affirming hormones 0.91 [±0.10], p=0.006) (VERY
                              LOW).

                       These studies provide very low certainty evidence that GnRH
                       analogues reduce the expected increase in lumbar bone density
                       (BMAD or BMD) compared with baseline (although some findings
                       were not statistically significant). These studies also show that
                       GnRH analogues do not statistically significantly decrease actual
                       lumbar bone density (BMAD or BMD).
    Change in bone     This is an important outcome because puberty is an important time for
    density: femoral   bone development and puberty suppression may affect bone
                       development, as shown by changes in femoral bone density.
    Certainty of
    evidence: very     Two uncontrolled, observational, retrospective studies provided
    low                evidence relating to the effect of GnRH analogues on bone density
                       (based on femoral BMAD) between starting treatment with a GnRH
                       analogue and starting gender-affirming hormones (Klink et al. 2015 and
                       Vlot et al. 2017). All outcomes were reported separately for
                       transfemales and transmales; also see subgroups table below.

                       One retrospective observational study (Klink et al. 2015, n=34) provided
                       non-comparative evidence on change in femoral area BMAD between
                       starting GnRH analogues and starting gender-affirming hormones. All
                       outcomes were reported separately for transfemales and transmales.
                           • The z-score for femoral area BMAD was not statistically
                               significantly different between starting GnRH analogues and
                               starting gender-affirming hormones in transfemales or
                               transmales (VERY LOW).
                           • Actual femoral area BMAD values were not statistically
                               significantly different between starting GnRH analogues and
                               starting gender-affirming hormones in transmales or
                               transfemales (VERY LOW).

                       One retrospective observational study (Vlot et al. 2017, n=70) provided
                       non-comparative evidence on change in femoral neck (hip) BMAD
                       between starting GnRH analogues and starting gender-affirming
                       hormones. All outcomes were reported separately for transfemales and
                       transmales; also see subgroups table below.
                           • The z-score for femoral neck BMAD in transfemales with a
                              bone age of <15 years was not statistically significantly lower
                              at starting gender-affirming hormones than at starting GnRH
                              analogues (z-score median [range]: GnRH analogue −0.71
                              [−3.35 to 0.37], gender-affirming hormone −1.32 [−3.39 to
                              0.21], p≤0.1) or in transfemales with a bone age ≥15 years
                              (GnRH analogue −0.44 [−1.37 to 0.93], gender-affirming
                              hormone −0.36 [−1.50 to 0.46]) (VERY LOW).
                                               29
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 144
                                                             579 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1100
                                    1863


                       •   The z-score for femoral neck BMAD in transmales with a bone
                           age of <14 years was not statistically significantly lower at
                           starting gender-affirming hormones than at starting GnRH
                           analogues (z-score median [range]: GnRH analogue −0.01
                           [−1.30 to 0.91], gender-affirming hormone −0.37 [−2.28 to
                           0.47]) but was statistically significantly lower in transmales with
                           a bone age ≥14 years (GnRH analogue 0.27 [−1.39 to 1.32],
                           gender-affirming hormone −0.27 [−1.91 to 1.29], p=0.002)
                           (VERY LOW).
                       •   Actual femoral neck BMAD values were not statistically
                           significantly different between starting GnRH analogues and
                           starting gender-affirming hormones in transfemales or in
                           transmales with a young bone age, but were statistically
                           significantly lower in transmales with a bone age ≥14 years
                           (GnRH analogue 0.33 [0.25 to 0.39), gender-affirming
                           hormone 0.30 [0.23 to 0.41], p≤0.01) (VERY LOW).

                    Two uncontrolled, observational, retrospective studies provided
                    evidence for the effect of GnRH analogues on bone density (based on
                    femoral BMD) between starting GnRH analogues and either at 1 or 2
                    year intervals (Joseph et al. 2019), or starting gender-affirming
                    hormones (Klink et al. 2015). All outcomes were reported separately for
                    transfemales and transmales; also see subgroups table below.

                    One retrospective observational study (Joseph et al. 2019, n=70)
                    provided non-comparative evidence on change in femoral neck BMD
                    increase using z-scores. All outcomes were reported separately for
                    transfemales and transmales.
                        • The z-score for femoral neck BMD was statistically significantly
                           lower at 2 years compared with baseline in transfemales (z-
                           score mean [±SD]: baseline 0.0450 [±0.781], 2 years −0.600
                           [±1.059], p=0.002) and transmales (baseline −1.075 [±1.145],
                           2 years −1.779 [±0.816], p=0.001) (VERY LOW).
                        • The z-score for femoral neck BMD was statistically significantly
                           lower at 1 year compared with baseline in transfemales (z-score
                           mean [±SD]: baseline 0.157 [±0.905], 1 year −0.340 [±0.816],
                           p=0.002) and transmales (baseline −0.863 [±1.215], 1 year
                           −1.440 [±1.075], p=0.000) (VERY LOW).
                        • Actual femoral neck BMD values in kg/m2 were not statistically
                           significantly different between baseline and 1 or 2 years in
                           transmales or transfemales (VERY LOW).

                    One retrospective observational study (Klink et al. 2015, n=34) provided
                    non-comparative evidence on change in femoral area BMD between
                    starting GnRH analogues and starting gender-affirming hormones. All
                    outcomes were reported separately for transfemales and transmales.
                        • The z-score for femoral area BMD was not statistically
                            significantly different between starting GnRH analogues and
                            starting gender-affirming hormones in transfemales, but was
                            statistically significantly lower in transmales (z-score mean
                            [±SD]: GnRH analogue 0.36 [±0.88], gender-affirming hormone
                            −0.35 [±0.79], p=0.001) (VERY LOW).
                        • Actual femoral area BMD values were not statistically
                            significantly different between starting GnRH analogues and
                            starting gender-affirming hormones in transfemales, but were
                                            30
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 145
                                                             580 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1101
                                    1864


                             statistically significantly lower in transmales (mean [±SD] GnRH
                             analogue 0.92 [±0.10], gender-affirming hormone 0.88 [±0.09],
                             p=0.005) (VERY LOW).

                      These studies provide very low certainty evidence that GnRH
                      analogues may reduce the expected increase in femoral bone
                      density (femoral neck or area BMAD or BMD) compared with
                      baseline (although some findings were not statistically
                      significant). These studies also show that GnRH analogues do not
                      statistically significantly decrease actual femoral bone density
                      (femoral area BMAD or femoral neck BMD), apart from actual
                      femoral area BMD in transmales.
    Cognitive         This is an important outcome because puberty is an important time for
    development or    cognitive development and puberty suppression may affect cognitive
    functioning       development or functioning.

    Certainty of      One cross-sectional observational study (Staphorsius et al. 2015, n=70)
    evidence: very    provided comparative evidence on cognitive development or
    low               functioning in adolescents with gender dysphoria on GnRH analogues
                      compared with adolescents with gender dysphoria not on GnRH
                      analogues. Cognitive functioning was measured using an IQ test.
                      Reaction time (in seconds) and accuracy (percentage of correct trials)
                      were measured using the Tower of London (ToL) task. All outcomes
                      were reported separately for transfemales and transmales; also see
                      subgroups table below. No statistical analyses or interpretation of the
                      results in these groups were reported:
                         • IQ in transfemales (mean [±SD] GnRH analogue 94.0 [±10.3],
                              control 109.4 [±21.2]). IQ transmales (GnRH analogue 95.8
                              [±15.6], control 98.5 [±15.9].
                         • Reaction time in transfemales (mean [±SD] GnRH analogue
                              10.9 [±4.1], control: 9.9 [±3.1]). Reaction time transmales
                              (GnRH analogue 9.9 [±3.1], control 10.0 [±2.0]).
                         • Accuracy score in transfemales (GnRH analogue 73.9 [±9.1],
                              control 83.4 [±9.5]. Accuracy score in transmales (GnRH
                              analogue 85.7 [±10.5], control 88.8 [±9.7].

                      This study provides very low certainty evidence (with no statistical
                      analysis) on the effects of GnRH analogues on cognitive
                      development or functioning. No conclusions could be drawn.
    Other safety      This is an important outcome because if renal damage (raised serum
    outcomes:         creatinine is a marker of this) is suspected, GnRH analogues may need
    kidney function   to be stopped.

    Certainty of      One prospective observational study (Schagen et al. 2016, n=116)
    evidence: very    provided non-comparative evidence on change in serum creatinine
    low               between starting GnRH analogues and at 1 year. All outcomes were
                      reported separately for transfemales and transmales; also see
                      subgroups table below.

                         •   There was no statistically significant difference between
                             baseline and 1 year for serum creatinine in transfemales (mean
                             [±SD] baseline 70 [±12], 1 year 66 [±13], p=0.20).
                         •   There was a statistically significant decrease between baseline
                             and 1 year for serum creatinine in transmales (baseline 73 [±8],
                             1 year 68 [±13], p=0.01).
                                              31
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 146
                                                             581 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1102
                                    1865



                       This study provides very low certainty evidence that GnRH
                       analogues do not affect renal function.
    Other safety       This is an important outcome because if treatment-induced liver injury
    outcomes: liver    (raised liver enzymes are a marker of this) is suspected, GnRH
    function           analogues may need to be stopped.

    Certainty of       One prospective observational study (Schagen et al. 2016, n=116)
    evidence: very     provided non-comparative evidence on elevated liver enzymes
    low                between starting GnRH analogues and during use. No comparative
                       values or statistical analyses were reported.
                           • Glutamyl transferase was not elevated at baseline or during
                              use in any person.
                           • Mild elevations of AST and ALT above the reference range
                              were present at baseline but were not more prevalent during
                              use than at baseline.
                           • Glutamyl transferase, AST, and ALT levels did not significantly
                              change from baseline to 12 months of use.

                       This study provides very low certainty evidence (with no statistical
                       analysis) that GnRH analogues do not affect liver function.
    Other safety       This is an important outcome because if there are adverse effects,
    outcomes:          GnRH analogues may need to be stopped.
    adverse effects
                       One uncontrolled, retrospective, observational cohort study
    Certainty of       (Khatchadourian et al. 2014) provided evidence relating to adverse
    evidence: very     effects from GnRH analogues. It had incomplete reporting of its cohort,
    low                particularly for transfemales where outcomes for only 4/11 were
                       reported.

                       Khatchadourian et al. 2014 reported adverse effects in a cohort of 26
                       adolescents (15 transmales and 11 transfemales) receiving GnRH
                       analogues. Of these:
                          • 1 transmale developed sterile abscesses; they were switched
                              from leuprolide acetate to triptorelin, and this was well tolerated.
                          • 1 transmale developed leg pains and headaches, which
                              eventually resolved
                          • 1 participant gained 19 kg within 9 months of starting GnRH
                              analogues.

                         This study provides very low certainty evidence about potential
                         adverse effects of GnRH analogues. No conclusions could be
                         drawn.
   Abbreviations: ALT, alanine aminotransferase; AST, aspartate aminotransferase; BMAD,
   bone mineral apparent density; BMD, bone mineral density; GnRH, gonadotrophin releasing
   hormone; IQ, intelligence quotient; NS, not significant; SD, standard deviation.

   In children and adolescents with gender dysphoria, what is the cost-
   effectiveness of GnRH analogues compared to one or a combination of
   psychological support, social transitioning to the desired gender or no
   intervention?

    Outcome                    Evidence statement

                                                32
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 147
                                                             582 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1103
                                    1866


    Cost-effectiveness         No studies were identified to assess the cost-effectiveness of
                               GnRH analogues for children and adolescents with gender
                               dysphoria.

   From the evidence selected, are there any subgroups of children and
   adolescents with gender dysphoria that may benefit from GnRH analogues more
   than the wider population of interest?

    Subgroup             Evidence statement
    Sex assigned at      Some studies reported data separately for sex assigned at birth males
    birth males          (transfemales). This included some direct comparisons with sex
    (transfemales)       assigned at birth females (transmales).

    Certainty of         Impact on gender dysphoria
    evidence: Very       One uncontrolled prospective observational longitudinal study (de
    low                  Vries et al. 2011) provided evidence for gender dysphoria in sex
                         assigned at birth males. See the clinical effectiveness results table
                         above for a full description of the study.
                         The mean (±SD) UGDS score was statistically significantly lower
                         (improved) in sex assigned at birth males compared with sex assigned
                         at birth females at both baseline (T0) (n=not reported, mean UGDS
                         score [±SD]: 47.95 [±9.70] versus 56.57 [±3.89]) and T1 (n=not
                         reported, 49.67 [±9.47] versus 56.62 [±4.00]); between sex difference
                         p<0.001 (VERY LOW).

                         One further prospective observational longitudinal study (Costa et al.
                         2015) provided evidence for the impact on gender dysphoria in sex
                         assigned at birth males. See the clinical effectiveness results table
                         above for a full description of the study. Sex assigned at birth males
                         had a statistically significantly lower (improved) mean (±SD) UGDS
                         score of 51.6 [±9.7] compared with sex assigned at birth females (56.1
                         [±4.3], p<0.001). However, it was not reported if this was baseline or
                         follow-up (VERY LOW).

                         These studies provide very low certainty evidence that in sex
                         assigned at birth males (transfemales), gender dysphoria is
                         lower than in sex assigned at birth females (transmales).

                         Impact on mental health
                         One uncontrolled prospective observational longitudinal study (de
                         Vries et al. 2011) provided evidence for the impact on mental health
                         (depression, anger and anxiety) in sex assigned at birth males. See
                         the clinical effectiveness results table above for a full description of
                         the study.
                             • The mean (±SD) depression (BDI-II) score was not statistically
                                 significantly different in sex assigned at birth males compared
                                 with sex assigned at birth females at both baseline (T0) (n=not
                                 reported, mean BDI score [±SD]: 5.71 [±4.31] versus 10.34
                                 [±8.24]) and T1 (n=not reported, 3.50 [±4.58] versus 6.09
                                 [±7.93]), between sex difference p=0.057
                             • The mean (±SD) anger (TPI) score was statistically
                                 significantly lower (improved) in sex assigned at birth males
                                 compared with sex assigned at birth females at both baseline
                                 (T0) (n=not reported, mean TPI score [±SD]: 5.22 [±2.76]
                                                  33
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 148
                                                             583 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1104
                                    1867


                            versus 6.43 [±2.78]) and T1 (n=not reported, 5.00 [±3.07]
                            versus 6.39 [±2.59]), between sex difference p=0.022
                        •   The mean (±SD) anxiety (STAI) score was statistically
                            significantly lower (improved) in sex assigned at birth males
                            compared with sex assigned at birth females at both baseline
                            (T0) (n=not reported, mean STAI score [±SD]: 4.33 [±2.68]
                            versus 7.00 [±2.36]) and T1 (n=not reported, 4.39 [±2.64]
                            versus 6.17 [±2.69]), between sex difference p<0.001 (VERY
                            LOW).

                     This study provides very low certainty evidence that the impact
                     on mental health (depression, anger and anxiety) may be
                     different in sex assigned at birth males (transfemales) compared
                     with sex assigned at birth females (transmales). Over time there
                     was no statistically significant difference between sex assigned
                     at birth males and sex assigned at birth females for depression.
                     However, sex assigned at birth males had statistically
                     significantly lower levels of anger and anxiety than sex assigned
                     at birth females at both baseline and follow up.

                     Impact on body image
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence relating to the impact on body
                     image in sex assigned at birth males.
                         • The mean (±SD) BIS score for primary sex characteristics was
                            statistically significantly lower (improved) in sex assigned at
                            birth males compared with sex assigned at birth females at
                            both baseline (T0) (n=not reported, mean BIS score [±SD]:
                            4.02 [±0.61] versus 4.16 [±0.52]) and T1 (n=not reported, 3.74
                            [±0.78] versus 4.17 [±0.58]), between sex difference p=0.047
                         • The mean (±SD) BIS score for secondary sex was statistically
                            significantly lower (improved) in sex assigned at birth males
                            compared with sex assigned at birth females at both baseline
                            (T0) (n=not reported, mean BIS score [±SD]: 2.66 [±0.50]
                            versus 2.81 [±0.76]) and T1 (n=not reported, 2.39 [±0.69]
                            versus 3.18 [±0.42]), between sex difference p=0.001
                         • The mean (±SD) BIS score for neutral body characteristics
                            was not statistically significantly different in sex assigned at
                            birth males compared with sex assigned at birth females at
                            both baseline (T0) (n=not reported, mean BIS score [±SD]:
                            2.60 [±0.58] versus 2.24 [±0.62]) and T1 (n=not reported, 2.32
                            [±0.59] versus 2.61 [±0.50]), between sex difference p=0.777
                            (VERY LOW).

                     This study provides very low certainty evidence that the impact
                     on body image may be different in sex assigned at birth males
                     (transfemales) compared with sex assigned at birth females
                     (transmales). Sex assigned at birth males are less dissatisfied
                     with their primary and secondary sex characteristics than sex
                     assigned at birth females at both baseline and follow up, but the
                     satisfaction with neutral body characteristics is not different.

                     Psychosocial impact
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence for psychosocial impact in terms
                                           34
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 149
                                                             584 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1105
                                    1868


                     of global functioning (CGAS) and psychosocial functioning (CBCL and
                     YSR) in sex assigned at birth males.
                         • Sex assigned at birth males had statistically higher mean
                             (±SD) CGAS scores compared with sex assigned at birth
                             females at both baseline (T0) (n=54, 73.10 [±8.44] versus
                             67.25 [±11.06]) and T1 (n=54, 77.33 [±8.69] versus 70.30
                             [±9.44]), between sex difference p=0.021
                         • There was no statistically significant difference between sex
                             assigned at birth males and sex assigned at birth females for
                             the CBCL Total T score at T0 or T1 (n=54, p=0.110)
                         • There was no statistically significant difference between sex
                             assigned at birth males and sex assigned at birth females for
                             the CBCL internalising T score at T0 or T1 (n=54, p=0.286)
                         • Sex assigned at birth males had statistically lower mean (±SD)
                             CBCL externalising T scores compared with sex assigned at
                             birth females at both T0 (n=54, 54.71 [±12.91] versus 60.70
                             [±12.64]) and T1 (n=54, 48.75 [±10.22] versus 57.87 [±11.66]),
                             between sex difference p=0.015
                         • There was no statistically significant difference between sex
                             assigned at birth males and sex assigned at birth females for
                             the YSR Total T score at T0 or T1 (n=54, p=0.164)
                         • There was no statistically significant difference between sex
                             assigned at birth males and sex assigned at birth females for
                             the YSR internalising T score at T0 or T1 (n=54, p=0.825)
                         • Sex assigned at birth males had statistically lower mean (±SD)
                             YSR externalising T scores compared with sex assigned at
                             birth females at both T0 (n=54, 48.72 [±11.38] versus 57.24
                             [±10.59]) and T1 (n=54, 46.52 [±9.23] versus 52.97 [±8.51]),
                             between sex difference p=0.004 (VERY LOW).

                     One uncontrolled, observational, prospective cohort study (Costa et
                     al. 2015) provided evidence for psychosocial impact in terms of global
                     functioning (CGAS) in sex assigned at birth males.
                          • Sex assigned at birth males had statistically significant lower
                             mean (±SD CGAS scores at baseline) compared with sex
                             assigned at birth females (n=201, 55.4 [±12.7] versus 59.2
                             [±11.8], p=0.03) (VERY LOW).

                     These studies provide very low certainty evidence that
                     psychosocial impact may be different in sex assigned at birth
                     males (transfemales) compared with sex assigned at birth
                     females (transmales). However, no conclusions could be drawn.

                     Change in bone density: lumbar
                     Three uncontrolled, observational, retrospective studies provided
                     evidence relating to the effect of GnRH analogues on lumbar bone
                     density in sex assigned at birth males (Joseph et al. 2019, Klink et al.
                     2015 and Vlot et al. 2017). See the safety results table above for a full
                     description of the results.

                     These studies provide very low certainty evidence that GnRH
                     analogues reduce the expected increase in lumbar bone density
                     (BMAD or BMD) in sex assigned at birth males (transfemales;
                     although some findings were not statistically significant). These
                     studies also show that GnRH analogues do not statistically
                                        35
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 150
                                                             585 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1106
                                    1869


                      significantly decrease actual lumbar bone density (BMAD or
                      BMD) in sex assigned at birth males (transfemales).

                      Change in bone density: femoral
                      Three uncontrolled, observational, retrospective studies provided
                      evidence for the effect of GnRH analogues on femoral bone density in
                      sex assigned at birth males (Joseph et al. 2019, Klink et al. 2015 and
                      Vlot et al. 2017). See the safety results table above for a full
                      description of the results.

                      These studies provide very low certainty evidence that GnRH
                      analogues may reduce the expected increase in femoral bone
                      density (femoral neck or area BMAD or BMD) in sex assigned at
                      birth males (transfemales; although some findings were not
                      statistically significant). These studies also show that GnRH
                      analogues do not statistically significantly decrease actual
                      femoral bone density (femoral area BMAD or femoral neck BMD)
                      in sex assigned at birth males (transfemales).

                      Cognitive development or functioning
                      One cross-sectional observational study (Staphorsius et al. 2015)
                      provided comparative evidence on cognitive development or
                      functioning in sex assigned at birth males. See the safety results table
                      above for a full description of the results.

                      This study provides very low certainty evidence (with no
                      statistical analysis) on the effects of GnRH analogues on
                      cognitive development or functioning in sex assigned at birth
                      males (transfemales). No conclusions could be drawn.

                      Other safety outcomes: kidney function
                      One prospective observational study (Schagen et al. 2016) provided
                      non-comparative evidence on change in serum creatinine in sex
                      assigned at birth males. See the safety results table above for a full
                      description of the results.

                      This study provides very low certainty evidence that GnRH
                      analogues do not affect renal function in sex assigned at birth
                      males (transfemales).
    Sex assigned at   Some studies reported data separately for sex assigned at birth
    birth females     females (transmales). This included some direct comparisons with sex
    (transmales)      assigned at birth males (transfemales).

    Certainty of      Impact on gender dysphoria
    evidence: Very    One uncontrolled prospective observational longitudinal study (de
    low               Vries et al. 2011) and one prospective observational longitudinal study
                      (Costa et al. 2015) provided evidence for gender dysphoria in sex
                      assigned at birth females. See the sex assigned at birth males
                      (transfemales) row above for a full description of the results.

                      These studies provide very low certainty evidence that in sex
                      assigned at birth females (transmales), gender dysphoria is
                      higher than in sex assigned at birth males (transfemales) at both
                      baseline and follow up.


                                             36
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 151
                                                             586 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1107
                                    1870


                     Impact on mental health
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence relating to the impact on mental
                     health (depression, anger and anxiety) in sex assigned at birth
                     females. See the sex assigned at birth males (transfemales) row
                     above for a full description of the results.

                     This study provides very low certainty evidence that the impact
                     on mental health (depression, anger and anxiety) may be
                     different in sex assigned at birth females (transmales) compared
                     with sex assigned at birth males (transfemales). Over time there
                     was no statistically significant difference between sex assigned
                     at birth females and sex assigned at birth males for depression.
                     However, sex assigned at birth females had statistically
                     significantly greater levels of anger and anxiety than sex
                     assigned at birth males at baseline and follow up.

                     Impact on body image
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence relating to the impact on body
                     image in sex assigned at birth females. See the sex assigned at birth
                     males (transfemales) row above for a full description of the results.

                     This study provides very low certainty evidence that the impact
                     on body image may be different in sex assigned at birth females
                     (transmales) compared with sex assigned at birth males
                     (transfemales). Sex assigned at birth females are more
                     dissatisfied with their primary and secondary sex characteristics
                     than sex assigned at birth males at both baseline and follow up,
                     but the satisfaction with neutral body characteristics is not
                     different.

                     Psychosocial impact
                     One uncontrolled prospective observational longitudinal study (de
                     Vries et al. 2011) provided evidence for psychosocial impact in terms
                     of global functioning (CGAS) and psychosocial functioning (CBCL and
                     YSR) in sex assigned at birth females. One uncontrolled,
                     observational, prospective cohort study (Costa et al. 2015) provided
                     evidence for psychosocial impact in terms of global functioning
                     (CGAS) in sex assigned at birth females. See the sex assigned at birth
                     males (transfemales) row above for a full description of the results.

                     These studies provide very low certainty evidence that
                     psychosocial impact may be different in sex assigned at birth
                     females (transmales) compared with sex assigned at birth males
                     (transfemales). However, no conclusions could be drawn.

                     Change in bone density: lumbar
                     Three uncontrolled, observational, retrospective studies provided
                     evidence relating to the effect of GnRH analogues on lumbar bone
                     density in sex assigned at birth females (Joseph et al. 2019, Klink et
                     al. 2015 and Vlot et al. 2017). See the safety results table above for a
                     full description of the results.



                                            37
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 152
                                                             587 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1108
                                    1871


                       These studies provide very low certainty evidence that GnRH
                       analogues reduce the expected increase in lumbar bone density
                       (BMAD or BMD) in sex assigned at birth females (transmales;
                       although some findings were not statistically significant). These
                       studies also show that GnRH analogues do not statistically
                       significantly decrease actual lumbar bone density (BMAD or
                       BMD) in sex assigned at birth females (transmales).

                       Change in bone density: femoral
                       Three uncontrolled, observational, retrospective studies provided
                       evidence relating to the effect of GnRH analogues on femoral bone
                       density in sex assigned at birth females (Joseph et al. 2019, Klink et
                       al. 2015 and Vlot et al. 2017). See the safety results table above for a
                       full description of the results.

                       These studies provide very low certainty evidence that GnRH
                       analogues may reduce the expected increase in femoral bone
                       density (femoral neck or area BMAD or BMD) in sex assigned at
                       birth females (transmales; although some findings were not
                       statistically significant). These studies also show that GnRH
                       analogues do not statistically significantly decrease actual
                       femoral bone density (femoral area BMAD or femoral neck BMD)
                       in sex assigned at birth females (transmales), apart from actual
                       femoral area.

                       Cognitive development or functioning
                       One cross-sectional observational study (Staphorsius et al. 2015)
                       provided comparative evidence on cognitive development or
                       functioning in sex assigned at birth females. See the safety results
                       table above for a full description of the results.

                       This study provides very low certainty evidence (with no
                       statistical analysis) on the effects of GnRH analogues on
                       cognitive development or functioning in sex assigned at birth
                       females (transmales). No conclusions could be drawn.

                       Other safety outcomes: kidney function
                       One prospective observational study (Schagen et al. 2016) provided
                       non-comparative evidence on change in serum creatinine in sex
                       assigned at birth females (transmales). See the safety results table
                       above for a full description of the results.

                       This study provides very low certainty evidence that GnRH
                       analogues do not affect renal function in sex assigned at birth
                       females (transmales).
    Duration of        No evidence was identified.
    gender dysphoria
    Age at onset of    No evidence was identified.
    gender dysphoria
    Age at which       No evidence was identified.
    GnRH analogue
    started
    Age at onset of    No evidence was identified.
    puberty

                                              38
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 153
                                                             588 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1109
                                    1872


    Tanner stage at      No evidence was identified.
    which GnRH
    analogue started
    Diagnosis of         No evidence was identified.
    autistic spectrum
    disorder
    Diagnosis of         No evidence was identified.
    mental health
    condition
   Abbreviations: BDI-II, Beck Depression Inventory-II; BIS, Body Image Scale; CBCL, Child
   Behaviour Checklist; CGAS, Children’s Global Assessment Scale; SD, standard deviation;
   STAI, Trait Anxiety Scale of the State-Trait Personality Inventory; TPI, Trait Anger Scale of
   the State-Trait Personality Inventory; UGDS, Utrecht Gender Dysphoria Scale; YSR, Youth
   Self-Report

   From the evidence selected,
   (a)   what are the criteria used by the research studies to define gender
         dysphoria, gender identity disorder and gender incongruence of
         childhood?
   (b)   what were the ages at which participants commenced treatment with
         GnRH analogues?
   (c)   what was the duration of treatment with GnRH analogues?

    Outcome               Evidence statement
    Diagnostic            In 5 studies (Costa et al. 2015, Klink et al. 2015, Schagen et al. 2016,
    criteria              Staphorsius et al. 2015 and Vlot et al. 2017) the DSM-IV-TR criteria of
                          gender identity disorder was used.

                          The study by Brik et al. 2020 used DSM-V criteria. The DSM-V has
                          one overarching definition of gender dysphoria with separate specific
                          criteria for children and for adolescents and adults. The general
                          definition describes a conflict associated with significant distress
                          and/or problems functioning associated with this conflict between the
                          way they feel and the way they think of themselves which must have
                          lasted at least 6 months.

                          It was not reported how gender dysphoria was defined in the
                          remaining 3 studies (VERY LOW).

                          From the evidence selected, all studies that reported diagnostic
                          criteria for gender dysphoria (6/9 studies) used the DSM criteria
                          in use at the time the study was conducted.
    Age when GnRH         8/9 studies reported the age at which participants started GnRH
    analogues started     analogues, either as the mean age (with SD) or median age (with the
                          range):

                           Study                        Mean age (±SD)
                           Costa et al. 2015            16.5 years (±1.3)
                           de Vries et al. 2011         13.6 years (±1.8)
                           Joseph et al. 2019           13.2 years (±1.4) in transfemales
                                                        12.6 years (±1.0) in transmales
                           Khatchadourian     et    al. 14.7 years (±1.9)
                           2014
                                                   39
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 154
                                                             589 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1110
                                    1873


                           Klink et al. 2015            14.9 years (±1.9) in transfemales
                                                        15.0 years (±2.0) in transmales

                           Study                        Median age (range)
                           Brik et al. 2020             15.5 years (11.1–18.6) in transfemales
                                                        16.1 years (10.1–17.9) in transmales
                           Schagen et al. 2016          13.6 years (11.6–17.9) in transfemales
                                                        14.2 years (11.1–18.6) in transmales
                           Vlot et al. 2017             13.5 years (11.5–18.3) in transfemales
                                                        15.1 years (11.7–18.6) in transmales

                          Age at the start of GnRH analogues was not reported in Staphorsius
                          et al. 2015, but participants were required to be at least 12 years
                          (VERY LOW).

                          The evidence included showed wide variation in the age (11 to 18
                          years old) at which children and adolescents with gender
                          dysphoria started GnRH analogues.
    Duration of           The duration of treatment with GnRH analogues was reported in 3/9
    treatment             studies. The median duration was:
                              • 2.1 years (range 1.6–2.8) in Brik et al. 2020.
                              • 1.3 years (range 0.5–3.8) in transfemales and 1.5 years (range
                                 0.25–5.2) in transmales in Klink et al. 2015.

                          In Staphorsius et al. 2015, the mean duration was 1.6 years (SD ±1.0).

                          In de Vries et al. 2011, the mean duration of time between starting
                          GnRH analogues and gender-affirming hormones was 1.88 years (SD
                          ±1.05).

                       The evidence included showed wide variation in the duration of
                       treatment with GnRH analogues, but most studies did not report
                       this information. Treatment duration ranged from a few months
                       up to about 5 years.
   Abbreviations: DSM, Diagnostic and Statistical Manual of Mental Disorders criteria; SD,
   standard deviation.


   6. Discussion

   A key limitation to identifying the effectiveness and safety of GnRH analogues for children
   and adolescents with gender dysphoria is the lack of reliable comparative studies. The lack
   of clear, expected outcomes from treatment with a GnRH analogue (the purpose of which is
   to suppress secondary sexual characteristics which may cause distress from unwanted
   pubertal changes) also makes interpreting the evidence difficult. The size of the population
   with gender dysphoria means conducting a prospective trial may be unrealistic, at least on a
   single centre basis. There may also be ethical issues with a ‘no treatment arm’ in
   comparative trials of GnRH analogues, where there may be poor mental health outcomes if
   treatment is withheld. However, the use of an active comparator such as close psychological
   support may reduce ethical concerns in future trials.

   The studies included in this evidence review are all small, uncontrolled observational
   studies, which are subject to bias and confounding, and are of very low certainty as

                                                 40
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 155
                                                             590 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1111
                                    1874


   assessed using modified GRADE. All the included studies reported physical and mental
   health comorbidities and concomitant treatments very poorly. For example, very little data
   are reported on how many children and adolescents needed additional mental health
   support, and for what reasons, or whether additional interventions, and what form and
   duration (for example drug treatment or counselling) that took. This is a possible confounder
   for the treatment outcomes in the studies because changes in critical and important
   outcomes may be attributable to external care rather than the psychological support or
   GnRH analogues used in the studies.

   The studies that reported diagnostic criteria for gender dysphoria (6/9 studies) used the
   Diagnostic and Statistical Manual of Mental Disorders (DSM) criteria in use at the time the
   study was conducted (either DSM-IV-TR or DSM-V). The definition was unclear in the
   remaining studies. There was wide variation in the ages at which participants started a
   GnRH analogue, typically ranging from about 11 to 18 years. Similarly, there was a wide
   variation in the duration of use, but few studies reported this.

   Changes in outcome scores for clinical effectiveness were assessed for statistical
   significance in the 3 studies reporting these outcomes (Costa et al. 2015; de Vries et al.
   2011; Staphorsius et al. 2015). However, there is relatively little interpretation of whether the
   changes in outcome scores seen in these studies are clinically meaningful.

   For some outcomes there was no statistically significant difference from before starting
   GnRH analogues until just before starting gender-affirming hormones. These were the
   Utrecht Gender Dysphoria Scale (UGDS) (which was assessed in 1 study de Vries et al.
   2011), the Trait Anger (TPI) and Trait Anxiety (STAI) Scales (which were assessed in 1
   study de Vries et al. 2011), and Body Image Scale (BIS) which was assessed in 1 study (de
   Vries et al. 2011).

   The Beck Depression Inventory (BDI-II) was used in 1 study (de Vries et al. 2011) to assess
   change in depression from before starting GnRH analogues to just before starting gender-
   affirming hormones. The result is statistically significant, with the mean (±SD) BDI-II score
   decreasing from 8.31 (±7.12) at baseline to 4.95 (±6.27) at follow up (p=0.004). However,
   both scores fall into the minimal range using the general guidelines for interpretation of BDI-
   II (0 to 13 minimal, 14 to 19 mild depression, 20 to 28 moderate depression and 29 to 63
   severe depression), suggesting that while statistically significant, it is unclear if this is a
   clinically meaningful change.

   Psychosocial outcomes were assessed in 3 studies (Costa et al. 2015; de Vries et al. 2011;
   Staphorsius et al. 2015) using the Children’s Global Assessment Scale (CGAS) and Child
   Behavior Checklist/Youth Self-Report (CBCL/YSR). The CGAS score was assessed in 2
   studies (Costa et al. 2015; de Vries et al. 2011). In de Vries et al. 2011 the mean (±SD)
   CGAS score statistically significantly increased over time from 70.24 [±10.12] at baseline to
   73.90 [±9.63] at follow up. CGAS scores are clinically categorised into 10 categories (10 to
   1, 20 to 11 and so on until 100 to 91) and both scores reported were in a single category (71
   to 80, no more than slight impairment) suggesting that while statistically significant, it is
   unclear if this is a clinically meaningful change. The Costa et al. 2015 study does highlight a
   larger change in CGAS scores from baseline to follow-up (mean [±SD] 58.72 [±11.38]
   compared with 67.40 [±13.39]), but whether this is clinically meaningful is unclear. The
   average score moved from the clinical category of 60 to 51 (variable functioning with
   sporadic difficulties) at baseline to 70 to 61 (some difficulty in a single area, but generally
                                                    41
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 156
                                                             591 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1112
                                    1875


   functioning pretty well) at follow up, but the large standard deviations suggest clinically
   significant overlaps between the scores from baseline to follow-up.

   Psychosocial functioning using the CBCL/YSR was assessed in 2 studies (de Vries et al.
   2011; Staphorsius et al. 2015). In de Vries et al. 2011 there was a statistically significant
   reduction in both CBCL and YSR scores from before starting GnRH analogues to just before
   starting gender-affirming hormones. The study interpreted the CBCL/YSR with a proportion
   of adolescents who scored in the clinical range (a T-score above 63), which allows changes
   in clinically meaningful scores to be assessed, and proportions of adolescents in the clinical
   range for some CBCL and YSR scores decreased over time. One cross-sectional study
   (Staphorsius et al. 2015) assessed CBCL scores only, but it was unclear if this was the Total
   T score, or whether subscales of internalising or externalising scores were also assessed,
   and whether the results were statistically significant.

   The 2 prospective observational studies (Costa et al. 2015; de Vries et al. 2011) are
   confounded by a number of common factors. Firstly, the single assessment of scores at
   baseline means it is unclear if scores were stable, already improving or declining before
   starting treatment. Secondly, in an uncontrolled study any changes in scores from baseline
   to follow-up could be attributed to a regression-to-mean, for example getting older has been
   positively associated with maturity and wellbeing. The studies use mean and standard
   deviations in the descriptive statistics and analyses; however, they do not report testing the
   normality of data which would support the use of parametric measures. The study by de
   Vries et al. 2011 used general linear models (regression) to examine between and within
   group variances (changes in outcomes). In using such models, the data is assumed to be
   balanced (measured at regular intervals and without missing data), but the large ranges in
   ages at which participants were assessed and started on various interventions suggests that
   ascertainment of outcome was unlikely to be regular and missing data was likely. Missing
   data was handled through listwise deletion (omits those cases with the missing data and
   analyses the remaining data) which is acceptable if data loss is completely random but for
   some outcomes where there was incomplete data for individual items this was not random
   (items were introduced by the authors after the first eligible adolescents had started GnRH
   analogues). The study provided no detail on whether these assumptions for the modeling
   were met, they also provided no adequate assessment of whether any regression
   diagnostics (analysis that seek to assess the validity of a model) or model fit (how much of
   the variance in outcome is explained by the between and within group variance) were
   undertaken.

   The 2 retrospective observational studies (Brik et al. 2020; Khatchadourian et al. 2014) both
   only report absolute numbers for each trajectory along with reasons for stopping GnRH
   analogues. It is difficult to assess outcomes from such single centre studies because there is
   little comparative data for outcomes from other such services. A lack of any critical or other
   important outcomes also means the success of the treatment across all the participants is
   difficult to judge.

   Three uncontrolled, observational, retrospective studies provided evidence relating to the
   effect of GnRH analogues on bone density (Joseph et al. 2019; Klink et al. 2015; Vlot et al.
   2017). In all 3 studies, the participants acted as their own controls and change in bone
   density was determined between starting GnRH analogues and either after 1 and 2 year
   follow-up timepoints (Joseph et al. 2019) or when gender-affirming hormones were started

                                                  42
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 157
                                                             592 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1113
                                    1876


   (Klink et al. 2015 and Vlot et al. 2017). Observational studies such as these can only show
   an association with GnRH analogues and bone density; they cannot show that GnRH
   analogues caused any differences in bone density seen. Because there was no comparator
   group and participants acted as their own controls, it is unclear whether the findings are
   associated with GnRH analogues or due to changes over time. The authors reported z-
   scores which allows for comparison with the expected increase in bone density in the
   general population. However, because no concomitant treatments or comorbidities were
   reported it is possible that the findings may not be because of GnRH analogues and there is
   another way in which the study population differs from the general population.

   All the studies are from a limited number of, mainly European, care facilities. They are
   described as either tertiary referral or expert services but the low number of services
   providing such care and publishing evidence may bias the results towards the outcomes in
   these services only and limit extrapolation.

   The first study (Brik et al. 2020) was an uncontrolled, retrospective, observational study that
   assessed the outcome trajectories of adolescents receiving GnRH analogues for gender
   dysphoria. This study followed-up 143 individuals who had received GnRH analogues (38
   transfemales and 105 transmales) using clinical records to show outcomes for up to 9 years
   (continuing use of GnRH analogues, reasons for stopping GnRH analogues and onward
   care such as gender-affirming hormone use). The methods and results are well reported, but
   no analysis of data was undertaken. The views of adolescents and their parents are
   particularly difficult to interpret because no data on how many responded to each question
   and in what ways are reported.

   The second study (Costa et al. 2015) was an uncontrolled, prospective observational study
   which assessed global functioning in adolescents with gender dysphoria using CGAS every
   6 months, including during the first 6 months where statistically significant improvements
   were seen without GnRH analogues. The study is confounded by significant unexplained
   loss to follow-up (64.7%: from n=201 adolescents to n=71 after 18 months). Missing data for
   those lost to follow-up maybe more than sufficient to change the direction of effects seen in
   the study if the reasons for loss to follow-up are systematic (such as deriving little or no
   benefit from treatment). The study uses clustered data in its analysis, a single outcome
   (CGAS) measured in clusters (at different visits), and the analysis does not take account of
   the correlation of scores (data at different time points are not independent) as a significant
   change in scores early in the study means the successive changes measured against
   baseline were also significant. The study relies on multiple (>20) pairwise independent
   t-tests to examine change in CGAS between the 4 time points, increasing the possibility of
   type-I error (a false positive which occurs when a researcher incorrectly rejects a true null
   hypothesis) because the more tests performed the more likely a statistically significant result
   will be observed by chance alone.

   The Costa et al. 2015 study compares immediately eligible and delayed eligible cohorts,
   however, it is highly likely that they are non-comparable groups because the immediately
   eligible group were those able to start GnRH analogues straight away whilst those in the
   delayed eligible group were either not ready to make a decision about starting treatment (no
   age comparison was made between the 2 groups so it is unclear if they were a younger
   cohort than the immediately eligible group) or had comorbid mental health or psychological
   difficulties. The authors report that those with concomitant problems (such as mental health

                                                 43
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 158
                                                             593 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1114
                                    1877


   problems, substantial problems with peers, or conflicts with parents or siblings) were referred
   to local mental health services but no details are provided.

   The third study (de Vries et al. 2011) was an uncontrolled, prospective observational study
   which assessed gender dysphoria and psychological functioning before and after puberty
   suppression in adolescents with gender dysphoria. Although the study mentions the DSM-
   IV-TR there is no explicit discussion of this, or any other criteria, being used as the
   diagnostic criteria for study entry. There are no details reported for how the outcomes in the
   study were assessed, and by whom. The length of follow-up for the outcomes in the model
   are questionable in relation to whether there was sufficient time for GnRH analogues to have
   a measurable effect. The time points used are start of GnRH analogues and start of gender-
   affirming hormones. Overall, the mean time between starting GnRH analogues and gender-
   affirming hormones was 1.88 (±1.05) years, but the range is as low as just 5 months
   between the 2 time points, which may be insufficient for any difference in outcome to have
   occurred in some individuals.

   The fourth study (Joseph et al. 2019) was a retrospective, longitudinal observational single
   centre study which assessed bone mineral density in adolescents with gender dysphoria in
   the UK. For inclusion in the study, participants had to have been assessed by the Gender
   Identity Development Service multi-disciplinary psychosocial health team for at least 4
   assessments over a minimum of 6 months. No other diagnostic criteria, such as the DSM-IV-
   TR, are discussed. Bone density was assessed using dual energy X-ray absorptiometry
   (DAXA) scan of the lumbar spine (L1-L4) and the femoral neck at baseline (n=70), 1 year
   (n=70) and 2 years after starting GnRH analogues (n=39). The results suggest a possible
   association between GnRH analogues and bone mineral apparent density. However, the
   evidence is of poor quality, and the results could be due to bias or chance. No concomitant
   treatments or comorbidities were reported.

   The fifth study (Khatchadourian et al. 2014) was an uncontrolled retrospective observational
   study which describes patient characteristics at presentation, treatment, and response to
   treatment in 84 adolescents with gender dysphoria, of whom 27 received GnRH analogues.
   The study used clinical records to show outcomes for up to 13 years (continuing use of
   GnRH analogues, reasons for stopping GnRH analogues and onward care such as gender-
   affirming hormone use). The methods are well reported but the results for those taking
   GnRH analogues are poorly and incompletely reported, particularly for transfemales, and no
   analysis of data was undertaken. It is difficult to assess the results for stopping GnRH
   analogues due to incomplete reporting of this outcome.

   The sixth study (Klink et al. 2015) was a retrospective longitudinal observational single
   centre study which assessed bone mineral density in adolescents with gender dysphoria,
   diagnosed with the DSM-IV-TR criteria. Bone density was assessed when starting GnRH
   analogues and then when starting gender-affirming hormones. Results are reported for
   transmales and transfemales separately and no results for the whole cohort are given.
   Statistical analyses were reported for all outcomes of interest but, because there was no
   comparator group and participants acted as their own controls, it is not known whether the
   findings are associated with GnRH analogues or due to changes over time. The authors
   reported z-scores which allows for comparison with the expected increase in bone density in
   the general population. However, because no concomitant treatments or comorbidities were


                                                 44
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 159
                                                             594 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1115
                                    1878


   reported it is possible that the findings may not be because of GnRH analogues and there is
   another way in which the study population differs from the general population.

   The seventh study (Schagen et al. 2016) was a prospective observational study of 116
   adolescents which provided very low certainty non-comparative evidence on change in
   serum creatinine between starting GnRH analogues and 1 year, and liver function during
   treatment. Statistical analyses were reported for changes in serum creatinine but not for liver
   function. Because there was no comparator group and participants acted as their own
   controls, it is not known whether the findings are associated with GnRH analogues or due to
   changes over time, or concomitant treatments.

   The eighth study (Staphorsius et al. 2015) was a cross-sectional study of 85 adolescents, 40
   with gender dysphoria (of whom 20 were receiving GnRH analogues) and 45 matched
   controls (not further reported in this evidence review). The study includes 1 outcome of
   interest for clinical effectiveness (CBCL) and 1 outcome of interest for safety (cognitive
   development or functioning). The mean (±SD) CBCL, IQ test, reaction time and accuracy
   scores were given for each group, but the statistical analysis is unclear. It is not reported
   what analysis was used or which of the groups were compared, therefore it is difficult to
   interpret the results.

   The ninth study (Vlot et al. 2017) was a retrospective observational study which assessed
   bone mineral apparent density in adolescents with DSM-IV-TR gender dysphoria.
   Measurements were taken at the start of GnRH analogues and at the start of gender-affirming
   hormones. Results are reported for young bone age and old bone age in transmales and
   transfemales separately, and no results for the whole cohort are given. Statistical analyses
   were reported for all outcomes of interest but, because there was no comparator group and
   participants acted as their own controls, it is not known whether the findings are associated
   with GnRH analogues or due to changes over time. The authors reported z-scores which
   allows for comparison with the expected increase in bone density in the general population.
   However, because no concomitant treatments or comorbidities were reported it is possible
   that the findings may not be because of GnRH analogues and there is another way in which
   the study population differs from the general population.


   7. Conclusion

   The results of the studies that reported impact on the critical outcomes of gender dysphoria
   and mental health (depression, anger and anxiety), and the important outcomes of body image
   and psychosocial impact (global and psychosocial functioning) in children and adolescents
   with gender dysphoria are of very low certainty using modified GRADE. They suggest little
   change with GnRH analogues from baseline to follow-up.

   Studies that found differences in outcomes could represent changes that are either of
   questionable clinical value, or the studies themselves are not reliable and changes could be
   due to confounding, bias or chance. It is plausible, however, that a lack of difference in scores
   from baseline to follow-up is the effect of GnRH analogues in children and adolescents with
   gender dysphoria, in whom the development of secondary sexual characteristics might be
   expected to be associated with an increased impact on gender dysphoria, depression, anxiety,
   anger and distress over time without treatment. One study reported statistically significant
   reductions in the Child Behaviour Checklist/Youth Self-Report (CBCL/YSR) scores from
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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 160
                                                             595 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1116
                                    1879


   baseline to follow up, and given that the purpose of GnRH analogues is to reduce distress
   caused by the development of secondary sexual characteristics and the CBCL/YSR in part
   measures distress, this could be an important finding. However, as the studies all lack
   reasonable controls not receiving GnRH analogues, the natural history of the outcomes
   measured in the studies is not known and any positive changes could be a regression to mean.

   The results of the studies that reported bone density outcomes suggest that GnRH analogues
   may reduce the increase in bone density which is expected during puberty. However, as the
   studies themselves are not reliable, the results could be due to confounding, bias or chance.
   While controlled trials may not be possible, comparative studies are needed to understand
   this association and whether the effects of GnRH analogues on bone density are seen after
   treatment is stopped. All the studies that reported safety outcomes provided very low certainty
   evidence.

   No cost-effectiveness evidence was found to determine whether or not GnRH analogues are
   cost-effective for children and adolescents with gender dysphoria.

   The results of the studies that reported outcomes for subgroups of children and adolescents
   with gender dysphoria, suggest there may be differences between sex assigned at birth
   males (transfemales) and sex assigned at birth females (transmales).




                                                 46
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 161
                                                             596 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1117
                                    1880


   Appendix A PICO document

   The review questions for this evidence review are:

      1. For children and adolescents with gender dysphoria, what is the clinical effectiveness
         of treatment with GnRH analogues compared with one or a combination of
         psychological support, social transitioning to the desired gender or no intervention?
      2. For children and adolescents with gender dysphoria, what is the short-term and long-
         term safety of GnRH analogues compared with one or a combination of
         psychological support, social transitioning to the desired gender or no intervention?
      3. For children and adolescents with gender dysphoria, what is the cost-effectiveness of
         GnRH analogues compared to one or a combination of psychological support, social
         transitioning to the desired gender or no intervention?
      4. From the evidence selected, are there any subgroups of children and adolescents
         with gender dysphoria that may derive more (or less) advantage from treatment with
         GnRH analogues than the wider population of children and adolescents with gender
         dysphoria?
      5. From the evidence selected,
         a) what are the criteria used by the research studies to define gender dysphoria,
              gender identity disorder and gender incongruence of childhood?
         b) what were the ages at which participants commenced treatment with GnRH
              analogues?
         c) what was the duration of treatment with GnRH analogues?



   PICO table

                               Children and adolescents aged 18 years or less who have gender
                               dysphoria, gender identity disorder or gender incongruence of childhood
                               as defined by study:

                               The following subgroups of children and adolescents with gender
                               dysphoria, gender identity disorder or gender incongruence of childhood
                               need to be considered:
                               • Sex assigned at birth males.
                               • Sex assigned at birth females.
                               • The duration of gender dysphoria: less than 6 months, 6-24 months,
    P – Population and             and more than 24 months.
    Indication                 • The age of onset of gender dysphoria.
                               • The age at which treatment was initiated.
                               • The age of onset of puberty.
                               • Tanner stage at which treatment was initiated.
                               • Children and adolescents with gender dysphoria who have a pre-
                                   existing diagnosis of autistic spectrum disorder.
                               • Children and adolescents with gender dysphoria who had a
                                   significant mental health symptom load at diagnosis including
                                   anxiety, depression (with or without a history of self-harm and
                                   suicidality), suicide attempts, psychosis, personality disorder,
                                   Attention Deficit Hyperactivity Disorder and eating disorders.
                               Any GnRH analogue including: triptorelin*; buserelin; histrelin; goserelin
    I – Intervention           (Zoladex); leuprorelin/leuprolide (Prostap); nafarelin.




                                                  47
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 162
                                                             597 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1118
                                    1881


                          * Triptorelin (brand names Gonapeptyl and Decapeptyl) are used in
                          Leeds Hospital, England. The search should include brand names as well
                          as generic names.
                          One or a combination of:
                          • Psychological support.
    C – Comparator(s)
                          • Social transitioning to the gender with which the individual identifies.
                          • No intervention.
                          There are no known minimal clinically important differences and there are
                          no preferred timepoints for the outcome measures selected.

                          All outcomes should be stratified by:

                              •   The age at which treatment with GnRH analogues was initiated.
                              •   The length of treatment with GnRH analogues where possible.

                          A: Clinical Effectiveness

                          Critical to decision making

                              •   Impact on Gender Dysphoria
                                  This outcome is critical because gender dysphoria in adolescents
                                  and children is associated with significant distress and problems
                                  functioning. Impact on gender dysphoria may be measured by
                                  the Utrecht Gender Dysphoria Scale. Other measures as
                                  reported in studies may be used as an alternative to the stated
                                  measure.

                              •   Impact on mental health
                                  Examples of mental health problems include self-harm, thoughts
                                  of suicide, suicide attempts, eating disorders, depression/low
                                  mood and anxiety. These outcomes are critical because self-
                                  harm and thoughts of suicide have the potential to result in
                                  significant physical harm and for completed suicides the death of
    O – Outcomes                  the young person. Disordered eating habits may cause
                                  significant morbidity in young people. Depression and anxiety are
                                  also critical outcomes because they may impact on social,
                                  occupational, or other areas of functioning of children and
                                  adolescents. The Child and Adolescent Psychiatric Assessment
                                  (CAPA) may be used to measure depression and anxiety. The
                                  impact on self-harm and suicidality (ideation and behaviour) may
                                  be measured using the Suicide Ideation Questionnaire Junior.
                                  Other measures may be used as an alternative to the stated
                                  measures.

                              •   Impact on Quality of Life
                                  This outcome is critical because gender dysphoria in children
                                  and adolescents may be associated with a significant reduction
                                  in health-related quality of life. Quality of Life may be measured
                                  by the KINDL questionnaire, Kidscreen 52. Other measures as
                                  reported in studies may be used as an alternative to the stated
                                  measure.

                          Important to decision making

                              •   Impact on body Image
                                  This outcome is important because some transgender young
                                  people may desire to take steps to suppress features of their
                                  physical appearance associated with their sex assigned at birth
                                  or accentuate physical features of their desired gender. The
                                  Body Image Scale could be used as a measure. Other measures
                                             48
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 163
                                                             598 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1119
                                    1882


                                  as reported in studies may also be used as an alternative to the
                                  stated measure.

                              •   Psychosocial Impact
                                  Examples of psychosocial impact are: coping mechanisms which
                                  may impact on substance misuse; family relationships; peer
                                  relationships. This outcome is important because gender
                                  dysphoria in adolescents and children is associated with
                                  internalising and externalising behaviours and emotional and
                                  behavioural problems which may impact on social and
                                  occupational functioning. The child behavioural check list
                                  (CBCL) may be used to measure the impact on psychosocial
                                  functioning. Other measures as reported in studies may be used
                                  as an alternative to the stated measure.

                              •   Engagement with health care services
                                  This outcome is important because patient engagement with
                                  healthcare services will impact on their clinical outcomes.
                                  Engagement with health care services may be measured using
                                  the Youth Health Care measure-satisfaction, utilization, and
                                  needs (YHC-SUN) questionnaire. Loss to follow up should also
                                  be ascertained as part of this outcome. Alternative measures to
                                  the YHC-SUN questionnaire may be used as reported in studies.

                              •   Transitioning surgery – Impact on extent of and satisfaction
                                  with surgery
                                  This outcome is important because some children and
                                  adolescents with gender dysphoria may proceed to transitioning
                                  surgery. Stated measures of the extent of transitioning surgery
                                  and satisfaction with surgery in studies may be reported.

                              •   Stopping treatment
                                  The proportion of patients who stop treatment with GnRH
                                  analogues and the reasons why. This outcome is important to
                                  patients because there is uncertainty about the short- and long-
                                  term safety and adverse effects of GnRH analogues in children
                                  and adolescents being treated for gender dysphoria.

                          B: Safety
                              • Short and long-term safety and adverse effects of taking GnRH
                                  analogues are important because GnRH analogues are not
                                  licensed for the treatment of adolescents and children with
                                  gender dysphoria. Aspects to be reported on should include:
                                       o Impact of the drug use such as its impact on bone
                                          density, arterial hypertension, cognitive
                                          development/functioning
                                       o Impact of withdrawing the drug such as, slipped upper
                                          femoral epiphysis, reversibility on the reproductive
                                          system, and any others as reported.

                          C: Cost effectiveness

                          Cost effectiveness studies should be reported.

    Inclusion criteria

                          Systematic reviews, randomised controlled trials, controlled clinical trials,
                          cohort studies.
    Study design
                          If no higher level quality evidence is found, case series can be
                          considered.

                                             49
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 164
                                                             599 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1120
                                    1883


    Language                    English only

    Patients                    Human studies only

    Age                         18 years or less

    Date limits                 2000-2020

    Exclusion criteria

                                Conference abstracts, non-systematic reviews, narrative reviews,
    Publication type
                                commentaries, letters, editorials, guidelines and pre-publication prints

    Study design                Case reports, resource utilisation studies



   Appendix B Search strategy

   Medline, Embase, the Cochrane Library, HTA and APA PsycInfo were searched on 23 July
   2020, limiting the search to papers published in English language in the last 20 years.
   Conference abstracts and letters were excluded.

   Database: Medline
   Platform: Ovid
   Version: Ovid MEDLINE(R) <1946 to July 21, 2020>
   Search date: 23/7/2020
   Number of results retrieved: 144
   Search strategy:

   1 Gender Dysphoria/ (485)
   2 Gender Identity/ (18452)
   3 "Sexual and Gender Disorders"/ (75)
   4 Transsexualism/ (3758)
   5 Transgender Persons/ (3143)
   6 Health Services for Transgender Persons/ (136)
   7 exp Sex Reassignment Procedures/ (836)
   8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*)).tw. (7435)
   9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (12678)
   10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (102343)
   11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (6974)
   12 (male-to-female or m2f or female-to-male or f2m).tw. (114841)
   13 or/1-12 (252702)
   14 exp Infant/ or Infant Health/ or Infant Welfare/ (1137479)
   15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (852400)
   16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1913257)
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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 165
                                                             600 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1121
                                    1884


   17 Minors/ (2574)
   18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (2361686)
   19 exp pediatrics/ (58118)
   20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (836269)
   21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2024207)
   22 Puberty/ (13278)
   23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (424246)
   24 Schools/ (38104)
   25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (7199)
   26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (468992)
   27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (89353)
   28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (887838)
   29 or/14-28 (5534171)
   30 13 and 29 (79263)
   31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (7)
   32 30 or 31 (79263)
   33 Gonadotropin-Releasing Hormone/ (27588)
   34 (pubert* adj3 block*).ti,ab. (78)
   35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (17299)
   36 (GnRH adj2 analog*).ti,ab. (2541)
   37 GnRH*.ti,ab. (20991)
   38 "GnRH agonist*".ti,ab. (4040)
   39 Triptorelin Pamoate/ (1906)
   40 triptorelin.ti,ab. (677)
   41 arvekap.ti,ab. (1)
   42 ("AY 25650" or AY25650).ti,ab. (1)
   43 ("BIM 21003" or BIM21003).ti,ab. (0)
   44 ("BN 52014" or BN52014).ti,ab. (0)
   45 ("CL 118532" or CL118532).ti,ab. (0)
   46 Debio.ti,ab. (83)
   47 diphereline.ti,ab. (17)
   48 moapar.ti,ab. (0)
   49 pamorelin.ti,ab. (0)
   50 trelstar.ti,ab. (3)
   51 triptodur.ti,ab. (1)
   52 ("WY 42422" or WY42422).ti,ab. (0)
   53 ("WY 42462" or WY42462).ti,ab. (0)
   54 gonapeptyl.ti,ab. (0)
   55 decapeptyl.ti,ab. (210)
   56 salvacyl.ti,ab. (0)
   57 Buserelin/ (2119)
   58 buserelin.ti,ab. (1304)
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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 166
                                                             601 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1122
                                    1885


   59    bigonist.ti,ab. (0)
   60    ("hoe 766" or hoe-766 or hoe766).ti,ab. (69)
   61    profact.ti,ab. (2)
   62    receptal.ti,ab. (30)
   63    suprecur.ti,ab. (4)
   64    suprefact.ti,ab. (22)
   65    tiloryth.ti,ab. (0)
   66    histrelin.ti,ab. (55)
   67    "LHRH-hydrogel implant".ti,ab. (1)
   68    ("RL 0903" or RL0903).ti,ab. (1)
   69    ("SPD 424" or SPD424).ti,ab. (1)
   70    goserelin.ti,ab. (875)
   71    Goserelin/ (1612)
   72    ("ici 118630" or ici118630).ti,ab. (51)
   73    ("ZD-9393" or ZD9393).ti,ab. (0)
   74    zoladex.ti,ab. (379)
   75    leuprorelin.ti,ab. (413)
   76    carcinil.ti,ab. (0)
   77    enanton*.ti,ab. (23)
   78    ginecrin.ti,ab. (0)
   79    leuplin.ti,ab. (13)
   80    Leuprolide/ (2900)
   81    leuprolide.ti,ab. (1743)
   82    lucrin.ti,ab. (11)
   83    lupron.ti,ab. (162)
   84    provren.ti,ab. (0)
   85    procrin.ti,ab. (3)
   86    ("tap 144" or tap144).ti,ab. (40)
   87    (a-43818 or a43818).ti,ab. (3)
   88    Trenantone.ti,ab. (1)
   89    staladex.ti,ab. (0)
   90    prostap.ti,ab. (6)
   91    Nafarelin/ (327)
   92    nafarelin.ti,ab. (251)
   93    ("76932-56-4" or "76932564").ti,ab. (0)
   94    ("76932-60-0" or "76932600").ti,ab. (0)
   95    ("86220-42-0" or "86220420").ti,ab. (0)
   96    ("rs 94991 298" or rs94991298).ti,ab. (0)
   97    synarel.ti,ab. (12)
   98    deslorelin.ti,ab. (263)
   99    gonadorelin.ti,ab. (201)
   100     ("33515-09-2" or "33515092").ti,ab. (0)
   101     ("51952-41-1" or "51952411").ti,ab. (0)
   102     ("52699-48-6" or "52699486").ti,ab. (0)
   103     cetrorelix.ti,ab. (463)
   104     cetrotide.ti,ab. (41)
   105     ("NS 75A" or NS75A).ti,ab. (0)
   106     ("NS 75B" or NS75B).ti,ab. (0)
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Case 1:22-cv-01075-JMS-MKK
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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 167
                                                             602 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1123
                                    1886


   107      ("SB 075" or SB075).ti,ab. (0)
   108      ("SB 75" or SB75).ti,ab. (63)
   109      gonadoliberin.ti,ab. (143)
   110      kryptocur.ti,ab. (6)
   111      cetrorelix.ti,ab. (463)
   112      cetrotide.ti,ab. (41)
   113      antagon.ti,ab. (17)
   114      ganirelix.ti,ab. (138)
   115      ("ORG 37462" or ORG37462).ti,ab. (3)
   116      orgalutran.ti,ab. (20)
   117      ("RS 26306" or RS26306).ti,ab. (5)
   118      ("AY 24031" or AY24031).ti,ab. (0)
   119      factrel.ti,ab. (11)
   120      fertagyl.ti,ab. (11)
   121      lutrelef.ti,ab. (5)
   122      lutrepulse.ti,ab. (3)
   123      relefact.ti,ab. (10)
   124      fertiral.ti,ab. (0)
   125      (hoe471 or "hoe 471").ti,ab. (6)
   126      relisorm.ti,ab. (4)
   127      cystorelin.ti,ab. (18)
   128      dirigestran.ti,ab. (5)
   129      or/33-128 (42216)
   130      32 and 129 (416)
   131      limit 130 to english language (393)
   132      limit 131 to (letter or historical article or comment or editorial or news or case reports)
   (36)
   133      131 not 132 (357)
   134      animals/ not humans/ (4686361)
   135      133 not 134 (181)
   136      limit 135 to yr="2000 -Current" (144)

   Database: Medline in-process
   Platform: Ovid
   Version: Ovid MEDLINE(R) In-Process & Other Non-Indexed Citations <1946 to July 21,
   2020>
   Search date: 23/7/2020
   Number of results retrieved:
   Search strategy: 42

   1      Gender Dysphoria/ (0)
   2      Gender Identity/ (0)
   3      "Sexual and Gender Disorders"/ (0)
   4      Transsexualism/ (0)
   5      Transgender Persons/ (0)
   6      Health Services for Transgender Persons/ (0)
   7      exp Sex Reassignment Procedures/ (0)


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Case
Case 1:22-cv-01075-JMS-MKK
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                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 168
                                                             603 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1124
                                    1887


   8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*)).tw. (1645)
   9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (2333)
   10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (20884)
   11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (968)
   12 (male-to-female or m2f or female-to-male or f2m).tw. (15513)
   13 or/1-12 (39905)
   14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
   15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (80723)
   16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
   17 Minors/ (0)
   18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (321871)
   19 exp pediatrics/ (0)
   20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (119783)
   21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
   22 Puberty/ (0)
   23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (60264)
   24 Schools/ (0)
   25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
   26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (69233)
   27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (10319)
   28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (112800)
   29 or/14-28 (525529)
   30 13 and 29 (9196)
   31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (3)
   32 30 or 31 (9197)
   33 Gonadotropin-Releasing Hormone/ (0)
   34 (pubert* adj3 block*).ti,ab. (19)
   35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (1425)
   36 (GnRH adj2 analog*).ti,ab. (183)
   37 GnRH*.ti,ab. (1695)
   38 "GnRH agonist*".ti,ab. (379)
   39 Triptorelin Pamoate/ (0)
   40 triptorelin.ti,ab. (72)
   41 arvekap.ti,ab. (0)
   42 ("AY 25650" or AY25650).ti,ab. (0)
   43 ("BIM 21003" or BIM21003).ti,ab. (0)
   44 ("BN 52014" or BN52014).ti,ab. (0)
   45 ("CL 118532" or CL118532).ti,ab. (0)
                                                   54
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 169
                                                             604 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1125
                                    1888


   46   Debio.ti,ab. (11)
   47   diphereline.ti,ab. (6)
   48   moapar.ti,ab. (0)
   49   pamorelin.ti,ab. (0)
   50   trelstar.ti,ab. (0)
   51   triptodur.ti,ab. (0)
   52   ("WY 42422" or WY42422).ti,ab. (0)
   53   ("WY 42462" or WY42462).ti,ab. (0)
   54   gonapeptyl.ti,ab. (0)
   55   decapeptyl.ti,ab. (8)
   56   salvacyl.ti,ab. (0)
   57   Buserelin/ (0)
   58   buserelin.ti,ab. (59)
   59   bigonist.ti,ab. (0)
   60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (3)
   61   profact.ti,ab. (0)
   62   receptal.ti,ab. (0)
   63   suprecur.ti,ab. (1)
   64   suprefact.ti,ab. (2)
   65   tiloryth.ti,ab. (0)
   66   histrelin.ti,ab. (9)
   67   "LHRH-hydrogel implant".ti,ab. (0)
   68   ("RL 0903" or RL0903).ti,ab. (0)
   69   ("SPD 424" or SPD424).ti,ab. (0)
   70   goserelin.ti,ab. (68)
   71   Goserelin/ (0)
   72   ("ici 118630" or ici118630).ti,ab. (0)
   73   ("ZD-9393" or ZD9393).ti,ab. (0)
   74   zoladex.ti,ab. (6)
   75   leuprorelin.ti,ab. (47)
   76   carcinil.ti,ab. (0)
   77   enanton*.ti,ab. (1)
   78   ginecrin.ti,ab. (0)
   79   leuplin.ti,ab. (1)
   80   Leuprolide/ (0)
   81   leuprolide.ti,ab. (121)
   82   lucrin.ti,ab. (4)
   83   lupron.ti,ab. (10)
   84   provren.ti,ab. (0)
   85   procrin.ti,ab. (0)
   86   ("tap 144" or tap144).ti,ab. (0)
   87   (a-43818 or a43818).ti,ab. (0)
   88   Trenantone.ti,ab. (1)
   89   staladex.ti,ab. (0)
   90   prostap.ti,ab. (0)
   91   Nafarelin/ (0)
   92   nafarelin.ti,ab. (5)
   93   ("76932-56-4" or "76932564").ti,ab. (0)
                                               55
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 170
                                                             605 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1126
                                    1889


   94     ("76932-60-0" or "76932600").ti,ab. (0)
   95     ("86220-42-0" or "86220420").ti,ab. (0)
   96     ("rs 94991 298" or rs94991298).ti,ab. (0)
   97     synarel.ti,ab. (0)
   98     deslorelin.ti,ab. (14)
   99     gonadorelin.ti,ab. (13)
   100      ("33515-09-2" or "33515092").ti,ab. (0)
   101      ("51952-41-1" or "51952411").ti,ab. (0)
   102      ("52699-48-6" or "52699486").ti,ab. (0)
   103      cetrorelix.ti,ab. (31)
   104      cetrotide.ti,ab. (5)
   105      ("NS 75A" or NS75A).ti,ab. (0)
   106      ("NS 75B" or NS75B).ti,ab. (0)
   107      ("SB 075" or SB075).ti,ab. (0)
   108      ("SB 75" or SB75).ti,ab. (2)
   109      gonadoliberin.ti,ab. (4)
   110      kryptocur.ti,ab. (1)
   111      cetrorelix.ti,ab. (31)
   112      cetrotide.ti,ab. (5)
   113      antagon.ti,ab. (0)
   114      ganirelix.ti,ab. (8)
   115      ("ORG 37462" or ORG37462).ti,ab. (0)
   116      orgalutran.ti,ab. (3)
   117      ("RS 26306" or RS26306).ti,ab. (0)
   118      ("AY 24031" or AY24031).ti,ab. (0)
   119      factrel.ti,ab. (2)
   120      fertagyl.ti,ab. (1)
   121      lutrelef.ti,ab. (0)
   122      lutrepulse.ti,ab. (0)
   123      relefact.ti,ab. (0)
   124      fertiral.ti,ab. (0)
   125      (hoe471 or "hoe 471").ti,ab. (0)
   126      relisorm.ti,ab. (0)
   127      cystorelin.ti,ab. (1)
   128      dirigestran.ti,ab. (0)
   129      or/33-128 (2332)
   130      32 and 129 (45)
   131      limit 130 to english language (45)
   132      limit 131 to yr="2000 -Current" (42)

   Database: Medline epubs ahead of print
   Platform: Ovid
   Version: Ovid MEDLINE(R) Epub Ahead of Print <July 21, 2020>
   Search date: 23/7/2020
   Number of results retrieved: 8
   Search strategy:

   1     Gender Dysphoria/ (0)
                                                 56
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 171
                                                             606 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1127
                                    1890


   2 Gender Identity/ (0)
   3 "Sexual and Gender Disorders"/ (0)
   4 Transsexualism/ (0)
   5 Transgender Persons/ (0)
   6 Health Services for Transgender Persons/ (0)
   7 exp Sex Reassignment Procedures/ (0)
   8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*)).tw. (486)
   9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (640)
   10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (1505)
   11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (178)
   12 (male-to-female or m2f or female-to-male or f2m).tw. (2480)
   13 or/1-12 (4929)
   14 exp Infant/ or Infant Health/ or Infant Welfare/ (0)
   15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (15496)
   16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (0)
   17 Minors/ (0)
   18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (53563)
   19 exp pediatrics/ (0)
   20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (22796)
   21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (0)
   22 Puberty/ (0)
   23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (13087)
   24 Schools/ (0)
   25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (0)
   26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (12443)
   27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (1416)
   28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (20166)
   29 or/14-28 (88366)
   30 13 and 29 (1638)
   31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (1)
   32 30 or 31 (1638)
   33 Gonadotropin-Releasing Hormone/ (0)
   34 (pubert* adj3 block*).ti,ab. (2)
   35 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (176)
   36 (GnRH adj2 analog*).ti,ab. (30)
   37 GnRH*.ti,ab. (223)
   38 "GnRH agonist*".ti,ab. (49)
   39 Triptorelin Pamoate/ (0)
                                                   57
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 172
                                                             607 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1128
                                    1891


   40   triptorelin.ti,ab. (12)
   41   arvekap.ti,ab. (0)
   42   ("AY 25650" or AY25650).ti,ab. (0)
   43   ("BIM 21003" or BIM21003).ti,ab. (0)
   44   ("BN 52014" or BN52014).ti,ab. (0)
   45   ("CL 118532" or CL118532).ti,ab. (0)
   46   Debio.ti,ab. (2)
   47   diphereline.ti,ab. (1)
   48   moapar.ti,ab. (0)
   49   pamorelin.ti,ab. (0)
   50   trelstar.ti,ab. (0)
   51   triptodur.ti,ab. (0)
   52   ("WY 42422" or WY42422).ti,ab. (0)
   53   ("WY 42462" or WY42462).ti,ab. (0)
   54   gonapeptyl.ti,ab. (0)
   55   decapeptyl.ti,ab. (0)
   56   salvacyl.ti,ab. (0)
   57   Buserelin/ (0)
   58   buserelin.ti,ab. (7)
   59   bigonist.ti,ab. (0)
   60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
   61   profact.ti,ab. (0)
   62   receptal.ti,ab. (0)
   63   suprecur.ti,ab. (0)
   64   suprefact.ti,ab. (1)
   65   tiloryth.ti,ab. (0)
   66   histrelin.ti,ab. (2)
   67   "LHRH-hydrogel implant".ti,ab. (0)
   68   ("RL 0903" or RL0903).ti,ab. (0)
   69   ("SPD 424" or SPD424).ti,ab. (0)
   70   goserelin.ti,ab. (11)
   71   Goserelin/ (0)
   72   ("ici 118630" or ici118630).ti,ab. (0)
   73   ("ZD-9393" or ZD9393).ti,ab. (0)
   74   zoladex.ti,ab. (1)
   75   leuprorelin.ti,ab. (13)
   76   carcinil.ti,ab. (0)
   77   enanton*.ti,ab. (1)
   78   ginecrin.ti,ab. (0)
   79   leuplin.ti,ab. (0)
   80   Leuprolide/ (0)
   81   leuprolide.ti,ab. (22)
   82   lucrin.ti,ab. (0)
   83   lupron.ti,ab. (2)
   84   provren.ti,ab. (0)
   85   procrin.ti,ab. (0)
   86   ("tap 144" or tap144).ti,ab. (1)
   87   (a-43818 or a43818).ti,ab. (0)
                                               58
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 173
                                                             608 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1129
                                    1892


   88    Trenantone.ti,ab. (0)
   89    staladex.ti,ab. (0)
   90    prostap.ti,ab. (0)
   91    Nafarelin/ (0)
   92    nafarelin.ti,ab. (4)
   93    ("76932-56-4" or "76932564").ti,ab. (0)
   94    ("76932-60-0" or "76932600").ti,ab. (0)
   95    ("86220-42-0" or "86220420").ti,ab. (0)
   96    ("rs 94991 298" or rs94991298).ti,ab. (0)
   97    synarel.ti,ab. (0)
   98    deslorelin.ti,ab. (3)
   99    gonadorelin.ti,ab. (3)
   100     ("33515-09-2" or "33515092").ti,ab. (0)
   101     ("51952-41-1" or "51952411").ti,ab. (0)
   102     ("52699-48-6" or "52699486").ti,ab. (0)
   103     cetrorelix.ti,ab. (6)
   104     cetrotide.ti,ab. (2)
   105     ("NS 75A" or NS75A).ti,ab. (0)
   106     ("NS 75B" or NS75B).ti,ab. (0)
   107     ("SB 075" or SB075).ti,ab. (0)
   108     ("SB 75" or SB75).ti,ab. (0)
   109     gonadoliberin.ti,ab. (0)
   110     kryptocur.ti,ab. (0)
   111     cetrorelix.ti,ab. (6)
   112     cetrotide.ti,ab. (2)
   113     antagon.ti,ab. (1)
   114     ganirelix.ti,ab. (1)
   115     ("ORG 37462" or ORG37462).ti,ab. (0)
   116     orgalutran.ti,ab. (0)
   117     ("RS 26306" or RS26306).ti,ab. (0)
   118     ("AY 24031" or AY24031).ti,ab. (0)
   119     factrel.ti,ab. (0)
   120     fertagyl.ti,ab. (0)
   121     lutrelef.ti,ab. (0)
   122     lutrepulse.ti,ab. (0)
   123     relefact.ti,ab. (0)
   124     fertiral.ti,ab. (0)
   125     (hoe471 or "hoe 471").ti,ab. (0)
   126     relisorm.ti,ab. (0)
   127     cystorelin.ti,ab. (0)
   128     dirigestran.ti,ab. (0)
   129     or/33-128 (310)
   130     32 and 129 (8)
   131     limit 130 to english language (8)
   132     limit 131 to yr="2000 -Current" (8)

   Database: Medline daily update
   Platform: Ovid
                                                 59
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 174
                                                             609 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1130
                                    1893


   Version: Ovid MEDLINE(R) Daily Update <July 21, 2020>
   Search date: 23/7/2020
   Number of results retrieved: 1
   Search strategy

   1 Gender Dysphoria/ (4)
   2 Gender Identity/ (38)
   3 "Sexual and Gender Disorders"/ (0)
   4 Transsexualism/ (2)
   5 Transgender Persons/ (26)
   6 Health Services for Transgender Persons/ (1)
   7 exp Sex Reassignment Procedures/ (3)
   8     (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*)).tw. (24)
   9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (39)
   10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (87)
   11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (15)
   12 (male-to-female or m2f or female-to-male or f2m).tw. (181)
   13 or/1-12 (358)
   14 exp Infant/ or Infant Health/ or Infant Welfare/ (932)
   15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (981)
   16 exp Child/ or exp Child Behavior/ or Child Health/ or Child Welfare/ (1756)
   17 Minors/ (3)
   18 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3672)
   19 exp pediatrics/ (75)
   20 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1658)
   21 Adolescent/ or Adolescent Behavior/ or Adolescent Health/ (2006)
   22 Puberty/ (8)
   23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (732)
   24 Schools/ (56)
   25 Child Day Care Centers/ or exp Nurseries/ or Schools, Nursery/ (5)
   26 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (622)
   27 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (98)
   28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (1301)
   29 or/14-28 (6705)
   30 13 and 29 (130)
   31 (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw. (0)
   32 30 or 31 (130)
   33 Gonadotropin-Releasing Hormone/ (11)
                                                   60
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 175
                                                             610 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1131
                                    1894


   34   (pubert* adj3 block*).ti,ab. (0)
   35   ((gonadotrophin or gonadotropin) and releasing).ti,ab. (10)
   36   (GnRH adj2 analog*).ti,ab. (2)
   37   GnRH*.ti,ab. (14)
   38   "GnRH agonist*".ti,ab. (4)
   39   Triptorelin Pamoate/ (1)
   40   triptorelin.ti,ab. (1)
   41   arvekap.ti,ab. (0)
   42   ("AY 25650" or AY25650).ti,ab. (0)
   43   ("BIM 21003" or BIM21003).ti,ab. (0)
   44   ("BN 52014" or BN52014).ti,ab. (0)
   45   ("CL 118532" or CL118532).ti,ab. (0)
   46   Debio.ti,ab. (1)
   47   diphereline.ti,ab. (0)
   48   moapar.ti,ab. (0)
   49   pamorelin.ti,ab. (0)
   50   trelstar.ti,ab. (0)
   51   triptodur.ti,ab. (0)
   52   ("WY 42422" or WY42422).ti,ab. (0)
   53   ("WY 42462" or WY42462).ti,ab. (0)
   54   gonapeptyl.ti,ab. (0)
   55   decapeptyl.ti,ab. (0)
   56   salvacyl.ti,ab. (0)
   57   Buserelin/ (0)
   58   buserelin.ti,ab. (0)
   59   bigonist.ti,ab. (0)
   60   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
   61   profact.ti,ab. (0)
   62   receptal.ti,ab. (0)
   63   suprecur.ti,ab. (0)
   64   suprefact.ti,ab. (0)
   65   tiloryth.ti,ab. (0)
   66   histrelin.ti,ab. (0)
   67   "LHRH-hydrogel implant".ti,ab. (0)
   68   ("RL 0903" or RL0903).ti,ab. (0)
   69   ("SPD 424" or SPD424).ti,ab. (0)
   70   goserelin.ti,ab. (1)
   71   Goserelin/ (2)
   72   ("ici 118630" or ici118630).ti,ab. (0)
   73   ("ZD-9393" or ZD9393).ti,ab. (0)
   74   zoladex.ti,ab. (0)
   75   leuprorelin.ti,ab. (0)
   76   carcinil.ti,ab. (0)
   77   enanton*.ti,ab. (0)
   78   ginecrin.ti,ab. (0)
   79   leuplin.ti,ab. (0)
   80   Leuprolide/ (0)
   81   leuprolide.ti,ab. (0)
                                               61
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 176
                                                             611 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1132
                                    1895


   82    lucrin.ti,ab. (0)
   83    lupron.ti,ab. (0)
   84    provren.ti,ab. (0)
   85    procrin.ti,ab. (0)
   86    ("tap 144" or tap144).ti,ab. (0)
   87    (a-43818 or a43818).ti,ab. (0)
   88    Trenantone.ti,ab. (0)
   89    staladex.ti,ab. (0)
   90    prostap.ti,ab. (0)
   91    Nafarelin/ (0)
   92    nafarelin.ti,ab. (0)
   93    ("76932-56-4" or "76932564").ti,ab. (0)
   94    ("76932-60-0" or "76932600").ti,ab. (0)
   95    ("86220-42-0" or "86220420").ti,ab. (0)
   96    ("rs 94991 298" or rs94991298).ti,ab. (0)
   97    synarel.ti,ab. (0)
   98    deslorelin.ti,ab. (0)
   99    gonadorelin.ti,ab. (0)
   100     ("33515-09-2" or "33515092").ti,ab. (0)
   101     ("51952-41-1" or "51952411").ti,ab. (0)
   102     ("52699-48-6" or "52699486").ti,ab. (0)
   103     cetrorelix.ti,ab. (0)
   104     cetrotide.ti,ab. (0)
   105     ("NS 75A" or NS75A).ti,ab. (0)
   106     ("NS 75B" or NS75B).ti,ab. (0)
   107     ("SB 075" or SB075).ti,ab. (0)
   108     ("SB 75" or SB75).ti,ab. (0)
   109     gonadoliberin.ti,ab. (0)
   110     kryptocur.ti,ab. (0)
   111     cetrorelix.ti,ab. (0)
   112     cetrotide.ti,ab. (0)
   113     antagon.ti,ab. (0)
   114     ganirelix.ti,ab. (0)
   115     ("ORG 37462" or ORG37462).ti,ab. (0)
   116     orgalutran.ti,ab. (0)
   117     ("RS 26306" or RS26306).ti,ab. (0)
   118     ("AY 24031" or AY24031).ti,ab. (0)
   119     factrel.ti,ab. (0)
   120     fertagyl.ti,ab. (0)
   121     lutrelef.ti,ab. (0)
   122     lutrepulse.ti,ab. (0)
   123     relefact.ti,ab. (0)
   124     fertiral.ti,ab. (0)
   125     (hoe471 or "hoe 471").ti,ab. (0)
   126     relisorm.ti,ab. (0)
   127     cystorelin.ti,ab. (0)
   128     dirigestran.ti,ab. (0)
   129     or/33-128 (23)
                                                 62
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 177
                                                             612 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1133
                                    1896


   130    32 and 129 (1)
   131    limit 130 to english language (1)
   132    limit 131 to yr="2000 -Current" (1)

   Database: Embase
   Platform: Ovid
   Version: Embase <1974 to 2020 July 22>
   Search date: 23/7/2020
   Number of results retrieved: 367
   Search strategy:

   1 exp Gender Dysphoria/ (5399)
   2 Gender Identity/ (16820)
   3 "Sexual and Gender Disorders"/ (24689)
   4 Transsexualism/ (3869)
   5 exp Transgender/ (6597)
   6 Health Services for Transgender Persons/ (158848)
   7 exp Sex Reassignment Procedures/ or sex transformation/ (3058)
   8 (gender* adj3 (dysphori* or affirm* or incongru* or identi* or disorder* or confus* or minorit*
   or queer*)).tw. (13005)
   9 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (22509)
   10 (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (154446)
   11 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (10327)
   12 (male-to-female or m2f or female-to-male or f2m).tw. (200166)
   13 or/1-12 (582812)
   14     exp juvenile/ or Child Behavior/ or Child Welfare/ or Child Health/ or infant welfare/ or
   "minor (person)"/ or elementary student/ (3437324)
   15 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (1186161)
   16 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (3586795)
   17 exp pediatrics/ (106214)
   18 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (1491597)
   19       exp adolescence/ or exp adolescent behavior/ or adolescent health/ or high school
   student/ or middle school student/ (105108)
   20     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (641660)
   21     school/ or high school/ or kindergarten/ or middle school/ or primary school/ or nursery
   school/ or day care/ (103791)
   22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (687437)
   23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (138908)
   24     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (1562903)
                                                   63
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 178
                                                             613 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1134
                                    1897


   25     or/14-24 (7130881)
   26     13 and 25 (182161)
   27      (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
   (17)
   28     26 or 27 (182161)
   29     gonadorelin/ (37580)
   30     (pubert* adj3 block*).ti,ab. (142)
   31     ((gonadotrophin or gonadotropin) and releasing).ti,ab. (21450)
   32     (GnRH adj2 analog*).ti,ab. (4013)
   33     GnRH*.ti,ab. (29862)
   34     "GnRH agonist*".ti,ab. (6719)
   35     exp gonadorelin agonist/ or gonadorelin derivative/ or gonadorelin acetate/ (23304)
   36     Triptorelin/ (5427)
   37     triptorelin.ti,ab. (1182)
   38     arvekap.ti,ab. (3)
   39     ("AY 25650" or AY25650).ti,ab. (1)
   40     ("BIM 21003" or BIM21003).ti,ab. (0)
   41     ("BN 52014" or BN52014).ti,ab. (0)
   42     ("CL 118532" or CL118532).ti,ab. (0)
   43     Debio.ti,ab. (185)
   44     diphereline.ti,ab. (51)
   45     moapar.ti,ab. (0)
   46     pamorelin.ti,ab. (0)
   47     trelstar.ti,ab. (5)
   48     triptodur.ti,ab. (1)
   49     ("WY 42422" or WY42422).ti,ab. (0)
   50     ("WY 42462" or WY42462).ti,ab. (0)
   51     gonapeptyl.ti,ab. (10)
   52     decapeptyl.ti,ab. (307)
   53     salvacyl.ti,ab. (1)
   54     buserelin acetate/ or buserelin/ (5164)
   55     buserelin.ti,ab. (1604)
   56     bigonist.ti,ab. (1)
   57     ("hoe 766" or hoe-766 or hoe766).ti,ab. (89)
   58     profact.ti,ab. (4)
   59     receptal.ti,ab. (37)
   60     suprecur.ti,ab. (8)
   61     suprefact.ti,ab. (30)
   62     tiloryth.ti,ab. (0)
   63     histrelin/ (446)
   64     histrelin.ti,ab. (107)
   65     "LHRH-hydrogel implant".ti,ab. (1)
   66     ("RL 0903" or RL0903).ti,ab. (1)
   67     ("SPD 424" or SPD424).ti,ab. (1)
   68     goserelin.ti,ab. (1487)
   69     Goserelin/ (7128)
   70     ("ici 118630" or ici118630).ti,ab. (49)
   71     ("ZD-9393" or ZD9393).ti,ab. (0)
                                                  64
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 179
                                                             614 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1135
                                    1898


   72    zoladex.ti,ab. (501)
   73    leuprorelin/ (11312)
   74    leuprorelin.ti,ab. (727)
   75    carcinil.ti,ab. (0)
   76    enanton*.ti,ab. (38)
   77    ginecrin.ti,ab. (1)
   78    leuplin.ti,ab. (26)
   79    leuprolide.ti,ab. (2788)
   80    lucrin.ti,ab. (47)
   81    lupron.ti,ab. (361)
   82    provren.ti,ab. (0)
   83    procrin.ti,ab. (11)
   84    ("tap 144" or tap144).ti,ab. (63)
   85    (a-43818 or a43818).ti,ab. (3)
   86    Trenantone.ti,ab. (7)
   87    staladex.ti,ab. (0)
   88    prostap.ti,ab. (11)
   89    nafarelin acetate/ or nafarelin/ (1441)
   90    nafarelin.ti,ab. (324)
   91    ("76932-56-4" or "76932564").ti,ab. (0)
   92    ("76932-60-0" or "76932600").ti,ab. (0)
   93    ("86220-42-0" or "86220420").ti,ab. (0)
   94    ("rs 94991 298" or rs94991298).ti,ab. (0)
   95    synarel.ti,ab. (28)
   96    deslorelin/ (452)
   97    deslorelin.ti,ab. (324)
   98    gonadorelin.ti,ab. (338)
   99    ("33515-09-2" or "33515092").ti,ab. (0)
   100     ("51952-41-1" or "51952411").ti,ab. (0)
   101     ("52699-48-6" or "52699486").ti,ab. (0)
   102     cetrorelix/ (2278)
   103     cetrorelix.ti,ab. (717)
   104     cetrotide.ti,ab. (113)
   105     ("NS 75A" or NS75A).ti,ab. (0)
   106     ("NS 75B" or NS75B).ti,ab. (0)
   107     ("SB 075" or SB075).ti,ab. (1)
   108     ("SB 75" or SB75).ti,ab. (76)
   109     gonadoliberin.ti,ab. (152)
   110     kryptocur.ti,ab. (6)
   111     cetrorelix.ti,ab. (717)
   112     cetrotide.ti,ab. (113)
   113     antagon.ti,ab. (32)
   114     ganirelix/ (1284)
   115     ganirelix.ti,ab. (293)
   116     ("ORG 37462" or ORG37462).ti,ab. (4)
   117     orgalutran/ (1284)
   118     orgalutran.ti,ab. (68)
   119     ("RS 26306" or RS26306).ti,ab. (6)
                                                 65
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 180
                                                             615 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1136
                                    1899


   120 ("AY 24031" or AY24031).ti,ab. (0)
   121 factrel.ti,ab. (14)
   122 fertagyl.ti,ab. (20)
   123 lutrelef.ti,ab. (7)
   124 lutrepulse.ti,ab. (6)
   125 relefact.ti,ab. (10)
   126 fertiral.ti,ab. (0)
   127 (hoe471 or "hoe 471").ti,ab. (4)
   128 relisorm.ti,ab. (6)
   129 cystorelin.ti,ab. (26)
   130 dirigestran.ti,ab. (5)
   131 or/29-130 (80790)
   132 28 and 131 (988)
   133 limit 132 to english language (940)
   134 133 not (letter or editorial).pt. (924)
   135      134 not (conference abstract or conference paper or conference proceeding or
   "conference review").pt. (683)
   136 nonhuman/ not (human/ and nonhuman/) (4649157)
   137 135 not 136 (506)
   138 limit 137 to yr="2000 -Current" (420)
   139 elsevier.cr. (25912990)
   140 138 and 139 (372)
   141 remove duplicates from 140 (367)

   Database: Cochrane Library – incorporating Cochrane Database of Systematic Reviews
   (CDSR); CENTRAL
   Platform: Wiley
   Version:
          CDSR – Issue 7 of 12, July 2020
          CENTRAL – Issue 7 of 12, July 2020
   Search date: 23/7/2020
   Number of results retrieved: CDSR – 1; CENTRAL - 8.

   #1     [mh ^"Gender Dysphoria"]      3
   #2     [mh ^"gender identity"]       227
   #3     [mh ^"sexual and gender disorders"] 2
   #4     [mh ^transsexualism] 27
   #5     [mh ^"transgender persons"] 36
   #6     [mh ^"health services for transgender persons"]     0
   #7     [mh "sex reassignment procedures"] 4
   #8     (gender* NEAR/3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus*
   or minorit* or queer*)):ti,ab 308
   #9     (transgend* or transex* or transsex* or transfem* or transwom* or transma* or
   transmen* or transperson* or transpeopl*):ti,ab    929
   #10    (trans or crossgender* or cross-gender* or crossex* or cross-sex* or
   genderqueer*):ti,ab 3915
   #11    ((sex or gender*) NEAR/3 (reassign* or chang* or transform* or transition*)):ti,ab 493
   #12    (male-to-female or m2f or female-to-male or f2m):ti,ab     489
                                                66
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 181
                                                             616 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1137
                                    1900


   #13     {or #1-#12}       6142
   #14     [mh infant] or [mh ^"infant health"] or [mh ^"infant welfare"] 27769
   #15     (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born*
   or perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*):ti,ab 69476
   #16     [mh child] or [mh "child behavior"] or [mh ^"child health"] or [mh ^"child welfare"]
           42703
   #17     [mh ^minors] 8
   #18     (child* or minor or minors or boy* or girl* or kid or kids or young*):ti,ab      175826
   #19     [mh pediatrics] 661
   #20     (pediatric* or paediatric* or peadiatric*):ti,ab 30663
   #21     [mh ^adolescent] or [mh ^"adolescent behavior"] or [mh ^"adolescent health"]
           102154
   #22     [mh ^puberty] 295
   #23     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*):ti,ab
           34139
   #24     [mh ^schools] 1914
   #25     [mh ^"Child Day Care Centers"] or [mh nurseries] or [mh ^"schools, nursery"]              277
   #26     (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school*
   or pupil* or student*):ti,ab     54723
   #27     (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen"
   or "sixteen" or "seventeen" or "eighteen" or "nineteen") NEAR/2 (year or years or age or ages
   or aged)):ti,ab 6710
   #28     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   NEAR/2 (year or years or age or ages or aged)):ti,ab             196881
   #29     {or #14-#28} 469351
   #30     #13 and #29 2146
   #31     (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*):ti,ab
           0
   #32     #30 or #31        2146
   #33     [mh ^"Gonadotropin-Releasing Hormone"] 1311
   #34     (pubert* NEAR/3 block*):ti,ab 1
   #35     ((gonadotrophin or gonadotropin) and releasing):ti,ab            2095
   #36     (GnRH NEAR/2 analog*):ti,ab              493
   #37     GnRH*:ti,ab 3764
   #38     "GnRH agonist*":ti,ab 1399
   #39     [mh ^"Triptorelin Pamoate"] 451
   #40     triptorelin:ti,ab 451
   #41     arvekap:ti,ab 4
   #42     ("AY 25650" or AY25650):ti,ab            0
   #43     ("BIM 21003" or BIM21003):ti,ab          0
   #44     ("BN 52014" or BN52014):ti,ab            0
   #45     ("CL 118532" or CL118532):ti,ab          0
   #46     Debio:ti,ab       301
   #47     diphereline:ti,ab        25
   #48     moapar:ti,ab 0
   #49     pamorelin:ti,ab          5
   #50     trelstar:ti,ab 3
                                                    67
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 182
                                                             617 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1138
                                    1901


   #51   triptodur:ti,ab 0
   #52   ("WY 42422" or WY42422):ti,ab        0
   #53   ("WY 42462" or WY42462):ti,ab        0
   #54   gonapeptyl:ti,ab       11
   #55   decapeptyl:ti,ab       135
   #56   salvacyl:ti,ab 0
   #57   [mh ^Buserelin]        290
   #58   Buserelin:ti,ab 339
   #59   bigonist:ti,ab 0
   #60   ("hoe 766" or hoe-766 or hoe766):ti,ab    11
   #61   profact:ti,ab 1
   #62   receptal:ti,ab 4
   #63   suprecur:ti,ab 0
   #64   suprefact:ti,ab 28
   #65   tiloryth:ti,ab 0
   #66   histrelin:ti,ab 5
   #67   "LHRH-hydrogel implant":ti,ab        0
   #68   ("RL 0903" or RL0903):ti,ab 0
   #69   ("SPD 424" or SPD424):ti,ab 0
   #70   goserelin:ti,ab 761
   #71   [mh ^goserelin]        568
   #72   ("ici 118630" or ici118630):ti,ab    7
   #73   ("ZD-9393" or ZD9393):ti,ab 1
   #74   zoladex:ti,ab 318
   #75   leuprorelin:ti,ab      248
   #76   carcinil:ti,ab 0
   #77   enanton*:ti,ab 21
   #78   ginecrin:ti,ab 1
   #79   leuplin:ti,ab 7
   #80   [mh ^Leuprolide]       686
   #81   leuprolide:ti,ab 696
   #82   lucrin:ti,ab     21
   #83   lupron:ti,ab     77
   #84   provren:ti,ab 0
   #85   procrin:ti,ab 2
   #86   ("tap 144" or tap144):ti,ab     24
   #87   (a-43818 or a43818):ti,ab       0
   #88   Trenantone:ti,ab       3
   #89   staladex:ti,ab 0
   #90   prostap:ti,ab 9
   #91   [mh ^Nafarelin]        77
   #92   nafarelin:ti,ab 114
   #93   ("76932-56-4" or "76932564"):ti,ab 0
   #94   ("76932-60-0" or "76932600"):ti,ab 2
   #95   ("86220-42-0" or "86220420"):ti,ab 0
   #96   ("rs 94991 298" or rs94991298):ti,ab 0
   #97   synarel:ti,ab 10
   #98   deslorelin:ti,ab 16
                                              68
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 183
                                                             618 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1139
                                    1902


   #99   gonadorelin:ti,ab      11
   #100 ("33515-09-2" or "33515092"):ti,ab 0
   #101 ("51952-41-1" or "51952411"):ti,ab 0
   #102 ("52699-48-6" or "52699486"):ti,ab 0
   #103 cetrorelix:ti,ab 221
   #104 cetrotide:ti,ab 111
   #105 ("NS 75A" or NS75A):ti,ab 0
   #106 ("NS 75B" or NS75B):ti,ab 0
   #107 ("SB 075" or SB075):ti,ab        0
   #108 ("SB 75" or SB75):ti,ab          10
   #109 gonadoliberin:ti,ab     5
   #110 kryptocur:ti,ab 0
   #111 cetrorelix:ti,ab 221
   #112 cetrotide:ti,ab 111
   #113 antagon:ti,ab 12
   #114 ganirelix:ti,ab 142
   #115 ("ORG 37462" or ORG37462):ti,ab 4
   #116 orgalutran:ti,ab        45
   #117 ("RS 26306" or RS26306):ti,ab             0
   #118 ("AY 24031" or AY24031):ti,ab             0
   #119 factrel:ti,ab    1
   #120 fertagyl:ti,ab 0
   #121 lutrelef:ti,ab 0
   #122 lutrepulse:ti,ab 1
   #123 relefact:ti,ab 1
   #124 fertiral:ti,ab   0
   #125 (hoe471 or "hoe 471"):ti,ab 3
   #126 relisorm:ti,ab 0
   #127 cystorelin:ti,ab 0
   #128 dirigestran:ti,ab       0
   #129 {or #33-#128} 6844
   #130 #32 and #129 27
   #131 #130 with Cochrane Library publication date Between Jan 2000 and Jul 2020, in
   Cochrane Reviews 1
   #132 #130 27
   #133 "conference":pt or (clinicaltrials or trialsearch):so 492465
   #134 #132 not #133 9
   #135 #134 with Publication Year from 2000 to 2020, in Trials     8

   Database: HTA
   Platform: CRD
   Version: HTA
   Search date: 23/7/2020
   Number of results retrieved: 26
   Search strategy:

   1      MeSH DESCRIPTOR Gender Dysphoria EXPLODE ALL TREES 0
   2      MeSH DESCRIPTOR Gender Identity EXPLODE ALL TREES  14
                                          69
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 184
                                                             619 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1140
                                    1903


   3      MeSH DESCRIPTOR Sexual and Gender Disorders EXPLODE ALL TREES                         2

   4    MeSH DESCRIPTOR Transsexualism EXPLODE ALL TREES      12
   5    MeSH DESCRIPTOR Transgender Persons EXPLODE ALL TREES      3
   6    MeSH DESCRIPTOR Health Services for Transgender Persons EXPLODE ALL
   TREES     0
   7    MeSH DESCRIPTOR Sex Reassignment Procedures EXPLODE ALL TREES   1

   8       ((gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*))) 28
   9       ((transgend* or transex* or transsex* or transfem* or transwom* or transma* or
   transmen* or transperson* or transpeopl*)) 76
   10      ((trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*))
           83
   11      (((sex or gender*) adj3 (reassign* or chang* or transform* or transition*))) 24
   12      (male-to-female or m2f or female-to-male or f2m) 86
   13      ((transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*))
           0
   14      #1 OR #2 OR #3 OR #4 OR #5 OR #6 OR #7 OR #8 OR #9 OR #10 OR #11 OR #12
   OR #13          262
   15      (#1 OR #2 OR #3 OR #4 OR #5 OR #6 OR #7 OR #8 OR #9 OR #10 OR #11 OR #12
   OR #13) IN HTA          30

   *26 results are from 200 onwards. Downloaded as a set to sift for drug terms rather than
   continuing with search strategy.

   Database: APA PsycInfo
   Search date: July 2020 (Week 2)
   Search Strategy:
   --------------------------------------------------------------------------------
   1 Gender Dysphoria/ (936)
   2 Gender Identity/ (8648)
   3 Transsexualism/ (2825)
   4 Transgender/ (5257)
   5 exp Gender Reassignment/ (568)
   6       (gender* adj3 (dysphori* or affirm* or incongruen* or identi* or disorder* or confus* or
   minorit* or queer*)).tw. (15471)
   7 (transgend* or transex* or transsex* or transfem* or transwom* or transma* or transmen*
   or transperson* or transpeopl*).tw. (13028)
   8      (trans or crossgender* or cross-gender* or crossex* or cross-sex* or genderqueer*).tw.
   (7679)
   9 ((sex or gender*) adj3 (reassign* or chang* or transform* or transition*)).tw. (5796)
   10 (male-to-female or m2f or female-to-male or f2m).tw. (63688)
   11 or/1-10 (99560)
   12 exp Infant Development/ (21841)
   13 (prematur* or pre-matur* or preterm* or pre-term* or infan* or newborn* or new-born* or
   perinat* or peri-nat* or neonat* or neo-nat* or baby* or babies or toddler*).ti,ab,in,jn. (150219)


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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 185
                                                             620 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1141
                                    1904


   14 Child Characteristics/ or exp Child Behavior/ or Child Psychology/ or exp Child Welfare/
   or Child Psychiatry/ (23423)
   15 (child* or minor or minors or boy* or girl* or kid or kids or young*).ti,ab,in,jn. (984230)
   16 (pediatric* or paediatric* or peadiatric*).ti,ab,in,jn. (78962)
   17         Adolescent Psychiatry/ or Adolescent Behavior/ or Adolescent Development/ or
   Adolescent Psychology/ or Adolescent Characteristics/ or Adolescent Health/ (62142)
   18 Puberty/ (2753)
   19     (adolescen* or pubescen* or prepubescen* or pre-pubescen* or pubert* or prepubert*
   or pre-pubert* or teen* or preteen* or pre-teen* or juvenil* or youth* or under*age*).ti,ab,in,jn.
   (347604)
   20       Schools/ or exp elementary school students/ or high school students/ or junior high
   school students/ or middle school students/ (113053)
   21 Child Day Care/ or Nursery Schools/ (2836)
   22 (pre-school* or preschool* or kindergar* or daycare or day-care or nurser* or school* or
   pupil* or student*).ti,ab,jn. (772814)
   23 (("eight" or "nine" or "ten" or "eleven" or "twelve" or "thirteen" or "fourteen" or "fifteen" or
   "sixteen" or "seventeen" or "eighteen" or "nineteen") adj2 (year or years or age or ages or
   aged)).ti,ab. (21475)
   24     (("8" or "9" or "10" or "11" or "12" or "13" or "14" or "15" or "16" or "17" or "18" or "19")
   adj2 (year or years or age or ages or aged)).ti,ab. (285697)
   25 or/12-24 (1772959)
   26 11 and 25 (49612)
   27      (transchild* or transyouth* or transteen* or transadoles* or transgirl* or transboy*).tw.
   (14)
   28 26 or 27 (49613)
   29 exp Gonadotropic Hormones/ (4226)
   30 (pubert* adj3 block*).ti,ab. (29)
   31 ((gonadotrophin or gonadotropin) and releasing).ti,ab. (1060)
   32 (GnRH adj2 analog*).ti,ab. (49)
   33 GnRH*.ti,ab. (998)
   34 "GnRH agonist*".ti,ab. (72)
   35 triptorelin.ti,ab. (25)
   36 arvekap.ti,ab. (0)
   37 ("AY 25650" or AY25650).ti,ab. (0)
   38 ("BIM 21003" or BIM21003).ti,ab. (0)
   39 ("BN 52014" or BN52014).ti,ab. (0)
   40 ("CL 118532" or CL118532).ti,ab. (0)
   41 Debio.ti,ab. (7)
   42 diphereline.ti,ab. (0)
   43 moapar.ti,ab. (0)
   44 pamorelin.ti,ab. (0)
   45 trelstar.ti,ab. (0)
   46 triptodur.ti,ab. (0)
   47 ("WY 42422" or WY42422).ti,ab. (0)
   48 ("WY 42462" or WY42462).ti,ab. (0)
   49 gonapeptyl.ti,ab. (0)
   50 decapeptyl.ti,ab. (3)
   51 salvacyl.ti,ab. (1)
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Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 186
                                                             621 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1142
                                    1905


   52   buserelin.ti,ab. (6)
   53   bigonist.ti,ab. (0)
   54   ("hoe 766" or hoe-766 or hoe766).ti,ab. (0)
   55   profact.ti,ab. (0)
   56   receptal.ti,ab. (0)
   57   suprecur.ti,ab. (0)
   58   suprefact.ti,ab. (0)
   59   tiloryth.ti,ab. (0)
   60   histrelin.ti,ab. (1)
   61   "LHRH-hydrogel implant".ti,ab. (0)
   62   ("RL 0903" or RL0903).ti,ab. (0)
   63   ("SPD 424" or SPD424).ti,ab. (0)
   64   goserelin.ti,ab. (30)
   65   ("ici 118630" or ici118630).ti,ab. (0)
   66   ("ZD-9393" or ZD9393).ti,ab. (0)
   67   zoladex.ti,ab. (3)
   68   leuprorelin.ti,ab. (12)
   69   carcinil.ti,ab. (0)
   70   enanton*.ti,ab. (1)
   71   ginecrin.ti,ab. (0)
   72   leuplin.ti,ab. (0)
   73   leuprolide.ti,ab. (79)
   74   lucrin.ti,ab. (1)
   75   lupron.ti,ab. (18)
   76   provren.ti,ab. (0)
   77   procrin.ti,ab. (0)
   78   ("tap 144" or tap144).ti,ab. (1)
   79   (a-43818 or a43818).ti,ab. (0)
   80   Trenantone.ti,ab. (0)
   81   staladex.ti,ab. (0)
   82   prostap.ti,ab. (0)
   83   nafarelin.ti,ab. (1)
   84   ("76932-56-4" or "76932564").ti,ab. (0)
   85   ("76932-60-0" or "76932600").ti,ab. (0)
   86   ("86220-42-0" or "86220420").ti,ab. (0)
   87   ("rs 94991 298" or rs94991298).ti,ab. (0)
   88   synarel.ti,ab. (0)
   89   deslorelin.ti,ab. (8)
   90   gonadorelin.ti,ab. (3)
   91   ("33515-09-2" or "33515092").ti,ab. (0)
   92   ("51952-41-1" or "51952411").ti,ab. (0)
   93   ("52699-48-6" or "52699486").ti,ab. (0)
   94   cetrorelix.ti,ab. (9)
   95   cetrotide.ti,ab. (0)
   96   ("NS 75A" or NS75A).ti,ab. (0)
   97   ("NS 75B" or NS75B).ti,ab. (0)
   98   ("SB 075" or SB075).ti,ab. (0)
   99   ("SB 75" or SB75).ti,ab. (1)
                                               72
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 187
                                                             622 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1143
                                    1906


   100   gonadoliberin.ti,ab. (1)
   101   kryptocur.ti,ab. (0)
   102   cetrorelix.ti,ab. (9)
   103   cetrotide.ti,ab. (0)
   104   antagon.ti,ab. (0)
   105   ganirelix.ti,ab. (0)
   106   ("ORG 37462" or ORG37462).ti,ab. (0)
   107   orgalutran.ti,ab. (0)
   108   ("RS 26306" or RS26306).ti,ab. (0)
   109   ("AY 24031" or AY24031).ti,ab. (0)
   110   factrel.ti,ab. (0)
   111   fertagyl.ti,ab. (0)
   112   lutrelef.ti,ab. (0)
   113   lutrepulse.ti,ab. (0)
   114   relefact.ti,ab. (0)
   115   fertiral.ti,ab. (0)
   116   (hoe471 or "hoe 471").ti,ab. (0)
   117   relisorm.ti,ab. (0)
   118   cystorelin.ti,ab. (0)
   119   dirigestran.ti,ab. (0)
   120   or/29-119 (4869)
   121   28 and 120 (130)
   122   limit 121 to english language (120)
   123   limit 122 to yr="2000 -Current" (93)


   Appendix C Evidence selection

   The literature searches identified 525 references. These were screened using their titles and
   abstracts and 25 references were obtained and assessed for relevance. Of these,
   9 references are included in the evidence review. The remaining 16 references were
   excluded and are listed in appendix D.




                                                73
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 188
                                                             623 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1144
                                    1907


   Figure 1 – Study selection flow diagram

                                                      Titles and abstracts
                                                       identified, N= 525




                              Full copies retrieved                         Excluded, N=500 (not
                                and assessed for                        relevant population, design,
                                eligibility, N=25                        intervention, comparison,
                                                                            outcomes, unable to
                                                                                  retrieve)



          Publications included in            Publications excluded
                review, N=9                    from review, N=16
                                                (refer to excluded
                                                    studies list)




   References submitted with Preliminary Policy Proposal

   There is no preliminary policy proposal for this policy.


   Appendix D Excluded studies table

    Study reference                                                                   Reason for exclusion
    Achille, C., Taggart, T., Eaton, N.R. et al. (2020)                               Intervention – data for
    Longitudinal impact of gender-affirming endocrine                                 GnRH analogues not
    intervention on the mental health and well-being of                               reported separately from
    transgender youths: Preliminary results. International                            other interventions
    Journal of Pediatric Endocrinology 2020(1): 8
    Bechard, Melanie, Vanderlaan, Doug P, Wood, Hayley et al.                         Population – no GnRH
    (2017) Psychosocial and Psychological Vulnerability in                            analogues at time of study
    Adolescents with Gender Dysphoria: A "Proof of Principle"
    Study. Journal of sex & marital therapy 43(7): 678-688
    Chew, Denise, Anderson, Jemma, Williams, Katrina et al.                           All primary studies included
    (2018) Hormonal Treatment in Young People With Gender                             apart from 1 conference
    Dysphoria: A Systematic Review. Pediatrics 141(4)                                 abstract

    de Vries, Annelou L C, McGuire, Jenifer K et al. (2014)                           Population – relevant
    Young adult psychological outcome after puberty                                   population included in de
    suppression and gender reassignment. Pediatrics 134(4):                           Vries et al. 2011
    696-704
    Ghelani, Rahul, Lim, Cheryl, Brain, Caroline et al. (2020)                        Outcomes – not in the
    Sudden sex hormone withdrawal and the effects on body                             PICO
    composition in late pubertal adolescents with gender
    dysphoria. Journal of pediatric endocrinology & metabolism:
    JPEM 33(1): 107-112


                                                             74
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 189
                                                             624 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1145
                                    1908


    Study reference                                                    Reason for exclusion
    Giovanardi, G, Morales, P, Mirabella, M et al. (2019)              Population – adults only
    Transition memories: experiences of trans adult women with
    hormone therapy and their beliefs on the usage of hormone
    blockers to suppress puberty. Journal of endocrinological
    investigation 42(10): 1231-1240
    Hewitt, Jacqueline K, Paul, Campbell, Kasiannan, Porpavai          Outcomes – no data
    et al. (2012) Hormone treatment of gender identity disorder        reported for relevant
    in a cohort of children and adolescents. The Medical journal       outcomes
    of Australia 196(9): 578-81
    Jensen, R.K., Jensen, J.K., Simons, L.K. et al. (2019) Effect      Outcomes – not in the
    of Concurrent Gonadotropin-Releasing Hormone Agonist               PICO
    Treatment on Dose and Side Effects of Gender-Affirming
    Hormone Therapy in Adolescent Transgender Patients.
    Transgender Health 4(1): 300-303
    Klaver, Maartje, de Mutsert, Renee, Wiepjes, Chantal M et          Outcomes – not in the
    al. (2018) Early Hormonal Treatment Affects Body                   PICO
    Composition and Body Shape in Young Transgender
    Adolescents. The journal of sexual medicine 15(2): 251-260
    Klaver, Maartje, de Mutsert, Renee van der Loos, Maria A T         Outcomes – not in the
    C et al. (2020) Hormonal Treatment and Cardiovascular              PICO
    Risk Profile in Transgender Adolescents. Pediatrics 145(3)
    Lopez, Carla Marisa, Solomon, Daniel, Boulware, Susan D            Outcomes – not in the
    et al. (2018) Trends in the use of puberty blockers among          PICO
    transgender children in the United States. Journal of
    pediatric endocrinology & metabolism : JPEM 31(6): 665-
    670
    Schagen, Sebastian E E, Lustenhouwer, Paul, Cohen-                 Outcomes – not in the
    Kettenis, Peggy T et al. (2018) Changes in Adrenal                 PICO
    Androgens During Puberty Suppression and Gender-
    Affirming Hormone Treatment in Adolescents With Gender
    Dysphoria. The journal of sexual medicine 15(9): 1357-1363
    Swendiman, Robert A, Vogiatzi, Maria G, Alter, Craig A et          Population – less than 10%
    al. (2019) Histrelin implantation in the pediatric population: A   of participants had gender
    10-year institutional experience. Journal of pediatric surgery     dysphoria; data not
    54(7): 1457-1461                                                   reported separately
    Turban, Jack L, King, Dana, Carswell, Jeremi M et al.              Intervention – data for
    (2020) Pubertal Suppression for Transgender Youth and              GnRH analogues not
    Risk of Suicidal Ideation. Pediatrics 145(2)                       reported separately from
                                                                       other interventions
    Vrouenraets, Lieke Josephina Jeanne Johanna, Fredriks, A           Outcomes – not in the
    Miranda, Hannema, Sabine E et al. (2016) Perceptions of            PICO
    Sex, Gender, and Puberty Suppression: A Qualitative
    Analysis of Transgender Youth. Archives of sexual behavior
    45(7): 1697-703
    Zucker, Kenneth J, Bradley, Susan J, Owen-Anderson,                Intervention – data for
    Allison et al. (2010) Puberty-blocking hormonal therapy for        GnRH analogues not
    adolescents with gender identity disorder: A descriptive           reported separately from
    clinical study. Journal of Gay & Lesbian Mental Health             other interventions
    15(1): 58-82




                                                  75
                              Case
                              Case 1:22-cv-01075-JMS-MKK
                                   1:22-cv-01075-JMS-DLP Document
                                                         Document 36-9
                                                                  47-1 Filed
                                                                       Filed 06/17/22
                                                                             06/30/22 Page
                                                                                      Page 190
                                                                                           625 of
                                                                                               of 245
                                                                                                  902 PageID
                                                                                                      PageID #:
                                                                                                             #:
                                                                  1146
                                                                  1909



Appendix E Evidence tables

Study details                      Population                   Interventions            Study outcomes                              Appraisal and Funding
Brik T, Vrouenraets L, de Vries    Inclusion criteria were      The study only           Critical outcomes                           This study was appraised using the
M, et al. (2020) Trajectories of   adolescents with gender      reports that GnRH        No critical outcomes assessed.              Newcastle-Ottawa tool for cohort
adolescents treated with           dysphoria, according to      analogues were                                                       studies.
gonadotropin-releasing             the DSM-5 criteria, seen     given, no specific       Important outcomes
hormone analogues for gender       at the single centre and     drug, dose, route, or    Psychosocial impact                         Domain 1: Selection
dysphoria. Archives of Sexual      treated with GnRH            frequency of             Not assessed.                               1. somewhat representative
Behaviour                          analogues between            administration are                                                   2. no-non exposed cohort
https://doi.org/10.1007/s10508-    November 2010 and            reported.                Engagement with health care services        3. secure record
020-01660-8                        January 1, 2018.                                      Not formally assessed but the study         4. yes
                                                                No comparator            reported that out of 214 age and            Domain 2: Comparability
Netherlands                        The study excluded           cohort was used in       developmentally appropriate adolescents     1. no comparator
                                   adolescents without a        the study.               for potential inclusion in the study, 9     Domain 3: Outcome
Retrospective observational        diagnosis of gender                                   were excluded as they stopped attending     1. record linkage
single-centre study                dysphoria, those who had     Follow-up was at (up     appointments (4.2%).                        2. yes
                                   coexisting problems that     to) 9 years (last                                                    3. complete follow-up
To document trajectories after     interfered with the          follow-up July 2019).    Stopping treatment
the initiation of GnRH             diagnostic process and/or                             Of the 143 adolescents, 9 (6.2%,            Overall quality is assessed as
analogue and explore reasons       might interfere with                                  1 transfemale and 8 transmales) stopped     poor.
for extended use and               successful treatment (not                             taking GnRH analogues after a median
discontinuation of GnRH            further defined), those                               duration of 0.8 years (range 0.1 to 3.0).   Other comments: Physical and
analogues.                         adolescents not wanting                               Four adolescents (2.8%) discontinued        psychological comorbidity was
                                   hormones, those with                                  GnRH analogues although they wanted         poorly reported, concomitant use of
Includes participants seen         ongoing diagnostic                                    to continue endocrine treatments for        other medicines was not reported.
between November 2010 and          evaluation and those who                              gender dysphoria:
January 1, 2018.                   did not attend                                        • 1 transmale stopped due to increase       Source of funding: not reported.
                                   appointments.                                              in mood problems, suicidal thoughts
                                                                                              and confusion attributed to GnRH
                                   The sample consisted of                                    analogues (later had gender-
                                   143 adolescents meeting                                    affirming hormones at an adult
                                   the inclusion/exclusion                                    gender clinic)1
                                   criteria, 38 transfemales,                            • 1 transmale experienced hot flushes,
                                   105 transmales, with                                       increased migraines, had a fear of
                                   median ages of 15.0                                        injections, stress at school and
                                   years (range 11.1 to 18.6                                  unrelated medical issues, and
                                   years) and 16.1 years
                                                                                        76
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 191
                                                             626 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1147
                                    1910

   (range 10.1 to 17.9                       temporarily discontinued treatment
   years), respectively at                   (after 4 months)2
   commencement of GnRH                  • 1 transmale experienced mood
   analogues.                                swings 4 months after commencing
                                             GnRH analogues. After 2.2 years he
   Of the 143 adolescents in                 developed unexplained severe
   the study, 125 (87%, 36                   nausea and rapid weight loss and
   transfemales and 89                       due to his general condition
   transmales) subsequently                  discontinued GnRH analogues after
   started treatment with                    2.4 years3
   gender-affirming                      • 1 transmale stopped GnRH
   hormones after median                     analogues as his parents were
   1.0 (range 0.5 to 3.8)                    unable to regularly collect
   years and 0.8 (0.3 to 3.7)                medication from the pharmacy and
   years, respectively.                      take him to appointments for the
   Median age at the start of                injections4
   gender-affirming                      Five adolescents (3.5%) stopped
   hormones was 16.2 years               treatment as they no longer wished to
   (range 14.5 to 18.6 years)            continue with gender-affirming treatment.
   in transfemales and 17.1              • 1 adolescent had been very
   years (range 14.9 to 18.8                 distressed about breast development
   years) in transmales.                     at the start of GnRH analogues and
                                             later thought that she might want to
   Five adolescents who                      live as a woman without breasts.
   used GnRH analogues                       She did not want to live as a boy and
   had not started gender-                   discontinued GnRH analogues,
   affirming hormones at the                 although dreaded breast
   time of data collection as                development and menstruation.
   they were not yet eligible            • 1 adolescent experienced concurrent
   for this treatment due to                 psychosocial problems interfering
   age. At the time of data                  with the exploration of gender
   collection, they had used                 identity and did not currently want
   GnRH analogues for a                      treatment.5
   median duration of 2.1                • 1 adolescent felt more in between
   years (range 1.6 to 2.8).                 male and female and therefore did
   Tanner stage was not                      not want to continue with GnRH
   reported.                                 analogues.6
                                         • 1 adolescent made a social
   Six adolescents had been                  transition while using GnRH
   referred to a gender clinic
   elsewhere for further
                                       77
                                  Case
                                  Case 1:22-cv-01075-JMS-MKK
                                       1:22-cv-01075-JMS-DLP Document
                                                             Document 36-9
                                                                      47-1 Filed
                                                                           Filed 06/17/22
                                                                                 06/30/22 Page
                                                                                          Page 192
                                                                                               627 of
                                                                                                   of 245
                                                                                                      902 PageID
                                                                                                          PageID #:
                                                                                                                 #:
                                                                      1148
                                                                      1911

                                       treatment, including 1 who                                     analogues and shortly after decided
                                       had prolonged use.                                             to discontinue treatment.7
                                                                                                  •   1 adolescent discontinued after
                                                                                                      using GnRH analogues as the
                                                                                                      treatment allowed them to feel who
                                                                                                      they were.8
1 The adolescent later indicated “I was already fully matured when I started GnRH analogues, menstruations were already suppressed by contraceptives. For me, it had no added value” (transmale,

age 19 years).
2 The adolescent restarted endocrine treatment (testosterone) 5 months later.
3 The adolescent recovered over the next 2 years and subsequently started lynestrenol and testosterone treatment.
4 The adolescent subsequently started lynestrenol to suppress menses, he was not yet eligible for testosterone treatment.
5 The adolescent later reflected that “The decision to stop GnRH analogues to my mind was made by the gender team, because they did not think gender dysphoria was the right diagnosis. I do

still feel like a man, but for me it is okay to be just me instead of a he or a she, so for now I do not want any further treatment” (adolescent assigned female sex at birth, age 16 years).
6 The adolescent stated “At the moment, I feel more like ‘I am’ instead of ‘I am a woman’ or ‘I am a man’” (adolescent assigned female sex at birth, age 16 years).
7 The adolescent stated that “he had fallen in love with a girl and had never had such feelings, which made him question his gender identity. At subsequent visits, he indicated that he was happy

living as a man.
8 The adolescent stated “After using GnRH analogues for the first time, I could feel who I was without the female hormones, this gave me peace of mind to think about my future. It was an inner

feeling that said I am a woman” (adolescent assigned female sex at birth, age 18 years).



 Study details                        Population                              Interventions              Study outcomes                                  Appraisal and Funding
 Costa R, Dunsford M,                 Adolescents with gender                 Intervention               Critical outcomes                               This study was appraised using the
 Skagerberg E, et al. (2015)          dysphoria who completed a 6-            101 individuals were       Impact on gender dysphoria                      Newcastle-Ottawa tool for cohort
 Psychological support, puberty       month diagnostic process using          assessed as being          The Utrecht gender dysphoria scale              studies.
 suppression, and psychosocial        DSM-IV-TR criteria for gender           immediately eligible       (UGDS) was used to assess
 functioning in adolescents with      dysphoria (comprising the               for use of GnRH            adolescents’ gender dysphoria related           Domain 1: Selection
 gender dysphoria. Journal of         gender dysphoria assessment             analogues (no              discomfort. The Cronbach’s alpha (α) for        1. somewhat representative
 Sexual Medicine 12(11):2206-         and psychological interventions)        specific treatment,        the study was reported as 0.76 to 0.88,         2. drawn from the same
 14.                                  either immediately eligible for         dose or route, or          suggesting good internal consistency.              community as the exposed
                                      treatment with GnRH analogues           frequency of               UGDS was only reported once, for 160               cohort.
 United Kingdom                       or delayed eligible for treatment       administration             adolescents (50 sex assigned at birth           3. secure record
                                      with GnRH analogues (received           reported but all           males and 110 sex assigned at birth             4. no
 Prospective longitudinal             psychological support without           received                   females). The assessment time point is          Domain 2: Comparability
 observational single centre          any physical intervention).             psychological              not reported (baseline or follow-up) and        1. partial comparator
 cohort study                                                                 support).                  the comparison for gender related               Domain 3: Outcome
                                      No exclusion criteria were                                         discomfort was between sex assigned at          1. independent assessment
 Includes participants referred       reported.                               Comparison                 birth males and sex assigned at birth              (unclear if blinded)
 to the service between 2010                                                  The analyses were          females. Sex assigned at birth males            2. yes
 and 2014.                            The sample consisted of 201             between the                had a mean (±SD) UGDS score of 51.6             3. incomplete follow-up
                                      adolescents (sex assigned at            immediately eligible       [±9.7] versus sex assigned at birth
                                      birth male to female ratio 1:1.6)

                                                                                               78
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 193
                                                             628 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1149
                                    1912

   mean (±SD) age 15.52±1.41            and delayed eligible    females score of 56.1 [±4.3], t-test 4.07;   Overall quality is assessed as
   years) from a sampling frame of      (n=100) adolescents,    p<0.001.                                     poor.
   436 consecutive adolescents
   referred to the service between      Baseline assessment     Impact on mental health                      Other comments: Physical and
   2010 and 2014. The mean              (following diagnostic   Not assessed.                                psychological comorbidity was
   (±SD) age (n=201) at the start of    procedure) was                                                       poorly reported, concomitant use of
   GnRH analogues was 16.48             followed by follow-up   Impact on quality of life                    other medicines was not reported.
   [±1.26], range 13 to 17 years.       at 6 months from        Not assessed.                                Large unexplained loss to follow-up
   The interval from the start of the   baseline (T1), 12                                                    (64.7%) at T3.
   diagnostic procedure to the start    months from             Important outcomes
   of puberty suppression took          baseline (T2) and 18    Psychosocial impact                          Source of funding: not reported.
   approximately 1.5 years [±0.63]      months from             The Children’s Global Assessment Scale
   from baseline.                       baseline (T3).          (CGAS) was used to assess
                                                                adolescents’ psychosocial functioning.
   None of the delayed eligible                                 The CGAS was administered by
   individuals received puberty                                 psychologists, psychotherapists, and
   suppression at the time of this                              psychiatrists (intra-class correlation
   study. Tanner stage was not                                  assessment was 0.76 ≤ Cronbach’s α
   reported.                                                    ≤0.94).
                                                                At baseline, CGAS scores were not
                                                                associated with any demographic
                                                                variable, in both sex assigned at birth
                                                                males and sex assigned at birth females
                                                                (all p>0.1).
                                                                In comparison with sex assigned at birth
                                                                females, sex assigned at birth males had
                                                                statistically significantly lower mean
                                                                (±SD) baseline CGAS scores (55.4
                                                                [±12.7] versus 59.2 [11.8]; t-test 2.15;
                                                                p=0.03).
                                                                There was no statistically significant
                                                                difference in mean (±SD) CGAS scores
                                                                at baseline (T0) between immediately
                                                                eligible adolescents and delayed eligible
                                                                adolescents (n=201, 58.72 [±11.38]
                                                                versus 56.63 [±13.14]; t-test 1.21;
                                                                p=0.23).
                                                                Immediately eligible compared with
                                                                delayed eligible participants
                                                                At follow-up, there was no statistically
                                                                significant difference in mean (±SD)
                                                       79
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 194
                                                             629 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1150
                                    1913

                                             CGAS scores at any follow-up time point
                                             (T1, T2 or T3) between immediately
                                             eligible adolescents and delayed eligible
                                             adolescents:
                                             • T1, n=201, 60.89 [±12.17] versus
                                                  60.29 [±12.81]; t-test 0.34; p=0.73
                                             • T2, n=121, 64.70 [±13.34] versus
                                                  62.97 [±14.10]; t-test 0.69; p=0.49
                                             • T3, n=71, 67.40 [±13.93] versus
                                                  62.53 [±13.54]; t-test 1.49; p=0.14.
                                             All participants
                                             There was a statistically significant
                                             increase in mean (±SD) CGAS scores at
                                             any follow-up time point (T1, T2 or T3)
                                             compared with baseline (T0) for the all
                                             adolescents group:
                                             • T0 (n=201) versus T1 (n=201), 57.73
                                                  [±12.27] versus 60.68 [±12.47]; t-test
                                                  4.87; p<0.001
                                             • T0 (n=201) versus T2 (n=121), 57.73
                                                  [±12.27] versus 63.31 [±14.41]; t-test
                                                  3.70; p<0.001
                                             • T0 (n=201) versus T3 (n=71), 57.73
                                                  [±12.27] versus 64.93 [±13.85]; t-test
                                                  4.11; p<0.001
                                             There was a statistically significant
                                             increase in mean (±SD) CGAS scores
                                             when comparing the follow-up period T1
                                             to T3 but not for the periods T1 to T2
                                             and T2 to T3, for all adolescents:
                                             • T1 (n=201) versus T2 (n=121), 60.68
                                                  [±12.47] versus 63.31 [±14.41]; t-test
                                                  1.73; p<0.08
                                             • T1 (n=201) versus T3 (n=71), 60.68
                                                  [±12.47] versus 64.93 [±13.85], t-test
                                                  2.40; p<0.02
                                             • T2 (n=121) versus T3 (n=71), 63.31
                                                  [±14.41] versus 64.93 [±13.85], t-test
                                                  0.76; p=0.45


                                       80
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 195
                                                             630 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1151
                                    1914

                                             There were no statistically significant
                                             differences in CGAS scores between sex
                                             assigned at birth males and sex
                                             assigned at birth females with gender
                                             dysphoria in all the follow-up evaluations
                                             (all p>0.1). Delayed eligible and
                                             immediately eligible adolescents with
                                             gender dysphoria were not statistically
                                             significantly different for demographic
                                             variables (all p>0.1).
                                             Immediately eligible participants
                                             There was a statistically significant
                                             increase in mean (±SD) CGAS scores at
                                             follow-up times T2 and T3 compared
                                             with baseline (T0) but not for T0 versus
                                             T1, for the immediately eligible
                                             adolescents:
                                             • T0 (n=101) versus T1 (n=101), 58.72
                                                  [±11.38] versus 60.89 [±12.17]; t-test
                                                  1.31; p=0.19
                                             • T0 (n=101) versus T2 (n=60), 58.72
                                                  [±11.38] versus 64.70 [±13.34]; t-test
                                                  3.02; p=0.003
                                             • T0 (n=101) versus T3 (n=35), 58.72
                                                  [±11.38] versus 67.40 [±13.93]; t-test
                                                  3.66; p<0.001
                                             There was a statistically significant
                                             increase in mean (±SD) CGAS scores
                                             when comparing the follow-up period T1
                                             to T3 with each other but not for the
                                             periods T1 to T2 and T2 to T3, for the
                                             immediately eligible adolescents:
                                             • T1 (n=101) versus T2 (n=60), 60.89
                                                  [±12.17] versus 64.70 [±13.34]; t-test
                                                  1.85; p=0.07
                                             • T1 (n=101) versus T3 (n=35), 60.89
                                                  [±12.17] versus 67.40 [±13.93], t-test
                                                  2.63; p<0.001



                                       81
                              Case
                              Case 1:22-cv-01075-JMS-MKK
                                   1:22-cv-01075-JMS-DLP Document
                                                         Document 36-9
                                                                  47-1 Filed
                                                                       Filed 06/17/22
                                                                             06/30/22 Page
                                                                                      Page 196
                                                                                           631 of
                                                                                               of 245
                                                                                                  902 PageID
                                                                                                      PageID #:
                                                                                                             #:
                                                                  1152
                                                                  1915

                                                                                              •    T2 (n=60) versus T3 (n=35), 64.70
                                                                                                   [±13.34] versus 67.40 [±13.93], t-test
                                                                                                   0.94; p=0.35
                                                                                              The immediately eligible adolescents
                                                                                              had a CGAS score which was not
                                                                                              statistically significantly different
                                                                                              compared to the sample of children/
                                                                                              adolescents without observed
                                                                                              psychological /psychiatric symptoms
                                                                                              after 12 months of puberty suppression
                                                                                              (T3, t=0.01, p=0.99).


Study details                      Population                         Interventions           Study outcomes                                Appraisal and Funding
de Vries A, Steensma T,            The sample size was 70             Intervention            Critical outcomes                             This study was appraised using
Doreleijers T, et al. (2011)       adolescents receiving GnRH         70 adolescents were     Impact on gender dysphoria                    the Newcastle-Ottawa tool for
Puberty suppression in             analogues (mean age [±SD] at       assessed at baseline    Impact on gender dysphoria was                cohort studies.
adolescents with gender            assessment 13.6±1.8 years)         (T0) before the start   assessed using the Utrecht Gender
identity disorder: a prospective   from a sampling frame of 196       of GnRH analogues       Dysphoria Scale (UGDS).                       Domain 1: Selection
follow-up study. The Journal of    consecutive adolescents            (no specific            • There was no statistically significant      1. somewhat representative of
Sexual Medicine 8 (8):2276-        referred to the service between    treatment, dose or          difference in UGDS scores between            children and adolescents
83.                                2000 and 2008.                     route of                    T0 and T1 (n=41). There was a                who have gender dysphoria
                                   Inclusion criteria were if they    administration              statistically significant difference      2. no non-exposed cohort
Netherlands                        subsequently started gender-       reported).                  between sex assigned at birth males       3. no description
                                   affirming hormones between                                     and sex assigned at birth females,        4. no
Prospective longitudinal           2003 and 2009 (mean [±SD] age      Comparison                  with sex assigned at birth females        Domain 2: Comparability
observational single centre        at start of GnRH analogues was     The same 70                 reporting more gender dysphoria, F        1. study controls for age, age at
before and after study.            14.75 [±1.92] years)1. No          adolescents were            (df, errdf), P: 15.98 (1,39), p<0.001.       start of treatment, IQ, and
                                   specific exclusion criteria were   assessed again at                                                        parental factors
                                   described.                         follow-up (T1),         Impact on mental health                       Domain 3: Outcome
                                                                      shortly before          Depressive symptoms were assessed             1. no description
                                   No diagnostic criteria or          starting gender-        using the Beck Depression Inventory           2. no/unclear
                                   concomitant treatments were        affirming hormones.     (BDI-II).                                     3. complete
                                   reported. Tanner stage of the      Not all adolescents     • There was a statistically significant
                                   included adolescents was not       completed all               reduction in BDI score between T0         Overall quality is assessed as
                                   reported.                          assessments for all         and T1, n=41, 8.31 [±7.12] versus         poor.
                                                                      items2.                     4.95 [±6.72], F (df, errdf), P: 9.28
                                                                                                  (1,39), p=0.004.                          Other comments: Physical and
                                                                                              • There was no statistically significant      psychological comorbidity was
                                                                                                  difference between sex assigned at        not reported, concomitant use of
                                                                                     82
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 197
                                                             632 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1153
                                    1916

                                                 birth males and sex assigned at birth      other medicines was not
                                                 females, F (df, errdf), P: 3.85 (1,39),    reported.
                                                 p=0.057.
                                                                                            Source of funding: This study
                                             Anger and anxiety were assessed using          was supported by a personal
                                             Trait Anger and Anxiety (TPI and STAI,         grant awarded to the first author
                                             respectively) Scales of the State-Trait        by the Netherlands Organization
                                             Personality Inventory.                         for Health Research and
                                             • There was no statistically significant       Development.
                                                 difference in anger (TPI) scale scores
                                                 between T0 and T1 (n=41). There
                                                 was a statistically significant
                                                 difference between sex assigned at
                                                 birth males and sex assigned at birth
                                                 females, with sex assigned at birth
                                                 females reporting increased anger
                                                 compared with sex assigned at birth
                                                 males, F (df, errdf), P: 5.70 (1,39),
                                                 p=0.022.
                                             • Similarly, there was no statistically
                                                 significant difference in anxiety (STAI)
                                                 scale scores between T0 and T1
                                                 (n=41). There was a statistically
                                                 significant difference between sex
                                                 assigned at birth males and sex
                                                 assigned at birth females, with sex
                                                 assigned at birth females reporting
                                                 increased anxiety compared with sex
                                                 assigned at birth males, F (df, errdf),
                                                 P: 16.07 (1,39), p<0.001.

                                             Impact on quality of life
                                             Not assessed.

                                             Important outcomes
                                             Impact on body image
                                             Impact on body image was assessed
                                             using the Body Image Scale to measure
                                             body satisfaction (BIS).


                                       83
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 198
                                                             633 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1154
                                    1917

                                             There was no statistically significant
                                             difference between T0 and T1 for any of
                                             the 3 BIS scores (primary sex
                                             characteristics, secondary sex
                                             characteristics or neutral characteristics,
                                             n=57). There were statistically significant
                                             differences between sex assigned at birth
                                             males and sex assigned at birth females,
                                             with sex assigned at birth females
                                             reporting more dissatisfaction, for:
                                             • primary sexual characteristics, F (df,
                                                  errdf), P: 4.11 (1,55), p=0.047.
                                             • secondary sexual characteristics, F
                                                  (df, errdf), P: 11.57 (1,55), p=0.001.
                                             But no statistically significant difference
                                             between sex assigned at birth males and
                                             sex assigned at birth females was found
                                             for neutral characteristics. However, there
                                             was a significant interaction effect
                                             between sex assigned at birth sex and the
                                             changes of gender dysphoria between T0
                                             and T1; sex assigned at birth females
                                             became more dissatisfied with their
                                             secondary sex characteristics compared
                                             with sex assigned at birth males, F (df,
                                             errdf), P: 14.59 (1,55), p<0.001) and
                                             neutral characteristics, F (df, errdf), P:
                                             15.26 (1,55), p<0.001).

                                             Psychosocial impact
                                             Psychosocial impact was assessed using
                                             both the Child Behaviour Checklist
                                             (CBCL) and the Youth Self-Report (YSR)
                                             to parents and adolescents, respectively.
                                             The Children’s Global Assessment Scale
                                             was also reported.
                                             There was a statistically significant
                                             decrease in mean (±SD) total,
                                             internalising, and externalising3 parental


                                       84
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 199
                                                             634 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1155
                                    1918

                                             CBCL scores between T0 and T14 for all
                                             adolescents (n=54):
                                             • Total score (T0 – T1) 60.70 [±12.76]
                                                  versus 54.46 [±11.23], F (df, errdf), P:
                                                  26.17 (1,52), p<0.001.
                                             • Internalising score (T0 – T1) 61.00
                                                  [±12.21] versus 54.56 [±10.22], F (df,
                                                  errdf), P: 22.93 (1,52), p<0.001.
                                             • Externalising score (T0 – T1) 58.04
                                                  [±12.99] versus 53.81 [±11.86], F (df,
                                                  errdf), P: 12.04 (1,52), p=0.001.
                                             There was no statistically significant
                                             difference between sex assigned at birth
                                             males and sex assigned at birth females
                                             for total and internalising CBCL score but
                                             there was a significant difference for the
                                             externalising score:
                                             • Externalising score, F (df, errdf), P:
                                                  6.29 (1,52), p=0.015.
                                             There was a statistically significant
                                             decrease in mean (±SD) total,
                                             internalising, and externalising3 YSR
                                             scores between T0 and T1 for all
                                             adolescents (n=54):
                                             • Total score (T0 – T1) 55.46 [±11.56]
                                                  versus 50.00 [±10.56], F (df, errdf), P:
                                                  16.24 (1,52), p<0.001.
                                             • Internalising score (T0 – T1) 56.04
                                                  [±12.49] versus 49.78 [±11.63], F (df,
                                                  errdf), P: 15.05 (1,52), p<0.001.
                                             • Externalising score (T0 – T1) 53.30
                                                  [±11.87] versus 49.98 [±9.35], F (df,
                                                  errdf), P: 7.26 (1,52), p=0.009.
                                             There was no statistically significant
                                             difference between sex assigned at birth
                                             males and sex assigned at birth females
                                             for total and internalising YSR score but
                                             there was a significant difference for the
                                             externalising score:


                                       85
                                  Case
                                  Case 1:22-cv-01075-JMS-MKK
                                       1:22-cv-01075-JMS-DLP Document
                                                             Document 36-9
                                                                      47-1 Filed
                                                                           Filed 06/17/22
                                                                                 06/30/22 Page
                                                                                          Page 200
                                                                                               635 of
                                                                                                   of 245
                                                                                                      902 PageID
                                                                                                          PageID #:
                                                                                                                 #:
                                                                      1156
                                                                      1919

                                                                                                        •    Externalising score, F (df, errdf), P:
                                                                                                             9.14 (1,52), p=0.004.
                                                                                                        There was a statistically significant
                                                                                                        increase in CGAS mean (±SD) score
                                                                                                        between T0 and T1 (n=41), 70.24 [±10.12]
                                                                                                        versus 73.90 [±9.63], F (df, errdf), P: 8.76
                                                                                                        (1,39), p=0.005. There was a statistically
                                                                                                        significant difference between sex
                                                                                                        assigned at birth males and sex assigned
                                                                                                        at birth females, with sex assigned at birth
                                                                                                        females reporting lower score for global
                                                                                                        functioning compared with sex assigned
                                                                                                        at birth males, F (df, errdf), P: 5.77 (1,52),
                                                                                                        p=0.021.
                                                                                                        The proportion of adolescents scoring in
                                                                                                        the clinical range significantly decreased
                                                                                                        between T0 and T1, on the CBCL total
                                                                                                        problem scale (44.4% versus 22.2%, X2[1]
                                                                                                        = 6.00, p=0.001), and the internalising
                                                                                                        scale (29.6% versus 11.1%, X2[1] = 5.71,
                                                                                                        p=0.017) of the YSR.
1 There were statistically significant mean age [±SD] differences between sex assigned at birth males and sex assigned at birth females for age at assessment (13.14 [±1.55] versus 14.10

[±1.99] years, p=0.028), age at start of GnRH analogues (14.25 [±1.79] versus 15.21 [±1.95] years, p=0.036) and age at the start of gender-affirming hormones (16.24 [±1.21] versus 16.99
[±1.09] years, p=0.008). No statistically significant differences were seen for other baseline characteristics, time between GnRH analogue and gender-affirming hormones, full scale IQ, parental
marital status, education, and sexual attraction to own, other or both sexes.
2 Independent t-tests between mean scores on the CBCL, YSR, BDI, TPI, STAI, CGAS, UGS, and BIS of adolescents who completed both assessments and mean scores of adolescents who

completed only one of the assessments revealed no significant differences on all used measures, at neither T0 or at T1.
3 The CBCL/YSR has 2 components: Internalising score which sums the anxious/depressed, withdrawn-depressed, and somatic complaints scores; externalising score which sums rule-breaking

and aggressive behaviour. The total problems score is the sum of the scores of all the problem items. The YSR is a child self-report version of the CBCL.
4 A repeated measures ANOVA (analysis of variance) was used.




 Study details                            Population                             Interventions              Study outcomes                                  Appraisal and Funding
 Joseph T, Ting J, Butler G. (2019)       Adolescents (12 to 14 years)           Treatment with a           Critical outcomes                               This study was appraised using
 The effect of GnRH analogue              with gender dysphoria (no              GnRH analogue for          No critical outcomes assessed.                  the Newcastle-Ottawa quality
 treatment on bone mineral density        diagnostic criteria described),        at least 1 year or                                                         assessment checklist for cohort
 in young adolescents with gender         n=70,                                  ongoing until they         Important outcomes                              studies.
 dysphoria: findings from a large                                                reached 16 years.          Bone density: lumbar1
                                          including 31 transfemales and
 national cohort. Journal of                                                     No specific                Lumbar spine bone mineral apparent
                                          39 transmales.                                                                                                    Domain 1: Selection
 pediatric endocrinology &                                                       treatment, dose or         density (BMAD)2 0 to 1 year
 metabolism 32(10): 1077-1081                                                    route of                   Transfemales (mean [±SD]):
                                                                                               86
                             Case
                             Case 1:22-cv-01075-JMS-MKK
                                  1:22-cv-01075-JMS-DLP Document
                                                        Document 36-9
                                                                 47-1 Filed
                                                                      Filed 06/17/22
                                                                            06/30/22 Page
                                                                                     Page 201
                                                                                          636 of
                                                                                              of 245
                                                                                                 902 PageID
                                                                                                     PageID #:
                                                                                                            #:
                                                                 1157
                                                                 1920

Study details                       Population                         Interventions     Study outcomes                              Appraisal and Funding
                                    All had been seen and assessed     administration    0.235 (0.030) g/cm3 at baseline,            1. Somewhat representative of
United Kingdom                      by a Gender Identity               reported.         0.233 g/cm3 (0.029) at 1 year (p=0.459);    children and adolescents who
                                    Development Service multi-         No concomitant    z-score 0.859 (0.154) at baseline, −0.228   have gender dysphoria
                                    disciplinary psychosocial health   treatments were   (1.027) at 1 year (p=0.000)                 2. Not applicable
Retrospective longitudinal          team for at least 4 assessments                      Transmales (mean [±SD]):
                                                                       reported.                                                     3. Via routine clinical records
observational single centre study   over a minimum of 6 months. All                      0.196 (0.035) g/cm3 at baseline, 0.201
                                                                       No comparator.                                                4. No
                                    participants had entered puberty                     (0.033) g/cm3 at 1 year (p=0.074);
To investigate whether there is     and all but 2 of the transmales                      z-score −0.186 (1.230) at baseline,         Domain 2: Comparability
any significant loss of bone        were postmenarchal.                                  −0.541 (1.396) at 1 year (p=0.006)          1. No control group
mineral density (BMD) and bone      57% of the transfemales were in                      Lumbar spine BMAD 0 to 2 years
                                                                                                                                     Domain 3: Outcome
mineral apparent density (BMAD)     early puberty (G2–3 and                              Transfemales (mean [±SD]):
                                    testicular volume >4 mL) and                         0.240 (0.027) g/cm3 at baseline, 0.240      1. Via routine clinical records
for up to 3 years of GnRH
analogues. To investigate           43% were in late puberty (G4–                        (0.030) g/cm3 at 2 years (p=0.865);         2. Yes
whether there was a significant     5).                                                  z-score 0.486 (0.809) at baseline, −0.279   3. No statement
drop after 1 year of treatment                                                           (0.930) at 2 years (p=0.000)
                                    Details of the sampling frame
following abrupt withdrawal.                                                             Transmales (mean [±SD]):
                                    were not reported.                                                                               Overall quality is assessed as
                                                                                         0.195 (0.058) g/cm3 at baseline, 0.198
                                    Further details of how the                           (0.055) at 2 years (p=0.433);               poor.
2011 to 2016                        sample was drawn are not                             z-score −0.361 (1.439) at baseline,
                                    reported.                                            −0.913 (1.318) at 2 years (p=0.001)
                                                                                         Lumbar spine bone mineral density           Other comments: although the
                                                                                         (BMD) 0 to 1 year                           evidence is of poor quality, the
                                                                                         Transfemales (mean [±SD]):                  results suggest a possible
                                                                                         0.860 (0.154) kg/m2 at baseline, 0.859      association between GnRH
                                                                                         (0.129) kg/m2 at 1 year (p=0.962);          analogues and BMAD.
                                                                                         z-score −0.016 (1.106) at baseline,         However, the results are not
                                                                                         −0.461 (1.121) at 1 year (p=0.003)          reliable and could be due to
                                                                                         Transmales (mean [±SD]):                    bias or chance. Further details
                                                                                         0.694 (0.149) kg/m2 at baseline, 0.718      of how the sample was drawn
                                                                                         (0.124) kg/m2 at 1 year (p=0.006);          are not reported. No
                                                                                         z-score −0.395 (1.428) at baseline,         concomitant treatments were
                                                                                         −1.276 (1.410) at 1 year (p=0.000)          reported.
                                                                                         Lumbar spine BMD 0 to 2 years
                                                                                         Transfemales (mean [±SD]):
                                                                                         0.867 (0.141) kg/m2 at baseline, 0.878      Source of funding: None
                                                                                         (0.130) kg/m2 at 2 years (p=0.395);         disclosed
                                                                                         z-score 0.130 (0.972) at baseline, −0.890
                                                                                         (1.075) at 2 years (p=0.000)
                                                                                         Transmales (mean [±SD]):

                                                                                  87
                                 Case
                                 Case 1:22-cv-01075-JMS-MKK
                                      1:22-cv-01075-JMS-DLP Document
                                                            Document 36-9
                                                                     47-1 Filed
                                                                          Filed 06/17/22
                                                                                06/30/22 Page
                                                                                         Page 202
                                                                                              637 of
                                                                                                  of 245
                                                                                                     902 PageID
                                                                                                         PageID #:
                                                                                                                #:
                                                                     1158
                                                                     1921

 Study details                           Population                           Interventions           Study outcomes                                    Appraisal and Funding
                                                                                                      0.695 (0.220) kg/m2 at baseline, 0.731
                                                                                                      (0.209) kg/m2 at 2 years (p=0.058);
                                                                                                      z-score −0.715 (1.406) at baseline,
                                                                                                      −2.000 (1.384) at 2 years (p=0.000)

                                                                                                      Bone density: femoral
                                                                                                      Femoral neck (hip) BMD 0 to 1 year
                                                                                                      Transfemales (mean [±SD]):
                                                                                                      0.894 (0.118) kg/m2 at baseline, 0.905
                                                                                                      (0.104) kg/m2 at 1 year (p=0.571);
                                                                                                      z-score 0.157 (0.905) at baseline, −0.340
                                                                                                      (0.816) at 1 year (p=0.002)
                                                                                                      Transmales (mean [±SD]):
                                                                                                      0.772 (0.137) kg/m2 at baseline, 0.785
                                                                                                      (0.120) kg/m2 at 1 year (p=0.797);
                                                                                                      z-score −0.863 (1.215) at baseline,
                                                                                                      −1.440 (1.075) at 1 year (p=0.000)
                                                                                                      Femoral neck (hip) BMD 0 to 2 years
                                                                                                      Transfemales (mean [±SD]):
                                                                                                      0.920 (0.116) kg/m2 at baseline, 0.910
                                                                                                      (0.125) kg/m2 at 2 years (p=0.402);
                                                                                                      z-score 0.450 (0.781) at baseline, −0.600
                                                                                                      (1.059) at 2 years (p=0.002)
                                                                                                      Transmales (mean [±SD]):
                                                                                                      0.766 (0.215) kg/m2 at baseline, 0.773
                                                                                                      (0.197) at 2 years (p=0.604);
                                                                                                      z-score −1.075 (1.145) at baseline,
                                                                                                      −1.779 (0.816) at 2 years (p=0.001)
1 Lumbar spine (L1-L4) BMD was measured by yearly dual energy X-ray absorptiometry (DXA) scans at baseline (n=70), 1 year (n=70), and 2 years (n=31).
2 BMAD is a size adjusted value of BMD incorporating body size measurements using UK norms in growing adolescents. Reported as g/cm3 and z-scores. Hip BMAD z-scores were not

calculated as there were no available reference ranges.



 Study details                        Population                          Interventions             Study outcomes                                  Appraisal and Funding
 Khatchadourian K, Shazhan A,         27 young people with gender         Intervention              Critical Outcomes                               This study was appraised using
 Metzger D. (2014) Clinical           dysphoria who started GnRH          84 young people with      No critical outcomes assessed.                  the Newcastle-Ottawa tool for
 management of youth with             analogues (at mean age [±SD]        gender dysphoria                                                          cohort studies.
 gender dysphoria in                  14.7±1.9 years) out of 84 young     were included. For        Important outcomes
                                                                          GnRH analogues no         Stopping treatment                              Domain 1: Selection
                                                                                           88
                              Case
                              Case 1:22-cv-01075-JMS-MKK
                                   1:22-cv-01075-JMS-DLP Document
                                                         Document 36-9
                                                                  47-1 Filed
                                                                       Filed 06/17/22
                                                                             06/30/22 Page
                                                                                      Page 203
                                                                                           638 of
                                                                                               of 245
                                                                                                  902 PageID
                                                                                                      PageID #:
                                                                                                             #:
                                                                  1159
                                                                  1922

Vancouver. The Journal of        people seen at the unit between     specific treatment,   The authors report that of 15 transmales     1. not reported
Pediatrics 164 (4): 906-11.      1998 and 2011.                      dose or route of      taking GnRH analogues:                       2. no non-exposed cohort
                                 Note: the transmale and             administration        • 14 transitioned to testosterone            3. secure record
Canada                           transfemale subgroups reported      reported.                 treatment during the observation         4. no
                                 in the paper is discrepant, 15      Comparison                period                                   Domain 2: Comparability
Retrospective observational      transmales and 11 transfemales      No comparator.        • 7 continued taking GnRH analogues          1. not applicable
chart review single centre       (n=26) reported in the outcomes                               after starting testosterone              Domain 3: Outcome
study                            section rather than the n=27                              • 7 discontinued GnRH analogues after        1. record linkage
                                 stated in the paper; complete                                 a median of 3.0 years (range 0.2 to      2. yes
                                 outcome reporting is also                                     9.2 years), of which:                    3. in complete missing data
                                 incomplete for the transfemale                                o 5 discontinued after hysterectomy
                                 group.                                                            and salpingo-oophorectomy            Overall quality is assessed as
                                 Inclusion criteria were at least                              o 1 discontinued after 2.2 years         poor.
                                 Tanner stage 2 pubertal                                           (transitioned to gender-affirming
                                 development, previous                                             hormone)                             Other comments: mental health
                                 assessment by a mental health                                 o 1 discontinued after <2 months         comorbidity was reported for all
                                 professional and a confirmed                                      due to mood and emotional            participants but not for the GnRH
                                 diagnosis of gender dysphoria                                     lability                             analogue cohort separately.
                                 (diagnostic criteria not                                  The authors report that of 11 transfemales   Concomitant use of other
                                 specified). No exclusion criteria                         taking GnRH analogues:                       medicines was not reported.
                                 are specified.                                            • 5 received oestrogen treatment during
                                                                                               the observation period                   Source of funding: No source of
                                                                                           • 4 continued taking GnRH analogues          funding identified.
                                                                                               during oestrogen treatment
                                                                                           • 1 discontinued GnRH analogues
                                                                                               during oestrogen treatment (no
                                                                                               reason reported)
                                                                                           • 1 stopped GnRH analogues after a
                                                                                               few months due to emotional lability
                                                                                           • 1 stopped GnRH analogues before
                                                                                               oestrogen treatment (the following
                                                                                               year delayed due to heavy smoking)
                                                                                           • 1 discontinued GnRH analogues after
                                                                                               13 months due to choosing not to
                                                                                               pursue transition

                                                                                           Safety
                                                                                           Of the 27 patients treated with GnRH
                                                                                           analogues:


                                                                                     89
                              Case
                              Case 1:22-cv-01075-JMS-MKK
                                   1:22-cv-01075-JMS-DLP Document
                                                         Document 36-9
                                                                  47-1 Filed
                                                                       Filed 06/17/22
                                                                             06/30/22 Page
                                                                                      Page 204
                                                                                           639 of
                                                                                               of 245
                                                                                                  902 PageID
                                                                                                      PageID #:
                                                                                                             #:
                                                                  1160
                                                                  1923

                                                                                                •     1 transmale participant developed
                                                                                                      sterile abscesses; they were switched
                                                                                                      from leuprolide acetate to triptorelin,
                                                                                                      and this was well tolerated.
                                                                                                •     1 transmale participant developed leg
                                                                                                      pains and headaches on GnRH
                                                                                                      analogues, which eventually resolved
                                                                                                      without treatment.
                                                                                                •     1 participant gained 19 kg within 9
                                                                                                      months of initiating GnRH analogues,
                                                                                                      although their body mass index was
                                                                                                      >85 percentile before GnRH
                                                                                                      analogues.


Study details                         Population                         Interventions              Study outcomes                              Appraisal and Funding
Klink D, Caris M, Heijboer A et al.   34 adolescents (mean age ±SD       The intervention           Critical outcomes                           This study was appraised using
(2015) Bone mass in young             14.9±1.9 for transfemales and      was GnRH                   No critical outcomes assessed.              the Newcastle-Ottawa quality
adulthood following gonadotropin-     15.0±2.0 for transmales at start   analogue                                                               assessment checklist for cohort
releasing hormone analog              of GnRH analogues).                monotherapy                Important outcomes                          studies.
treatment and cross-sex hormone       Participants were included if      (triptorelin pamoate       Bone density: lumbar
treatment in adolescents with         they met DSM-IV-TR criteria for    3.75 mg                    Lumbar spine bone mineral apparent          Domain 1: Selection
gender dysphoria. The Journal of      gender identity disorder of        subcutaneously             density (BMAD)1                             1. somewhat representative of
clinical endocrinology and            adolescence and had been           every 4 weeks)             Change from starting GnRH analogue          children and adolescents who
metabolism 100(2): e270-5             treated with GnRH analogues        followed by gender-        (mean age 14.9±1.9) to starting gender-     have gender dysphoria
                                      and gender-affirming hormones      affirming hormones         affirming hormones (mean age                2. not applicable
                                      during their pubertal years. No    from 16 years with         16.6±1.4) in transfemales (mean [±SD]):     3. via routine clinical records
Netherlands
                                      concomitant treatments were        discontinuation of         GnRH analogue: 0.22 (0.03) g/cm3,           4. no
                                      reported.                          GnRH analogue              gender-affirming hormones: 0.22 (0.02)      Domain 2: Comparability
Retrospective longitudinal                                               after gonadectomy.         g/cm3 (NS);                                 1. no control group
observational single centre study                                                                   z-score GnRH analogue: −0.44 (1.10),        Domain 3: Outcome
                                                                                                    gender-affirming hormones: −0.90 (0.80)     1. via routine clinical records
                                                                         Median duration of
                                                                                                    (p=NS)                                      2. yes
To assess BMD development                                                GnRH analogue
                                                                                                    Change from starting GnRH analogue          3. follow-up rate variable across
during GnRH analogues and at                                             monotherapy in
                                                                                                    (mean age 15.0±2.0) to starting gender-     timepoints and no description of
age 22 years in adolescents with                                         transfemales was
                                                                                                    affirming hormones (mean age                those lost
gender dysphoria who started                                             1.3 years (range,
                                                                                                    16.4±2.3) in transmales (mean [±SD]:
treatment for gender dysphoria                                           0.5 to 3.8 years),
                                                                                                    GnRH analogue: 0.25 (0.03) g/cm3,           Overall quality is assessed as
during adolescence.                                                      and in transmales
                                                                                                    gender-affirming hormones: 0.24 (0.02)      poor.
                                                                         was 1.5 years
                                                                                                    g/cm3 (NS);
                                                                                     90
                Case
                Case 1:22-cv-01075-JMS-MKK
                     1:22-cv-01075-JMS-DLP Document
                                           Document 36-9
                                                    47-1 Filed
                                                         Filed 06/17/22
                                                               06/30/22 Page
                                                                        Page 205
                                                                             640 of
                                                                                 of 245
                                                                                    902 PageID
                                                                                        PageID #:
                                                                                               #:
                                                    1161
                                                    1924

Study details        Population               Interventions     Study outcomes                            Appraisal and Funding
1998 to 2012                                  (range, 0.25 to   z-score GnRH analogue: 0.28 (0.90),       Other comments: Within person
                                              5.2 years).       gender-affirming hormones: −0.50 (0.81)   comparison. Small numbers of
                                                                (p=0.004)                                 participants in each subgroup. No
                                                                Lumbar spine bone mineral density         concomitant treatments or
                                                                (BMD)1                                    comorbidities were reported.
                                                                Change from starting GnRH analogue
                                                                (mean age 14.9±1.9) to starting gender-   Source of funding: None
                                                                affirming hormones (mean age              disclosed
                                                                16.6±1.4) in transfemales (mean [±SD]):
                                                                GnRH analogue: 0.84 (0.13) g/m2,
                                                                gender-affirming hormones: 0.84 (0.11)
                                                                g/m2 (NS);
                                                                z-score GnRH analogue: −0.77 (0.89),
                                                                gender-affirming hormones: −1.01 (0.98)
                                                                (NS)
                                                                Change from starting GnRH analogue
                                                                (mean age 15.0±2.0) to starting gender-
                                                                affirming hormones (mean age
                                                                16.4±2.3) in transmales (mean [±SD]):
                                                                GnRH analogue: 0.95 (0.12) g/m2,
                                                                gender-affirming hormones: 0.91 (0.10)
                                                                g/m2 (p=0.006);
                                                                z-score GnRH analogue: 0.17 (1.18),
                                                                gender-affirming hormones: −0.72 (0.99)
                                                                (p<0.001)

                                                                Bone density; femoral
                                                                Femoral area BMAD1
                                                                Change from starting GnRH analogue
                                                                (mean age 14.9±1.9) to starting gender-
                                                                affirming hormones (mean age
                                                                16.6±1.4) in transfemales (mean [±SD]),
                                                                GnRH analogue: 0.28 (0.04) g/cm3,
                                                                gender-affirming hormones: 0.26 (0.04)
                                                                g/cm3 (NS);
                                                                z-score GnRH analogue: −0.93 (1.22),
                                                                gender-affirming hormones: −1.57 (1.74)
                                                                (p=NS)
                                                                Change from starting GnRH analogue

                                                          91
                                Case
                                Case 1:22-cv-01075-JMS-MKK
                                     1:22-cv-01075-JMS-DLP Document
                                                           Document 36-9
                                                                    47-1 Filed
                                                                         Filed 06/17/22
                                                                               06/30/22 Page
                                                                                        Page 206
                                                                                             641 of
                                                                                                 of 245
                                                                                                    902 PageID
                                                                                                        PageID #:
                                                                                                               #:
                                                                    1162
                                                                    1925

 Study details                          Population                           Interventions           Study outcomes                               Appraisal and Funding
                                                                                                     (mean age 15.0±2.0) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.4±2.3) in transmales (mean [±SD]),
                                                                                                     GnRH analogue: 0.32 (0.04) g/cm3,
                                                                                                     gender-affirming hormones: 0.31 (0.04)
                                                                                                     (NS);
                                                                                                     z-score GnRH analogue: 0.01 (0.70),
                                                                                                     gender-affirming hormones: −0.28 (0.74)
                                                                                                     (NS)
                                                                                                     Femoral area BMD1
                                                                                                     Change from starting GnRH analogue
                                                                                                     (mean age 14.9±1.9) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.6±1.4) in transfemales (mean [±SD]),
                                                                                                     GnRH analogue: 0.88 (0.12) g/m2,
                                                                                                     gender-affirming hormones: 0.87 (0.08)
                                                                                                     (NS);
                                                                                                     z-score GnRH analogue: −0.66 (0.77),
                                                                                                     gender-affirming hormones: −0.95 (0.63)
                                                                                                     (NS)
                                                                                                     Change from starting GnRH analogue
                                                                                                     (mean age 15.0±2.0) to starting gender-
                                                                                                     affirming hormones (mean age
                                                                                                     16.4±2.3) in transmales (mean [±SD]),
                                                                                                     GnRH analogue: 0.92 (0.10) g/m2,
                                                                                                     gender-affirming hormones: 0.88 (0.09)
                                                                                                     (p=0.005);
                                                                                                     z-score GnRH analogue: 0.36 (0.88),
                                                                                                     gender-affirming hormones: −0.35 (0.79)
                                                                                                     (p=0.001)
1 BMD and BMAD of the lumbar spine and femoral region (nondominant side) measured by DXA scans at start of GnRH analogues, (n=32), start of gender-affirming hormones (n=34), and at 22

years (n=34).



 Study details                Population                                  Interventions            Study outcomes                                 Appraisal and Funding
 Schagen SEE, Cohen-          Adolescents with gender dysphoria           GnRH analogue            Critical outcomes                              This study was appraised using
 Kettenis PT, Delemarre-      (n=116), median age (range)                 monotherapy              No critical outcomes assessed.                 the Newcastle-Ottawa quality
 van de Waal HA et al.        13.6 years (11.6 to 17.9) in                (triptorelin pamoate                                                    assessment checklist for cohort
 (2016)                       transfemales and 14.2 years (11.1 to        3.75 mg at 0, 2 and 4    Important outcomes                             studies.
                                                                                          92
                              Case
                              Case 1:22-cv-01075-JMS-MKK
                                   1:22-cv-01075-JMS-DLP Document
                                                         Document 36-9
                                                                  47-1 Filed
                                                                       Filed 06/17/22
                                                                             06/30/22 Page
                                                                                      Page 207
                                                                                           642 of
                                                                                               of 245
                                                                                                  902 PageID
                                                                                                      PageID #:
                                                                                                             #:
                                                                  1163
                                                                  1926

Study details                Population                                 Interventions           Study outcomes                               Appraisal and Funding
Efficacy and Safety of       18.6) in transmales during first year of   weeks followed by       Other safety outcomes: liver function
Gonadotropin-Releasing       GnRH analogues.                            injections every 4      Glutamyl transferase was not elevated at     Domain 1: Selection
Hormone Agonist              Participants were included if they met     weeks, route of         baseline or during treatment in any          1. somewhat representative of
Treatment to Suppress        DSM-IV-TR criteria for gender              administration not      subject. Mild elevations of aspartate        children and adolescents who
Puberty in Gender            dysphoria, had lifelong extreme            described) for at       aminotransferase (AST) and alanine           have gender dysphoria
Dysphoric Adolescents.       gender dysphoria, were                     least 3 months.         aminotransferase (ALT) above the             2. not applicable
The journal of sexual        psychologically stable and were living                             reference range were present at baseline     3. via routine clinical records
medicine 13(7): 1125-32      in a supportive environment. No                                    but were not more prevalent during           4. no
                             concomitant treatments were                                        treatment than at baseline.                  Domain 2: Comparability
                             reported.                                                          Glutamyl transferase, AST, and ALT           1. no control group
Netherlands
                                                                                                levels did not significantly change from     Domain 3: Outcome
                                                                                                baseline to 12 months of treatment.          1. via routine clinical records
Prospective longitudinal                                                                        No values or statistical analyses were       2. yes
study                                                                                           reported.                                    3. no statement

                                                                                                Other safety outcomes: kidney                Overall quality is assessed as
To describe the changes
                                                                                                function                                     poor.
in Tanner stage,                                                                                Change in serum creatinine between 0
testicular volume,                                                                              and 1 year
gonadotropins, and sex                                                                                                                       Other comments: Within person
                                                                                                Transfemales (mean [±SD]): 70                comparison. No concomitant
steroids during GnRH
                                                                                                (12) micromol/l at baseline, 66 (13)         treatments or comorbidities were
analogues of
                                                                                                micromol/l at 1 year (p=0.20)                reported.
adolescents with gender
dysphoria to evaluate the
                                                                                                Transmales (mean [±SD]): 73 (8)              Source of funding: Ferring
efficacy. To report on
                                                                                                micromol/l at baseline, 68 (13) micromol/l   pharmaceuticals (triptorelin
liver enzymes, renal
                                                                                                at 1 year (p=0.01)                           manufacturer)
function and changes in
body composition.

1998 to 2009



Study details                  Population                                Interventions          Study outcomes                               Appraisal and Funding
Staphorsius A,                 The inclusion criteria were diagnosed     Intervention           Critical Outcomes                            This study was appraised using
Baudewijntje P, Kreukels       with Gender Identity Disorder             GnRH analogues         No critical outcomes assessed.               the Newcastle-Ottawa tool for
P, et al. (2015) Puberty       according to the DSM-IV-TR and at         (triptorelin pamoate                                                cohort studies.
suppression and executive      least 12 years old and Tanner stage       3.75 mg every 4        Important outcomes
functioning: an fMRI-study     of at least B2 or G2 to G3 with           weeks                  Psychosocial impact                          Domain 1: Selection domain

                                                                                        93
                             Case
                             Case 1:22-cv-01075-JMS-MKK
                                  1:22-cv-01075-JMS-DLP Document
                                                        Document 36-9
                                                                 47-1 Filed
                                                                      Filed 06/17/22
                                                                            06/30/22 Page
                                                                                     Page 208
                                                                                          643 of
                                                                                              of 245
                                                                                                 902 PageID
                                                                                                     PageID #:
                                                                                                            #:
                                                                 1164
                                                                 1927

Study details                Population                                Interventions         Study outcomes                            Appraisal and Funding
in adolescents with gender   measurable oestradiol and                 subcutaneously or     The Child Behaviour Checklist (CBCL)      1. somewhat representative of
dysphoria.                   testosterone levels in girls and boys,    intramuscularly).     was used to assess psychosocial impact.      children and adolescents
Psychoneuroendocrinology     respectively.                                                   The CBCL was administered once during        who have gender dysphoria
565:190-9.                                                             Comparison            the study. The reported outcomes for      2. drawn from the same
                             For all group’s exclusion criteria were   The comparison was    each group were (n, mean [±SD]):             community as the exposed
                             an insufficient command of the Dutch      between                   • Transfemales (all, n=18) 57.8          cohort
Netherlands
                             language (how assessed not                adolescents with               [±9.2]                           3. via routine clinical records
                             reported), unadjusted endocrine           gender dysphoria          • Transfemales on GnRH                4. no
Cross-sectional (single      disorders, neurological or psychiatric    receiving GnRH                 analogues (n=8) 57.4 [±9.8]      Domain 2: Comparability
time point) assessment       disorders that could lead to deviant      analogues and those       • Transfemales without GnRH           1. study controls for age and
single centre study          test results (details not reported) use   without GnRH                   analogues (n=10) 58.2 [±9.3]        diagnosis
                             of psychotropic medication, and           analogues.                • Transmales (all, n=22) 60.4         Domain 3: Outcome
                             contraindications for an MRI scan.                                       [±10.2]                          1. via clinical assessment
                             Additionally, adolescents receiving                                 • Transmales on GnRH analogues        2. yes
                             puberty delaying medication or any                                       (n=12) 57.5 [±9.4]               3. unclear
                             form of hormones besides oral                                       • Transmales without GnRH
                             contraceptives were excluded as                                          analogues (n=10) 63.9 [±10.5]    Overall quality is assessed as
                             controls.                                                       The analysis of the CBCL data is not      poor.
                             The sample size was 85 of whom 41                               discussed, and statistical analysis is
                             were adolescents (the numbers are                               unclear.                                  Other comments: Physical and
                             discrepant with the number for whom                                                                       psychological comorbidity was
                             outcomes are reported n=40) with                                Cognitive development or functioning      not reported, concomitant use of
                             gender dysphoria (20 of whom were                               IQ1                                       other medicines was not
                             being treated with GnRH analogues);                                 • Transfemales (mean [±SD]) on        reported.
                             24 girls and 21 boys without gender                                    GnRH analogues: 94.0 (10.3)
                             dysphoria acted as controls (not                                                                          Source of funding: This work
                                                                                                 • Transfemales (mean [±SD])
                             further reported here). Details of the                                                                    was supported by an educational
                                                                                                    without GnRH analogues: 109.4
                             sampling frame are not reported.                                                                          grant from the pharmaceutical
                                                                                                    (21.2)
                                                                                                                                       firm Ferring BV, and by a VICI
                                                                                                 • Transmales (mean [±SD]) on
                             The ages at which GnRH analogues                                                                          grant (453-08-003) from the
                                                                                                    GnRH analogues: 95.8 (15.6)
                             were started was not reported. The                                                                        Dutch Science Foundation. The
                             mean duration of treatment was 1.6                                  • Transmales (mean [±SD]) without     authors state that funding
                             years (SD 1.0)                                                         GnRH analogues: 98.5 (15.9)        sources did not play a role in any
                                                                                             Reaction time2                            component of this study.
                             Mean (±SD) Tanner stage for each                                    • Transfemales (mean [±SD]) on
                             group was reported:                                                    GnRH analogues: 10.9 (4.1)
                             • Transfemales 3.9 [±1.1]                                           • Transfemales (mean [±SD])
                             • Transfemales on GnRH                                                 without GnRH analogues: 9.9
                                 analogues 4.1 [±1.0]                                               (3.1)

                                                                                    94
                                  Case
                                  Case 1:22-cv-01075-JMS-MKK
                                       1:22-cv-01075-JMS-DLP Document
                                                             Document 36-9
                                                                      47-1 Filed
                                                                           Filed 06/17/22
                                                                                 06/30/22 Page
                                                                                          Page 209
                                                                                               644 of
                                                                                                   of 245
                                                                                                      902 PageID
                                                                                                          PageID #:
                                                                                                                 #:
                                                                      1165
                                                                      1928

 Study details                    Population                                    Interventions             Study outcomes                                    Appraisal and Funding
                                  •   Transfemales without GnRH                                                •Transmales (mean [±SD]) on
                                      analogues 3.8 [±1.1]                                                      GnRH analogues: 9.9 (3.1)
                                  • Transmales 4.5 [±0.9]                                                    • Transmales (mean [±SD]) without
                                  • Transmales on GnRH analogues                                                GnRH analogues: 10.0 (2.0)
                                      4.1 [±1.1]                                                          Accuracy3
                                  Transmales without GnRH analogues 4.9                                      • Transfemales (mean [±SD]) on
                                  [±0.3]                                                                        GnRH analogues: 73.9 (9.1)
                                                                                                             • Transfemales (mean [±SD])
                                                                                                                without GnRH analogues: 83.4
                                                                                                                (9.5)
                                                                                                             • Transmales (mean [±SD]) on
                                                                                                                GnRH analogues: 85.7 (10.5)
                                                                                                             • Transmales (mean [±SD]) without
                                                                                                                GnRH analogues: 88.8 (9.7)
1 Estimated with 4 subscales (arithmetic, vocabulary, picture arrangement, and block design) of the Wechsler Intelligence Scale for Children, third edition (WISC-III®, Wechsler 1991) or the

Wechsler Adult Intelligence Scale, third edition (WAIS-III®, Wechsler 1997), depending on the participant’s age.
2 Reaction time in seconds in the Tower of London task
3 Percentage of correct trials in the Tower of London task




 Study details                         Population                             Interventions              Study outcomes                                    Appraisal and Funding
 Vlot, Mariska C, Klink, Daniel        Adolescents with gender                GnRH analogues             Critical outcomes                                 This study was appraised using
 T, den Heijer, Martin et al.          dysphoria, n=70.                       (triptorelin pamoate       No critical outcomes reported                     the Newcastle-Ottawa quality
 (2017) Effect of pubertal             Median age (range) 15.1 years          3.75 mg every 4                                                              assessment checklist for cohort
 suppression and cross-sex             (11.7 to 18.6) for transmales and      weeks                      Important outcomes                                studies.
 hormone therapy on bone               13.5 years (11.5 to 18.3) for          subcutaneously).           Bone density: lumbar
 turnover markers and bone             transfemales at start of GnRH                                     Lumbar spine bone mineral apparent                Domain 1: Selection
 mineral apparent density              analogues.                                                        density (BMAD)                                    1. Somewhat representative of
 (BMAD) in transgender                                                                                   Change from starting GnRH analogue to             children and adolescents who
                                       Participants were included if
 adolescents. Bone 95: 11-19                                                                             starting gender-affirming hormones in             have gender dysphoria
                                       they had a diagnosis of gender
                                                                                                         transfemales (bone age of <15 years;              2. Not applicable
                                       dysphoria according to DSM-IV-
                                                                                                         median [range]), GnRH analogue: 0.21              3. Via routine clinical records
 Netherlands                           TR criteria who were treated
                                                                                                         (0.17 to 0.25) g/cm3, gender-affirming            4. No
                                       with GnRH analogues and then
                                                                                                         hormones: 0.20 (0.18 to 0.24) g/cm3               Domain 2: Comparability
                                       gender-affirming hormones. No
 Retrospective observational                                                                             (NS); z-score GnRH analogue: −0.20                1. No control group
                                       concomitant treatments were
 data analysis study                                                                                     (−1.82 to 1.18), gender-affirming                 Domain 3: Outcome
                                       reported.
                                                                                                         hormones: −1.52 (−2.36 to 0.42)                   1. Via routine clinical records
                                       The study categorised                                             (p=0.001)                                         2. Yes
                                                                                               95
                             Case
                             Case 1:22-cv-01075-JMS-MKK
                                  1:22-cv-01075-JMS-DLP Document
                                                        Document 36-9
                                                                 47-1 Filed
                                                                      Filed 06/17/22
                                                                            06/30/22 Page
                                                                                     Page 210
                                                                                          645 of
                                                                                              of 245
                                                                                                 902 PageID
                                                                                                     PageID #:
                                                                                                            #:
                                                                 1166
                                                                 1929

Study details                    Population                          Interventions        Study outcomes                            Appraisal and Funding
To investigate the course of 3   participants into a young and old                        Change from starting GnRH analogue to     3. Follow-up rate variable across
bone turnover markers in         pubertal group, based on their                           starting gender-affirming hormones in     outcomes and no description of
relation to bonemineral          bone age. The young                                      transfemales (bone age of ≥15; median     those lost
density, in adolescents with     transmales had a bone age of                             [range]), GnRH analogue: 0.22 (0.18 to
gender dysphoria during          <14 years and the old                                    0.25) g/cm3, gender-affirming hormones:   Overall quality is assessed as
GnRH analogue and gender-        transmales had a bone age of                             0.22 (0.19 to 0.24) g/cm3 (NS); z-score   poor.
affirming hormones.              ≥14 years. The young                                     GnRH analogue: −1.18 (−1.78 to 1.09),
                                 transfemales group had a bone                            gender-affirming hormones: −1.15 (−2.21   Other comments: Within person
                                 age of <15 years and the old                             to 0.08) (p≤0.1)                          comparison. No concomitant
2001 to 2011
                                 transfemales group ≥15 years.                            Change from starting GnRH analogue to     treatments were reported.
                                                                                          starting gender-affirming hormones in
                                                                                          transmales (bone age of <15 years;        Source of funding: grant from
                                                                                          median [range]), GnRH analogue: 0.23      Abbott diagnostics
                                                                                          (0.20 to 0.29) g/cm3, gender-affirming
                                                                                          hormones: 0.23 (0.19 to 0.28) g/cm3
                                                                                          (NS); z-score GnRH analogue: −0.05
                                                                                          (−0.78 to 2.94), gender-affirming
                                                                                          hormones: −0.84 (−2.20 to 0.87)
                                                                                          (p=0.003)
                                                                                          Change from starting GnRH analogue to
                                                                                          starting gender-affirming hormones in
                                                                                          transmales (bone age of ≥15; median
                                                                                          [range]), GnRH analogue: 0.26 (0.21 to
                                                                                          0.29) g/cm3, gender-affirming hormones:
                                                                                          0.24 (0.20 to 0.28) g/cm3 (p≤0.01);
                                                                                          z-score GnRH analogue: 0.27 (−1.60 to
                                                                                          1.80), gender-affirming hormones: −0.29
                                                                                          (−2.28 to 0.90) (p≤ 0.0001)

                                                                                          Bone density; femoral
                                                                                          Femoral neck BMAD
                                                                                          Change from starting GnRH analogue to
                                                                                          starting gender-affirming hormones in
                                                                                          transfemales (bone age of <15 years;
                                                                                          median [range]), GnRH analogue: 0.29
                                                                                          (0.20 to 0.33) g/cm3, gender-affirming
                                                                                          hormones: 0.27 (0.20 to 0.33) g/cm3
                                                                                          (p≤0.1);
                                                                                          z-score GnRH analogue: −0.71 (−3.35 to

                                                                                     96
                Case
                Case 1:22-cv-01075-JMS-MKK
                     1:22-cv-01075-JMS-DLP Document
                                           Document 36-9
                                                    47-1 Filed
                                                         Filed 06/17/22
                                                               06/30/22 Page
                                                                        Page 211
                                                                             646 of
                                                                                 of 245
                                                                                    902 PageID
                                                                                        PageID #:
                                                                                               #:
                                                    1167
                                                    1930

Study details      Population               Interventions        Study outcomes                            Appraisal and Funding
                                                                 0.37), gender-affirming hormones: −1.32
                                                                 (−3.39 to 0.21) (p≤0.1)
                                                                 Change from starting GnRH analogue to
                                                                 starting gender-affirming hormones in
                                                                 transfemales (bone age of ≥15; median
                                                                 [range]), GnRH analogue: 0.30 (0.26 to
                                                                 0.36) g/cm3, gender-affirming hormones:
                                                                 0.30 (0.26 to 0.34) g/cm3 (NS);
                                                                 z-score GnRH analogue: −0.44 (−1.37 to
                                                                 0.93), gender-affirming hormones: −0.36
                                                                 (−1.50 to 0.46) (NS)
                                                                 Change from starting GnRH analogue to
                                                                 starting gender-affirming hormones in
                                                                 transmales (bone age of <15 years;
                                                                 median [range]),
                                                                 GnRH analogue: 0.31 (0.26 to 0.36)
                                                                 g/cm3, gender-affirming hormones: 0.30
                                                                 (0.22 to 0.35) g/cm3 (NS);
                                                                 z-score GnRH analogue: −0.01 (−1.30 to
                                                                 0.91), gender-affirming hormones: −0.37
                                                                 (−2.28 to 0.47) (NS)
                                                                 Change from starting GnRH analogue to
                                                                 starting gender-affirming hormones in
                                                                 transmales (bone age of ≥15; median
                                                                 [range]), GnRH analogue: 0.33 (0.25 to
                                                                 0.39) g/cm3, gender-affirming hormones:
                                                                 0.30 (0.23 to 0.41) g/cm3 (p≤0.01);
                                                                 z-score GnRH analogue: 0.27 (−1.39 to
                                                                 1.32), gender-affirming hormones: −0.27
                                                                 (−1.91 to 1.29) (p=0.002)




                                                            97
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 212
                                                             647 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1168
                                    1931




   Appendix F Quality appraisal checklists

   Newcastle-Ottawa tool for cohort studies

    Question
    Domain: Selection
    1. Representativeness of the exposed cohort        Truly representative of the average [describe] in
                                                       the community
                                                       Somewhat representative of the average
                                                       [describe] in the community
                                                       Selected group of users e.g. nurses, volunteers
                                                       No description of the derivation of the cohort
    2. Selection of the non-exposed cohort             Drawn from the same community as the
                                                       exposed cohort
                                                       Drawn from a different source
                                                       No description of the derivation of the non-
                                                       exposed cohort
    3. Ascertainment of exposure                       Secure record (e.g. surgical records)
                                                       Structured interview
                                                       Written self-report
                                                       No description
    4. Demonstration that outcome of interest was      Yes / No
    not present at start of study
    Domain: Comparability
    1. Comparability of cohorts on the basis of the    Study controls for [select most important factor]
    design or analysis                                 Study controls for any additional factor [this
                                                       criteria could be modified to indicate specific
                                                       control for a second important factor]
    Domain: Outcome
    1. Assessment of outcome                           Independent blind assessment
                                                       Record linkage
                                                       Self-report
                                                       No description
    2. Was follow-up long enough for outcomes to
    occur                                              Yes [select and adequate follow up period for
                                                       outcome of interest]
                                                       No
    3. Adequacy of follow up of cohorts                Complete follow up (all subjects accounted for)
                                                       Subjects lost to follow up unlikely to introduce
                                                       bias (small number lost to follow up [select an
                                                       adequate %] follow up or description provided of
                                                       those lost)
                                                       Follow up rate [select an adequate %] and no
                                                       description of those lost
                                                       No statement




                                                      98
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 213
                                                                                      648 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1169
                                                             1932




Appendix G Grade profiles

Table 2: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – gender dysphoria
                                       QUALITY                                                            Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                Effect
                                                                                               patients (n/N%)
       Study           Risk of       Indirectness      Inconsistency      Imprecision    Intervention Comparator                Result
                        bias
 Impact on gender dysphoria

 Mean±SD Utrecht Gender Dysphoria Scale1 (version(s) not reported), time point at baseline (before GnRH analogues) versus follow-up (before
 gender-affirming hormones, higher scores indicate more gender dysphoria)

                       Serious        No serious      Not applicable         Not             N=41         None          Baseline: 53.20±7.91          Critical       VERY LOW
  1 cohort study     limitations2    indirectness                         calculable                                      GnRH analogue:
  de Vries et al
                                                                                                                            53.9±17.42
      2011
                                                                                                                              P=0.333
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 The UGDS is a validated screening tool for both adolescents and adults to assess gender dysphoria. It consists of 12 items, to be answered on a 1- to 5-point scale, resulting
in a sum score between 12 and 60. The higher the UGDS score the greater the gender dysphoria.
2 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).


Table 3: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – mental health
                                       QUALITY                                                            Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                Effect
                                                                                               patients (n/N%)
       Study           Risk of       Indirectness      Inconsistency      Imprecision    Intervention Comparator                Result
                        bias
 Impact on mental health



                                                                                        99
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 214
                                                                                      649 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1170
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                                        QUALITY                                                             Summary of findings                       IMPORTANCE        CERTAINTY
                                                                                                No of events/No of                Effect
                                                                                                 patients (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision     Intervention Comparator                Result
                         bias
 Mean±SD Beck Depression Inventory-II, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones).
 (Lower scores indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None           Baseline: 8.31±7.12           Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                      GnRH analogue:
   de Vries et al
                                                                                                                               4.95±6.72
       2011
                                                                                                                                P=0.004
 Mean±SD Trait Anger (TPI), time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones, lower scores
 indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None        Baseline: 18.29±5.54             Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                     GnRH analogue:
   de Vries et al                                                                                                             17.88±5.24
       2011
                                                                                                                               P=0.503
 Mean±SD Trait Anxiety (STAI), time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming hormones, lower
 scores indicate benefit)

                        Serious       No serious       Not applicable          Not             N=41         None         Baseline: 39.43±10.07           Critical       VERY LOW
   1 cohort study     limitations1   indirectness                           calculable                                     GnRH analogue:
   de Vries et al
                                                                                                                              37.95±9.38
       2011
                                                                                                                                P=0.276
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).




                                                                                         100
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 215
                                                                                      650 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1171
                                                             1934



Table 4: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – body image
                                        QUALITY                                                                Summary of findings                         IMPORTA      CERTAINTY
                                                                                                                                                             NCE
                                                                                           No of events/No of patients                Effect
                                                                                                      (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision     Intervention    Comparator                 Result
                         bias
 Impact on body image

 Mean±SD Body Image Scale (primary sexual characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before gender-
 affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 4.10±0.56           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 3.98±0.71
       2011                                                                                                                       P=0.145
 Mean±SD Body Image Scale (secondary sexual characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before
 gender-affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 2.74±0.65           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 2.82±0.68
       2011                                                                                                                       P=0.569
 Mean±SD Body Image Scale (neutral characteristics), time point at baseline (before GnRH analogues) versus follow-up (just before gender-
 affirming hormones, lower scores indicate benefit)

   1 cohort study       Serious       No serious       Not applicable          Not             N=57           None           Baseline: 2.41±0.63           Important    VERY LOW
   de Vries et al     limitations1   indirectness                           calculable                                     GnRH analogue: 2.47±0.56
       2011                                                                                                                       P=0.620
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).




                                                                                         101
                       Case
                       Case 1:22-cv-01075-JMS-MKK
                            1:22-cv-01075-JMS-DLP Document
                                                  Document 36-9
                                                           47-1 Filed
                                                                Filed 06/17/22
                                                                      06/30/22 Page
                                                                               Page 216
                                                                                    651 of
                                                                                        of 245
                                                                                           902 PageID
                                                                                               PageID #:
                                                                                                      #:
                                                           1172
                                                           1935



Table 5: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – psychosocial impact
                                     QUALITY                                                         Summary of findings                 IMPORTA     CERTAINTY
                                                                                                                                           NCE
                                                                                  No of events/No of patients              Effect
                                                                                             (n/N%)
      Study           Risk of      Indirectness   Inconsistency   Imprecision     Intervention    Comparator               Result
                       bias
Psychosocial impact

Mean [±SD] Children’s Global Assessment Scale score, at baseline, higher scores indicate benefit)

                      Serious       No serious      No serious       Not               n=101        n=100                  P=0.23        Important   VERY LOW
  1 cohort study    limitations1                                                       58.72        56.63
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±11.38]     [±13.14]
Mean [±SD] Children’s Global Assessment Scale score, at 6 months 2 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not               n=101        n=100                  P=0.73        Important   VERY LOW
  1 cohort study    limitations1                                                       60.89        60.29
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±12.17]     [±12.81]
Mean [±SD] Children’s Global Assessment Scale score, at 12 months3 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not                n=60         n=61                  P=0.49        Important   VERY LOW
  1 cohort study    limitations1                                                       64.70        62.97
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±13.34]     [±14.10]
Mean [±SD] Children’s Global Assessment Scale score, at 18 months4 (higher scores indicate benefit).

                      Serious       No serious      No serious       Not                n=35         n=36                  P=0.14        Important   VERY LOW
  1 cohort study    limitations1                                                       67.40        62.53
                                   indirectness   inconsistency   calculable
 Costa et al 2015                                                                     [±13.93]     [±13.54]
Mean [±SD] Children’s Global Assessment Scale score, participants at 6 months compared to baseline (higher scores indicate benefit).

                      Serious       No serious      No serious       Not              N=101         None         Baseline: 58.72±11.38   Important   VERY LOW
  1 cohort study    limitations1   indirectness   inconsistency   calculable          N=101                      6 months: 60.89±12.17
 Costa et al 2015
                                                                                                                        P=0.19
Mean [±SD] Children’s Global Assessment Scale score, participants at 12 months compared to baseline (higher scores indicate benefit).


                                                                                102
                      Case
                      Case 1:22-cv-01075-JMS-MKK
                           1:22-cv-01075-JMS-DLP Document
                                                 Document 36-9
                                                          47-1 Filed
                                                               Filed 06/17/22
                                                                     06/30/22 Page
                                                                              Page 217
                                                                                   652 of
                                                                                       of 245
                                                                                          902 PageID
                                                                                              PageID #:
                                                                                                     #:
                                                          1173
                                                          1936


                                    QUALITY                                                          Summary of findings                  IMPORTA     CERTAINTY
                                                                                                                                            NCE
                                                                                  No of events/No of patients              Effect
                                                                                             (n/N%)
     Study           Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                      bias
                     Serious       No serious      No serious        Not              N=101         None          Baseline: 58.72±11.38   Important   VERY LOW
 1 cohort study    limitations1                                                       N=60                       12 months: 64.70±13.34
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                         P=0.003
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to baseline (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None          Baseline: 58.72±11.38   Important   VERY LOW
 1 cohort study    limitations1                                                       N=35                       18 months: 67.40±13.93
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                         P<0.001
Mean [±SD] Children’s Global Assessment Scale score, participants at 12 months compared to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None         6 months: 60.89±12.17    Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency    calculable          N=60                       12 months: 64.70±13.34
Costa et al 2015
                                                                                                                        P=0.07
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=101         None         6 months: 60.89±12.17    Important   VERY LOW
 1 cohort study    limitations1                                                       N=35                       18 months: 67.40±13.93
                                  indirectness   inconsistency    calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean [±SD] Children’s Global Assessment Scale score, participants at 18 months compared to 12 months (higher scores indicate benefit).

                     Serious       No serious      No serious        Not              N=60          None         12 months: 64.70±13.34   Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency    calculable          N=35                       18 months: 67.40±13.93
Costa et al 2015
                                                                                                                        P=0.35
Mean [±SD] Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 6 months2
compared to baseline (higher scores indicate benefit).

                     Serious       No serious    Not applicable      Not              N=201         None         Baseline: 57.73±12.27    Important   VERY LOW
 1 cohort study    limitations1                                                                                  6 months: 60.68±12.47
                                  indirectness                    calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean [±SD] Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 12 months3
compared to baseline (higher scores indicate benefit).


                                                                                103
                      Case
                      Case 1:22-cv-01075-JMS-MKK
                           1:22-cv-01075-JMS-DLP Document
                                                 Document 36-9
                                                          47-1 Filed
                                                               Filed 06/17/22
                                                                     06/30/22 Page
                                                                              Page 218
                                                                                   653 of
                                                                                       of 245
                                                                                          902 PageID
                                                                                              PageID #:
                                                                                                     #:
                                                          1174
                                                          1937


                                    QUALITY                                                         Summary of findings                  IMPORTA     CERTAINTY
                                                                                                                                           NCE
                                                                                 No of events/No of patients              Effect
                                                                                            (n/N%)
     Study           Risk of      Indirectness   Inconsistency   Imprecision     Intervention    Comparator               Result
                      bias
                     Serious       No serious      No serious       Not              N=201         None          Baseline: 57.73±12.27   Important   VERY LOW
 1 cohort study    limitations1                                                      N=121                      12 months: 63.31±14.41
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                        P<0.001
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months4
compared to baseline (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None          Baseline: 57.73±12.27   Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency   calculable          N=71                       18 months: 64.93±13.85
Costa et al 2015
                                                                                                                        P<0.001
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 12 months compared
to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None         6 months: 60.68±12.47    Important   VERY LOW
 1 cohort study    limitations1                                                      N=121                      12 months: 63.31±14.41
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                       P<0.08
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months compared
to 6 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=201         None         6 months: 60.68±12.47    Important   VERY LOW
 1 cohort study    limitations1   indirectness   inconsistency   calculable          N=71                       18 months: 64.93±13.85
Costa et al 2015
                                                                                                                       P<0.02
Mean±SD Children’s Global Assessment Scale score, in all participants (including those not treated with GnRH analogues) at 18 months compared
to 12 months (higher scores indicate benefit).

                     Serious       No serious      No serious       Not              N=121         None         12 months: 63.31±14.41   Important   VERY LOW
 1 cohort study    limitations1                                                      N=71                       18 months: 64.93±13.85
                                  indirectness   inconsistency   calculable
Costa et al 2015
                                                                                                                       P<0.45
Mean±SD Children’s Global Assessment Scale score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, higher scores indicate benefit).




                                                                               104
                     Case
                     Case 1:22-cv-01075-JMS-MKK
                          1:22-cv-01075-JMS-DLP Document
                                                Document 36-9
                                                         47-1 Filed
                                                              Filed 06/17/22
                                                                    06/30/22 Page
                                                                             Page 219
                                                                                  654 of
                                                                                      of 245
                                                                                         902 PageID
                                                                                             PageID #:
                                                                                                    #:
                                                         1175
                                                         1938


                                   QUALITY                                                          Summary of findings                    IMPORTA     CERTAINTY
                                                                                                                                             NCE
                                                                                 No of events/No of patients              Effect
                                                                                            (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                     bias
 1 cohort study     Serious       No serious    Not applicable      Not              N=41          None          Baseline: 70.24±10.12     Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                    GnRH analogue: 73.90±9.63
     2011                                                                                                               P=0.005
Mean±SD Child Behaviour Checklist (total T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

                    Serious       No serious    Not applicable      Not              N=54          None          Baseline: 60.70±12.76     Important   VERY LOW
 1 cohort study   limitations5                                                                                     GnRH analogue:
 de Vries et al                  indirectness                    calculable
                                                                                                                     54.46±11.23
     2011                                                                                                               P<0.001
Mean±SD Child Behaviour Checklist (internalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, lower scores indicate benefit).

 1 cohort study     Serious       No serious    Not applicable      Not              N=54          None          Baseline: 61.00±12.21     Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                    GnRH analogue: 52.1±9.81
     2011                                                                                                               P<0.001
Mean±SD Child Behaviour Checklist (externalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-
affirming hormones, lower scores indicate benefit).

                    Serious       No serious    Not applicable      Not              N=54          None          Baseline: 58.04±12.99     Important   VERY LOW
 1 cohort study   limitations5                                                                                     GnRH analogue:
 de Vries et al                  indirectness                    calculable
                                                                                                                     53.81±11.86
     2011                                                                                                               P=0.001
Proportion of adolescents scoring in the clinical range Child Behaviour Checklist total problem scale, time point at baseline (before GnRH
analogues) versus follow-up (just before gender-affirming hormones, lower scores indicate benefit).

 1 cohort study     Serious       No serious    Not applicable      Not              N=54          None            Baseline: 44.4%         Important   VERY LOW
 de Vries et al   limitations5   indirectness                    calculable                                      GnRH analogue: 22,2%
     2011                                                                                                              P=0.001
Mean±SD Youth Self-Report (total T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormone, lower scores indicate benefit).



                                                                               105
                       Case
                       Case 1:22-cv-01075-JMS-MKK
                            1:22-cv-01075-JMS-DLP Document
                                                  Document 36-9
                                                           47-1 Filed
                                                                Filed 06/17/22
                                                                      06/30/22 Page
                                                                               Page 220
                                                                                    655 of
                                                                                        of 245
                                                                                           902 PageID
                                                                                               PageID #:
                                                                                                      #:
                                                           1176
                                                           1939


                                     QUALITY                                                          Summary of findings                      IMPORTA     CERTAINTY
                                                                                                                                                 NCE
                                                                                   No of events/No of patients              Effect
                                                                                              (n/N%)
     Study            Risk of      Indirectness   Inconsistency    Imprecision     Intervention    Comparator               Result
                       bias
                      Serious       No serious    Not applicable      Not              N=54          None           Baseline: 55.46±11.56      Important   VERY LOW
 1 cohort study     limitations5                                                                                      GnRH analogue:
 de Vries et al                    indirectness                    calculable
                                                                                                                        50.00±10.56
     2011                                                                                                                  P<0.001
Mean±SD Youth Self-Report (internalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

                      Serious       No serious    Not applicable      Not              N=54          None           Baseline: 56.04±12.49      Important   VERY LOW
 1 cohort study     limitations5                                                                                      GnRH analogue:
 de Vries et al                    indirectness                    calculable
                                                                                                                        49.78±11.63
     2011                                                                                                                  P<0.001
Mean±SD Youth Self-Report (externalising T) score, time point at baseline (before GnRH analogues) versus follow-up (just before gender-affirming
hormones, lower scores indicate benefit).

 1 cohort study       Serious       No serious    Not applicable      Not              N=54          None          Baseline: 53.30±11.87       Important   VERY LOW
 de Vries et al     limitations5   indirectness                    calculable                                    GnRH analogue: 49.98±9.35
     2011                                                                                                                 P=0.009
Proportion of adolescents scoring in the clinical range Youth Self-Report (internalising T) score, time point at baseline (before GnRH analogues)
versus follow-up (just before gender-affirming hormones, lower scores indicate benefit).

 1 cohort study       Serious       No serious    Not applicable      Not              N=54          None            Baseline: 29.6%           Important   VERY LOW
 de Vries et al     limitations5   indirectness                    calculable                                      GnRH analogue: 11.1%
     2011                                                                                                                P=0.017
Mean±SD Child Behaviour Checklist score, transfemales (lower scores indicate benefit

1 cross-sectional     Serious       No serious    Not applicable      Not              N=8           N=10        GnRH analogue: 57.4 [±9.8]    Important   VERY LOW
      study         limitations6   indirectness                    calculable                                     No GnRH analogue: 58.2
Staphorsius et al                                                                                                         [±9.3]
      2015
Mean±SD Child Behaviour Checklist score, transmales (lower scores indicate benefit)

                      Serious       No serious    Not applicable      Not              N=12          N=10        GnRH analogues: 57.5 [±9.4]   Important   VERY LOW
1 cross-sectional   limitations6                                                                                  No GnRH analogue: 63.9
                                   indirectness                    calculable
      study
                                                                                                                          [±10.5]
                                                                                 106
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 221
                                                                                      656 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1177
                                                             1940


                                         QUALITY                                                             Summary of findings                       IMPORTA      CERTAINTY
                                                                                                                                                         NCE
                                                                                          No of events/No of patients              Effect
                                                                                                     (n/N%)
       Study           Risk of         Indirectness     Inconsistency     Imprecision     Intervention    Comparator               Result
                        bias
 Staphorsius et al
      2015
Abbreviations: GnRH, gonadotrophin releasing hormone; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by Costa et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 6 months from baseline (after 6 months of psychological support – both groups).
3 12 months from baseline (delayed eligible gender dysphoria [GD] adolescents, after 12 months of psychological support; immediately eligible GD adolescents, after 12
months of psychological support + 6 months of puberty suppression).
4 18 months from baseline (delayed eligible gender dysphoria [GD] adolescents, after 12 months of psychological support; immediately eligible GD adolescents, after 12
months of psychological support + 6 months of puberty suppression).
5 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
6 Downgraded 1 level - the cohort study by Staphorsius et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no randomisation).


Table 6: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – engagement with healthcare services
                                                                                                    Summary of findings
                                    QUALITY                                         No of events/No of
                                                                                                                          Effect               IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias      Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
 Engagement with healthcare services

 Number (proportion) failing to engage with health care services (did not attend clinic), at (up to) 9 years follow-up

  1 cohort                                                                        9/214          None
                                  No serious                                                                 9 adolescents out of 214 failed
   study         Serious                        Not applicable      Not          (4.2%)                                                           Important      VERY LOW
                                 indirectness                                                                   to attend clinic and were
  Brik et al   limitations1                                      calculable                                  excluded from the study (4.2%)
    2018
 Loss to follow-up

                                  No serious                                       201           None        The sample size at baseline and
   1 cohort      Serious                        Not applicable                                                                                    Important      VERY LOW
                                 indirectness                                                                   6 months was 201, which
    study      limitations2
                                                                                                              dropped by 39.8% to 121 after
                                                                                        107
                          Case
                          Case 1:22-cv-01075-JMS-MKK
                               1:22-cv-01075-JMS-DLP Document
                                                     Document 36-9
                                                              47-1 Filed
                                                                   Filed 06/17/22
                                                                         06/30/22 Page
                                                                                  Page 222
                                                                                       657 of
                                                                                           of 245
                                                                                              902 PageID
                                                                                                  PageID #:
                                                                                                         #:
                                                              1178
                                                              1941



                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
 Costa et al                                                        Not                                        12 months and by 64.7% to 71
   2015                                                          calculable                                      at 18 months follow-up. No
                                                                                                               explanation of the reasons for
                                                                                                               loss to follow-up are reported.
Abbreviations: GnRH, gonadotrophin releasing hormone.

1 Downgraded 1 level - the cohort study by Brik et al. (2018) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Downgraded 1 level - the cohort study by Costa et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).



Table 7: Question 1. For children and adolescents with gender dysphoria, what is the clinical effectiveness of treatment
with GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired
gender or no intervention? – stopping treatment
                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
 Stopping treatment

 Number (proportion) stopping GnRH analogues, at (up to) 9 years follow-up

  1 cohort                                                                                        None
   study          Serious       No serious     Not applicable       Not            9/143                         9/143 adolescents stopped                           VERY LOW
                                                                                                                                                     Important
  Brik et al    limitations1   indirectness                      calculable       (6.2%)                          GnRH analogues (6.2%)2
    2018
 Number (proportion) stopping from GnRH analogues, at (up to) 13 years follow-up

  1 cohort                                                                        11/27           None
   study                                       Not applicable       Not           (42%)                                                                              VERY LOW
                  Serious       No serious                                                                    11/26 stopped GnRH analogues
 Khatchado                                                       calculable                                                                          Important
                limitations3   indirectness                                                                               (42%)4
 urian et al
    2014
 Number (proportion) stopping GnRH analogues but who wished to continue endocrine treatment, at (up to) 9 years follow-up

                                                                                       108
                          Case
                          Case 1:22-cv-01075-JMS-MKK
                               1:22-cv-01075-JMS-DLP Document
                                                     Document 36-9
                                                              47-1 Filed
                                                                   Filed 06/17/22
                                                                         06/30/22 Page
                                                                                  Page 223
                                                                                       658 of
                                                                                           of 245
                                                                                              902 PageID
                                                                                                  PageID #:
                                                                                                         #:
                                                              1179
                                                              1942



                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
  1 cohort                                                                        4/143          None
                                                                                                               4/143 adolescents stopped
   study          Serious       No serious    Not applicable        Not          (2.8%)                                                                             VERY LOW
                                                                                                              GnRH analogues but wished to          Important
  Brik et al    limitations1   indirectness                      calculable
                                                                                                                continue treatment (2.8%)
    2018
 Number (proportion) stopping GnRH analogues who no longer wished gender-affirming treatment, at (up to) 9 years follow-up

  1 cohort                                                                        5/143          None           5/143 adolescents stopped
   study          Serious       No serious    Not applicable        Not          (3.5%)                       GnRH analogues and no longer
                                                                                                                                                    Important
  Brik et al    limitations1   indirectness                      calculable                                    wished to continue gender-                           VERY LOW
    2018                                                                                                        affirming treatment (3.5%)
Abbreviations: GnRH, gonadotrophin releasing hormone.

1 Downgraded 1 level - the cohort study by Brik et al. (2018) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Median duration of 0.8 years (range 0.1 to 3.0). Five adolescents stopped treatment because they no longer wished to receive gender-affirming treatment for various
reasons. In 4 adolescents (all transmales), although they wanted to continue treatments for gender dysphoria, GnRH analogues were stopped mainly because of adverse
effects (such as mood and emotional lability).
3 Downgraded 1 level - the cohort study by Khatchadourian et al. (2014) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high
number of participants lost to follow-up).
4 Because of transitioning to gender-affirming hormones or gender-affirming surgery, adverse effects (such as mood and emotional lability) or no longer wishing to pursue
transition.



Table 8. Question 2. For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – bone density
                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study      Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Bone density: change in lumbar BMAD
 Change in lumbar spine BMAD from baseline to 1 year in transfemales




                                                                                      109
                       Case
                       Case 1:22-cv-01075-JMS-MKK
                            1:22-cv-01075-JMS-DLP Document
                                                  Document 36-9
                                                           47-1 Filed
                                                                Filed 06/17/22
                                                                      06/30/22 Page
                                                                               Page 224
                                                                                    659 of
                                                                                        of 245
                                                                                           902 PageID
                                                                                               PageID #:
                                                                                                      #:
                                                           1180
                                                           1943



                                                                                               Summary of findings
                               QUALITY                                         No of events/No of
                                                                                                                     Effect           IMPORTANCE   CERTAINTY
                                                                               patients% (n/N%)
  Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.235 (0.030)
observatio                                                                                                  1 year: 0.233 (0.029)
nal study                                                                                                         p=0.459
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=31           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                         z-score
                                                                                                           Baseline: 0.859 (0.154)
                                                                                                           1 year: −0.228 (1.027)
                                                                                                                  p=0.000
Change in lumbar spine BMAD from baseline to 1 year in transmales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.196 (0.035)
observatio                                                                                                  1 year: 0.201 (0.033)
nal study                                                                                                         p=0.074
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=39           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                          z-score
                                                                                                           Baseline: −0.186 (1.230)
                                                                                                            1 year: −0.541 (1.396)
                                                                                                                   p=0.006
Change in lumbar spine BMAD from baseline to 2 years in transfemales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.240 (0.027)
observatio                                                                                                 2 years: 0.240 (0.030)
nal study                                                                                                         p=0.865
             Serious        No serious                      Not
Joseph et                                  Not applicable                    N=10           None                                      IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable
al. (2019)                                                                                                         z-score
                                                                                                           Baseline: 0.486 (0.809)
                                                                                                           2 years: −0.279 (0.930)
                                                                                                                  p=0.000
Change in lumbar spine BMAD from baseline to 2 years in transmales

                                                                                                             Mean (SD), g/cm3
1                                                                                                          Baseline: 0.195 (0.058)
observatio   Serious         No serious                     Not
                                           Not applicable                    N=21           None           2 years: 0.198 (0.055)     IMPORTANT    VERY LOW
nal study    limitations1   indirectness                    calculable
                                                                                                                  p=0.433

                                                                                 110
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 225
                                                                                      660 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1181
                                                             1944



                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect            IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Joseph et                                                                                                            z-score
al. (2019)                                                                                                   Baseline: −0.361 (1.439)
                                                                                                             2 years: −0.913 (1.318)
                                                                                                                     p=0.001
Change in lumbar BMAD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/cm3
                                                                                                           GnRH analogue: 0.22 (0.03)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.22 (0.02)
observatio                                                                     N=11
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=12
2015                                                                                                      GnRH analogue: −0.44 (1.10)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −0.90 (0.80)
                                                                                                                 p-value: NS
Change in lumbar BMAD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales
                                                                                                               Mean (SD), g/cm3
                                                                                                           GnRH analogue: 0.25 (0.03)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.24 (0.02)
observatio                                                                                                             NS
nal study      Serious        No serious                      Not
                                             Not applicable                    N=18           None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
2015                                                                                                       GnRH analogue: 0.28 (0.90)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.50 (0.81)
                                                                                                                p-value: 0.004
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of <15 years)

1                                                                                                            Median (range), g/cm3
observatio                                                                                                GnRH analogue: 0.21 (0.17 to
nal study      Serious         No serious                     Not
                                             Not applicable                    N=15           None                    0.25)              IMPORTANT    VERY LOW
               limitations3   indirectness                    calculable
Vlot et al.                                                                                                Gender-affirming hormones:
2017                                                                                                           0.20 (0.18 to 0.24)

                                                                                   111
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 226
                                                                                     661 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1182
                                                            1945



                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                                       NS

                                                                                                                   z-score
                                                                                                        GnRH analogue: −0.20 (−1.82 to
                                                                                                                    1.18)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.52 (−2.36 to 0.42)
                                                                                                               p-value: <0.01
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of ≥15)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.22 (0.18 to
                                                                                                                     0.25)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.22 (0.19 to 0.24)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=5            None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −1.18 (−1.78 to
                                                                                                                    1.09)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.15 (−2.21 to 0.08)
                                                                                                               p-value: p≤0.1
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of <14 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.23 (0.20 to
                                                                                                                     0.29)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.23 (0.19 to 0.28)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=11           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.05 (−0.78 to
                                                                                                                    2.94)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.84 (−2.20 to 0.87)
                                                                                                               p-value: ≤0.01
                                                                                  112
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 227
                                                                                     662 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1183
                                                            1946



                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect            IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Change in lumbar BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of ≥14)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.26 (0.21 to
                                                                                                                     0.29)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.24 (0.20 to 0.28)
nal study                                                                                                           p≤0.01
              Serious        No serious                      Not
                                            Not applicable                    N=23           None                                       IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                  z-score
2017
                                                                                                        GnRH analogue: 0.27 (−1.60 to
                                                                                                                    1.80)
                                                                                                         Gender-affirming hormones:
                                                                                                           −0.29 (−2.28 to 0.90)
                                                                                                             p-value: p ≤ 0.01)
Bone density: change in lumbar BMD
Change in lumbar spine BMD from baseline to 1 year in transfemales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.860 (0.154)
observatio                                                                                                   1 year: 0.859 (0.129)
nal study                                                                                                          p=0.962
              Serious        No serious                      Not
                                            Not applicable                    N=31           None                                       IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                            Baseline: −0.016 (1.106)
                                                                                                             1 year: −0.461 (1.121)
                                                                                                                    p=0.003
Change in lumbar spine BMD from baseline to 1 year in transmales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.694 (0.149)
observatio                                                                                                   1 year: 0.718 (0.124)
nal study                                                                                                          p=0.006
              Serious        No serious                      Not
                                            Not applicable                    N=39           None                                       IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                            Baseline: −0.395 (1.428)
                                                                                                             1 year: −1.276 (1.410)
                                                                                                                    p=0.000
                                                                                  113
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 228
                                                                                      663 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1184
                                                             1947



                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect           IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
Change in lumbar spine BMD from baseline to 2 years in transfemales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.867 (0.141)
observatio                                                                                                   2 years: 0.878 (0.130)
nal study                                                                                                           p=0.395
               Serious        No serious                      Not
Joseph et                                    Not applicable                    N=10           None                                      IMPORTANT    VERY LOW
               limitations1   indirectness                    calculable
al. (2019)                                                                                                           z-score
                                                                                                             Baseline: 0.130 (0.972)
                                                                                                             2 years: −0.890 (1.075)
                                                                                                                    p=0.000
Change in lumbar spine BMD from baseline to 2 years in transmales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.695 (0.220)
observatio                                                                                                   2 years: 0.731 (0.209)
nal study                                                                                                           p=0.058
               Serious        No serious                      Not
                                             Not applicable                    N=21           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                             Baseline: −0.715 (1.406)
                                                                                                             2 years: −2.000 (1.384)
                                                                                                                     p=0.000
Change in lumbar BMD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.84 (0.13)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.84 (0.11)
observatio                                                                     N=12
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                      IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=11
2015                                                                                                      GnRH analogue: −0.77 (0.89)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −1.01 (0.98)
                                                                                                                      NS
Change in lumbar BMD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales

                                                                                   114
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 229
                                                                                      664 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1185
                                                             1948



                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect           IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.95 (0.12)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.91 (0.10)
observatio                                                                                                      p-value: 0.006
nal study      Serious        No serious                      Not
                                             Not applicable                    N=18           None                                      IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
2015                                                                                                       GnRH analogue: 0.17 (1.18)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.72 (0.99)
                                                                                                                p-value: <0.001
Bone density: change in femoral neck (hip) BMD
Change in femoral neck BMD from baseline to 1 year in transfemales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.894 (0.118)
observatio                                                                                                    1 year: 0.905 (0.104)
nal study                                                                                                           p=0.571
               Serious        No serious                      Not
                                             Not applicable                    N=31           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                     z-score
al. (2019)
                                                                                                             Baseline: 0.157 (0.905)
                                                                                                             1 year: −0.340 (0.816)
                                                                                                                    p=0.002
Change from baseline to 1 year in femoral neck BMD in transmales

                                                                                                               Mean (SD), kg/m2
1                                                                                                            Baseline: 0.772 (0.137)
observatio                                                                                                    1 year: 0.785 (0.120)
nal study                                                                                                           p=0.797
               Serious        No serious                      Not
                                             Not applicable                    N=39           None                                      IMPORTANT    VERY LOW
Joseph et      limitations1   indirectness                    calculable
                                                                                                                      z-score
al. (2019)
                                                                                                             Baseline: −0.863 (1.215)
                                                                                                              1 year: −1.440 (1.075)
                                                                                                                     p=0.000
Change from baseline to 2 years in femoral neck BMD in transfemales



                                                                                   115
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 230
                                                                                     665 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1186
                                                            1949



                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.920 (0.116)
observatio                                                                                                  2 years: 0.910 (0.125)
nal study                                                                                                          p=0.402
              Serious        No serious                      Not
Joseph et                                   Not applicable                    N=10           None                                        IMPORTANT    VERY LOW
              limitations1   indirectness                    calculable
al. (2019)                                                                                                          z-score
                                                                                                            Baseline: 0.450 (0.781)
                                                                                                            2 years: −0.600 (1.059)
                                                                                                                   p=0.002
Change from baseline to 2 years in femoral neck BMD in transmales

                                                                                                              Mean (SD), kg/m2
1                                                                                                           Baseline: 0.766 (0.215)
observatio                                                                                                  2 years: 0.773 (0.197)
nal study                                                                                                          p=0.604
              Serious        No serious                      Not
                                            Not applicable                    N=21           None                                        IMPORTANT    VERY LOW
Joseph et     limitations1   indirectness                    calculable
                                                                                                                    z-score
al. (2019)
                                                                                                            Baseline: −1.075 (1.145)
                                                                                                            2 years: −1.779 (0.816)
                                                                                                                    p=0.001
Bone density: change in femoral neck (hip) BMAD
Change from starting GnRH analogue to starting gender-affirming hormones in femoral neck BMAD in transfemales (bone age of <15 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.29 (0.20 to
                                                                                                                     0.33)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.27 (0.20 to 0.33)
nal study                                                                                                            p≤0.1
              Serious        No serious                      Not
                                            Not applicable                    N=16           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.71 (−3.35 to
                                                                                                                    0.37)
                                                                                                         Gender-affirming hormones:
                                                                                                            −1.32 (−3.39 to 0.21)
                                                                                                                    p≤0.1
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transfemales (bone age of ≥15)

                                                                                  116
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 231
                                                                                     666 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1187
                                                            1950



                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect             IMPORTANCE   CERTAINTY
                                                                                patients% (n/N%)
   Study      Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.30 (0.26 to
                                                                                                                     0.36)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.30 (0.26 to 0.34)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=6            None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.44 (−1.37 to
                                                                                                                    0.93)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.36 (−1.50 to 0.46)
                                                                                                                     NS
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of <14 years)

                                                                                                            Median (range), g/cm3
                                                                                                         GnRH analogue: 0.31 (0.26 to
                                                                                                                     0.36)
1                                                                                                         Gender-affirming hormones:
observatio                                                                                                    0.30 (0.22 to 0.35)
nal study                                                                                                             NS
              Serious        No serious                      Not
                                            Not applicable                    N=10           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable
                                                                                                                   z-score
2017
                                                                                                        GnRH analogue: −0.01 (−1.30 to
                                                                                                                    0.91)
                                                                                                         Gender-affirming hormones:
                                                                                                            −0.37 (−2.28 to 0.47)
                                                                                                                     NS
Change in femoral neck BMAD from starting GnRH analogue to starting gender-affirming hormones in transmales (bone age of ≥14)

                                                                                                            Median (range), g/cm3
1                                                                                                        GnRH analogue: 0.33 (0.25 to
observatio                                                                                                           0.39)
nal study     Serious        No serious                      Not                                          Gender-affirming hormones:
                                            Not applicable                    N=23           None                                        IMPORTANT    VERY LOW
Vlot et al.   limitations3   indirectness                    calculable                                       0.30 (0.23 to 0.41)
2017                                                                                                            p-value: ≤0.01

                                                                                                                      z-score
                                                                                  117
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 232
                                                                                      667 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1188
                                                             1951



                                                                                                 Summary of findings
                                 QUALITY                                         No of events/No of
                                                                                                                       Effect            IMPORTANCE   CERTAINTY
                                                                                 patients% (n/N%)
   Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
                                                                                                         GnRH analogue: 0.27 (−1.39 to
                                                                                                                     1.32)
                                                                                                          Gender-affirming hormones:
                                                                                                            −0.27 (−1.91 to 1.29)
                                                                                                               p-value: ≤0.01
Bone density: change in femoral area BMD

Change in femoral BMD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.88 (0.12)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.87 (0.08)
observatio                                                                     N=14
                                                                                                                       NS
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                       z-score
                                                                               N=6
2015                                                                                                      GnRH analogue: −0.66 (0.77)
                                                                                                          Gender-affirming hormones:
                                                                                                                 −0.95 (0.63)
                                                                                                                      NS
Change in femoral BMD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
transmales
                                                                                                               Mean (SD), g/m2
                                                                                                           GnRH analogue: 0.92 (0.10)
                                                                                                           Gender-affirming hormones:
1                                                                                                                 0.88 (0.09)
observatio                                                                     N=18
                                                                                                                p-value: 0.005
nal study      Serious        No serious                      Not
                                             Not applicable                                   None                                       IMPORTANT    VERY LOW
               limitations2   indirectness                    calculable
Klink et al.                                                                                                        z-score
                                                                               N=13
2015                                                                                                       GnRH analogue: 0.36 (0.88)
                                                                                                           Gender-affirming hormones:
                                                                                                                  −0.35 (0.79)
                                                                                                                p-value: 0.001
Bone density: change in femoral area BMAD

Change in femoral BMAD from starting GnRH analogue (mean age 14.9±1.9) to starting gender-affirming hormones (mean age 16.6±1.4) in
transfemales
                                                                                   118
                          Case
                          Case 1:22-cv-01075-JMS-MKK
                               1:22-cv-01075-JMS-DLP Document
                                                     Document 36-9
                                                              47-1 Filed
                                                                   Filed 06/17/22
                                                                         06/30/22 Page
                                                                                  Page 233
                                                                                       668 of
                                                                                           of 245
                                                                                              902 PageID
                                                                                                  PageID #:
                                                                                                         #:
                                                              1189
                                                              1952



                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                            Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency     Imprecision   Intervention    Comparator                   Result
                                                                                                                    Mean (SD), g/cm3
                                                                                                                GnRH analogue: 0.28 (0.04)
                                                                                                                Gender-affirming hormones:
 1                                                                                                                     0.26 (0.04)
 observatio                                                                       N=12
                                                                                                                            NS
 nal study      Serious        No serious                        Not
                                              Not applicable                                      None                                             IMPORTANT         VERY LOW
                limitations2   indirectness                      calculable
 Klink et al.                                                                                                            z-score
                                                                                  N=10
 2015                                                                                                           GnRH analogue: −0.93 (1.22)
                                                                                                                Gender-affirming hormones:
                                                                                                                       −1.57 (1.74)
                                                                                                                       p-value: NS
 Change in femoral BMAD from starting GnRH analogue (mean age 15.0±2.0) to starting gender-affirming hormones (mean age 16.4±2.3) in
 transmales
                                                                                                                    Mean (SD), g/cm3
                                                                                                                GnRH analogue: 0.32 (0.04)
                                                                                                                Gender-affirming hormones:
 1                                                                                                                     0.31 (0.04)
 observatio                                                                       N=18
                                                                                                                            NS
 nal study      Serious        No serious                        Not
                                              Not applicable                                      None                                             IMPORTANT         VERY LOW
                limitations2   indirectness                      calculable
 Klink et al.                                                                                                            z-score
                                                                                  N=18
 2015                                                                                                           GnRH analogue: 0.01 (0.70)
                                                                                                                Gender-affirming hormones:
                                                                                                                       −0.28 (0.74)
                                                                                                                            NS
Abbreviations: BMAD, bone mineral apparent density; BMD, bone mineral density; GnRH, gonadotrophin releasing hormone; NS, not significant; SD,
standard deviation.

1 Downgraded 1 level - the cohort study by Joseph et al. (2019) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 Downgraded 1 level - the cohort study by Klink et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding, no randomisation, no control group and
high number of participants lost to follow-up).
3 Downgraded 1 level - the cohort study by Vlot et al. (2017) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control).




                                                                                       119
                       Case
                       Case 1:22-cv-01075-JMS-MKK
                            1:22-cv-01075-JMS-DLP Document
                                                  Document 36-9
                                                           47-1 Filed
                                                                Filed 06/17/22
                                                                      06/30/22 Page
                                                                               Page 234
                                                                                    669 of
                                                                                        of 245
                                                                                           902 PageID
                                                                                               PageID #:
                                                                                                      #:
                                                           1190
                                                           1953



Table 9 Question 2: For children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – cognitive development or functioning
                                                                                               Summary of findings
                               QUALITY                                         No of events/No of
                                                                                                                     Effect   IMPORTANCE   CERTAINTY
                                                                               patients% (n/N%)
  Study
             Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result

Cognitive development or functioning (1 cross-sectional study)
IQ (4 subscales: arithmetic, vocabulary, picture arrangement, and block design) at a single time point between GnRH analogue treated and
untreated transfemales
1 Cross-
sectional                                                                    N=8
                                                                                            N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                 Mean (SD)                           IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    94.0 (10.3)
                                                                                         109.4 (21.2)
s et al.
2015
IQ (4 subscales: arithmetic, vocabulary, picture arrangement, and block design) at a single time point between GnRH analogue treated and
untreated transmales
1 Cross-
sectional                                                                   N=12
                                                                                           N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    95.8 (15.6)
                                                                                         98.5 (15.9)
s et al.
2015
Reaction time at a single time point between GnRH analogue treated and untreated transfemales

1 Cross-
sectional                                                                   N=8
                                                                                           N=10
study        Serious        No serious                      Not           Mean (SD)                                   NR
                                           Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
Staphorsiu   limitations1   indirectness                    calculable    10.9 (4.1)
                                                                                          9.9 (3.1)
s et al.
2015
Reaction time at a single time point between GnRH analogue treated and untreated transmales

                                                                            N=12
1 Cross-                                                                                   N=10
             Serious        No serious                      Not           Mean (SD)                                   NR
sectional                                  Not applicable                                Mean (SD)                            IMPORTANT    VERY LOW
             limitations1   indirectness                    calculable     9.9 (3.1)
study                                                                                    10.0 (2.0)



                                                                                 120
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 235
                                                                                      670 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1191
                                                             1954



                                                                                                     Summary of findings
                                  QUALITY                                           No of events/No of
                                                                                                                           Effect                 IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study
               Risk of bias    Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Staphorsiu
 s et al.
 2015
 Accuracy at a single time point between GnRH analogue treated and untreated transfemales

 1 cohort
                                                                                 N=8
 study                                                                                          N=10
               Serious         No serious                       Not            Mean (SD)
 Staphorsiu                                   Not applicable                                  Mean (SD)                     NR                     IMPORTANT        VERY LOW
               limitations1    indirectness                     calculable     73.9 (9.1)
 s et al.                                                                                     83.4 (9.5)
 2015
 Accuracy at a single time point between GnRH analogue treated and untreated transmales

 1 cohort
                                                                                 N=12
 study                                                                                          N=10
               Serious         No serious                       Not            Mean (SD)
 Staphorsiu                                   Not applicable                                  Mean (SD)                     NR                     IMPORTANT        VERY LOW
               limitations1    indirectness                     calculable     85.7 (10.5)
 s et al.                                                                                     88.8 (9.7)
 2015
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by Staphorsius et al. (2015) was assessed as at high risk of bias (poor quality overall; lack of blinding and no randomisation).



Table 10: Question 2: In children and adolescents with gender dysphoria, what is the short-term and long-term safety of
GnRH analogues compared with one or a combination of psychological support, social transitioning to the desired gender
or no intervention? – other safety outcomes
                                                                                                     Summary of findings
                                   QUALITY                                          No of events/No of
                                                                                                                            Effect                IMPORTANCE        CERTAINTY
                                                                                    patients% (n/N%)
    Study       Risk of bias   Indirectness    Inconsistency    Imprecision    Intervention   Comparator                   Result
 Other safety outcomes: change in serum creatinine
 Change in serum creatinine (micromol/l) between baseline and 1 year in transfemales




                                                                                      121
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 236
                                                                                     671 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1192
                                                            1955



                                                                                                Summary of findings
                                QUALITY                                         No of events/No of
                                                                                                                      Effect                IMPORTANCE    CERTAINTY
                                                                                patients% (n/N%)
  Study       Risk of bias   Indirectness   Inconsistency    Imprecision   Intervention   Comparator                  Result
1
                                                                                                                  Mean (SD)
observatio
              Serious        No serious                      Not                                               Baseline: 70 (12)
nal study                                   Not applicable                    N=28           None                                           IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable                                         1 year: 66 (13)
Schagen et
                                                                                                                 p-value: 0.20
al. 2016
Change in serum creatinine (µmol/l) between baseline and 1 year in transmales

1
                                                                                                                  Mean (SD)
observatio
              Serious        No serious                      Not                                                Baseline: 73 (8)
nal study                                   Not applicable                    N=29           None                                           IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable                                         1 year: 68 (13)
Schagen et
                                                                                                                 p-value: 0.01
al. 2016
Other safety outcomes: liver enzymes
Presence of elevated liver enzymes (AST, ALT, and glutamyl transferase) between baseline and during treatment

                                                                                                         Glutamyl transferase was not
                                                                                                         elevated at baseline or during
                                                                                                            treatment in any subject.
                                                                                                        Mild elevations of AST and ALT
1                                                                                                       above the reference range were
observatio                                                                                                     present at baseline
              Serious        No serious                      Not
nal study                                   Not applicable                     39            None         but were not more prevalent       IMPORTANT     VERY LOW
              limitations1   indirectness                    calculable
Schagen et                                                                                                  during treatment than at
al. 2016                                                                                                            baseline.
                                                                                                        Glutamyl transferase, AST, and
                                                                                                         ALT levels did not significantly
                                                                                                          change from baseline to 12
                                                                                                              months of treatment.
Other safety outcomes: adverse effects
Proportion of patients reporting adverse effects

1 cohort      Serious        No serious     Not applicable   Not               27            None              3/27 adolescents3              Important   VERY LOW
study         limitations2   indirectness                    calculable2
Khatchado
urian et al
2014

                                                                                    122
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 237
                                                                                      672 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1193
                                                             1956


Abbreviations: ALT, alanine aminotransferase; AST, aspartate aminotransferase; GnRH, gonadotrophin releasing hormone; P, P-value; SD, standard
deviation.

1 Downgraded 1 level - the cohort study by Schagen et al. (2016) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control).
2 Downgraded 1 level - the cohort study by Khatchadourian et al. (2014) was assessed as at high risk of bias (poor quality overall; lack of blinding, no control group and high
number of participants lost to follow-up).
3 1 transmale developed sterile abscesses; they were switched from leuprolide acetate to triptorelin, and this was well tolerated. 1 transmale developed leg pains and
headaches, which eventually resolved without treatment. 1 participant gained 19 kg within 9 months of initiating GnRH analogues.


Table 11: Question 4. From the evidence selected, are there any subgroups of children and adolescents with gender
dysphoria that may derive more (or less) advantage from treatment with GnRH analogues than the wider population of
children and adolescents with gender dysphoria? – critical outcomes
                                       QUALITY                                                              Summary of findings                     IMPORTANCE        CERTAINTY
                                                                                              No of events/No of                  Effect
                                                                                                patients (n/N%)
       Study           Risk of       Indirectness      Inconsistency      Imprecision         Sex             Sex                 Result
                        bias                                                              assigned at     assigned at
                                                                                          birth males         birth
                                                                                                            females
 Subgroups: sex assigned at birth males compared with sex assigned at birth females

 Impact on gender dysphoria

 Mean [±SD] Utrecht Gender Dysphoria Scale (version(s) not reported), time point at baseline (before GnRHa) versus follow-up (just before gender-
 affirming hormones).

                       Serious        No serious       Not applicable         Not            n-NR2          n-NR2       F-ratio 15.98 (df, errdf:       Critical      VERY LOW
                     limitations1    indirectness                          calculable     score at T0    score at T0        1,39), P<0.001
  1 cohort study                                                                             47.95          56.57
  de Vries et al                                                                            [±9.70]        [±3.89]
      2011                                                                                score at T1    score at T1
                                                                                             49.67          56.62
                                                                                            [±9.47]         [±4.0]
 Impact on mental health

 Mean [±SD] Beck Depression Inventory-II, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming
 hormones).


                                                                                        123
                         Case
                         Case 1:22-cv-01075-JMS-MKK
                              1:22-cv-01075-JMS-DLP Document
                                                    Document 36-9
                                                             47-1 Filed
                                                                  Filed 06/17/22
                                                                        06/30/22 Page
                                                                                 Page 238
                                                                                      673 of
                                                                                          of 245
                                                                                             902 PageID
                                                                                                 PageID #:
                                                                                                        #:
                                                             1194
                                                             1957


                                        QUALITY                                                              Summary of findings                      IMPORTANCE        CERTAINTY
                                                                                               No of events/No of                  Effect
                                                                                                 patients (n/N%)
       Study            Risk of      Indirectness       Inconsistency      Imprecision         Sex             Sex                 Result
                         bias                                                              assigned at     assigned at
                                                                                           birth males         birth
                                                                                                             females
                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2        F-ratio 3.85 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P=0.057
   1 cohort study                                                                              5.71          10.34
   de Vries et al                                                                            [±4.31]        [±8.24]
       2011                                                                                score at T1    score at T1
                                                                                               3.50           6.09
                                                                                             [±4.58]        [±7.93]
 Mean [±SD] Trait Anger (TPI), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming hormones).

                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2        F-ratio 5.70 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P=0.022
   1 cohort study                                                                              5.22           6.43
   de Vries et al                                                                            [±2.76]        [±2.78]
       2011                                                                                score at T1    score at T1
                                                                                               5.00           6.39
                                                                                             [±3.07]        [±2.59]
 Mean [±SD] Trait Anxiety (STAI), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming hormones).

                        Serious       No serious       Not applicable          Not            n-NR2          n-NR2       F-ratio 16.07 (df, errdf:       Critical       VERY LOW
                      limitations1   indirectness                           calculable     score at T0    score at T0        1,39), P<0.001
   1 cohort study                                                                              4.33           7.00
   de Vries et al                                                                            [±2.68]        [±2.36]
       2011                                                                                score at T1    score at T1
                                                                                               4.39           6.17
                                                                                             [±2.64]        [±2.69]
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 The overall sample size completing the outcome at both time points was 41.




                                                                                         124
                     Case
                     Case 1:22-cv-01075-JMS-MKK
                          1:22-cv-01075-JMS-DLP Document
                                                Document 36-9
                                                         47-1 Filed
                                                              Filed 06/17/22
                                                                    06/30/22 Page
                                                                             Page 239
                                                                                  674 of
                                                                                      of 245
                                                                                         902 PageID
                                                                                             PageID #:
                                                                                                    #:
                                                         1195
                                                         1958



Table 11: Question: 4. From the evidence selected, are there any subgroups of children and adolescents with gender
dysphoria that may derive more (or less) advantage from treatment with GnRH analogues than the wider population of
children and adolescents with gender dysphoria? – important outcomes
                                   QUALITY                                                           Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                    NCE
                                                                                     No of events/No of                    Effect
                                                                                       patients (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                     bias                                                        assigned at     assigned at
                                                                                 birth males         birth
                                                                                                   females
Subgroups: sex assigned at birth males compared with sex assigned at birth females

Impact on body image

Mean [±SD] Body Image Scale (primary sexual characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 4.11 (df, errdf: 1,55),    Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.047
 1 cohort study                                                                      4.02           4.16
 de Vries et al                                                                    [±0.16]        [±0.52]
     2011                                                                        score at T1    score at T1
                                                                                     3.74           4.17
                                                                                   [±0.78]        [±0.58]
Mean [±SD] Body Image Scale (secondary sexual characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just
before gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 11.57 (df, errdf: 1,55),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.0013
 1 cohort study                                                                      2.66           2.81
 de Vries et al                                                                    [±0.50]        [±0.76]
     2011                                                                        score at T1    score at T1
                                                                                     2.39           3.18
                                                                                   [±0.69]        [±0.42]
Mean [±SD] Body Image Scale (neutral characteristics), time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).




                                                                               125
                      Case
                      Case 1:22-cv-01075-JMS-MKK
                           1:22-cv-01075-JMS-DLP Document
                                                 Document 36-9
                                                          47-1 Filed
                                                               Filed 06/17/22
                                                                     06/30/22 Page
                                                                              Page 240
                                                                                   675 of
                                                                                       of 245
                                                                                          902 PageID
                                                                                              PageID #:
                                                                                                     #:
                                                          1196
                                                          1959


                                    QUALITY                                                           Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                     NCE
                                                                                      No of events/No of                    Effect
                                                                                        patients (n/N%)
     Study           Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                      bias                                                        assigned at     assigned at
                                                                                  birth males         birth
                                                                                                    females
                     Serious       No serious    Not applicable      Not             n-NR2          n-NR2       F-ratio 0.081 (df, errdf: 1,55),   Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0               P=0.7773
 1 cohort study                                                                       2.60           2.24
 de Vries et al                                                                     [±0.58]        [±0.62]
     2011                                                                         score at T1    score at T1
                                                                                      2.32           2.61
                                                                                    [±0.59]        [±0.50]
Psychosocial impact

Mean [±SD] Children’s Global Assessment Scale score, at baseline.

                     Serious       No serious      No serious        Not                n=not       n=not            t-test 2.15; P=0.035          Important   VERY LOW
 1 cohort study    limitations4   indirectness   inconsistency    calculable          reported    reported
Costa et al 2015                                                                         55.4        59.2
                                                                                       [±12.7]     [±11.8]
Mean [±SD] Children’s Global Assessment Scale score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                     Serious       No serious    Not applicable      Not             n-NR6          n-NR6       F-ratio 5.77 (df, errdf: 1,39),    Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0              P=0.021
 1 cohort study                                                                      73.10          67.25
 de Vries et al                                                                     [±8.84]       [±11.06]
     2011                                                                         score at T1    score at T1
                                                                                     77.33          70.30
                                                                                    [±8.69]        [±9.44]
Mean [±SD] Child Behaviour Checklist (total T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-
affirming hormones).

                     Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 2.64 (df, errdf: 1,52),    Important   VERY LOW
                   limitations1   indirectness                    calculable      score at T0    score at T0              P=0.110
 1 cohort study
                                                                                    59.42          61.73
 de Vries et al
                                                                                   [±11.78]       [±13.60]
     2011
                                                                                  score at T1
                                                                                    50.38

                                                                                126
                     Case
                     Case 1:22-cv-01075-JMS-MKK
                          1:22-cv-01075-JMS-DLP Document
                                                Document 36-9
                                                         47-1 Filed
                                                              Filed 06/17/22
                                                                    06/30/22 Page
                                                                             Page 241
                                                                                  676 of
                                                                                      of 245
                                                                                         902 PageID
                                                                                             PageID #:
                                                                                                    #:
                                                         1197
                                                         1960


                                   QUALITY                                                           Summary of findings                         IMPORTA     CERTAINTY
                                                                                                                                                   NCE
                                                                                     No of events/No of                    Effect
                                                                                       patients (n/N%)
     Study          Risk of      Indirectness   Inconsistency    Imprecision         Sex             Sex                   Result
                     bias                                                        assigned at     assigned at
                                                                                 birth males         birth
                                                                                                   females
                                                                                     [±10.57]   score at T1
                                                                                                  57.73
                                                                                                 [±10.82]
Mean [±SD] Child Behaviour Checklist (internalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not             n-NR7         n-NR7        F-ratio 1.16 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.286
 1 cohort study                                                                     60.00         61.80
 de Vries et al                                                                    [±9.51]       [±14.12]
     2011                                                                        score at T1    score at T1
                                                                                    52.17         56.30
                                                                                   [±9.81]       [±10.33]
Mean [±SD] Child Behaviour Checklist (externalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before
gender-affirming hormones).

                    Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 6.29 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.015
 1 cohort study                                                                    54.71          60.70
 de Vries et al                                                                   [±12.91]       [±12.64]
     2011                                                                        score at T1    score at T1
                                                                                    48.75         57.87
                                                                                  [±10.22]       [±11.66]
Mean [±SD] Youth Self-Report (total T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-affirming
hormones).

                    Serious       No serious    Not applicable      Not            n-NR7          n-NR7        F-ratio 1.99 (df, errdf: 1,52),   Important   VERY LOW
                  limitations1   indirectness                    calculable      score at T0    score at T0              P=0.164
 1 cohort study                                                                    53.56          57.10
 de Vries et al                                                                   [±12.26]       [±10.87]
     2011                                                                        score at T1    score at T1
                                                                                   47.84          51.86
                                                                                  [±10.86]       [±10.11]


                                                                               127
                        Case
                        Case 1:22-cv-01075-JMS-MKK
                             1:22-cv-01075-JMS-DLP Document
                                                   Document 36-9
                                                            47-1 Filed
                                                                 Filed 06/17/22
                                                                       06/30/22 Page
                                                                                Page 242
                                                                                     677 of
                                                                                         of 245
                                                                                            902 PageID
                                                                                                PageID #:
                                                                                                       #:
                                                            1198
                                                            1961


                                       QUALITY                                                               Summary of findings                          IMPORTA     CERTAINTY
                                                                                                                                                            NCE
                                                                                             No of events/No of                    Effect
                                                                                               patients (n/N%)
       Study           Risk of      Indirectness      Inconsistency      Imprecision         Sex             Sex                   Result
                        bias                                                             assigned at     assigned at
                                                                                         birth males         birth
                                                                                                           females
 Mean [±SD] Youth Self-Report (internalising T) score, time point at baseline (T0 before GnRH analogues) versus follow-up (T1 just before gender-
 affirming hormones).

                       Serious       No serious       Not applicable        Not            n-NR7          n-NR7        F-ratio 0.049 (df, errdf: 1,52),   Important   VERY LOW
                     limitations1   indirectness                         calculable      score at T0    score at T0               P=0.825
  1 cohort study                                                                           55.88          56.17
  de Vries et al                                                                          [±11.81]       [±13.25]
      2011                                                                               score at T1    score at T1
                                                                                           49.24          50.24
                                                                                          [±12.24]       [±11.28]
 Mean [±SD] Youth Self-Report (externalising T) score, time point at baseline (T0 before GnRHa) versus follow-up (T1 just before gender-affirming
 hormones).

                       Serious       No serious       Not applicable        Not             n-NR7          n-NR7       F-ratio 9.14 (df, errdf: 1,52),    Important   VERY LOW
                     limitations1   indirectness                         calculable      score at T0    score at T0              P=0.004
  1 cohort study                                                                            48.72          57.24
  de Vries et al                                                                          [±11.83]       [±10.59]
      2011                                                                               score at T1    score at T1
                                                                                            46.52          52.97
                                                                                           [±9.23]        [±8.51]
Abbreviations: GnRH, gonadotrophin releasing hormone; NR, not reported; P, P-value; SD, Standard deviation.

1 Downgraded 1 level - the cohort study by de Vries et al. (2011) was assessed as at high risk of bias (poor quality overall; lack of blinding and no control group).
2 The overall sample size completing the outcome at both time points was 57.
3 There was a significant interaction effect between sex assigned at birth and BDI between T0 and T1; sex assigned at birth females became more dissatisfied with their
secondary F (df, errdf), P: 14.59 (1,55), P<0.001) and neutral F (df, errdf), P: 15.26 (1,55), P<0.001) sex characteristics compared with sex assigned at birth males.
4 Serious limitations – the cohort study by Costa et al. 2015 was assessed as at high risk of bias (poor quality).
5 At baseline, CGAS scores were not associated with any demographic variable, in both sex assigned at birth males and females. There were no statistically significant
differences in CGAS scores between gender dysphoric sex assigned at birth males and females in all follow-up evaluations (P>0.1; full data not reported).
6 The overall sample size completing the outcome at both time points was 41
7 The overall sample size completing the outcome at both time points was 54.




                                                                                       128
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 243
                                                             678 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1199
                                    1962




   Glossary

    Beck Depression         The BDI-II is a tool for assessing depressive symptoms. There
    Inventory-II (BDI-II)   are no specific scores to categorise depression severity, but it is
                            suggested that 0 to 13 is minimal symptoms, 14 to 19 is mild
                            depression, 20 to 28 is moderate depression, and severe
                            depression is 29 to 63.
    Body Image Scale        The BIS is used to measure body satisfaction. The scale consists
    (BIS)                   of 30 body features, which the person rates on a 5-point scale.
                            Each of the 30 items falls into one of 3 basic groups based on its
                            relative importance as a gender-defining body feature: primary sex
                            characteristics, secondary sex characteristics, and neutral body
                            characteristics. A higher score indicates more dissatisfaction.
    Bone mineral            BMAD is a size adjusted value of bone mineral density (BMD)
    apparent density        incorporating body size measurements using UK norms in
    (BMAD)                  growing adolescents.
    Child Behaviour         CBCL is a checklist parents complete to detect emotional and
    Checklist (CBCL)        behavioural problems in children and adolescents.
    Children’s Global       The CGAS tool is a validated measure of global functioning on a
    Assessment Scale        single rating scale from 1 to 100. Lower scores indicate poorer
    (CGAS)                  functioning.
    Gender                  The roles, behaviours, activities, attributes, and opportunities that
                            any society considers appropriate for girls and boys, and women
                            and men.
    Gender dysphoria        Discomfort or distress that is caused by a discrepancy between a
                            person’s gender identity (how they see themselves regarding
                            their gender) and that person’s sex assigned at birth (and the
                            associated gender role, and/or primary and secondary sex
                            characteristics).
    Gonadotrophin           GnRH analogues competitively block GnRH receptors to prevent
    releasing hormone       the spontaneous release of 2 gonadotropin hormones, Follicular
    (GnRH) analogues        Stimulating Hormone (FSH) and Luteinising Hormone (LH) from
                            the pituitary gland. The reduction in FSH and LH secretion
                            reduces oestradiol secretion from the ovaries in those whose sex
                            assigned at birth was female and testosterone secretion from the
                            testes in those whose sex assigned at birth was male.
    Sex assigned at birth   Sex assigned at birth (male or female) is a biological term and is
                            based on genes and how external and internal sex and
                            reproductive organs work and respond to hormones. Sex is the
                            label that is recorded when a baby's birth is registered.
    Tanner stage            Tanner staging is a scale of physical development.
    Trait Anger             The TPI is a validated 20-item inventory tool which measures the
    Spielberger scales of   intensity of anger as the disposition to experience angry feelings
    the State-Trait         as a personality trait. Higher scores indicate greater anger.
    Personality Inventory
    (TPI)
    Transgender             Transgender is a term for someone whose gender identity is not
    (including transmale    congruent with their birth-registered sex. A transmale is a person
    and transfemale)        who identifies as male and a transfemale is a person who
                            identifies as female.



                                               129
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 244
                                                             679 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1200
                                    1963



       Utrecht Gender          The UGDS is a validated screening tool for both adolescents and
       Dysphoria Scale         adults to assess gender dysphoria. It consists of 12 items, to be
       (UGDS)                  answered on a 1- to 5-point scale, resulting in a sum score
                               between 12 and 60. The higher the UGDS score the greater the
                               impact on gender dysphoria.
       Youth Self-Report       The self-administered YSR is a checklist to detect emotional and
       (YSR)                   behavioural problems in children and adolescents. It is self-
                               completed by the child or adolescent. The scales consist of a
                               Total problems score, which is the sum of the scores of all the
                               problem items. An internalising problem scale sums the
                               anxious/depressed, withdrawn-depressed, and somatic
                               complaints scores while the externalising problem scale
                               combines rule-breaking and aggressive behaviour.


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                                                  130
Case
Case 1:22-cv-01075-JMS-MKK
     1:22-cv-01075-JMS-DLP Document
                           Document 36-9
                                    47-1 Filed
                                         Filed 06/17/22
                                               06/30/22 Page
                                                        Page 245
                                                             680 of
                                                                 of 245
                                                                    902 PageID
                                                                        PageID #:
                                                                               #:
                                    1201
                                    1964



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                                                131
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 681 of 902 PageID #:
                                    1965


                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON DIVISION


   B.P.J., by her next friend and mother,
   HEATHER JACKSON,
                                 Plaintiff,
                     v.
   WEST VIRGINIA STATE BOARD OF                   Civil Action No: 2:21-cv-00316
   EDUCATION, HARRISON COUNTY BOARD
   OF EDUCATION, et al.,                                THE HONORABLE
                               Defendants,             JOSEPH R. GOODWIN
                    and
   LAINEY ARMISTEAD,
                     Defendant-Intervenor.


                      DECLARATION OF JAMES M. CANTOR, PHD.
        I, Dr. James Cantor, pursuant to 28 U.S. Code § 1746, declare under penalty

  of perjury under the laws of the United States of America that the facts contained in

  my Expert Report of James M. Cantor, Ph.D., in the Case of B.P.J. v. West Virginia

  State Board of Education, dated February 23, 2022, attached hereto, are true and

  correct to the best of my knowledge and belief, and that the opinions expressed

  therein represent my own expert opinions.




  _________________________                    Executed February 23, 2022

  Dr. James M. Cantor, PhD.



                                                                              Exhibit 18
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 682 of 902 PageID #:
                                    1966




                                       ii
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 683 of 902 PageID #:
                                    1967




                                   Expert Report of
                              James M. Cantor, PhD.
           In the case of B.P.J. vs. West Virginia State Board of Education.


                                  February 23, 2022




                                          iii
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 684 of 902 PageID #:
                                    1968




                                       iv
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 685 of 902 PageID #:
                                    1969



                                                Table of Contents

  I.     Background & Credentials ................................................................................. 1

  II.    Introduction ......................................................................................................... 3

  III.   Clarifying Terms ................................................................................................. 4

  IV.    Evidence Cited by Plaintiffs’ Expert Reports .................................................... 5

  V.     Evidence Missing from Plaintiffs’ Expert Reports .......................................... 11

         A. Adult-Onset Gender Dysphoria .................................................................. 12

              1. Outcome Studies of Transition in Adult-Onset Gender Dysphoria ..... 13

              2. Mental Health Issues in Adult-Onset Gender Dysphoria .................... 13

         B. Childhood Onset (Pre-Puberty) Gender Dysphoria.................................... 15

              1. Prospective Studies of Childhood-Onset Gender Dysphoria Show
                 that Most Children Desist in the “Natural Course” by Puberty .......... 15

              2. “Watchful Waiting” and “The Dutch Approach” ................................... 18

              3. Studies of Transition Outcomes: Overview ........................................... 20

                   a. Outcomes of The Dutch Approach (studies from before 2017):
                      Mix of positive, negative, and neutral outcomes ............................. 21

                   b. Clinicians and advocates have invoked the Dutch Approach
                      while departing from its protocols in important ways. ................... 23

                   c. Studies by other clinicians in other countries have failed to
                      reliably replicate the positive components of the results
                      reported by the Dutch clinicians in de Vries et al. 2011. ................ 24

              4. Mental Health Issues in Childhood-Onset Gender Dysphoria ............. 26

         C. Adolescent-Onset Gender Dysphoria .......................................................... 28

              1. Features of Adolescent-Onset Gender Dysphoria ................................. 28

              2. Prospective Studies of Social Transition and Puberty Blockers in
                 Adolescence ............................................................................................. 29

              3. Mental Illness in Adolescent-Onset Gender Dysphoria ....................... 30



                                                               v
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 686 of 902 PageID #:
                                    1970



  VI.       Alleged Scientific Claims Assessed .................................................................. 32

            A. Conversion Therapy..................................................................................... 32

            B. Claims that All Childhood Outcome Studies Are Wrong ........................... 33

            C. Assessing Claims of Suicidality .................................................................. 34

            D. Assessing Demands for Social Transition and Affirmation-Only or
               Affirmation-on-Demand Treatment in Pre-Pubertal Children. ................ 37

            E. Assessing the “Minority Stress Hypothesis” .............................................. 41

  VII.      Assessing Statements from Professional Associations .................................... 42

            A. Understanding the Value of Statements from Professional
               Associations.................................................................................................. 42

            B. Misrepresentations of statements of professional associations. ................ 43

                 1. World Professional Association for Transgender Health (WPATH) .... 44

                 2. Endocrine Society (ES) ........................................................................... 45

                 3. Pediatric Endocrine Society and Endocrine Society (ES/PES) ............. 46

                 4. American Academy of Child & Adolescent Psychiatry (AACAP) ......... 47

                 5. American College of Obstetricians & Gynecologists (ACOG) ............... 48

                 6. American College of Physicians (ACP) .................................................. 49

                 7. American Academy of Pediatrics (AAP) ................................................ 51

                 8. The ESPE-LWPES GnRH Analogs Consensus Conference Group ...... 51

  References .................................................................................................................... 53




                                                                 vi
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 687 of 902 PageID #:
                                    1971



  I.        Background & Credentials
       1.     I am a clinical psychologist and Director of the Toronto Sexuality Centre in

  Canada. For my education and training, I received my Bachelor of Science degree

  from Rensselaer Polytechnic Institute, where I studied mathematics, physics, and

  computer science. I received my Master of Arts degree in psychology from Boston

  University, where I studied neuropsychology. I earned my Doctoral degree in

  psychology from McGill University, which included successfully defending my

  doctoral     dissertation   studying   the   effects   of   psychiatric   medication   and

  neurochemical changes on sexual behavior, and included a clinical internship

  assessing and treating people with a wide range of sexual and gender identity issues.

       2.     Over my academic career, my posts have included Psychologist and Senior

  Scientist at the Centre for Addiction and Mental Health (CAMH) and Head of

  Research for CAMH’s Sexual Behaviour Clinic, Associate Professor of Psychiatry on

  the University of Toronto Faculty of Medicine, and Editor-in-Chief of the peer

  reviewed journal, Sexual Abuse. That journal is one of the top-impact, peer-reviewed

  journals in sexual behavior science and is the official journal of the Association for

  the Treatment of Sexual Abusers. In that appointment, I was charged to be the final

  arbiter for impartially deciding which contributions from other scientists in my field

  merited publication. I believe that appointment indicates not only my extensive

  experience evaluating scientific claims and methods, but also the faith put in me by

  the other scientists in my field. I have also served on the Editorial Boards of the

  Journal of Sex Research, the Archives of Sexual Behavior, and Journal of Sexual

  Aggression. Thus, although I cannot speak for other scientists, I regularly interact

  with and am routinely exposed to the views and opinions of most of the scientists

  active in our field today, within the United States and throughout the world.

       3.     My scientific expertise spans the biological and non-biological development

  of human sexuality, the classification of sexual interest patterns, the assessment and


                                               1
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 688 of 902 PageID #:
                                    1972



  treatment of atypical sexualities, and the application of statistics and research

  methodology in sex research. I am the author of over 50 peer-reviewed articles in my

  field,   spanning   the   development     of       sexual   orientation,   gender   identity,

  hypersexuality, and atypical sexualities collectively referred to as paraphilias. I am

  the author of the past three editions of the gender identity and atypical sexualities

  chapter of the Oxford Textbook of Psychopathology. These works are now routinely

  cited in the field and are included in numerous other textbooks of sex research.

     4.      I began providing clinical services to people with gender dysphoria in 1998.

  I trained under Dr. Ray Blanchard of CAMH and have participated in the assessment

  of treatment of over one hundred individuals at various stages of considering and

  enacting both transition and detransition, including its legal, social, and medical

  (both cross-hormonal and surgical) aspects. My clinical experience includes the

  assessment and treatment of several thousand individuals experiencing other

  atypical sexuality issues. I am regularly called upon to provide objective assessment

  of the science of human sexuality by the courts (prosecution and defense), professional

  media, and mental health care providers.

     5.      I have served as an expert witness in a total of 14 cases, which are listed in

  my curriculum vitae, attached here as Appendix 1, which includes a list of cases in

  which I have recently testified.

     6.      A substantial proportion of the existing research on gender dysphoria comes

  from two clinics, one in Canada and one in the Netherlands. The CAMH gender clinic

  (previously, Clarke Institute of Psychiatry) was in operation for several decades, and

  its research was directed by Dr. Kenneth Zucker. I was employed by CAMH between

  1998 and 2018. I was a member of the hospital’s adult forensic program. However, I
  was in regular contact with members of the CAMH child psychiatry program (of

  which Dr. Zucker was a member), and we collaborated on multiple projects.




                                                 2
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 689 of 902 PageID #:
                                    1973



        7.     For my work in this case, I am being compensated at the hourly rate of $400

  per hour. My compensation does not change based on the conclusions and opinions

  that I provide here or later in this case or on the outcome of this lawsuit.

  II.        Introduction
        8.     The principal opinions that I offer and explain in detail in this report are:

               a. Biological sex is a clear, scientifically valid, and well-defined category.

                  The existence of disorders of sexual development in an extremely small

                  proportion of individuals does not change this.

               b. Neither early-onset (childhood) gender dysphoria nor adolescent-onset

                  gender dysphoria can be assumed to reflect a fixed aspect of a person’s

                  psychological make-up or self-perception.

               c. No study has demonstrated that “affirming” the transgender identity of

                  a child or adolescent produces better mental health outcomes or reduced

                  suicidality relative to psychotherapy and mental health support.

               d. On the contrary, the contemporary studies have failed to find improved

                  mental health in teens and young adults after administration of puberty

                  blockers and/or cross-sex hormones.

               e. e) Affirmation of a transgender identity in minors who suffer from

                  early-onset or adolescent-onset gender dysphoria is not an accepted

                  “standard of care.”

  In addition, I have been asked to provide an expert opinion on how relevant

  professional organizations have addressed these questions and whether any of them

  have taken any meritorious position that would undermine West Virginia’s Protect

  Women’s Sports Act (H.B. 3292) (“Act”). As I explain in detail in this report, it is my
  opinion that Plaintiffs’ expert reports display a wide variety of flaws that call their

  conclusions into question and that no professional organization has articulated a

  meritorious position that calls into question the basis for the Act.


                                                3
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 690 of 902 PageID #:
                                    1974



     9.       To prepare the present report, I reviewed the following resources related to

  this litigation:

              a. West Virginia’s Protect Women’s Sports Act, H.B. 3293.

              b. The Amended Complaint in this litigation.

              c. Ms. Armistead’s Declaration, Doc. 95-1.

              d. Declaration and Expert Report of Deanna Adkins, MD.

              e. Expert Report and Declaration of Joshua D. Safer, MD, FACP, FACE.

  III.     Clarifying Terms
     10.      Most scientific discussions begin with the relevant vocabulary and

  definitions of terms. In the highly polarized and politicized debates surrounding

  transgender issues, that is less feasible: Different authors have used terms in

  differing, overlapping ways. Activists and the public (especially on social media) will

  use the same terms, but to mean different things, and some have actively misapplied

  terms so that original documents appear to assert something they do not.

     11.      “Gender expression” is one such term. For another example, the word

  “child” is used in some contexts to refer specifically to children before puberty; in some

  contexts, to refer to children before adolescence (thus including ages of puberty); in

  still other contexts, to refer to people under the legal age of consent, which is age

  sixteen in the Netherlands (where much of the research was conducted) or age

  eighteen in much of North America. Thus, care should be taken in both using and

  interpreting the word “child” in this field.

     12.      Because the present document is meant to compare the claims made by

  others, it is the definitions used by those specific authors in those specific contexts

  which are relevant. Thus, definitions to my own uses of terms are provided where
  appropriate, but primarily explicate how terms were defined and used in their original

  contexts.




                                                 4
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 691 of 902 PageID #:
                                    1975


  IV.         Evidence Cited by Plaintiffs’ Expert Reports
        13.      Dr. Adkins claimed a person’s gender identity cannot be voluntarily

  changed. In actual clinical practice, that is rarely the relevant issue. The far more

  typical situation is youth who are mistaken about their gender identity. These youth

  are misinterpreting their experiences to indicate they are transgender, or they are

  exaggerating their descriptions of their experiences in service of attention-seeking or

  other psychological needs. Dr. Adkins’ claim is not merely lacking any science to

  support it; the claim itself defies scientific thinking. In science, it is not possible to

  know that gender identity cannot be changed: We can know only that we lack

  evidence of such a procedure. In the scientific method, it remains eternally possible

  for evidence of such a treatment to emerge, and unlike sexual orientation’s long

  history with conversion therapy, there have not been systematic attempts to change

  gender identity.

        14.     Dr. Adkins claimed that untreated gender dysphoria can result in several

  mental health issues, including suicidality. The relevant research on suicidality is

  summarized in its own section to follow. Nonetheless, Dr. Adkins’ claim is a

  misleading half-truth: Missing is that people with gender dysphoria continue to

  experience those mental health symptoms even after they do transition, including a

  19 times greater risk of death from suicide. 1 This is why clinical guidelines repeatedly

  indicate that mental health issues should be resolved before any transition, as

  indicated in multiple sets of clinical guidelines, summarized in their own section to

  follow. As emphasized even by authorities Dr. Adkins cites herself: Transition should

  not be relied upon itself to improve mental health status.

        15.     Adkins’ support for the claim that untreated gender dysphoria lessens

  mental health consisted of two articles: Olson, et al. (2016) and Spack (2012). Such is

  a terrible misrepresentation of the state of the scientific literature. Although Olson,


  1     Dhejne, et al., 2011.


                                              5
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 692 of 902 PageID #:
                                    1976



  et al., did indeed report that gender dysphoric children showed no mental health

  differences from the non-transgender control groups, Olson’s report turned out to be

  incorrect. The Olson data were reanalyzed, and after correcting for statistical errors

  in the original analysis, the data instead showed that the gender dysphoric children

  under Olson’s care did, in fact, exhibit significantly lower mental health. 2

      16.    I conducted an electronic search of the research literature to identify any

  responses from the Olson team regarding the Schumm and Crawford re-analysis of

  the Olson data and was not able to locate any. I contacted Professor Schumm by email

  on August 22, 2021 to verify that conclusion, to which he wrote there has been: “No

  response [from Olson].” 3
      17.    Adkins also misrepresented the views of Dr. Norman Spack. The article

  Adkins cited—Spack, 2012—repeatedly emphasized that children with gender

  dysphoria exhibit very many symptoms of mental illnesses. Spack asserted

  unambiguously that “Gender dysphoric children who do not receive counseling have

  a high risk of behavioural and emotional problems and psychiatric diagnoses.” 4 The

  wording of Dr. Adkins’ report (“gender dysphoria . . . if left untreated”) misrepresents

  Spack so as to suggest Spack was advocating for medical transition to treat the gender

  dysphoria rather than counseling to treat suicidality and any other mental health

  issues. Moreover still, missing from Adkins’ report was Spack’s conclusion that

  “[m]ental health intervention should persist for the long term, even after surgery, as

  patients continue to be at mental health risk, including for suicide. While the causes

  of suicide are multifactorial, the possibility cannot be ruled out that some patients

  unrealistically believe that surgery(ies) solves their psychological distress.” 5 Whereas




  2   Schumm & Crawford, 2020; Schumm, et al., 2019.
  3   Schumm, email communication, Aug. 22, 2021 (on file with author).
  4   Spack, et al., 2012, at 422, italics added.
  5   Spack, et al., 2013, at 484, italics added


                                                  6
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 693 of 902 PageID #:
                                    1977



  Adkins (selectively) cited Spack to support her insinuation that transition relieves

  distress, Spack instead explicitly warned against drawing exactly that conclusion.

      18.     Next, Adkins claimed to have achieved levels of success in her professional

  clinical practice unlike those reported by anyone anywhere else in the world: “All of

  my patients have suffered from persistent gender dysphoria, which has been

  alleviated through clinical appropriate treatment.” 6 It is difficult to evaluate such a

  bold self-assessment of success. No clinic has published success rates even

  approximating this. By contrast, the peer-reviewed research literature repeatedly

  indicates that clients misrepresent themselves to their care-providers, engaging in

  “image management” so as to appear as having better mental health than they

  actually do. 7 In the absence of objective evidence, it is not possible to differentiate
  Adkins’ claims of success from the simpler explanation that she and her patients are

  telling each other what they want and expect to hear.

      19.     Adkins referred to the clinical practice guidelines (CPG’s) of three

  professional societies: the American Association of Pediatrics (AAP), the World

  Professional Association for Transgender Health (WPATH), and the Endocrine

  Society. This provides only an incomplete and inaccurate portrayal of the field. I am

  aware of six rather than three professional societies providing clinical guidelines for

  the care of gender dysphoric children. They are detailed more fully in their own

  section of this report. Nonetheless, with the broad exception of the AAP, their

  statements repeatedly noted:

              •   Desistance of gender dysphoria occurs in the majority of prepubescent
                  children.
              •   Mental health issues need to be assessed as potentially contributing
                  factors and need to be addressed before transition.
              •   Puberty-blocking medication is an experimental, not a routine, treat-
                  ment.

  6   Adkins Report at 5.
  7   Anzani, et al., 2020; Lehmann, et al., 2021.


                                                     7
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 694 of 902 PageID #:
                                    1978


               •   Social transition is not generally recommended until after puberty.
  Although some other associations have published broad statements of moral support

  for sexual minorities and against discrimination, they did not include any specific

  standards or guidelines regarding medical- or transition-related care.

       20.     Although Adkins referred to them as “widely accepted,” the WPATH and

  the Endocrine Society guidelines have both been subjected to standardized

  evaluation, the Appraisal of Guidelines for Research and Evaluation (“AGREE II”)

  method, as part of an appraisal of all published CPGs regarding sex and gender

  minority healthcare. 8 Utilizing community stakeholders to set domain priorities for

  the evaluation, the assessment concluded that the guidelines regarding HIV and its

  prevention were of high quality, but that “[t]ransition-related CPGs tended to lack

  methodological rigour and rely on patchier, lower-quality primary research.” 9 Neither
  the Endocrine Society’s or WPATH’s guidelines were recommended for use. Indeed,

  the WPATH guidelines received unanimous ratings of “Do not recommend.” 10

       21.     Immediately following the publication of the AAP policy, I conducted a

  point-by-point fact-check of the claims it asserted and the references it cited in

  support. I submitted that to the Journal of Sex & Marital Therapy, a well-known

  research journal of my field, where it underwent blind peer review and was published.

  I append that article as part of this report. See Appendix 2. A great deal of published

  attention ensued; however, the AAP has yet to respond to the errors I demonstrated

  its policy contained. Writing for The Economist about the use of puberty blockers,

  Helen Joyce asked AAP directly, “Has the AAP responded to Dr Cantor? If not, have

  you any response now?” The AAP Media Relations Manager, Lisa Black, responded:

  “We do not have anyone available for comment.”




  8
       Dahlen, et al., 2021.
  9    Dahlen, et al., 2021, at 6.
  10   Dahlen, et al., 2021, at 7.


                                               8
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 695 of 902 PageID #:
                                    1979



       22.    Finally, the clinical guidelines from all these associations have become

  largely outdated. As detailed in the Studies of Transition Outcomes section of this

  report, there was some reason, circa 2010, to expect positive outcomes among children

  who transition, owing to optimistic findings reported from the Netherlands. 11 Early

  positive findings, however, have been retracted after statistical errors were

  identified, 12 or shown to be more attributable to mental health counseling rather than

  to medical transition. 13 The professional societies’ statements were produced during

  that earlier phase.

       23.    In contrast with these U.S.-based associations, public healthcare systems

  throughout the world have instead been withdrawing their earlier support for

  childhood transition, responding to the increasingly recognized risks associated with

  hormonal interventions and the now clear lack of evidence that medical transition

  was benefitting most children, as opposed to the mental health counseling

  accompanying transition. These have included Sweden 14, 15, Finland 16, 17, and the
  United Kingdom 18, and the Royal Australian and New Zealand College of

  Psychiatrists. 19

       24.    Adkins repeatedly claimed success on the basis of what her patients tell

  her. In the absence of any systematic method, however, it is not possible to evaluate

  to what extent such a conclusion reflects human recall bias, cases of negative

  outcomes dropping out of treatment thus becoming invisible to Adkins, the

  aforementioned impression management efforts of clients, psychotherapy that they

  were receiving at the same time, or simple maturation during which the patients


  11   de Vries, et al., 2011.
  12   Kalin, 2020.
  13   c.f., Carmichael, et al., 2021; Biggs, 2019; Biggs, 2020.
  14   Swedish Agency of Health Technology Assessment and Assessment of Social Services, 2019.
  15   Nainggolan, 2021.
  16   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 11.
  17   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 16.
  18   United Kingdom National Health Service (NHS), 2021, March 11.
  19   McCall, 2021.


                                                    9
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 696 of 902 PageID #:
                                    1980



  would have experienced improved mental health regardless of transition. Indeed, the

  very purpose of engaging in systematic, peer-reviewed research instead of relating

  anecdotal recollections is to rule out exactly these biases.

       25.    Adkins referred to disorders of sexual development (DSDs) and intersex

  variations to claim that the very notion of there being two sexes is inherently flawed

  (i.e., challenging “singular biological sex”). Although they both potentially involve

  medical alteration of genitalia, these are not comparable issues. DSDs and intersex

  conditions develop before birth, and objective medical testing is capable of confirming

  diagnoses. Her claims not only misrepresent the research literature on DSDs, but

  also failed to engage the relevant scientific concept, “construct validity.” Adkins

  claimed DSD prevalences of 1 in 1000 live births and 1 in 300 people in the world

  (Adkins Report at 11), leaving unclear how there could be a larger proportion of such

  people living in the world than are born in the first place. The scientific literature,

  however, shows that DSDs are much rarer than this 20 and that the very large

  majority of DSDs are the hypospadias—mislocations of the urethra on the penis. 21

  Because of the biological processes involved in causing them, hypospadias are

  classified as disorders of sexual development. That some boys are born with

  mislocated urethra is falsely taken by Adkins to demonstrate that ‘there are more

  than just boys and girls’.

       26.    Overall, Adkins’ argument was that, because there exist exceptions among

  features which distinguish male from female, the distinction itself is entirely moot.

  Although she did not use the term, Adkins is claiming that the existence of these

  exceptions demonstrates that sex lacks “construct validity.” Her argument does not,

  however, follow from how construct validity is determined in science—very many

  scientific classification systems include exceptions. Scientific constructs are not


  20   Sax, 2002.
  21   Bancroft, 2009.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 697 of 902 PageID #:
                                    1981



  determined by any one of the components it reflects, in this case being each of the sex

  chromosomes, sex hormones, sexually dimorphic genitalia, etc. Rather, such

  constructs are represented by the generalizable interrelationships among its multiple

  components. Notwithstanding exceptions in an individual component in an individual

  case, the interrelationships among the network of components remains intact. The

  existence of people born with a clubfoot or undeveloped leg does not challenge the

  classification of humans as a bipedal species.

       27.     Similarly to Dr. Adkins, Dr. Safer claimed that “gender identity is durable

  and cannot be changed by medical intervention,” providing no evidence or reference

  to the research literature. It is not at all apparent upon what basis such a statement

  about durability can be made, however. It has been the unanimous conclusion of every

  follow-up study of gender dysphoric children ever conducted, not only that gender

  identity does change, but also that it changes in the large majority of cases, as

  documented below. This is, of course, very different from what is reported by

  transgender adults—they are the very people for whom gender dysphoria did endure.

  Regarding responses to clinical intervention, I am not aware of, and Safer did not cite

  any research reports of medical interventions attempting to change gender identity,

  regardless of outcome. It is not clear whether Safer intended this comment to apply

  also to psychological/non-medical interventions.

  V.         Evidence Missing from Plaintiffs’ Expert Reports
       28.     One   of   the   most   widespread    public   misunderstandings     about

  transsexualism and people with gender dysphoria is that all cases of gender

  dysphoria represent the same phenomenon; however, the clinical science has long

  and consistently demonstrated that gender dysphoric children (cases of early-onset
  gender dysphoria) do not represent the same phenomenon as adult gender dysphoria




                                              11
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 698 of 902 PageID #:
                                    1982



  (cases of late-onset gender dysphoria), 22 merely attending clinics at younger ages.

  That is, gender dysphoric children are not simply younger versions of gender

  dysphoric adults. They differ in every known regard, from sexual interest patterns,

  to responses to treatments. A third presentation has recently become increasingly

  observed among people presenting to gender clinics: These cases appear to have an

  onset in adolescence in the absence of any childhood history of gender dysphoria. Such

  cases have been called adolescent-onset or “rapid-onset” gender dysphoria (ROGD).

       29.     In the context of school athletics, the adult-onset phenomenon would not

  seem relevant; however, very many public misunderstandings and expert

  misstatements come from misattributing evidence or personal experience from one of

  these types to the other. For example, there exist only very few cases of transition

  regret among adult transitioners, whereas the research has unanimously shown that

  the majority of children with gender dysphoria desist—that is, cease to experience

  such dysphoria by or during puberty. A brief summary of the adult-onset phenomenon

  is included, to facilitate distinguishing features which are unique to childhood gender

  dysphoria.

             A. Adult-Onset Gender Dysphoria
       30.     People with adult-onset gender dysphoria typically attend clinics

  requesting transition services in mid-adulthood, usually in their 30s or 40s. Such

  individuals are nearly exclusively male. 23 They typically report being sexually

  attracted to women and sometimes to both men and women. Some cases profess

  asexuality, but very few indicate any sexual interest in or behavior involving men. 24

  Cases of adult-onset gender dysphoria are typically associated with a sexual interest

  pattern (medically, a paraphilia) involving themselves in female form. 25


  22   Blanchard, 1985.
  23   Blanchard, 1990, 1991.
  24   Blanchard, 1988.
  25   Blanchard 1989a, 1989b, 1991.


                                             12
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 699 of 902 PageID #:
                                    1983


               1. Outcome Studies       of   Transition    in   Adult-Onset    Gender
                  Dysphoria
       31.     Clinical research facilities studying gender dysphoria have repeatedly

  reported low rates of regret (less than 3%) among adult-onset patients who

  underwent complete transition (i.e., social, plus hormonal, plus surgical transition).

  This has been widely reported by clinics in Canada, 26 Sweden, 27 and the

  Netherlands. 28

       32.     Importantly, each of the Canadian, Swedish, and Dutch clinics for adults

  with gender dysphoria all performed “gate-keeping” procedures, disqualifying from

  medical services people with mental health or other contraindications. One would not

  expect the same results to emerge in the absence of such gate-keeping or when gate-

  keepers apply only minimal standards or cursory assessment.

               2. Mental Health Issues in Adult-Onset Gender Dysphoria
       33.     The research evidence on mental health issues in gender dysphoria

  indicates it to be different between adult-onset versus adolescent-onset versus

  prepubescent-onset types. The co-occurrence of mental illness with gender dysphoria

  in adults is widely recognized and widely documented. 29 A research team in 2016
  published a comprehensive and systematic review of all studies examining rates of

  mental health issues in transgender adults. 30 There were 38 studies in total. The

  review indicated that many studies were methodologically weak, but nonetheless

  concluded (1) that rates of mental health issues among people are highly elevated

  both before and after transition, (2) but that rates were less elevated among those

  who completed transition. Analyses were not conducted in a way so as to compare the

  elevation in mental health issues observed among people newly attending clinics to

  improvement after transition. Also, several studies showed more than 40% of patients

  26   Blanchard, et al., 1989.
  27   Dhejneberg, et al., 2014.
  28   Wiepjes, et al., 2018.
  29   See, e.g., Hepp, et al., 2005.
  30   Dhejne, et al., 2016.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 700 of 902 PageID #:
                                    1984



  becoming “lost to follow-up.” With attrition rates that high, it is unclear to what

  extent the information from the available participants genuinely reflects the whole

  sample. The very high “lost to follow-up” rate leaves open the possibility of

  considerably more negative results overall.

     34.    An important caution applies to interpreting these results: These very high

  proportions of mental health issues come from people who are attending a clinic for

  the first time and are undergoing assessment. Clinics serving a “gate-keeper” role

  divert candidates with mental health issues away from medical intervention. The

  side-effect of removing these people from the samples of transitioners is that if a

  researcher compared the average mental health of individuals coming into the clinic

  with the average mental health of individuals going through medical transition, then

  the post-transition group would appear to show a substantial improvement, even

  though transition had no effect at all: The removal of people with poorer mental

  health created the statistical illusion of improvement among the remaining people.

     35.    The long-standing and consistent finding that gender dysphoric adults have

  high rates of mental health issues both before and after transition and the finding

  that those mental health issues cause the gender dysphoria (the epiphenomenon)

  rather than the other way around indicate a critical point: To the extent that gender

  dysphoric children resemble adults, we should not expect mental health to improve

  as a result of transition. Mental health issues should be resolved before any

  transition.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 701 of 902 PageID #:
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             B. Childhood Onset (Pre-Puberty) Gender Dysphoria

               1. Prospective Studies of Childhood-Onset Gender Dysphoria
                  Show that Most Children Desist in the “Natural Course” by
                  Puberty
       36.     The large majority of childhood onset cases of gender dysphoria occur in

  biological males, with clinics reporting 2–6 biological male children to each female. 31

       37.     Prepubescent children (and their parents) have been approaching mental

  health professionals for help with their unhappiness with their sex and belief they

  would be happier living as the other for many decades. Projects following-up and

  reporting on such cases began being published in the 1970s, with subsequent

  generations of research employing increasingly sophisticated methods studying the

  outcomes of increasingly large samples. In total, there have now been a total of 11

  such outcomes studies. See the appendix to Appendix 2 (listing these studies).

       38.     In sum, despite coming from a variety of countries, conducted by a variety

  of labs, using a variety of methods, all spanning four decades, every study without

  exception has come to the identical conclusion: Among prepubescent children who feel

  gender dysphoric, the majority cease to want to be the other gender over the course

  of puberty—ranging from 61–88% desistance across the large, prospective studies.

  Such cases are often referred to as “desisters,” whereas children who continue to feel

  gender dysphoria are often called “persisters.”

       39.     Notably, in most cases, these children were receiving professional

  psychosocial support across the study period aimed not at affirming cross-gender

  identification, but at resolving stressors and issues potentially interfering with

  desistance. While beneficial to these children and their families, the inclusion of

  therapy in the study protocol represents a complication for the interpretation of the

  results: That is, it is not possible to know to what extent the observed outcomes

  (predominant desistance, with a small but consistent occurrence of persistence) were


  31   Cohen-Kettenis, et al., 2003; Steensma, et al., 2018; Wood, et al., 2013.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 702 of 902 PageID #:
                                    1986



  influenced by the psychosocial support, or would have emerged regardless. It can be

  concluded only that prepubescent children who suffer gender dysphoria and receive

  psychosocial support focused on issues other than “affirmation” of cross-gender

  identification do in fact desist in suffering from gender dysphoria, at high rates, over

  the course of puberty.

     40.    While the absolute number of those who present as prepubescent children

  with gender dysphoria and “persist” through adolescence is very small in relation to

  the total population, persistence in some subjects was observed in each of these

  studies. Thus, the clinician cannot take either outcome for granted.

     41.    It is because of this long-established and invariably consistent research

  finding that desistance is probable, but not inevitable, that the “watchful waiting”

  method became the standard approach for assisting gender dysphoric children. The

  balance of potential risks to potential benefits is very different for groups likely to

  desist versus groups unlikely to desist: If a child is very likely to persist, then taking

  on the risks of medical transition might be more worthwhile than if that child is very

  likely to desist in transgender feelings.

     42.    The consistent observation of high rates of desistance among pre-pubertal

  children who present with gender dysphoria demonstrates a pivotally important—

  yet often overlooked—feature: because gender dysphoria so often desists on its own,

  clinical researchers cannot assume that therapeutic intervention cannot facilitate or

  speed desistance for at least some patients. Such is an empirical question, and there

  has not yet been any such study.

     43.    It is also important to note that research has not yet identified any reliable

  procedure for discerning which children who present with gender dysphoria will
  persist, as against the majority who will desist, absent transition and “affirmation.”

  Such a method would be valuable, as the more accurately that potential persisters

  can be distinguished from desisters, the better the risks and benefits of options can


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 703 of 902 PageID #:
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  be weighted. Such “risk prediction” and behavioral “test construction” are standard

  components of applied statistics in the behavioral sciences. Multiple research teams

  have reported that, on average, groups of persisters are somewhat more gender non-

  conforming than desisters, but not so different as to usefully predict the course of a

  particular child. 32

       44.    In contrast, a single research team, led by Dr. Kristina Olson, claimed the

  opposite, asserting to have developed a method of distinguishing persisters from

  desisters, using a single composite score representing a combination of children’s

  “peer preference, toy preference, clothing preference, gender similarity, and gender

  identity.” 33 That team reported a statistical association (mathematically equivalent
  to a correlation) between that composite score and the probability of persistence. As

  they described their result, “Our model predicted that a child with a gender-

  nonconformity score of .50 would have roughly a .30 probability . . . of socially

  transitioning. By contrast, a child with gender-nonconformity score of .75 would have

  roughly a .48 probability.” 34 Although the authors declared that “social transitions

  may be predictable from gender identification and preferences,” 35 their actual results

  suggest the opposite: The gender-nonconforming group who went on to transition

  (socially) had a mean composite score of .73 (which is less than .75), and the gender-

  nonconforming group who did not transition had a mean composite score of .61, also

  less than .75. 36 Both of those are lower than the value of .75, so both of those would

  be more likely than not to desist, rather than to proceed to transition. Thus, Olson’s

  model does not distinguish likely from unlikely to transition; rather, it distinguishes

  unlikely from even less likely to transition.



  32   Singh, et al. (2021); Steensma et al., 2013.
  33   Rae, et al., 2019, at 671.
  34   Rae, et al., 2019, at 673.
  35   Rae, et al., 2019, at 669.
  36   Rae, et al., 2019, Supplemental Material at 6, Table S1, bottom line.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 704 of 902 PageID #:
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     45.    Although it remains possible for some future finding to yield a method to

  identify with sufficient accuracy which gender dysphoric children will persist, there

  does not exist such a method at the present time. Moreover, in the absence of long-

  term follow-up, it cannot be known what proportions come to regret having

  transitioned and then detransition. Because only a minority of gender dysphoric chil-

  dren persist in feeling gender dysphoric in the first place, “transition-on-demand” in-

  creases the probably of unnecessary transition and unnecessary medical risks.

            2. “Watchful Waiting” and “The Dutch Approach”
     46.    It was this state of the science—that the majority of prepubescent children

  will desist in their feelings of gender dysphoria and that we lack an accurate method

  of identifying which children will persist—that led to the development of a clinical

  approach, often called “The Dutch Approach” (referring to The Netherlands clinic

  where it was developed) including “Watchful Waiting” periods. Internationally, the

  Dutch Approach is currently the most widely respected and utilized method for

  treatment of children who present with gender dysphoria.

     47.    The purpose of these methods was to compromise the conflicting needs

  among: clients’ desires upon assessment, the long-established and repeated

  observation that those preferences will change in the majority of (but not all)

  childhood cases, and that cosmetic aspects of medical transition are perceived to be

  better when they occur earlier rather than later.

     48.    The Dutch Approach (also called the “Dutch Protocol”) was developed over

  many years by the Netherlands’ child gender identity clinic, incorporating the

  accumulating findings from their own research as well as those reported by other

  clinics working with gender dysphoric children. They summarized and explicated the
  approach in their peer-reviewed report, Clinical management of gender dysphoria in

  children and adolescents: The Dutch Approach (de Vries & Cohen-Kettenis, 2012).




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 705 of 902 PageID #:
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  The components of the Dutch Approach are:
              •   no social transition at all considered before age 12 (watchful waiting
                  period),
              •   no puberty blockers considered before age 12,
              •   cross-sex hormones considered only after age 16, and
              •   resolution of mental health issues before any transition.
       49.    For youth under age 12, “the general recommendation is watchful waiting

  and carefully observing how gender dysphoria develops in the first stages of puberty.” 37

       50.    The age cut-offs of the Dutch Approach authors were not based on any

  research demonstrating their superiority over other potential age cut-off’s. Rather,

  they were chosen to correspond to ages of consent to medical procedures under Dutch

  law. But whatever their original rationale, the data from this clinic simply contains

  no information about safety or efficacy of these measures at younger ages.

       51.    The authors of the Dutch Approach repeatedly and consistently emphasize

  the need for extensive mental health assessment, including clinical interviews,

  formal psychological testing with validated psychometric instruments, and multiple

  sessions with the child and the child’s parents.

       52.    Within the Dutch approach, there is no social transition before age twelve.

  That is, social affirmation of the new gender may not begin until age 12—as

  desistance is less likely to occur past that age. “Watchful Waiting” refers to a child’s

  developmental period up to that age. Watchful waiting does not mean do nothing but

  passively observe the child. Such children and families typically present with

  substantial distress involving both gender and non-gender issues. It is during the

  watchful waiting period that a child (and other family members as appropriate) would

  undergo therapy, resolving other issues which may be exacerbating psychological

  stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

  received extensive family or other social support . . . [and they] were all regularly


  37   de Vries & Cohen-Kettenis, 2012, at 301.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 706 of 902 PageID #:
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  seen by one of the clinic’s psychologists or psychiatrists.” 38 One is actively treating

  the person, while carefully “watching” the dysphoria.

       53.     The inclusion of psychotherapy and support during the watchful waiting

  period is, clinically, a great benefit to the gender dysphoric children and their parents.

  The inclusion of psychotherapy and support poses a scientific complication, however:

  It becomes difficult to know to what extent the outcomes of these cases might be

  related to receiving psychotherapy received versus being “spontaneous” desistance,

  which would have occurred on its own anyway. This situation is referred to in science

  as a “confound.”

               3. Studies of Transition Outcomes: Overview
       54.     Very many strong claims have appeared in the media and on social media

  asserting that transition results in improved mental health or, contradictorily, in

  decreased mental health. In the highly politicized context of gender and transgender

  research, many authors have cited only the findings which appear to support one side,

  cherry-picking from the complete set of research reports. Seemingly contradictory

  findings are common in science with on-going research projects. When considered

  together, however, the full set of relevant reports show that a coherent pattern and

  conclusion has emerged over time, as detailed in the following sections. Initial

  optimism was suggested by reports of improvements in mental health. 39 Upon

  continued analysis, these seeming successes turned out to be illusory, however: The

  Bränström and Pachankis (2019) finding has been retracted. 40 The greater mental

  health among transitioners reported by Costa, et al. (2015) was noted to be because

  the control group consisted of cases excluded from hormone eligibility exactly because

  they showed poor mental health to begin with. 41 The improvements reported by the


  38   de Vries, et al., 2011, at 2280-81.
  39   Bränström & Pachankis 2019; Costa, et al., 2015; de Vries, et al., 2011; de Vries, et al., 2014.
  40   Kalin, 2020.
  41   Biggs, 2019.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 707 of 902 PageID #:
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  de Vries studies from the Dutch Clinic themselves appear genuine; however, because

  that clinic also provides psychotherapy to all cases receiving puberty-blockers, it

  remains entirely plausible that the psychotherapy and not the puberty blockers

  caused the improvements. 42 New studies continued to appear an accelerating rate,

  repeatedly reporting deteriorations or lacks of improvement in mental health 43 or

  lack of improvement beyond psychotherapy alone, 44 and other studies continue to re-

  port on only the combined effect of both psychotherapy and hormone treatment

  together. 45
                   a. Outcomes of The Dutch Approach (studies from before 2017):
                      Mix of positive, negative, and neutral outcomes
       55.     The research confirms that some, but not all, adolescents improve on some,

  but not all, indicators of mental health and that those indicators are inconsistent

  across studies. Thus, the balance of potential benefits to potential risks differs across

  cases, and thus suggests different courses of treatment across cases.

       56.     The Dutch clinical research team followed up 70 youth undergoing puberty

  suppression at their clinic. 46 The youth improved on several variables upon follow-up
  as compared to pre-suppression measurement, including depressive symptoms and

  general functioning. No changes were detected in feelings of anxiety or anger or in

  gender dysphoria as a result of puberty suppression; however, natal females using

  puberty suppression suffered increased body dissatisfaction both with their

  secondary sex characteristics and with nonsexual characteristics. 47

       57.     As the report authors noted, while it is possible that the improvement on

  some variables was due to the puberty-blockers, it is also possible that the

  improvement was due to the mental health support, and it is possible that the


  42   Biggs, 2020.
  43   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020.
  44   Achille, et al., 2020.
  45   Kuper, et al., 2020; van der Miesen, et al., 2020, at 703.
  46   de Vries, et al. 2011.
  47   Biggs, 2020.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 708 of 902 PageID #:
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  improvement occurred only on its own with natural maturation. So any conclusion

  that puberty blockers improved the mental health of the treated children is not

  justified by the data. Because this study did not include a control group (another

  group of adolescents matching the first group, but not receiving medical or social

  support), these possibilities cannot be distinguished from each other, representing a

  confound. The authors of the study were explicit in noting this themselves: “All these

  factors may have contributed to the psychological well-being of these gender

  dysphoric adolescents.” 48

       58.     The authors were careful not to overstate the implications of their results,

  “We cautiously conclude that puberty suppression may be a valuable element in

  clinical management of adolescent gender dysphoria.” 49
       59.     Costa, et al. (2015) reported on preliminary outcomes from the Tavistock

  and Portman NHS Foundation Trust clinic in the UK. They compared the

  psychological functioning of one group of youth receiving psychological support with

  a second group receiving both psychological support as well as puberty blocking

  medication. Both groups improved in psychological functioning over the course of the

  study, but no statistically significant differences between the groups was detected at

  any point. 50 As those authors concluded, “Psychological support and puberty

  suppression were both associated with an improved global psychosocial functioning

  in GD adolescence. Both these interventions may be considered effective in the

  clinical management of psychosocial functioning difficulties in GD adolescence.” 51

  Because psychological support does not pose the physical health risks that hormonal

  interventions or surgery does (such as loss of reproductive function), one cannot

  justify taking on the greater risks of social transition, puberty blockers or surgery


  48   de Vries, et al. 2011, at 2281.
  49   de Vries, et al. 2011, at 2282, italics added.
  50   Costa, et al., at 2212 Table 2.
  51   Costa, et al., at 2206.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 709 of 902 PageID #:
                                    1993



  without evidence of such treatment producing superior results. Such evidence does

  not exist.
                   b. Clinicians and advocates have invoked the Dutch Approach
                      while departing from its protocols in important ways.
       60.     The reports of partial success contained in de Vries, et al. 2011 called for

  additional research, both to confirm those results and to search for ways to maximize

  beneficial results and minimize negative outcomes. Instead, many other clinics and

  clinicians proceeded on the basis of the positives only, broadened the range of people

  beyond those represented in the research findings, and removed the protections

  applied in the procedures that led to those outcomes. Many clinics and individual

  clinicians have reduced the minimum age for transition to 10 instead of 12. While the

  Dutch Protocol involves interdisciplinary teams of clinicians, many clinics now rely

  on a single assessor, in some cases one without adequate professional training in

  childhood and adolescent mental health. Comprehensive, longitudinal assessments

  (e.g., one and a half years 52) became approvals after one or two assessment sessions.

  Validated, objective measures of youths’ psychological functioning were replaced with

  clinicians’ subjective (and first) opinions, often reflecting only the clients’ own self-

  report. Systematic recordings of outcomes, so as to allow for detection and correction

  of clinical deficiencies, were eliminated.

       61.     Notably, Dr. Thomas Steensma, central researcher of the Dutch clinic, has

  decried other clinics for “blindly adopting our research” despite the indications that

  those results may not actually apply: “We don’t know whether studies we have done

  in the past are still applicable to today. Many more children are registering, and also

  a different type.” 53 Steensma opined that “every doctor or psychologist who is involved

  in transgender care should feel the obligation to do a good pre- and post-test.” But

  few if any are doing so.

  52   de Vries, et al., 2011.
  53   Tetelepta, 2021.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 710 of 902 PageID #:
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                   c. Studies by other clinicians in other countries have failed to
                      reliably replicate the positive components of the results
                      reported by the Dutch clinicians in de Vries et al. 2011.
       62.     The indications of potential benefit from puberty suppression in at least

  some cases has led some clinicians to attempt to replicate the positive aspects of those

  findings. These efforts have not succeeded.

       63.     The Tavistock and Portman clinic in the U.K. recently released its findings,

  attempting to replicate the outcomes reported by the Dutch clinic. 54 Study

  participants were ages 12–15 (Tanner stages 3 for natal males, Tanner 2 for natal

  females) and were repeatedly tested before beginning puberty-blocking medications

  and then every six months thereafter. Cases exhibiting serious mental illnesses (e.g.,

  psychosis, bipolar disorder, anorexia nervosa, severe body-dysmorphic disorder

  unrelated to gender dysphoria) were excluded. Relative to the time point before

  beginning puberty suppression, there were no significant changes in any

  psychological measure, from either the patients’ or their parents’ perspective.

       64.     A multidisciplinary team from Dallas published a prospective follow-up

  study which included 25 youths as they began puberty suppression. 55 (The other 123
  study participants were undergoing cross-sex hormone treatment.) Interventions were

  administered according to “Endocrine Society Clinical Practice Guidelines.” 56 Their

  analyses found no statistically significant changes in the group undergoing puberty

  suppression on any of the nine measures of wellbeing measured, spanning tests of

  body satisfaction, depressive symptoms, or anxiety symptoms. 57 (Although the

  authors reported detecting some improvements, these were only found when the large

  group undergoing cross-sex hormone treatment were added in.) Although the Dutch




  54   Carmichael, et al., 2021.
  55   Kuper, et al., 2020, at 5.
  56   Kuper, et al., 2020, at 3, referring to Hembree, et al., 2017.
  57   Kuper, et al., 2020, at Table 2.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 711 of 902 PageID #:
                                    1995



  Approach includes age 12 as a minimum for puberty suppression treatment, this team

  provided such treatment beginning at age 9.8 years (full range: 9.8–14.9 years). 58

       65.     Achille, et al. (2020) at Stony Brook Children’s Hospital in New York

  treated a sample of 95 youth with gender dysphoria, providing follow-up data on 50

  of them. (The report did not indicate how these 50 were selected from the 95.) As well

  as receiving puberty blocking medications, “Most subjects were followed by mental

  health professionals. Those that were not were encouraged to see a mental health

  professional.” 59 The puberty blockers themselves “were introduced in accordance with

  the Endocrine Society and the WPATH guidelines.” 60 Upon follow-up, some
  incremental improvements were noted; however, after statistically adjusting for

  psychiatric medication and engagement in counselling, “most predictors did not reach

  statistical significance.” 61 That is, puberty blockers did not improve mental health

  any more than did mental health care on its own.

       66.     In a recent update, the Dutch clinic reported continuing to find improve-

  ment in transgender adolescents’ psychological functioning, reaching age-typical lev-

  els, “after the start of specialized transgender care involving puberty suppression.” 62

  Unfortunately, because the transgender care method of that clinic involves both

  psychosocial support and puberty suppression, it cannot be known which of those (or

  their combination) is driving the improvement. Also, the authors indicate that the

  changing demographic and other features among gender dysphoric youth might have

  caused the treated group to differ from the control group in unknown ways. As the

  study authors themselves noted, “The present study can, therefore, not provide




  58   Kuper, et al., 2020, at 4.
  59   Achille, et al., 2020, at 2.
  60   Achille, et al., 2020, at 2.
  61   Achille, et al., 2020, at 3 (italics added).
  62   van der Miesen, et al., 2020, at 699.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 712 of 902 PageID #:
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  evidence about the direct benefits of puberty suppression over time and long-term

  mental health outcomes.” 63

       67.     It has not yet been determined why the successful outcomes reported by the

  Dutch child gender clinic a decade ago failed to emerge when applied by others more

  recently. It is possible that:
               (1) The Dutch Approach itself does not work and that their originally
                   successful results were a fluke;
               (2) The Dutch Approach does work, but only in the Netherlands, with local
                   cultural, genetic, or other unrecognized factors that do not generalize to
                   other countries;
               (3) The Dutch Approach itself does work, but other clinics and individual
                   clinicians are removing safeguards and adding short-cuts to the
                   approach, and those changes are hampering success.
               (4) The Dutch Approach does work, but the cause of the improvement is the
                   psychosocial support, rather than any medical intervention, which other
                   clinics are not providing.
       68.     The failure of other clinics to repeat the already very qualified success of

  the Dutch clinic demonstrates the need for still greater caution before endorsing

  transition and the greater need to resolve potential mental health obstacles before

  doing so.

               4. Mental Health Issues in Childhood-Onset Gender Dysphoria
       69.     As shown by the outcomes studies, there is no statistically significant

  evidence that transition reduces the presence of mental illness among transitioners.

  As shown repeatedly by clinical guidelines from multiple professional associations,

  mental health issues are expected or required to be resolved before undergoing

  transition.      The reasoning behind these conclusions is that children may be

  expressing gender dysphoria, not because they are experiencing what gender

  dysphoric adults report, but because they mistake what their experiences indicate or

  to what they might lead. For example, a child experiencing depression from social




  63   van der Miesen, et al., 2020, at 703.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 713 of 902 PageID #:
                                    1997



  isolation might develop hope—and the unrealistic expectation—that transition will

  help them fit in, this time as and with the other sex.

       70.     If a child undergoes transition, discovering only then that their mental

  health or social situations will not in fact change, the medical risks and side-effects

  (such as sterilization) will have been borne for no reason. If, however, a child resolves

  the mental health issues first with the gender dysphoria resolving with it (which the

  research literature shows to be the case in the large majority), then the child need

  not undergo transition at all, but yet still retains the opportunity to do so later.

       71.     Elevated rates of multiple mental health issues among gender dysphoric

  children are reported throughout the research literature. A formal analysis of

  children (ages 4–11) undergoing assessment at the Dutch child gender clinic showed

  52% fulfilled criteria for a DSM axis-I disorder. 64 A comparison of the children

  attending the Canadian versus Dutch child gender dysphoria clinic showed only few

  differences between them, but a large proportion in both groups were diagnosable

  with clinically significant mental health issues. Results of standard assessment

  instruments (Child Behavior Check List, or CBCL) demonstrated that the average

  score was in the clinical rather than healthy range, among children in both clinics. 65

  When expressed as percentages, among 6–11-year-olds, 61.7% of the Canadian and

  62.1% of the Dutch sample were in the clinical range.

       72.     A systematic, comprehensive review of all studies of Autism Spectrum

  Disorders (ASDs) and Attention-Deficit Hyperactivity Disorder (ADHD) among

  children diagnosed with gender dysphoria was recently conducted. It was able to

  identify a total of 22 studies examining the prevalence of ASD or ADHD I youth with

  gender dysphoria. Studies reviewing medical records of children and adolescents

  referred to gender clinics showed 5–26% to have been diagnosed with ASD. 66

  64   Wallien, et al., 2007.
  65   Cohen-Kettenis, et al., 2003, at 46.
  66   Thrower, et al., 2020.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 714 of 902 PageID #:
                                    1998



  Moreover, those authors gave specific caution on the “considerable overlap between

  symptoms of ASD and symptoms of gender variance, exemplified by the subthreshold

  group which may display symptoms which could be interpreted as either ASD or

  gender variance. Overlap between symptoms of ASD and symptoms of GD may well

  confound results.” 67 When two or more issues are present at the same time (in this

  case, gender dysphoria present at the same time as ADHD or ASD), researchers

  cannot distinguish when a result is associated with or caused by the issue of interest

  (gender dysphoria itself) or one of the side issues, called confounds (ADHD or ASD,

  in the present case). 68 The rate of ADHD among children with GD was 8.3–11%.
  Conversely, in data from children (ages 6–18) with Autism Spectrum Disorders

  (ASDs) show they are more than seven times more likely to have parent-reported

  “gender variance.” 69

             C. Adolescent-Onset Gender Dysphoria

               1. Features of Adolescent-Onset Gender Dysphoria
       73.     A third profile has begun to present to clinicians or socially,

  characteristically distinct from the previously identified ones. 70 Unlike adult-onset

  gender dysphoria (and also unlike childhood-onset, see supra Part IV.B.2), this group

  is predominately biologically female. This group first presents in adolescence, but

  lacks the history of cross-gender behavior in childhood like the childhood-onset cases

  have. It is this feature which led to the term Rapid Onset Gender Dysphoria

  (ROGD). 71 The majority of cases appear to occur within clusters of peers and in

  association with increased social media use 72 and especially among people with

  autism or other neurodevelopmental or mental health issues. 73

  67   Thrower, et al., 2020, at 703.
  68   Cohen-Kettenis et al., 2003, at 51; Skelly et al., 2012.
  69   Janssen, et al., 2016.
  70   Kaltiala-Heino, et al., 2015; Littman, 2018.
  71   Littman, 2018.
  72   Littman, 2018.
  73   Kaltiala-Heino, et al., 2015; Littman, 2018; Warrier, et al., 2020.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 715 of 902 PageID #:
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       74.    It cannot be easily determined whether the self-reported gender dysphoria

  is a result of other underlying issues or if those mental health issues are the result of

  the stresses of being a stigmatized minority, as some writers are quick to assume. 74

  See infra Part VI.E (discussing the minority stress hypothesis). Importantly, and

  unlike other presentations of gender dysphoria, people with rapid-onset gender

  dysphoria often (47.2%) experienced declines rather than improvements in mental

  health when they publicly acknowledged their gender status. 75 Although long-term

  outcomes have not yet been reported, these distinctions argue against generalizing

  findings from the other types of gender dysphoria to this one. That is, in the absence

  of evidence, researchers cannot assume that the pattern found in childhood-onset or

  adult-onset gender dysphoria also applies to rapid-onset (aka adolescent-onset)

  gender dysphoria. That is, the group differences already observed argue against the

  conclusion that any given feature would be present, in general, throughout all types

  of gender dysphoria.

              2. Prospective Studies of Social Transition and Puberty Blockers
                 in Adolescence
       75.    There do not yet exist prospective outcomes studies either for social

  transition or for medical interventions for people whose gender dysphoria began in

  adolescence. That is, instead of taking a sample of individuals and following them

  forward over time (thus permitting researchers to account for people dropping out of

  the study, people misremembering the order of events, etc.), all studies have thus far

  been retrospective. It is not possible for such studies to identify what factors caused

  what outcomes. No study has yet been organized in such a way as to allow for an

  analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset

  cases. Many of the newer clinics (not the original clinics systematically tracking and

  reporting on their case results) fail to distinguish between people who had childhood-

  74   Boivin, et al., 2020.
  75   Biggs, 2020; Littman, 2018.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 716 of 902 PageID #:
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  onset gender dysphoria and have aged into adolescence and people whose onset was

  not until adolescence. Similarly, there are clinics failing to distinguish people who

  had adolescent-onset gender dysphoria and aged into adulthood from adult-onset

  gender dysphoria. Studies selecting groups according to their current age instead of

  their ages of onset can produce only confounded results, representing unclear mixes

  according to how many of each type of case wound up in the final sample.

              3. Mental Illness in Adolescent-Onset Gender Dysphoria
       76.    In 2019, a Special Section of the Archives of Sexual Behavior was published:

  “Clinical Approaches to Adolescents with Gender Dysphoria.” It included this brief

  yet thorough summary of rates of mental health issues among adolescents expressing

  gender dysphoria by Dr. Aron Janssen of the Department of Child and Adolescent

  Psychiatry of New York University: 76 The literature varies in the range of

  percentages of adolescents with co-occurring disorders. The range for depressive

  symptoms ranges was 6–42%, 77 with suicide attempts ranging 10 to 45%. 78 Self-

  injurious thoughts and behaviors range 14–39%. 79 Anxiety disorders and disruptive

  behavior difficulties including Attention Deficit/Hyperactivity Disorder are also

  prevalent. 80 Gender dysphoria also overlaps with Autism Spectrum Disorder. 81

       77.    Of particular concern in the context of adolescent onset gender dysphoria is

  Borderline Personality Disorder (BPD). The DSM criteria for BPD are:
              A pervasive pattern of instability of interpersonal relationships, self-
              image, and affects, and marked impulsivity beginning by early
              adulthood and present in a variety of contexts, as indicated by five (or
              more) of the following:
              1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not
                 include suicidal or self-mutilating behaviour covered in Criterion 5.)


  76 Janssen, et al., 2019.
  77 Holt, et al., 2016; Skagerberg, et al., 2013; Wallien, et al., 2007.
  78 Reisner, et al., 2015.
  79 Holt, et al., 2016; Skagerberg, et al., 2013.
  80 de Vries, et al., 2011; Mustanski, et al., 2010; Wallien, et al., 2007.
  81 de Vries, et al., 2010; Jacobs, et al., 2014; Janssen, et al., 2016; May, et al., 2016; Strang, et al.,
  2014, 2016.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 717 of 902 PageID #:
                                    2001


              2. A pattern of unstable and intense interpersonal relationship
                 characterized by alternating between extremes of idealization and
                 devaluation.
              3. Identity disturbance: markedly and persistently unstable self-image
                 or sense of self.
              4. Impulsivity in at least two areas that are potentially self-damaging
                 (e.g., spending, sex, substance abuse, reckless driving, binge eating).
                 (Note: Do not include suicidal or self-mutilating behavior covered in
                 Criterion 5.)
              5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating
                 behavior.
              6. Affective instability due to a marked reactivity of mood (e.g., intense
                 episodic dysphoria, irritability, or anxiety usually lasting a few hours
                 and only rarely more than a few days).
              7. Chronic feelings of emptiness.
              8. Inappropriate, intense anger or difficulty controlling anger (e.g., fre-
                 quent displays of temper, constant anger, recurrent physical fights).
              9. Transient, stress-related paranoid ideation or severe dissociative
                 symptoms.
  (Italics added.)

       78.    It is increasingly hypothesized that very many cases appearing to be ado-

  lescent-onset gender dysphoria are actually cases of BPD. 82 That is, some people may

  be misinterpreting their experiences to represent a gender identity issue, when it

  instead represents the “identity disturbance” noted in symptom Criterion 3. Like

  adolescent-onset gender dysphoria, BPD begins to manifest in adolescence, is

  substantially more common among biological females than males, and occurs in 2–

  3% of the population, rather than 1-in-5,000 people (i.e., 0.02%). Thus, if even only a

  portion of people with BPD had an ‘identity disturbance’ that focused on gender

  identity and were mistaken for transgender, they could easily overwhelm the number

  of genuine cases of gender dysphoria.

       79.    A primary cause for concern is symptom Criterion 5: recurrent suicidality.

  Regarding the provision of mental health care, this is a crucial distinction: A person

  with BPD going undiagnosed will not receive the appropriate treatments (the


  82   E.g., Zucker, 2019.


                                              31
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 718 of 902 PageID #:
                                    2002



  currently most effective of which is Dialectical Behavior Therapy). A person with a

  cross-gender identity would be expected to feel relief from medical transition, but

  someone with BPD would not: The problem was not about gender identity, but about

  having an unstable identity. Moreover, after a failure of medical transition to provide

  relief, one would predict for these people increased levels of hopelessness and

  increased risk of suicidality. One would predict also that misdiagnoses would occur

  more often if one reflexively dismissed or discounted symptoms of BPD as responses

  to “minority stress.” See infra Part VI.D (discussing minority stress).

        80.     Regarding research, there have now been several attempts to document

  rates of suicidality among gender dysphoric adolescents. See infra Part VI.C. The

  scientific concern presented by BPD is that it poses a potential confound: samples of

  gender dysphoric adolescents could appear to have elevated rates of suicidality, not

  because of the gender dysphoria (or transphobia in society), but because of the

  number of people with BPD in the sample.

  VI.         Alleged Scientific Claims Assessed

              A. Conversion Therapy
        81.     Activists and social media increasingly, but erroneously, apply the term

  “conversion therapy” moving farther and farther from what the research has

  reported. “Conversion therapy” (or “reparative therapy” and other names) was the

  attempt to change a person’s sexual orientation; however, with the public more

  frequently accustomed to “LGB” being expanded to “LGBTQ+”, the claims relevant

  only to sexual orientation are being misapplied to gender identity. The research has

  repeatedly demonstrated that once one explicitly acknowledges being gay or lesbian,

  this is only rarely mistaken. That is entirely unlike gender identity, wherein the
  great majority of children who declare cross-gender identity cease to do so by puberty,

  as shown unanimously by every follow-up study ever published. As the field grows

  increasingly polarized, any therapy failing to provide affirmation-on-demand is


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 719 of 902 PageID #:
                                    2003



  mislabeled “conversion therapy.” 83 Indeed, even actions of non-therapists, unrelated

  to any therapy have been labelled conversion therapy, including the very prohibition

  of biological males competing on female teams. 84

             B. Claims that All Childhood Outcome Studies Are Wrong
       82.     As already indicated, the follow-up studies of gender dysphoric children are

  unanimous in their conclusion that gender dysphoria desists in the large majority of

  cases. Nonetheless, some authors assert that the entire set of prospective outcomes

  studies on prepubescent children is wrong; that desistance is not, in fact, the usual

  outcome for gender dysphoric children; and that results from various retrospective

  studies are the more accurate picture. 85 As indicated in the responses published from
  authors of several prospective outcomes studies (and as summarized below), the

  detractors’ arguments are invalid. 86

       83.     There have been accusations that some of the prospective outcome studies

  are old. This criticism would be valid only if newer studies showed different results

  from the older studies; however, the findings of desistance are the same, indicating

  that age of the studies is not, in fact, a factor.

       84.     There have been accusations that some studies failed to use a DSM

  diagnosis, and should therefore be rejected. That would be a valid criticism only if

  studies using the DSM showed different results from studies not using the DSM.

  Because both kinds of studies showed the same results, one may conclude that DSM

  status was not a factor, even if using a DSM diagnosis would have been a preferred

  method.



  83  D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One size
  does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual Behavior, 50, 7–
  16.
  84  Turban, J. (2021, March 16). Trans girls belong on girls’ sports teams. Scientific American.
  www.scientificamerican.com/article/trans-girls-belong-on-girls-sports-teams/
  85  Temple Newhook, et al., 2018; Winters, et al., 2018.
  86  Steensma, et al., 2018a; Zucker, et al. 2018.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 720 of 902 PageID #:
                                    2004



     85.     There have been criticisms that some studies are too small to provide a

  reliable result. It is indeed true that if larger studies showed different results from

  the smaller studies, we would tend to favor the results of the larger studies. Because

  the smaller studies came to the same conclusion as the larger studies, however, the

  criticism is, once again, entirely moot.

     86.     There have been accusations that studies did not use the current DSM-5 as

  their method of diagnosing gender dysphoric children. This criticism would be valid

  only if there existed any studies using the DSM-5 against which to compare the

  existing studies. The DSM-5 is still too recent for there yet to have been long-term

  follow-up studies. It can be seen, however, that the outcome studies are the same

  across the DSM-III, DSM-III-R, DSM-IV, and DSM-IV-TR.

     87.     In science, there cannot be any such thing as a perfect study. Especially in

  medical research, where we cannot manipulate people in ways that would clear up

  difficult questions, all studies will have a fault. In science, we do not, however, reject

  every study with any identifiable short-coming—rather, we gather a diversity of

  observations, made with their diversity of compromises to safety and ethics (and time

  and cost, etc.), and tentatively accept the most parsimonious (simplest) explanation

  of the full set, weighting each study according to their individual strengths and

  weaknesses.

           C. Assessing Claims of Suicidality
     88.     In the absence of scientific evidence associating improvement with

  transition among youth, demands for transition are increasingly accompanied by

  hyperbolic warnings of suicide should there be delay or obstacle to affirmation-on-

  demand. Social media circulate claims of extreme suicidality accompanied by
  declarations that “I’d rather have a trans daughter than a dead son.” Such claims

  convey only grossly misleading misrepresentations of the research literature,

  however.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 721 of 902 PageID #:
                                    2005



       89.    Despite that the media treat them as near synonyms, suicide and

  suicidality are distinct phenomena. They represent different behaviors with different

  motivations, with different mental health issues, and with differing clinical needs.

  Suicide refers to completed suicides and the sincere intent to die. It is substantially

  associated with impulsivity, using more lethal means, and being a biological male. 87

  Suicidality refers to parasuicidal behaviors, including suicidal ideation, threats, and

  gestures. These typically represent cries for help rather than an intent to die and are

  more common among biological females. Suicidal threats can indicate any of many

  problems or represent emotional blackmail, as typified in “If you leave me, I will kill

  myself.” Professing suicidality is also used for attention- seeking or for the support or

  sympathy it evokes from others, indicating distress much more frequently than an

  intent to die.

       90.    The scientific study of suicide is inextricably linked to that of mental illness.

  For example, as noted in the preceding, suicidality is a well-documented symptom of

  Borderline Personality Disorder (as are chronic identity issues), and personality

  disorders are highly elevated among transgender populations, especially adolescent-

  onset. Thus, the elevations of suicidality among gender dysphoric adolescents may

  not be a result of anything related to transition (or lack of transition), but to the

  overlap with mental illness of which suicidality is a substantial part. Conversely,

  improvements in suicidality reported in some studies may not be the result of

  anything related to transition, but rather to the concurrent general mental health

  support which is reported by the clinical reported prospective outcomes. Studies that

  include more than one factor at the same time without accounting for each other

  represent a “confound,” and it cannot be known which factor (or both) is the one

  causing the effects observed. That is, when a study provides both mental health



  87   Freeman, et al., 2017.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 722 of 902 PageID #:
                                    2006



  services and medical transition services at the same time, it cannot be known which

  (or both) is what caused any changes.

       91.     A primary criterion for readiness for transition used by the clinics

  demonstrating successful transition is the absence or resolution of other mental

  health concerns, such as suicidality. In the popular media, however, indications of

  mental health concerns are instead often dismissed as an expectable result caused by

  Sexual Minority Stress (SMS). It is generally implied that such symptoms will

  resolve upon transition and integration into an affirming environment. Dr. Adkins

  makes it explicit in her report that the purpose of “the medical treatment for gender

  dysphoria is to eliminate the clinically significant distress.” (Adkins, p. 5.)

       92.     Despite that relevant professional association statements repeatedly call

  for mental health issues, including suicidality, to be resolved before transition (see

  infra Section VI), threats of suicide are instead oftentimes used as the very

  justification for labelling transition a ‘medical necessity’. However plausible it might

  seem that failing to affirm transition causes suicidality, the epidemiological evidence

  indicates that hypothesis to be incorrect: Suicide rates remains elevated even after

  complete transition, as shown by a comprehensive review of 19 studies of suicidality

  in gender dysphoria. 88

       93.     Of particular relevance in the present context is suicidality as a well-

  documented symptom of Borderline Personality Disorder (BPD) and that very many

  cases appearing to be adolescent-onset gender dysphoria actually represent cases of

  BPD. [See full DSM-5 criteria already listed herein.] That is, some people may be

  misinterpreting their experiencing of the broader “identity disturbance” of symptom

  Criterion 3 to represent a gender identity issue specifically. Like adolescent-onset

  gender dysphoria, BPD begins to manifest in adolescence and occurs in 2–3% of the



  88   McNeil, et al., 2017.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 723 of 902 PageID #:
                                    2007



  population, rather than 1-in-5,000 people. (Thus, if even only a portion of people with

  BPD experienced an identity disturbance that focused on gender identity and were

  mistaken for transgender, they could easily overwhelm the number of genuine cases

  of gender dysphoria.)

       94.     Rates     of    completed       suicide      are   elevated      among   post-transition

  transsexuals, but are nonetheless rare, 89 and BPD is repeatedly documented to be

  greatly elevated among sexual minorities 90. Overall, rates of suicidal ideation and

  suicidal attempts appear to be related—not to transition status—but to the social

  support received: The research evidence shows that support decreases suicidality, but

  that transition itself does not. Indeed, in some situations, social support was

  associated with increased suicide attempts, suggesting the reported suicidality may

  represent attempts to evoke more support. 91

             D. Assessing Demands for Social Transition and Affirmation-Only or
                Affirmation-on-Demand Treatment in Pre-Pubertal Children.
       95.     Colloquially, affirmation refers broadly to any actions that treat the person

  as belonging to a new gender. In different contexts, that could apply to social actions

  (use of a new name and pronouns), legal actions (changes to birth certificates), or

  medical actions (hormonal and surgical interventions). That is, social transition, legal

  transition, and medical transition (and subparts thereof) need not, and rarely do,

  occur at the same time. In practice, there are cases in which a child has socially only

  partially transitioned, such as presenting as one gender at home and another at

  school or presenting as one gender with one custodial parent and another gender with

  the other parent.

       96.     Referring to “affirmation” as a treatment approach is ambiguous: Although

  often used in public discourse to take advantage of the positive connotations of the


  89   Wiepjes, et al., 2020.
  90   Reuter, et al., 2016; Rodriguez-Seiljas, et al., 2021; Zanarni, et al., 2021.
  91   Bauer, et al., 2015; Canetto, et al., 2021.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 724 of 902 PageID #:
                                    2008



  term, it obfuscates what exactly is being affirmed. This often leads to confusion, such

  as quoting a study of the benefits and risks of social affirmation in a discussion of

  medical affirmation, where the appearance of the isolated word “affirmation” refers

  to entirely different actions.

     97.    It is also an error to divide treatment approaches into affirmative versus

  non-affirmative. As noted already, the widely adopted Dutch Approach (and the

  guidelines of the multiple professional associations based on it) cannot be said to be

  either: It is a staged set of interventions, wherein social transition (and puberty

  blocking) may not begin until age 12 and cross-sex hormonal and other medical

  interventions, later.

     98.    Formal clinical approaches to helping children expressing gender dysphoria

  employ a gate-keeper model, with decision trees to help clinicians decide when and if

  the potential benefits of affirmation of the new gender would outweigh the potential

  risks of doing so. Because the gate-keepers and decision-trees generally include the

  possibility of affirmation in at least some cases, it is misleading to refer to any one

  approach as “the affirmation approach.” The most extreme decision-tree would be

  accurately called affirmation-on-demand, involving little or no opportunity for

  children to explore at all whether the distress they feel is due to some other, less

  obvious, factor, whereas more moderate gate-keeping would endorse transition only

  in select situations, when the likelihood of regretting transition is minimized.

     99.    Many outcomes studies have been published examining the results of gate-

  keeper models, but no such studies have been published regarding affirmation-on-

  demand with children. Although there have been claims that affirmation-on-demand

  causes mental health or other improvement, these have been the result only of
  “retrospective” rather than “prospective” studies. That is, such studies did not take

  a sample of children and follow them up over time, to see how many dropped out

  altogether, how many transitioned successfully, and how many transitioned and


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 725 of 902 PageID #:
                                    2009



  regretted it or detransitioned. Rather, such studies took a sample of successfully

  transitioned adults and asked them retrospective questions about their past. In such

  studies, it is not possible to know how many other people dropped out or regretted

  transition, and it is not possible to infer causality from any of the correlations

  detected, despite authors implying and inferring causality.

       100.    Olson and colleagues employed exactly such a retrospective study. They

  offered their survey to children in the TransYouth Project—people who have socially

  transitioned, their families, and any contacts they had, by word of mouth. This

  method is referred to as “convenience sampling,” and differs from genuinely

  representative samples in applying to means of ensuring study participants

  accurately represent the population being studied. There were three groups of

  children for comparison: (i) children who had already socially transitioned, (ii) their

  siblings, and (iii) children in a university database of families interested in

  participating in child development research. As noted by the study authors, “For the

  first time, this article reports on socially transitioned gender children’s mental health

  as reported by the children.” 92 Reports from parents were also recorded. 93 In contrast,

  no reports or ratings were provided by any mental health care professional or

  researcher at all. That is, although adding self-assessments to the professional

  assessments might indeed provide novel insights, this project did not add self-

  assessment to professional assessment. Rather, it replaced professional assessment

  with self-assessment. Moreover, as already noted, Olson’s data did not show what the

  Olson team claimed. 94 The dataset was subsequently re-analyzed, and “[T]o the

  contrary, the transgender children, even when supported by their parents, had

  significantly lower average scores on anxiety and self-worth. ” 95


  92   Durwood, et al., 2017, at 121 (italics added).
  93   See Olson, et al., 2016.
  94   Schumm, et al., 2019.
  95   Schumm & Crawford, 2020, p. 9


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 726 of 902 PageID #:
                                    2010



       101.   It is well established in the field of psychology that participant self-

  assessment can be severely unreliable for multiple reasons. For example, one well-

  known phenomenon in psychological research is known as “socially desirable

  responding”—the tendency of subjects to give answers that they believe will make

  themselves look good, rather than accurate answers. Specifically, subjects’ reports

  that they are enjoying good mental health and functioning well could reflect the

  subjects’ desire to be perceived as healthy and as having made good choices, rather

  than reflecting their actual mental health.

       102.   In their analyses, the study reported finding no significant differences

  between the transgender children, their non-transgender siblings, or the community

  controls. As the authors noted, “[t]hese findings are in striking contrast to previous

  work with gender-nonconforming children who had not socially transitioned, which

  found very high rates of depression and anxiety.” 96 The authors are correct to note

  that their result contrasts with the previous research, but they do not discuss that

  this could reflect a problem with the novel research design they used: The subjective

  self-reports of the children and their parents’ reports may not be reflecting reality

  objectively, as careful professional researchers would. Because the study did not

  employ any method to detect and control for participants indulging in “socially

  desirable responding” or acting under other biasing motivations, this possibility

  cannot be assessed or ruled out.

       103.   Because this was a single-time study relying on self-reporting, rather than

  a before-and-after transition study relying on professional evaluation, it is not

  possible to know if the children reported as well-functioning are in fact well-

  functioning, nor if so whether they are well-functioning because they were permitted

  to transition, or whether instead the fact is that they were already well-functioning



  96   Durwood, et al., 2017, at 116.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 727 of 902 PageID #:
                                    2011



  and therefore permitted to transition. Finally, because the TransYouth project lacks

  a prospective design, it cannot be known how many cases attempted transition,

  reacted poorly, and then detransitioned, thus never having entered into the study in

  the first place.

          E. Assessing the “Minority Stress Hypothesis”
       104.   The elevated levels of mental health problems among lesbian, gay, and

  bisexual populations is a well-documented phenomenon, and the idea that it is caused

  by living within a socially hostile environment is called the Minority Stress

  Hypothesis. 97 The association is not entirely straight-forward, however. For example,

  although lesbian, gay, and bisexual populations are more vulnerable to suicide

  ideation overall, the evidence specifically on adult lesbian and bisexual women is

  unclear. Meyer did not include transgender populations in originating the hypothesis,

  and it remains a legitimate question to what extent and in what ways it might apply

  to gender identity.

       105.   Minority stress is associated, in large part, with being a visible minority.

  There is little evidence that transgender populations show the patterns suggested by

  the hypothesis. For example, the minority stress hypothesis would predict differences

  according to how visibly a person is discernable as a member of the minority, which

  often changes greatly upon transition. Biological males who are very effeminate stand

  out throughout childhood, but in some cases can successfully blend in as adult

  females; whereas the adult-onset transitioners blend in very much as heterosexual

  cis-gendered males during their youth and begin visibly to stand out in adulthood,

  only for the first time.

       106.   Also suggesting minority stress cannot be the full story is that the mental

  health symptoms associated with minority stress do not entirely correspond with



  97   Meyer, 2003.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 728 of 902 PageID #:
                                    2012



  those associated with gender dysphoria. The primary symptoms associated with

  minority stress are depressive symptoms, substance use, and suicidal ideation. 98 The

  symptoms associated with gender dysphoria indeed include depressive symptoms and

  suicidal ideation, but also include anxiety symptoms, Autism Spectrum Disorders,

  and personality disorders.

  VII.    Assessing Statements from Professional Associations

          A. Understanding      the   Value      of   Statements   from    Professional
             Associations
       107.   The value of position statements from professional associations should be

  neither over- nor under-estimated. In the ideal, an organization of licensed health

  care professionals would convene a panel of experts who would systematically collect

  all the available evidence about an issue, synthesizing it into recommendations or

  enforceable standards for clinical care, according to the quality of the evidence for

  each alternative. For politically neutral issues, with relevant expertise contained

  among association members, this ideal can be readily achievable. For controversial

  issues with no clear consensus, the optimal statement would summarize each

  perspective and explicate the strengths and weaknesses of each, providing relatively

  reserved recommendations and suggestions for future research that might resolve the

  continuing questions. Several obstacles can hinder that goal, however. Committees

  within professional organizations are typically volunteer activities, subject to the

  same internal politics of all human social structures. That is, committee members are

  not necessarily committees of experts on a topic—they are often committees of

  generalists handling a wide variety of issues or members of an interest group who

  feel strongly about political implications of an issue, instead of scientists engaged in

  the objective study of the topic.




  98   Meyer, 2003.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 729 of 902 PageID #:
                                    2013



     108.   Thus, documents from professional associations may represent required

  standards, the violation of which may merit sanctions, or may represent only

  recommendations or guidelines. A document may represent the views of an

  association’s full membership or only of the committee’s members (or majorities

  thereof). Documents may be based on systematic, comprehensive reviews of the

  available research or selected portions of the research. In sum, the weight best placed

  on any association’s statement is the amount by which that association employed

  evidence versus other considerations in its process.

        B. Misrepresentations of statements of professional associations.
     109.   In the presently highly politicized context, official statements of

  professional associations have been widely misrepresented. In preparing the present

  report, I searched the professional research literature for documentation of

  statements from these bodies and from my own files, for which I have been collecting

  such information for many years. I was able to identify statements from six such

  organizations. Although not strictly a medical association, the World Professional

  Association for Transgender Health (WPATH) also distributed a set of guidelines in

  wide use and on which other organizations’ guidelines are based.

     110.   Notably, despite that all these medical associations reiterate the need for

  mental health issues to be resolved before engaging in medical transition, only the

  AACAP members have medical training in mental health. The other medical

  specialties include clinical participation with this population, but their assistance in

  transition generally assumes the mental health aspects have already been assessed

  and treated beforehand.




                                            43
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 730 of 902 PageID #:
                                    2014


               1. World Professional             Association        for   Transgender         Health
                  (WPATH)
        111.   The WPATH standards as they relate to prepubescent children begin with

  the acknowledgement of the known rates of desistance among gender dysphoric

  children:
               [I]n follow-up studies of prepubertal children (mainly boys) who were
               referred to clinics for assessment of gender dysphoria, the dysphoria
               persisted into adulthood for only 6–23% of children (Cohen-Kettenis,
               2001; Zucker & Bradley, 1995). Boys in these studies were more likely
               to identify as gay in adulthood than as transgender (Green, 1987; Money
               & Russo, 1979; Zucker & Bradley, 1995; Zuger, 1984). Newer studies,
               also including girls, showed a 12–27% persistence rate of gender
               dysphoria into adulthood (Drummond, Bradley, Peterson-Badali, &
               Zucker, 2008; Wallien & Cohen-Kettenis, 2008). 99
        112.   That is, “In most children, gender dysphoria will disappear before, or early

  in, puberty.” 100
        113.   Although WPATH does not refer to puberty blocking medications as

  “experimental,” the document indicates the non-routine, or at least inconsistent

  availability of the treatment:
               Among adolescents who are referred to gender identity clinics, the
               number considered eligible for early medical treatment—starting with
               GnRH analogues to suppress puberty in the first Tanner stages—differs
               among countries and centers. Not all clinics offer puberty suppression.
               If such treatment is offered, the pubertal stage at which adolescents are
               allowed to start varies from Tanner stage 2 to stage 4 (Delemarre, van
               de Waal & Cohen-Kettenis, 2006; Zucker et al., [2012]). 101
        114.   WPATH neither endorses nor proscribes social transitions before puberty,

  instead recognizing the diversity among families’ decisions:
               Social transitions in early childhood do occur within some families with
               early success. This is a controversial issue, and divergent views are held
               by health professionals. The current evidence base is insufficient to
               predict the long-term outcomes of completing a gender role transition
               during early childhood. 102
        115.   It does caution, however, “Relevant in this respect are the previously

  described relatively low persistence rates of childhood gender dysphoria.” 103

  99    Coleman, et al., 2012, at 172.
  100   Coleman, et al., 2012, at 173.
  101   Coleman, et al., 2012, at 173.
  102   Coleman, et al., 2012, at 176.
  103   Coleman, et al., 2012, at 176 (quoting Drummond, et al., 2008; Wallien & Cohen-Kettenis, 2008).


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 731 of 902 PageID #:
                                    2015


               2. Endocrine Society (ES)
        116.   The 150,000-member Endocrine Society appointed a nine-member task

  force, plus a methodologist and a medical writer, who commissioned two systematic

  reviews of the research literature and, in 2017, published an update of their 2009

  recommendations, based on the best available evidence identified. The guideline was

  co-sponsored by the American Association of Clinical Endocrinologists, American

  Society of Andrology, European Society for Paediatric Endocrinology, European

  Society of Endocrinology, Pediatric Endocrine Society (PES), and the World

  Professional Association for Transgender Health (WPATH).

        117.   The document acknowledged the frequency of desistance among gender

  dysphoric children:
               Prospective follow-up studies show that childhood GD/gender incongru-
               ence does not invariably persist into adolescence and adulthood (so-
               called “desisters”). Combining all outcome studies to date, the
               GD/gender incongruence of a minority of prepubertal children appears
               to persist in adolescence. . . . In adolescence, a significant number of
               these desisters identify as homosexual or bisexual. 104
        118.   The statement similarly acknowledges inability to predict desistance or

  persistence, “With current knowledge, we cannot predict the psychosexual outcome

  for any specific child.” 105
        119.   Although outside their area of professional expertise, mental health issues

  were also addressed by the Endocrine Society, repeating the need to handle such

  issues before engaging in transition, “In cases in which severe psychopathology,

  circumstances, or both seriously interfere with the diagnostic work or make

  satisfactory treatment unlikely, clinicians should assist the adolescent in managing

  these other issues.” 106 This ordering—to address mental health issues before

  embarking on transition—avoids relying on the unproven belief that transition will

  solve such issues.

  104   Hembree, et al., 2017, at 3876.
  105   Hembree, et al., 2017, at 3876.
  106   Hembree, et al., 2017, at 3877.


                                              45
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 732 of 902 PageID #:
                                    2016



        120.   The Endocrine Society did not endorse any affirmation-only approach. The

  guidelines were neutral with regard to social transitions before puberty, instead

  advising that such decisions be made only under clinical supervision: “We advise that

  decisions regarding the social transition of prepubertal youth are made with the

  assistance of a mental health professional or similarly experienced professional.” 107

        121.   The Endocrine Society guidelines make explicit that, after gathering

  information from adolescent clients seeking medical interventions and their parents,

  the clinician “provides correct information to prevent unrealistically high

  expectations [and] assesses whether medical interventions may result in unfavorable

  psychological and social outcomes.” 108

               3. Pediatric Endocrine Society and Endocrine Society (ES/PES)
        122.   In 2020, the 1500-member Pediatric Endocrine Society partnered with the

  Endocrine Society to create and endorse a brief, two-page position statement. 109

  Although strongly worded, the document provided no specific guidelines, instead

  deferring to the Endocrine Society guidelines. 110

        123.   It is not clear to what extent this endorsement is meaningful, however.

  According to the PES, the Endocrine Society “recommendations include evidence that

  treatment of gender dysphoria/gender incongruence is medically necessary and

  should be covered by insurance.” 111 However, the Endocrine Society makes neither

  statement. Although the two-page PES document mentioned insurance coverage four

  times, the only mention of health insurance by the Endocrine Society was: “If GnRH

  analog treatment is not available (insurance denial, prohibitive cost, or other

  reasons), postpubertal, transgender female adolescents may be treated with an



  107   Hembree, et al., 2017, at 3872.
  108   Hembree, et al., 2017, at 3877.
  109   PES, online; Pediatric Endocrine Society & Endocrine Society, Dec. 2020.
  110   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1; Hembree, et al., 2017.
  111   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1.


                                                     46
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 733 of 902 PageID #:
                                    2017



  antiandrogen that directly suppresses androgen synthesis or action.” 112 Despite the

  PES asserting it as ”medically necessary,” the Endocrine Society stopped short of

  that. Its only use of that phrase was instead limiting: “We recommend that a patient

  pursue genital gender-affirming surgery only after the MHP and the clinician

  responsible for endocrine transition therapy both agree that surgery is medically

  necessary and would benefit the patient’s overall health and/or well-being.” 113

               4. American Academy of Child & Adolescent Psychiatry (AACAP)
        124.   The 2012 statement of the American Academy of Child & Adolescent

  Psychiatry (AACAP) is not an affirmation-only policy. It notes:
               Just as family rejection is associated with problems such as depression,
               suicidality, and substance abuse in gay youth, the proposed benefits of
               treatment to eliminate gender discordance in youth must be carefully
               weighed against such possible deleterious effects. . . . In general, it is
               desirable to help adolescents who may be experiencing gender distress
               and dysphoria to defer sex reassignment until adulthood, or at least un-
               til the wish to change sex is unequivocal, consistent, and made with ap-
               propriate consent. 114
        125.   The AACAP’s language repeats the description of the use of puberty

  blockers only as an exception: “For situations in which deferral of sex reassignment

  decisions until adulthood is not clinically feasible, one approach that has been

  described in case series is sex hormone suppression under endocrinological

  management with psychiatric consultation using gonadotropin-releasing hormone

  analogues.” 115

        126.   The AACAP statement acknowledges the long-term outcomes literature for

  gender dysphoric children: “In follow-up studies of prepubertal boys with gender

  discordance—including many without any mental health treatment—the cross

  gender wishes usually fade over time and do not persist into adulthood,” 116 adding

  that “[c]linicians should be aware of current evidence on the natural course of gender

  112   Hembree, et al. 2017, at 3883.
  113   Hembree, et al., 2017 at 3872, 3894.
  114   Adelson & AACAP, 2012, at 969.
  115   Adelson & AACAP, 2012, at 969 (italics added).
  116   Adelson & AACAP, 2012, at 963.


                                                   47
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 734 of 902 PageID #:
                                    2018



  discordance and associated psychopathology in children and adolescents in choosing

  the treatment goals and modality.” 117

        127.   The policy similarly includes a provision for resolving mental health issues:

  “Gender reassignment services are available in conjunction with mental health

  services focusing on exploration of gender identity, cross-sex treatment wishes,

  counseling during such treatment if any, and treatment of associated mental health

  problems.” 118 The document also includes minority stress issues and the need to deal

  with mental health aspects of minority status (e.g., bullying). 119

        128.   Rather than endorse social transition for prepubertal children, the AACAP

  indicates: “There is similarly no data at present from controlled studies to guide

  clinical decisions regarding the risks and benefits of sending gender discordant

  children to school in their desired gender. Such decisions must be made based on

  clinical judgment, bearing in mind the potential risks and benefits of doing so.” 120

               5. American College of Obstetricians & Gynecologists (ACOG)
        129.   The American College of Obstetricians & Gynecologists (ACOG) published

  a “Committee Opinion” expressing recommendations in 2017. The statement

  indicates it was developed by the ACOG’s Committee on Adolescent Health Care, but

  does not indicate participation based on professional expertise or a systematic method

  of objectively assessing the existing research. It includes the disclaimer: “This

  document reflects emerging clinical and scientific advances as of the date issued and

  is subject to change. The information should not be construed as dictating an

  exclusive course of treatment or procedure to be followed.” 121




  117   Adelson & AACAP, 2012, at 968.
  118   Adelson & AACAP, 2012, at 970 (italics added).
  119   Adelson & AACAP, 2012, at 969.
  120   Adelson & AACAP, 2012, at 969.
  121   ACOG, 2017, at 1.


                                                   48
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 735 of 902 PageID #:
                                    2019



        130.   Prepubertal children do not typically have clinical contact with

  gynecologists, and the ACOG recommendations include that the client additionally

  have a primary health care provider. 122

        131.   The ACOG statement cites the statements made by other medical

  associations—European Society for Pediatric Endocrinology (ESPE),, PES, and the

  Endocrine Society—and by WPATH. 123 It does not cite any professional association

  of mental health care providers, however. The ACOG recommendations repeat the

  previously mentioned eligibility/readiness criteria of having no mental illness that

  would hamper diagnosis and no medical contraindications to treatment. It notes:

  “Before any treatment is undertaken, the patient must display eligibility and

  readiness (Table 1), meaning that the adolescent has been evaluated by a mental

  health professional, has no contraindications to therapy, and displays an

  understanding of the risks involved.” 124
        132.   The “Eligibility and Readiness Criteria” also include, “Diagnosis

  established for gender dysphoria, transgender, transsexualism.” 125 This standard,

  requiring a formal diagnosis, forestalls affirmation-on-demand because self-declared

  self-identification is not sufficient for DSM diagnosis.

        133.   ACOG’s remaining recommendations pertain only to post-transition,

  medically oriented concerns. Pre-pubertal social transition is not mentioned in the

  document, and the outcomes studies of gender dysphoric (prepubescent) children are

  not cited.

               6. American College of Physicians (ACP)
        134.   The American College of Physicians published a position paper broadly

  expressing support for the treatment of LGBT patients and their families, including


  122   ACOG, 2017, at 1.
  123   ACOG, 2017, at 1, 3.
  124   ACOG, 2017, at 1, 3 (citing the Endocrine Society guidelines) (italics added).
  125   ACOG, 2017, at 3 Table 1.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 736 of 902 PageID #:
                                    2020



  nondiscrimination, antiharassment, and defining “family” by emotional rather than

  biological or legal relationships in visitation policies, and the inclusion of transgender

  health care services in public and private health benefit plans. 126

        135.   ACP did not provide guidelines or standards for child or adult gender

  transitions. The policy paper opposed attempting “reparative therapy;” however, the

  paper confabulated sexual orientation with gender identity in doing so. That is, on

  the one hand, ACP explicitly recognized that “[s]exual orientation and gender identity

  are inherently different.” 127 It based this statement on the fact that “the American

  Psychological Association conducted a literature review of 83 studies on the efficacy

  of efforts to change sexual orientation.” 128 The APA’s document, entitled “Report of
  the American Psychological Task Force on appropriate therapeutic responses to

  sexual orientation” does not include or reference research on gender identity. 129

  Despite citing no research about transgenderism, the ACP nonetheless included in

  its statement: “Available research does not support the use of reparative therapy as

  an effective method in the treatment of LGBT persons.” 130 That is, the inclusion of

  “T” with “LGB” is based on something other than the existing evidence.

        136.   There is another statement, 131 which was funded by ACP and published in

  the Annals of Internal Medicine under its “In the Clinic” feature, noting that “‘In the

  Clinic’ does not necessarily represent official ACP clinical policy.” 132 The document

  discusses medical transition procedures for adults rather than for children, except to

  note that “[n]o medical intervention is indicated for prepubescent youth,” 133 that a

  “mental health provider can assist the child and family with identifying an



  126   Daniel & Butkus, 2015a, 2015b.
  127   Daniel & Butkus, 2015b, at 2.
  128   Daniel & Butkus, 2015b, at 8 (italics added).
  129   APA, 2009 (italics added).
  130   Daniel & Butkus, 2015b, at 8 (italics added).
  131   Safer & Tangpricha, 2019.
  132   Safer & Tangpricha, 2019, at ITC1.
  133   Safer & Tangpricha, 2019, at ITC9.


                                                        50
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 737 of 902 PageID #:
                                    2021



  appropriate time for a social transition,” 134 and that the “child should be assessed and

  managed for coexisting mood disorders during this period because risk for suicide is

  higher than in their cisgender peers.” 135

               7. American Academy of Pediatrics (AAP)
        137.   The policy of the American Academy of Pediatrics (AAP) is unique among

  the major medical associations in being the only one to endorse an affirmation-on-

  demand policy, including social transition before puberty without any watchful

  waiting period. Although changes in recommendations can obviously be appropriate

  in response to new research evidence, the AAP provided none. Rather, the research

  studies AAP cited in support of its policy simply did not say what AAP claimed they

  did. In fact, the references that AAP cited as the basis of their policy instead outright

  contradicted that policy, repeatedly endorsing watchful waiting. 136 Moreover, of all
  the outcomes research published, the AAP policy cited one, and that without men-

  tioning the outcome data it contained. 137.

               8. The ESPE-LWPES GnRH Analogs Consensus Conference Group
        138.   Included in the interest of completeness, there was also a collaborative

  report in 2009, between the European Society for Pediatric Endocrinology (ESPE)

  and the Lawson Wilkins Pediatric Endocrine Society (LWPES). 138 Thirty experts

  were convened, evenly divided between North American and European labs and

  evenly divided male/female, who comprehensively rated the research literature on

  gonadotropin-release hormone analogs in children.

        139.   The effort concluded that “[u]se of gonadotropin-releasing hormone analogs

  for conditions other than central precocious puberty requires additional investigation



  134   Safer & Tangpricha, 2019, at ITC9.
  135   Safer & Tangpricha, 2019, at ITC9.
  136   Cantor, 2020.
  137   Cantor, 2020, at 1.
  138   Carel et al., 2009.


                                               51
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 738 of 902 PageID #:
                                    2022



  and cannot be suggested routinely.” 139 However, gender dysphoria was not explicitly

  mentioned as one of those other conditions.




  139   Carel et al. 2009, at 752.


                                          52
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 739 of 902 PageID #:
                                    2023



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                                             53
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 740 of 902 PageID #:
                                    2024


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                                             54
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 741 of 902 PageID #:
                                    2025


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                                    2032




                   EXPERT REPORT OF JAMES M. CANTOR, PHD



                                APPENDIX 1
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 749 of 902 PageID #:
                                    2033




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                                          EDUCATION

  Postdoctoral Fellowship                                                       Jan., 2000–May, 2004
  Centre for Addiction and Mental Health • Toronto, Canada

  Doctor of Philosophy                                                          Sep., 1993–Jun., 2000
  Psychology • McGill University • Montréal, Canada

  Master of Arts                                                                Sep., 1990–Jan., 1992
  Psychology • Boston University • Boston, MA

  Bachelor of Science                                                           Sep. 1984–Aug., 1988
  Interdisciplinary Science • Rensselaer Polytechnic Institute • Troy, NY
  Concentrations: Computer science, mathematics, physics


                                     EMPLOYMENT HISTORY

  Director                                                                         Feb., 2017–Present
  Toronto Sexuality Centre • Toronto, Canada

  Senior Scientist (Inaugural Member)                                          Aug., 2012–May, 2018
  Campbell Family Mental Health Research Institute
  Centre for Addiction and Mental Health • Toronto, Canada

  Senior Scientist                                                              Jan., 2012–May, 2018
  Complex Mental Illness Program
  Centre for Addiction and Mental Health • Toronto, Canada

  Head of Research                                                              Nov., 2010–Apr. 2014
  Sexual Behaviours Clinic
  Centre for Addiction and Mental Health • Toronto, Canada

  Research Section Head                                                         Dec., 2009–Sep. 2012
  Law & Mental Health Program
  Centre for Addiction and Mental Health • Toronto, Canada

  Psychologist                                                                 May, 2004–Dec., 2011
  Law & Mental Health Program
  Centre for Addiction and Mental Health • Toronto, Canada


                                                                                                   1/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 750 of 902 PageID #:
                                    2034




  Clinical Psychology Intern                                    Sep., 1998–Aug., 1999
  Centre for Addiction and Mental Health • Toronto, Canada

  Teaching Assistant                                            Sep., 1993–May, 1998
  Department of Psychology
  McGill University • Montréal, Canada

  Pre-Doctoral Practicum                                        Sep., 1993–Jun., 1997
  Sex and Couples Therapy Unit
  Royal Victoria Hospital • Montréal, Canada

  Pre-Doctoral Practicum                                        May, 1994–Dec., 1994
  Department of Psychiatry
  Queen Elizabeth Hospital • Montréal, Canada


                               ACADEMIC APPOINTMENTS

  Associate Professor                                            Jul., 2010–May, 2019
  Department of Psychiatry
  University of Toronto Faculty of Medicine • Toronto, Canada

  Adjunct Faculty                                               Aug. 2013–Jun., 2018
  Graduate Program in Psychology
  York University • Toronto, Canada

  Associate Faculty (Hon)                                       Oct., 2017–Dec., 2017
  School of Behavioural, Cognitive & Social Science
  University of New England • Armidale, Australia

  Assistant Professor                                            Jun., 2005–Jun., 2010
  Department of Psychiatry
  University of Toronto Faculty of Medicine • Toronto, Canada

  Adjunct Faculty                                               Sep., 2004–Jun., 2010
  Clinical Psychology Residency Program
  St. Joseph’s Healthcare • Hamilton, Canada




                                                                                 2/32
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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 753 of 902 PageID #:
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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 755 of 902 PageID #:
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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 756 of 902 PageID #:
                                    2040



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  LETTERS AND COMMENTARIES
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  3. Cantor, J. M. (2015). Purported changes in pedophilia as statistical artefacts: Comment on
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  12. Cantor, J. M. (2003, Spring). What are the hot topics in LGBT research in psychology?
          Newsletter of Division 44 of the American Psychological Association, 19(1), 21–24.
  13. Cantor, J. M. (2002, Fall). Male homosexuality, science, and pedophilia. Newsletter of
          Division 44 of the American Psychological Association, 18(3), 5–8.
  14. Cantor, J. M. (2000). Review of the book Sexual Addiction: An Integrated Approach.
          Journal of Sex and Marital Therapy, 26, 107–109.


  EDITORIALS
  1.   Cantor, J. M. (2012). Editorial. Sexual Abuse: A Journal of Research and Treatment, 24.



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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 757 of 902 PageID #:
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  2.  Cantor, J. M. (2011). Editorial note. Sexual Abuse: A Journal of Research and Treatment,
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  3. Barbaree, H. E., & Cantor, J. M. (2010). Performance indicates for Sexual Abuse: A Journal
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          and Treatment, 22, 371–373.
  4. Barbaree, H. E., & Cantor, J. M. (2009). Sexual Abuse: A Journal of Research and
          Treatment performance indicators for 2007 [Editorial]. Sexual Abuse: A Journal of
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  5. Zucker, K. J., & Cantor, J. M. (2009). Cruising: Impact factor data [Editorial]. Archives of
          Sexual Research, 38, 878–882.
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          Journal of Research and Treatment [Editorial]. Sexual Abuse: A Journal of Research
          and Treatment, 20, 3–4.
  7. Zucker, K. J., & Cantor, J. M. (2008). The Archives in the era of online first ahead of
          print[Editorial]. Archives of Sexual Behavior, 37, 512–516.
  8. Zucker, K. J., & Cantor, J. M. (2006). The impact factor: The Archives breaks from the pack
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  9. Zucker, K. J., & Cantor, J. M. (2005). The impact factor: “Goin’ up” [Editorial]. Archives of
          Sexual Behavior, 34, 7–9.
  10. Zucker, K., & Cantor, J. M. (2003). The numbers game: The impact factor and all that jazz
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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 758 of 902 PageID #:
                                    2042



                                      FUNDING HISTORY

  Principal Investigators:   Doug VanderLaan, Meng-Chuan Lai
  Co-Investigators:          James M. Cantor, Megha Mallar Chakravarty, Nancy Lobaugh, M.
                             Palmert, M. Skorska
  Title:                     Brain function and connectomics following sex hormone treatment in
                             adolescents experience gender dysphoria
  Agency:                    Canadian Institutes of Health Research (CIHR),
                             Behavioural Sciences-B-2
  Funds:                     $650,250 / 5 years (July, 2018)

  Principal Investigator:    Michael C. Seto
  Co-Investigators:          Martin Lalumière , James M. Cantor
  Title:                     Are connectivity differences unique to pedophilia?
  Agency:                    University Medical Research Fund, Royal Ottawa Hospital
  Funds:                     $50,000 / 1 year (January, 2018)

  Principal Investigator:    Lori Brotto
  Co-Investigators:          Anthony Bogaert, James M. Cantor, Gerulf Rieger
  Title:                     Investigations into the neural underpinnings and biological correlates
                             of asexuality
  Agency:                    Natural Sciences and Engineering Research Council (NSERC),
                             Discovery Grants Program
  Funds:                     $195,000 / 5 years (April, 2017)

  Principal Investigator:    Doug VanderLaan
  Co-Investigators:          Jerald Bain, James M. Cantor, Megha Mallar Chakravarty, Sofia
                             Chavez, Nancy Lobaugh, and Kenneth J. Zucker
  Title:                     Effects of sex hormone treatment on brain development: A magnetic
                             resonance imaging study of adolescents with gender dysphoria
  Agency:                    Canadian Institutes of Health Research (CIHR),
                             Transitional Open Grant Program
  Funds:                     $952,955 / 5 years (September, 2015)

  Principal Investigator:    James M. Cantor
  Co-Investigators:          Howard E. Barbaree, Ray Blanchard, Robert Dickey, Todd A. Girard,
                             Phillip E. Klassen, and David J. Mikulis
  Title:                     Neuroanatomic features specific to pedophilia
  Agency:                    Canadian Institutes of Health Research (CIHR)
  Funds:                     $1,071,920 / 5 years (October, 2008)

  Principal Investigator:    James M. Cantor
  Title:                     A preliminary study of fMRI as a diagnostic test of pedophilia
  Agency:                    Dean of Medicine New Faculty Grant Competition, Univ. of Toronto
  Funds:                     $10,000 (July, 2008)




                                                                                              10/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 759 of 902 PageID #:
                                    2043



  Principal Investigator:   James M. Cantor
  Co-Investigator:          Ray Blanchard
  Title:                    Morphological and neuropsychological correlates of pedophilia
  Agency:                   Canadian Institutes of Health Research (CIHR)
  Funds:                    $196,902 / 3 years (April, 2006)




                                                                                            11/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 760 of 902 PageID #:
                                    2044



                          KEYNOTE AND INVITED ADDRESSES

  1.  Cantor, J. M. (2021, September 28). No topic too tough for this expert panel: A year in
         review. Plenary Session for the 40th Annual Research and Treatment Conference,
         Association for the Treatment of Sexual Abusers.
  2. Cantor, J. M. (2019, May 1). Introduction and Q&A for ‘I, Pedophile.’ StopSO 2nd Annual
         Conference, London, UK.
  3. Cantor, J. M. (2018, August 29). Neurobiology of pedophilia or paraphilia? Towards a
         ‘Grand Unified Theory’ of sexual interests. Keynote address to the International
         Association for the Treatment of Sexual Offenders, Vilnius, Lithuania.
  4. Cantor, J. M. (2018, August 29). Pedophilia and the brain: Three questions asked and
         answered. Preconference training presented to the International Association for the
         Treatment of Sexual Offenders, Vilnius, Lithuania.
  5. Cantor, J. M. (2018, April 13). The responses to I, Pedophile from We, the people. Keynote
         address to the Minnesota Association for the Treatment of Sexual Abusers, Minneapolis,
         Minnesota.
  6. Cantor, J. M. (2018, April 11). Studying atypical sexualities: From vanilla to I, Pedophile.
         Full day workshop at the Minnesota Association for the Treatment of Sexual Abusers,
         Minneapolis, Minnesota.
  7. Cantor, J. M. (2018, January 20). How much sex is enough for a happy life? Invited lecture
         to the University of Toronto Division of Urology Men’s Health Summit, Toronto,
         Canada.
  8. Cantor, J. M. (2017, November 2). Pedophilia as a phenomenon of the brain: Update of
         evidence and the public response. Invited presentation to the 7th annual SBC education
         event, Centre for Addiction and Mental Health, Toronto, Canada.
  9. Cantor, J. M. (2017, June 9). Pedophilia being in the brain: The evidence and the public’s
         reaction. Invited presentation to SEXposium at the ROM: The science of love and sex,
         Toronto, Canada.
  10. Cantor, J. M., & Campea, M. (2017, April 20). “I, Pedophile” showing and discussion.
         Invited presentation to the 42nd annual meeting of the Society for Sex Therapy and
         Research, Montréal, Canada.
  11. Cantor, J. M. (2017, March 1). Functional and structural neuroimaging of pedophilia:
         Consistencies across methods and modalities. Invited lecture to the Brain Imaging
         Centre, Royal Ottawa Hospital, Ottawa, Canada.
  12. Cantor, J. M. (2017, January 26). Pedophilia being in the brain: The evidence and the public
         reaction. Inaugural keynote address to the University of Toronto Sexuality Interest
         Network, Toronto, Ontario, Canada.
  13. Cantor, J. M. (2016, October 14). Discussion of CBC’s “I, Pedophile.” Office of the
         Children’s Lawyer Educational Session, Toronto, Ontario, Canada.
  14. Cantor, J. M. (2016, September 15). Evaluating the risk to reoffend: What we know and
         what we don’t. Invited lecture to the Association of Ontario Judges, Ontario Court of
         Justice Annual Family Law Program, Blue Mountains, Ontario, Canada. [Private link
         only: https://vimeo.com/239131108/3387c80652]
  15. Cantor, J. M. (2016, April 8). Pedophilia and the brain: Conclusions from the second
         generation of research. Invited lecture at the 10th annual Risk and Recovery Forensic
         Conference, Hamilton, Ontario.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 761 of 902 PageID #:
                                    2045



  16. Cantor, J. M. (2016, April 7). Hypersexuality without the hyperbole. Keynote address to the
         10th annual Risk and Recovery Forensic Conference, Hamilton, Ontario.
  17. Cantor, J. M. (2015, November). No one asks to be sexually attracted to children: Living in
         Daniel’s World. Grand Rounds, Centre for Addiction and Mental Health. Toronto,
         Canada.
  18. Cantor, J. M. (2015, August). Hypersexuality: Getting past whether “it” is or “it” isn’t.
         Invited address at the 41st annual meeting of the International Academy of Sex Research.
         Toronto, Canada.
  19. Cantor, J. M. (2015, July). A unified theory of typical and atypical sexual interest in men:
         Paraphilia, hypersexuality, asexuality, and vanilla as outcomes of a single, dual
         opponent process. Invited presentation to the 2015 Puzzles of Sexual Orientation
         conference, Lethbridge, AL, Canada.
  20. Cantor, J. M. (2015, June). Hypersexuality. Keynote Address to the Ontario Problem
         Gambling Provincial Forum. Toronto, Canada.
  21. Cantor, J. M. (2015, May). Assessment of pedophilia: Past, present, future. Keynote
         Address to the International Symposium on Neural Mechanisms Underlying Pedophilia
         and Child Sexual Abuse (NeMUP). Berlin, Germany.
  22. Cantor, J. M. (2015, March). Prevention of sexual abuse by tackling the biggest stigma of
         them all: Making sex therapy available to pedophiles. Keynote address to the 40th annual
         meeting of the Society for Sex Therapy and Research, Boston, MA.
  23. Cantor, J. M. (2015, March. Pedophilia: Predisposition or perversion? Panel discussion at
         Columbia University School of Journalism. New York, NY.
  24. Cantor, J. M. (2015, February). Hypersexuality. Research Day Grand Rounds presentation
         to Ontario Shores Centre for Mental Health Sciences, Whitby, Ontario, Canada.
  25. Cantor, J. M. (2015, January). Brain research and pedophilia: What it means for
         assessment, research, and policy. Keynote address to the inaugural meeting of the
         Netherlands Association for the Treatment of Sexual Abusers, Utrecht, Netherlands.
  26. Cantor, J. M. (2014, December). Understanding pedophilia and the brain: Implications for
         safety and society. Keynote address for The Jewish Community Confronts Violence and
         Abuse: Crisis Centre for Religious Women, Jerusalem, Israel.
  27. Cantor, J. M. (2014, October). Understanding pedophilia & the brain. Invited full-day
         workshop for the Sex Offender Assessment Board of Pennsylvania, Harrisburg, PA.
  28. Cantor, J. M. (2014, September). Understanding neuroimaging of pedophilia: Current
         status and implications. Invited lecture presented to the Mental Health and Addition
         Rounds, St. Joseph’s Healthcare, Hamilton, Ontario, Canada.
  29. Cantor, J. M. (2014, June). An evening with Dr. James Cantor. Invited lecture presented to
         the Ontario Medical Association, District 11 Doctors’ Lounge Program, Toronto,
         Ontario, Canada.
  30. Cantor, J. M. (2014, April). Pedophilia and the brain. Invited lecture presented to the
         University of Toronto Medical Students lunchtime lecture. Toronto, Ontario, Canada.
  31. Cantor, J. M. (2014, February). Pedophilia and the brain: Recap and update. Workshop
         presented at the 2014 annual meeting of the Washington State Association for the
         Treatment of Sexual Abusers, Cle Elum, WA.
  32. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
         (2014, February). Functional connectivity in pedophilia. Neuropsychiatry Rounds,
         Toronto Western Hospital, Toronto, Ontario, Canada.


                                                                                            13/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 762 of 902 PageID #:
                                    2046



  33. Cantor, J. M. (2013, November). Understanding pedophilia and the brain: The basics, the
         current status, and their implications. Invited lecture to the Forensic Psychology
         Research Centre, Carleton University, Ottawa, Canada.
  34. Cantor, J. M. (2013, November). Mistaking puberty, mistaking hebephilia. Keynote address
         presented to the 32nd annual meeting of the Association for the Treatment of Sexual
         Abusers, Chicago, IL.
  35. Cantor, J. M. (2013, October). Understanding pedophilia and the brain: A recap and
         update. Invited workshop presented at the 32nd annual meeting of the Association for
         the Treatment of Sexual Abusers, Chicago, IL.
  36. Cantor, J. M. (2013, October). Compulsive-hyper-sex-addiction: I don’t care what we all it,
         what can we do? Invited address presented to the Board of Examiners of Sex Therapists
         and Counselors of Ontario, Toronto, Ontario, Canada.
  37. Cantor, J. M. (2013, September). Neuroimaging of pedophilia: Current status and
         implications. McGill University Health Centre, Department of Psychiatry Grand Rounds
         presentation, Montréal, Québec, Canada.
  38. Cantor, J. M. (2013, April). Understanding pedophilia and the brain. Invited workshop
         presented at the 2013 meeting of the Minnesota Association for the Treatment of Sexual
         Abusers, Minneapolis, MN.
  39. Cantor, J. M. (2013, April). The neurobiology of pedophilia and its implications for
         assessment, treatment, and public policy. Invited lecture at the 38th annual meeting of
         the Society for Sex Therapy and Research, Baltimore, MD.
  40. Cantor, J. M. (2013, April). Sex offenders: Relating research to policy. Invited roundtable
         presentation at the annual meeting of the Academy of Criminal Justice Sciences, Dallas,
         TX.
  41. Cantor, J. M. (2013, March). Pedophilia and brain research: From the basics to the state-
         of-the-art. Invited workshop presented to the annual meeting of the Forensic Mental
         Health Association of California, Monterey, CA.
  42. Cantor, J. M. (2013, January). Pedophilia and child molestation. Invited lecture presented
         to the Canadian Border Services Agency, Toronto, Ontario, Canada.
  43. Cantor, J. M. (2012, November). Understanding pedophilia and sexual offenders against
         children: Neuroimaging and its implications for public safety. Invited guest lecture to
         University of New Mexico School of Medicine Health Sciences Center, Albuquerque,
         NM.
  44. Cantor, J. M. (2012, November). Pedophilia and brain research. Invited guest lecture to the
         annual meeting of the Circles of Support and Accountability, Toronto, Ontario, Canada.
  45. Cantor, J. M. (2012, January). Current findings on pedophilia brain research. Invited
         workshop at the San Diego International Conference on Child and Family Maltreatment,
         San Diego, CA.
  46. Cantor, J. M. (2012, January). Pedophilia and the risk to re-offend. Invited lecture to the
         Ontario Court of Justice Judicial Development Institute, Toronto, Ontario, Canada.
  47. Cantor, J. M. (2011, November). Pedophilia and the brain: What it means for assessment,
         treatment, and policy. Plenary Lecture presented at the Association for the Treatment of
         Sexual Abusers, Toronto, Ontario, Canada.
  48. Cantor, J. M. (2011, July). Towards understanding contradictory findings in the
         neuroimaging of pedophilic men. Keynote address to 7th annual conference on Research
         in Forensic Psychiatry, Regensberg, Germany.


                                                                                           14/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 763 of 902 PageID #:
                                    2047



  49. Cantor, J. M. (2011, March). Understanding sexual offending and the brain: Brain basics to
         the state of the art. Workshop presented at the winter conference of the Oregon
         Association for the Treatment of Sexual Abusers, Oregon City, OR.
  50. Cantor, J. M. (2010, October). Manuscript publishing for students. Workshop presented at
         the 29th annual meeting of the Association for the Treatment of Sexual Abusers,
         Phoenix, AZ.
  51. Cantor, J. M. (2010, August). Is sexual orientation a paraphilia? Invited lecture at the
         International Behavioral Development Symposium, Lethbridge, Alberta, Canada.
  52. Cantor, J. M. (2010, March). Understanding sexual offending and the brain: From the
         basics to the state of the art. Workshop presented at the annual meeting of the
         Washington State Association for the Treatment of Sexual Abusers, Blaine, WA.
  53. Cantor, J. M. (2009, January). Brain structure and function of pedophilia men.
         Neuropsychiatry Rounds, Toronto Western Hospital, Toronto, Ontario.
  54. Cantor, J. M. (2008, April). Is pedophilia caused by brain dysfunction? Invited address to
         the University-wide Science Day Lecture Series, SUNY Oswego, Oswego, NY.
  55. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
         Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
         & Blanchard, R. (2006, September). MRIs of pedophilic men. Invited presentation at the
         25th annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  56. Cantor, J. M., Blanchard, R., & Christensen, B. K. (2003, March). Findings in and
         implications of neuropsychology and epidemiology of pedophilia. Invited lecture at the
         28th annual meeting of the Society for Sex Therapy and Research, Miami.
  57. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, July).
         Neuropsychological functioning in pedophiles. Invited lecture presented at the 27th
         annual meeting of the International Academy of Sex Research, Bromont, Canada.
  58. Cantor, J. M., Blanchard, R., Christensen, B., Klassen, P., & Dickey, R. (2001, February).
         First glance at IQ, memory functioning and handedness in sex offenders. Lecture
         presented at the Forensic Lecture Series, Centre for Addiction and Mental Health,
         Toronto, Ontario, Canada.
  59. Cantor, J. M. (1999, November). Reversal of SSRI-induced male sexual dysfunction:
         Suggestions from an animal model. Grand Rounds presentation at the Allan Memorial
         Institute, Royal Victoria Hospital, Montréal, Canada.




                                                                                            15/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 764 of 902 PageID #:
                                    2048



                       PAPER PRESENTATIONS AND SYMPOSIA

  1.  Cantor, J. M. (2020, April). “I’d rather have a trans kid than a dead kid”: Critical assessment
          of reported rates of suicidality in trans kids. Paper presented at the annual meeting of
          the Society for the Sex Therapy and Research. Online in lieu of in person meeting.
  2. Stephens, S., Lalumière, M., Seto, M. C., & Cantor, J. M. (2017, October). The relationship
          between sexual responsiveness and sexual exclusivity in phallometric profiles. Paper
          presented at the annual meeting of the Canadian Sex Research Forum, Fredericton,
          New Brunswick, Canada.
  3. Stephens, S., Cantor, J. M., & Seto, M. C. (2017, March). Can the SSPI-2 detect hebephilic
          sexual interest? Paper presented at the annual meeting of the American-Psychology
          Law Society Annual Meeting, Seattle, WA.
  4. Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October). Victim choice
          polymorphism and recidivism. Symposium Presentation. Paper presented at the 34th
          annual meeting of the Association for the Treatment of Sexual Abusers, Montréal,
          Canada.
  5. McPhail, I. V., Hermann, C. A., Fernane, S. Fernandez, Y., Cantor, J. M., & Nunes, K. L.
          (2014, October). Sexual deviance in sexual offenders against children: A meta-analytic
          review of phallometric research. Paper presented at the 33rd annual meeting of the
          Association for the Treatment of Sexual Abusers, San Diego, CA.
  6. Stephens, S., Seto, M. C., Cantor, J. M., & Goodwill, A. M. (2014, October). Is hebephilic
          sexual interest a criminogenic need?: A large scale recidivism study. Paper presented
          at the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
          Diego, CA.
  7. Stephens, S., Seto, M. C., Cantor, J. M., & Lalumière, M. (2014, October). Development
          and validation of the Revised Screening Scale for Pedophilic Interests (SSPI–2). Paper
          presented at the 33rd annual meeting of the Association for the Treatment of Sexual
          Abusers, San Diego, CA.
  8. Cantor, J. M., Lafaille, S., Hannah, J., Kucyi, A., Soh, D., Girard, T. A., & Mikulis, D. M.
          (2014, September). Pedophilia and the brain: White matter differences detected with
          DTI. Paper presented at the 13th annual meeting of the International Association for the
          Treatment of Sexual Abusers, Porto, Portugal.
  9. Stephens, S., Seto, M., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2014, March). The
          role of hebephilic sexual interests in sexual victim choice. Paper presented at the annual
          meeting of the American Psychology and Law Society, New Orleans, LA.
  10. McPhail, I. V., Fernane, S. A., Hermann, C. A., Fernandez, Y. M., Nunes, K. L., & Cantor,
          J. M. (2013, November). Sexual deviance and sexual recidivism in sexual offenders
          against children: A meta-analysis. Paper presented at the 32nd annual meeting of the
          Association for the Treatment of Sexual Abusers, Chicago, IL.
  11. Cantor, J. M. (2013, September). Pedophilia and the brain: Current MRI research and its
          implications. Paper presented at the 21st annual World Congress for Sexual Health,
          Porto Alegre, Brazil. [Featured among Best Abstracts, top 10 of 500.]
  12. Cantor, J. M. (Chair). (2012, March). Innovations in sex research. Symposium conducted at
          the 37th annual meeting of the Society for Sex Therapy and Research, Chicago.
  13. Cantor, J. M., & Blanchard, R. (2011, August). fMRI versus phallometry in the diagnosis of
          pedophilia and hebephilia. In J. M. Cantor (Chair), Neuroimaging of men’s object


                                                                                               16/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 765 of 902 PageID #:
                                    2049



          preferences. Symposium presented at the 37th annual meeting of the International
          Academy of Sex Research, Los Angeles, USA.
  14. Cantor, J. M. (Chair). (2011, August). Neuroimaging of men’s object preferences.
          Symposium conducted at the 37th annual meeting of the International Academy of Sex
          Research, Los Angeles.
  15. Cantor, J. M. (2010, October). A meta-analysis of neuroimaging studies of male sexual
          arousal. In S. Stolerú (Chair), Brain processing of sexual stimuli in pedophilia: An
          application of functional neuroimaging. Symposium presented at the 29th annual
          meeting of the Association for the Treatment of Sexual Abusers, Phoenix, AZ.
  16. Chivers, M. L., Seto, M. C., Cantor, J. C., Grimbos, T., & Roy, C. (April, 2010).
          Psychophysiological assessment of sexual activity preferences in women. Paper
          presented at the 35th annual meeting of the Society for Sex Therapy and Research,
          Boston, USA.
  17. Cantor, J. M., Girard, T. A., & Lovett-Barron, M. (2008, November). The brain regions that
          respond to erotica: Sexual neuroscience for dummies. Paper presented at the 51st
          annual meeting of the Society for the Scientific Study of Sexuality, San Juan, Puerto
          Rico.
  18. Barbaree, H., Langton, C., Blanchard, R., & Cantor, J. M. (2007, October). The role of age-
          at-release in the evaluation of recidivism risk of sexual offenders. Paper presented at
          the 26th annual meetingof the Association for the Treatment of Sexual Abusers, San
          Diego.
  19. Cantor, J. M., Kabani, N., Christensen, B. K., Zipursky, R. B., Barbaree, H. E., Dickey, R.,
          Klassen, P. E., Mikulis, D. J., Kuban, M. E., Blak, T., Richards, B. A., Hanratty, M. K.,
          & Blanchard, R. (2006, July). Pedophilia and brain morphology. Abstract and paper
          presented at the 32nd annual meeting of the International Academy of Sex Research,
          Amsterdam, Netherlands.
  20. Seto, M. C., Cantor, J. M., & Blanchard, R. (2006, March). Child pornography offending is
          a diagnostic indicator of pedophilia. Paper presented at the 2006 annual meeting of the
          American Psychology-Law Society Conference, St. Petersburg, Florida.
  21. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove, S. M., & Ellis, L. (2005, August).
          Interaction of fraternal birth order and handedness in the development of male
          homosexuality. Abstract and paper presented at the International Behavioral
          Development Symposium, Minot, North Dakota.
  22. Cantor, J. M., & Blanchard, R. (2005, July). Quantitative reanalysis of aggregate data on
          IQ in sexual offenders. Abstract and poster presented at the 31st annual meeting of the
          International Academy of Sex Research, Ottawa, Canada.
  23. Cantor, J. M. (2003, August). Sex reassignment on demand: The clinician’s dilemma. Paper
          presented at the 111th annual meeting of the American Psychological Association,
          Toronto, Canada.
  24. Cantor, J. M. (2003, June). Meta-analysis of VIQ–PIQ differences in male sex offenders.
          Paper presented at the Harvey Stancer Research Day, Toronto, Ontario, Canada.
  25. Cantor, J. M. (2002, August). Gender role in autogynephilic transsexuals: The more things
          change… Paper presented at the 110th annual meeting of the American Psychological
          Association, Chicago.




                                                                                             17/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 766 of 902 PageID #:
                                    2050



  26. Cantor, J. M., Christensen, B. K., Klassen, P. E., Dickey, R., & Blanchard, R. (2001, June).
          IQ, memory functioning, and handedness in male sex offenders. Paper presented at the
          Harvey Stancer Research Day, Toronto, Ontario, Canada.
  27. Cantor, J. M. (1998, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 106th annual meeting of the American Psychological
          Association.
  28. Cantor, J. M. (1997, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 105th annual meeting of the American Psychological Association.
  29. Cantor, J. M. (1997, August). Convention orientation for lesbian, gay, and bisexual
          students. Paper presented at the 105th annual meeting of the American Psychological
          Association.
  30. Cantor, J. M. (1996, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 104th annual meeting of the American Psychological Association.
  31. Cantor, J. M. (1996, August). Symposium: Question of inclusion: Lesbian and gay
          psychologists and accreditation. Paper presented at the 104th annual meeting of the
          American Psychological Association, Toronto.
  32. Cantor, J. M. (1996, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 104th annual meeting of the American Psychological
          Association.
  33. Cantor, J. M. (1995, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 103rd annual meeting of the American Psychological Association.
  34. Cantor, J. M. (1995, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 103rd annual meeting of the American Psychological
          Association.
  35. Cantor, J. M. (1994, August). Discussion hour for lesbian, gay, and bisexual students.
          Presented at the 102nd annual meeting of the American Psychological Association.
  36. Cantor, J. M. (1994, August). Convention orientation for lesbian, gay, and bisexual
          students. Papers presented at the 102nd annual meeting of the American Psychological
          Association.
  37. Cantor, J. M., & Pilkington, N. W. (1992, August). Homophobia in psychology programs: A
          survey of graduate students. Paper presented at the Centennial Convention of the
          American Psychological Association, Washington, DC. (ERIC Document Reproduction
          Service No. ED 351 618)
  38. Cantor, J. M. (1991, August). Being gay and being a graduate student: Double the
          memberships, four times the problems. Paper presented at the 99th annual meeting of
          the American Psychological Association, San Francisco.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 767 of 902 PageID #:
                                    2051



                                 POSTER PRESENTATIONS

  1.  Klein, L., Stephens, S., Goodwill, A. M., Cantor, J. M., & Seto, M. C. (2015, October). The
          psychological propensities of risk in undetected sexual offenders. Poster presented at
          the 34th annual meeting of the Association for the Treatment of Sexual Abusers,
          Montréal, Canada.
  2. Pullman, L. E., Stephens, S., Seto, M. C., Goodwill, A. M., & Cantor, J. M. (2015, October).
          Why are incest offenders less likely to recidivate? Poster presented at the 34th annual
          meeting of the Association for the Treatment of Sexual Abusers, Montréal, Canada.
  3. Seto, M. C., Stephens, S. M., Cantor, J. M., Lalumiere, M. L., Sandler, J. C., & Freeman, N.
          A. (2015, August). The development and validation of the Revised Screening Scale for
          Pedophilic Interests (SSPI-2). Poster presentation at the 41st annual meeting of the
          International Academy of Sex Research. Toronto, Canada.
  4. Soh, D. W., & Cantor, J. M. (2015, August). A peek inside a furry convention. Poster
          presentation at the 41st annual meeting of the International Academy of Sex Research.
          Toronto, Canada.
  5. VanderLaan, D. P., Lobaugh, N. J., Chakravarty, M. M., Patel, R., Chavez, S. Stojanovski,
          S. O., Takagi, A., Hughes, S. K., Wasserman, L., Bain, J., Cantor, J. M., & Zucker, K.
          J. (2015, August). The neurohormonal hypothesis of gender dysphoria: Preliminary
          evidence of cortical surface area differences in adolescent natal females. Poster
          presentation at the 31st annual meeting of the International Academy of Sex Research.
          Toronto, Canada.
  6. Cantor, J. M., Lafaille, S. J., Moayedi, M., Mikulis, D. M., & Girard, T. A. (2015, June).
          Diffusion tensor imaging (DTI) of the brain in pedohebephilic men: Preliminary
          analyses. Harvey Stancer Research Day, Toronto, Ontario Canada.
  7. Newman, J. E., Stephens, S., Seto, M. C., & Cantor, J. M. (2014, October). The validity of
          the Static-99 in sexual offenders with low intellectual abilities. Poster presentation at
          the 33rd annual meeting of the Association for the Treatment of Sexual Abusers, San
          Diego, CA.
  8. Lykins, A. D., Walton, M. T., & Cantor, J. M. (2014, June). An online assessment of
          personality, psychological, and sexuality trait variables associated with self-reported
          hypersexual behavior. Poster presentation at the 30th annual meeting of the
          International Academy of Sex Research, Dubrovnik, Croatia.
  9. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, November).
          The utility of phallometry in the assessment of hebephilia. Poster presented at the 32nd
          annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  10. Stephens, S., Seto, M. C., Cantor, J. M., Goodwill, A. M., & Kuban, M. (2013, October).
          The role of hebephilic sexual interests in sexual victim choice. Poster presented at the
          32nd annual meeting of the Association for the Treatment of Sexual Abusers, Chicago.
  11. Fazio, R. L., & Cantor, J. M. (2013, October). Analysis of the Fazio Laterality Inventory
          (FLI) in a population with established atypical handedness. Poster presented at the 33rd
          annual meeting of the National Academy of Neuropsychology, San Diego.
  12. Lafaille, S., Hannah, J., Soh, D., Kucyi, A., Girard, T. A., Mikulis, D. M., & Cantor, J. M.
          (2013, August). Investigating resting state networks in pedohebephiles. Poster
          presented at the 29th annual meeting of the International Academy of Sex Research,
          Chicago.


                                                                                             19/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 768 of 902 PageID #:
                                    2052



  13. McPhail, I. V., Lykins, A. D., Robinson, J. J., LeBlanc, S., & Cantor, J. M. (2013, August).
           Effects of prescription medication on volumetric phallometry output. Poster presented
           at the 29th annual meeting of the International Academy of Sex Research, Chicago.
  14. Murray, M. E., Dyshniku, F., Fazio, R. L., & Cantor, J. M. (2013, August). Minor physical
           anomalies as a window into the prenatal origins of pedophilia. Poster presented at the
           29th annual meeting of the International Academy of Sex Research, Chicago.
  15. Sutton, K. S., Stephens, S., Dyshniku, F., Tulloch, T., & Cantor, J. M. (2013, August). Pilot
           group treatment for “procrasturbation.” Poster presented at 39th annual meeting of the
           International Academy of Sex Research, Chicago.
  16. Sutton, K. S., Pytyck, J., Stratton, N., Sylva, D., Kolla, N., & Cantor, J. M. (2013, August).
           Client characteristics by type of hypersexuality referral: A quantitative chart review.
           Poster presented at the 39th annual meeting of the International Academy of Sex
           Research, Chicago.
  17. Fazio, R. L., & Cantor, J. M. (2013, June). A replication and extension of the psychometric
           properties of the Digit Vigilance Test. Poster presented at the 11th annual meeting of the
           American Academy of Clinical Neuropsychology, Chicago.
  18. Lafaille, S., Moayedi, M., Mikulis, D. M., Girard, T. A., Kuban, M., Blak, T., & Cantor, J.
           M. (2012, July). Diffusion Tensor Imaging (DTI) of the brain in pedohebephilic men:
           Preliminary analyses. Poster presented at the 38th annual meeting of the International
           Academy of Sex Research, Lisbon, Portugal.
  19. Lykins, A. D., Cantor, J. M., Kuban, M. E., Blak, T., Dickey, R., Klassen, P. E., &
           Blanchard, R. (2010, July). Sexual arousal to female children in gynephilic men. Poster
           presented at the 38th annual meeting of the International Academy of Sex Research,
           Prague, Czech Republic.
  20. Cantor, J. M., Girard, T. A., Lovett-Barron, M., & Blak, T. (2008, July). Brain regions
           responding to visual sexual stimuli: Meta-analysis of PET and fMRI studies. Abstract
           and poster presented at the 34th annual meeting of the International Academy of Sex
           Research, Leuven, Belgium.
  21. Lykins, A. D., Blanchard, R., Cantor, J. M., Blak, T., & Kuban, M. E. (2008, July).
           Diagnosing sexual attraction to children: Considerations for DSM-V. Poster presented
           at the 34th annual meeting of the International Academy of Sex Research, Leuven,
           Belgium.
  22. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
           October). Physical height in pedophilia and hebephilia. Poster presented at the 26th
           annual meeting of the Association for the Treatment of Sexual Abusers, San Diego.
  23. Cantor, J. M., Blak, T., Kuban, M. E., Klassen, P. E., Dickey, R. and Blanchard, R. (2007,
           August). Physical height in pedophilia and hebephilia. Abstract and poster presented at
           the 33rd annual meeting of the International Academy of Sex Research, Vancouver,
           Canada.
  24. Puts, D. A., Blanchard, R., Cardenas, R., Cantor, J., Jordan, C. L., & Breedlove, S. M.
           (2007, August). Earlier puberty predicts superior performance on male-biased
           visuospatial tasks in men but not women. Abstract and poster presented at the 33rd
           annual meeting of the International Academy of Sex Research, Vancouver, Canada.
  25. Seto, M. C., Cantor, J. M., & Blanchard, R. (2005, November). Possession of child
           pornography is a diagnostic indicator of pedophilia. Poster presented at the 24th annual
           meeting of the Association for the Treatment of Sexual Abusers, New Orleans.



                                                                                               20/32
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 769 of 902 PageID #:
                                    2053



  26. Blanchard, R., Cantor, J. M., Bogaert, A. F., Breedlove. S. M., & Ellis, L. (2005, July).
          Interaction of fraternal birth order and handedness in the development of male
          homosexuality. Abstract and poster presented at the 31st annual meeting of the
          International Academy of Sex Research, Ottawa, Canada.
  27. Cantor, J. M., & Blanchard, R. (2003, July). The reported VIQ–PIQ differences in male sex
          offenders are artifactual? Abstract and poster presented at the 29th annual meeting of
          the International Academy of Sex Research, Bloomington, Indiana.
  28. Christensen, B. K., Cantor, J. M., Millikin, C., & Blanchard, R. (2002, February). Factor
          analysis of two brief memory tests: Preliminary evidence for modality-specific
          measurement. Poster presented at the 30th annual meeting of the International
          Neuropsychological Society, Toronto, Ontario, Canada.
  29. Cantor, J. M., Blanchard, R., Paterson, A., Bogaert, A. (2000, June). How many gay men
          owe their sexual orientation to fraternal birth order? Abstract and poster presented at
          the International Behavioral Development Symposium, Minot, North Dakota.
  30. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, November). Fluoxetine inhibition of male rat
          sexual behavior: Reversal by oxytocin. Poster presented at the 26th annual meeting of
          the Society for Neurosciences, Washington, DC.
  31. Cantor, J. M., Binik, Y., & Pfaus, J. G. (1996, June). An animal model of fluoxetine-induced
          sexual dysfunction: Dose dependence and time course. Poster presented at the 28th
          annual Conference on Reproductive Behavior, Montréal, Canada.
  32. Cantor, J. M., O’Connor, M. G., Kaplan, B., & Cermak, L. S. (1993, June). Transient events
          test of retrograde memory: Performance of amnestic and unimpaired populations.
          Poster presented at the 2nd annual science symposium of the Massachusetts
          Neuropsychological Society, Cambridge, MA.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 770 of 902 PageID #:
                                    2054



                   EDITORIAL AND PEER-REVIEWING ACTIVITIES

  Editor-in-Chief
  Sexual Abuse: A Journal of Research and Treatment                  Jan., 2010–Dec., 2014


  Editorial Board Memberships
  Journal of Sexual Aggression                                       Jan., 2010–Dec., 2021
  Journal of Sex Research, The                                       Jan., 2008–Aug., 2020
  Sexual Abuse: A Journal of Research and Treatment                  Jan., 2006–Dec., 2019
  Archives of Sexual Behavior                                        Jan., 2004–Present
  The Clinical Psychologist                                          Jan., 2004–Dec., 2005


  Ad hoc Journal Reviewer Activity
  American Journal of Psychiatry                Journal of Consulting and Clinical Psychology
  Annual Review of Sex Research                 Journal of Forensic Psychology Practice
  Archives of General Psychiatry                Journal for the Scientific Study of Religion
  Assessment                                    Journal of Sexual Aggression
  Biological Psychiatry                         Journal of Sexual Medicine
  BMC Psychiatry                                Journal of Psychiatric Research
  Brain Structure and Function                  Nature Neuroscience
  British Journal of Psychiatry                 Neurobiology Reviews
  British Medical Journal                       Neuroscience & Biobehavioral Reviews
  Canadian Journal of Behavioural Science       Neuroscience Letters
  Canadian Journal of Psychiatry                Proceedings of the Royal Society B
  Cerebral Cortex                                  (Biological Sciences)
  Clinical Case Studies                         Psychological Assessment
  Comprehensive Psychiatry                      Psychological Medicine
  Developmental Psychology                      Psychological Science
  European Psychologist                         Psychology of Men & Masculinity
  Frontiers in Human Neuroscience               Sex Roles
  Human Brain Mapping                           Sexual and Marital Therapy
  International Journal of Epidemiology         Sexual and Relationship Therapy
  International Journal of Impotence Research   Sexuality & Culture
  International Journal of Sexual Health        Sexuality Research and Social Policy
  International Journal of Transgenderism       The Clinical Psychologist
  Journal of Abnormal Psychology                Traumatology
  Journal of Clinical Psychology                World Journal of Biological Psychiatry




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 771 of 902 PageID #:
                                    2055



                               GRANT REVIEW PANELS

  2017–2021   Member, College of Reviewers, Canadian Institutes of Health Research, Canada.

  2017        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2017        Member, International Review Board, Research collaborations on behavioural
              disorders related to violence, neglect, maltreatment and abuse in childhood and
              adolescence. Bundesministerium für Bildung und Forschung [Ministry of
              Education and Research], Germany.

  2016        Reviewer. National Science Center [Narodowe Centrum Nauki], Poland.

  2016        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2015        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
              Council, Australia.

  2015        Reviewer. Czech Science Foundation, Czech Republic.

  2015        Reviewer, “Off the beaten track” grant scheme. Volkswagen Foundation,
              Germany.

  2015        External Reviewer, Discovery Grants program¾Biological Systems and
              Functions. National Sciences and Engineering Research Council of Canada,
              Canada

  2015        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2014        Assessor (Peer Reviewer). Discovery Grants Program. Australian Research
              Council, Australia.

  2014        External Reviewer, Discovery Grants program¾Biological Systems and
              Functions. National Sciences and Engineering Research Council of Canada,
              Canada.

  2014        Panel Member, Dean’s Fund—Clinical Science Panel. University of Toronto
              Faculty of Medicine, Canada.

  2014        Committee Member, Peer Review Committee—Doctoral Research Awards A.
              Canadian Institutes of Health Research, Canada.

  2013        Panel Member, Grant Miller Cancer Research Grant Panel. University of Toronto
              Faculty of Medicine, Canada.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 772 of 902 PageID #:
                                    2056



  2013        Panel Member, Dean of Medicine Fund New Faculty Grant Clinical Science
              Panel. University of Toronto Faculty of Medicine, Canada.

  2012        Board Member, International Review Board, Research collaborations on
              behavioural disorders related to violence, neglect, maltreatment and abuse in
              childhood and adolescence (2nd round). Bundesministerium für Bildung und
              Forschung [Ministry of Education and Research], Germany.

  2012        External Reviewer, University of Ottawa Medical Research Fund. University of
              Ottawa Department of Psychiatry, Canada.

  2012        External Reviewer, Behavioural Sciences—B. Canadian Institutes of Health
              Research, Canada.

  2011        Board Member, International Review Board, Research collaborations on
              behavioural disorders related to violence, neglect, maltreatment and abuse in
              childhood and adolescence. Bundesministerium für Bildung und Forschung
              [Ministry of Education and Research], Germany.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 773 of 902 PageID #:
                                    2057



                                 TEACHING AND TRAINING
  PostDoctoral Research Supervision
  Law & Mental Health Program, Centre for Addiction and Mental Health, Toronto, Canada
  Dr. Katherine S. Sutton                                                  Sept., 2012–Dec., 2013
  Dr. Rachel Fazio                                                         Sept., 2012–Aug., 2013
  Dr. Amy Lykins                                                           Sept., 2008–Nov., 2009


  Doctoral Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Michael Walton • University of New England, Australia                    Sept., 2017–Aug., 2018
  Debra Soh • York University                                               May, 2013–Aug, 2017
  Skye Stephens • Ryerson University                                       April, 2012–June, 2016


  Masters Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Nicole Cormier • Ryerson University                                         June, 2012–present
  Debra Soh • Ryerson University                                           May, 2009–April, 2010


  Undergraduate Research Supervision
  Centre for Addiction and Mental Health, Toronto, Canada
  Kylie Reale • Ryerson University                                                   Spring, 2014
  Jarrett Hannah • University of Rochester                                          Summer, 2013
  Michael Humeniuk • University of Toronto                                          Summer, 2012


  Clinical Supervision (Doctoral Internship)
  Clinical Internship Program, Centre for Addiction and Mental Health, Toronto, Canada
  Katherine S. Sutton • Queen’s University                                               2011–2012
  David Sylva • Northwestern University                                                  2011–2012
  Jordan Rullo • University of Utah                                                      2010–2011
  Lea Thaler • University of Nevada, Las Vegas                                           2010–2011
  Carolin Klein • University of British Columbia                                         2009–2010
  Bobby R. Walling • University of Manitoba                                              2009–2010




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 774 of 902 PageID #:
                                    2058



                                  TEACHING AND TRAINING
  Clinical Supervision (Doctoral- and Masters- level practica)
  Centre for Addiction and Mental Health, Toronto, Canada
  Tyler Tulloch • Ryerson University                                                   2013–2014
  Natalie Stratton • Ryerson University                                              Summer, 2013
  Fiona Dyshniku • University of Windsor                                             Summer, 2013
  Mackenzie Becker • McMaster University                                             Summer, 2013
  Skye Stephens • Ryerson University                                                   2012–2013
  Vivian Nyantakyi • Capella University                                                2010–2011
  Cailey Hartwick • University of Guelph                                                Fall, 2010
  Tricia Teeft • Humber College                                                      Summer, 2010
  Allison Reeves • Ontario Institute for Studies in Education/Univ. of Toronto         2009–2010
  Helen Bailey • Ryerson University                                                  Summer, 2009
  Edna Aryee • Ontario Institute for Studies in Education/Univ. of Toronto             2008–2009
  Iryna Ivanova • Ontario Institute for Studies in Education/Univ. of Toronto          2008–2009
  Jennifer Robinson • Ontario Institute for Studies in Education/Univ. of Toronto      2008–2009
  Zoë Laksman • Adler School of Professional Psychology                                2005–2006
  Diana Mandelew • Adler School of Professional Psychology                             2005–2006
  Susan Wnuk • York University                                                         2004–2005
  Hiten Lad • Adler School of Professional Psychology                                  2004–2005
  Natasha Williams • Adler School of Professional Psychology                           2003–2004
  Lisa Couperthwaite • Ontario Institute for Studies in Education/Univ. of Toronto     2003–2004
  Lori Gray, née Robichaud • University of Windsor                                   Summer, 2003
  Sandra Belfry • Ontario Institute for Studies in Education/Univ. of Toronto          2002–2003
  Althea Monteiro • York University                                                  Summer, 2002
  Samantha Dworsky • York University                                                   2001–2002
  Kerry Collins • University of Windsor                                              Summer, 2001
  Jennifer Fogarty • Waterloo University                                               2000–2001
  Emily Cripps • Waterloo University                                                 Summer, 2000
  Lee Beckstead • University of Utah                                                          2000




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 775 of 902 PageID #:
                                    2059



                       PROFESSIONAL SOCIETY ACTIVITIES

  OFFICES HELD
  2018–2019    Local Host. Society for Sex Therapy and Research.
     2015      Member, International Scientific Committee, World Association for Sexual
                Health.
     2015      Member, Program Planning and Conference Committee, Association for the
                Treatment of Sexual Abusers
  2012–2013    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
  2012–2013    Member, Program Planning and Conference Committee, Association for the
                Treatment of Sexual Abusers
  2011–2012    Chair, Student Research Awards Committee, Society for Sex Therapy & Research
  2010–2011    Scientific Program Committee, International Academy of Sex Research
  2002–2004    Membership Committee • APA Division 12 (Clinical Psychology)
  2002–2003    Chair, Committee on Science Issues, APA Division 44
     2002      Observer, Grant Review Committee • Canadian Institutes of Health Research
                Behavioural Sciences (B)
  2001–2009    Reviewer • APA Division 44 Convention Program Committee
  2001, 2002   Reviewer • APA Malyon-Smith Scholarship Committee
  2000–2005    Task Force on Transgender Issues, APA Division 44
  1998–1999    Consultant, APA Board of Directors Working Group on Psychology Marketplace
     1997      Student Representative • APA Board of Professional Affairs’ Institute on
                TeleHealth
  1997–1998    Founder and Chair • APA/APAGS Task Force on New Psychologists’ Concerns
  1997–1999    Student Representative • APA/CAPP Sub-Committee for a National Strategy for
                Prescription Privileges
  1997–1999    Liaison • APA Committee for the Advancement of Professional Practice
  1997–1998    Liaison • APA Board of Professional Affairs
  1993–1997    Founder and Chair • APA/APAGS Committee on LGB Concerns




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 776 of 902 PageID #:
                                    2060



                         PROFESSIONAL SOCIETY ACTIVITIES

  MEMBERSHIPS
  2017–2021     Member • Canadian Sex Research Forum
  2009–Present Member • Society for Sex Therapy and Research
  2006–Present Member (elected) • International Academy of Sex Research
  2006–Present Research and Clinical Member • Association for the Treatment of Sex Abusers
  2003–2006     Associate Member (elected) • International Academy of Sex Research
  2002          Founding Member • CPA Section on Sexual Orientation and Gender Identity
  2001–2013     Member • Canadian Psychological Association (CPA)
  2000–2015     Member • American Association for the Advancement of Science
  2000–2015     Member • American Psychological Association (APA)
                       APA Division 12 (Clinical Psychology)
                       APA Division 44 (Society for the Psychological Study of LGB Issues)
  2000–2020     Member • Society for the Scientific Study of Sexuality
  1995–2000     Student Member • Society for the Scientific Study of Sexuality
  1993–2000     Student Affiliate • American Psychological Association
  1990–1999     Member, American Psychological Association of Graduate Students (APAGS)




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 777 of 902 PageID #:
                                    2061



                          CLINICAL LICENSURE/REGISTRATION

  Certificate of Registration, Number 3793
  College of Psychologists of Ontario, Ontario, Canada



                                   AWARDS AND HONORS

  2017 Elected Fellow, Association for the Treatment of Sexual Abusers

  2011 Howard E. Barbaree Award for Excellence in Research
  Centre for Addiction and Mental Health, Law and Mental Health Program

  2004 fMRI Visiting Fellowship Program at Massachusetts General Hospital
  American Psychological Association Advanced Training Institute and NIH

  1999–2001 CAMH Post-Doctoral Research Fellowship
  Centre for Addiction and Mental Health Foundation and Ontario Ministry of Health

  1998 Award for Distinguished Contribution by a Student
  American Psychological Association, Division 44

  1995 Dissertation Research Grant
  Society for the Scientific Study of Sexuality

  1994–1996 McGill University Doctoral Scholarship

  1994 Award for Outstanding Contribution to Undergraduate Teaching
  “TA of the Year Award,” from the McGill Psychology Undergraduate Student Association




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 778 of 902 PageID #:
                                    2062



                                         MAJOR MEDIA
                               (Complete list available upon request.)

  Feature-length Documentaries
  Vice Canada Reports. Age of Consent. 14 Jan 2017.
  Canadian Broadcasting Company. I, Pedophile. Firsthand documentaries. 10 Mar 2016.

  Appearances and Interviews
  11 Mar 2020. Ibbitson, John. It is crucial that Parliament gets the conversion-therapy ban right.
         The Globe & Mail.
  25 Jan 2020. Ook de hulpvaardige buurman kan verzamelaar van kinderporno zin. De Morgen.
  3 Nov 2019. Village of the damned. 60 Minutes Australia.
  1 Nov 2019. HÅKON F. HØYDAL. Norsk nettovergriper: – Jeg hater meg selv: Nordmannen
         laster ned overgrepsmateriale fra nettet – og oppfordrer politiet til å gi amnesti for slike
         som ham.
  10 Oct 2019. Smith, T. Growing efforts are looking at how—or if—#MeToo offenders can be
         reformed. National Public Radio.
  29 Sep 2019. Carey, B. Preying on Children: The Emerging Psychology of Pedophiles. New
         York Times.
  29 Apr 2019. Mathieu, Isabelle. La poupée qui a troublé les Terre-Neuviens. La Tribune.
  21 Mar 2019. Pope Francis wants psychological testing to prevent problem priests. But can it
         really do that? The Washington Post.
  12 Dec 2018. Child sex dolls: Illegal in Canada, and dozens seized at the border. Ontario Today
         with Rita Celli. CBC.
  12 Dec 2018. Celli, R. & Harris, K. Dozens of child sex dolls seized by Canadian border agents.
         CBC News.
  27 Apr 2018. Rogers, Brook A. The online ‘incel’ culture is real–and dangerous. New York Post.
  25 Apr 2018. Yang, J. Number cited in cryptic Facebook post matches Alek Minassian’s military
         ID: Source. Toronto Star.
  24 Ap 2018 Understanding ‘incel’. CTV News.
  27 Nov 2017. Carey, B. Therapy for Sexual Misconduct? It’s Mostly Unproven. New York
         Times.
  14 Nov 2017. Tremonti, A. M. The Current. CBC.
  9 Nov2017. Christensen, J. Why men use masturbation to harass women. CNN.
         http://www.cnn.com/2017/11/09/health/masturbation-sexual-harassment/index.html
  7 Nov 2017. Nazaryan, A. Why is the alt-right obsessed with pedophilia? Newsweek.
  15 Oct 2017. Ouatik, B. Déscouvre. Pédophilie et science. CBC Radio Canada.
  12 Oct 2017. Ouatik, B. Peut-on guérir la pédophilie? CBC Radio Canada.
  11 Sep 2017. Burns, C. The young paedophiles who say they don’t abuse children. BBC News.
  18 Aug 2017. Interview. National Post Radio. Sirius XM Canada.
  16 Aug 2017. Blackwell, Tom. Man says he was cured of pedophilia at Ottawa clinic: ‘It’s like a
         weight that’s been lifted’: But skeptics worry about the impact of sending pedophiles into
         the world convinced their curse has been vanquished. National Post.
  26 Apr 2017. Zalkind, S. Prep schools hid sex abuse just like the catholic church. VICE.
  24 Apr 2017. Sastre, P. Pédophilie: une panique morale jamais n'abolira un crime. Slate France.
  12 Feb 2017. Payette, G. Child sex doll trial opens Pandora’s box of questions. CBC News.
  26 Nov 2016. Det morke uvettet [“The unknown darkness]”. Fedrelandsvennen.
  13 July 2016. Paedophilia: Shedding light on the dark field. The Economist.


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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 779 of 902 PageID #:
                                    2063



  1 Jul 2016. Debusschere, B. Niet iedereen die kinderporno kijkt, is een pedofiel: De mythes rond
          pedofilie ontkracht. De Morgen.
  12 Apr 2016. O’Connor, R. Terence Martin: The Tasmanian MP whose medication 'turned him
          into a paedophile'. The Independent.
  8 Mar 2016. Bielski, Z. ‘The most viscerally hated group on earth’: Documentary explores how
          intervention can stop pedophiles. The Globe and Mail.
  1 Mar 2016. Elmhirst, S. What should we do about paedophiles? The Guardian.
  24 Feb 2016. The man whose brain tumour ‘turned him into a paedophile’. The Independent.
  24 Nov 2015. Byron, T. The truth about child sex abuse. BBC Two.
  20 Aug 2015. The Jared Fogle case: Why we understand so little about abuse. Washington Post.
  19 Aug 2015. Blackwell, T. Treat sex offenders for impotence—to keep them out of trouble,
          Canadian psychiatrist says. National Post.
  2 Aug 2015. Menendez, J. BBC News Hour. BBC World Service.
  13 Jul 2015. The nature of pedophilia. BBC Radio 4.
  9 Jul 2015. The sex-offender test: How a computerized assessment can help determine the fate of
          men who’ve been accused of sexually abusing children. The Atlantic.
  10 Apr 2015. NWT failed to prevent sex offender from abusing stepdaughter again. CBC News.
  10 Feb 2015. Savage, D. “The ethical sadist.” In Savage Love. The Stranger.
  31 Jan 2015. Begrip voor/van pedofilie [Understanding pedophilia]. de Volkskrant.
  9 Dec 2014. Carey, B. When a rapist’s weapon is a pill. New York Times.
  1 Dec 2014. Singal, J. Can virtual reality help pedophiles? New York Magazine.
  17 Nov2014. Say pedófile, busco aydua. El Pais.
  4 Sep 2014. Born that way? Ideas, with Paul Kennedy. CBC Radio One.
  27 Aug 2014. Interrogating the statistics for the prevalence of paedophilia. BBC.
  25 Jul 2014. Stephenson, W. The prevalence of paedophilia. BBC World Service.
  21 Jul 2014. Hildebrandt, A. Virtuous Pedophiles group gives support therapy cannot. CBC.
  26 Jan 2014. Paedophilia a result of faulty wiring, scientists suggest. Daily Mail.
  22 Dec 2013. Kane, L. Is pedophilia a sexual orientation? Toronto Star.
  21 Jul 2013. Miller, L. The turn-on switch: Fetish theory, post-Freud. New York Magazine.
  1 Jul 2013. Morin, H. Pédophilie: la difficile quête d'une origine biologique. Le Monde.
  2 Jun 2013. Malcolm, L. The psychology of paedophilia. Australian National Radio.
  1 Mar 2013. Kay, J. The mobbing of Tom Flanagan is unwarranted and cruel. National Post.
  6 Feb 2013. Boy Scouts board delays vote on lifting ban on gays. L.A. Times.
  31 Aug 2012. CNN Newsroom interview with Ashleigh Banfield. CNN.
  24 Jun 2012. CNN Newsroom interview with Don Lemon. CNN.




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 780 of 902 PageID #:
                                    2064



                         LEGAL TESTIMONY, PAST 5 YEARS

  2021   Cross et al. v Loudoun School Board               Loudoun, VA
  2021   Allan M. Josephson v Neeli Bendapudi              Western District of Kentucky
  2021   Re Commitment of Michael Hughes (Frye Hearing)    Cook County, Illinois
  2019   US vs Peter Bright                                Southern District of New York,
  NY
  2019   Probate and Family Court (Custody Hearing)        Boston, Massachusetts
  2019   Re Commitment of Steven Casper (Frye Hearing)     Kendall County, Illinois
  2019   Re Commitment of Inger (Frye Hearing)             Poughkeepsie, NY
  2018   Re Commitment of Fernando Little (Frye Hearing)   Utica, NY
  2018   Canada vs John Fitzpatrick (Sentencing Hearing)   Toronto, Ontario, Canada




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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 781 of 902 PageID #:
                                    2065




                   EXPERT REPORT OF JAMES M. CANTOR, PHD



                                APPENDIX 2
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 782 of 902 PageID #:
                                    2066
       JOURNAL OF SEX & MARITAL THERAPY
       https://doi.org/10.1080/0092623X.2019.1698481




       Transgender and Gender Diverse Children and Adolescents:
       Fact-Checking of AAP Policy
       James M. Cantor
       Toronto Sexuality Centre, Toronto, Canada


           ABSTRACT
           The American Academy of Pediatrics (AAP) recently published a policy
           statement: Ensuring comprehensive care and support for transgender and
           gender-diverse children and adolescents. Although almost all clinics and pro-
           fessional associations in the world use what’s called the watchful waiting
           approach to helping gender diverse (GD) children, the AAP statement
           instead rejected that consensus, endorsing gender affirmation as the only
           acceptable approach. Remarkably, not only did the AAP statement fail to
           include any of the actual outcomes literature on such cases, but it also
           misrepresented the contents of its citations, which repeatedly said the very
           opposite of what AAP attributed to them.



       The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
       Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
       cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
       Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
       Wellness, 2018). These are children who manifest discontent with the sex they were born as and
       desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
       able document: Although almost all clinics and professional associations in the world use what’s
       called the watchful waiting approach to helping transgender and gender diverse (GD) children,
       the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
       consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
       before transition. With AAP taking such a dramatic departure from other professional associa-
       tions, I was immediately curious about what evidence led them to that conclusion. As I read the
       works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
       These documents simply did not say what AAP claimed they did. In fact, the references that
       AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
       ing watchful waiting.
           The AAP statement was also remarkable in what it left out—namely, the actual outcomes
       research on GD children. In total, there have been 11 follow-up studies of GD children, of which
       AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
       come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
       jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
       all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
       children, without exception, found the same thing: Over puberty, the majority of GD children
       cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


       CONTACT James Cantor            jamescantorphd@gmail.com   Toronto Sexuality Centre, 2 Carlton Street, suite 1820, Toronto,
       Ontario M5B 1J3, Canada.
       ß 2019 Taylor & Francis Group, LLC
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 783 of 902 PageID #:
        2   J. M. CANTOR            2067

       whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
       false, as detailed below.
           AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
       and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
       acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
       sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
         “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
         identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
         approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
         the mainstream of traditional medical practice.29,39–42

       The citations were:
         38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
             1994;62(2):221–227.
         29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
             Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
             and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
             2012;51(9):957–974.
         39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
         40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
             changing insights. J Sex Med. 2008;5(8):1892–1897.
         41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
             Sex Res Soc Policy. 2006;3(3):23–39.
         42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
             Minneapolis, MN: World Professional Association for Transgender Health; 2010.

           AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
       identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
       the sexual orientation of adults, not to gender identity and not of children in any case. The article
       AAP cited to support their claim (reference number 38) is indeed a classic and well-known
       review, but it is a review of sexual orientation research only. Neither gender identity, nor even
       children, received a single mention in it. Indeed, the narrower scope of that article should be
       clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
       sion therapy” [italics added].
           AAP continued, saying that conversion approaches for GD children have already been rejected
       by medical consensus, citing five sources. This claim struck me as just as odd, however—I
       recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
       tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
       hood gender identity. So, I started checking AAP’s citations for that, and these sources too
       pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
       did repeatedly emphasize was that:

         A.   Sexual orientation of adults is unaffected by conversion therapy and any other [known]
              intervention;
         B.   Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
              (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
         C.   Gender dysphoria in childhood persisting after puberty tends to persist entirely.

          That is, in the context of GD children, it simply makes no sense to refer to externally induced
       “conversion”: The majority of children “convert” to cisgender or “desist” from transgender
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 784 of 902 PageID #:
                                    2068       JOURNAL OF SEX & MARITAL THERAPY 3


       regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
       sexual orientation because (unlike childhood gender identity), adult homosexuality never or
       nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
       orientation may often be analogous and discussed together with regard to social or political val-
       ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
       to medical and mental health care choices. Although AAP emphasized to the reader that “gender
       identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
       to treat them as such nonetheless.
           To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
       from the Committee on Quality Issues of the American Academy of Child and Adolescent
       Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
       unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
       tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
       can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
       lished evidence that change in a predominant, enduring homosexual pattern of development is
       possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
       who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
       ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
       tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
       sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
       ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
       italics added).
           Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
       ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
       “Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
       treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
       tudinal evidence that gender discordance persists in only a small minority of untreated cases
       arising in childhood, further research is needed on predictors of persistence and desistence of
       childhood gender discordance as well as the long-term risks and benefits of intervention before
       any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
       Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
       eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
       to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
       bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
       actual view.
           Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
       “Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
       tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
       exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
       same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
       statement misrepresents.
           In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
       ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
       sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
       to 16, which they did on the basis of a series of studies showing the high rates of success with
       this age group. Although it did strike me as odd that AAP picked as support against conversion
       therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
       as an example of what the “mainstream of traditional medical practice” consists of (the logic
       being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
       what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 785 of 902 PageID #:
        4   J. M. CANTOR            2069

       espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
       and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
       “[P]ubertal suppression may give adolescents, together with the attending health professional,
       more time to explore their gender identity, without the distress of the developing secondary sex
       characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
       2008, p. 1894).
          Reference 41 presented a very interesting history spanning the 1960s–1990s about how
       feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
       how that status came to be entered into the DSM at the same time as homosexuality was
       being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
       that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
       analysis: “An important omission from the DSM is a discussion of the kinds of treatment
       that GIDC children should receive. (This omission is a general orientation of the DSM and
       not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
       tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
       to support a claim about the current consensus in this quickly evolving discussion remains all
       the more unfathomable.
          Cited last in this section was a one-paragraph press release from the World Professional
       Association for Transgender Health. Written during the early stages of the American Psychiatric
       Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
       Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
       Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
       removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
       that it should. Now that the DSM revision process is years completed however, history has seen
       that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
       AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
       rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
       mainstream of traditional medical practice.” (!)
          AAP based this entire line of reasoning on their belief that conversion therapy is being used
       “to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
       That claim is left without citation or support. In contrast, what is said by AAP’s sources is
       “delaying affirmation should not be construed as conversion therapy or an attempt to change
       gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
       that: simply relabeling any alternative approach as equivalent to conversion therapy.
          Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
       on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
       about the existing science on gender identity at all, never mind gender identity of children.
          AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
       repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
       evidence, with even its own sources repeatedly calling watchful waiting the current standard.
       According to AAP:
         [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
         held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
         an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
         serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
         in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
         gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
         with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
         by adolescence, did not seek further treatment (“desisters”).45,47

       The citations from AAP’s reference list are:
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 786 of 902 PageID #:
                                    2070       JOURNAL OF SEX & MARITAL THERAPY 5


          45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
              transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
              2018;19(2):251–268
          47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
              Psychiatry. 2016;55(3):155–156.e3

           I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
       “arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
       of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
       in “prepubertal boys with gender discordance—including many without any mental health treat-
       ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
       only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
       963, italics added), whereas “when gender variance with the desire to be the other sex is present
       in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
       964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
       ages decrease or even disappear in a considerable percentage of children (estimates range from
       80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
       However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
       et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
       postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
       of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
       trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
       ical backing as puberty has.
           Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
       AAP cited no support for its claim. The people in such programs often receive substantial sup-
       port during this period. Also unclear is on what basis AAP could already know exactly which
       treatments are “critical” and which are not—Answering that question is the very purpose of this
       entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
       already pre-convinced that gender affirmation is the only acceptable alternative that would make
       watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
       method one has already decided to be critical.
           Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
       notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
       that existing outcome studies have been about people transitioning from one sex to the other,
       rather than from one sex to an in-between status or a combination of masculine/feminine fea-
       tures. Neither reference presented this as a reason to reject the results from the existing studies of
       complete transition however (which is how AAP cast it). Although it is indeed true that the out-
       come data have been about complete transition, some future study showing that partial transition
       shows a different outcome would not invalidate what is known about complete transition.
       Indeed, data showing that partial transition gives better outcomes than complete transition would,
       once again, support the watchful waiting approach which AAP rejected.
           Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
       indicated what those alleged concerns and flaws were (or which studies they were), then it would
       be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
       of the later studies showed the same result as did the early studies, any such allegation is neces-
       sarily moot.
           Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
       tions criticisms previously made of three of the eleven outcome studies of GD children, but does
       not provide any analysis or discussion. The only specific claim was that studies (whether early or
       late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
       follow-up period, then people who seemed to have desisted might have returned to the clinic as
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 787 of 902 PageID #:
        6   J. M. CANTOR            2071

       cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
       AAP instead simply withheld from the reader the result from the original researchers having
       tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
       lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
       the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
       66.7% desistence instead of 70.0% desistance.
           Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
       that source said the very opposite, explicitly referring to watchful waiting as the current
       approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
       tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
       cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
       et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
       use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
       can give the child and their family time to develop a clearer understanding and is not necessar-
       ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
       watchful waiting model (which they feel is applied too conservatively), but they do not come
       close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
       fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
       ally binary narrative.
           In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
       of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
       checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
       that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
       was about sexual orientation, not gender identity. AAP claimed, “Current available research and
       expert opinion from clinical and research leaders … will serve as the basis for recommendations”
       (pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
       opposition to that research and opinion.
           AAP is advocating for something far in excess of mainstream practice and medical consensus.
       In the presence of compelling evidence, that is just what is called for. The problems with
       Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
       statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
       misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
       failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
       ing evidence.


       Disclosure statement
       No potential conflict of interest was reported by the author.


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          e20182162 doi:10.1542/peds.2018-2162
       Steensma, T. D., & Cohen-Kettenis, P. T. (2015). More than two developmental pathways in children with gender
          dysphoria? Journal of the American Academy of Child and Adolescent Psychiatry, 52, 147–148. doi:10.1016/j.jaac.
          2014.10.016
       Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric children. Journal of
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Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 788 of 902 PageID #:
                                    2072       JOURNAL OF SEX & MARITAL THERAPY 7


       Appendix



       Count             Group                                                            Study
          2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
          4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
         10/16    straight/uncertain
          2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
          2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
         12/16    gay
            0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
            9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
          2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
         10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
         33/45    gay
          1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
          2/10    gay                      Sexual Behavior, 15, 511–517.
          3/10    uncertain
          4/10    straight
          1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
         43/44    cis-                      New Haven, CT: Yale University Press.
            0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
            8/8   cis-                     Medical Journal of Australia, 146, 565–569.
         21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
         33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                           1413–1423.
          3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
          6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
         16/25    straight
        17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
       122/139    cis-                      dissertation, University of Toronto.
        47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
        80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                            A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                            Psychiatry, 52, 582–590.
       For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 789 of 902 PageID #:
                                    2073
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 790 of 902 PageID #:
                                    2074
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 791 of 902 PageID #:
                                    2075
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 792 of 902 PageID #:
                                    2076
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 793 of 902 PageID #:
                                    2077
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 794 of 902 PageID #:
                                    2078
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 795 of 902 PageID #:
                                    2079
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 796 of 902 PageID #:
                                    2080
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 797 of 902 PageID #:
                                    2081
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 798 of 902 PageID #:
                                    2082
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 799 of 902 PageID #:
                                    2083
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 800 of 902 PageID #:
                                    2084
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 801 of 902 PageID #:
                                    2085
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 802 of 902 PageID #:
                                    2086
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 803 of 902 PageID #:
                                    2087
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 804 of 902 PageID #:
                                    2088
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 805 of 902 PageID #:
                                    2089
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 806 of 902 PageID #:
                                    2090
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 807 of 902 PageID #:
                                    2091
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 808 of 902 PageID #:
                                    2092
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 809 of 902 PageID #:
                                    2093
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 810 of 902 PageID #:
                                    2094
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 811 of 902 PageID #:
                                    2095
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 812 of 902 PageID #:
                                    2096
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 813 of 902 PageID #:
                                    2097
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 814 of 902 PageID #:
                                    2098
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 815 of 902 PageID #:
                                    2099
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 816 of 902 PageID #:
                                    2100
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 817 of 902 PageID #:
                                    2101
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 818 of 902 PageID #:
                                    2102
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 819 of 902 PageID #:
                                    2103
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 820 of 902 PageID #:
                                    2104
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 821 of 902 PageID #:
                                    2105
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 822 of 902 PageID #:
                                    2106
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 823 of 902 PageID #:
                                    2107
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 824 of 902 PageID #:
                                    2108
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 825 of 902 PageID #:
                                    2109
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 826 of 902 PageID #:
                                    2110
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 827 of 902 PageID #:
                                    2111
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 828 of 902 PageID #:
                                    2112
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 829 of 902 PageID #:
                                    2113
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 830 of 902 PageID #:
                                    2114
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 831 of 902 PageID #:
                                    2115
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 832 of 902 PageID #:
                                    2116
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 833 of 902 PageID #:
                                    2117
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 834 of 902 PageID #:
                                    2118
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 835 of 902 PageID #:
                                    2119
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 836 of 902 PageID #:
                                    2120
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 837 of 902 PageID #:
                                    2121
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 838 of 902 PageID #:
                                    2122
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 839 of 902 PageID #:
                                    2123
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 840 of 902 PageID #:
                                    2124
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 841 of 902 PageID #:
                                    2125
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 842 of 902 PageID #:
                                    2126
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 843 of 902 PageID #:
                                    2127
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 844 of 902 PageID #:
                                    2128
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 845 of 902 PageID #:
                                    2129
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 846 of 902 PageID #:
                                    2130
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 847 of 902 PageID #:
                                    2131
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 848 of 902 PageID #:
                                    2132
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 849 of 902 PageID #:
                                    2133
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 850 of 902 PageID #:
                                    2134
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 851 of 902 PageID #:
                                    2135
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 852 of 902 PageID #:
                                    2136
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 853 of 902 PageID #:
                                    2137
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 854 of 902 PageID #:
                                    2138
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 855 of 902 PageID #:
                                    2139
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 856 of 902 PageID #:
                                    2140
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 857 of 902 PageID #:
                                    2141
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 858 of 902 PageID #:
                                    2142
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 859 of 902 PageID #:
                                    2143
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 860 of 902 PageID #:
                                    2144
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 861 of 902 PageID #:
                                    2145
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 862 of 902 PageID #:
                                    2146
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 863 of 902 PageID #:
                                    2147
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 864 of 902 PageID #:
                                    2148
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 865 of 902 PageID #:
                                    2149
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 866 of 902 PageID #:
                                    2150
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 867 of 902 PageID #:
                                    2151
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 868 of 902 PageID #:
                                    2152
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 869 of 902 PageID #:
                                    2153
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 870 of 902 PageID #:
                                    2154
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 871 of 902 PageID #:
                                    2155
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 872 of 902 PageID #:
                                    2156
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 873 of 902 PageID #:
                                    2157
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 874 of 902 PageID #:
                                    2158
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 875 of 902 PageID #:
                                    2159
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 876 of 902 PageID #:
                                    2160
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 877 of 902 PageID #:
                                    2161
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 878 of 902 PageID #:
                                    2162
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 879 of 902 PageID #:
                                    2163
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 880 of 902 PageID #:
                                    2164
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 881 of 902 PageID #:
                                    2165
Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 882 of 902 PageID #:
                                    2166
                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 883 of 902 PageID #:
                                                       2167
                                                                                    Prepublication Release




                                          Gender Identity 5 Years After Social Transition

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                                                                                                                              Exhibit 31
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                                                       2168
                                                                                    Prepublication Release

                                                         Gender Identity 5 Years After Social Transition

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                               Article Summary
                               This article examines the frequency of retransition and current gender identity amongst
                               youth who identified as binary transgender children earlier in childhood.

                               What’s Known on This Subject
                               There has been considerable debate about early childhood social transitions and whether
                               they will lead to high rates of retransition. However, less is known about rates of
                               retransition or identity outcomes following social transitions in childhood.

                               What This Study Adds
                               This study provides an estimate of the frequency of retransitions amongst children who
                               socially transitioned before age 12 and provides an update on their current identities, an
                               average of 5 years after their initial social transitions.




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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 885 of 902 PageID #:
                                                       2169
                                                                                    Prepublication Release

                             Contributors’ Statement Page

                             Dr. Olson conceptualized the current study, supervised data collection, carried out the
                             initial analyses, and drafted the initial manuscript.

                             Ms. Durwood and Dr. Devor conceptualized the current study and provided extensive
                             revisions on the manuscript.

                             Ms. Horton acquired and compiled the data and tables and provided feedback on the
                             manuscript.

                             Dr. Gallagher acquired, compiled, and analyzed the data and provided feedback on the
                             manuscript.

                             All authors approved the manuscript as submitted and agree to be accountable for all
                             aspects of the work.




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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 886 of 902 PageID #:
                                                       2170
                                                                                    Prepublication Release

                             Abstract

                             Background and Objectives. Concerns about early childhood social transitions amongst
                             transgender youth include that these youth may later change their gender identification (i.e.,
                             retransition), a process that could be distressing. The present study aimed to provide the
                             first estimate of retransitioning and to report the current gender identities of youth an
                             average of 5 years after their initial social transitions.

                             Methods. The present study examined the rate of retransition and current gender identities
                             of 317 initially-transgender youth (208 transgender girls, 109 transgender boys; M=8.1
                             years at start of study) participating in a longitudinal study, the Trans Youth Project. Data
                             were reported by youth and their parents through in-person or online visits or via email or
                             phone correspondence.

                             Results. We found that an average of 5 years after their initial social transition, 7.3% of
                             youth had retransitioned at least once. At the end of this period, most youth identified as
                             binary transgender youth (94%), including 1.3% who retransitioned to another identity
                             before returning to their binary transgender identity. 2.5% of youth identified as cisgender
                             and 3.5% as nonbinary. Later cisgender identities were more common amongst youth
                             whose initial social transition occurred before age 6 years; the retransition often occurred
                             before age 10.

                             Conclusions. These results suggest that retransitions are infrequent. More commonly,
                             transgender youth who socially transitioned at early ages continued to identify that way.
                             Nonetheless, understanding retransitions is crucial for clinicians and families to help make
                             them as smooth as possible for youth.


                             Keywords. Transgender children, social transitions, retransitions, desistence, gender
                             identity, detransition




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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 887 of 902 PageID #:
                                                       2171
                                                                                    Prepublication Release

                               Introduction

                                          Increasing numbers of children are socially transitioning to live in line with their

                               gender identity, rather than the gender assumed by their sex at birth—a process that

                               typically involves changing a child’s pronouns, first name, hairstyle, and clothing. Some

                               concerns about childhood social transitions have been raised1, including that these

                               children may not continue to identify as transgender, rather they might “retransition” (also

                               called a “detransition” or “desistence”), which some suggest could be distressing for the

                               youth1-3. Research has suggested that ages 10-13 years may be particularly key times for

                               retransition and that identity may be more stable after this period for youth who show

                               early gender nonconformity3.

                                          Other clinicians argue that early social transitions can be beneficial for some

                               gender-diverse youth4-6. Some clinicians and scholars who support early childhood social

                               transitions encourage families to remain open to later retransitions7,8, which are seen by

                               some as part of a youth’s exploration of their gender9.

                                          Unfortunately, very little data about retransitions exist in the scientific literature.

                               We have been able to find limited data on the number of youth who socially transition in

                               childhood and then go on to retransition afterwards. One paper included 4 youth who

                               socially transitioned; none of them had retransitioned 7 years later10. We know of three

                               (mentions of) early-transitioning youth who retransition8,9. However, these papers include

                               no mention of how many other youth the same clinical team saw who did not retransition,

                               making it impossible to guess at a retransition rate.

                                          In the present paper we aimed to compute an estimate of retransition amongst a

                               cohort of more than 300 early-transitioning children. Here we report the retransition rate


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                                                       2172
                                                                                    Prepublication Release

                               an average of 5 years post-initial (binary) social transition, as well as how many of these

                               participants are living as binary transgender youth, nonbinary youth, and cisgender youth

                               at the same timepoint.

                               Methods

                                          A total of 317 binary socially-transitioned transgender children (Mage = 8.07; SD=

                               2.36; 208 initially transgender girls, 109 initially transgender boys; see Table 1 for

                               additional demographics) joined this longitudinal study (The Trans Youth Project, TYP)

                               between July 2013 and December 2017. For inclusion in TYP, children had to be 3-12

                               years of age and had to have made a “complete” binary social transition10 including

                               changing their pronouns to the binary gender pronouns that differed from those used at

                               their births.

                                          As part of the larger longitudinal study, parents and youth were regularly asked

                               about whether they had begun using puberty blockers and/or gender affirming hormones.

                               At most visits they were not asked about whether puberty had begun, though our available

                               data suggestions that because these youth had socially transitioned at such early ages,

                               most participants were followed by an endocrinologist well-before puberty began. The

                               endocrinologists helped families identify the onset of Tanner 2 (the first stage of puberty)

                               and prescribed puberty blockers within a few months of this time. Therefore, the onset of

                               puberty blockers is used as our proxy for the onset of puberty. Of the youth in this sample,

                               37 (11.7%) had begun puberty blockers before beginning this study.

                                          This study did not assess whether participants met criteria for the DSM-5 diagnosis

                               of Gender Dysphoria in Children. Many parents in this study did not believe that such

                               diagnoses were either ethical or useful and some children did not experience the required


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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 889 of 902 PageID #:
                                                       2173
                                                                                    Prepublication Release

                               distress criterion. Based on data collected at their initial visit, we do know that these

                               participants showed signs of gender identification and gender-typed preferences

                               commonly associated with their gender, not their sex assigned at birth11. Further, parent

                               report using the Gender Identity Questionnaire for Children12, indicated that youth showed

                               significant “cross-sex” identification and preferences (when scored based on sex at

                               birth)12.

                                          Final identity classification for these analyses was based on our most recent

                               interaction with the child and/or their parent before January 1, 2021. Because some

                               families have not participated recently, we also separately report (in Table 2) the results of

                               the n=291 youth with whom the research team had an interaction within the 2 years prior

                               to that deadline. This additional analysis allows us to assess whether those who

                               retransitioned were more likely to have missed their more recent appointments with our

                               team. Importantly, only one of the 26 families with whom we did not meet in the last two

                               years has formally dropped out of the study; the others often did not complete

                               participation during these two years due to personal circumstances at the time we

                               attempted re-recruitment. We anticipate that many in this group will participate again in

                               the future.

                                          Based on pronouns at follow-up, participants were classified as binary transgender

                               (pronouns associated with the other binary assigned sex), nonbinary (they/them pronouns

                               or, n=3, a mix of they/them and binary pronouns), or cisgender (pronouns associated with

                               their assigned sex). We confirmed this classification by reviewing other information

                               available to the research team (e.g., child’s self-categorization in an interview or survey,

                               email communications with the parents, etc). Only one classification was debatable; this


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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 890 of 902 PageID #:
                                                       2174
                                                                                    Prepublication Release

                               participant was classified by pronouns (and in this paper) as nonbinary, but could have

                               been classified as binary transgender (and not retransitioned).

                                          This study has been approved by the University of Washington and Princeton

                               University IRBs.

                               Results

                                          The overall rate of retransition was 7.3%. An average of 5.37 years (SD=1.74 years)

                               after their initial binary social transition, most participants were living as binary

                               transgender youth (94.0%; see Table 2). Included in this group were 4 individuals (1.3%

                               of the total sample) who retransitioned twice (to nonbinary then back to binary

                               transgender). Some youth (3.5%) were currently living as nonbinary, including one who

                               had retransitioned twice (to cisgender then to nonbinary). Finally, 2.5% were using

                               pronouns associated with their sex at birth and could be categorized as cisgender at the

                               time of data collection, including one who first retransitioned to live as nonbinary. Similar

                               percentages were observed when examining the 291 youth who were in touch with the

                               research team in the last two years (see Table 2), when examining only those 280 youth

                               who had not begun puberty blockers at the start of the study (Table 3), or if we examine

                               only the 200 youth who had gone at least 5 years since their initial transition (Table 3).

                               We observed one potential (post-hoc) age effect. Youth who initially socially transitioned

                               before age 6 (n=124), were more likely to be living as cisgender (5.6%), than youth who

                               transitioned at age 6 or later (n=193; 0.5%), Fisher’s exact test (comparing binary,

                               cisgender, nonbinary; before vs. 6 or later), p =0.02, although low rates of retransition

                               were seen in both groups. In Table 2 we also report the results separately for children

                               assigned male vs. female at birth; this distinction was not significantly associated with


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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 891 of 902 PageID #:
                                                       2175
                                                                                    Prepublication Release

                               later identity, p = 0.47, Fisher’s exact test. Finally, for exploratory purposes, in Table 3 we

                               report outcomes separately for several subsets of our participants, including youth who

                               had started puberty blockers, youth who had used puberty blockers and gender affirming

                               hormones, and youth who are at least 14 years old (the age at which past work3 has

                               suggested retransitions will be less likely).

                               Discussion

                                          Five years after an initial binary social transition, 7% of youth had retransitioned at

                               least once. Most youth (94%) were living as binary transgender youth at the time of data

                               analysis, including 1.3% who retransitoned initially to cisgender or nonbinary and then

                               retransitioned back to binary trans identities. A small number of youth were living as

                               cisgender youth (2.5%) or nonbinary youth (3.5%). We observed comparable rates when

                               examining all participants who began the study (n=317), those who continue to be in

                               regular contact with the research team (n=291), those who had gone at least 5 years since

                               initial social transition (n=200), and those who started the study before beginning puberty

                               blockers (n=280). We found no differences as a function of participant sex at birth. We

                               observed slightly higher rates of retransition, and particularly later cisgender identity,

                               amongst youth who initially socially transitioned before age 6. However, even in these

                               youth, retransition rates were very low.

                                          Amongst those who had begun puberty blockers and/or gender affirming hormones,

                               only one had retransitioned to live as cisgender (and this youth had begun blockers, but

                               not gender affirming hormones). One likely reason so few retransitions to cisgender

                               occurred amongst those accessing medical transition is that most retransitioning in this

                               cohort happened at early ages. All but one of the 8 cisgender youth had retransitioned by

                               age 9 (the last retransitioned at 11). Some of these youth are still not eligible for blockers

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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 892 of 902 PageID #:
                                                       2176
                                                                                    Prepublication Release

                               because they are still prepubertal; we anticipate that those who identify as cisgender are

                               unlikely to seek blockers or hormones, but that the participants who have not begun

                               puberty and who identify as binary transgender or nonbinary likely will.

                                            Past work has suggested that the ages 10 to 13 are an especially critical time for

                               retransition3. In our sample, many of the youth who retransitioned did so before that time

                               frame, particularly the cisgender youth. In the nonbinary group, however, 6 of 11

                               retransitioned between age 10 and 13, with the remainder retransitioning before 10.

                               Importantly, our sample differed from the past work upon which this age range was

                               determined in several key ways including that our participants socially transitioned at

                               earlier ages (perhaps pushing retransitions earlier too), had undergone complete social

                               transitions including pronouns and names (not just hairstyle and clothing changes as in

                               most cases in previous studies3), and are living at a different historic time in a different

                               country. Any, or all, of these may turn out to be key differences related to age of

                               retransition.

                                            Our observed low retransition rate is consistent with a study in which 4 youth who

                               had “completely” socially transitioned had not retransitioned 7 years later10. That finding

                               is in the same ballpark as our study’s estimate of approximately 2.5% if we examine the

                               percentage living as cisgender at the end of the study (i.e., those “desisting” from gender

                               diverse outcomes). Together these papers suggest this outcome is relatively rare in this

                               group.

                                            Our observation that few youth who have begun medical intervention have

                               retransitoned to live as cisgender is consistent with findings in the literature. Several

                               studies reporting on outcomes amongst transgender youth receiving blockers and gender


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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 893 of 902 PageID #:
                                                       2177
                                                                                    Prepublication Release

                               affirming hormones have reported relatively low rates of regret or stopping treatment13,

                               which are potential indicators of retransition – though stopping treatment can occur for

                               other reasons as well (e.g., side effects), as can regret (e.g., experiences of transphobia).

                                            Our key finding – that there was a relatively low rate of retransition about five

                               years after initial social transition – may, on the surface, appear contradictory with past

                               clinic-based research on what is sometimes called “persistence and desistence” 3 of

                               childhood gender dysphoria. Several large studies attempted to recontact adolescents and

                               adults who had previously been evaluated for gender dysphoria in childhood14-17. Many of

                               those were formally diagnosed with what was, at the time, called Gender Identity

                               Disorder. Those studies reported that a minority of youth later identified in a way that

                               might indicate a transgender identity by today’s definition.

                                          Interpretation of those results, and especially comparison to the present work is

                               difficult for several reasons. First, in past studies, when asked “are you a boy or a girl?”

                               about 90% of the children supplied answers that aligned with their sex at birth18, leading

                               some to question whether or not the majority of those children were the equivalent of

                               transgender children today or not 19-21. Second, participants in those studies were children

                               between the 1960’s and the 1990’s, and many features of society have changed since then,

                               including greater rates of acceptance and acknowledgement of transgender identities.

                               Third, the parents of the youth in the present study support their children’s identities, as

                               indicated by their approval of their social transitions, while many of the parents of youth

                               in past studies explicitly discouraged gender nonconformity or “cross-gender”

                               identification15,22. Further, it would have been exceedingly rare for youth in those studies

                               to socially transition, especially completely1,10. Finally, there were substantial drop-out

                               rates in all of the prior studies14,15,17, making the true estimates of persistence or desistence
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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 894 of 902 PageID #:
                                                       2178
                                                                                    Prepublication Release

                               difficult to obtain19,21. Because there are so many possible contributors to differences in

                               rates of “persistence” (in past work) and “retransition” in the current work, we urge

                               caution about overinterpreting differences, or overconfidence about which contributing

                               factors explain the differences.

                                          There are also some reasons why we might have had such a low retransition rate.

                             First, on average, participants had socially transitioned 1.6 years before joining our study. It

                             is possible that some youth initially try socially transitioning and then change their minds

                             quickly. Such youth would be unlikely to be enrolled in this study because their eligibility

                             period would have been quite short and therefore the odds of finding the study and

                             completing it would have been low. This means the children in our study may have been

                             especially unlikely, compared to all children who transition, to retransition because they

                             had already lived – and presumably been fairly content – with that initial transition for

                             more than a year. Second, it is possible that families who failed to participate in the last two

                             years of our study (n=26) were disproportionately those whose children retransitioned and

                             who were therefore hesitant to participate again. If true, this could have reduced our

                             retransition rate. We are skeptical of this possibility for a few reasons. First, four of these

                             participants did retransition and had told us about that outcome, so it does not appear that

                             hesitancy in telling us was rampant in this group. Third, many of these families continue to

                             be in touch with our research team and only missed participation because of ongoing

                             personal issues (e.g., COVID-19, emergency family circumstances, etc.). We anticipate that

                             most of these families will be able to participate as we continue to follow these youth.

                             Finally, from the beginning of the study, the research team has been clear in discussing

                             with the families that we are open to any outcome in their youth.



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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 895 of 902 PageID #:
                                                       2179
                                                                                    Prepublication Release

                                          As with past work, the present work has several key limitations. First, this is a

                             volunteer community sample, meaning there could be biases in the kinds of families who

                             sign up to participate. We know, for example, that unlike many samples of transgender

                             youth, this sample of youth have normative levels of depression and only slight elevations

                             in anxiety23. The parents of the participants in this study are disproportionately higher

                             income and went to college at higher rates than the general population. We do not know

                             whether these potential biases in the sample reflect biases in the cohort of children who

                             socially transitioned in the mid-2010’s in the U.S. and Canada. Therefore, whether the

                             results generalize to youth without these characteristics is unknown.

                                            Another potential limitation is that we used pronouns as the criteria for

                               retransitions. Not everyone who, for example, uses they/them pronouns identifies as

                               nonbinary and someone might identify as transgender even if they are currently using

                               pronouns associated with their sex at birth. However, examination of other data provided

                               by families suggests that our pronoun-based criteria were largely consistent with

                               classification that would have arisen from other types of information provided to the

                               research team (e.g., labels used in an interview). Only one of the youth categorized as

                               “retransitioned” might, by some other criteria, not meet that definition. However, because

                               pronouns were the initial inclusion criterion (that is, to be in the study a child had to be

                               using pronouns not associated with their sex at birth), they were the most consistent route

                               of classification.

                                          A related potential concern with these analyses is that we classified a change from

                               using, for example, binary transgender to nonbinary as a “retransition.” Not everyone

                               would categorize this change as a retransition. Many nonbinary people consider

                               themselves to be transgender24. If we had used a stricter criterion of retransition, more
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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 896 of 902 PageID #:
                                                       2180
                                                                                    Prepublication Release

                               similar to the common use of terms like “detransition” or “desistence”, referring only to

                               youth who are living as cisgender, then our retransition rate would have been lower

                               (2.5%).

                                          One additional limitation in the present work is that the initial sample was

                               disproportionately made up of trans girls. This is counter to recent reports that more peri-

                               and post-pubertal transgender youth seeking clinical services recently are

                               transmasculine25-27. Historically, and consistent with our data, samples of prepubertal

                               gender nonconforming youth identified by their parents as such, have included more

                               assigned males at birth15,16,22. Importantly, we did not observe a significant gender effect

                               in terms of rates of retransition, so we do not predict any change in pattern of results if we

                               had a different ratio of participants by sex at birth.

                                          We anticipate continuing to follow this cohort into adolescence and adulthood. This

                               continued follow-up is necessary because it is possible that as more youth move into

                               adolescence and adulthood, their identities could change. As we already saw, some youth

                               will retransition more than once so the present identities should not be interpreted as final.

                                          As more youth are coming out and being supported in their transitions early in

                               development, it is increasingly critical that clinicians understand the experiences of this

                               cohort and not make assumptions about them as a function of older data from youth who

                               lived under different circumstances. Though we can never predict the exact gender

                               trajectory of any child, these data suggest that many youth who identify as transgender

                               early, and are supported through a social transition, will continue to identify as

                               transgender five years after initial social transition. These results also suggest that

                               retransitions to one’s gender assumed at birth (cisgender) might be likely to occur before


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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 897 of 902 PageID #:
                                                       2181
                                                                                    Prepublication Release

                               age 10 amongst those who socially transition at the earliest ages (before age 6), though

                               retransitions are still unlikely in this group. These data suggest that parents and clinicians

                               should be informed that not all youth will continue on the same trajectory over time.

                               Further understanding of how to support youth’s initial and later transitions is needed.

                             Acknowledgments

                               The authors wish to thank the families for their participation in this research.



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                   Case 1:22-cv-01075-JMS-MKK Document 47-1 Filed 06/30/22 Page 899 of 902 PageID #:
                                                       2183
                                                                                    Prepublication Release

                             Table 1. Participant demographics (N=317).

                               Race
                                 White Non-Hispanic                                68%
                                 White, Hispanic                                    9%
                                 Black                                              2%
                                 Asian                                              3%
                                 Native American                                   <1%
                                 Multiracial                                       17%
                                 did not report                                    <1%

                               Annual Household Income
                                 Less than $25,000                                  4%
                                 $25,001-$50,000                                   10%
                                 $50,001-$75,000                                   20%
                                 $75,001-$125,000                                  31%
                                 More than $125,000                                35%
                                 did not report                                     1%

                               Geographic Location
                                 Northeast                                         13%
                                 Midwest/Upper Plains                              21%
                                 Southeast                                         15%
                                 Mountain West                                     13%
                                 Pacific Northwest                                 20%
                                 Pacific South                                     16%




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                                                                                       2184
                                                                                                         Prepublication Release


   Table 2. Participant information and current identity at last visit before January 1, 2021 Overall, for those with recent visits only, and by initial

   social transition and gender.



                                                                                                                                Sample who
                                                                                                                                   initially    Sample who
                                                                                                              Recent Sample        socially     initially socially Transgender       Transgender
                                                                                                              (with visits in   transitioned    transitioned at 6 girls (at            boys (at
                                                                                 Total Sample                 2019 or 2020)     before age 6    or later           recruitment)      recruitment)
                     Sample Size                                                      317                           291              124                193              208              109
                     % assigned male at birth                                       65.6%                         65.3%             73.4%             60.6%             100%              0%
                     Mean age at first transition                                6.5 years old                 6.4 years old    4.3 years old     7.9 years old     6.2 years old    7.1 years old
                     Mean age at start of study                                  8.1 years old                 8.0 years old    5.9 years old     9.5 years old     7.7 years old    8.7 years old
                     Average time since start of
                     study                                                          3.8 years                      4.1 years     3.8 years         3.8 years         3.9 years        3.7 years
                     Average time since first
                     transition                                                     5.4 years                      5.7 years     5.4 years         5.4 years         5.5 years        5.3 years
                     Current Identity
                                                                                                                                   n=112;                            n = 194;
                                         Binary Transgender                     n=298; 94.0%                   n=276; 94.8%       n=90.3%        n=186; 96.4%         93.3%         n = 104; 95.4%
                                                  Cisgender                       n=8; 2.5%                     n=6; 2.1%        n=7; 5.6%        n=1; 0.5%        n = 7; 3.40%       n = 1; 0.9%
                                                 Nonbinary                       n=11; 3.5%                     n=9; 3.1%        n=5; 4.0%        n=6; 3.1%        n = 7; 3.40%       n = 4; 3.7%




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                                                                                       2185
                                                                                                         Prepublication Release


   Table 3. Participant information and current identity at last visit before January 1, 2021 as a function of stages of medical transition and/or age.


                                                                                                                                          Sample of
                                                                                                                      Sample of           youth who
                                                                                            Sample of                 youth who           have begun       Sample of
                                                                                           youth who                  have begun          gender-          youth 5+
                                                                                          had not begun               blockers (and       affirming        Years since        Sample of
                                                                                           blockers at                not GAH) at         hormones at      initial binary   youth who are
                                                                                           start of the               the end of the      the end of the   social           currently 14+
                                                             Total Sample                     study                   study               study            transition         years old
                        Sample Size                              317                           280                          92                  98               200             70
                        % assigned male
                        at birth               65.6%                                            69.6%                          57.6%          58.2%            69.0%           52.9%
                        Mean age at first
                        transition          6.5 years old                                  6.1 years old                6.6 years old     8.4 years old    6.2 years old    8.9 years old
                        Mean age at start
                        of study            8.1 years old                                  7.6 years old                8.3 years old     10.2 years old   8.0 years old    10.8 years old
                        Average time
                        since start of
                        study                 3.8 years                                       3.9 years                       4 years       4.3 years         4.5 years       4.4 years
                        Average time
                        since first
                        transition            5.4 years                                       5.5 years                       5.8 years     6.1 years         6.4 years       6.3 years
                        Current Identity
                                     Binary                                                   n = 263;
                               Transgender n=298; 94.0%                                        93.9%                   n = 88; 95.7%      n = 97; 99.0%    n=190; 95.0%     n = 69; 98.6%
                                 Cisgender   n=8; 2.5%                                      n = 8; 2.9%                 n = 1; 1.1%            n=0          n=4; 2.0%        n = 1; 1.4%
                                 Nonbinary  n=11; 3.5%                                      n = 9; 3.2%                 n = 3; 3.3%        n = 1, 1.0%      n=6; 3.0%            n=0




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                                                       2186
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